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                    EXHIBIT F
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      The Fellowship Of The King

                    The War Of The Rings

                               Book One


                                A Novel




              Demetrious Polychron
                                        i
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                                    The Fellowship Of The King

                                       The War Of The Rings

                                              Book One


                                                 By

                                       Demetrious Polychron


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                                          FIRST EDITION

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                         All that is precious is not cherished
                              But love that is true will not fail
                         Not all the forgotten have perished
                              The ones who believe will prevail



                         Those tempered by fire do not burn
                             Yet not all broken hearts can be mended
                         Not all who were lost will return
                             But these Unfinished Tales will be ended



                         If not courage nor hope are relinquished
                              Great deeds will not go unrenowned
                         The Fallen will finally be vanquished
                              The Rings that were lost shall be found




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   Dedicated to the life and work of John Ruel Ronald Tolkien and his son

                              Christopher Tolkien




                        If not for you, this would not be




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  “Don’t adventures ever have an end? I suppose not. Someone else always has to carry on the
  story.”
                                             ― J.R.R. Tolkien, The Fellowship of the Ring




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                                            Prologue




          Elanor Gardner, daughter of Samwise and Rosie Gamgee Gardner, was excited at the
  prospect of her upcoming two-and-twentieth party. For tween girls in the Shire, nothing short of
  a wedding was as exciting as the twenty-first anniversary of their birth. This marked the
  beginning of their two-and-twentieth year when they officially became ‘eligible,’ to be courted
  by the young, and sometimes not so young ardent and hopeful bachelors, of which there
  suddenly seemed an almost endless supply. They were coming not only from Hobbiton,
  Bucklebury and Tuckborough, and every other corner of the Four Farthings, some said hobbits
  were traveling to Bag End from as far as distant Bree.
          All this undoubtedly on account of the Great Year of 1436. That was when the High King
  Elessar of the United Kingdoms of Arnor and Gondor, Queen Arwen, the princesses Celendrian
  and her sisters met HMS Samwise, his wife the inimitable Rosie, their seven children; the Thain
  Peregrin Took, ruler of Tookland, his wife Diamond and their son Faramir; the Master Meriadoc
  Brandybuck, ruler of Buckland, his wife Estella, sons Théoden and Boromir, and daughters
  Priscilla and Esmerelda; and many other hobbits of note. They came together and assembled for
  a magnificent ceremony held at the Brandywine Bridge.
          It was the grandest event any living hobbit could remember!
          The King affirmed his previous proclamations: all the realms inhabited by Hobbits were
  Free Lands under the protection of the Northern Scepter. HMS Samwise, the Thain and Master
  were his personally appointed Counsellors. Men were forbidden to enter, except by permission
  of the King and his Counselors of the North Kingdoms, or their duly appointed Deputies.
          The High Queen Arwen, born of the immortal Elves, had forsaken her immortality to
  marry her love Aragorn, as Elessar then was known. A wise and elegant woman, she was rivaled
  in beauty only by Elanor, whom she made an honorary Handmaiden. Elanor became great
  friends with the royal princesses, especially Princess Celendrian, closest to her in age.
          But for Elanor, the capstone of the festivities came when Elessar draped her father’s well-
  traveled grey Elvish cloak about his shoulders and fastened it in place with a dazzling bright
  brooch called, ‘The Star Of The Dúnedain.’
          Rumor had it the clasp had been crafted by the Dwarves of Erabor and was made entirely
  of mithril. That alone would have made Sam the richest hobbit in the Shire, if he hadn’t been
  already. It was quite the honor for the High King to be recognizing hobbits and their
  contributions to the free the people of Middle-earth during the great War Of The Ring.
          After the festival Elessar, his family, their guests and a large crew of Gondorians traveled
  a hundred miles north to the source of the Brandywine River, Lake Evendim. It was bordered on
  the north by the Emyn Uial: The Twilight Hills of Eriador. There they commenced rebuilding the
  ancient city of Annúminas, once long ago and now again, the capital of the Kingdom of Arnor.

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          News may be slow to get around in these parts, but what’s come around’s been around, if
  you catch my meaning. After that Tookland, Buckland and the Four Farthings were never quite
  the same sleepy places people remembered from before the Great War.
          It should be expected. After all, when the High King of Middle-earth comes a-calling
  bringing princely gifts and honoring so many of your own, people are bound to notice.
          The sixteen-year-old Crown Prince Eldarion Telcontar had stayed behind in Gondor. He
  lived in the Palace of Anor in Minas Tirith, ruling as Regent. Guided by Prince Faramir of
  Ithilien, Elessar’s Steward and principal Counselor, Eldarion studied the languages and histories
  of his subjects from ancient scrolls, and some said, being tutored by wise Men and High Elves in
  the Arts of falconry, philosophy and warfare, and the ancient Lore of the Rings.
          So it was clear to everyone that Elanor was a catch. Besides her father being decorated
  for his accomplishments by the High King and she herself being honored by the High Queen,
  Elanor was the most beautiful hobbit anyone had ever seen!
          She lived with her family at the top of the Hill in Bag End. Its seemingly endless tunnels
  were rumored to be stuffed with treasure, and some said, ill-gotten gains from three generations
  of particularly adventuresome hobbits.
          First, Bilbo went off with a company of Dwarves. Rumors persist to this day that they
  fought and killed a dragon, as unlikely as it sounds. Yet in light of later events, folks were no
  longer so quick to discount outlandish tales. Less credible sources claim they returned with their
  backs bent under war trophies, including the heads of trolls, enough magical items to start an
  entire school for wizards, and bags of treasure carried by more than three hundred Dwarves.
          Years later, Bilbo mysteriously vanished at his own birthday party, an event still talked
  about and debated in these parts. Seventeen years after that, Frodo left to have his own
  extraordinary adventures with Sam, coming back even richer. Shortly after the birth of Elanor,
  when she was still Sam and Rosie’s only child, Frodo himself vanished on his final adventure
  with Sam. The two of them had traveled all the way west to the ocean. There they were met by
  the ancient Kings and Queens of Elves. Sam witnessed them leaving Middle-earth forever on a
  white ship, departing from the Havens and sailing West over the sea.
          Returning home, he and Rosie were left holding the keys to Bag End. This did not sit
  well with the renewed consternation of many a Baggins kin. None more so than the many
  Sackville and Bracegirdle cousins of the now extinguished Sackville-Baggins branch of the
  Baggins family tree. The ever-regretful Lobelia and her son Lotho Sackville-Baggins had once
  acquired the surrounding land and coveted hole in a true and legal sale. It was that dark time
  years before when Frodo and Sam had been forced to flee the Shire pursued by Black Riders.
          Merry and Pippin had joined them fighting in the Great War. The four of them endured
  torture and monstrous trials while adventuring through the kingdoms of Eriador, Eregion,
  Khazad-dûm, Lothlórien, Rohan, Fangorn, Gondor, Ithilien and Mordor.
          While they were gone, half-Orc Southrons and Ruffians invaded their homelands,
  conquering the Shire and making her people slaves in all but name. Yet thanks to the return of
  HMS Samwise, Frodo Baggins, the Thain Peregrin Took and the Master Meriadoc, the courage
  of their people was re-ignited. Leading the very flower of formidable and steadfast hobbitry, the
  four Travelers (as they then were known) raised the people of the Shire against their enemies.
          The half-Orc Southrons and Ruffians were routed at the Battle of Bywater in 1419.
          When Lobelia was freed from her prison, she learned Lotho had been murdered asleep in
  his bed at Bag End. So she sold it back to Frodo in a ruinously dilapidated state, which would
  have cost a good-sized fortune to repair, for just a little more than what she paid (plus interest).

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            A plaque on the site of the battle commemorated the names of everyone who’d fought in
   the liberation of their homeland, except Lotho. Many believed it was him who’d let the Ruffians
   come in the first place. The Shire was finally freed from the evil wizard Saruman.
            It was a tale with which to astonish children – except that every word of it was true!
            It was once considered peculiar for a hobbit to leave the Shire. But these historic events
   inspired the younger generation. This fueled their ambitions to one day embark on the Road and
   undertake long and dangerous journeys of their own (few actually did so).
            They yearned to travel to unknown lands and become part of the histories of kings,
   queens, wizards, dragons, elves and a multitude of nefarious Beasts. After performing heroic
   deeds, they vowed to return with much treasure and retire to a life of fame and leisure.
            Except for Elanor.
            Though genuinely enjoying the friendship of the Princess Celendrian and her sisters, the
   thought of unseen vistas in distant lands sounded unappealing.
            She already had most everything a young hobbit could wish for: a loving family, great
   friends, and the prospects for a prosperous and happy future. The last thing in the world she
   wanted was to leave it all behind for strange people and foreign places. She didn’t even want to
   imagine riding on treacherous roads (although her father had been sure to teach her how to ride),
   much less walking. Or worse, running in fear for her life. It not only sounded depressingly
   dangerous, it would have deprived her of the friendly faces and many comforts of home.
            Elessar returned to Gondor after he and his men spent a year rebuilding the city of
   Annúminas. It now stood even grander than it had of old. During that year, Arwen and Rosie had
   both delivered babies and things became more hectic. In the following six years, her parents had
   three more children. Now her mother had recently announced, she was once again pregnant.
            As happy as Elanor was at the prospects of her parent’s adding yet another child to their
   large happy family, she wondered if maybe – enough was enough.
            She already had eleven brothers and sisters. She didn’t understand their need to keep
   adding more. She loved everyone in her family, but the tunnels of Bag End were not as endless
   as outsiders believed.
            When she was little and had only two or three siblings, their halls had still seemed
   spacious. When her grandfather the Gaffer died, her father added his hole to their own, bought
   the others, and rechristened the entire Hill the sole property and extended estate of Bag End.
            Elanor had proudly welcomed Queen Arwen and the royal princesses to the many newly-
   connected and well-appointed holes in their extensive and now lavish home.
            But after adding so many more children and with the prospects of yet another, even with
   all the additions, things were beginning to feel a bit cramped.
            To make matters worse prospective suitors, anticipating the intense competition that
   would invariably ensue after Elanor’s two-and-twentieth, and opting to forgo the adventuring
   part and skip right to the treasures and Bag End, had decided to get a jump on the competition.
            Many had already come calling. Knocking on Bag End’s large round door, they came
   unannounced in ill-fitting, overly formal clothes and sweat stained faces. Invariably they brought
   inappropriate and ridiculously over-expensive gifts. None of them pleased her and she didn’t
   take any of their offers of courtship very seriously. It got so bothersome, her father set a
   permanent guard at the bottom of the path leading up the Hill to their door.
            That was fine with Elanor.
            She still felt much too young to begin courting the ne’er do wells of the Four Farthings,
   much less marrying and leaving her family.

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           There was still a great deal of work to do on the Red Book. And there wasn’t a hill, hole
   or house in any of the lands she’d visited, nor any she’d heard tales of, holding the least bit of
   attraction to her more than Bag End already did.
           Though once when she was still quite young, her father had taken the entire family on the
   most wonderful vacation! They traveled west past the Far Downs and chanced on another hobbit
   family traveling west, the Greenholms. The head of the clan was a respectable old hobbit named
   Folcred, who everyone called Ed. Both he and his wife Ewartia, who everyone called Alice, had
   impressed her parents with their knowledge of ship craft and navigation. They were teaching
   these to their children, especially their oldest son Fastred. Elanor had been impressed with
   Fastred too, but they were much too young to think of each other as anything other than friends.
           When they reached the Elvish Kingdom of Lindon, it was the Greenholm’s turn to be
   impressed. The Elven ruler Lord Círdan welcomed them to East Mithlond. It was the southern
   harbor of the twin Elvish towns, the Grey Havens. They sat on opposite shores in the Gulf of
   Lune at the river mouth. Círdan held a lavish feast in her father’s honor calling him Ringbearer.
           The next day Círdan’s chief advisor, the Elven Lord Galdor of the Trees & Havens, gave
   them a tour of the palace and harbor. Among the many wonders, Elanor had been most
   impressed by two magnificent statues.
           The one at the palace had been sculpted by the red-haired Elvish sculptress, Lady
   Drendelen. She lived in Rivendell and was the finest sculptor in Middle-earth. Her grandmother
   the Lady Nerdanel lived across the ocean in Valinor. She was the widow of the legendary Elvish
   smith and master craftsman Lord Fëanor and the finest sculptor in all of Arda.
           Drendelen’s sculpture depicted the ancient Elvish High King Gil-galad wielding his
   enchanted spear Aeglos (presumably against orcs). The look of fury on the statue’s face, the
   tension in the marble arms and the frozen-in-time perception of Gil-galad’s arms slinging his
   mighty war spear forward – were breathtaking.
           At the harbor was another statue, a masterwork of Lady Nerdanel’s. It had been sculpted
   in Valinor and shipped to Númenor by the Eldar, the Elves of Tol Eressëa. It was among their
   most precious gifts to the Edain, the wisest and strongest Men in Middle-earth.
           Many of Nerdanel’s statues had been brought from Númenor by Elendil the Mariner, the
   first High King of the Númenórean Kingdoms in Exile. He and his sons Isildur and Anárion
   founded the kingdoms of Arnor and Gondor after their island continent sank beneath the sea.
           Nerdanel’s statue depicted the legendary Elvish Captain, Lord Eärendil. With his cloak
   billowing, he stepped onto the prow of his ship holding the dazzling gem known as the Silmaril,
   one of three forged by Fëanor. Eärendil was returning it to Valinor to beg for the aid of the Valar
   against Morgoth, the evil Dark Lord destroying Middle-earth and enslaving her people.
           The Valar agreed to help and returned with him, waging the terrible War of Wrath.
   Empowering Eärendil to pilot his ship through the skies, there he slew the giant father-of-all-
   dragons, Ancalagon the Black and achieved the victory. As a reward for his heroism, the Valar
   set him, his ship and his Silmaril high in the sky as the brightest star in all the Heavens.
           Galdor explained that Nerdanel was considered the greatest sculptor who ever lived,
   because the balance and forms of her compositions were perfection. Not even Drendelen had
   captured the majesty of her subjects the way her grandmother had. Nerdanel’s statues were
   flawless idealized visions. She achieved what no artist ever had – she had captured the ideal.
           Though no less skillful, Drendelen’s statues were full of flaws. They were not mistakes
   she made while sculpting, the imperfections were on the people and things she modeled.



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           Galdor pointed out the sweat on Gil-galad’s face, blemishes and scars on his skin, dents
   and rents in his armor, stray hairs on his head, and loose marble threads hanging from his marble
   clothes. Some argued the flaws were Drendelen’s: they didn’t belong in representations. Who
   would make gifts of cracked gems, dented rings or paintings marred by misplaced brushstrokes?
           Others disagreed. They claimed Drendelen had never made an error, just as her
   grandmother hadn’t: the imperfections deserved to be represented because they were real.
           Near the end of his tour, Galdor took them to the westernmost and tallest of three white
   citadels: The Tower of Elostirion. Rising high atop a hill, it looked far out over the sea.
           Slowly, they climbed the long winding staircase until they reached the large chamber at
   the very top. They saw it was filled with art, gold, jewels, books and other Elvish riches. The
   walls were lined with display cases bearing ancient heirlooms and secret treasures.
           Elanor found two statues on opposite sides of the chamber particularly striking.
   Nerdanel’s depicted Lord Fëanor rising from his workbench. In his left hand he lifted the first of
   his three dazzling gems, the Silmarilli.
           Drendelen’s statue showed Fëanor’s grandson, the Elvish master craftsman Lord
   Celebrimbor. Once the King of Harlindon and Eregion, he raised his hammer high over his anvil.
   Within the tongs in his other hand he was forging one of his many Rings of Power.
           Galdor pointed out the large roped-off empty white-marble pillar in the middle of the
   room. It had once held a palantír, or ‘Seeing Stone.’ There were seven that had been brought by
   Elendil from Númenor, from among the many Fëanor had forged in Valinor.
           In this very chamber Elendil himself, who was called the ‘The Fair’ just as Elanor was,
   when facing West, could look into the palantír and see all the way across the ocean. There, he
   beheld the rulers of Valinor: Manwë and Varda themselves, sitting on their elevated thrones
   within the Palace of Ilmarin atop the peak of Amon Uilos, the highest mountain in all of Arda.
           Elanor was dazzled.
           Not just by the treasures and visions described by Galdor, but by a sudden kinship,
   completely unfounded she knew, she couldn’t help feeling for the High King Elendil.
           Her brothers and sisters laughed at her.
           But Fastred said he too felt a kinship with Elendil the Mariner, and this strange and
   beautiful land. Fastred confided that secretly, he longed one day to live somewhere as fair as
   these green hills, so he could sail across the ocean, just as Elendil had.
           Of all the fair people Elanor ever met and all the wonderful things she ever did, it was
   this magic summer in childhood with Fastred in the West of Middle-earth among the Elves that
   she most fondly remembered, and to which secretly, she longed one day to return.




                     *              *              *              *              *

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                                   BOOK I




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                                          Chapter 1




                            The Night Before A Party




           Late afternoon sunshine flooded the meadows of the Hill with a pleasant glow. Bright
   blossoming snap-dragons, sunflowers and nasturtiums filled the open fields and covered the
   green turf walls of Bag End. A stone-lined path led to a large round door at the main entrance.
           In a small sitting room adorned with a large open window sat Rosie Gamgee Gardner, as
   the hobbits of the Four Farthings called her, on account of all the planting her husband, the
   Honorable Mayor of the Shire (HMS) Samwise Gamgee Gardner had done.
           Sipping tea beside her was her oldest daughter Elanor ‘the Fair,’ as folks called her, on
   account of her uncommon good looks. Despite these handicaps, Elanor was a kind, if outspoken
   hobbit given to laughter, pleasant whimsy and occasional disagreements with her siblings.
           Helping her parents raise their ever-growing family, she loved to cook with her mother,
   creating new recipes and serving them up. While the others cleaned and tidied, she and her father
   would retire to his den. There, the two of them alone poured over the pages of ‘The Red Book Of
   The Westmarch’ which he’d been working on laboriously since just after she was born.
           Sam had made sure that Elanor and the rest of his children received a far superior
   education than he ever had. As a farmer and a gardener, he had been lucky his father’s employer
   Bilbo Baggins had taught him to read and form his letters.
           The task of recording the historic events he’d witnessed and making corrections to the
   writings of much more learned hobbits, like Bilbo and Frodo Baggins, Bilbo’s adopted heir to
   whom he’d left Bag End, proved less than an honor and more of a monumental chore.
           When still quite young, Elanor began supplying small and careful suggestions, which
   Sam eagerly incorporated into the manuscripts. Although he swore Elanor to secrecy, as not to
   upset the others. Their father-daughter time was a special bond only they shared. She was
   especially proud of this and more than happy to keep their secret.
           “Are you paying attention?” Rosie asked.

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           Elanor realized her mind had wandered. “I’m sorry, mum. What did you say?”
           “Tomorrow your father is staying home from Michael Delving,” Rosie answered.
   “Tonight we expect guests before sundown.”
           Excitement fluttered Elanor’s stomach. “When will the Tooks and Brandybucks arrive?”
           Her father walked out onto the Sun drenched sitting room and kissed her cheek. “They
   won’t be here until tomorrow morning. I’m giving them and their guests the lower tunnels.”
           “What about the Greenholms?” she asked.
           “They’re already at your uncle Tom’s farm,” Sam answered. “I expect them, the Cottons
   and that scamp Fastred will be joining us for dinner.”
           “Miss a free meal?” Fastred asked. He was hurrying up the Hill beside his best friend
   Théoden Brandybuck, who everyone called Theo.
           The two of them looked at each other and chimed in together, “Not if we can help it!”
           Theo took after his father Merry with curly brown hair, and he was larger and stronger
   than most other hobbits, except for his younger brother Boromir, who everyone called Ronny,
   and Pippin’s son Faramir, who everyone called Remy. Fastred and Theo had been born the same
   year and were of an age with Elanor.
           “Young Masters Brandybuck and Greenholm!” Rosie exclaimed, rising from the table.
   She delighted seeing any of the Tooks, Brandybucks or Greenholms, but she had a special
   fondness for Fastred. He was Rosie’s favorite hobbit to whom she wasn’t already related.
           ‘Cu-clump, cu-clump, cu-clump’ came deep, ominous sounds of approaching hooves.
           Sam knew those sounds. They weren’t made by ponies. Those came from larger horses
   usually only ridden by Men. Once long ago, they had heralded the approach of Black Riders.
           “Did you invite some of the Big Folk… from Bree?” Rosie asked.
           “It wouldn’t surprise me if some of our friends heard about the party and came,” Sam
   answered, shaking his head. He tried to figure who he might know who would dare break the
   King’s Law, coming to the Shire uninvited. “It must be a surprise from the Thain or Master!”
           A magnificent large gray horse rounded the bottom of the Hill. On its back rode the most
   unusually dressed Man that Elanor had ever seen: he wore billowing robes of a brilliant deep sea
   blue. Though worn and weathered, they glinted here and there, run through with strands of silver.
   The bunching fabric and gray-white gleams gave the impression of breaking waves, capped with
   foam. Above his beard and shaggy mane of silver-streaked black hair was a similarly colored
   wide-brimmed hat. Rising high above his head, it covered his helm. Open at the front, his robes
   revealed a blue and silver leaf-mail shirt with studs, and below his belt were matching leg covers.
           His leathers and regalia were stained in the same dark blue and silver colors. Sheathed in
   his saddle was a long, blue and silver-handled sword. Strapped above them, closest to the hand
   of the rider, lay a long and strangely gnarled wooden staff.
           Fastred and Theo shouted in surprise. They started down the path to where they had been
   let through by the young hobbit standing guard named Sandro.
           “Come into the house!” Sam shouted.
           Responding immediately, they doubled back and climbed through the open window.
   Standing behind him, they shielded Rosie and Elanor.
           The rider reined his horse. He bent down and spoke to the unarmed and rather frightened
   young hobbit. After a brief exchange, the rider produced a folded document. Sandro read the
   cover and touched the seal. Turning to Sam, he waved the letter frantically over his head.
           To Sam’s eyes, the rider didn’t have the villainess look of any of the nefarious people
   he’d encountered, or the Black Riders that had once invaded their lands.

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           The horseman’s patient stance, and Sandro’s desperate waving, assured him this might be
   a messenger from Rohan or Gondor. The staff had made him curious. With a look back to ensure
   Rosie and Elanor were safe, he motioned for Sandro to let the rider through.
           The horsemen rode at a brisk walking pace and stopped before he got too close. Slowly
   dismounting, he unstrapped his staff and used it as a walking stick. In his other hand, he carried
   the sealed document. When he reached a respectful distance, he stopped.
           “Greetings, most Honorable Mayor of the Shire, Samwise Gamgee Gardner,” the stranger
   said. He held up the folded parchment. “I come from the High King Elessar in Minas Tirith on an
   urgent mission. This is my letter of safe passage, and request of aid, from the King.”
           Theo stepped up even with Sam and caught his eye, to say he’d fetch the letter, if Sam
   wanted to have a look.
           Sam lifted his hand for him to wait. “Who are you?”
           The stranger smiled. “I am Alatar the Blue, a Wizard of Aman. I believe you befriended
   one of my Order, a wizard named Gandalf the White. Did he not mention me?”
           “He never said anything about you,” Sam answered.
           “Sam,” Theo said. Few hobbits addressed her father like Merry and Pippin’s children.
   “We can’t be sure he’s a wizard. But even if he is, do we want another wizard in the Shire?”
           “I’m sure there were other wizards,” Elanor told them. “It says so in the Red Book.”
           Sam looked at her and back out at Alatar. “At least, let’s see that letter then.”
           Alatar walked to the window and passed him the thrice folded document. It was secured
   with thick white wax and at the bottom, it had been impressed with the seal of the High King
   Elessar: a four-pointed crown set above a white tree. The tree was ringed by seven stars set
   above the twenty-six points of its branches. Below the bole, it bore thirty-five points on its roots:




            “That’s from the King,” Rosie said, looking up from the unmistakable emblem.
            Sam stared at the seal and swallowed. For a long minute, no one spoke.
            “Well… open it!” Elanor told him.
            Sam hesitated. He knew whatever the contents, the minute he read them, his life would be
   forever changed. After waiting far too long for his family’s tastes, he broke the seal and unfolded
   the letter. Rosie, Elanor, Theo and Fastred crowded around to read over his shoulder:


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   THE PALACE OF ANOR, MINAS TIRITH, KINGDOMS OF ARNOR & GONDOR



   March 15, Fourth Age 22, Shire Year 1442



   My Dearest Sam,


          Alatar the Blue, a Wizard of Gandalf’s order, has come to Gondor from out of the East
   bearing grave and perilous news. I believed the matter of the Rings of Power had been resolved
   by your and Frodo’s heroic efforts in Mordor, where you unmade the One, followed by the Three
   carried by their Keepers to the Grey Havens sailing West over the sea.


          It is a difficult and grievous thing for a King to admit, who wishes only to protect his
   people, but Alatar has shown me proofs I was mistaken.


          I dare not explain more in this letter. You can trust the words of Alatar. He is wise and
   learned in many things that have been hidden from us in the far east, beyond the borders of
   Rhûn, and he has much to share with you.


          As your King, I must ask you to aid his efforts, as difficult and unseemly as some of them
   will undoubtedly be for you. Take heart. I will give you any and all the aid I can.


          As your friend, please Sam, we must finish this business we started long ago. Not only for
   ourselves, but for our children, and our children’s children. We must send away or unmake any
   Rings of Power remaining in the whole of Middle-earth.




                                                                                In Eternal Friendship,




                                            High King of the United Kingdoms of Arnor and Gondor



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           Below the firm signature, this time pressed in ink, the letter again displayed the emblems
   of his Reign: the firmly rooted and branching crowned white tree surmounted by seven stars:




         Sam swallowed again and lowered the letter.
         “Come inside,” he said to Alatar, then turned to Theo. “See to his horse.”
         Theo started to climb out through the open window again.
         Suddenly self-conscious, Sam tapped his shoulder and pointed for him to use the door.
   He went behind Theo with his family – to welcome Alatar to Bag End.




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                                           Chapter 2




                           The Shadow Of The Future




           Alatar sat on one of two couches facing each other over a low table. They were all seated
   in the Big Room at the center of Bag End. Sam sat across from him in the middle of the other.
           Having claimed the entire Hill, over the years Sam had enlarged the existing holes. He
   had connected them with wooden staircases or steps cut from the earth covered in stone. His
   proudest accomplishment was the excavation of three well-fortified and extra-large holes.
           Two were on opposite ends of the Hill. They both had high ceilings of stout and well-
   crafted timbers, supporting packed earthen works. Each had a huge, almost two-story picture
   window. One looked East, and every morning, it welcomed the rising Sun. The other faced West,
   and every evening, it watched the Sun’s slow descent as it sank below the horizon.
           The Big Room in the center was the largest. On a perfect east-west axis, two long
   hallways connected the Morning and the Evening rooms. Smaller halls extended off the Big
   Room and its hallways. These led to clean and spacious holes for his and Rosie’s children.
           Unlike Sam growing up, each of his children had a hole of their own.
           Now the doors were closed and in the other chairs sat Fastred, Theo, Elanor and Rosie,
   waiting to hear what had brought the wizard.
           “May I offer you a drink?” Rosie asked, rising from her seat. “I have freshly pulled well
   water, spring water, any kind of juice you can think of, beer, ale, wine or spirits. But if you want
   the really good stuff, Sam thinks I don’t know about a case of Gondorian whiskey he’s hidden.”
           “Rosie!” Sam cried, embarrassed at her odd habit of blurting out overly personal details,
   especially when she got too nervous; most often when meeting strangers.
           “A glass of fresh well water would be most kind, Mistress Rose,” Alatar answered, a bit
   surprised at the over-abundant choices.
           Rosie stepped out to the kitchen.

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            “We’re preparing for a party,” Sam explained, pointing at Elanor. “Tomorrow we
   celebrate Lady Elanor’s twenty-first birthday. It’s the start of her two-and-twentieth year.”
            Rosie returned with a tray of glasses and an earthen-chilled pitcher. Setting it on the
   table, she poured Alatar a tall glass.
            He drank thirstily. “I don’t understand.”
            “For tween girls in the Shire,” Rosie told him, “the beginning of their two-and-twentieth
   marks the start of womanhood. It’s when young men come courting.” She elbowed Fastred and
   Theo. “Perhaps to ask for her hand in marriage.”
            Their faces, along with Elanor’s, turned red.
            “Mother!” Elanor exclaimed. She stood and faced Rosie, tempted to run from the room.
            Alatar set his empty glass down. Rising, he doffed his tall hat and bowed. “May I be the
   first to wish you a happy two-and-twentieth, Lady Elanor. I apologize if my arrival has come at a
   bad time, but it couldn’t be helped.”
            “It’s fine,” she said. Pulling the folds of her dress snug against her knees, she sat beside
   her father and pulled her legs up. “Since you’ve ridden all this way, you must come. We’re
   giving presents! Not that hobbit gifts would be fit for a wizard. But as a special treat, there’ll be
   spring ripened fruit tarts glazed with heart of honeycomb honey. We’re serving Sun made tea
   and freshly-ground sweet vanilla cream, poured over your choice of pie or three different cakes.
   You can even mix and match.” She looked around conspiratorially and included Fastred and
   Theo in her charge. “I hate false praise, so please don’t tell anyone, but I made them myself.”
            “She loves to cook, our Elanor,” Rosie said, patting her daughter’s hand. “She’s going to
   make some lucky hobbit a fine wife.”
            “Enough about us,” Elanor told him. “Tell us why you’re here. After all, it wouldn’t
   really be a party without reports from distant lands.”
            “Is this something that maybe, you and I should talk about… in private?” Sam asked.
            “Samwise!” Rosie scolded. She sat down on his other side and took his hand. “Whatever
   affects you, affects our entire family. We’ll hear his tidings together.”
            “I guess I’m outvoted,” Sam conceded, seeing their determined faces. “But I’m not
   waiting for the rest of the family to return from Hobbiton. Tell us your news now.”
            “Very well,” Alatar agreed. “I came to these shores more than 2,000 years ago in 1008 of
   the Third Age. With me were six companions and a crew of Elves. We were christened the
   Heren Istarion by the Elves of Tol Eressëa, in Westron called Wizards. We had been charged by
   the Valar to help the people of Middle-earth end the conquests and enslavements of Sauron,
   servant of Melkor, whom the Elves name Morgoth.”
            “You sailed over the ocean Belegaer… from Valinor?” Fastred asked.
            “With experienced mariners, and friends committed to defeating the Enemy,” the wizard
   answered. “Two were assigned to the west, Saruman the White and Gandalf the Grey. Another,
   Incánus the Gold, was the first to depart the ship in the Kingdom of South Harad. One stayed on,
   Lemminkäinen the Black, continuing to the frozen wastes of Forodwaith. Two were sent east,
   myself and my best friend from Aman, Pallando the Blue. Although his robes are lighter, like the
   sky on a summer day. Radagast the Brown was given free rein to attend to the Beasts of the
   fields and the birds of the air, caught between forces beyond their ken.”
            “Where did your journey take you?” Sam asked. He remembered only desolation the
   farther he traveled east.
            “Pallando and I went with Saruman and Radagast to Minas Tirith,” he answered. “The
   two of us continued east to a land called Rhûn. There, I stayed. Pallando continued on to the

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   easternmost kingdom of Hildória, where the Men and customs are very different. There he
   discovered the ancient Lore of the Rings and the greatest threat that ever was or will ever be.”
            A heavy and foreboding silence filled the hole.
            “Greater than the danger from the Rings of Power?” Sam asked.
            “Yes and no,” Alatar answered. “For they are one and the same. When Celebrimbor and
   his craftsmen forged the original Rings of Power, knowledge of them was kept secret in the west.
   But in the east, we learned their long lost histories and the true extent of the danger.”
            “Who’s Celebrimbor?” Rosie asked.
            “Don’t you remember?” Elanor asked, seeing her mother’s blank face. “We saw his
   statue in Lindon. He’s in the Red Book. Elrond mentioned him during his council in Rivendell.”
            “I don’t,” Rosie told her, shaking her head. “Sorry.”
            “Celebrimbor founded Ost-in-Edhil,” Alatar explained. “Called Edhilon by its
   inhabitants, during the Second Age, in the land of Eregion. It’s not far from the Misty
   Mountains. It was later ruled by King Celeborn and Queen Galadriel, as a tributary province to
   the Elvish High King Gil-galad of Lindon. Eventually, it was destroyed by Sauron.”
            “Wait a minute,” Sam said. “I know Lord Celeborn and the Lady Galadriel. They never
   called themselves King or Queen!”
            “At the end of the Second Age,” Alatar responded. “The forging of Rings of Power
   brought the War of the Elves and Sauron. This led to the deaths of King Gil-galad and King
   Elendil. The corrupting influence of power became clear. King Círdan in Lindon, King Celeborn
   and Queen Galadriel in Lothlórien, and King Elrond and Queen Celebrían in Rivendell grew
   weary of the endless conflicts. So they disdained their titles and styled themselves simply, as
   Lords and Ladies. But ever and unchanging, they were kings and queens in all but name.”
            “‘Three Rings for the Elven Kings,’” Elanor quoted. “That makes more sense now.”
            Alatar turned to her, “You’ve studied the ancient Lore of the Rings?”
            “Well, not exactly,” she answered, embarrassed. “I only know what my father, and Bilbo
   and Frodo Baggins wrote about, in the Red Book of the Westmarch.”
            “I’ve heard of the records you keep in your Red Book,” he told her. “I would very much
   like to have a look at it.”
            “You keep saying ‘Rings,’” Sam interrupted. “But Frodo and I destroyed the Ruling Ring
   in Mount Doom. When Sauron fell, the power of his Rings faded. I saw the Three Elven Rings
   leave the Grey Havens on a ship for whatever lies West. Has someone brought them back?”
            “Those who sailed West have passed beyond Middle-earth forever,” he answered. “But
   those Three and the other Rings of Sauron were not the only Rings of Power ever forged.”
            “I know that!” Sam snapped. “I heard Gandalf myself mention the others. But he didn’t
   seem very concerned about them. He said they never amounted to much.”
            “Wizards are not so different from hobbits, in that we too err, I’m sorry to say,” Alatar
   told him. “If indeed he ever spoke such words, he was very much mistaken.”
            “Elanor!” Sam snapped. “Fetch me the Red Book.”
            Elanor and Rosie were surprised. The Red Book of the Westmarch wasn’t something
   Sam was in the habit of trotting out before even his closest friends, much less guests, however
   urgent their mission or exalted their status.
            She left and after only a minute, returned with the book. Her finger was set within the
   partially closed pages at the place from which she was sure her father intended to read. Setting it
   in his lap, she opened the page bookmarked by her finger.



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           “These are the words Frodo Baggins wrote, the day Gandalf told him about the Rings of
   Power,” Sam announced. “I watched Mr. Frodo write them down word-for-word, when they
   were still fresh and clear in his mind, and they’re exactly as Gandalf spoke them.” He glanced at
   Elanor, “I even helped jog his memory a bit, here and there.” His eyes trailed down the page.


           “In Eregion long ago many Elven-rings were made, magic rings as you
           call them, and they were, of course, of various kinds; some more potent and
           some less. The lesser rings were only essays in the craft before it was full
           grown, and to the Elven-smiths they were but trifles.”


           He abruptly closed the book. Elanor gave him a strange look: why didn’t he read the rest?
           “Gandalf’s words were true,” Alatar said. “Though they were not the beginning nor end,
   regarding these or any other Elvish creations, including the lesser and greater Rings of Power.”
           “What more can you add?” Elanor asked.
           Sam looked surprised, as if she’d spoken out of turn. He’d never acted like this before.
   His children usually felt free to speak their minds.
           “Too much to share today,” Alatar answered. “I would confuse your minds with too
   many names and long passed events. Yet just as you quoted a line from a well-known song about
   the Rings of Power familiar to you, I can make the gravity of my mission clear with a similar
   verse of older lore, to which the lines you spoke were added later.”
           “Are you sure we should?” Elanor asked, having second thoughts and not wanting to
   displease her father. “If Gandalf said they didn’t matter, shouldn’t that be enough?”
           “Gandalf focused on destroying the One Ring, as he should have,” Alatar answered. “It
   was a monumental task and there was never much hope he could accomplish it. The forces
   apposing him had been growing for Ages and were vast. To his credit, with help from your father
   and a few others, accomplish it he did. But the task we now face is more perilous than the one
   Gandalf, and you Sam, faced then, so the time has come to share more of the Lore of the Rings.”
           “You’re talking about the lesser Rings, right?” Elanor asked.
           “‘Lesser,’ Gandalf called them and ‘lesser’ most of them were, when compared to the
   One forged by Sauron,” Alatar answered. “Yet not all of them were ‘trifles,’ just as not all the
   so-called ‘Great Rings’ were as great as they would have been without the driving power and
   corrupting influence of the One. Yet there was another Ring, and it was much, much greater.”
           “What do you mean?” Sam asked. “Speak simply! I’m not an Elvish Lord. I’m not even a
   learned Man who wants to be a Lore Master. I’m just a simple hobbit!”
           Rosie and Elanor glanced at each other. Sam was usually such a well-disposed and even
   tempered host, even when dealing with Sandymen or Sackville-Bagginses. This sudden
   impatience, bordering on rudeness, was perplexing, and a little troubling.
           “Very well,” Alatar said. He sat back against his cushions. “Though the tale is long, I will
   try and be as brief as possible, without sacrificing clarity.”
           Sam folded his arms across his chest and sat back too. “Good! See that you are.”
           “In the Second Age near the Misty Mountains past Eregion, there lay the eastern border
   of the Elvish Kingdom of Lindon, ruled by Gil-galad,” Alatar explained. “East of them was the
   Dwarven Kingdom of Khazad-dûm, ruled by King Durin II. There, the Dwarves were producing
   a great many treasures. Most importantly was mithril, or ‘true silver’ as they called it, which had

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   never been found anywhere else. It can be forged into a metal stronger than steel, harder, yet
   lighter. It is easier to work with, never rusts nor tarnishes and is much more precious than gold.
            “To treat with them, Gil-galad sent his finest craftsman, Lord Celebrimbor, to establish
   friendly relations. This he did. He founded a settlement near the Dwarves’ kingdom of Khazad-
   dûm and called it Eregion, Hollin in Westron. Durin introduced Celebrimbor to his best jewel
   smith, a young impressionable Dwarf named Narvi. Narvi led the Dwarven craftsmen and was
   hailed by all – a prodigy. The two became fast friends and apart from any suggestions by their
   respective kings, Narvi and Celebrimbor enjoyed working together. In an unprecedented alliance,
   they advanced the arts of their forges to greater heights than either could have alone.
            “Between Edhilon and Khazad-dûm they built a great highway called ‘The Elvenway.’
   At the East and West Gates of the Dwarves’ kingdom, they installed the Doors of Durin to
   protect against invasion. They also invented ithildin, invisible letters of mithril which can only be
   seen in the light of the stars or moon by friends who have the correct password. And many other
   things besides. The palaces, treasuries and armories of King Celebrimbor in Edhilon and King
   Durin in Khazad-dûm grew grand, enriched by the trade in goods, precious metals and gems.”
            “I thought you said Queen Galadriel and King Celeborn ruled Eregion,” Elanor noted.
            “Celebrimbor did in the beginning,” Alatar corrected. “After his kingdom grew, he asked
   Gil-galad to send King Celeborn, ruler of Annúminas, and of course his wife Galadriel, to rule
   Edhilon, and the growing numbers of Elven and Dwarven craftsmen.”
            Elanor was shocked by Alatar being so dismissive of Galadriel, as regal an Elven Queen
   as any who ever lived. Before she could voice her indignation, she was cut off by Theo.
            “Why would a king do that?” Theo asked.
            “He wanted to focus on advancing the arts of his forges,” Alatar answered. “Free from
   the burdens of rule, Celebrimbor founded the Guildhouse of the Jewel-smiths, known as the
   Gwaith-i-Mírdain or the ‘People of the Jewel Smiths,’ also called Mirdainions. Their Guild was
   open to anyone who delighted in creating beautiful things whether Elves, Dwarves or Men.”
            “What about women?” Elanor finally asked.
            Sam and Rosie looked at her, surprised.
            “Hush dear,” Rosie said, kindly.
            “Hush, why?” Elanor asked.
            “Do you want to be a jewel smith?” Alatar asked.
            “Well… not me personally,” she told him, feeling suddenly self-conscious. “I know
   apprenticeships are prized and fiercely competed. I’m not saying a woman should be given an
   apprenticeship, just because she’s a woman. But if a woman wanted to compete and could,
   whether Dwarven, Hobbit or human, she shouldn’t be denied, just because she’s a woman.”
            Rosie looked at Sam, Elanor and the pitcher. “Maybe there’s something in the water.”
            Alatar refilled his glass and took another drink. “If so Mistress Rose, it is quite
   refreshing.” He set his glass down and smiled. “I don’t believe a woman would have been
   refused. I can’t imagine over the centuries that some women didn’t become Mirdainions. But the
   achievements of all lesser craftspeople were forgotten, except Narvi and Celebrimbor’s, and even
   theirs were remembered by only a few.”
            “What’s this got to do with the Rings?” Sam asked.
            “As the skill of the Mirdainions grew,” Alatar answered, “their ranks swelled. In time,
   Narvi grew very old while Celebrimbor stayed eternally young, but they didn’t want their
   partnership to end. So they combined their skill and forged the first of their many Rings of
   Power, to prevent decay and lengthen a person’s years, and preserve the life of Narvi.”

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            Sam swallowed. “Did they succeed?”
            “No tale records their deeds,” he answered. “Either success or failure could have driven
   them to create more Rings and create more Rings they did. Long before Sauron came to Eregion,
   they forged many Rings of Power he never touched. These Rings were crafted by the
   Mirdainions using Narvi and Celebrimbor’s skill alone.”
            “Why did Gandalf say they were triflings?” Sam asked.
            “Gandalf was right, inasmuch as the first Rings were experiments to facilitate later
   refinements,” Alatar answered. “Maybe something did go wrong. To ensure their enchanted
   Rings did no harm, the Thirteen, as the earliest Rings were called, were given to the Beasts of the
   fields, the birds of the air and the creatures in the sea.”
            “I noticed when I wore the One, I could understand different languages,” Sam told him.
   “Are those Rings the reason we can still talk to some of the animals?”
            “Many creatures were given the gift of language by the Valar, Melkor, or his consort
   Ulbandi,” Alatar answered. “Celebrimbor and Narvi’s Rings preserved those fading gifts for the
   creatures near and dear to them. In this, we are certain they succeeded. Having proven their
   enchanted Rings safe, they crafted many more. Next came the Eleven. At Narvi’s request, the
   first six of the Eleven were forged for Dwarves. The second five of the Eleven went to Elves.
   And with every Ring, their arts ascended to greater heights. The Thirteen, and perhaps the first
   six of the Eleven, might appear to an Elvish Lord or wizard as ‘trifles that were merely essays in
   the craft.’ But the five of the Eleven crafted for the most powerful Elven kings and queens by
   Celebrimbor, aided by a few of the most skilled Mirdainions, were most definitely not.”
            “How many magic Rings did they make?” Sam asked.
            “This is the verse I mentioned earlier,” Alatar answered, clearing his throat. “It records
   their efforts and prophesies an end to their labors.”



                         Thirteen Rings for Enchanted beings that swim, run and fly
                             Eleven for Dwarf and Elven lords wherever they may roam
                         Five for Mortal Warriors destined to die
                             One for the Bright Lord on his Golden Throne
                         In the East of Eregion, where the Misty Mountains lie
                             One King will gather them all, one King will unite them
                             One King will lead them against the evil that will smite them
                         In the Land of Mordor, they will triumph… or die



           “That’s just a bad imitation of the original verses about the real Rings of Power!” Sam
   shouted. “What do you really want? Why are you making all of this up?!”
           Everyone was shocked.
           Rosie clutched Sam’s hand tighter, “What’s wrong, dear?”
           “I don’t trust him!” he answered. “That’s as plain as I can be.”
           “Why not?” Elanor asked.
           “Gandalf had been coming to the Shire for hundreds of years,” Sam answered. “He was
   friends with the Bullroarer and helped train hobbits to stop an invasion of orcs! This so called

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   ‘wizard’” and he hooked his thumb at Alatar, “shows up at Bag End, not having done a thing to
   earn our trust, and the first thing he says is that he’s come looking for favors.”
            “He’s right,” Rosie told Elanor. She turned to the wizard, “And you still haven’t told us
   why you’ve come to Bag End.”
            A dark look passed over Alatar’s face and for a moment he froze. With effort, he
   composed himself. Speaking slowly, he chose his words carefully. “I didn’t want to alarm you
   Sam by immediately bringing dark tidings, not before we had a chance to talk. I wanted us to
   acquire a sense of each other, to build trust and share a drink. But now, since you have asked…”
            He stood with the help of his staff, which he didn’t seem to need. “It’s been said that as a
   servant of Melkor, Sauron was incapable of creating new things. His power, though fearsome,
   was to defile and corrupt, making lesser copies of existing creations. Despite knowing this, our
   histories attribute many acts of creation to him which never were and could never be. It was
   Celebrimbor and Narvi’s accomplishments which drew Sauron to Eregion, disguised as Annatar,
   ‘Bringer of Gifts.’ This was just another of his deceptions. Sauron brought no gifts, other than
   his flattery, and his obsessive desire to steal their secrets. In those arts, Sauron was a master.
   Even the wise King Celeborn, Queen Galadriel and Lord Celebrimbor were deceived. In time,
   Sauron did steal the Mirdainion’s secrets, but to everything, he brought a dark corruption.”
            “That sounds like the Sauron described in the Red Book,” Elanor said to her parents.
            “You still haven’t answered my question,” Rosie told Alatar.
            “Before Sauron arrived in Eregion, Celebrimbor and the Mirdainions forged thirty Rings
   of Power,” Alatar answered. “The majority; the Thirteen for beasts, the Five for Mortal Warriors,
   and six of the Eleven for Dwarves, brings the number of these ‘lesser’ Rings to twenty-four. The
   majority were lesser – only to immortal Wizards and Elves concerned with finding and
   destroying the Ruling Ring of Sauron, capable of enslaving or butchering the whole of Middle-
   earth. For mortals these lesser Rings, even the least of the lesser Rings, are objects of
   incalculable power, beyond the price of any king. In this, I must even include the most worthy
   High King Elessar. But the five of the Eleven for Elven Lords were not only as great as the later
   ‘Three Rings for the Elven Kings,’ in truth, they were far, far greater.”
            Alatar returned to his seat and Elanor sensed this was going to be the kicker. “But there
   was one final Ring of Power. It had been inspired by the Ring of Barahir, given to the Chief of
   the Edain by the Elven Lord Finrod Felagund for saving his life. It was forged in secret, as much
   as any work like that could have been secret, by Celebrimbor and Celebrimbor’s hands alone. It
   was his crowning achievement; the culmination of everything that had gone before and it
   towered over everything that came after. It was the Master-ring of Middle-earth, the true Ruling
   Ring, of which Sauron’s One Ring was only a pale and corrupted imitation. Celebrimbor crafted
   the Master-ring in secret for no hand, save his own.”
            “He did?” Elanor asked. “Why would he do that?”
            “You have said you love to cook, Lady Elanor,” the wizard answered. “Could you cook
   day and night, year after year, and never prepare a meal for yourself, giving everything away, no
   matter how hungry you were or delicious your creations?”
            “Of course not,” she answered. “No one would do that.”
            “And no one would make so many powerful and beautiful Rings,” he told her, “and never
   make one for himself.”
            “One for the Bright Lord on his Golden Throne,” she quoted.
            “This was the original and true Ruling Ring,” he affirmed.
            “Did the Master-ring enslave the others?” Theo asked.

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            “Forging that kind of foul and infernal thing would have been unthinkable to
   Celebrimbor,” Alatar answered. “His Master-ring was a thing of beauty. Some have said its light
   outshone the light of the Lamps and the Two Trees.”
            “How can that be?” Sam asked. “I didn’t think anything could be more beautiful than the
   Lamps and Trees.”
            Alatar hesitated. He looked around the room and measured each hobbit. “Celebrimbor
   passed most of his power into his final Ring and he infused it with the Ainulindalë, the power of
   the Song of Creation, known as the melodies, harmonies and unstained Music Of Ilúvatar.”
            Another shocked silence filled the hole.
            Abruptly, indignation filled Sam’s face. He stood and pointed at the wizard. “Look, you.
   Gandalf may not have been perfect and made mistakes; everyone does. But there’s no way he
   made a mistake like that! Not about the most powerful Ring ever created. That’s not the learned
   wizard and Lore Master I knew, and I knew him well!”
            “You speak wisely Sam, and from the heart,” Alatar told him. “The attributes of these
   original Rings of Power have been the most closely guarded secrets in Middle-earth.”
            “What could a Ring do that contained the Music Of Ilúvatar?” Elanor asked.
            Alatar eyed her thoughtfully. “Galadriel once told me she was confused by mortals. They
   equated the works of the Valar and Eldar with the works of Melkor and Sauron, calling them
   both ‘magic,’ as if they were same. To her, they could not have been more different. The reason
   for this, the essence of this difference, is the works of the Valar and Elves, created with our
   Secret Fire by which Ilúvatar has breathed us into being, echoes the Music Of Ilúvatar. Our
   magic is our interpretation and expression of this Music, in harmony with Ilúvatar’s. Though a
   tiny fraction of all that is, our works are acceptable gifts and cherished parts of all Creation. The
   works of Melkor are the antithesis. They produce harsh dissonances which corrupt Ilúvatar’s
   Music with jarring Discord. To Galadriel, her works and Melkor’s could not have been more
   different: different in origin, production and all effects. Elvish creations, like their Rings, are a
   harmonious reflection of Ilúvatar’s Music, bringing joy and preserving life. The works of Melkor
   mar the spirits of living things bringing ugliness, misery, and unalterably and unerringly, death.”
            “I thought death was a good thing,” Elanor told him. “Frodo wrote it comes from Ilúvatar
   and was called ‘The Gift of Men.’”
            “You are very learnéd, Lady Elanor,” Alatar told her. “The Gift of Men is a beautiful
   thing. It transports the spirits of mortals beyond Arda to a place of wonder only Ilúvatar knows.
   But there is more than one kind of death. Deaths brought by the Discords of Melkor are none of
   the things Ilúvatar intended. Unlike the works of Sauron, the original Rings of Power had
   beautiful and unique abilities to create, if not life, then at least things of beauty. Their attributes
   were unique for every Ring, in addition to doing what the staffs of wizards do: strengthen,
   preserve, and allow those who wield them to more easily and fully manifest their power.”
            “Except the Master-ring of Celebrimbor,” Elanor prompted.
            “The Master-ring could echo the existing Music in Eä or it could allow the Ringbearer to
   create new Music, never heard before,” Alatar explained, “creating things never seen before. It
   could even create things that have never before been imagined.”
            “What happened to the Master-ring?” Sam asked.
            “I have spoken to all the Wise in Middle-earth,” he answered. “None are left who know.”
            “I bet Sauron stole it when he killed Celebrimbor,” Fastred said.
            “No,” Alatar told him. “It was so far beyond Sauron, he could not have touched it, nor
   even bore its presence. It would have instantly altered his Discord and destroyed him. The least

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   echo of this Power, such as the light of the Phial of Galadriel or the Elvish pronouncement of
   Varda’s name ‘O Elbereth Gilthoniel’ is what causes so much pain in the servants of Melkor.”
           “Maybe Sauron threw the Master-ring in the Crack of Doom,” Theo offered.
           “I’m sure he wanted to,” Alatar responded. “The Master-ring was beyond the power of
   anything in Arda to unmake or even mar; not even the fires of Orodruin. But neither Sauron nor
   his servants would have been able to bear its presence, much less carry it to Mordor.”
           “If this Ring was so powerful,” Sam asked, “how could Sauron defeat Celebrimbor?”
           “Unlike the Necromancer’s, Celebrimbor’s original Rings didn’t instill a slavish
   covetousness, making the Bearer need to always keep or wear them,” he answered. “I believe
   Sauron caught Celebrimbor when he wasn’t wearing the Master-ring, and thus, defeated him.”
           “You still haven’t told us why nobody I’ve ever spoken to knew anything about these
   other Rings,” Sam told him.
           “Who did Celebrimbor give them to?” Elanor asked.
           “What became of them?” Theo wanted to know.
           “Do they still exist?” Fastred wondered. “If so, where are they now?”
           “The answers to these question,” Alatar responded, “are why I’ve ridden so many days
   and nights, traveling all the way to the Shire and Bag End to learn.”
           “Where in the Shire could your answers be?” Rosie asked.
           Alatar regarded her thoughtfully. “Though it is doubtless not the Master-ring, I believe
   that one of Celebrimbor’s original Rings of Power, and the key to finding the others, can be
   found on the finger of wherever you have interred the corpse of the wizard Saruman.”
           Another shocked silence filled the hole.
           Sam turned to Rosie. “I think he may be right.”
           “You do?” Theo asked.
           “Why?!” Fastred insisted.
           “I just remembered,” Sam told them. “While we were in Rivendell, Gandalf mentioned at
   the Council of Elrond that when he was taken prisoner in the Tower of Orthanc, Saruman made a
   great show of flaunting on his finger… a golden Ring of Power.”




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                                          Chapter 3




                      The Sundering Of The Gardners




           In 3019 of the Third Age after the scouring of the Shire, Gríma son of Gálmód, Man of
   Rohan, cut the wizard Saruman’s throat outside the door of Bag End. Fleeing down the Hill, he
   was shot full of arrows by hobbit archers. They had accompanied Frodo, Sam, Merry, Pippin and
   two dozen other hobbits, searching for Lotho Sackville-Baggins.
           Afterwards, Merry and Pippin prepared to have the shriveled body of the wizard and his
   arrow-stuck lackey hauled off and buried in the Battle Pit, along with their henchmen, the
   Southron and half-Orc Ruffians killed at the Battle of Bywater.
           Frodo stopped them.
           He said even though Saruman had Fallen to the temptation of the Ring, wrecked the Shire
   and was responsible for many deaths, for centuries he had opposed Sauron and led the White
   Council. He had once long ago been a noble wizard sent by the Valar to aid them.
           Merry and Pippin didn’t care. He was a scoundrel, a Beast! His orcs had murdered
   Boromir at Parth Galen before their eyes. They had been kidnapped and tormented, carried
   across the plains of Rohan. They would have ended up in Mordor, tortured and killed by Sauron
   in his hunt for Frodo and the Ring, if they hadn’t managed to escape using their own wits.
           Now Saruman was responsible for killing their friends here in the Shire and wounding
   many more. He had wrecked devastation throughout their lands which would take many years to
   mend. If Sauron himself had died here he would deserve no better, and probably, much worse.
           Back and forth they argued, each believing they were right.
           Sam had stood apart, silent and forlorn, hoping they wouldn’t call on him to pick a side.
   When not looking down, his eyes went back and forth between the ransacked interior of Bag End
   and the ravaged fields of the Hill, and far beyond. He was working on the problem of repairing
   and restoring as much as could be saved, and grieving over all that had been lost.

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           In the end, Frodo wouldn’t be dissuaded. Never quite abandoning their good manners
   despite their anger, Merry and Pippin left with most of the rest of the hobbits.
           Pippin and his band headed south to aid the Thain, warring against the largest group of
   Ruffians in Tookland. Their own Annals record that epic battle. Merry and his band rode east,
   fortifying Buckland and aiding his father, the Master Saradoc, valiantly fighting the rest.
           So it was left to Sam, Tom Cotton and a few others to carry out Frodo’s wishes. They
   buried Saruman and his murderer in the Baggins’ family plot, half-hidden between two groves of
   willow trees at the foot of the Hill’s northwest corner. It was the least seen and least accessible
   side. They dug the grave beside a tree in the uneven, rocky eastern corner. Interring the bodies
   without ceremony, they quickly refilled the dirt without setting a marker.
            Now, Sam and Elanor kept a lookout on both ends of the groves. Wearing gardening
   gloves and heavy water-soaked rags around their faces bellow their eyes, Fastred and Theo
   worked hard. They dug for hours, until their heads were below the uneven ground. Finally, their
   shovels struck the rotting remains of bones. They dug up just enough to find the hands.
           “Something’s wrong,” Fastred told them, his voice muffled by the rag.
           “What do you mean?” Sam asked, staring down at them as they sifted the soil.
           “There are two Rings on two different hands,” Theo answered. “And four hands!”
           “Why is there another body in the same grave as Saruman’s?” Alatar asked, angry.
           “His servant, Gríma the Wormtongue, was buried with his master,” Sam explained.
   “Though he’s the one who killed him.”
           Alatar jumped down beside Fastred and Theo to examine the hands. The rotting, putrid
   finger bones had fused around the metal. He had to break them to free the dirty grime-covered
   Rings before pocketing the metal bands.
           Climbing out of the grave, they reburied the bodies and returned to Bag End.
           While they were performing their grisly task, Sam’s oldest son Frodo had returned from
   Hobbiton with his brother Merry, and the rest of their brothers and sisters. They had driven a
   pony-led wagon filled with a last surprise: the largest load of fireworks they had ever seen.
           Rosie sent Sandro home after extracting a promise that he would stop at her brother
   Tom’s farm and tell him she was sorry, but they were overwhelmed with preparations and she
   was cancelling their dinner plans.
           She served her children an early supper and put the youngest seven to bed with the
   excuse she would awaken them well before sunrise to help set everything up for Elanor’s
   birthday and two-and-twentieth at the Party Tree. She had Merry supervise his younger siblings
   Pippin and Goldilocks. After cleaning the kitchen and other chores, they all went to bed.
           Alone in the Big Room, Rosie told her oldest two, Frodo and Rose, everything that had
   happened. Hours later as midnight fast approached, the three of them were still waiting.
           Sam and the others returned from the grave having removed their grimy gloves in the
   garden shed out back. Sam led Alatar to the kitchen where the wizard cleaned the golden Rings.
   Gathering in the Big Room, Alatar held them up in the lamp light and examined the bands. They
   were simple circles, smooth and featureless, free of any stone, engraving or device;
   indistinguishable from each other, or so they appeared.
           “I bet I know where that second Ring came from,” Elanor told them.
           “You do?” Alatar and Sam asked together.
           “Saruman,” she answered. “In Orthanc, he boasted he was a Ring-maker too.”




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            “The evidence in my hand makes it clear you could be right,” Alatar responded. “But it
   could also be another of Celebrimbor’s originals. However, if Saruman did produce any Rings,
   they were almost certainly merely trifles, and probably just this one.”
            “What makes you say that?” Fastred asked.
            “If Saruman had forged potent Rings,” Alatar answered, “the course of the War of the
   Ring would have ended very differently.”
            “How can we tell if one of them was forged by Celebrimbor?” Elanor asked. She was a
   little over-awed and at the same time, a bit impatient.
            “We must bathe the Rings in star or moonlight,” the wizard answered.
            “Easy enough,” Sam responded. Signaling Frodo, they each went to opposite sides of the
   room and pulled down a lever mounted on each wall. The sounds of weighted pulleys rising and
   falling filled the air and the roof of Bag End began to move.
            Above the open ceiling timbers was a layer of thick glass. The grass covered earth above
   was boxed in four large squares and skillfully laid in greased wooden runners. Weighted pulleys
   slid the sections out and uncovered the glass ceiling laying below the star-filled midnight sky.
            The Moon was at its zenith.
            Rosie, Elanor and Rose covered the lamps. Streaming moonlight filled the room.
            Alatar held up the golden circlets. “Ê isil lúsina, aiya elenion ancalima.”
            The outer band on one of the Rings glowed silver-blue, faintly at first, but then brighter.
   A bright blue Elvish script flowed to life and whispered over the polished gold:




            “If I wasn’t seeing it with my own two eyes,” Theo said, “I wouldn’t have believed it!”
            “Is it… magic?” Fastred asked.
            “It is an Elvish Tengwar script written with ithildin,” Alatar answered. “The invisible
   writing invented by Narvi I mentioned earlier. It can only be seen in the light of the Moon or
   stars after giving the proper commands in Elvish or Khuzdul.”
            “Can you read it?” Rosie asked.
            “Leben an fir varriar destin na bel,” he read.
            “That means…” Sam said, trying to work it out.
            “It’s one of the Five for mortals!” Elanor cried.
            “Five for Mortal Warriors destined to die,” the wizard translated.
            “What does it do?” Theo asked.
            “I’ve found no records describing their abilities,” Alatar answered. “There are rumors
   that Celebrimbor kept detailed journals during their development, recording everything from
   refining the raw materials to mixing alloys, creating molds and meticulously perfecting every
   step of the process for every Ring. He was inspired by his friend and ally, the Númenórean King
   Tar-Aldarion, who had his own library and archive in the Númenórean port of Rómenna.
   Celebrimbor constructed a great library and archive in Eregion. It was probably in his personal
   palace in Edhilon, and used to safeguard and preserve the secrets of his greatest achievements.”

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           “Has anyone looked for his library?” Elanor asked.
           “Not to my knowledge,” Alatar answered. “Though clearly, the time has come for
   someone to begin the search.”
           “Why do that?” Fastred asked. “Just put the Ring on and see for yourself what it does.”
           “I can’t,” Alatar told him, putting the lesser Ring in his inner breast pocket and setting the
   one with the glowing letters on the low table.
           “You said Celebrimbor’s Rings don’t have the terrible covetousness of Sauron’s,” Elanor
   said, suddenly afraid. She and the others took a step back.
           “So I have been told,” Alatar responded. “However, for a wizard of my Order, even
   without a corrupting spell or influence, the only magical artifact I should rely on is my staff.” He
   held his palm up in invitation to Sam. “But I would like you, Master Samwise, if you are so
   inclined, to put on this Ring and tell me what you see.”
           Sam stared at the golden band, entranced at the thought of once more being a Ringbearer.
   But he was also faintly repulsed. He had spent so much time trying to destroy them. Yet he
   stepped forward and his hand rose, almost of its own volition, reaching for the Ring.
           “I’ll have none of that!” Rosie shouted, grabbing his hands and pulling him away. “This
   hobbit has suffered enough for wizards and Elves!”
           “She’s right!” Fastred shouted, jumping between them and Alatar, while Theo and Frodo
   stepped up beside him. “Leave us alone! Wizards and magic are nothing but trouble!”
           “I- I’m sorry,” Alatar said, turning away. Their horror reminded him of the whispered
   warnings he heard in Minas Tirith from Elessar. “I should have thought – remembered all you
   have been through, before I asked.”
           “Fastred!” Sam ordered. “Bring me that shovel. Frodo, fetch me a pouch from my garden
   supplies.” They left to complete their tasks.
           “That won’t do any good Sam,” Alatar told him. “We can’t rebury the Rings. Others will
   come looking for them. There may be some already on their way.”
           “Who?!” Sam shouted, his anger fanned to fire by his fear for his family.
           Several of the smaller side-doors opened. Tiny child hobbit-heads peered out fearfully.
           “Come, little ones,” Rosie said. Glancing at Elanor and Rose, the three of them gathered
   the children and led them back to bed, shutting the doors behind them.
           “I am… such a fool,” Alatar realized. He turned to Sam. “I must get you and your family
   out of the Shire tonight.”
           “They’re not going anywhere!” Fastred yelled, returning with Frodo. He handed Sam the
   shovel, but not before looking at Alatar as if he had half a mind to hit him.
           Sam scooped up the Ring and Frodo held the pouch open. Dropping it in, he handed back
   the shovel, took the pouch, pulled the strings and gave the bag to Alatar. “It’s time you left.”
           “Yes,” he agreed, “and you and your family with me.”
           “I believe it’s best we stay,” Rosie said tartly, returning without Rose. “Tomorrow is my
   daughter’s two-and-twentieth.”
           “All the East is moving,” Alatar told them. “I rode to Minas Tirith barely ahead of the
   storm. Before I left, rumors of my mission had inflamed the City. I arrived here before any other,
   only because my horse Silverfall is one of the Mearas.”
           He turned away from them and looked through the open door, past Elanor walking back
   to the Big Room through the eastern hallway, but he couldn’t see past the dark surface of the east
   window. “Rangers stopped guarding your borders long ago. If I leave and the others come, and
   they are coming, there won’t be anyone here to save you and your family.”

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           “Who are these others you say are coming?!” Sam asked, barely containing his fury.
           “A new breed of orc you have not seen,” the wizard answered. “They are far more evil
   than those you knew. They are called the Orcelven. They are a crossbreed of Orcs and Elves.”
           “I don’t believe you!” Sam shouted. “No Elvish man would impregnate an orc, and no
   Elvish woman would carry an abomination like that to term and give birth to a monster!”
           “You were right, Sam,” Alatar said, turning away and hooding his eyes. “We should not
   discuss this… in front of your wife and daughters.”
           “I’m the youngest girl in the room,” Elanor said, stepping through the door. “Though I
   believe it’s after midnight, so now I’m old enough to hear what I obviously know is coming.”
           Alatar hesitated before turning to Sam. “In every war fought outside battles by
   professional soldiers, few would admit and no one records that both sides often murder, enslave,
   rape and pillage cities and whole countrysides; young and old, men and women alike. Do you
   believe orcs would refrain from committing these atrocities?”
           “If what you say is true,” Sam asked, “where do the Orcelven come from?”
           “I’m not certain,” Alatar answered. “There are rumors of Elvish women surviving
   torments at the hands of orcs and delivering living babies.”
           “Oh no…” Elanor said, sinking to the couch and putting her head in her hands.
           “What is it, dear?” Rosie asked. She sat beside her daughter and put her arms around
   Elanor’s shoulders.
           Elanor shuddered and start to cry. When she looked up, tears spilled from her eyes.
   “Celendrian told me… her Elvish grandmother Celebrían, Queen Arwen’s mother, was captured
   by orcs and tormented. Elrond healed her body, but he couldn’t heal her spirit, not even after a
   year of trying. She sailed from the Grey Havens and passed West. That’s why she wasn’t at
   Elessar and Arwen’s wedding. I didn’t make the connection at the time, but…”
           “That’s impossible!” Sam told her. “If something like that had happened, I’m sure we
   would have heard about it from Elrond long before now.”
           “Why, Sam?” Alatar asked. “Celebrían was his wife. He loved her. He wouldn’t have any
   reason to make these painful events public. That would only have served to torment her even
   more than she had already suffered.”
           Rosie looked up from Elanor. “Are you telling us that Celebrían gave birth to – ”
           “No one knows from where the Orcelven come,” Alatar answered. “But they do exist. I
   have killed too many in Rhûn. We are the bitterest enemies. It was at war with them that I first
   learned of the original Rings of Celebrimbor, and the dark ambitions of the nameless Orcelven
   Prince who hunts them, desiring to become the new Lord of the Rings. The Orcelven war with
   King Dominus of Rhûn, to conquer his people and use them against the Gauntlet of Mordor and
   his former Queen. I won’t say any more tonight, as not to bring evil any sooner to your door.”
           “I think you’ve already done a good enough job of that yourself!” Sam told him.
           “Orcs and Rings existed long before I came to Middle-earth,” Alatar responded. “And if I
   fail my appointed task, they will exist long after I am gone. Although you and Frodo Baggins
   unmade the One and the Three passed West, three of the Seven were never lost. The Nine worn
   by the Nazgûl, whom you faced, were immediately found, strewn across the plains of Gorgoroth
   while the Eagles carried you out of Mordor.”
           “I know Sauron had three of the Seven,” Sam said. “But we destroyed Sauron when we
   threw his One Ring into the fire.”
           “Sauron was destroyed,” Alatar affirmed. “But the three of the Seven he wore were not.
   They fell amid the ruins of the Tower of Barad-dûr. There they were recovered by his most

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   ambitious and powerful lieutenants. One was a demonic balrog named Lungorthin, the so called
   ‘Gauntlet of Sauron.’ He betrayed his Queen and now styles himself the King of Balrogs. They
   have warred with each other ever since for the conquest of the lands east of Mordor stretching all
   the way to the East Sea. Pallando and I have spent centuries stopping them with very little rest,
   while you here in the west believed these wars ended a generation ago.”
           “This is terrible news!” Elanor cried.
           “I’m sorry to report,” the wizard said. “But it’s the truth.”
           “What about the Nine?” Theo asked.
           “At the end of the Third Age after the War of the Ring, the Wise made a very foolish
   mistake,” he answered. “As foolish as they made at the end of the Second Age after the War of
   the Last Alliance, when they allowed Isildur to take the One Ring while Sauron lay defeated.”
           “What mistake?” Fastred asked.
           “Gandalf and Elessar didn’t account for every Ring of Power after Sauron’s fall,” the
   wizard responded. “There were others who did.”
           “Who are these others?” Sam asked.
           “In addition to Lungorthin,” he answered, “Sauron had a favored concubine. Her origins
   are shrouded in mystery. She wears many faces and forms. Her name is Thüringel. She was in
   Mordor when Barad-dûr fell. I don’t know how she survived the fall of the Tower. From the
   ruins, she built a terrible fortress on the plains of Gorgoroth. She now rules all the lands from the
   Ephel Dúath in the west, and all of Nurn and the lands around the Sea of Nurnen. Lithlad and the
   lands east to the borders of Khand are hers and her armies push farther east. Her thirst for blood
   has extended her borders into Harad, Haradwaith, Dagorlad, Dorwinion; even to the Sea of Rhûn
   and huge tracks of Wilderland to the shores of the Rivers Celduin and Carnen in the north are
   hers. There, she wars with the Men of Dale. The Dwarves of the Iron Hills and Erebor are also
   wracked with her in war. In the eves of Mirkwood, she desperately fights to retake Dol Guldur.
   Only the Elvish forces of Lord Celeborn and King Thranduil have checked her conquests. In her
   realms evil Men, Orcs and other creatures multiply. She wars with Prince Faramir of Ithilien,
   Queen Imavich of Wetwang, King Éomer of Rohan, the Warlord Thû of Dor Daedeloth, Princess
   Estys of Anórien, and King Elessar and the peoples of the United Kingdoms of Arnor and
   Gondor. It’s said she performs dark arts and obscene rituals on an obsidian throne covered in
   blood, worshipped like a God by her subjects and called by them, the Dark Queen of Mordor.”
           “Why haven’t we heard any of this before?” Fastred asked.
           “Because your own borders were secure,” Alatar answered. “It made no difference when
   others went to war for you and died in distant lands. To the east live your neighbors in Bree. Six
   years ago, Elessar rebuilt Annúminas and now the Men of Arnor protect you in the north. To the
   south, Prince Imrahil and Princess Benethíriä rule Dol Amroth. King Éomer and Queen Lothíriel,
   and the Lords of Rohan also keep you safe. In the west sits Lord Círdan with all his Elves.”
           “If what you say is true,” Frodo asked, “why should we care?”
           “Because things have changed,” Alatar answered. “If they were ever truly different.
   Perhaps for a time you could live in blissful ignorance. That time has passed. Those who live in
   the East are no longer content to war amongst themselves. They have learned of the secrets of
   these Rings of Power and they want them for themselves. They believe once they have them,
   they will live in happy ignorance off the fat of the land – like you do. While we stand here
   arguing, they are coming. If we do not rise united and oppose them, it won’t stop them from
   invading. Tonight is the final moment of quiet before the arrival of the storm.”
           “You keep saying people are coming,” Sam said. “Who’s coming?”

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            “We don’t know all their names,” Alatar answered. “They’ve kept their identities secret.
   But Pallando and I know potent figures lurk, hidden powers behind dark thrones. All of them
   now know about and are coming for these Rings. Besides the three salvaged from the ruins of
   Barad-dûr by Sauron’s lieutenants, it’s rumored a great Elven Lord roamed the plains of Mordor
   at the end of the War, gathering the Nine fallen Rings of the Nazgûl Kings.”
            “There wasn’t any Elven Lord in Mordor,” Sam told him. “That was me! The orcs
   thought I was an Elvish Lord when I drew out the light of the Phial of Galadriel and they saw my
   Elven blade Sting.”
            “I know they did Sam,” Alatar told him. “But there also really was an Elvish Lord in
   Mordor. From what we’ve pieced together, he arrived before you did. He wasn’t there to find
   fallen Rings after the fall of the Dark Tower. He was hunting for you and Frodo, to deceive you
   with false friendship and an offer of assistance. He would have killed you and taken the Ruling
   Ring to become a new Dark Lord. My worst fear is that this news has reached his ears, and he
   himself is coming to correct his earlier failure. That is why we must leave tonight. Or you and
   your family will learn his name – when facing him alone.”
            Rosie clutched Sam’s hand. “Where can we take the children where they’ll be safe?”
            “West,” Alatar answered. He stood and faced the west window. “Your only hope is to
   flee west this very night, to Lindon, and hope the power of Círdan can keep the Enemy at bay.”
            Elanor’s first unbidden reaction was joy, from that part of her mind that had always
   dreamed of returning to Lindon. She immediately scolded herself for celebrating what could only
   be a wrenching transition for her family. It was only then she realized the long planned, much
   anticipated and many splendors of her two-and-twentieth party – would never be.
            “Elanor, Frodo, Rose, get everyone up and start packing,” Sam told them. “One change
   of clothes and nothing else, but as much food and water as the wagons can carry.”
            “I’m bringing the Red Book,” Elanor told him, rising resolutely from the couch.
            “Of course, love,” Sam said, taking her hands. “It’s one of the Heirlooms of our House,
   as strange as it sounds to be saying out loud and to think we even have such things.”
            “Good,” Alatar said. “Though you, Sam, must travel east with me.”
            “I’ve already told you no!” Rosie shouted. She no longer cared what anyone thought and
   she was about to wake the children anyway. “You’ll not take this hobbit from his family!”
            “I must,” Alatar told her. “Sam is the only one who has worn a Ring of Power. Because
   of this, the others will call to him, have been calling. I must show him how to unstop his ears so
   he can hear them and we can find them, before the hosts of our enemies find him.”
            “What enemies?” Elanor asked. For the first time, she felt truly afraid.
            “It doesn’t matter!” Sam told Alatar. “I don’t want to hear another word!”
            “This isn’t like before,” Alatar told him. “You were only in danger then because you
   walked beside the Ringbearer. To those who are coming now, you are the key to power. They’ll
   slaughter your family, whether you agree to help them or not, whether you’re here to defend
   them or not, just to break your spirit, or give themselves a moment of amusement.”
            “If those are my choices, I’ll die beside my loved ones, defending them with my last
   breath!” Sam said. He stepped up to the wizard with his hands out to push him towards the door.
            Alatar’s eyes flashed. He lifted his staff and spread his arms. Every glint of silver in his
   hat, robes and armor began to glow. “I am not Gandalf the Grey, to prod and persuade!” His
   form seemed to grow, filling the Big Room. The lamps flickered, caught in the sudden winds
   whipping his robes about the room. “I come from the East! There, men are harder.” The winds
   gusted stronger and bit colder. “Slower to anger, but once ignited – it comes in a storm!!”

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           Sam and the others shrank back, terrified of the wizard’s power.
           “But I am not your enemy, Sam,” Alatar said, lowering his staff. As his form returned to
   its former size, the winds and shadows passed. “I will not deal in their evil tools or Dark Arts.
   Though the fate of Middle-earth could very well be decided, here in the Shire, tonight. If you
   will not help me, then give me the Red Book, so I can study its pages. Or if not, then perhaps the
   assistance of Lady Elanor, who knows the contents better than any other. There may be a thread
   of wisdom there from which we can fan a slender hope.”
           “I’m not leaving my family!” Elanor shouted. She grabbed the Red Book off the table
   and clutched it against her chest. “And you can’t have our book!”



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            The wagons were loaded with the family and all they could carry. Sam and his second
   oldest daughter Rose sat up front in the lead wagon. Rosie and their oldest son Frodo drove the
   other. Sam sent Fastred and Theo to the Cotton’s farm with a letter to fetch Rosie’s brother Tom
   and have him meet them at the main fork of the East Road.
            But Elanor demanded she go with them, to say her goodbyes to Theo and Fastred in
   private. She promised to return with her uncle Tom. Sam had been firmly against it, but Rosie
   took Elanor’s side, insisting, saying they owed it to her for having to cancel her two-and-
   twentieth. With barely a goodbye she left, promising to soon return.
            When Sam, Rosie and their children reached the East Road in their wagons, Tom was
   waiting for them on a pony, bewildered, and alone. “What’s going on, Sam?”
            “Where’s Elanor?!?” Rosie shouted.
            “She woke us up in the middle of the night and scared her aunt Marigold half to death!”
   Tom answered. “She said I had to meet you here, without so much as a ‘please,’ or a ‘hallo, how
   do you do.’”
            “Where has she gone?!” Sam asked. He jumped down off the wagon carrying a knapsack.
            “She and Theo and Fastred took off on my three best ponies for the Three Farthing Stone,
   saying they had no time for explanations!” Tom answered. “Now I’ve got this sinking feeling,
   it’s just going to be more of the same from you.”
            “Oh no!” Rosie wailed. “She promised!”
            “Trade me your pony Tom,” Sam told him, handing him the knapsack.
            “He’s the last one I’ve got!” Tom shouted.
            But Sam was family and Tom knew he wouldn’t do anything as strange as this without
   good cause. He slid off his pony, handed Sam the reins and opened the knapsack. Inside, he
   found the keys to Bag End and the Badge of Office of the Honorable Mayor of the Shire.
            “What’s happened?” Tom asked, looking up.
            “I haven’t time to explain!” Sam answered, mounting the pony.
            “I figured,” Tom said. Taking the Badge out and polishing it on his sleeve, he pinned it
   on his rumpled and hastily thrown on shirt – just to try it on for size.
            Before Sam could start the pony, Rosie grabbed the bridle. “I’m going with you!”
            “You’ve no idea what you’re saying, love,” Sam told her. “It’s too dangerous!”

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            “Did you have any idea, when you took off with Frodo Baggins?” Rosie asked.
            “That’s exactly my point!” Sam shouted.
            “Would it have stopped you if you knew?” she asked. “Or would you take it all back if
   you could now that you do know, and wish you’d never gone?”
            There was no point in arguing. He knew she was right and the minutes were slipping
   away from them. He helped her mount up behind him. She put her arms around his waist and it
   was only then that he felt her trembling, but there was nothing to be done.
            Riding to the lead wagon, he held his hand out to his daughter Rose. “Hand me my pack.”
   After she handed it over, he opened it and looked inside. “Garned rabbit.”
            “What’s wrong?” Rosie asked.
            “Frodo,” Sam said, riding to the other wagon. “I’m putting you in charge of the family.
   Children! You’re to listen to Frodo without argument, and do as he says – the first time.”
            “Yes… father,” chimed the chorus of his children’s voices.
            Sam turned to Frodo. “Stay on the East Road and go as fast as the ponies allow, but don’t
   exhaust them. But whatever you do, do not stop! Day or night. Not until you’ve crossed into
   Lindon and met with our friend, Lord Círdan. Tell him what’s happened. Is that clear?”
            “Yes, father,” Frodo said, smiling bravely, though Sam could see the fear behind his
   son’s eyes, he tried his best to hide. “You can count on me.”
            “I know I can, Frodo,” Sam said. He shook his son’s hand manfully to put a good face on
   their parting. “There isn’t a hobbit I’d trust more to do right by our family than you, son.”
            “Where are you and mommy going?” little Ruby asked. At four, she was in the prime of
   her inquisitiveness, a reliable font of endless questions.
            “It’s our pretty Elanor, love,” Sam answered lightly, while Rosie painted a bright happy
   smile on her face. They took turns kissing their children goodbye as briefly as possible, as not to
   alarm them, or in Rosie’s case, break down herself and start crying. “We’ve left her behind.”
            “Oh no!” Primrose cried. At seven she still idealized her older sister. “Not sweet Elanor!”
            “Yes, love,” Sam answered. “Our Elanor.”
            “How long will you and mommy be gone?” Ruby asked.
            “Just as long as it takes to fetch her home and not a minute more,” Sam answered. He
   kissed the top of her head and smoothed down her long blond hair.
            “And just where,” Tom asked, exasperated, “am I to report to everyone in the Four
   Farthings that you and Mistress Rose and the Lady Elanor have gone, Master Samwise?!”
            Sam turned to the east, flicked the reins and shouted over his shoulder as he kicked the
   little pony into a run. “Tell them we’ve gone to Gondor!”




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                                           Chapter 4




                             On The Road To Gondor




            When Elanor left the Cotton’s farm with Theo and Fastred, her best friend Bell Cotton
   and Bell’s younger brother Reggie begged to go with them, but there weren’t any more ponies.
   Bell asked them to wait for Theo’s younger siblings; Ronny, Prissy and Esme. They and their
   father the Master Meriadoc, his wife Stella, the Thain Peregrin Took, his wife Diamond and their
   son Remy were arriving in the morning. She was sure they’d all go with her, wherever she went.
            Elanor thanked her, but wasn’t sure where she was going and there wasn’t time to wait.
            Fastred and Theo hadn’t understood the rush. Riding beside her, they reached the Three
   Farthing Stone and there they saw why: Alatar was waiting for her. Elanor told them she had
   stopped him at the door of Bag End and offered to go with him to help however she could.
            “Why did you do that?” Fastred asked.
            “Our life here is over,” she answered. “That much is clear.”
            “So you mean to just throw away whatever’s left?” Fastred asked.
            “Of course not,” she answered. “It’s just… after I finished helping my father with his
   letter to my uncle Tom, in a pinch mine was always the swifter hand, I realized this wasn’t about
   cancelling my party or the danger to my family, it’s about everything. All of Middle-earth is in
   danger. That means our friends in Rohan and Gondor. Even King Elessar, Queen Arwen,
   Celendrian, the Crown Prince Eldarion, and their sisters. I thought I should dash off a quick note
   to let them know I was alright, and…. running. I don’t know. Maybe I’m being foolish, but if
   we’re in danger here in the Shire, then they are too in Gondor. Alatar thinks there may be
   something I can do to help. If that’s true but instead I chose to run and then something happened
   to them… I- I don’t think I could live with myself after that.”
            Theo turned to Alatar, “What can she do?”


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            The wizard withdrew the golden Ring he’d hung on a mithril chain and handed it to
   Elanor. “She can start by taking this and when we have a moment, she can help me deduce its
   abilities. This Ring is our only hope of finding the others before anyone else.”
            Elanor threw back the hood of her long grey cloak and slipped the chain over her head.
   She hid the Ring beneath the edge of her blouse and the riding vest she’d borrowed from her aunt
   Marigold. From her pretty waist belt there hung a black scabbarded, leaf-shaped sword. The
   black handle was damasked with gold and red serpent-forms bearing bejeweled red eyes. Fiery
   red gems adorned the pommel and peen. She pulled her cloak up over her shoulders and hugged
   Theo and Fastred. “Take care of each other. I’ll write when I can.”
            “Oh no!” Fastred shouted. “If I can’t stop you, I’m not letting you ride off all alone with a
   stranger. My father would kill me!”
            “That goes double for me!” Theo cried.
            She knew it wasn’t true, but in that moment, she felt more love for them than for anyone
   else outside her family.
            “Come if you wish or stay,” Alatar told them. “Either is fine. The one thing we cannot do
   is waste more time arguing! Perhaps when the miles have dampened your enthusiasms you’ll
   change your minds and return to your families. But until then we must be off!”
            He turned his horse Silverfall east and rode as fast as the three hobbit ponies could
   follow. At that pace it wasn’t long before their mounts began to tire. He remedied this by
   insisting they change them out at the first farm. There, Elanor did her best to explain things.
            Fortunately, she was well known and trusted. Folks mostly scratched their heads and
   agreed to help. They were certain HMS Samwise would put things to right in the morning,
   perhaps with a handsome gratuity included for doing a good turn for his daughter.
            They crossed the Brandywine Bridge and reached the threefold split in the King’s Road,
   where the East Road continued to Bree. The High Hay Parkway crossed it going south, following
   The Hedge. This marked the border between Buckland and the Old Forest. The Buckland
   Highway wound south towards Brandy Hall, Crickhollow, Bucklebury and Standelf.
            “Can we make a short detour to seek the council of my father, the Master Meriadoc of
   Buckland?” Theo hollered to Alatar. “He’ll be a great help and it won’t take long!”
            “You are free to go,” the wizard answered. “The three of us will ride on!”
            Theo knew if he left now he would never catch up with them later so, torn and full of
   regrets, he silently said goodbye to his homeland.
            Silverfall never seemed to slow or tire, but their hobbit ponies did. As soon as this
   happened, Alatar insisted on trading them out for fresh mounts. They rode all night and kept
   going after sunrise, changing ponies four times. At the end of their journey Elanor, Fastred and
   Theo were close to exhaustion, but they reached Bree by late morning.



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           The minute Sam and Rosie were out of sight, Rosie started crying. She hid it as long as
   she could, but once started, she couldn’t stop. Sam decided that if you can’t beat them you may
   as well join them and he started blabbering like a baby.

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           “You stop your bawling this instant!” Rosie shouted. “You’re acting like you’ll never see
   your children again – and I won’t have it!”
           Sam laughed and felt his spirits rising. “With you at my heels Mistress Rose, I’m sure
   I’ve no choice in the matter.”
           She laughed too, wiping first his tears and then her own. “You’d best believe it, Master
   Samwise!” She clutched his waist tighter and for a long time, the miles flew by in silence. “She’s
   gone off with that misbegotten wizard… hasn’t she?”
           “I’m afraid so,” he answered.
           “It’s all my fault!” she wailed. “I shouldn’t have insisted she go with Fastred and Theo.”
           Sam laughed and pulled her arms tighter around his waist. “Hush, dear heart. You did
   what you thought was right. It’s one of the many reasons I love you.”
           She kissed his cheek. “I love you, too.”
           “She would have left anyway,” he told her. “With or without our consent.”
           “What makes you say that?” Rosie asked.
            “I knew it the moment I looked in my pack,” he answered.
           “What did you see?” she asked.
           “It’s not what I saw,” he answered. “It’s what I didn’t see. There wasn’t time to change at
   home and I didn’t want to be wearing my sword in front of the children before we were out on
   the Road, so I told Elanor to pack my Barrow-blade, Elven cloak, mithril coat and Sting. But
   when I looked in my bag, my Barrow-blade and Elven cloak were gone.”
           “She took your cloak and blade?” Rosie asked.
           “She left the Star of the Dúnedain,” he told her. “Though I wish she’d taken it, too.”
           “Why is that?” Rosie asked.
           “She could have used it to ransom her way out of trouble,” he answered.
           “If she faces that much trouble, whoever threatened her would just as likely take the Star
   and trouble her some more!” Rosie told him. “But one good thing about wizards, I’d warrant, is
   they’d make something like that happening to our Elanor unlikely.”
           “I hope so, love,” Sam said.
           Keeping to a steady pace, the hours passed and they rode on an even longer while in
   silence. Sam couldn’t help remembering his journey to Mordor; being attacked by Nazgûl,
   wargs, orcs, giant spiders… and that nightmare of Shadow and Fire in Moria –
           She felt him shudder. “What’s wrong?”
           “Thinking too much,” he answered, “about that Ring. Alatar said it wasn’t evil and it
   wouldn’t enslave its Ringbearer. I hope he’s right and she’ll give it up.”
           “She knows what you went through better than anyone!” Rosie said. “We’ve raised her
   well. She won’t believe everything he says and just put it on… will she?”
           “She believed enough to leave us,” he answered. “I don’t see why she wouldn’t.”
           Soon they reached another farm. The old hobbit farmer Lazar Maggot, who everyone
   called Louie, stood framed in the light of his barn. He told them, yes, Elanor had ridden through
   with Theo and Fastred, and an odd-looking Man. He showed them Tom Cotton’s three tired
   ponies. Sam gave him Tom’s fourth in exchange for a fresh mount. He thanked Maggot for his
   kindness to their daughter and made him promise to talk to Tom in the morning to put everything
   to right. They rode away happy, having found news of their daughter and carrying a pouch of
   fresh food, including aromatic mushrooms from Mrs. Madeline Maggot, who everyone called
   Ima. At the next farm they traded their pony for a team of horses pulling a cart and made better
   time. Sam put his mithril coat on under his clothes while they crossed the Brandywine bridge.

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           “I’m feeling a bit hungry, love,” he told her. “I just remembered, I skipped dinner. Would
   you pull a bit of food from Ima’s pouch and my flask from my pack?”
           Rosie pulled his bag into her lap, opened it – and screamed. Dropping the bag, she slid
   back off the bench and fell against their packs in a faint.
           Sam reined the horses to a stop, jumped in the back and took her in his arms. “Rosie.
   Rosie! ROSE!!” Her eyes flutter open. “What is it, love?”
           “In your pack…” she said, motioning at the fallen bag. Tears streamed down her face, but
   these were different from those before, these sprang from fear. She sat up trembling.
           Sam opened his pack. Through the scabbard of his Elven blade, a foreboding glow filled
   his face with a cold blue light. For one quiet moment, a requiem to the peaceful life he’d lived in
   the Shire for more than twenty-three years, he simply gaped at Sting in silence.
           Hooves shattered the silence with the sounds of galloping horses. The clatter of arms and
   armor came echoing across the southern split of the Marish Highway – and approaching fast.
           Sam lashed the horses, they galloped away as fast as the team could run, and the wagon
   banged up and down. Rosie held onto him, fearing they might lose a wheel, but they didn’t stop
   or slow their headlong flight. Behind them came their pursuers: a large band of charging Orcs.
           Rosie screamed.
           “Here!” Sam shouted, handing her the reins. “You drive.”
           Holding the reins forced her to concentrate on the road and their galloping horses.
           Sam pulled his pack over his shoulders and strapped on Sting. Before unharnessing the
   horses, he put a saddle from the back onto the largest. Shorting the stirrups so they reached his
   feet, he put Rosie on the saddle in front. There was plenty of room for two on the large saddle for
   Men. He unhitched the wagon and jumped into the saddle behind her.
           Without the anchor of their horses, the wagon fell behind them, bouncing up and down
   uncontrollably until it shattered on the road. He scattered the other horses, sending them running
   into the woods. Spurring their horse, they charged forward on the road like a demon riding east.
   The orcs detoured around the wreckage and fell further behind. A few went after the horses.
           The rest pursued them.
           Their horse was fresh and the hobbits, a light load on his back, while the orc’s horses had
   been riding hard half the night. Sam and Rosie pulled away. But as the night wore on their mount
   began to tire, not bred for nor accustomed to long sustained efforts. The still wide distance
   between them and the pursuing orcs began to close.
           Beyond the fields to the south, the edge of trees grew thicker and darker, marking the
   entrance to the Old Forest. To hobbits, it usually appeared foreboding.
           To Rosie, it was a slim hope of escape.
           “Can’t we make for the woods?” she shouted.
           “This horse is too big!” Sam cried. “We’ve had the advantage because the road runs
   straight and flat. In those fields, it’ll be hard just to stay on his back! We’ll lose too much speed
   and they’ll catch us long before we reach the woods.”
           His thoughts raced, but no solution presented itself and the miles dragged on. The orcs,
   though distant, came closer. Same and Rosie grew desperate, approaching the top of another hill.
           Rosie pointed far ahead. “Look!”
           Above the crest, rolling clouds of dust rose high into the moonlit sky. It was a sure sign
   another band of horsemen lay ahead and were riding towards them.
           “We’re saved!” Rosie cried.



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           When they reached the top of the hill, a low valley opened before them. On the other end
   of the valley riding down the Road on horses were creatures they’d never seen.
           Even on the backs of tall horses, they were tall, as tall as Men, some as tall as Elves.
   Their bodies were powerfully built, and their clothes and mail were clean and fair, their long
   clean hair flowed behind them golden in the wind. Their faces were hideously corrupted, bearing
   beautiful Elvish features, blemished with twisted ridges. Their pockmarked cheeks and ridged
   foreheads framed large green eyes, bright with vicious light.
           Their hands were larger than orcs and talons grew from their fingertips. Four fangs
   protruded from their lips. Two rose up even with their eyes. Two more fell below their chins,
   covered with slather and drool, and the grime from their last kill. They were farther away than
   the orcs, but riding harder and closing the distance faster.
           Sam knew who they had to be, “The Orcelven!”
           When they reached the low center of the shallow valley, he reined his horse to a stop.
           “What are you doing?” Rosie asked, her terror palpable.
           “Do you trust me, Rose?” he asked.
           “This is no time for foolish questions when – ”
           “Hand me a knapsack!” he shouted.
           She handed him one and he dumped the food. Rolling it into a blindfold, he bound their
   horse’s eyes. Behind them, the orcs pulled out their swords and spears. Before them, the
   Orcelven drew their curving scimitars and lowered their much longer and cruelly barbed javelins.
   Both forces spurred their galloping horses into deadly wedge-shaped charges. The ground shook
   with the force of their coming and their horse stomped his feet. Blindfolded, he could only wait.
           Rosie stopped crying and gripped Sam’s waist tighter. “I love you, Sam.”
           “And I, you, my love,” he said. Drawing Sting, he brandished the glowing blade. “Maybe
   you should close your eyes. But know as long as I live, I won’t give up!”
           The leader of the Orcelven had a princely bearing. He was taller and more powerfully
   built than the others, and his face burned with the greatest malice. “How now, my little hobbits!
   Are you the ones we seek? You must be! No matter. It’s time to meet your deaths!”
           “You think he knows us?” Rosie asked.
           “I don’t see how he could,” Sam answered. “He’s probably just assumed, because it’s the
   middle of the night and we’re chased by orcs!”
           Sam walked the horse in a circle, pausing east, then west, as if trying to decide who to
   charge, or more likely, to which group to surrender and make himself a prisoner.
           Seeing this, both sides charged faster, afraid of whatever his choice might be.
           Rosie pulled Sam’s face around and kissed him on the lips, then closed her eyes and
   gripped his waist tighter. “I can die happy now, since yours is the last face I’ll ever see!”
           Back and forth, back and forth, Sam turned their horse’s head, as if he couldn’t make up
   his mind. The minute before the charging wedges converged, he stood up high in the stirrups.
   Lifting Sting even higher overhead, he screamed in defiance and swung the flat of the blade
   down to deliver a bitter smack against his horse’s rump.
           The horse shrieked and bolted from the road – no more than a sword length from the
   javelins and spears. The screaming orcs and Orcelven smashed into each other in a terrible clash
   of twisting steel and breaking bones.
           Rosie was crying again, but her eyes were still closed. “Why aren’t we dead?”
           Sam laughed. “Open your eyes!”



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           She did. The dark eves of the Old Forest rose like sentinels before them. Behind, the orcs
   and Orcelven slaughtered each other without mercy.
           Rosie grew up on a farm, so butchering chickens, pigs, cows and sheep was as natural as
   making her bed. But seeing people ripping each other to pieces, if these creatures deserved the
   name, she wasn’t sure, was horrifying to witness.
           The Orcelven were finer warriors and had the edge in size, speed and strength. But the
   orcs outnumbered them many times over and despite their disadvantages, they threw themselves
   against their enemies maniacally, heedless of the danger or death.
           She had no idea who would win.
           Roaring viciously, a rear contingent of orcs broke away from the battle and pursued them.
   Startled out of their reverie, Sam and Rosie rode on, harder and faster, bouncing up and down
   dangerously while coming closer to the trees.
           The princely leader of the Orcelven saw the orcs closing on the hobbits. With a vicious
   cry, he cut through his foes and rode after them. His horse was larger and faster; he gained on
   them. Up ahead, Sam and Rosie finally crossed the line of trees and passed into the Old Forest.
           Inside the woods with their horse blindfolded, Sam felt their progress slow to a crawl, so
   he ripped the blindfold off and gave their horse its head. They galloped through the narrowing
   gaps between trees and rode deeper into the forest, passing many a moonlit grove.
           But the orcs were experienced riders and came steadily closer and closer.
           “Before we reach a clearing I’m going to throw you into some bushes!” Sam told her.
   “Hide until they’ve passed and then sneak off to Buckland or Bree!”
           “They’ll see and catch me!” Rosie shouted. “They’re too close!”
           “Then when I stop the horse, run!” he shouted. “It’s me they want, not you!”
           “They’re orcs!” she told him. “I’ve read the Red Book and heard what Alatar said about
   what happens to women in battle. They’ll chase me and kill me for sport – or worse!” She
   gripped his waist tighter. “I won’t suffer the torments of Celebrían. Promise if they catch us,
   you’ll show me the mercy of your loving hand and Sting – and set me free!”
           “Rosie!” Sam shouted. “I can’t!”
           “You have to!” she insisted. “If you love me Sam, you will!”
           Before he could respond, the leader of the Orcelven reached the rear of the pursuing orcs
   and cut the first one down. Three other orcs turned their horses and faced him, but in the
   cramped confines of the woods, the advantage was his.
           Their blades clashed and the sounds of their battle raged. One by one, the orcs fell
   beneath his sword. Despite their greater numbers and savage efforts, they couldn’t match the
   Orcelven’s skill or stop his deadly blade.
           The main group of orcs were no more than three horse lengths from Sam and Rosie, but
   now they had no choice: they had to turn and face the Orcelven Prince in a united front – or die.
           Spreading their horses out in a circle, they surrounded the Orcelven and forced him to
   stop, then jeered and laughed murderously, for against their greater numbers strategically placed,
   not even this most powerful Orcelven Prince could prevail.
           The Orcelven reared his horse and reached inside his mailed shirt, withdrawing a mithril
   chain. Upon it hung a golden Ring crowned in bronze and set with a brilliantly polished, bronzed
   Imperial Topaz stone. The orcs closed in, he slipped on the Ring – and vanished.
           Howling in terror, the orcs pulled their mounts wildly this way and that, searching for a
   sign as to where the Orcelven had gone. They growled and barked at the riderless horse, then a
   terrible curse range out.

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           The throat of the largest orc split open, cut by an invisible blade. After finishing the
   stroke, the head popped off its shoulders and a geyser of blood shot up from the bloody stump.
           The orcs screamed and swung their swords wildly over the empty saddle of the
   Orcelven’s horse. Some accidently struck each other, others deliberately, in a mad, reckless
   panic. The head of another orc split down the center and he fell to the ground, dead.
           One after another, their invisible foe slaughtered them cruelly. Laughing manically, he
   reveled in the carnage his foes were powerless to prevent.
           Sam and Rosie rode away heading deeper into the woods.
           “Sam…” she said, too terrified to finish.
           “I saw the Ring,” he told her.
           “I’ve read about you and Frodo using the One so many times,” she said. “But to actually
   see someone disappear…”
           “It wasn’t the same Ring,” he informed her. “Ours was smooth and had no stone.”
           Still invisible, the Orcelven murdered the last of the orcs. Remounting his horse, he took
   off after the hobbits, who’d left an easy trail. Before long, they saw his horse coming closer,
   bearing a rider they couldn’t see – and closing in.
           “Blast it!” Sam shouted. “You should have hid like I said. I wish I had the Red Book!”
           “What good would that do?” Rosie asked.
           “We’re in the Old Forest,” he answered. “But I can’t remember the song to summon Tom
   Bombadil!”
           Rosie had a love of song, as great as Sam’s. But there were places, as with any married
   couple, where they’re interests didn’t always overlap. Her high and pure contralto voice rang out
   through the forest eves:



                          Ho! Tom Bombadil, Tom Bombadillo!
                          By water, wood and hill, by the reed and willow
                          By fire, sun and moon, hearken now and hear us!
                          Come, Tom Bombadil, for our need is near us!



          As they galloped on, they strained their ears. Not even an echo of her song sounded
   through the trees. Riding hard, the Orcelven’s horse had almost reached them.
          “Again!” Sam shouted.



                          Ho! Tom –



           An invisible hand grabbed Rosie’s throat and lifted her off the saddle. It held her in its
   iron grip, choking off her air. Sam and their horse rode on – she couldn’t breathe to scream.



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            Reining his horse and sliding off the back, the Orcelven removed his Ring. He appeared,
   still holding her fast, his lathered face and long teeth, inches from hers.
            “You must be Rose Gardner,” he said, sniffing her hair and licking her face. “A bit longer
   in the tooth than I’m used to, but I’ll still make a pretty toy of you!”
            “Stop!” Sam shouted. He stood in his stirrups and pointed with his bright glowing blade.
   “Put her down! Or I’ll run you through with my Elvish sword, whether it costs my life or not!”
            The Orcelven laughed. He lifted Rosie high above the jagged point of a dead tree branch
   and jammed her down. The wooden tip pierced the back of her dress and popped out through her
   collar. She hung on the tree like a coat on a hook and he stood facing her.
            Her breath returned as soon as he released her throat and she burst into tears. Looking
   past the Orcelven, from her bruised throat she could barely croak, “Sam…”
            Ignoring Sam, the Orcelven looked her up and down. “I’m going to murder your husband
   in front of you, slowly, and add you to my harem, willing or not. I’d honestly prefer you struggle
   and I’ve no doubt that’s what I’ll get! Together, we’ll produce little Hobbit-Orcs. They’ll be
   small, though strong, and of course, like me – immortal. I think I’ll call them Horcs.”
            “You’ll do no such thing!” Sam shouted. He gathered the reins in his free hand and
   prepared to charge the moment the Orcelven was clear of Rosie.
            “Ours will be the first,” the Orcelven sneered, ignoring Sam. “But I’ll take many hobbit
   concubines and in just a few generations, I’ll sire legions of Horcs to conquer and rule in my
   name, throughout these hobbit lands.”
            The Orcelven turned to Sam and murder filled his eyes. From deep in his throat, he began
   to grow. He drew his sword and tensed to leap, throwing his head back and howling.
            At that moment, a large branch on the same tree reached down and grabbed the
   Orcelven’s throat, cutting off his scream. It choked him breathless and held him tight. Though he
   couldn’t breathe, the Orcelven hacked at the tree. Two more branches reached out and pinched
   his hands. From his strangled throat came a cry of pain and his sword fell from his hand.
            Beside the tree in bright yellow boots, a wrinkled red face, white hair and whiskers,
   bright blue eyes, blue top coat and his bright blue high-feathered hat stood old Tom Bombadil.
   Ignoring the Orcelven, he held his arms out wide. “Sam! How good of you to visit me again!”
            “Tom!” Sam cried, jumping off his horse. He ran into Tom’s arms and gave him a
   grateful hug. “It’s good to see you, too!”
            “How is it you forgot Tom Bombadil’s song?” Tom asked.
            Sam stepped back, embarrassed. “Well, I’ve had so much to do since becoming mayor. I
   guess it’s just, I’ve been that busy. What, with one thing driving out another, your song was one
   of those. It wasn’t on purpose. I’m sorry, Tom.”
            “Never you mind,” Tom laughed. He turned to where the Orcelven writhed in the grip of
   the tree. “Who is this you’ve brought to Tom’s forest?”
            “I didn’t bring him!” Sam shouted. “He came here to kill me. You must have old man
   willow snap his neck!”
            “Why would I do that?” Tom asked.
            “He’s a monster!” Sam answered. “He lives to kill and won’t stop ‘til I’m dead!”
            “All things live to kill,” Tom said. “In every field around every tree, birds are killing and
   gobbling bees. Hawks slaughter pheasants, pheasants slaughter fish, fish slaughter other fish,
   which slaughter bugs and mites. This happens every day, on every tree and in every forest glen.
   Why should I prize one hive of bees and their queen? Even if I wanted to, how do you propose I
   go about making a distinction to favor one over another?”

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           “It’s not the same!” Sam cried.
           “It’s no different,” Tom replied. “At this very moment, three tribes of ants are at war
   beneath this very tree. See here? A spider is about to kill a moth and a wasp’s about to kill that
   same spider. My head would spin right off my shoulders if I concerned myself with every war,
   trying to take responsibility for who should live and die. The Old Forest would die from me
   trying to control it. No, Sam. That’s not how nature works or helps things live.”
           “But we go way back!” Sam told him. “You saved us before.”
           “It appears I’ve saved you again,” Tom said. “But last time the choice was clear. It was
   living creatures against ghouls and ghosts. That’s a conflict I’ll readily choose sides on every
   time, not living thing against living thing. I thought you knew and believed that every living
   thing deserves the right to try and stay alive.”
           “He doesn’t want to stay alive,” Sam told Tom. “He wants to take my wife for a
   broodmare! He wants the wife of every man, to make hybrid offspring of his own, ruled by him.
   I bet – he’d do the same to Goldberry!”
           That gave Tom pause.
           He turned to where the Orcelven writhed in the grip of the tree turning blue and the tree
   loosened its grip. The Orcelven gagged and coughed, but could breathe again.
           “Is this true?” Tom asked, looking into the Orcelven’s eyes. “If you saw my lovely
   Goldberry swimming in her streams, would you try and take her… and sire orcish nymphs?”
           With both hands, the Orcelven held onto the branch to keep his weight off. Catching his
   breath, he inhaled deeply and with heaving lungs, replied. “Never, lord. Your land is yours. You
   and all you have is no business of mine, not the least concern, nor of any interest to me, at all.”
           “He’s lying!” Sam shouted.
           “Hush, Sam,” Tom said. He returned his gaze to the Orcelven. “Do you speak the truth?”
           “Yes, lord,” the Orcelven said, looking into Tom’s sea-blue eyes.
           Tom studied him thoughtfully. “Your eyes say one thing, the fire in your heart, another. I
   see your half-born plan to return some night invisible, as if that’d help, find and kill me in my
   bed, and take Goldberry for yourself. I admire your feral savagery, but can’t abide a liar.”
           A demonic roar exploded from the Orcelven’s throat and shook the trees. All the hairs on
   Sam’s arms, neck and head (and even his toes) stood on end. Howling, the Orcelven lashed out
   with both his arms and taloned claws, cutting empty air. He viciously swung his boots to crush
   Tom’s head. They whistled by his nose – just out of reach.
           “You’re not welcome in my land,” Tom said. “If you come again, the willow trees will
   lock you up for the rest of your immortal life and feed on your endless tears. Or perhaps I’ll have
   one of the oaks run you through and leave you hanging for the flies.” Tom shook his hand at the
   Orcelven like the filthy thing he was, “Be gone.”
           The branch swung out with earth-born strength and threw the Orcelven across the glade
   into the branches of another tree. Passing him howling and in pain, one tree threw him to the
   next. Bruising his body and sending him hurtling tree-to-tree, they passed him far from sight and
   sound – eventually landing on the ground outside the Old Forest.
           The Orcelven rose in terror and ran limping in pain, until the woods lay far behind. When
   he reached the East Road it was quiet, strewn with the dead bodies of orcs and Orcelven.
           Safely beyond the confines of the Old Forest, he turned back and brandished his Ring
   with its bronze Imperial Topaz stone.




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           “I swear by the power of my Ring!” he screamed. “I’ll return with an army and cut down
   every tree! I’ll slaughter you and your woman! We’ll scorch the earth so nothing ever grows
   again in these desolate lands that were once your home. You MARK – MY – WORDS!!!”



                     *               *              *              *



           “You have my thanks, Master Bombadil,” Sam said, bowing. He lifted his eyes and
   pointed up at Rosie. “Now, would you help me rescue my wife?”
           “Ho ho!” Tom laughed, waving. The branch holding her slowly bent down, until her feet
   were safely beneath her and firmly on the ground. When it slid out the back of her dress, Tom
   bowed. “You’ve a lovely voice and a fair face, Mistress Rose. Welcome to Tom’s Old Forest.”
           Though badly shaken, Rosie did her best to curtsy graciously. “Thank you, Master
   Bombadil. I’ve heard so much about you. It’s an honor to finally meet.”
           Sam lifted her up and hugged her, holding her face in his hands. “Are you alright?”
           “Not really,” she answered, trembling. Composing herself, she felt the back of her dress,
   found the hole and rubbed her neck. “Though not much worse for wear, it seems. I guess we
   were lucky, things could have gone much worse, but my throat feels raw.”
           Sam turned to Tom. “I wish you would have at least taken away his Ring!”
           Tom looked deep into Sam’s eyes. “Master Samwise, why do you always seem to find
   yourself falling afoul of magic Rings?”
           That stopped him. Sam hesitated, but couldn’t think of an answer. He shrugged his
   shoulders and held up his hands, as if to say, ‘I-don’t-know.’
           Tom sighed. “Perhaps it’s fate that some folks can’t seem to stop getting mixed up in
   things that maybe others wouldn’t let them, if they had a mind to meddle.”
           Sam suddenly found a new appreciation for Tom’s wisdom not to interfere in other
   people’s business, or dictate who would live or who would die (outside of ghouls).
           “Here’s your horse,” Tom said. He led it back to them behind his own fat pony, Willie
   Lumpkin. “Would you like to come home with us and have a bit of supper?”
           “We would!” Sam answered. Feeling famished, he was certain Rosie was too.
           Tom helped them mount their horse. Jumping nimbly onto the back of Willie Lumpkin,
   Tom took the lead and they made their way through the Old Forest. In time, a mist rose up about
   them and the sounds of gurgling streams came closer. Reaching a low waterfall, it poured down
   over close-fitted flag stones set just above the waterline. They rode over the tops and came to a
   field of grass grown short, as if it had been mowed. The hedges along their upward sloping path
   grew into themselves as if clipped. It led up a gently sloping hill and ended at a grassy knoll.
           At the top stood an exceptionally large, stone-made three-story ‘A’ framed house. The
   eves of its clay roof tiles ran from the tip at the very top, all the way down to the ground. On the
   roof, blooming amid stone steps running up and down there lay brick-lined hedge-rowed balcony
   gardens, filled with colorful flowers and tall, stately trees.
           The house’s windows twinkled with a warm and happy light. The brightest came from a
   small window at the top, shinning forth to welcome them. The front door was open, framing the
   golden light within. They left their mounts untethered and Tom led them through the door.

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           Inside was a large, low-ceilinged hall and a long table, freshly laden with food.
           At the far end sat Goldberry. Her face was fair and timeless. Rosie couldn’t venture a
   guess as to her age. Her large eyes and fine features were very beautiful. Long yellow hair hung
   down over her shoulders and shimmered in the light from the lamps hanging overhead, and from
   slender candles burning around the room. Her dress was whitish-blue, bright as a mountain
   stream fed in Spring. Her feet rested on mats of living earth. From the mats there sprang the low-
   shorn living grass, with flower blossoms and gently sloping stalks, as if growing in a glade.
           “Welcome back!” Goldberry said to Sam. She jumped up over the mats and gave him a
   great hug. Passing them, she closed the front door, turned to Rosie and curtsied. “Welcome
   Mistress Rose, to the house of Tom Bombadil. Come, refresh yourselves with a meal and be
   happy, knowing nothing evil passes the eves of our home.”
           “Thank you, Mistress Goldberry,” Rosie said, curtsying low.
           “You’re the one I should be thanking,” Goldberry laughed. “You’ve been a good
   influence on Sam! Marriage agrees with him. He looks much happier than when last we met, and
   more handsome! I can see his love for you and your children brimming off the top of his head.”
           Rosie watched Sam turn red. “Thank you, Mistress Goldberry. I already miss them. I
   wish I could have brought them to meet you in happier times, when not pursued by orcs! But I’m
   not so sure about marriage agreeing with my Samwise. You wouldn’t believe how much of his
   hair comes brimming off the top of his head, whenever I put a comb to it!”
           “Rosie!” Sam said, more embarrassed than before.
           Goldberry smiled and looked indulgently at Tom. “I love Tom, with all my heart. But
   sometimes his head’s in the clouds, quite literally, mind you – he should have killed that orc! I
   wish I would have been there. We women folk seem burdened with having to cut through the
   high-minded philosophy of our men by using good old-fashioned common-sense.”
           “In the Shire, we call it ‘hobbit-sense,’” Rosie told her.
           Goldberry laughed. “You’re the strength in this marriage, the one who’s made it last.”
           “Thank you, Mistress Goldberry,” Rosie said, taking Sam’s hand. “But that’s not true. I’d
   be lost without my Sam.”
           “That’s what’s not true,” Goldberry laughed. “Yet your belief is why what I’ve said, is!
   Tonight you’ve had a frightful scare, but do not fear. Nothing bad will happen to you or harm
   your baby, and you’ll have another happy, healthy child, though this will be your last.”
           “Oh!” Rosie cried, her eyes shining with tears. “I don’t know how to thank you! I’m even
   glad this will be our last child.”
           “Why is that?” Goldberry asked.
           Tom turned to Goldberry. “There’s a bit of nastiness going on in the world outside.”
           “Isn’t there always?” Goldberry asked.
           “Not like this,” Tom answered. “The War of the Ring to End All Wars of the Ring has
   finally begun. Perhaps we’d be happier further up or down the winding river.”
           “I’ll be happy to flow up or down,” she told him. “As long as we go together.”
           “You’d leave the Old Forest?” Sam asked.
           “We’ve flowed along many rivers and through many lands,” Tom answered. “Perhaps it’s
   time to find another.”
           “True,” Goldberry laughed. “But now it’s time to eat, before our meal grows cold!”
           The four of them sat at the table and gratefully broke their fast. The water in their glasses
   was clear and cold, yet affected them like wine. The pain in Rosie’s throat faded, and Sam and
   Rosie’s terror passed, like some horrible half-forgotten dream.

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          Soon, all four of them were talking and laughing like children.
          Tom complimented Sam on how green and fair his plantings had made the Shire. He
   envied him the beauty of his mallorn tree. Not even Tom had grown one of those.
          Sam asked Tom for a few poems and made a great show of writing one down about a
   curious cat. Tom asked for a poem in return. Sam shared one of his own about an enviable ant:



                                Why can’t an ant be more like me?
                                Break free from its servility


                                What blocks an ant’s ability
                                To find the opportunity
                                Transcending its conformity
                                To teach itself to live life free


                                Who cursed the ant to never flee?
                                Forever bound in slavery
                                With ten of eyes, it cannot see
                                Why can’t an ant be more like me!


                                An ant has such a little brain
                                And yet it knows to run from pain
                                With no recorded history
                                An ant still worships royalty


                                With no advanced machinery
                                The ants are full of industry
                                In unimagined poverty
                                An ant shares its prosperity


                                An ant has such a tiny heart
                                Yet knows it is a vital part
                                Within a whole community
                                Achieving perfect unity


                                Why can’t an ant be more like me?
                                Why can’t I be more like an ant!




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           “Ho ho!” Tom laughed. “Soon, you’ll be passing old Mr. Bilbo!”
           Sam blushed. He was grateful for the compliment, but knew it wasn’t true.
           When they finished their meal, Tom stood up and stepped away from the table. “Follow
   us and get some rest. In the morning after breakfast, you can tell the tale that brought you.”
           Tom and Goldberry led them to their room and there they said goodnight.
           Sam and Rosie slept soundly, woke refreshed and the four of them shared a magnificent
   breakfast. While eating, they told each other many tales and took turns being surprised, touched
   or amazed at what each of the others had experienced.
           Tom didn’t give a fig about the Rings, but he was fascinated when Sam described the
   Oliphaunt and his conversation outside the walls of Orthanc with Treebeard. He was even more
   enthralled when Rosie described the many unique plants and trees in the Elvish forests and
   gardens in Lindon, and her conversations with Galdor and Círdan about others in Valinor.
           Rosie and Sam were incredulous learning Goldberry had fought in the War of Wrath.
   Leading the ocean, river and lake nymphs, Rosie was certain she had been their Queen, but said
   nothing, as not to upset her.
           Haltingly, Goldberry told them of the Great Cataclysm: the day all the oceans and lands
   in Middle-earth shook. Every river and ocean shore changed course, and too many of her
   daughters died. Sure the Valar could have prevented their deaths if they wished, she left her own
   Great River and had lived with Tom in his Old Forest ever since, a fellow pacifist.
           Goldberry was amazed by Rosie’s descriptions of Nerdanel and Drendelen’s statues,
   especially the ones depicting Ulmo fighting Morgoth, and Uinen and her daughters defeating the
   Kraken. She was so enthralled by Sam’s account of his fight to save his master from the spider-
   creature Shelob, she made him tell that story twice.
           Tom insisted then and there that Sam commit his song to memory, which he did.
           Sam promised, after they sorted out this latest mess, he’d come back and write all Tom’s
   songs down, to share with their children.
           Goldberry took Rosie aside and handed her a basket of food and a brolly, telling her there
   was a little something inside for her baby shower, and besides, they were expecting rain in Bree.
           Saying goodbye to Goldberry, the three of them mounted their horse and pony. They
   spent the day traveling with Tom, singing both old songs and new (Sam never again forgot
   Tom’s song). Taking breaks to rest and sing, they stopped for lunch and dinner. When they
   reached the eastern border of Tom’s land, the Sun had already set and half the night was gone.
           Rosie cried, realizing she’d missed Elanor’s two-and-twentieth and not wished her a
   happy birthday. “I hope it won’t be long before I see my daughter again!”
           “Don’t you worry, Mistress Rose,” Tom said, “and you needn’t cry. You’ll see your
   daughter again, before you see again the setting Sun. But you better hurry, something strange is
   going on in Bree, and fair Elanor needs all the help she can get.”
           “Thank you, Tom!” Sam shouted. They rode away happy, while Tom sang new songs.
           They’d only been riding a short time when Rosie stopped to give Tom another wave
   goodbye. It was an odd habit of hers, saying goodbye many times, as if once was never enough.
           She looked around. Tom was nowhere to be found.
           “That’s odd,” she said. “I thought he’d stay to wave and be waved at, time and again.”
           “Nothing is like that, my love,” Sam said. “All we have for sure is this one time, and little
   enough of that left for you and me, so it’s best we make the most of it.”
           “When did you become so old and wise, Master Samwise?” Rosie asked.



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            “When I was finally wise enough to marry the only girl I’ve ever loved, Mistress Rose.”
   Sam answered. Laughing, he kissed her.
            They rode up a hill and down a hill. After four miles, they came to a darkened, thick and
   tall, recently built, high white-bordered wall. Before them rose the locked and sentry guarded
   gates enclosing the ever growing and sprawling city of Bree.




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                                           Chapter 5




                            An Unforgettable Entrance




            Elanor, Alatar, Fastred and Theo rode over the Greenway Crossing and came in sight of
   the white-stone walls of Bree. Although still called the Greenway, the road had been completely
   repaired and restored. Hardly a pothole, root or weed hindered travelers anymore.
            Bree had once been a village of less than a hundred stone houses for the Big Folk and an
   equal number of hobbit holes dug in various places. After the coming of King Elessar, waves of
   settlers followed. Many farmed in the north, repopulating the once-desolate lands of Eriador. The
   new supplies of goods brought immigrants from as far south as Greater Harad and as far north as
   Forodwaith. Bree became a busy and important center of trade.
            The once modest village had grown quickly. Bree-landers realized there was quite a bit of
   money to be made facilitating the exchange of goods from growing settlements and farm
   communities. Their only connection was the crossroads at the Great East Road and the
   Greenway Crossing. The new and ostentatious West Gates of Bree were a cleverly designed and
   irresistible invitation for simple country folk. It beckoned for them to partake of the food,
   fashion, crafts and arts of foreign people and distant lands. Bree grew so big so fast, it swallowed
   the surrounding towns and they became adjoining neighborhoods within the larger city.
            Archet, once the primary village of Chetwood North, had been populated by Men. Now it
   boasted equal numbers of Hobbits and Dwarves. They built grand stone houses (some said
   mansions) from the growing wealth of their guilds. Hobbits and dwarves discovered their mutual
   love of living underground, and Dwarves helped them dig many finely appointed holes. In
   return, dwarves appreciated how expertly tiny hobbit hands could execute their most ambitious
   and intricate designs for apparel: garb for workers, garments for the growing gentry and regalia
   for those with growing wealth, who imagined invented pedigrees – and wished to show them off.



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           Hobbits helped dwarves craft their finest jewelry creations since the lost days of the
   Second Age. Archet became renowned for its shops of gems, jewelry and an almost endless
   variety of rings, set with stones of so many sparkling colors they put the rainbows to shame.
           In Chetwood South, Breelanders raised cattle and sheep, and farmed vegetables and fruits
   not always supplied in sufficient varieties or quantities in the north and south. There they built
   forges and smithies for ironworks; lumber mills for crafting furniture and anything of wood.
           Combe was a haven for artists and intellectuals. It boasted schools, bustling cafes,
   meditation gardens and a library – the only one between Lindon and Rivendell.
           Staddle was built with most of the streets set close. It bustled with taverns, shops for
   pipe-weed and an underground market for goods (and bads) which could not be sold openly in
   the more respectable parts of Bree. It was there they offered many exotic experiences, rarely
   talked about, but never wholly absent from any gathering of people.
           When Bree was still a village it had been one of the most diverse lands, welcoming
   hobbits, men, dwarves and occasionally even elves. Retaining that character made it an ideal
   crossroads. It went from being a small, simple village to a brightly growing city, without actually
   stopping to first become a town.
           Bree boasted of having thriving communities where a populous of different races lived
   together in peace, if not actual harmony. People rarely ever did that. But Bree-landers did their
   best to tactfully overlook each other’s foibles with good manners. ‘If you don’t want it yourself,
   don’t invite it to your kitchen’ was a common-sense epithet often heard in Bree.
           The cultures inspired each other, borrowing back and forth. Their communities grew rich
   and ancient arts were rekindled like in few other places. Some were even advanced thanks to the
   acceptance, curiosity and open-mindedness of the Bree-landers. And above all the King’s Law,
   the maintenance of his Roads and the occasional patrols of troops.
           Secure in the King’s favor and enriched by his blessings, it was well known that before
   he ascended the throne, Elessar had come many times to Bree and brought friends from the most
   foreign places. So Bree-landers embraced strangers and encouraged them to share their cultures,
   enriching the city which had often been frequented by the pre-coronation King.
           Almost every other business bore a sign: ‘Elessar Slept Here’ or ‘The King Ate Here.’
   Even though they were only painted letters on wooden boards, the locals imagined seeing the
   clever sign makers concentrating, with tongues pushing out against the sides of their cheeks
   while writing, ‘Aragorn Bought Arwen’s Wedding Ring Here.’ Everyone knew that most of
   these businesses hadn’t existed before Elessar ascended the throne and married his Queen.
           That was the Bree Theo remembered. Now as they approached the high white walls, they
   saw that the West Gates were closed. Frightened militiamen armed with swords patrolled the
   entrance and nervous hobbit bowmen were posted on the battlements.
           “Hallo!” Theo cried, waving his arms. The guards jumped and drew their swords. The
   archers notched arrows against their bows and aimed. Theo rode on, “It’s Théoden Brandybuck!”
           “Master Théoden!” shouted the Captain of the West Gates. He sheathed his sword and
   turned to his archers and swordsmen, “It’s alright. Put up your arms! It’s one of the Deputy
   Counselors.” Then he returned his gaze to Theo, “Welcome back to Bree!”
           Elanor and Theo had been here many times. It was a favorite get away for their families.
   It’s shops and curiosities, tradeshows and marketplaces made it a place with something for
   almost everyone, regardless how young or short an attention span.




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            Although many new and much finer restaurants, hotels and inns now competed for the
   lucrative business of accommodating the comings and goings of merchants, farmers and
   travelers, Elanor’s favorite place to stay was still the Prancing Pony.
            As they approached the inn she noticed, even among the accepting Bree-landers, Alatar’s
   strange garb, majestic war horse, sea-blue robes tinged with silver, and sword and staff were
   attracting a great many stares and looks of fear, if not actual scowls of disapproval.
            People still said ‘hallow’ and doffed their hats or curtsied, but their normal curiosity and
   usual gregariousness were gone. No one asked if they needed directions, nor help with their
   interests or business.
            Over the years, the Prancing Pony had grown along with the rest of the city, but it had
   retained its original character. The third floor once consisted of only two spires containing the
   most luxurious suites. Now it was completely built up and had as many rooms as the others.
            The open courtyard, through which guests once rode to the stables, had been completely
   enclosed. All the space, including the stables, was used to expand the Common Room, create a
   reception hall and build more guest rooms. Young hobbits or boys took the reins from arriving
   guests, giving them vouchsafes and leading their horses or ponies to a newly-purchased free-
   standing stable down the street.
            At the reception desk, Theo ordered three suites connected by a master suite from a pretty
   young hobbit named Missy Hornbottle. She had met Theo before, fancied him and enjoyed
   flirting. But her eyes darkened when she looked at Theo’s friends and caught sight of Elanor.
            “Who’s your new friend, Théoden?”
            Elanor curtsied, “Elanor Gardner, at your service, ma’am.”
            Missy’s hands flew to her mouth, “Lady Elanor! Martha! Peggy! Lady Elanor’s come
   back!” A commotion erupted from the room behind the desk and two young hobbits ran out.
   “I’m so sorry! I didn’t recognize you, Lady Elanor.”
            Peggy turned to Martha and Missy, “Are you sure? I thought tonight they were
   celebrating Lady Elanor’s two-and-twentieth at the Party Tree.”
            “I can’t say,” Martha quipped. “I seem to have misplaced my invitation.”
            “A few were sent out, I’m afraid,” Elanor explained. “But we had to cancel the party.
   Which could explain the absence of yours, and part of the reason we’ve come.”
            “You cancelled your two-and-twentieth?” Missy asked in horror, as if Elanor had just
   announced that Summer had been declared illegal.
            “We’re traveling to Gondor,” Theo said smoothly. “Official business of the King. Elanor
   feels terrible, but it couldn’t be helped. So let’s hear no more about it! If you’d kindly show us to
   our rooms, we’d best have a bit of breakfast.”
            “Oh!” Missy exclaimed. “That’s dreadful. I’m so sorry! I didn’t know. Here.” She
   grabbed a large ring of keys, leading Elanor and the others up the steps of the wide staircase. “I
   have the perfect suite for you, Lady Elanor!”
            As the only handmaiden to the High Queen Arwen in these parts, Elanor was famous and
   much admired by the younger folk of Bree. Although parents thought their children’s idle talk of
   rich kings and queens driving fancy carriages and living in lofty palaces in distant lands were a
   waste of time, best saved for after chores and supper.
            Missy led them to the top of one of the two tallest steeples and the rooms she gave them
   were the finest left untaken. Elanor knew one set was better, rarely used, strangely unavailable.




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            Barliman Butterbur, older and fatter than she remembered, knocked on their door,
   breathless. Dressed all in white with a white apron, he was flanked by three hobbits carrying
   trays laden with food, and the very soul of apology.
            “I’m so sorry, Lady Elanor,” Butterbur said, supervising his hobbit staff laying out their
   morning meal. “I know it’s not your usual suite. I’ve unexpected guests I’m not at liberty to
   discuss who beat you to them and that’s as plain as I can be. I hope you’ll forgive me, and accept
   again my apology and hospitality – on the house!”
            “You’re too kind, Mr. Butterbur,” Elanor said. She dug into the purse she kept hidden
   behind her pretty waist-belt. “That’s not necessary. I’m happy to pay.”
            “Nonsense,” Barliman said, shaking his white towel. He made sure his porters had
   finished their tasks and removed the empty trays. “I insist!” Without another word, he left.
            They were all famished. Without another word themselves, they set about the food. Even
   by hobbit standards, there was plenty for everyone and soon their plates were empty. After their
   long ride, their eyes were closing, whether they willed them to or not.
            “Sleep now,” Alatar said. “These may be the last soft beds you’ll have for many a long
   night. When you’ve rested and refreshed yourselves, we’ll gather again and I’ll ask you to share
   everything you know about Rings of Power.”
            The hobbits were too sleepy to argue. They went to their rooms and were soon fast
   asleep. They slept all day and awakened in the early evening, sore from the night’s hard riding,
   and hungry again. Elanor rang her bedside bell. As fast as she could wish, the porters arrived
   with a full dinner for everyone, laying it all out in the master suite.
            “Something strange is going on,” Theo said, after their evening meal.
            “I noticed that too,” Elanor agreed, sipping her tea. “The gates were locked. And except
   for Missy, the people in town didn’t ask us anything. Not even Butterbur.”
            “It’s best we stay in our rooms tonight and leave before first light in the morning,” Alatar
   told them. “We have many long leagues ahead of us before we reach Minas Tirith.”
            “Even more reason not to waste our last night in civilization,” Theo said. Without waiting
   for anyone’s permission, he winked at Fastred and the two of them left.
            Elanor went to her room to freshen up. She found Missy had drawn a hot bath with
   scented oils, laying out robes and soft towels. But she was surprised and genuinely moved to find
   a beautiful baby-blue full-length evening gown from one of the finest shops in Bree. It hung on
   her bathroom door and bore a pinned happy-birthday note, ‘Curtesy of the Proprietor & Staff.’
            She took her time, washing her hair and enjoying a long, soothing bath. After applying
   scented oils, she put on her new dress, looked in the mirror and felt like a new hobbit.
            Leaving the inn, Theo and Fastred went to the stables. They checked on Silverfall and
   their ponies, then wandered the town. After sampling a fair number of alehouses but finding no
   new places as festive as the inn they’d left, they decided to return to the Prancing Pony.
            Entering the newly renovated and expanded Common Room, they saw it now had two
   long bars on each side, with luxury booths and box seats set along the other walls. A double fire
   pit in the center burned bright. It boasted marble fireboxes, metal grills and a solid granite
   chimney. There were even more tables in the middle of the room than the last time Theo visited,
   and a steady stream of servers went back and forth between the kitchen to the tables and the bars.
            At some booths were exclusively dwarves, hobbits, men or women. At many more the
   people mixed, energized and excited to talk to others with unique stories and original
   experiences. Though raucous, the conversations were festive. Theo and Fastred spoke loudly to
   hear each other over the din, even though they were standing side-by-side.

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           “I’ll order us a drink!” Theo shouted. He headed for the bar, “Find us a seat!”
           Fastred looked around dubiously, not seeing an open table. Suddenly the mixed group at
   the table in front of him looked up. Hastily, they drained their glasses, offered their seats and left.
   For a moment he was puzzled, then Alatar’s large calloused hand came down on his shoulder.
           They took their seats and the wizard raised his blue-robed arm, holding up four long
   fingers to Theo. The hobbit returned in a bit from the bar with his hands full of four large glasses
   of dark malt, foamy headed beer, setting them down on the table.
           “Why four?” Fastred asked, clinking glasses with them and taking a long drink.
           Alatar smiled and pointed at the Common Room’s open double-doors.
           A moment later, refreshed from her bath, her cheeks flushed from the warm waters,
   having expertly styled her shining blond hair and wearing the beautiful baby-blue formal evening
   gown, Elanor entered the double doors, illuminated by the bright flames in the double fire pits.
           A hush fell over the room. Everyone was staring at her.
           “Wow,” Theo said.
           Fastred realized, as if for the first time, he had never seen such a vision of loveliness.
           Elanor’s eyes adjusted to the firelight and she looked around for her friends.
           “May I be the first to wish you a happy two-and-twentieth, Lady Elanor,” Fastred said.
   He bowed and offered his hand.
           She curtsied gracefully, almost royally, as she’d often seen the princesses Celendrian,
   Elerith and Brindil do, “Thank you.”
           “You look so beautiful!” Missy cried. Stepping out from behind the bar, she presented
   Elanor with a beautifully wrapped present in baby-blue paper. It matched her dress and was
   adorned with silver bows and ribbons, “We are honored to welcome the Lady Elanor Gardner of
   the Shire to the Prancing Pony on the night of her two-and-twentieth!”
           While the crowd rose and clapped enthusiastically, Fastred led her to their table.
           People cheered as she walked by adding cries of ‘Long life to Lady Elanor!’ and ‘Happy
   two-and-twentieth!’ amid a great number of other good wishes and praises of her beauty.
           Many festive hours passed. Their mugs were kept full by a seemingly endless number of
   lively celebrants, eager to pay their respects and wish the Lady Elanor a happy night.
           But in one dark booth, a grim young man in a long grey cloak sat drinking with a group
   of black-skinned traders from Greater Harad. Their leader was Manus Tarqus, son of Oduduwa.
   Though only a few years older than the young man and his own companions, Manus was much
   larger and more powerfully built. Exotically and colorfully dressed, he wore pearl earrings in his
   black-as-night ears. His happy and bombastic personality matched his clothes. It contrasted
   starkly to the forlorn young man, and the quiet and reserved men and women who were his
   mostly silent, steely-eyed companions. Beside Manus sat the beautiful Crown Princess Malvia
   Merkaba, daughter of Queen Akamai of Greater Harad, traveling incognito. She wasn’t happy
   with the way Manus was looking at the many ladies in the room, including Lady Elanor.
           The young man found the reserved and ever watchful face of the woman he didn’t know
   was a warrior princess, somewhat peculiar, yet comfortingly familiar.
           For themselves, the people of Harad were content to observe the hustle and bustle of the
   room, staying vigilant. They enjoyed their beers and listened to Manus conduct his business.
           “I know why you want to go to Lindon,” Manus told the young man.
           “You do?” the young man asked.
           “You want to meet the Elfs!” Manus cried.
           “I have met the Elves, my friend,” he said, a wistful smile tugging at his lips.

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           “They are Elves – not ‘Elfs,’” Malvia told Manus. “Let him enjoy his beer.”
           “You have not met the Elves,” Manus told him, hating being corrected. He took another
   drink and did his best to ignore Malvia, “You only think you’ve met the Elves!”
           “I haven’t?” the young man asked.
           “If you think the Elves of the North Kingdoms are impressive,” Manus told him. “You
   must wait until you see the Elves of Northern and Greater Harad. But the Elves of the vast
   jungles of South Harad – now those my friend are really Elves!”
           The young man and Malvia laughed, “Thank you, Manus. You have made me laugh. I
   feared I might die before I laughed again.”
           “He is right about the Elves of South Harad,” Malvia told him. “I have been among them,
   as well as those in the North Kingdoms.”
           “Very well,” the young man said, lifting his glass. “I shall reserve my judgement as to
   whether or not I have met the Elves, until I meet your legendary Elves of South Harad.” They
   clinked glasses and drank. The young man waved Missy over, “Another round.”
           “You’ve been kind and generous,” Manus said, waving Missy away. “But I’m sorry,
   tomorrow we have too much work. We must retire for the night and I cannot take you west.”
           “It would not be immediately,” the young man said. “I will be in Bree a few more days,
   waiting for my friends. We will be traveling, just the three of us, with little luggage. Though I
   anticipate we may have need for armed companions on the road ahead. I can pay you, and the
   men and women of your fighting teams, handsomely for your escort and assistance.”
           “I’ve got plenty of room,” Manus told him. “We just completed a large delivery to
   Rivendell. But there I received word: Greater Harad has been attacked by a new and infernal
   breed of evil from the East called the Orcelven. They’re raiding our lands and killing our people,
   spreading like an infection! Queen Akamai has ordered me and my caravan to Minas Tirith, to
   obtain the council of King Elessar and negotiate terms for his help in resisting this new evil.”
           This troubled the young man more than anyone else’s bad news should, “It is not my
   place to council you against the wishes of your Queen. Though I must warn you, the roads
   between Bree and Minas Tirith have been crossed by armed bands of Orcelven. Stay vigilant.”
           “That’s unhappy news,” Manus said.
           “Though we thank you for the warning,” Malvia told him, eyeing her people.
           They rose from the table. The young man bowed and kissed Malvia’s hand. She was
   charmed and for once, Manus was jealous of her. The men bowed and the women curtsied.
           The young man sat back down and took another drink, “I enjoyed our conversations.
   Perhaps one day we shall meet again and I will have the opportunity to travel with you, hearing
   more tales of your many adventures. May the miles pass swiftly and you reach Minas Tirith
   safely, a fair city where you and your companions will be welcomed.”
           “Thank you!” Manus said. Slapping the young man’s back (a bit too hard), he drained his
   glass and those of his companions, “It’s been a pleasure!”
           They left and the young man continued drinking alone. His eyes were drawn to the three
   hobbits celebrating Elanor’s two-and-twentieth, with a wizard. Unaware, he too was being
   watched by a hooded and mail-clad stranger at another table, surrounded by grim friends.
           Alatar became aware of him, rose and went to his booth, “Are you from Minas Tirith?”
           “It is no business of yours where I am from,” the young man said, uncomfortable, though
   he tried as politely as he could to manage the less-than-friendly words.
           Butterbur rushed over, “Don’t you be talking to him!”



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            Alatar’s eyes darkened and he drew himself up, “I will speak to whomever I wish! I
   advise you not to meddle in affairs that are not your own.”
            “It is all right, Barliman,” the young man said. “I did wish to speak with him.”
            “You’ll be knowing your business better than me, your… I- I mean sir,” Butterbur said.
   “It’s not my place to be telling you, who you may or may not speak to. But if anything were to
   happen to you at my inn, I could never forgive myself. And your father would have my head!”
            Alatar recognized the silver and black worn by the royal guards of the Palace of Anor,
   hidden beneath the young man’s grey Elven cloak, “You’re from the Palace.”
            “Hush!” Butterbur cried. He stepped between them, attracting stares. The conversations
   around them died. Heedless of the danger, Butterbur pushed Alatar towards the door, smiling
   through his terror, “I’m happy to announce – I’ve just upgraded you to my finest suite!”
            Alatar pushed him away and raised his staff, to smite the innkeeper.
            Elanor stepped between them and took the wizard’s hand, “Would you do me the honor,
   sir, of the first dance on the night of my two-and-twentieth?”
            Without waiting for a reply, she led him to an open section, where Fastred and Theo had
   cleared away the tables. Musicians played and people sang ‘The Maiden’s Song Of May.’


                                 In Summer when the flower blooms
                                       To dance a young man longs
                                 The woods then fill with ardent grooms
                                       Who sing the Summer songs


                                 He saw a maid draw to the dale
                                        And leave her Hill behind
                                 Her skin was soft, and smooth and pale
                                        Her eyes were large and kind


                                 The fairest maid he’d ever seen
                                        Or ever would, he knew
                                 Her eyes appeared the fairest green
                                        Her dress, the fairest blue


                                 Into the woods they danced and danced
                                         They danced throughout the night
                                 As all around them creatures pranced
                                         Within the soft moonlight


                                 I do not know our final fate
                                         Before the end this day
                                 But I will wait outside her gate
                                         On a fair morning of May

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         They finished dancing and the people stood, applauding and cheering.
         Alatar caught sight of the young man. He was standing just outside the door of the
   Common Room, beckoning.
         Fastred reached for Elanor’s hand. Bowing, he addressed the wizard. “May I?”
         “Please,” Alatar said. He handed him her hand and bowed. “Thank you for the dance,
   Lady Elanor. And your grace.”
         But she only had eyes for Fastred.
         As they swept out onto the dance floor, Alatar left them. Seeing the young man outside
   the Common Room, he followed him out into the hallway.




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                                            Chapter 6




                               An Unexpected Meeting




            Fastred could never remember how many times he and Elanor danced that night, but
   there was nothing else about that night he would ever forget. There were many others who
   wished to dance with Lady Elanor and Theo claimed every third dance. Between Fastred, Theo
   and the others who asked, she had never known such radiant praise and attention.
            It got late, the crowds thinned, but Elanor didn’t feel the least bit tired. Far too soon for
   her tastes, Butterbur came and fetched them from the Common Room. Carrying her present, he
   led them to the finest suite in the Prancing Pony. Inside, Alatar and the tall young man were
   waiting for them. Setting her gift down without making introductions, Butterbur left.
            The young man smiled mischievously. He cupped Elanor’s fingers and bowed graciously.
   Lifting her hand, he kissed the smooth skin above her knuckles, “Lady Elanor. I have heard so
   very much about you. Yet my sister’s praises do not do your extraordinary beauty justice. It is an
   honor and a privilege to finally meet. I am the Crown Prince Telcontar of Gondor.”
            “Y- your Highness!” Elanor cried, more shocked than she’d ever been meeting someone.
   She curtsied low and bowed her head.
            The Prince’s laugh sounded much younger than his twenty-two years. Lifting her up, he
   set his finger under her chin and raised her eyes up even with his own, “Since fate has seen fit to
   throw us together while we are hunted by the Enemy, we will dispense with formalities. Please,”
   he said, and with his eyes, he included Fastred and Theo in his earnest request, “I am Eldarion.”
            Fastred stood frozen, “I… I… am…”
            “Théoden Brandybuck, son of the Master Meriadoc of Buckland, duly appointed Deputy
   Counselor of the North Kingdoms, in your and the King’s service, Eldarion,” Theo told him,
   bowing informally by way of courtesy – and then he winked. “But my friends call me Theo.”



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           Eldarion laughed and shook his hand, “Very good Theo, thank you. My father holds you
   and your family in the highest regard. The highest. If things were not so grim, he would laugh to
   hear of our meeting here like this, if I am ever able to share this with him.”
           Elanor pulled Fastred forward, “This is – ”
           “Greenholm. Oh... sorry. Sir? Uh… no. I’m – Fastred.” He looked at Elanor and Theo,
   “Right?”
           “Eldarion, a pleasure Fastred,” the Prince said. He shook his hand and held his eye, “Any
   friend of the Gardners and Brandybucks is a friend of Gondor’s, and I hope, a friend of mine.”
           “Eldarion has been telling me the roads east of Bree are full of orcs and worse than orcs,”
   Alatar told them. “Who pause from hunting him only long enough to slaughter each other.”
           “What’s worse than orcs?” Theo asked. “Oh, wait. Do you mean – ”
           “Please, have a seat,” Eldarion said. He took a chair without distinction from eight set
   apart from the fire in a circle. They sat around a low table laden with refreshments. “It will be
   simpler if I start at the beginning of the tale which has led me to the Prancing Pony.”



                      *               *              *               *               *



            During the Ages before the War of the Ring, the high-towered city of Minas Tirith had
   been built to resist Sauron. For centuries, more than a city, it had resembled a walled fortress at
   the base of Mount Mindolluin, the easternmost peak of the White Mountains. Carved from
   impenetrable rock and consisting of seven levels, each one was isolated from the others by its
   own great white wall. Each wall rose more than a hundred feet and individual gates stood at
   opposite ends from the one at the level above. One shoulder of the mountain rose through the
   middle of the city forming a great cliff. It flattened out and peaked in the center of the sixth level.
   Dividing every level except the seventh and the black outer walls of the first, it rose like the
   prow of a ship, pointing east. Our white walls faced east and the eyes of our people looked
   always on the distant lands of Mordor, as well as her allies in Rhûn, Khand and Harondor.
            A seventh level had been built on the very top. Its white walls were the only ones not
   divided in the center by the cliff or on the sides by the rising mountain, so they were perfectly
   round. Within the circle of the seventh level, seven high towers rose more than a hundred feet
   above the battlements. In the center of the towers, rising more than three hundred feet, there
   stood the great White Tower of Echthilion. It was the symbol of our duty and our pride: to guard
   the West from our Enemy, keeping the people of Middle-earth safe from the evil of Mordor.
            Before the Tower’s main entrance stood the Fountain and Garden of the White Tree.
   After my parents married, my mother Queen Arwen removed the single royal throne which had
   towered over everyone’s head in the first level. She opened the false ceiling of the highest level
   and had two tall royal thrones built side-by-side. They stood in the newly expanded throne room
   at the top of the tower for the King and Queen. The flag of Elendil, bearing a crowned white tree
   surmounted by seven stars, was embroidered with mithril by my mother before the war. It rose
   even higher, more than a thousand feet above the plains, waving proudly in the mountain winds.




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           Beyond the Old City walls, for miles in every direction stood the Pelennor Fields. They
   were once kept green by the diverted waters of the River Anduin. Enriched by mountain soil, we
   had grown the greatest variety of crops, fruits and vegetables in the whole of Middle-earth.
           Centuries of conflict had forced us to enclose these fields in a marvel of civil
   engineering: the walls of the Rammas Echor. They protected our people, and the wealth and
   bounty of our kingdom. During the War of the Ring, the City watched helplessly from the walls
   as orcs and Easterlings overran the Rammas Echor. They burned and polluted the fields,
   destroying our greatest source of wealth, in which we had labored for centuries.
           After the war, within the Pelennor Fields – no crops could now be grown. So we
   cultivated the fallow fields beyond the walls. Enriched by tribute and trade, the empty fields
   were populated by our returning exiled people and refugees from distant lands. Within those
   walls rose great houses, marketplaces, and many beautiful open-air parks and gardens. Enriched
   by many cultures, they filled the miles which had once held the Pelennor Fields. Over the years,
   the city of Minas Tirith has grown all the way to the walls of the Rammas Echor and far beyond.
           The levels rising above the black outer walls of the lowest level, built not from mountain
   rock, but the same impenetrable Númenórean stone as the walls of the Tower of Orthanc, was
   now exclusively the administrative center of the United Kingdoms of Arnor and Gondor. After
   ascending her throne, all seven levels were rechristened by my mother, the Royal Palace of Anor.
           The sixth level was the personal residence for me and my family. Before I left earlier this
   month, it was the only home I had ever known. I grew up there, honored and proud to serve
   equally the people of Middle-earth and the descendants of Númenor.
           The morning that changed my life forever began as any other. The throne room was filled
   with the usual envoys from tributary provinces and a few others I did not immediately recognize.
           Those granted audiences with my father and mother, the High King Elessar and High
   Queen Arwen, spent months being vetted, their cases heard by a slew of counselors. They were
   carefully distinguished from the throngs easily decided by lower authorities and lesser officials.
   Few found their way to the top of the White Tower, invariably thanks to long standing family
   connections, the pledge of great wealth for the benefit of our people, the most extraordinary
   service to the United Kingdoms, or the gravest and most urgent need.
           This made the delegation from Hildória unusual.
           Hildória had been a mystery for years. Our histories and legends say in the west of
   Hildória, the red cliffs of the Orocarni mountains provided the red earth for the Sands of the
   Great Sleep. The first Elves and Men slept at the feet of the mountains. A waterfall fell from a
   high cliff into a great inland lake called the Sea of Helcar. It had formed around the ruins of the
   Lamp Illuin. The falls were called the Waters of Awakening and they washed the Sands of the
   Great Sleep from the eyes of the first Elves and Men, fashioned by Ilúvatar, and they awoke.
           These people migrated to the north, south and west, spreading across the world. From
   their descendants, my mother Queen Arwen was born almost three-thousand years ago, the
   daughter of Elrond and Celebrían, once the Elven King and Queen of Imladris, known as
   Rivendell among Men. My grandparents passed West from East Mithlond in the Grey Havens.
           But my mother made the choice of Lúthien, to marry a man. She became mortal and bore
   mortal children. One day she will receive the ‘Gift of Men’ and on that day, she will die.
           Aside from my sisters and my mother’s Elven twin brothers, my uncles Elladan and
   Elrohir, my best friends are Prince Elboron and his sister, the Princess Niphredil of Ithilien. Also,
   Prince Ælfwine Éadig of Rohan and his sisters, the Princesses Éodyn, Idris, Liathwyn and
   Minwyn. They are the son and daughters of King Éomer and Queen Lothíriel, our closest allies.

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           I know and am friends with a great many others, from the short sallow Men of the
   northern ice fields of Forodwaith, to the dark swarthy Easterners, and the large dark-skinned
   Men in Northern, Greater and South Harad.
           But the people of Hildória were new to me. Their kingdom rose in the aftermath of the
   last War of the Ring from the ruins of Hildórien, Helcariä, Hitherien and East Rhûn. Those lands
   had been united during the war by their legendary warrior leader, Guan Qubing The Great.
           Their skin seemed fairer. Their hair, like most Elves, was darker, and their eyes seemed
   Elven-wise. Their speech and bearing, like the Elves, was more quiet and reserved.
           This is only a guess, but I believe at the beginning of Middle-earth there was an
   interbreeding of Elves and Men far beyond the few recorded instances in the west, like that of
   my mother and father. For the people of Hildória, though mortal, I daresay, look more like Elves
   than Elves. They certainly look more like Elves than me.
           One particular warrior of Hildória had been brought to my father’s attention for having
   provided great service to Prince Faramir and Princess Éowyn. It was during their efforts to drain
   the Dead Marshes, defeat the orcs roaming the plains beyond the Morannon, and beat back the
   attacking armies of King Dominus of Rhûn, and those of Thüringel, Queen of Mordor.
           In Faramir’s last campaign against Rhûn, the armies of Ithilien and Hildória came
   together, uniting in a common cause. During the fighting, a warrior of Hildória was defending
   Faramir, who had been injured. This warrior was horribly burned, yet fought on alone. Single
   handedly, he defeated an entire company, saving Faramir’s life and was hailed by all, a hero.
   Prince Faramir proclaimed him the finest warrior he had ever seen. High praise in deed.
           Yet his injuries left him horribly disfigured. He was kept alive by doctors, wrapping him
   in bandages and covering his skin. They festered and bled through, and had to be changed daily.
           During their journey from Rhûn to Minas Tirith, this warrior was joined by Guan Qubing,
   his wife Wenquing, the Crown Prince Xiang and his sisters. These were the Princesses Pingyang,
   Qianjin, Taipinga, and Tzu His. They brought many gifts for the communities of Ithilien and
   Gondor. And of course, they were searched.
           The bandages of the disfigured hero were removed and his identity confirmed at every
   security check point along the way, including outside the doors of the Tower of Echthilion. He
   had been brought to receive my father’s thanks for saving his personal and much loved friend,
   Prince Faramir. For his service to the Kingdom, his reward was to be a large grant of land in
   Ithilien, his in perpetuity, in exchange for the Oath of Allies, Cirion and Eorl, and of Peace.
           They arrived that morning led by Prince Faramir and Princess Éowyn. I stood at the back
   of the throne room with Elboron, Niphredil and my sisters, as I often did, observing. Their
   delegation was of medium size. The ruler of Hildória had disdained the noble title ‘King.’ He
   styled himself with the curiously, more local and strangely tribal-sounding honorific ‘Emperor.’
           Emperor Guan Qubing brought his son, the Crown Prince Xiang Qubing, a company of
   ambassadors, doctors, and of course their patient, the badly burned and bandaged warrior.
           It was a momentous occasion. Many hoped it would herald a new beginning of trade and
   friendly relations. We hoped it would lay the groundwork for an alliance with a distant though
   powerful kingdom, to stand united against our mutual enemies in Rhûn and Mordor.
           When the burned warrior approached the base of the throne, I saw Emperor Guan tap the
   hand of his son discreetly. Xiang did not overtly react other than, as inconspicuously as possible,
   he detached himself from his party. Making his way around the back, he approached our group,
   where we were sharing our impressions and talking unobtrusively.
           “Prince Xiang is very brave,” said the willowy blond, sixteen-year-old Niphredil.

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           “What makes you say that?” asked Celendrian, my dark-haired, eighteen-year-old sister.
           “He’s navigating a room of potentially hostile foreigners,” Niphredil answered. “Imagine
   being unarmed in a room full of orcs and leaving your guards to walk among them alone.”
           “You’re too sensitive to people’s feelings,” Celendrian told her. “I would hate being that
   sensitive. We need to grow you a thicker skin.”
           “You’re looking too low, Cel,” my best friend, the blond-haired, eighteen-year-old Prince
   Elboron told Celendrian, teasing his own sister. “The skin around her head is already too thick!”
           “Elboron!” Elerith said laughing, my vivacious, blond-haired, sixteen-year-old sister.
   “You’re the worst brother ever!”
           “Only compared to Eldarion,” he told her, a sideways smile at me.
           “Eldarion thinks Hildórians might be descended from Elves,” Niphredil told Celendrian.
           “Really?” Celendrian asked. “Elves are catnip to my brother. We have to keep him away
   from Xiang’s sisters. Courting a foreign princess would be too complicated.”
           “If one of them consented to a marriage, we’d be allies,” Elboron told her.
           “Then we should marry Elerith off to Xiang,” Celendrian teased.
           “I don’t share Eldarion’s obsession with all things Elvish,” Elerith responded, then she
   dimpled. “But he is very handsome.”
           Celendrian turned to me, “Would you consent to a marriage of convenience for an
   alliance with Hildória?”
           “That may not be necessary,” I responded. Smiling, I turned to my younger sister. “Be
   your most charming self, Elerith. Here comes Prince Xiang.”
           There was no opportunity for romance. In fierce whispers, his clamorous emotions
   incredibly restrained, Xiang implored me to step outside, where we could speak in private on an
   urgent matter of life and death.
           I knew the Prince had been searched and he was not carrying any weapons. My Elvish
   uncles Elladan and Elrohir were there watching me, as always, their special charge. I excused
   myself from my family and friends, telling them I would return momentarily.
           Just outside the wide open, heavy-stone throne room door, we stepped into the outer hall.
   Beyond anyone else’s easy hearing, I asked Xiang to speak freely. Before he could, within the
   throne room, the bandaged warrior addressed my parents.
           “Greetings, High King Elessar and High Queen Arwen,” the warrior said. Normally, they
   would return the greeting. Breaking protocol, the warrior went on, “Until this moment, I had not
   believed you, Queen Arwen, had forsaken your immortality for this mortal man. Yet seeing how
   cruel the years have been engraved upon your terribly ravaged face – it must be true.”
           Gasps of disbelief and disapproval mixed with cries of outrage. They rose from many
   places throughout the room and grew, beginning with Faramir himself.
           My father raised his hand and silenced them. “Who are you to speak thus to my Queen?”
           Ignoring him, the warrior addressed my mother, “I know it has been centuries, and my
   face is bandaged, but how can you fail to recognize your own kin?”
           “Who are you?” my mother asked.
           From the bandaged face came a mocking laugh, empty of mirth, “Memory has indeed
   failed you since becoming mortal my dear, sweet, sister.”
           Shock filled my mother’s face and her hand went to her mouth, “No! You… it can’t be– ”
   she turned to my father, “ – him.”
           “Allow me to set your mind at ease Queen Arwen,” the warrior said. Unraveling his
   bandages, he revealed the hideous face of a strangely disfigured, yet noble looking orc.

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           Faramir drew his sword, “Beware the orc!”
           “I am not an orc!” the warrior cried. He drew himself up, indignant, “I am the son of
   Queen Celebrían and the adopted son of King Elrond, named by him, Prince Estel!”
           “What?!” my father cried. He turned to my mother, “Is this true?”
           My father’ father, my grandfather Arathorn, had been killed by an orc when my father
   was still a baby. In order to protect him, my father’s true identity was hidden from everyone,
   including himself. He was adopted by my grandfather Elrond, just as Elrond had adopted many
   of the heirs of Isildur, as he himself had been adopted by King Celebrimbor centuries ago.
           Elrond renamed my father Estel. It means ‘hope’ in Sindarin. It was the only name my
   father knew until he reached the age of twenty. I cannot imagine being told by my father at the
   age of twenty that he was not really my father, and my name was not my own. I understand,
   when my father left Rivendell in his youth, after Elrond declared him an unfit match to marry his
   Elvish daughter Arwen, my father wandered the Wilds alone.
           He took it upon himself to learn about the problems in the world that he must solve to
   become worthy of her, and the throne. Bearing his great sadness and bereft, in the many foreign
   lands through which he traveled and often stayed, in each newly adopted home he learned the
   languages and cultures as if a native born.
           Elrond had raised many of the heirs of Isildur. He watched them grow, marry, bear
   children and die, faithfully shepherding the line of kings of old. But in all those years, he himself
   had never taken the name given to one adopted son and given that same name to another.
           My father knew that Elrond, Elven-wise, would not have done so without an over-arching
   purpose and a plan. This sudden uncertainty and his overwhelming fear of what Elrond’s motives
   might have been were as large a shock as any my father had ever known.
           But my mother was not accustomed to such shocks and this one had staggering
   implications. It is the only time I have seen her at a loss and I hope to never again.
           “Estel…” my mother said. A look of pure and undiluted horror filled her face.
           “Yes, your brother Estel,” the monster said. “Whom you and all the other haughty Elves
   deemed unfit for Imladris. I was sent out bereft, to die alone in the Wilds.”
           “That’s not true!” my mother cried. “No one made you leave or even bade you go. You
   left on your own, without an unkind act or word from anyone.”
           “You think because you did not say the words,” he said, carefully, with malice, “they did
   not scream at me to ‘go’ every time you saw my slowly changing face? The moment I no longer
   embodied the Elven vision of perfection, the moment you could see the nature of my true father,
   ‘go’ was all I heard from you and every other stinking Elf in that whole Kingdom!”
           “Why have you come?” my father asked.
           “Why?” Estel scoffed. “Elrond and Arwen lied when they called me son and brother,
   promising me a happy existence living among the Elves. But they tore my heart to pieces every
   time they looked at me and grimaced, robbing me of that dream with all the things they refused
   to face about themselves and their own hatreds. Tell me Arwen, if someone steals your only
   reason to live, are you not right to hold them accountable for your death?”
           “Those injuries exist only in your mind, Estel,” my mother told him. “Driven by your
   hatred for what you saw growing daily in your own mirror.”
           “I may have hated myself when I fled,” he told her, “filled with the certainty I wasn’t
   wanted or welcome, your gasps of horror echoing in my head. But in the Wilds, I learned to hate
   the trick you and your family played on me. It would have been better if you had left me as an
   infant to die alone in the woods!”

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            “What do you want?!” my father demanded. Standing, his eyes were dark.
            “Vengeance!” Estel cried. A look of pure and undiluted malice filled his hideously
   twisted face. “Revenge for all the years I spent alone, hunted by savage Beasts! While all I ever
   thought I loved was lost. They laughed at me from behind their walls and celebrated their belief
   that I was dead! Now I will take from you, Arwen, the lives of your daughters and husband. And
   yours, last. But first, the life of the one you love the most – your only begotten son.”
            He must have come unlooked for and unknown before that day and marked my face.
   Turning, he saw me standing outside the chamber beside Xiang. His eyes found mine and he
   shouted, “Eldarion!” Casting off his robes, he pulled out a long and short sword hidden
   underneath and announced for the benefit of everyone in the room, “Behold the horror on your
   mother’s face watching helplessly, for by my sword, today you die!”
            Xiang’s hands flashed out. Three knife-edged and cruelly barbed blades, like silver
   snowflakes, shot across the space – driving deep into the villain’s chest.
            Estel did not scream. With the most hideously monstrous howl I have ever heard, he
   roared like a demon-thing. The room shook and my blood ran cold. Ripping out the bloody
   blades, he flung them away and lunged with feral speed, sprinting across the throne room floor.
            Palace guards stepped between us, but Estel was so barbarically vicious, strong and fast,
   he cut them down with ease.
            Drawing their swords, my Elvish uncles Elladan and Elrohir advanced on him.
            In that moment, he drew from beneath his mail shirt a mithril chain bearing a golden
   Ring of Power set with a bronze Imperial Topaz stone. Putting it on – he vanished.
            “MORGOTH!!!” my father screamed.
            Before I could react, Xiang grabbed the wide stone-edge and heaving, slammed shut the
   throne room door. Together, we dragged the large wooden tables and chairs from the outer
   chamber, piling them against the entrance to barricade it shut.
            I was not in the room, but my uncles later told me, even though Estel was now invisible
   to mortal eyes, half-in and half-out of the shadowy wraith world, they could still see him. They
   swung their swords, one-high one-low, to cut him down.
            Surprised, yet ever lithe as a cat, he leaped between their swinging blades. Rolling to his
   feet without breaking stride, he raced towards the open windows, whistling while he ran.
   Removing the Ring so he could again be seen, he leaped without hesitation out one of the
   windows atop the Tower of Echthilion. Vaulting out into the bright morning sunlight three
   hundred feet above the Fountain and Court of the White Tree, it should have been his death.
            A shadow darkened the Sun. Framed by the window, those within the chamber saw his
   legs rising higher instead of falling. They circled behind the Tower walls and passed from sight.
            ‘Morgoth’ is a part of a code my father created. He had only shared it with my mother,
   uncles, sisters and I. By saying it, he did not intend for me to react as if the dark god Morgoth
   was in the room. He intended for me to feel that Morgoth had slain Manwë, Varda and Ilúvatar
   himself, and none were left alive to aid or save me, and I must flee.




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            Eldarion stood from his seat by the fire, turning away from Elanor and the others.
   Reflecting on whether he should express his thoughts, he decided and turned back around.
            His face was set with the most determined look she had ever seen, “I have learned
   philosophy and composed poetry of which I am proud. But surrounded by enemies, by necessity,
   we in Gondor are a warrior people. I learned to find my balance on the back of a pony before I
   could stand. I learned to handle a sword and dagger before a knife and fork, and have spent far
   more time with weapons in my hands. The first time there was the potential for me to die on a
   battlefield I was fourteen years old. I was not truly in danger. Our foes were not trained fighters,
   but farmers, duped by evil men to leave their fields and oppose us. It was at that battle, whose
   name I do not recall, I first killed a man, and I killed more than one. Fighting skill, like a sword
   against a stone, must be sharpened again and again to maintain its edge. Yet for all that, it was
   not until the moment my father cried ‘MORGOTH’ that I ever truly felt blind, mortal, terror.”
            Elanor put her hand on his, where it rested on the back of his chair, “I’m sorry.”
            He set his other hand on hers and smiled, “Thank you.”
            Removing their hands, he went on, “I do not enjoy violence and death. They are tools I
   must employ for the attainment of peace. But on that day I swore the only Oath I have ever
   sworn: I shall not rest until I have driven my sword through the heart of this abomination and
   hung his severed head from the top of the Tower of Echthilion for all to see: a warning to anyone
   who would dare come to my City and threaten those I love!”
            A heavy and foreboding silence filled the room.
            The fire cracked and a log within burst open.
            “What happened to Emperor Guan and Prince Xiang?” Theo asked.
            Eldarion looked uncomfortable, “Guan told my father that his wife and daughters had
   been kidnapped and held hostage. They were being kept alive to ensure he and Xiang went along
   with Estel’s plan. When they learned Estel intended to kill me, they knew it would mean war
   between our kingdoms. They reasoned Estel would kill them too and his Orcelven troops would
   conquer Hildória, using her people to invade and conquer Gondor. They knew it was their duty
   to save me, even at the cost of their own lives, to spare our peoples the devastation of all-out war.
            “We found the body of the bandaged warrior on the third level of the Tower of
   Echthilion. Estel must have entered dressed as him, invisible and armed, killed him, and
   infiltrated their delegation. The Emperor knew nothing of the Ring. Until that moment, he could
   not imagine any way in which Estel’s plan to kill me could succeed. He had intended to warn my
   father in the throne room, where Estel could not possibly hinder nor stop him.
            “Detecting Estel had employed some trick and taken the warrior’s place, he used his own
   codes to alert Xiang, instructing him to lead me from the room and save me. Despite their actions
   possibly saving my life, my father’s Councilors demanded their deaths for facilitating Estel’s
   access to the throne room, and thereby endangering the High King and his family. Even Faramir
   and Éowyn, who were usually the strongest advocates for mercy.”
            Eldarion drew from his inner breast pocket two small items: a sealed slender vial
   containing a clear liquid and a tiny hourglass filled with red dust. “In response, Guan offered my
   father an alliance between our kingdoms. As proof of his fealty and to silence my father’s
   Councilors, he gave him these two treasures: priceless heirlooms from the House of Qubing.”
            “What are they?” Elanor asked.
            “This is the only remnant of the Sands of the Great Sleep from the Orocarni Mountains,”
   Eldarion answered, holding up the tiny hourglass.



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            He lowered it and lifted the sealed flask, “This, the only vial left of the Waters of
   Awakening. When the Valar first remade the world, the ruins of the Lamps Illuin and Ormal, the
   Waters of Awakening, and the Sands of the Great Sleep were removed from Middle-earth.”
            “Why did Elessar give them to you?” Theo asked.
            “I do not know,” Eldarion answered, putting them away. “There are many secrets my
   parents still keep from me. But by sharing these secrets and this tale with you, which before now
   was only known to them, the Emperor Guan, Prince Xiang and his daughter the Princess
   Pingyang, you are now inextricably and forever bound in the Fellowship of the King.”
            Another long silence filled the room.
            “I- I… don’t know what to say your – Eldarion,” Elanor stammered.
            “As your friend,” he told her, “I would advise you against feeling grateful. You will soon
   discover, this is much more a burden, than an honor.”
            “That may be true,” Theo said. “But I, for one, am honored you’ve chosen us to share
   even the smallest of your burdens. Thank you, my friend.”
            “You are welcome,” Eldarion responded simply, leaving much unsaid.
            “What about the Queen of Hildória and her daughters?” Fastred asked.
            A look of pain crossed Eldarion’s face. “We dispatched our forces to the river. Our men
   boarded the ship on which they were being held – too late. Everyone was dead, except the
   Princess Pingyang, the eldest of Xiang’s sisters. She stood over the bodies of her mother and
   sisters, silently mourning. Still as stone, she blamed herself for having failed to prevent their
   murders. Throughout the ship lay the butchered bodies of the Orcelven, by which Pingyang
   herself had avenged their deaths. After this, as a precaution, our families were kept apart and we
   were not allowed to meet. Our fathers began great preparations for the invasion of Rhûn, to free
   it from the tyranny of Estel and avenge the fallen Empress and royal daughters of Hildória.”
            “Are Celendrian and the rest of your sisters all right?” Elanor asked.
            “Yes, thank you for your concern.” Eldarion answered. “Though badly shaken and
   protesting, for their safety, my father sent them to the royal Courts of two of our closest allies.”
            “Which one’s?” Elanor asked, thinking she would write them a quick letter.
            “I think you may agree,” he replied, “the less we say of these things, the less chance
   something may befall them.”
            “I wasn’t thinking,” Elanor said, shaking her head. “I’m sorry. Go on.”
            “I know your heart is in the right place,” he told her, and his eyes were kind. “My father
   insisted I go too, though somewhere else. I refused to leave his side. He set my uncles to guard
   me, night and day. Barring the doors and windows of my quarters, he created elaborate
   procedures for anyone or anything entering, designed to prevent the entry of an invisible foe. Nor
   was I allowed to leave. I felt like a prisoner – in my own home.”
            “As the days wore on, even with his elaborate precautions, I had never seen my father so
   distraught. Day after day, the tension took its toll. At last for his sake, I agreed to go. In the dead
   of night in secret, my uncles and I rode out the Great Gate of the Palace of Anor, through the
   darkened, silent streets and out the gates of the Rammas Echor. We journeyed long on little used
   roads, heading west. Thanks to Elladan and Elrohir’s unmatched skill, we avoided the roving
   bands of orcs and Orcelven hunting us. Finally we came in secret, only days ago, to Bree.”
            “Now I understand why your father wouldn’t speak of you, Queen Arwen or your
   sisters,” Alatar told him. “I regret I didn’t arrive before Estel. I would have warned you of his
   treachery before he arrived and saved your family from all this needless grief.”



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           “Thank you, Alatar,” Eldarion responded. He bowed graciously, showing how
   profoundly he shared the wizard’s sentiments and how deeply he was moved. “I believe the five
   of us have met here not by chance, but to serve a higher purpose that we cannot yet perceive.
   Doubtless, time itself will reveal the reason why, before much longer.”
           “Where are your uncles, Elladan and Elrohir?” Fastred asked.
           “When we arrived, the Mayor Mugwort of Bree was holding a message for them, relayed
   from Rivendell, purporting to be from my father,” Eldarion answered. “For safety, we had agreed
   not even he would know where we were going or which roads we would take. How anyone else
   could know was an ominous portent. We distrusted too the message. It asked them to go to
   Rivendell. It did not sound like something my father had written. It bore no royal seal and it
   contained subtle ambiguities. Elladan and Elrohir reasoned if the message reached us here, there
   were more dangers ahead than those we had avoided behind. I would be safer staying here
   anonymously at the Prancing Pony. They asked me to wait for their return, unknown to anyone
   save Butterbur, a personal friend of my father’s. Before they left, by the authority of the King,
   the militia of Bree was called to lock and bar the Gates, patrol the walls and keep strangers out.”
           “That’s why we were stopped!” Theo said.
           “Yes, by the order of my uncles on the authority of the King,” Eldarion told him. “The
   years of my youth were not peaceful, but now they seem like happier days, long past. Dark days
   have come and darker lay ahead.”
           “How long before your uncles return?” Alatar asked.
           “They ride Elvish horses,” he answered, “so perhaps, a week.”
           “That’s quite a story,” Fastred said.
           “I agree,” Eldarion responded. “Now by your leave, I would like to hear the tale of how
   the four of you came to Bree.”
           “I believe,” Alatar told him, “the one who can tell it best is the Lady Elanor.”




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                                           Chapter 7




                              Betrayal At The Havens




           After listening to Elanor tell their story, Eldarion smiled. “Happy twenty-first birthday,
   and two-and-twentieth.”
           “Thank you,” she responded.
           “Today was my twenty-second birthday,” he told her.
           “Oh!” she cried, looking at her unopened gift. “I should have remembered. Happy
   Birthday!”
           “Happy Birthday!” Alatar exclaimed.
           The hobbits echoed him, shaking Eldarion’s hand.
           “I feel bad we didn’t bring you a present!” Elanor told him.
           “Your friendship is the best gift I could have asked,” he said, smiling. “I wonder what
   Celendrian, Elerith and Brindil would say, hearing how they inspired your courage.”
           “They’ll think me foolish,” she told him, looking away. “I’ve thought the same thing
   myself, too many times to count, these last two days.”
           “You know my sisters better than most,” he offered. “Yet I respectfully disagree. Like
   you, they wish to help, however they can. They will applaud your bravery, especially in the face
   of such overwhelming danger.”
           “Thank you,” she told him. “But if the Orcelven are on the road to Gondor, which is
   where we were going, and worse awaits us on the road to Lindon, as Elladan and Elrohir seemed
   to think, where should we go or what should we do?”
           “What can we do?” Theo asked.
           “There are many roads to Gondor,” Eldarion answered, “shown to me by my father, who
   knows them all. So I know more than most. But Alatar confirming Saruman’s Ring was one of
   Celebrimbor’s originals, which before now were only rumored to exist, and observing Estel
   wearing one of Sauron’s Rings, makes it clear the answer to your question, and the key to our
   predicament, is to gather these Rings and defeat Estel before he gathers them himself.”

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            “How?” she asked. “We don’t know where they are.”
            “Do you have the Ring which Alatar gave you?” he asked.
            “I do,” she answered. Lifting the chain, she unclasped it and removed the golden Ring.
            “May I try it on?” he asked, opening his hand.
            “To my knowledge,” Alatar told them, “people have never shared Rings of Power.”
            “That’s not a good reason for us not to,” she said, handing Eldarion the Ring.
            “Why do you want to put it on?” Fastred asked.
            “To see if I can access its power,” he answered.
            “What if it’s an evil Ring?” she asked.
            “The Rings corrupted by Sauron were adorned with precious gems,” Alatar reminded her.
   “Except the One, which your father unmade in the fires of Mount Doom.”
            Eldarion felt the weight of the Ring, then examined it closely, looking for runes and
   considering the dangers. He looked around at his companions apprehensively. Going over the
   arguments in his head, he decided. Putting it on the third finger of his left hand – he vanished.
            Elanor’s mind struggled to accept, where one second ago there stood before her eyes a
   Man, there now appeared empty air. Without thinking, she reached out and her fingers touched
   something she couldn’t see. She yanked her hand back as if stung. “Oh!”
            “Ah!” Eldarion gasped. He reappeared bent over with his eyes closed. Fighting to catch
   his breath, he held his body rigid with the Ring clutched in his fist.
            “Are you alright?” Alatar asked. He put one hand on Eldarion’s back and straightened it.
   With the other, he lowered him to his chair.
            “What happened?” Elanor asked.
            Eldarion sat still, taking a deep breath. Slowly, he lifted his head, straightened his back,
   set his arms on the armrests and forced himself to relax. His breathing slowed. The tension in his
   body lessened and he opened his eyes. “I could still see you: the shock on your face. And I could
   still hear you. Perhaps I could hear an echo of your thoughts. I was half-in, half-out of the bright
   world of Valinor and… I… felt suffused with light. My memories began to open before me like a
   scroll.” He opened his fist and looked at the Ring, “I saw all the events of my past more clearly
   than when I first experienced them. With this Ring induced ability to ‘see,’ I saw things in the
   past that had been invisible to me: Rings of Power on my father’s hand, my mother’s hand,
   Elladan and Elrohir’s hands, my great-grandfather Celeborn’s hand, and on his councilor, Gildor
   Inglorion’s hand. There was even one on Prince Elboron’s hand!”
            “For rare and mysterious relics,” Theo told Fastred, “these Rings seem suddenly,
   strangely common.”
            “I – agree,” Eldarion said. “I… do not understand, why everyone I – oh… no.”
            “What is it?” Alatar asked. He stepped closer, “What do you see?”
            “In my memories of my stay in Ithilien, visiting Elboron and Niphredil,” he answered.
   “On the hand of Glorfindel I saw, I mean, I finally see… another Ring.”
            “So…?” Fastred asked. “How is this one different from the others?”
            “Most of the others were smooth bands, unadorned by stones,” he answered. “Yet within
   them all, I could see the light of Valinor shinning from the Tengwar script written in ithildin on
   the outer bands. Glorfindel’s Ring bore a black Star Sapphire stone and it glowed with a harsh
   red light. The runes were Elvish, but the writing was Barzhûrk.”
            “What’s Barzhûrk?” Theo asked.
            “The name in its own tongue, for the Black Speech of Mordor,” Eldarion answered.
            “What does that mean?” Fastred asked.

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            “It means,” Alatar answered, “that the powerful and immortal Elven Lord Glorfindel
   wears a Ring of Power forged by Sauron, and has doubtless Fallen into treachery and Darkness.”
            Eldarion stood, “I must go at once.”
            “Where?” Theo asked, jumping up. So did everyone else.
            “Elladan and Elrohir are riding to Rivendell to meet Glorfindel!” Eldarion cried.
            “We’re going with you!” Theo said.
            “No,” Eldarion told him. “We dare not send another Ring of Power anywhere near one of
   the Fallen, whose heart now dwells in the Shadow of Mordor.”
            “He’s right,” Alatar agreed. “Glorfindel might sense the approach of Lady Elanor’s
   Ring.”
            “If so,” Eldarion told him. “He would try and kill us to claim her Ring before we arrived
   anywhere near Rivendell.”
            “I thought Rivendell was full of Elves,” Elanor said. “Can’t anyone there stop him?”
            “I doubt anyone there realizes he is a threat,” Eldarion answered. “I have just discovered
   it, only because of the unique abilities of your Ring. My grandfather Elrond ruled Rivendell and
   was the most powerful, but he sailed West to reunite with my grandmother. Of his stature, only
   Círdan in Lindon and my grandfather Celeborn in Lothlórien remain. Erestor, my grandfather’s
   former counsellor, still lives there, but he is not anywhere near as powerful as Glorfindel.”
            “Eldarion and I must ride to Rivendell and aid Elladan and Elrohir,” Alatar told them.
   “But I fear Glorfindel may learn we’ve been carrying Rings. You three must go to Minas Tirith.”
            “He already knows,” Eldarion said.
            “He does?” Fastred asked.
            “Now I understand the riddle of how an Enemy could know our whereabouts,” Eldarion
   answered.
            “How?” Theo asked.
            “Glorfindel has in his possession, a palantír,” he answered. “One of the seven Seeing
   Stones of Númenor.”
            “Where did he get one of those?” Elanor asked.
            “There is a final tale I must share quickly before we go,” Eldarion told them.



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           Legolas, Gimli and Glorfindel rode their horses to the docks of East Mithlond. There the
   great white ship was being loaded for its crossing of the ocean Belegaer. It was scheduled to set
   sail along the Straight Road to Valinor from the Grey Havens, after the final passengers arrived.
           “How is Aglarond and the Palaces of the Glittering Caves?” Glorfindel asked Gimli.
           “Magnificent,” Gimli answered, smiling. “I wish you could have seen what we have
   done. The renown of our cavern halls and bejeweled chambers does not do their beauty justice.”
           “And the plantings in the hills of Emyn Arnen, in Ithilien?” Glorfindel asked Legolas.
           “The countryside, as well as the personal gardens of Prince Faramir and Princess Éowyn,
   blossom with vitality and color,” Legolas answered. “And the nursery garden of Prince Elboron.”
           Glorfindel laughed, “It has been a very good year for nuptials and newborns.”

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           “Weddings and babies are the blessings of peace at the end of every war,” Legolas
   responded. “Long before the birth of Prince Elboron, Elessar and Arwen were blessed with
   Eldarion. Then Sam and Rosie had Elanor. Éomer and Lothíriel have since born Ælfwine. Pippin
   and Diamond have had Faramir, and Merry and Estella have baby Théoden.”
           “It will be good to see Frodo and Sam, and Merry and Pippin again,” Gimli said.
           “When do they arrive?” Glorfindel asked.
           “Within a week,” Legolas answered. “After Elrond, Gandalf and the Lady Galadriel.”
           “Ah, the Lady,” Gimli said. “Most of all, I look forward to seeing again the Lady of the
   Golden Wood. Though it should not be, more than any other, she is the one I’ll miss the most.”
           “There is no ‘should,’ when it comes to where the heart is happiest,” Legolas told him.
   “Nor any shame in feeling the love you feel for the one you love.”
           “So you say, my friend!” Gimli laughed. “But many are the curses and black looks I’ve
   received from my own people for not marrying and having sons. And for my unending and
   unrequited devotion to the Lady.”
           “Your devotion is not unrequited,” Legolas told him. “She is most devoted to you. As
   much as any woman can be, to a Dwarf who is not her husband.”
           “Perhaps when she has sailed West,” Glorfindel told Gimli, “it will free your eyes to see
   the beauty of the women of your own people.”
           “I envy you,” Legolas told Glorfindel. “My heart longs ceaselessly to travel West since
   hearing the call of the sea in Pelargir, but my duties to Elessar and Arwen are far from done.”
           “Each in his own time,” Glorfindel said. “Valinor will still be there to welcome you.”
           “I have the greater envy of you both!” Gimli told them. “You will both one-day dwell
   forever in the Timeless Land with the Golden Lady.”
           “No one can say for certain what the future holds,” Glorfindel said. “As for today, come.
   Let me show you the white ship that will bear us away.”
           While giving them a tour, Glorfindel pointed out a wooden crate being loaded into the
   hold. It contained a custom made, shrouded and sound-proof box encasing the Elostirion-stone. It
   was one of the seven Seeing Stones, known as the Palantíri.
           “Why send the Stone into the West?” Legolas asked. “It cannot be of any use in Valinor.
   The Palantír of Elostirion only looks west.”
           “I do not know,” Glorfindel answered. “Though I agree. Middle-earth would be better
   served if the Stone remained and some power bent it to look on other things. It is the King who
   has decreed the Stone must go.”
           “I will have words with Aragorn,” Gimli laughed, “for sending away a priceless treasure I
   could have used to see the face of the Lady Galadriel.”
           Legolas smiled, “He is Elessar now, my forgetful friend.”
           “I know,” Gimli said. “That’s what we’re supposed to call him. To me, he’ll always be
   Aragorn. Even Sam slips up sometimes and calls him Strider.”
           “Long has it been since I heard Sam call Elessar by that name,” Legolas laughed. “The
   palantír will cross the sea with Elrond. In Valinor, he intends to bend it to his will. He will use it
   to see Arwen and Elessar. It will allow them to share the life of Prince Eldarion. This has been a
   great comfort to both of them, easing the grief of their parting in Minas Tirith. It has also
   lessened Elrond’s fear of Arwen parting from Arda alone when she embraces the Gift of Men.”
           Early the next morning, Legolas and Gimli went hunting in the woods. Upon returning,
   they passed Glorfindel driving a large horse-drawn cart, covered by a tarp, out of the Havens.
           “Where are you going?’ Legolas asked.

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           “I am on a secret mission… for the King,” Glorfindel answered. “I will return shortly.
   But please, do not mention this to anyone, until then. In the name of Elessar!”
           “Very well,” Gimli agreed. “Neither myself nor Legolas will speak of this.”
           That evening, Círdan hosted a feast for everyone sailing West, except the final scheduled
   passengers who had not yet arrived, including Bilbo Baggins, a Hobbit of the Shire. Afterwards,
   the night grew dark as they loaded the last of their belongings onto the ship.
           From deep within the hold, Elrond cried. “It’s gone!”
           Everyone went running. Elrond was not given to outbursts of surprise.
           They found him staring at the empty space where the crate containing the Elostirion-
   stone had stood. Legolas and Gimli were stabbed with the sudden fear that what Glorfindel told
   them outside the city might not be true. They reported their encounter and conversation.
           Elrond was enraged, more furious than anyone had ever seen him. He announced that he
   was leaving the Company of the Ringbearers. Arming himself, he rode after Glorfindel to punish
   his treachery, determined to recover the Elostirion-stone and learn why Glorfindel had deceived
   Legolas and Gimli. The two of them, along with Galadriel and Galdor, rode after him.
           For three days they couldn’t catch him, until he entered the Shire and came in sight of
   Gildor, Bilbo and several companies of Elves from the Greenwood, Lothlórien and Rivendell.
           After stopping Elrond, Galadriel calmed him down and tried to persuade him to return to
   the Havens. He refused: not until Glorfindel was found and brought to justice.
           Galdor and Gildor apologized to him, feeling responsible, as the only other two exiled
   Elves to return from Valinor with Glorfindel. So they swore an Oath: they would stay behind in
   Elrond’s place, recover the Elostirion-stone and bring Glorfindel to justice before King Elessar.
           Accepting their Pledge, Elrond at last agreed to leave, not the least of reasons: his much
   loved and long missed wife Celebrían was expecting him in Tol Eressëa. Though stayed, he
   would not return to the Havens until Legolas and Gimli atoned for the part they had been duped
   to play by riding at once to Minas Tirith and informing the King of Glorfindel’s treachery.
           Legolas and Gimli protested to Galadriel. Leaving now would make no difference. They
   would miss Frodo and Sam, who they were expecting, and Merry and Pippin. Gandalf had sent
   for the other two hobbits and they were only half a day behind. It was their last chance to have a
   final gathering of all but one of the surviving members of the Fellowship of the Ring.
           Despite their pleading, Galadriel would not overrule Elrond and Elrond could not be
   swayed. Aggrieved, yet confused and ashamed by the part they’d been duped to play, Legolas
   and Gimli rode away.
           Elrond, Galadriel, Bilbo and the rest of their company turned around and headed west. In
   the distance, they saw Frodo and Sam. Before hailing them, they agreed to keep the theft of the
   Elostirion-stone a secret, as not to upset or discourage the hobbits.
           Weeks later, after hard riding and little rest, apprehensive as to what awaited them in
   Minas Tirith and what they might learn, they arrived in the throne room in the Palace of Anor, at
   the bottom of the tall stone steps below the high seats of my father and mother.
           By all accounts, my mother was nothing short of apoplectic.
           “How could anyone be so stupid!” she shouted from her chair, before the packed
   chamber. She stood, towering over their heads. “If Mithrandir and Elessar had not been on the
   Quest during the War of the Ring, would you have stood like idiots, while orcs kidnapped Frodo
   and Sam? Or perhaps – this is exactly what happened when Merry and Pippin were abducted!”
           “Arwen – ” Elessar pleaded, reaching for her, trying to calm her down.



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           She would not be stopped and looked down on Gimli. “I confess, I once believed there
   might be good in races other than Elves and Men. Now I see I was deceived!”
           “My Queen – ,” Legolas began.
           “As for you, ‘Prince of Elves,’” she mocked, turning her wrath on him. “I expected better
   than this! Though in truth, what can be said of an Elf who disdains his own people to spend all
   his time with a… Dwarf? There is little I can say… which gossips haven’t said. Unless – would
   you care to learn the truth of how your mother died?”



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           “I can’t imagine how she must have felt,” Elanor said. “In a way, it was a kind of death.
   It breaks my heart that Glorfindel took the Stone and robbed Arwen of her only chance to share
   your life with her parents, and you from ever knowing them.”
           “I just realized,” Fastred told them. “Other people mentioned that the Elostirion-stone
   was carried West on the white ship with the Ringbearers. But Galdor didn’t actually say that. He
   only said the top of the Tower once held the Stone.”
           “You have been to the top of the Tower of Elostirion?” Eldarion asked.
           “We both have,” Elanor answered. “The statues and treasures are amazing. But I can’t
   stop thinking about your mother. Every one of your milestones growing up, every celebration
   and birthday, would have been a painful reminder of Glorfindel’s treachery.”
           “You are right about the depths of my mother’s grief,” he told her. “It knew no bounds.
   She forbade Legolas and Gimli from ever again setting foot in Minas Tirith. My father tried to
   ease her sorrow, but in this, she would not budge. My father has a special love for the members
   of the Fellowship of the Ring. I hear it whenever he mentions Frodo or Sam, Mithrandir, Merry
   or Pippin. Yet of Legolas and Gimli, until he told me this tale, I had never heard of their
   connection to the Fellowship of the Ring. I spoke with my uncles and they confirmed the story
   was true, yet they had nothing more to say. I do not believe Celendrian has heard this tale and I
   am certain Elerith, Brindil and Cetelina have not.”
           “Aren’t there other palantíri which can look West?” Alatar asked.
           “My father has the Stone of Anor,” Eldarion answered. “It is not as powerful as the
   Elostirion-stone, nor the long-lost Stone of Osgiliath. None of them can see across the ocean. On
   the night of my eighteenth birthday, I learned many secrets my father withheld until my coming
   of age. He had me look into the Anor-stone. I saw Denethor’s hands – withering… in flames.”
           Theo turned to Fastred, “This makes that awkward conversation I had with my father on
   my eighteenth birthday seem remarkably tame.”
           “Why did Glorfindel steal the Elostirion-stone?” Alatar asked.
           “If my father knows, he would not say,” Eldarion answered. “We never spoke of
   Glorfindel again. I had only seen him once, when very young, visiting Elboron and Niphredil.
   We entered the chamber unannounced. Glorfindel was speaking to their parents. When they
   realized I was there, they became alarmed. I did not address Glorfindel and he did not speak to
   me. At a sign from his father, we left the room. When my father later told me the tale of
   Glorfindel and the Stone, at last I understood their strange reaction. Until then I had only known

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   Glorfindel was one of the most powerful and combat honored Elves in Middle-earth, and living
   in Rivendell with a dwindling number of people. I never imagined anything as pernicious as him
   Falling to the Shadow! In the history of Elves, only Maeglin ever knowingly served Morgoth.
   But the Dark Lord and his servant Sauron have been vanquished. I cannot imagine anything that
   could turn one of the brightest and most valiant of the High Elves to the paths of Darkness.”
           “Did you ever hear anything more about the stolen Elostirion-stone?” Elanor asked.
           “No, nor did I dwell on it,” he answered. “Other Stones were lost and have gone
   unaccounted. There are always too many weighty concerns and immediate dangers demanding
   our attention. We do not have time to ponder every mystery or potential threat ever posed in the
   long history Arda. Until tonight, nothing had distinguished this one from the rest.”
           “These questions must be put to your father,” Alatar said.
           “How did Legolas’ mother die?” Elanor asked.
           “If my father knows, he would not say,” Eldarion answered. “I believe he withheld this in
   deference to my mother. I had heard of Legolas and Gimli, yet their names had been said with
   such flatness, the tone itself communicated they were not worth discussing. I never connected
   them to the Fellowship of the Ring. In Gondor, the tale of ‘Frodo of the Nine Fingers and the
   Ring of Doom’ names seven members of the Fellowship, and tells their stories extensively,
   especially Aragorn’s and Boromir’s. It includes a great deal about Faramir, Éomer and Éowyn,
   who were not members of the Company. Of course, the focus is your father and Frodo’s journey
   to Mordor. Theo’s father Meriadoc, called in the tale ‘Merry,’ and his best friend Peregrin, called
   ‘Pippin,’ play significant roles. Mithrandir, of course, is central. Especially at the Battle of the
   Pelennor Fields. The tale speaks volumes about my grandfather Elrond, my great-grandmother
   Galadriel, and of course, my mother. Yet it mentions without naming, an Elf and Dwarf were
   members of the Company, as representatives of their people.”
           “But they saved our fathers!” Theo protested.
           “If what you say is true,” Eldarion told him, “in Gondor, their deeds went unrecorded. I
   once summoned the courage to ask my mother about Legolas and Gimli. She refused to speak of
   them and said I must never mention their names again. Half my family are Elves, yet until I came
   to Bree, I had never met a dwarf and I have never seen a female dwarf. They have always been a
   very private people. In time, our dealings with the seven dwarven kingdoms has grown less. For
   most of my life, I thought this was because their numbers have steadily declined since the War of
   the Ring. Hearing this, I realized there was far more to it. ‘Beware a woman scorned,’ is as great
   a truth as any. I hope I die before I fall so far afoul of such a powerful woman.”
           “If Glorfindel has the Elostirion-stone and bent it to his will,” Alatar said darkly, “he
   could be watching us, right now.”
           He and Eldarion shared grave looks. Their eyes swept the room and windows.
           “Uh… I don’t think you need to worry about that,” Fastred told them.
           “What?” Elanor asked. Everyone turned to him, surprised.
           “What makes you say that, my friend?” Eldarion asked.
           “Well…” Fastred said. He looked down at his hands, twisting his napkin. “I promised not
   to say anything. But, with everyone sharing their secrets… I guess it would stupid not to.”




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           Galdor led the Gardners and Greenholms from the chamber atop the Tower of Elostirion.
   Together in a long line, they slowly descended the long winding staircase.
           Except for Fasted, who stayed behind and tarried. Staring out the window and looking
   West over the ocean, he strained to see the line of the horizon – and whatever lay beyond.
           “Seeing is not as difficult as some believe,” a voice said, from somewhere in the shadows
   on the far side of the chamber. “Often to truly see, all one must do is have the courage to look.”
           Fastred turned, embarrassed he’d been caught.
           Before him stood the bearded Elvish ruler of the Havens, the tall white-haired Círdan.
           “I- I’m sorry, Lord,” he stammered. “I- I just wanted…” Círdan gazed past him, saying
   nothing. Fastred turned away, “I… should get going.”
           “Many things can be seen by those who have the courage,” Círdan said. He lifted his long
   arm and pointed past the statues to the display cases lining the walls.
           “What are they?” Fastred asked, stepping closer.
           “Heirlooms of the House of the Ñoldor,” Círdan answered. “Where some prize only gold
   and jewels, in Lindon, we also value other things.”
           “What’s this?” Fastred asked, looking into a glass case. It displayed a curiously broken
   spear of white wood, attached to a black metal blade.
           “This is galvorn,” Círdan answered, “a spearhead crafted by Eöl, the Dark Elf. It was
   wielded by Galadriel, riding at the head of the Sindar when she saved Lindon from orcs.”
           He didn’t understand, but liked seeing the treasures. He moved to the next. “And this?”
           “One of the black Stones remaining after Aulë forged the Shroud of Túrin Turambar on
   the island of Tol Morwen,” Círdan answered. “It lies a hundred miles off the coast of Forlindon.”
           “I’ve dreamed of sailing over the horizon,” he said, staring at the flat stone.
           “Perhaps someday you shall,” Círdan told him. He opened the case and lifted the small
   Stone, “The enchantments in this Stone keep the bones of Túrin hidden on the cliffs of the Cabed
   Naeramarth, high above the Teiglin river. One day, the Valar will raise Túrin from his grave to
   lead the final war against Morgoth. If his tomb was not concealed by the most powerful
   enchantment in Arda, Morgoth’s servants would have despoiled his remains, burned his bones
   and scattered the ashes to prevent him from one day rising to destroy their dreaded Lord. The
   black stones created by Fëanor and the Númenóreans are lesser copies of this Valarin Stone.”
           “Is it like a palantír?” he asked.
           “It is the opposite,” Círdan answered, lifting the Túrin-stone. “It will keep anyone who
   carries it and their companions safe from scrying eyes, whether crystal, water, fire or smoke. Not
   even the Palantíri can pierce the shadows protecting the one who bears a Stone from the Shroud
   of Túrin. Though long before you visit those shores, I deem you will have pressing needs. This
   should have gone to Frodo Baggins before the last War of the Ring, and a great aid it would have
   been to him. Alas, we did not meet until after his Quest.”
           “Is this the only one?” Fastred asked.
           “There are others,” Círdan answered. “One was given to Princess Nimrodel by King
   Eärnur of Gondor, to hide her from the wrath of the Mad Vala, Ulbandi. Would you like a
   keepsake of great deeds and ancient days, so you will never forget the Elves?”
           Not understanding, or quite believing, Fastred nodded and reached for the Túrin-stone.
           Círdan pulled it back. “This is not an idle trinket! If you accept this gift from Lord
   Círdan, you must keep it safe and always with you. You can never reveal to anyone what you
   possess, unless your life and the lives of those you love hang in the balance. This, I demand in
   return. Do you agree to this, swearing upon your Honor, with your Word?”

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           Fastred felt like running. But he couldn’t take his eyes off the Túrin-stone. He put his
   hand on his heart and bowed his head. “I do, my Lord. I swear.”
           “Very good, my son,” Círdan said. Lifting a small silver locket on a silver chain, he
   sealed the Túrin-stone within, draped the chain over Fastred’s head and hid the locket under his
   shirt. “May it serve you in good stead when days are dark and only darkness is your friend.”
           Fastred pulled the locket out, surprised at how light it felt. He opened it and touched the
   smooth black Túrin-stone. “Thank you, Lord.”
           “Join your family, before you are missed,” Círdan said. Closing the locket, he hid it on
   the hobbit again. “Remember, you must keep this with you always, and a secret of the Elves.”
           “Yes sir,” Fastred said. Strangely happy, he ran to join his family.



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           “You never told me this,” Elanor protested. She looked at Fastred as if she’d never seen
   him before, even more surprised than she had been meeting Eldarion.
           “I never told anyone,” he responded. “I wouldn’t have, except, Eldarion made me a
   member of the Fellowship of the King, and… well, I didn’t think it would be right not to.”
           “Well done Fastred,” Eldarion said. “Do you have the Turin-stone with you?”
           He nodded. From under his shirt, he withdrew the chain and silver locket.
           Eldarion rubbed the metal links between his fingers. “This chain is mithril.”
           “So’s the locket,” Alatar observed.
           “What does that mean?” Fastred asked.
           “It means,” Elanor answered, “that since our trip to Lindon, you’ve been the second
   richest hobbit in the Shire!”
           “What?!” Fastred shouted. He stared at the locket the way Elanor had stared at him.
           “Open it,” Alatar told him.
           He hesitated at first, then did so, very uncomfortable. Inside was a small, flat black Stone.
           “Hold still,” Alatar said. He lifted his hand and closed his eyes. The light from their
   lamps dimmed. The silver in Alatar’s hat and robes glistened. “In his memories, I can see this
   was given to him by Círdan. But only because he is willingly sharing them. Otherwise, this Stone
   would thwart my strongest enchantments.” He turned to Elanor. “If you stay with Fastred and his
   Túrin-stone, the Enemy’s eyes will be shrouded: blind to where you are and all you do, as I deem
   they’ve been to us.”
           “Perhaps,” Eldarion told Alatar, “it would be best, if Fastred came with us.”
           “What?” Elanor and Fastred said together, looking at each other, and then Eldarion.
           “Wait a minute,” Theo said, holding up his hand. “With all due respects Eldarion, you are
   not splitting the three of us up!”
           “Perhaps it would be best for all the hobbits to come with us,” Alatar told Eldarion.
           “Good,” Elanor said, looking at her friends. “I’d rather we go to Rivendell together.”
           “I would welcome your company on the Road,” Eldarion told them. “It is not often I meet
   people and genuinely enjoy their company. I was not thinking a moment ago. I am sorry, Theo.
   If you agree to aid my Quest, I give you my Word – I will never allow anyone to split you up.”

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            “Apology accepted, Eldarion,” Theo said. He stood. “With that settled, let’s get going.
   The longer we stay where half the town knows where we are, the longer we’re in danger!”
            “Theo is correct,” Eldarion said. He rose. “I go to pack and will be ready shortly.
   Elanor?” He held out his hand. “Your Ring.”
            “You’re just full of surprises!” Theo told Fastred, laughing. He slapped his back and the
   two of them headed for the door.
            Elanor reached for her Ring.
            “Wait!” Eldarion shouted, pulling it away.
            Shocked, everyone stopped. Turning, they all stared at the Prince.
            “What’s wrong?” Alatar asked.
            Eldarion clutched the Ring and looked into the distance. “We cannot leave.”
            “But you just said – ” Theo started.
            “Why not?” Alatar asked. He stepped closer, trying to glimpse whatever Eldarion was
   staring at, “What do you see?”
            Eldarion opened his hand and looked down at the Ring. “In the last of my memories from
   earlier in the Common Room. I just remembered seeing them under the influence of Elanor’s
   Ring. Someone here at the Prancing Pony is wearing another Ring of Power!”




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                                           Chapter 8




                        The Fall Of The Prancing Pony




            Theo and Fastred ran down to the Common Room and confirmed the man Eldarion
   described was still drinking beer. Theo stood watch and Fastred reported back, then grabbed his
   and Theo’s packs. Alatar and Elanor brought their own packs to Eldarion’s suite.
            Eldarion folded a hastily written letter. Sealing the seam with hot wax from his desktop
   candle, he blew to harden the surface and impressed it with the signet ring on the third finger of
   his right hand. Having affixed it with the Seal of the High King of the United Kingdoms of
   Arnor and Gondor, he rang the bell beside his quill and inkpot.
            After a minute, a knocking was followed by Missy Hornbottle. “Lady Elanor!”
            “Missy!” Elanor exclaimed. They hugged. “Thank you so much for the dress! It’s lovely.
   How do I look?”
            Missy watched her spinning and caught sight of her unopened gift. “Enchanting! And
   speaking of enchantments, open your present.”
            Elanor glanced at Eldarion and he nodded. With no time to waste, she ripped apart the
   wrapping paper. Lifting a small box, she opened it, revealing an intricately woven pendent and a
   chain of the finest gold. “It’s beautiful.”
            Missy fastened it around her neck. “It was made by my maiden aunt, Iris Hornbottle. She
   calls it, ‘The Endless Knot & Armor of the Heart.’”
            “What does it do?” Elanor asked. Examining the intricate interlocking pieces, which
   moved, but wouldn’t come apart.
            “She’s an Astromancer. She has the Gift. This pendant will tell you if courtly gentlemen
   are sincere. No matter what an ardent hobbit says,” Missy answered, eyeing Fastred, “it won’t
   come apart until your true love pledges his heart.”
            Elanor was truly touched. “Thank you.”


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            “Mistress Hornbottle,” Eldarion said, standing. “I am deeply grateful for your kindness to
   Lady Elanor. We will thank you properly, someday when we return. However,” he handed her
   the letter, “we must make haste. Please deliver this at once to Manus Tarqus. I believe he is a
   guest here at the inn. And have someone fetch our bags.”
            “Yes sir,” she said. Taking the letter, she curtsied, and on her way out asked Elanor,
   “Who’s your handsome friend?”
            “Oh… we just met,” she said, uncertain how to answer, “but our fathers go way back.”
            “I am Thyrion, son of the warrior Thorongil,” Eldarion answered, bowing. “Like my
   father, I have fought proudly in the armies of both Rohan and Gondor, at your service.”
            “Enchanted,” Missy said, batting her eyes. She had a mind to flirt, but was overwhelmed
   by his accomplishments, dazzling smile and unflinching gaze. Turning beet red, she left.
            The four of them joined Theo downstairs. Most of the tables were empty. A few scattered
   crowds of late-night revelers lingered, including several militiamen spread about the room. It
   wasn’t clear what they had been doing there all night and if they were on or off duty.
            Butterbur had let most of his staff go and was serving the last of the diehard drinkers
   himself. Theo eyed a table littered with empty beer mugs where the mail clad, cloaked and
   hooded stranger drank, with the last of his grim friends. They seldom spoke and did not smile.
            Elanor looked closely at the stranger’s gloves, but couldn’t see the Ring which Eldarion
   had insisted was there. The stranger’s cloaked and hooded face was lost in shadow. She couldn’t
   perceive a single distinguishing feature of his person.
            “Wait with the hobbits near the door,” Alatar told Eldarion. He approached the table.
            While the stranger and Alatar spoke, Butterbur arrived with another tray loaded with
   glasses full of beer. Even in the subdued ruckus of the Common Room, Elanor couldn’t hear
   their words. But she would never forget the first time she experienced a magical attack.
            Talking quietly with Fastred and Theo, she realized she’d lost her train of thought. Her
   mind had wandered. She couldn’t remember the last thing she had been thinking. Then she
   realized she couldn’t remember where she was or what she had been doing. A choking fear
   gripped her by the throat: something terribly important was happening, but she had no idea what
   it was or how she should respond. The heat from the fire in the pits became alarmingly hot,
   forcing the air from her lungs. She started seeing spots and knew she was about to faint – but the
   moment was shattered by the sound of breaking glass.
            Butterbur had fallen forward and his tray of frothing beer mugs had crashed against the
   cloaked and mail clad head of the stranger.
            “Back!” Alatar shouted, swaying. Now that the spell was broken, he pulled Butterbur up
   and pushed him towards the others and the door, standing between them and the hooded figure.
            The militiamen in the room drew their swords. The stranger lifted his hands and for the
   first time, Elanor saw a flash of gold beneath the mail-mesh on the third finger of his left hand.
            He spoke in a rough guttural tongue.
            The air before her face thickened and shrieked.
            Air had always been safe.
            ‘Vanish into thin air’ was a common phrase contrasting a dangerous unknown to the utter
   banality of air. But now she saw there were many forms and faces air could take. What was once
   familiar and commonplace, became threatening and strange. The air grew hot again, grew faces,
   grew fingers, dragging itself from her lungs and forcing its way out of her mouth.




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           The silver in Alatar’s robes gleamed. He lifted his staff and spoke stern commands. A
   great wind rose outside the inn and freezing blasts shot down the chimney. Crossing the room,
   they froze the hot fingers of air, drawing them up the marble chimney and carrying them away.
           She and everyone else in the room could breathe again.
           “Surrender!” Alatar commanded, now flanked by the militia. “You cannot win.”
           “You have no idea what I can do!” the stranger hissed, as his friends ran out. Lifting a
   metal rod, he spoke in a strange and guttural tongue. Black smoke billowed from the fire pits. It
   leaped across the room, grabbed their throats and filled their lungs, except Alatar’s.
           The wizard batted the smoke aside with his glowing staff and shouted commands. The
   winds outside the inn trebled and the windows shattered. Great gust-like battering rams of wind
   attacked the demon smoke, blasting it apart and sucking the pieces out through the broken glass.
           Flames leaped from the fire pits and roared against the screens. Cold wet tongues of wind
   blew through the shattered windows and knocked the screens down, pushing soaking wet rain
   sideways through the room to flare to steam against the burning logs. The fire and smoke roared
   back hotter and thicker. The wind and rain shrieked louder and harder.
           It seemed to Elanor the wind and smoke and fire and water were at war, with her life and
   those of the militia and her friends hanging in the balance.
           “Get out!” Theo screamed, pushing her and Fastred out through the double doors.
           “Go quickly!” Alatar commanded.
           Running to catch up, Eldarion followed them out. He grabbed their bags at the front desk
   and joined the hobbits in the street, far beyond the sign of the Prancing Pony.
           A great storm rose in the sky with its dark eye centered over the inn. The winds blew
   harder and hit like stones, growing thicker and darker, forming a terrible whirlpool of furiously
   screaming air. The storm winds banged, battered and pulled at the walls of the inn.
           Theo pushed them down the street, far from the Prancing Pony, far from any houses, and
   Eldarion followed.
           Fire shot up out of the chimney. Screaming people poured out of the doors surrounded by
   clutching fingers of smoke. Some climbed out through broken windows, assisted by the militia.
           Alatar came running out. “Get down!”
           The winds circling the inn grew louder and darker, battering them so hard, they threw
   themselves to the ground. Tongues of smoke and fire snaked out broken windows. The flames
   crawled up and down the walls, then moved out over the ground. It strangled and burned the
   militiamen – but it was coming for Alatar and his friends. The wizard raised his staff and the wet
   winds beat back the tongues of fire and smoke, howling impossibly louder. The whirlpool of
   wind grew larger, fighting the forces behind the attacking smoke and fire.
           Back lit by the firepit flames, the hooded stranger appeared framed within the large
   Common Room picture window, holding up his arms.
           Back and forth, back and forth the heat and fire and wind and water strove.
           Abruptly, with a terrifying groan, the sounds of shattering glass, and the screams of
   guests and the militia, the cracking and splintering timbers of the long-standing, three-story
   structure of the Prancing Pony were ripped apart. Caught between the wind and flames, the
   structure collapsed in sections and the building came crashing down. The impacts of shattering
   stones and breaking timbers reverberated through the ground.
           For several minutes Elanor kept her eyes closed and her arms over her head, too afraid to
   look. Eventually, the ground stopped shaking. The cacophony ended and the shrieking winds



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   faded. When she opened her eyes, the winds were dispersing. Alatar’s windblown robes whipped
   about him and he stood at the edge of the wreckage.
           The wizard waved his staff. A great gust pushed away a large cloud of roiling dust and
   smoke, revealing the broken and bleeding body of Butterbur, pinned beneath a large slab of
   broken chimney stone. The innkeeper’s arms flailed helplessly and his eyes glassed over.
           Alatar slammed the end of his staff down against the slab and spoke a string of harsh
   commands. For a moment – nothing happened. Then, as if a tiny ant had bitten into the granite, a
   barely audible snap produced a tiny crack.
           Immediately came another. Then two more, then four, then eight, until cracks and breaks
   began to spread across the entire surface. They went faster and farther and deeper. What looked
   like centuries of crushing wear – happened in seconds.
           The slab broke in two, then four, then more, so quickly – in moments, there was nothing
   but a mound of crumbling stones falling to the floor, freeing the broken body of the innkeeper.
           Alatar knelt beside him. “Thrice noble Barliman, can you hear me?”
           Butterbur’s eyes fluttered open as he breathed, then shut against the pain. “The Prince?”
           “I am well, my friend,” Eldarion said, kneeling beside Alatar and taking Butterbur’s
   hand. “Saved by you throwing your beers against our foe.”
           “A waste of good beer, I’m afraid,” Butterbur said, grimacing. “But if it helped save you,
   then good is best.” The tension left his face, but his eyes stayed closed. “If anything had
   happened to you, uhn…” a wave of pain engulfed him. “… your father would have… had…”
           His body shook and then lay still. His dead eyes opened, staring at nothing.
           Eldarion slid his fingers down Butterbur’s face and closed his eyes. “Rest easy, my
   friend. Tonight, you will be waited on. Drink your fill… in the Timeless Halls of Ilúvatar.”
           Eldarion and Alatar rose. They stood silent a moment over the body of the innkeeper.
           “Alatar,” Theo called. He stood beside another lifeless body, crushed beneath a wooden
   beam. A mail covered hand protruded from beneath the wood and lay unmoving on the ground.
           Alatar kneeled beside Theo and removed the glove. A featureless golden Ring of Power
   was on the third finger of the human hand. He pulled it off and put it in his inner breast pocket.
           More of the Bree militia arrived and they began digging out survivors, including several
   militiamen. Alatar, Eldarion and the hobbits helped. By the time they had done all they could and
   agreed to leave, heading for the stables, the Sun was rising on the edge of the horizon.
           There they had another nasty shock: when the Prancing Pony fell, the horses and ponies
   had all been stolen, except for Silverfall, whom no man or hobbit could approach.
           Alarm bells rang from atop high towers throughout Bree. In the light of the early morning
   Sun, the streets began filling with militiamen running frantically east and west
           Alatar stopped the nearest one. “What’s happening?”
           “Mayor Mugwort has ordered the militia to the Gates,” the militiaman answered. “We’re
   preparing for battle!”
           “Battle, with who?” Eldarion asked.
           “Orcs are attacking the West Gates,” he answered. “And an unknown Elvish Lord leading
   a battalion of Easterlings is pounding on the East Gate doors!”
           “It can’t be Elladan or Elrohir,” Eldarion told them. “The Bree-landers know them and
   would let them in.”
           “I must go to my post!” the militiaman cried, running west.
           “Even if we find a way out,” Theo said. “How can we get through hordes of orcs and
   Easterlings, on foot?”

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            “Last night I met a trader from Harad named Manus Tarqus. He has a large caravan,”
   Eldarion answered. “I sent him a letter and I believe he will aid us. If we get permission from
   Mayor Mugwort to open the Gates and find Manus, we can ride out with his caravan.”
            “Good,” Alatar said. “You four go to the Mayor’s. He can employ his militia to find this
   Manus far more effectively than we can on our own. Get his permission to leave through
   whichever Gate is clear. But I know the men of the East. And they know me. They won’t dare
   attack Bree if they see my face and know I’m here. I have to stop them before anyone else dies.
   I’ll follow you to the Mayor’s or out whichever Gate you’ve gone. But we mustn’t delay. I fear
   those at the West Gates aren’t Orcs, but Orcelven! Estel may pass the Gates invisible. Go now!”



                     *              *              *              *              *



            Eldarion stood before the hobbits in the Mayor’s office, facing Mayor Richard Mugwort.
   He sat behind his desk trying to look more important than he felt. At the moment he felt pretty
   powerless, having so many enemies at his Gates and little enough with which to fight them.
            Mugwort was a rather largish hobbit with a curiously long and narrow face. His family
   had been one of the first to settle Bree and they were very well regarded. Yet few who knew
   Mugwort personally had all that much good to say about him.
            “You must locate Manus Tarqus, a trader from Harad, immediately,” Eldarion told him.
   “And give leave for us and his caravan to exit the North Gate.”
            “Why would I do that?” the Mayor asked. “We’re preparing for battle and you’re wearing
   a long and short sword. Is that also a dagger? Everyone who can wield a sword must fight.”
            “I am a companion to Elladan and Elrohir, of Gondor,” Eldarion told him. “Who you met
   two days ago, kin to the High King, on whose orders you barred the Gates. I fear they are riding
   into a trap! We must go at once to aid them.”
            Mugwort spoke to Eldarion, but allowed himself to be distracted by Elanor. Sitting back,
   he put his feet on his desk and looked her up and down. “How would I know all that?”
            Theo stepped forward. “You know me, Dick. You should also remember the Lady
   Elanor, and our fathers, the Councilors of the North Kingdoms. I’m sure you’ll now recall, I’m
   the Master Meriadoc’s duly appointed Deputy. It’s on my authority you’ll find this Manus
   Tarqus, the North Gates will open and we’ll ride out with his caravan!”
            “I’m always happy to cooperate with the Councilors,” Mugwort said, though he clearly
   wasn’t. He put his feet down and sat up straight. “Whatever you need. Robert!”
            A young hobbit ran in. “Sir!”
            “Find a Manus Tarqus. He’s some sort of trader from Harad,” Mugwort ordered. “Bring
   him here, and have someone write up a writ giving safe passage to these hobbits and whoever
   goes with them, out whichever Gate they want. I’ll authorize and sign it, I guess.”
            “Yes sir!” the hobbit cried and he ran out.
            Mugwort walked around his desk eyeing Elanor, still wearing her beautiful gown. “I
   always cooperate with the Counselors, and personally, I’m always happy to do a favor for Lady
   Elanor. One proud city Mayor looking out for the beautiful daughter of another. One good turn



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   always deserves another. Don’t you agree, Lady Elanor?” He put his arm around her shoulders
   and winked with too large and lascivious a smile on his overly narrow face.
            (GROSS) Elanor thought. But she smiled primly, aware her smile didn’t reach her eyes
   and not caring: this lecherous Mugwort wasn’t looking at her face.
            “I just realized,” she said. “My only change of clothes was lost in the wreckage of the
   Prancing Pony. If we’re riding out on a caravan I’ll need more than this, including a certain
   ‘unmentionable’ article of feminine attire… is there a shop nearby?”
            Mugwort removed his arm and stepped away. “Out the back door of my office. Go into
   the alley and turn left. But there won’t be a sign for anything like that.”
            “How will she find it?” Fastred asked, fuming.
            “The third door down is plain grey, the only one,” Mugwort answered, uncomfortable
   talking about it. “Knock four times forcefully and wait. Someone will let you in, discretely.”
            “You’re not walking through an alley alone,” Fastred said, following her out the back.
   “I’m going with you.”
            “Sorry about before,” Mugwort told Theo. “I didn’t see you standing behind this Man.
   You aught to teach him manners. Who does he think he is? Coming to my office barking orders.”
            Before Theo could respond, Sam and Rosie hurried in the front door.
            “Mayor Gardner!” Mugwort cried, embarrassed seeing Elanor’s father.
            “Théoden!” Sam shouted.
            “Oh Theo,” Rosie said, hugging him. “What’s become of Elanor and Fastred?”
            “They just stepped out,” Theo answered, letting go of Rosie, though Sam stood apart.
   “They should be right back.”
            Sam turned to Mugwort. “There’s worse than orcs at the West Gate and what’s this I’ve
   heard about Elves?”
            “I don’t know myself,” Mugwort answered, wondering how his day could get any worse.
   “I’m still waiting for my Captains to report.”
            Sam pointed a finger at Theo. “I’m very cross with you, young Master Théoden!”
            “I’m sorry, Sam,” Theo said, suddenly on the defensive. “Would you have preferred I let
   Elanor ride off with a stranger by herself?”
            “You should have stopped her!!” Sam shouted, incessant and very loud.
            Scolding other people’s grown children was rarely dared in private among hobbits. Even
   then, it was considered distasteful – at best.
            “Excuse me,” Eldarion said to Sam, his voice and face a strange mix of cross purposes.
            Sam looked up at the tall young man towering over them, gaping oddly down at him and
   said just as crossly, “Mind your manners! Don’t interrupt. And stop staring!”
            “Sam!” Theo cried. He looked back and forth, afraid with everyone flustered, if he didn’t
   let Sam know in some way who Eldarion was, things could get out of hand. “Let me explain!”
            Unaccustomed to being addressed in that manner, Eldarion none-the-less pressed on.
   “Are you by chance, Samwise Gamgee Gardner, the Honorable Mayor of the Shire?”
            “I am,” Sam answered warily, still cross. “How is it any business of yours?”
            “I am sorry,” Eldarion answered. “I do not usually react like this. In the space of a
   heartbeat I have gone from being overwhelmed and intimidated to crushed and disappointed at
   finally meeting my childhood idol.”
            “You’re what?” Theo asked.
            “Sam is celebrated as one of the Three Nobles,” Eldarion explained. “They are our
   honored paragons of virtue, held up to every child in Gondor and expected to be emulated.”

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           “Who are the Three Nobles?” Rosie asked.
           “The people who came into contact with the One Ring of Sauron and were tempted,”
   Eldarion answered, “yet who were so spiritually pure, they rose above temptation where others
   failed. Their names are immortalized in catechisms and sung by children; my great-grandmother
   the Lady Galadriel of Lothlórien, Prince Faramir of Ithilien and, well, you Sam. I am Eldarion.”
           Sam’s eyes grew round. “Elessar’s son, Eldarion?”
           “I’m not feeling very well,” Mugwort said. He sank into his chair behind his desk and
   wiped his suddenly sweat stained face.
           Rosie curtsied low and bowed her head. “Your Highness, a pleasure.”
           Eldarion bowed and kissed her hand. “The pleasure is mine, Mistress Rose.”
           “Thank you,” Rosie said, enchanted by his courtly gesture. “The Princess Celendrian
   takes after your father, but you are the spitting image of your mother. So very handsome.”
           Eldarion blushed crimson and bowed again, his arms at his sides. “Thank you.”
           “Now, fair Prince, I apologize for my Samwise,” Rosie told him. “He’s a good hobbit and
   didn’t know who you were, your Highness. So please don’t be cross with him. I do love him
   dearly, but as a favor to me, would you mind not putting strange notions in his head, like all this
   talk about the Three Nobles? It’s hard enough just to get him to take out the trash sometimes!”
           “Rosie!” Sam cried, blushing redder than Eldarion.
           “I am sorry, Mistress Rose. It is not just that he resisted temptation,” Eldarion explained.
   “Others resisted the temptation to put on the Ring, including most of the members of the
   Fellowship. But in Mordor where the corrupting power of the evil spell Sauron wove was at its
   peak, Sam had the Ring on his finger and he transcended even that. Our histories teach he
   displayed this selflessness long before and consistently. When you consider that Sam was heir to
   the largest tract of arable land in the Shire and abandoned it to help his childhood friend Frodo
   Baggins on his dangerous and most likely fatal journey to complete the Quest – well. There is
   really nothing else like it, in all the Annals of Gondor.”
           “Wait a minute,” Sam said.
           “Wait?” Eldarion asked.
           “I didn’t inherit anything before Frodo,” he answered. “I inherited Frodo’s lands when he
   passed West. And sure, we were childhood friends. I was also his manservant.”
           For a moment, Eldarion gaped down at him. Then he asked with more than a hint of
   distaste, “You were paid to go on the Quest?”
           “Don’t say it like that!” Sam shouted.
           “I am sorry,” Eldarion responded, shifting his posture. “I am not certain how you would
   suggest I go about saying it!”
           “Wait right there!” Sam scolded, slighted. “How much are you paid to be a prince?”
           For a moment everyone in the room held their breath. They were shocked at how this
   exchange, having started with a chance misunderstanding, had fallen to such depths.
           “Ah, yes. That is correct,” Eldarion said, angry now himself, chastised but not cowed. “I
   apologize. Please, forgive me. I spoke out of turn. Really, you must agree. It is quite a lot,
   meeting your childhood idol and immediately tripping repeatedly, all over his feet of clay.”
           “Hairy feet of clay,” Rosie said, kissing Sam on the cheek.
           “Mother!” Elanor cried, returning dressed for traveling, with Fastred. “Father!”
           “Elanor!” they shouted. The three ran together in a blur of hugs and tears and kisses.
           “I’m so glad you’re safe!” Rosie cried, cupping her daughter’s face.
           But Sam became cross again. “What were you thinking, running off like that?”

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           “I’m sorry,” Elanor said, unaccustomed to being scolded. “But Alatar was desperate and
   there was so much at stake! I just wanted to help. You won’t believe what’s – ”
           “That’s enough!” Sam shouted. “Maybe I was wrong and someone should have gone
   with Alatar, but it shouldn’t have been you! Wars and battlefields are monstrous, no place for a
   maiden hobbit! Since I’m here now, I’ll take over. I’ve been a Ringbearer before. Not just any
   Ring, I bore the One in Mordor, as Eldarion just pointed out. It was a terrible thing! I don’t want
   you mixed up with anything so evil.” He held his hand out to her. “Give me the Ring.”
           Elanor stared at her father’s hand. Everything he said was true. She knew he was saying
   these things out of his love for her. She withdrew the chain Alatar had given her and the Ring.
           But it felt so wrong.
           She was the one who realized hobbits mustn’t dishonor their history of helping the people
   of Middle-earth. She was the one who left her family and accepted this burden, against all
   advice, even though it was the right thing to do. She was the one who had survived magical
   attacks and been invited by Eldarion into the Fellowship of the King. Not her father. She was a
   good daughter. Yet she hated what her father was demanding, not having the decency to talk it
   out, like he usually did. Instead, he was lording over her, using his past accomplishments as he
   never had before, as if she would or could forget, making her feel small and weak and unworthy.
           Someday, when she had a family of her own and was Mistress of her own hole, she’d
   show him. She would prove he had been wrong to take the Ring away and deny what she had
   come to feel was her destined role to play in this War of the Rings to end all Wars of the Rings.
           Someday, when she was in a better place, a place of power, she’d show him. And then,
   on that far distant and fateful day, he would at last be sorry.
           She looked down at the Ring. She looked up at her father’s stern, and if truth be told,
   rebuking face. Her own anger sprang to life.
           He had no right to be so mad at her!
           If not for her, Alatar would have ridden right past Bree and never met Eldarion. Fastred
   and his Túrin-stone wouldn’t have come to their attention. They wouldn’t have found another
   Ring of Power at the Prancing Pony. She had done more to further the King and Eldarion’s Quest
   than anyone, except Alatar and Eldarion himself. Yet she knew her father well. In his present
   mood, even if he did let her explain, he wouldn’t care. But she wasn’t a child anymore!
           The time had come: she refused to be treated like one.
           She had been carrying a secret fear, a terror of what she might experience; what strange
   and terrible things she might learn, if she put on the Ring, which was why she hadn’t.
           Not even after Eldarion demonstrated it wasn’t evil, but a beautiful thing, transporting the
   wearer, not to the infernal half-in half-out wraith purgatory world she had read about in the Red
   Book, but to the very threshold of the almost mythic Valinor.
           Yet here Sam was, determined to deny her this knowledge, whether he realized it or not.
   Now she wanted to know what role she could play before this opportunity slipped away and
   history passed her by, except for maybe as a footnote in someone else’s story.
           No. The time had come. She wasn’t going to stand for that! She slipped the golden Ring
   on her finger and vanished.
           “Elanor!” Sam shouted.
           “No!” Rosie cried, bursting into tears. “Please don’t go again! Elanor!”
           “Come back!” Sam yelled. He rushed to where she had been standing, but his hands
   found empty air. He ran in circles. “I’m sorry! You can keep the Ring! Just come back!!”
           After a moment’s hesitation, she took off the Ring and reappeared beside Eldarion.

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            “Oh, Elanor!” Rosie cried, rushing forward, but Sam held her back.
            “Don’t do that again!” he scolded. “Can’t you see how much you’ve upset your mother?”
            “I’m sorry,” she said, feeling terrible. “But you didn’t give me a chance to – ”
            “I’d always thought you a good and obedient daughter!” Sam cried. “Perhaps I’ve
   misjudged you. Or maybe I’ve favored you too much!” He looked around, embarrassed at the
   scene they’d made, “We’ll talk about this in private. But until I’ve made my decision,” he held
   out his hand again, “give me that Ring!”
            “But you just said – ”
            “Forget all that!” he scolded. “I’m your father. I know what’s best!”
            Elanor was a good and obedient daughter. She saw the look of horror on her mother’s
   face and the uncomfortable, awkward and painful expressions on everyone else’s as she and her
   parents aired their dirty laundry in public for all to see.
            No doubt in years to come, this scene would be a favorite tale for gossips from Bree to
   the far West Downs. And probably far beyond: of how the haughty daughter of HMS Gardner
   had thought too much of herself and embarrassed him with strange and willful notions, after a
   single conversation with the Crown Prince Telcontar, who had done nothing more than display
   his impeccable good manners.
            She had misinterpreted them, and him, and been confused as to her proper place, when in
   truth, he was only being polite. It had gone to her head, which had clearly swelled to twice, at
   least, its normal size. Embarrassment reddened her face.
            She lifted the Ring to give to Sam.
            “Actually,” Eldarion told Sam, “once we reach Rivendell and can spare an armed escort
   for you and Mistress Rose, we will send you back to the Shire. You must coordinate the efforts
   of the Thain Peregrin and the Master Meriadoc for the raising of a Hobbit Homeland Protection
   Force before you and your country are overwhelmed in all-out war.”
            “I’m sorry, Eldarion,” Sam said. “But this is a private family matter, and I’d prefer – ”
            “Your Majesty,” Eldarion corrected.
            Everyone stopped. They turned and stared at Sam reproachfully for having dared speak to
   the Crown Prince disrespectfully. Seeing their looks, Sam’s face reddened.
            “We would also prefer,” Eldarion continued, “for the Lady Elanor join us, our royal
   sisters and our mother the High Queen Arwen, who knows her well and holds her in the highest
   esteem, to bear this burden she has taken on and carried bravely through terrible trials and great
   hardships, so she may be honored by my father for her heroic deeds and extraordinary courage,
   when she presents herself, this Ring of Power to the King.”
            Sam looked from Elanor to Rosie to Eldarion. “Your Highness – ”
            “Father,” Elanor said. “I want to go. I want to help. I think it’s time for women who can
   contribute to be allowed to, if we wish, and I do. I already have. I have so much to tell you. But it
   has to wait. It’s what I want. The time has come.”
            “Sam,” Rosie said. “I love you, but Elanor’s right. The fear something terrible may befall
   her breaks my heart, but the same could happen to our sons. We wouldn’t think of denying them
   this opportunity, which is why it would be wrong to deny her.”
            “Well,” Sam said. Looking around at all their faces and seeing they were in agreement,
   he put his hands in his pockets and looked down. “I guess I’m outvoted.”
            For a moment the room was silent, then Manus Tarqus entered, escorted by Robert. He
   was armed with two scabbarded scimitars crossed over his back, waving Eldarion’s letter.



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           “Eldarion!” Manus shouted, seeing him at last. Robert eyed Eldarion, stunned. “I’ve been
   looking all over for you! Why didn’t you tell me who you were at the Prancing Pony?”
           “I am supposed to be traveling incognito,” Eldarion told him, eyeing Robert. “Though if
   this continues, it will not be long before everyone in Bree knows I am here!”
           “What can we do about these Orcelven?” Manus asked.
           “Their leader is known to me,” he answered. “He calls himself Prince Estel and wishes to
   be a king. I am pledged to deny him this and I have sworn to personally end his life. Your help
   could be decisive if you can take me, the wizard Alatar and my hobbit friends to Rivendell.”
           “You know him!” Manus exclaimed. “An excellent beginning. Me and my fighting teams
   can guarantee your safe passage, battling through the Orcelven if we must, but for a price: an
   alliance between the allied Kingdoms of Greater and South Harad, and the United Kingdoms of
   Arnor and Gondor, against our common enemies: the Orcelven of Rhûn, the Wildmen of
   Northern Harad, the Easterlings of Khand and Palisor, and that infernal Queen of Mordor!”
           “The final decision is my father’s,” Eldarion told him. “But if you help us reach
   Rivendell, I will do everything in my power to ensure you receive everything you ask. If some
   necessity prevents my father from granting this then I, the Crown Prince Eldarion Telcontar,
   personally pledge that on the day I ascend the throne and am crowned King, you will receive all
   you have earned – and more.” Eldarion held out his hand. “You have my Word.”
           Manus grabbed the Prince’s hand with both his own, crumpling Eldarion’s letter and
   shaking enthusiastically. “I accept!”
           The seven of them departed the Mayor’s office, much to Mugwort’s relief. They went to
   Manus’ overly large and carefully guarded tents. The canopies stood midway in the city along
   the northern walls, screening his caravan from the eyes of the curious Bree folk.
           “Two more little people to join our caravan is fine,” Manus said, eyeing Sam and Rosie.
   He led them to the entrance of his largest tent, where Malvia was waiting.
           “Caravan?” Sam asked. “We’re going to have to ride on the rocky backs of camels, all
   the way to Rivendell?”
           “I am sorry to disappoint you, Sam,” Eldarion told him. He lifted the canvas flap
   screening Manus’ pavilions. “I know what that is like.”
           Sam entered the building-sized tent and felt a powerful surge of conflicting emotions. His
   terror at the thought of again facing Estel and the Orcelven mixed with hope and happiness. He
   realized there was a more than better chance Manus could break them out of the City and help
   them fight their way to Rivendell: before him stood a fiercely armed and powerful gathering of
   the warriors of Harad. They were climbing up and down long folding ladders, loading their
   belongings into the massive baskets that were perched atop the backs of gigantic Oliphants.




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                                          Chapter 9




                                         Corruption




           Alatar arrived at the East Gates of Bree and dismounted. On the walkway atop the double
   Gates, the cries of hobbits and men grew to a clamorous din. A great glow rose from the other
   side of the heavily-barred iron and wooden double-gateway.
           “Run!” he shouted. Retreating from the Gates, most everyone heeded his warning and
   fled. Someone’s spell was about to release incredible power and it was too late to begin a
   counter-spell. He sent Silverfall galloping to safety and ducked into the recess of a stone door.
           The East Gates exploded in a brilliant shower of fire, smoke, broken stones, twisting
   metal, splintering and burning wood, and the screams of burning and dying militiamen.
            When the smoke cleared, the shattered remains and smoldering ruins lay in the street
   with a dozen dead Gate guards who had been caught in the blast. They’d had no time to flee or
   had refused to desert their posts. The rest had been running and were passing him on the street.
           From his uniform, Alatar recognized the Captain of the East Gates and grabbed his arm,
   stopping him. He stared into the man’s terrified eyes, “Take heart! I am pledged to defend you. I
   will not allow your enemies to enter! Gather your men and follow me. You shall bear witness to
   my repelling these invaders and you must report my actions faithfully to Mayor Mugwort.”
           A cold courage filled the Captain’s face as he stood and he called to his men.
           “You think too highly of yourself, even for a wizard, if you think you can stand alone
   against me,” an Elvish voice told him. A shadowy figure stood in the gateway. “Few can slow
   and none can stop me, save my foes who live among the gnawing Nameless Things in the depths
   of Khazad-dûm. Even they will fall once I remove the Rings which sing to me from your pockets
   and add them to the power of the ones I wear.” He lifted his hands and long fingers displaying
   Nine golden Rings of Power set with black polished gems.
           “Who are you?” Alatar asked, marveling at seeing so many gathered Rings.
           “I am your death,” he said. “Prepare to fall before the unmatchable might of Glorfindel!”


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            “Glorfindel!” Alatar cried. “I have heard many tales of you. You left the Halls of Mandos
   before I departed Aman. There, you were held in the highest esteem, a great warrior, slayer of
   balrogs, one of the Elven-wise. Now I sense… a terrible Darkness, and the Shadow of Evil about
   you. A cloud hangs over you like a corruption and a sickness of the mind.”
            “I was a Prince of the First Born, of the House of the Golden Flower,” Glorfindel told
   him. “Now I am the King of Gondolin, once known as Imladris, refounded at the feet of the
   Misty Mountains. Where Rivendell sat, there now stands proudly the city of Glorfindell. I annex
   and buy these lands by Right of Power and commence the expansion of Empire.”
            “I have a caveat for the Emperor,” Alatar said, raising his staff. “Let the buyer, beware.”
            Glorfindel laughed madly and the golden Rings on his fingers glowed. “Which Istari is
   about to die in agony beneath the power of my Rings?”
            Alatar’s staff and all the silver in his hat and robes shimmered. “I am Alatar, the Blue.”
            “Alatar?” Glorfindel mocked. “I had feared you were Pallando! You are the weakest of
   the Maiar sent from Aman, save for lowly Radagast. It was said you had fallen into folly,
   creating false cults and gathering Men to worship you.”
            “It will pain you to learn the truth,” he responded. “The stories of my falling into folly
   have been somewhat exaggerated. Only Saruman failed his appointed task.”
            “You deem Radagast a success?” Glorfindel asked.
            “Radagast has not yet been tested,” he answered. “His test is coming. Pallando and I had
   the greater burden: stopping Sauron from conquering the lands in the East, and using the men
   and Fell Beasts for his conquests of the West, including dragons. You may note we succeeded.”
            “Then why did you not return with the others to Aman?” Glorfindel asked.
            “We have been charged with a new task,” he answered. “The one Saruman failed: the
   gathering and destruction of all the Rings of Power, including the ones you wear.”
            “My Rings?” Glorfindel asked. His diffidence alchemized into sudden, virulent hatred. “I
   will let you have my Rings – when you can pull them from my cold, dead fingers!”
            “I did not think you would willingly give them up,” Alatar responded. “No matter how
   politely I framed the request. But before we come to blows, I must know: how have you Fallen to
   the Shadow? You were the greatest of those who dwelled in the Halls of Mandos. I would not
   have believed even the gaze of Melkor could twist your bright light to the Dark Paths.”
            “Is that what you think?” he asked. “Morgoth did not bend me to his will! I serve only the
   bright desires of Glorfindel.”
            “When did the desires of Glorfindel eclipse the will of Ilúvatar?” he asked.
            “You truly wish to know?” he responded. “My secrets will not save you… but I delight in
   the thought of telling you. Knowing them will torment you – the moment before you die.”



                     *              *               *              *               *



          Of all the people in Middle-earth, Sauron hated and feared Glorfindel the most.
   Glorfindel had opposed him longer and more successfully than any of his remaining foes.
          During the Fall of Gondolin, Glorfindel destroyed his most powerful Balrog Lord. Dying
   from his wounds, his spirit returned to Valinor and there he was reincarnated in the Halls of

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   Mandos. Yet unlike any before, Glorfindel was released and sent back over the ocean in the
   company of two other Elven Lords from Tol Eressëa: Gildor Inglorion and Galdor of the Trees.
            It couldn’t be a coincidence. Exactly then, Sauron was forging his Ruling Ring, using the
   secrets he’d stolen from Celebrimbor and the Mirdainions.
            When the three exiled Elven Lords arrived in East Mithlond, Círdan perceived that
   Glorfindel could be the most decisive in defeating Sauron, so Gil-galad sent them to
   Celebrimbor. In Edhilon, Celebrimbor had shared, not the location of his archives, never that, but
   notes from there. He tutored the three Elven Lords in the dark enchantments that had been woven
   by Sauron into the Nine Rings of Power for Mortal Men and the Seven for Dwarf Lords, under
   the noses of their forgers. Because of this, these newer Rings were dark corruptions of
   Celebrimbor’s originals. If they were used by the Dark Lord to enslave Men and Dwarves, they
   would create for him the deadliest servants.
            To counter Sauron, Celebrimbor showed them how to turn the strengths of the Nine and
   Seven into weaknesses. Afterwards, the three Elven Lords dispersed. Galdor went to live in the
   Havens at Lindon. Gildor journeyed to Lothlórien. Glorfindel rode alone to Annúminas. When
   Sauron destroyed Eregion, killed Celebrimbor and besieged Elrond in the valley of Imladris,
   Glorfindel responded first. He and Elrond routed the Dark Lord, while the other two were still in
   route. After the battle, Glorfindel settled in Elrond’s newly founded stronghold in Rivendell.
            When Sauron rose in the East and Gil-galad formed the Last Alliance of Elves and Men,
   the three exiled Elven Lords gathered with them to destroy Sauron and the Tower of Barad-dûr.
            For seven years, Sauron studied those besieging him in the Last Alliance, convinced that
   Glorfindel was the key by which he would conquer or be conquered, for Glorfindel’s power was
   the strongest and burned the brightest. He feared it was brighter than his own and where power
   would not serve, guile and deceit had ever been the Necromancer’s closest allies.
            He sent a request to parlay and offered a generous exchange of prisoners – but only to
   Glorfindel. On his way to free his captured friends, Glorfindel himself was caught. Inflicting
   ruinous loses on his enemies, he was overcome by numbers alone.
            Now that the Necromancer had him, he faced another quandary: if he slew Glorfindel,
   nothing would stop the Valar from resurrecting him, baptized ever more brightly in the burning
   light of Valinor. Glorfindel would return enraged by this personal treachery and nothing would
   stop him from destroying Sauron and his Ring.
            So the Dark Lord ordered his orcs to torture Glorfindel relentlessly. They did so wantonly
   inflicting devastating agonies, but they stopped short of killing him. Breaking his bones, they
   rent his flesh with whips and slaughtered the prisoners he had come to save – before his eyes.
            Days turned to weeks, becoming months.
            Sometimes Sauron came and personally supervised these tortures. His monstrous form
   was black as night and radiated terrible heat in waves, while trying to pull from Glorfindel’s
   mind the strengths and weaknesses of Gil-galad, Elendil and their enchanted armaments.
            During these onslaughts, Glorfindel weakened. Although he swore he’d release his spirit
   and die before he broke. Alone in his cell, his body crushed, though not yet conquered, with
   death once more so very close and him ready to welcome his end, Sauron came again in the
   middle of the night. He had his orcs chain Glorfindel to an iron chair with his hands and
   individual fingers tied, except the third finger of his left hand.
            He propped a monstrous ax above Glorfindel’s wrist, prevented from falling by a slender
   stick tied to a rope. Dismissing his orcs, he locked and barred the door, and removed the Ruling
   Ring from his burning black hand. The red Tengwar runes glowed brightly in the darkness.

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            Approaching slowly, he slid the red hot Ring of Power onto the third finger of
   Glorfindel’s left hand, keeping his black fingers on the burning outer band. The terrible heat
   seared Glorfindel’s skin and he screamed. The pain overwhelmed him and he passed out.
            He awoke to the putrid stench of his own burning flesh. Ignoring the pain, almost
   unconsciously, what little remained of his depleted strength rose at the sense of potency in the
   Ruling Ring. He couldn’t help but try and master the vitality, attempting to harness the power of
   the One. He couldn’t do it. He was only half-conscious and far too weak. Sensing this, Sauron
   offered him a tiny fraction of his own might, which he unthinkingly accepted.
            Suddenly all the doings of Sauron’s Rings of Power were revealed to him: The Nine had
   enslaved the mortal Kings of the North, South and East; Forodwaith, Rhûn, Khand, East Harad,
   Nurn, and many others. He knew all the lands and which people were doing the bidding of
   Sauron; some openly, others in secret. Three of the Seven for Dwarf Lords had been swallowed
   by dragons and three were here on Sauron’s other hand. Only one was missing, carried by an
   unknown dwarf. Celebrimbor’s original set and the Three Elvish Rings were outside Sauron’s
   purview, although he lusted for them, wanting the identities of the Ringbearers, their works and
   all their creations. But the Master-ring above all – to destroy it.
            With this slight Sauron-assisted surge in strength, Glorfindel’s will grew and he tried to
   turn what little power of the One he could against its Master. Immediately aware of this, Sauron
   yanked the Ring off his hand and nearly ripped off his finger. Smoke and the stench of his own
   burnt flesh rose from the Elvish runes now branded on his charred flesh, spelling out the words
   of the Ring Rhyme in Barzhûrk.
            Instantly, Glorfindel’s revived spirit ignited with a longing more intense than the fires
   still burning his Elven flesh. He yearned to again feel the power of the One which had just filled
   him with purpose and dark desire.
            Sauron laughed and put the Ruling Ring back on his own black hand. The fading red
   runes on the Ring again grew bright and Glorfindel’s mind was at last revealed to him. The Dark
   Lord discovered secrets which hadn’t been expressed to Glorfindel, but learned by chance or
   unavoidable happenstance: Elendil wielded Narsil, forged by Telchar, who had forged Angrist,
   used to cut the Silmaril from his Master Morgoth’s Iron Crown. Gil-galad wore the enchanted
   mithril armor and magical spear Aeglos, forged by Celebrimbor, used after the War of Wrath to
   kill thousands of orcs attacking Lindon. Orcs would no longer hold the line before Gil-galad’s
   impregnable armor and the icy death of Aeglos no matter what Sauron did.
            Thanks to the Necromancer’s treachery and Glorfindel’s failure of resolve, many of the
   strengths and weaknesses of his enemies were revealed to him. Knowing the scope and nature of
   these threats led the Dark Lord to schemes to counter them. Sauron had already plundered
   Celebrimbor’s foundries and workshops. He had only lacked the knowledge of what to do with
   the things he’d found there.
            He wanted more. Leaving, his orcs returned with fell meats and drinks. In addition to
   torments, they fed these to Glorfindel, but not before fouling them with filth. After he had
   recovered a little of his strength, Sauron returned. Sending his servants away and binding
   Glorfindel’s hands once more, he removed the One and put it on the Elf’s branded finger.
            This time, Glorfindel welcomed the searing heat and he embraced the Ring’s terrible
   power allowing Sauron to dive deeper into his mind.
            At long last the Dark Lord learned Gil-galad wore one of the five for Elven Lords, of the
   Eleven which had been forged by Celebrimbor and the Mirdainions. But Gil-galad had passed



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 the Three to other Keepers. It was the first news of Celebrimbor’s original Rings and the Three
 he had ever learned. Elendil wore one of the Five for Mortal Warriors, Isildur another.
         Surprisingly, Anárion had been killed. Not in combat: he was crushed by a random stone
 hurled by an onager. His Ring had been stolen. By whom? No one knew.
         For months, Glorfindel and Sauron strove, one against the other.
         As their wills fought, Glorfindel began to understand the enormity and subtlety of the
 dark enchantments Sauron had used to corrupt Celebrimbor’s second set of Rings, including this
 One which Sauron daily put on his finger. In time, his mastery over the Ruling Ring grew and
 now it rivaled Sauron’s.
         He had been tortured, starved, poisoned, but thanks to Celebrimbor’s tutelage and his
 own ingenuity, secretly, Glorfindel discovered a way to take control of the Ring, just as it slid off
 his finger. Watching Sauron return the Ring to his own black hand, he knew the moment the
 Dark Lord returned to torture him again and placed the One on his finger, at last he would
 vanquish Sauron.
         A day passed. Then, another. An entire week went by. Just as he began to lose hope, the
 Necromancer returned and removed his Ring. Glorfindel tensed, prepared to lash out with all his
 Ring enhanced Elven power the moment he felt it on his finger. It might destroy his body and
 cost his life, but he would defeat the mockery of this self-styled Lord of the Rings.
         With the Ring only inches from the tip of Glorfindel’s finger, the Dark Lord stopped and
 laughed. Returning the One to his own burning hand, he commanded his orcs to stop torturing
 Glorfindel and to feed him better meats and drinks, allowing his body to fully heal.
         Sauron left and reluctantly, his servants set Glorfindel’s broken bones. They salved his
 open wounds and gave him antidotes to their poisons. Over time, his Elvish strength returned.
         Sometimes, though less often, Sauron came late at night, dismissed his servants, barred
 the door and placed the red hot burning One on the feeding table – just beyond Glorfindel’s
 chained ability to reach. The Necromancer watched him writhing, squirming, panting and unable
 to hide his dark desire – completely overcome.
         A terrible understanding burst through Glorfindel’s heart: he learned the true meaning of
 Lust. It was stronger than anything he had ever known. This longing never left him: to feel again
 the power of the One. He knew he would do anything, anything, to experience this feeling once
 again. As his strength continued to grow, so too grew his Lust, higher and stronger, darker and
 deeper than even his own returning Elvish strength.
         One day Sauron came and told him it was over: he no longer had any use for him. The
 Captains of the West had refused his terms for Glorfindel’s release. Gil-galad and Elendil had
 rebuked Mordor’s ambassador.
         Ashamed and angry, he had lowered his demands for Glorfindel to almost nothing.
         Instead of accepting, they laughed at his emissary, catching him out in his lies and
 refused to parlay, abandoning Glorfindel to torments and whatever grisly end Sauron could
 devise. They would mourn him after Barad-dûr fell. They were sure, they said, Glorfindel would
 do the same in their place.
         Mordor’s ambassador asked why they were refusing the least of prisoners for one of the
 most powerful Elven Lords.
         At first they hesitated, refusing to answer. After prodding, flattery and idle chattering,
 cautiously, swearing the ambassador to secrecy, they confided that they feared if Glorfindel
 returned he would be tainted: corrupted by the Dark Lord.
         “How?” Mordor’s emissary asked.

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          They didn’t know. Yet if by some mischance or unanticipated fortune of war he did
 return, they could never share their trust with him again. They even let it ‘slip,’ in private of
 course, that secretly they would prefer it if Sauron executed Glorfindel, removing the burden of
 what they would have to do if he did indeed return.
          Hearing their words in his cell, Glorfindel’s final hope was crushed by his own friends
 and allies. He hung his head in shame because it was true: he had been corrupted and in their
 place, he would have done the same to Gil-galad and Elendil.
          With Glorfindel’s spirit crushed, the Necromancer cast a spell in an attempt to bind the
 Elven Lord’s spirit to Middle-earth, preventing him from being reincarnated in Aman. Unsure if
 it was successful, none-the-less he ordered his orcs to bind Glorfindel in chains, carry him to
 Orodruin and throw him in, destroying his body in the infernal heat of the Crack of Doom.
          The orcs led a great company of goblins and wargs, with Glorfindel chained. Traveling
 across the plains of Gorgoroth, they marched up the sides of Orodruin and with every step,
 Glorfindel’s terror grew. Once they threw him in and he died, if his spirit did return to Valinor, it
 would be horribly disfigured, corrupted by his ravenous and all-consuming Lust for the One.
          Fouled and festering, Mandos would deny him entry to his halls. One way or another, he
 would never be reincarnated. Rejected by the Valar he would wander, a footless spirit, lamenting
 his outcast state, forever alone. The Valar could do worse. They could throw him into the Void.
 They might even lock him in the same dungeon with Melkor’s head and thrashing body parts,
 still screaming in endless agony, whose spirit Glorfindel now more closely resembled than the
 Valar’s. Sharing a cell, Melkor would torture him relentlessly, pouring his own anguish and
 agony into Glorfindel – for all eternity.
          The orcs strode into the lightless tunnel bored into the side of Orodruin bearing torches.
 Suddenly, the volcano began erupting. Rising from the depths, searing heat blistered their skin.
 Poison gases choked their lungs and the orcs stumbled, dropping Glorfindel to the floor.
          Having fed the Elf in anticipation of trading him, they had allowed him to recover just
 enough of his seriously depleted strength – so now, he could act. He grabbed the ring of keys
 from the great orc-chieftain kneeling beside him, while the orc struggled to stand, coughing,
 asphyxiating, drowning and only succeeding in breathing deeper the poisoned fumes.
          Glorfindel lay flat where the air was clear and he unlocked his chains. Breathing deep he
 rose, a powerful Elven Lord revealed in all his wrath. The orcs could only vomit with bulging
 eyes and strangling cries. Their blistering skin turned blue and they collapsed at his feet.
          Before they could recover in the cleaner air, Glorfindel threw them over the edge one
 after another. Falling into the Crack of Doom, they plummeted into the hellish fires far below.
 He watched gleefully as his tormentors fell screaming, striking the surface and flashing out of
 existence. His executioner’s escorts heard their death screams and poured into the tunnel,
 terrified of what Sauron would do to them if they didn’t kill this rouge Elf.
          For Glorfindel there was no hope. He could barely stand. He was too weak to fight, much
 less conquer so many foes. He had only bested the orcs by a mischance of the volcano. In the
 midst of this despair a stroke of genius struck. He called on the corrupted darkness injected into
 him by the One at the very spot it had been forged. The letters of the Ring Rhyme on his finger
 flared to life as bright as fire and he fell to his knees, feeling the searing heat and pain again.
          This dark corrupted power grew to ghastly heights and he became one with the smoke,
 deadly fumes and fires of Orodruin. The power of the volcano rose at his command: flames
 leaped from his hands as if he still wore the Ring and they swept his enemies away. Burning, he
 cast them out of the tunnel. They fell down the sides of the mountain to horribly painful deaths.

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          The ground shook and bright molten fire erupted straight up out of Orodruin. Lightning
 filled the skies and an inferno vomited from the Sammath Nauer, destroying everything in its
 path. The gathered armies of Mordor attempted to flee, but could not escape their fiery deaths.
          Abandoning the power of Orodruin, Glorfindel cloaked himself in smoke and darkness
 once more and stole over the land on foot. He journeyed over Mordor, heading towards Gil-galad
 and Elendil, still laying siege to the Tower, outside the walls of Barad-dûr.
          He treaded over desolate pits and thorny brambles, drinking polluted waters when he
 found them. When he couldn’t, he drank putrid, sometimes stale and half-congealed blood.
 Feeding on rotting corpses, on one he found a wide iron ring set with a flawed fire-opal stone.
 Hacking if free of the bloated dead hand, he wore it to cover his own rune-branded finger.
          Slowly growing in strength, he crossed the desolate lands of Mordor and in time, he
 found his way back to the Alliance.
          Shock and surprise could not begin to describe Gil-galad and Elendil’s faces when
 Glorfindel was brought before them, a tortured remnant of the fair Elven Lord they remembered.
          Feeding him and giving him water, they did their best to heal him, telling him to rest. But
 Glorfindel, with halting speech and faltering strength, told them everything that had befallen
 him, except that Sauron had forced him to wear the One and he had Fallen to its Lust – and the
 Enemy had learned all their secrets.
          Shortly after Glorfindel’s return, the Necromancer left Barad-dûr, assaulting the Men and
 Elves opposing him. This time no one could stop the Dark Lord. For Sauron every death was
 sweeter because they wouldn’t have been possible if Glorfindel had shared all he knew. His
 enemies would have abandoned the siege or at the very least, modified the enchantments on their
 weapons. More than the sweetness of each death, Sauron reveled in his success in corrupting
 Glorfindel. One dark conquest had bred another, and another, leading here.
          Facing Gil-galad’s spear Aeglos, the Necromancer broke it and slew Gil-galad with the
 sword he’d plundered from Celebrimbor’s own foundry in the Guildhouse of the Mirdainions.
 Yet he too was struck by the spear’s broken tip. It burst his enchanted armor, leaving a huge rent.
 Vulnerable while slaying Elendil, he was stabbed a lethal blow by Elendil’s enchanted blade
 Narsil – though it too broke. Dying amid the ruins, he searched his dead foe’s fingers, clothes;
 everywhere and everything, searching for the Rings they wore which he knew would save him.
          But no matter how hard he searched or where, he couldn’t find the Rings. They had to be
 here. He had seen them wearing their Rings so clearly in Glorfindel’s mind.
          He couldn’t know: Glorfindel had told Gil-galad and Elendil the Enemy had learned his
 thoughts, but not how. Refusing to abandon the siege, powerless to alter the enchantments on
 their weapons, they used their deaths to kill Sauron after passing their Rings to new Keepers.
          Before the battle, Glorfindel had spent most of his time with Isildur, the youngest and
 weakest of the mighty, whispering to him alone his most closely guarded secret: on which of
 Sauron’s fingers he wore invisibly, the One. It was inexplicably known, by Glorfindel.
          He told Isildur he chose him because his was the brightest and most uncorruptible spirit.
 Only Isildur could be trusted to claim the One; not his father Elendil, nor the great High Elven
 King, Gil-galad. The damage was done: Isildur believed The Lie – he had a Right to the One.
          When the Necromancer shattered Narsil, Isildur stood back and watched his father die.
 Knowing his own sword would break, the already broken pieces of Narsil would be immune to
 further damage. While Sauron lay dying, Isildur used the edge of the broken blade to sever the
 third finger of Sauron’s left hand. Victorious, he held aloft the bleeding, amputated appendage.



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 There before his eyes appeared the One. A mortal succeeded where immortal Elves and Maiar
 had failed, and Isildur, the Heir of Elendil, claimed the Ruling Ring of Power as his own.
         Glorfindel had woven dark desires on Isildur’s heart, fanning his wish to more quickly
 succeed his father and become the new High King of Gondor and Arnor.
         Now it was easy for Isildur to resist the entreaties of Elrond and Círdan, despite them
 trying to persuade him or using their own Rings to bend him to their will. In sight of Orodruin,
 they told him this was their chance to destroy the Ring. But the lies of Glorfindel mouthed by
 Isildur convinced them he knew everything needed to rule the Ruling Ring and destroy them.
         But the Alliance was not wholly defeated. When the One burned Isildur’s hand and he
 was forced to remove the Ruling Ring, Celeborn, Amroth, Nimrodel, Gildor and Celebrían put
 on Celebrimbor’s Elvish Rings and Elrond, Galadriel and Círdan put on the Three.
         Together, they routed Mordor’s armies and saved legions of Elves and Men.
         The Captains of the West never found out what had happened to Glorfindel, but their
 fears were equal to the task of imagining the worst. So even though it was only because of
 Glorfindel’s heroic efforts in escaping Sauron and through his secret counsels by which they’d
 won, he was forever after shunned.
         While the Alliance turned the tide of battle around him and Isildur fell to his knees, in his
 burning hand the Ruling Ring shrank and cooled. In the following weeks, he wore it openly on a
 golden chain around his neck as if he himself had achieved the victory. Months later returning
 home by way of the Gladden Fields, Isildur was attacked by orcs, secretly driven towards him by
 Glorfindel. His men around him died while Isildur freed the Ring and wore it to escape.
         Invisible, he reached the river and threw off his armor, except his short sword Eket and
 dove into the Anduin wearing not one, but two golden Rings: the One, and one of the Five for
 Mortal Warriors, Oialëhén the Ring of Light, given to him by his father Elendil the night before
 Isildur allowed him to die. On his brow he wore the symbol of Númenórean kingship, which by
 treachery was his: a timbarëmírë, the legendary mithril Elendilmir, bearing a bright white gem.
         Invisibly, Elrond had also followed Isildur. Casting an enchantment, he used Nenya to
 deceive the malevolent spirit in the Ruling Ring into believe a darker spirit was near; one
 resembling Sauron’s, or what Glorfindel’s might have become if he had Fallen to the Shadow.
         Elrond needn’t have bothered. Glorfindel was already there, invisibly waiting to kill
 Isildur and claim his Rings. Unawares, Elrond reversed the surface currents to keep Isildur
 swimming feebly in place, sending waves to push the orcs back, ironically, towards Glorfindel.
         Glorfindel slew most of the orcs and turned the rest back on Isildur’s invisible,
 floundering form. The Elf saw Isildur half-in, half-out of the shadowy wraith world because he
 wore the One. If Isildur had only worn Oialëhén, he would have been invisible to Glorfindel’s
 corrupted eyes. Because of their opening salvos of spells, Glorfindel sensed someone else
 nearby, someone invisibly using a Ring. He copied him, weaving spells of concealment learned
 from the One, modified to shroud him and his own spells from all perception.
         Tired of swimming in place, Isildur made for the shore. Reaching it, he rose in the swift
 shallow currents of the Anduin, drawing his short sword Eket.
         Casting another spell, Glorfindel touched the minds of the surviving orcs through the
 Elendilmir and revealed Isildur as a being of terrible light, pulled from the Ring Oialëhén.
         When the One Ring sensed Glorfindel and Elrond’s illusions, it betrayed Isildur and
 slipped off his finger, falling into the swift currents of the river. But the orcs had already seen
 Isildur and shot Isildur full of arrows.



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         Mortally wounded, Isildur dropped his short sword and fell into the river, still invisible,
 still wearing Oialëhén. Glorfindel slew the last of the orcs wantonly. Oh, how he hated orcs!
 Then he extended his senses, calling to the Ring. Trembling in anticipation, he was almost
 overcome by his dark desire for the One.
         Elrond heard a strange voice and used Nenya to sift the swiftly moving waters, while
 Glorfindel tried to disrupt his spells and find the Ruling Ring himself. Back and forth they
 strove, Elrond versus Glorfindel, although Elrond knew him not. One of the most intense yet
 subtle duels ever fought went unobserved and unrecorded. All the while, the punctured and
 drowned body of Isildur, still invisible, floated away downstream.
         A third player in this game, the One itself, while it fell, sensed the deadly, dueling Elven
 Lords and used its own dark sorcery to hide itself as it sank into bottom of the river. It knew only
 here would it be safe from the destructive intentions of Elvish kind, which it did not trust.
         Sensing he was going to lose, Glorfindel wove another spell: no Elven kind or Men, other
 than himself, could perceive or rescue the body of Isildur or his Rings from the swiftly flowing
 waters of the Anduin, defeating Elrond’s attempts to find and unmake the One. But Elrond had
 denied him the reunion with the One he had so desperately desired.
         When his invisible foe’s enchantments abruptly vanished, Elrond searched the river for
 hours, sifting the waters with Nenya. Yet for all his desperate efforts, he only recovered Eket.
 Despairing and believing Isildur and the One had been swept out to sea, Elrond abandoned his
 search. Exhausted, he left with the short sword, the only token of Isildur he could find.
         With Elrond gone, Glorfindel, still invisible, waded into the river and swam the length,
 breadth and depths for many days, searching until he collapsed. He never found the Rings or
 Isildur’s body. The One passed from history and was lost, but Oialëhén, like the other Rings, had
 the power to preserve and prevent decay: Isildur’s body didn’t wither or decompose, it floated
 away. There it lay invisible among the reeds and marshes of the Gladden Fields – for centuries.
         Thousands of years later, it wasn’t Men or Elves who found Isildur’s magically preserved
 and invisible remains, it was the wizard Saruman, searching for the Ruling Ring using his Maiar
 senses. Among the rocks and bogs along the shore, he magically discovered Isildur’s body.
         Stripping the long dead corpse, Saruman found the Elendilmir on his forehead, the golden
 chain about his throat on which he’d worn the Ruling Ring, and Oialëhén, on the third finger of
 his right hand. He rejoiced, believing he’d found the One. Carrying the Ring, his servants carried
 Isildur’s swiftly withering body. By the time they reached Isengard, only his mummified bones
 remained. Saruman hid these treasures in a secret room and burned the bones in his furnace to
 remove all trace of guilt. After that, he wore the Ring and attempted to learn its secrets.
         His joy quickly faded. He realized it wasn’t the One. It was some other Ring, one of the
 Rings forged by the Mirdainions or Celebrimbor, a lesser Ring for mortals. Its power was
 doubtless not worth a powerful wizard bothering to learn.
         Furious, his efforts thwarted, Saruman tried to break this Ring. He didn’t care about any
 secret power it might contain, he wanted only to learn how this Ring had been forged.
         It was beyond his power to break or even mar.
         After centuries, Saruman gleaned just enough knowledge to deceive himself into
 believing he’d learned how to forge his own enchanted Rings.
         After many years of trying, painful years floundering, full of blunders and frustration, it
 finally became clear: Saruman had been wasting his time. All his trial and error efforts resulted
 in naught. His great scholarship, wisdom and prodigious industry had been consumed in vain
 pursuits, producing nothing. But his pride wouldn’t let him stop. He had to forge a Ring!

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          After many more years of relentless, desperate efforts, he succeeded in creating
 Ómataina, the Ring of Voices, Deceptions, Corruptions and Control.
          This truly was one of the lesser Rings.
          Even in the moment of his accomplishment, awash in his pride, he couldn’t deceive
 himself into believing Ómataina wasn’t anything but the least of Rings: the least of all the Rings
 of Power ever forged by Dwarves, Elves, Men or Women, Maiar or Valar.
          Contemptuously, yet dressed as if bestowing a princely gift, he gave Ómataina to Gríma,
 son of Gálmód, chief counselor to his enemy, Théoden King of Rohan. Thereby Gríma gained
 the sorcerous power of Saruman’s Voice, and with his councils while using the Ring, Gríma
 corrupted Théoden. By this unlikely happenchance, the King fell to the wiles of the wizard.
          During the War of the Ring, Saruman captured Gandalf the Grey and held him captive in
 the Tower of Orthanc. Flaunting Oialëhén before Gandalf, he pretended he himself had forged
 this more potent magic Ring. He never knew if Gandalf believed him. In death, he didn’t care.
          During the long intervening years, Glorfindel lived quietly in Imladris. He had shrouded
 the darkness of his corrupted spirit with the spells of concealment learned from the One.
 Masking his twisted malevolence from wizards and Elves, he lay hidden from even the senses of
 Elrond and his powerful Elvish sons.
          More years passed, almost another Age. One day, the rumors of war assaulted the quite of
 Imladris. Messengers arrived from Círdan: the Witch King’s armies were waging a terrible battle
 against the armies of Gondor and Lindon. The Lord of the Nazgûl had brought large armies and
 he was close to defeating them. They beseeched Elrond and his Elvish forces at Imladris for help.
          Glorfindel volunteered.
          It was his opportunity, he insisted to Elrond, to vindicate himself and avenge the torments
 he’d suffered as a prisoner. Elrond agreed and put Glorfindel in charge of Rivendell’s armies.
          The Elven Prince led them through Eriador to Fornost. There the army of the King of the
 Ringwraiths was overwhelming the Crown Prince Eärnur and the Men of Gondor. Glorfindel
 launched a devastating counter-attack. Combining their forces of Men and Elves, they routed the
 Nazgûl’s armies while Glorfindel went hunting for the Witch King and his Ring. His lust rose
 high and bright. He wanted that Ring! Fighting his way towards the Witch King, Glorfindel’s
 hatred grew and all were amazed at the wrath and terrible brilliance of Lord Glorfindel.
          Oh, look! See how much he hated orcs!
          He slew so many orcs so far ahead of others, Eärnur and his Men fell far behind. Orc
 after orc fell. No one had ever seen such dreaded power in an Elven Lord. Led by Glorfindel’s
 hatred, the Men of Gondor and Elves of Rivendell waded into the slaughter.
          Far behind the front lines of the Alliance, the Witch King appeared as if from nothing. He
 wore black robes, a black mask and he rode upon a black horse. Screaming, he drove straight at
 Eärnur. Glorfindel heard the Witch King and turned his white Elvish horse Asfaloth around,
 galloping madly back the way he came.
          For the first time, the Witch King of Angmar himself knew fear: Glorfindel was hunting
 him and coming for his Ring! Sensing Glorfindel’s power, the Nazgûl Lord knew he’d be beaten,
 his body destroyed, his Ring taken from his finger and conquered, because Glorfindel’s hunger
 exceeded Sauron’s. Screaming terrible curses and defiant, the Witch King of Angmar fled.
          Seeing his fear, Eärnur pursued him, swearing to forever destroy him and his evil Ring.
          This, Glorfindel would not allow. Stopping Eärnur, he intended to mark the Nazgûl Lord
 to fall by him alone and the Ring into his own hands, thus he prophesied, “Do not pursue him!
 He will not return to this land. Far off yet is his doom, and not by the hand of Man will he fall.”

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         Eärnur had been slowed just enough by Glorfindel’s interference that the Witch King had
 time to escape. He vanished, abandoning the last of his army to fall at the hands of the Alliance.
         Although Glorfindel had saved the Ring from destruction, it and the Witch King were
 gone. Dejected, after the battle he returned to Imladris. There he resumed waiting, always
 listening, hoping for news of the Nazgûl, Sauron, the One or of any of the other Rings. Unable to
 contain himself, often he went out hunting, searching mostly for the Ruling Ring.
         After many more centuries, one dark day Elrond told him the Nazgûl had been spotted.
 They were riding black horses through Eriador and hunting for Aragorn, who was returning to
 Imladris bearing a great and secret burden. Elrond asked Glorfindel if he would help Aragorn,
 and protect him and his burden, just as he had driven off the Witch King centuries before.
         Glorfindel agreed. Secretly he hoped Aragorn’s burden was a rumor, some clue of
 knowledge, or in his wildest imaginings, a map or key that would lead him to the Ruling Ring.
         Riding Asfaloth tirelessly, he searched more fervently than even Elladan and Elrohir,
 who were especially close to Aragorn, having helped Elrond raise him.
         On a cool Autumn day, Glorfindel found Aragorn on the Great East Road, in late
 October. He was walking slowly, accompanied by three little halflings, arrayed fearfully about
 him. A fourth, named Frodo Baggins, was being carried on a pony. Frodo bore a lethal wound
 from a Morgul blade, driven into his shoulder by the Witch King himself. Aragorn volunteered
 the information that it was the hobbit Frodo who bore the burden, but Glorfindel couldn’t think
 of a way to ask Frodo what his burden was or find a private moment to search him.
         Yet he felt the power of Sauron hanging about the hobbit. As the day faded and it became
 darker, the dark power grew until it covered the hobbit like a shroud. Glorfindel believed this
 was solely because of the splinter of the Morgul blade embedded in Frodo’s shoulder. But even
 this barest brush with Sauron’s power, however slight, secretly thrilled him. He did his best to
 heal Frodo in order to prolong his contact with these growing malefic forces.
         During their return to Imladris, the Nazgûl found them. Glorfindel commanded his Elvish
 horse to flee, sending Frodo racing across the Ford of Bruinen on Asfaloth’s back.
         But that stupid hobbit stopped his horse on the far side of the Ford, barely in Imladris, not
 fully protected by the power of Elrond and far too close to the Ringwraiths. Frodo stood in
 Asfaloth’s stirrups shouting in some feeble misguided display of defiance.
         The Nazgûl cried in unison and Glorfindel heard for the last time the sound of Sauron’s
 voice, calling all the way from Mordor. Then the scheming of Elrond and the depths of his own
 stupendous folly were revealed: “‘The Ring! The Ring!’ they cried with deadly voices.’”
         The realization struck like a hammer: The One he had longed for, dreamed of, imagined
 on his finger for over three thousand years, had been right in front of him the last three days,
 carried by Frodo Baggins, the hobbit he had literally held helpless in his hands.
         When three of the Nazgûl entered the Ford to claim the Ruling Ring, Elrond unleashed
 the waters in a massive flood, arrayed in the form of White Riders by the power of Gandalf the
 Grey. The Ringwraiths were caught in the floodwaters amid boulders. As their horses were
 drowning, they were crushed and swept away. Enraged, Glorfindel threw off his body, stripping
 away all semblance of human shape and form, manifesting his wrath at the deception of Elrond
 and driving it into the Nazgûl like a burning iron spike.
         Against an Elven Lord, the Nine together might have stood – and even won. Against this
 Elvish Lord, whose malice had been amplified by the corrupting power of Sauron, not even the
 Nine united could withstand.



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         He drove five Ringwraiths into the floodwaters, while that stupid Dúnedain and those
 pathetic little hobbits jumped up and down yelling pointlessly, waving burning matchsticks.
         Eight Nazgûl rode into the waters and their horses perished. All Nine were unmade, the
 last who tarried on the shore by Glorfindel’s fury alone.
         The last time the Witch King faced Glorfindel, Sauron had learned it was folly to send
 the Nazgûl so far beyond his borders wearing their Rings. Though it diminished their power, the
 Dark Lord now kept their Rings on his own hands.
         Glorfindel prepared to launch himself over the surface of the flood, catch Frodo Baggins
 and seize the Ruling Ring. Before he could, Frodo fell from Asfaloth’s back and was picked up
 by Elladan and Elrohir, the Sons of Elrond. Within them, the Power of their father burned.
         Led by the Elven Lord Erestor and a few others, the twins carried Frodo to Imladris.
 There Elrond healed him and secured the Ruling Ring on a golden chain, hanging it around the
 wounded hobbit’s throat. The twins departed, searching for any vestige of the Nazgûl. Gandalf or
 Elrond took turns guarding Frodo and the Ring. It was Elladan and Elrohir who found the eight
 dead horses and the tattered remains of one of the Ringwraith’s cloaks.
         Now Glorfindel knew exactly where Sauron’s Ruling Ring of Power was. But with
 Gandalf and Elrond present, it would be folly to seize the Ring. They would instantly know and
 marshal the entire population of Imladris to oppose him. Any attempt to defeat two of the most
 powerful beings in Middle-earth, his mighty sons and a city of Elvish warriors, without time to
 learn to harness the many abilities of the Ruling Ring, was destined to fail.
         Agony gripped him by the throat – for months. Healed, Frodo Baggins and his kin gaily
 laughed, sang, danced and skipped about the halls of the House of Elrond, like the imbeciles they
 were. It was almost impossible to endure. It came closer to breaking him than anything had
 before, as terrible a torture in its own way as those he had suffered at the hands of Sauron.
         When Elrond called a Council and spoke of destroying the One, Glorfindel hid his horror
 by speaking up and affirming it had to be done. After calming down, he backtracked, trying to
 convince them to drop the Ring into the ocean. There, he knew he would be able to find it.
         They refused, deciding to send Frodo and the Ring to Mordor to be unmade.
         Later in private he apologized, telling Elrond he would do anything to defeat Sauron and
 avenge the torments he had suffered; even at the cost of his own life, which he would gladly
 sacrifice, he confided, to aid the Ringbearer carrying the Ruling Ring to the Crack of Doom.
         Did Elrond suspect him?
         He would never know. He believed Elrond must have. Always, those who had survived
 the tortures and torments of the Enemy and returned had been mistrusted and shunned, just as
 Glorfindel was now shunned. He couldn’t think of any other reason Elrond wouldn’t make him
 one of the Nine companions in the Company of the Ring, going with the hobbits to Mordor.
         There, he would wait for the perfect opportunity, kill Frodo and take the Ruling Ring.
         Yet no matter how hard he pinned for it, he knew Elrond would never make him one of
 the Companions. On the day Elrond announced it wasn’t Erestor, not Gildor, nor Galdor,
 Elladan, Elrohir, nor Glorfindel, but the young Prince Legolas, an uncultured, unlearned, almost
 helpless child-prince of a woodland Elf who would represent the Elves, Glorfindel could barely
 contain his fury. His body burned for days with the greatest hatred he had ever known.
         On the evening the Company of the Ring set out on foot (on foot!?), Glorfindel hid and
 watched them leave, departing Imladris on roads unknown, for Mordor. For weeks, he argued
 with himself. What could he say, what excuse could he give? In an agony of uncertainty, he
 couldn’t decide how to leave without arousing Elrond’s suspicions. This would have resulted in

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 his being followed by Elladan or Elrohir. Their watchful presence was a veiled threat. They
 seethed with hidden power, seldom spoke and always seemed about, yet were rarely seen.
         At last, Glorfindel despaired. Even if he left now in secret, his doubts had produced too
 large a delay. He would never find the path taken by the Fellowship of the Ring. He should have
 left immediately and waylaid them in the woods, risking the wrath of Gandalf and pitting his
 power against the wizard’s own and the might of the members of the Company of the Ring.
         Weeks turned to months.
         Often, he imagined if he had one of the palantíri, as Saruman and Círdan had, he could
 watch them from his room and see the roads they’d taken. With the Ring now far beyond his
 reach, many paths seemed clear, which earlier had failed to come to mind.
         His self-inflicted torments were terrible. They were so severe, they were worse than what
 he’d felt from the convicted, while sitting before the Valar in their circle of thrones on the hill of
 Máhanaxar in Aman. Called the Ring of Doom, there he had watched in terror while the Valar
 exiled Fëanor. Later, they reviled and condemned the Valar Melkor. Beheading him, they cast
 the dismembered pieces of his body into a prison at the bottom of the Void.
         Glorfindel had no way to know that beside his own never-ending, merciless self-
 condemnations, the swift Judgement of the Valar would have paled.
         The day came when he could no longer endure his self-inflicted torments. He gave
 Elrond an inane excuse to leave, nothing at all profound: the simplest, most meaningless thing.
         It was enough.
         Elrond already had too many weighty concerns. He could not bother with the doings of
 every idle Elven Lord within the halls of Imladris.
         Glorfindel rode away and accepted the bitter truth: he had been a self-sabotaging, self-
 defeating fool with no one to blame for his failures but himself.
         Enraged, in the wilds he rode east. If he encountered Elves, Men or Beasts, in his wrath
 he slew them all. Crossing north over the Misty Mountains in the heart of winter, he never felt
 the cold. Wherever he went, the fires burning in his heart melted the snows.
         Past Erebor and the Iron Hills, fording the delta of the Rivers Celduin and Carnen
 recalled to him the Gladden Fields, where he’d stood within a hair’s breadth of the One and
 failed, because Elrond had kept him from the One.
         Elrond! He cursed his name and swore an Oath: once he had the Ring, through its Power,
 or if by chance he found some other way to hurt Elrond and make him pay for his humiliations
 and defeats, then Elrond and all his kin would suffer.
         Ever faster and more desperate, he rode Asfaloth through the Northern Wastes, across the
 whole of the Wilderlands and into Rhûn. Crossing north of the Sea of Rhûn, he turned south to
 the borders of Khand. Passing the forts along the road between Rhûn and Khand, he learned one
 of Sauron’s greatest secrets, discovering hoarded sources of hidden wealth and power.
         In Rhûn he turned west over the plains and entered the unguarded borders of Mordor
 from the east, unopposed. There he slew a great many men and their Fell Beasts. Never having
 felt such a wantonness to kill and destroy, he exulted in his newfound freedom and savagery. The
 armies of Mordor had been emptied from the lands and he rode where he willed, searching, ever
 searching, for the essence of Frodo Baggins corrupted by the Ruling Ring.
         On a Spring morning, the Sun never rose and the skies remained black.
         Then he felt it, the faintest tug, the pull: the draw of that dark and wonderful corruption
 of noble hobbit and Shadow Arts. It told him he was approaching Frodo and the Ruling Ring. He
 rode harder. Days later in the distance, there arose the high sundered slopes of Orodruin.

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         Upon his mount he flew, driving Asfaloth as he never had, and he didn’t care that at any
 moment he might burst his horse’s heart because he sensed up the mountain carried by Frodo,
 the Ruling Ring ascended ever higher, coming closer and ever closer to the Crack of Doom.
         Long before he reached Orodruin a terrible cry rang out. High overhead, faster than any
 wind ever blew, the Nazgûl flew on Fell Beasts with wide-webbed bat-like wings. They passed
 so high above him screeching, they were actually out of even his sharp Elvish sight.
         Monstrous howls erupted from their suddenly flaring forms and for a moment he could
 see them. They flickered brightly – then went out.
         The ground shook and fractured. The lands heaved, buckled and broke. Far away like a
 scar on the sky stood the Tower of Barad-dûr. It shuddered, shook, and with the rending of steel
 and stone, the Dark Tower of Mordor shattered and the ruins came crashing down.
         Glorfindel knew the truth of the terror burning wildly in his heart: The One, the Ruling
 Ring of Sauron, the Ring of Power he had lusted for and even loved, as only a dark corrupted
 thing can love, had been thrown into the fires of Orodruin and now – was no more.
         He reined his horse, fell to the ground and wept the bitterest tears he had ever known.
 The Ring was gone. Gone. His Ring!
         He realized he had nothing else to live for. Why wait long ages in desolation, hoping for
 some mischance to bring his end?
         He rose and sprang upon Asfaloth’s heaving back. Seeing Orodruin vomiting fire into the
 sky and bleeding flames down her sundered slopes, the time had come to throw himself into the
 Crack of Doom and join his love in death.
         The moment before he spurred his horse forward to be lost in the wake of his own
 passing, from the sky where a minute before he had watched the flames of the Nazgûl bursting
 out of existence, there fell a golden Ring of Power set with a black Cat’s Eye Scapolite stone.
         Not far from him it came down and struck an outcropping of rock with a high ‘ting.’
 Bouncing twice, it rolled unevenly into a sloping ravine and came to a stop behind a rock.
         Not daring to believe the impossibility of the chain of events leading him to this exact
 spot at that very moment, he rode to the rock and dismounted. Trembling, he picked up the Ring.
 It was the Ring that Sauron had told the Elves and Dwarves of Edhilon was named Tilion, the
 Ring of the Moon, Transformation, Journeys, and unexpected fortune. But secretly in Barzhûrk,
 he named it Harma, the Ring of Possession, Madness, Lunacy, Maimings and Scars. It was one
 of the Nine Rings of Power forged for the Men that others called the Nazgûl Kings.
         He put it on the third finger of his right hand and felt what he had not experienced in over
 three thousand years: the hot and dark touch of the power of Sauron flowing through him –
 giving Lust and purpose to his life and golden light.
         It was not the One.
         No. Never again would he know such wanton desire and dark delight. But this Ring of
 Power corrupted by Sauron, this Ring of the Nazgûl, though lesser, it would do.
         He also knew where there was one, doubtless, there were two; and maybe more, perhaps
 eight more Rings of Power waiting on the plains between him and Barad-dûr. He also knew in
 the ruins of the Tower there were at least three more of the Seven.
         With a new purpose and a plan, he extended his senses over the plains. His mind was
 now attuned to the essence of these Rings, guided by the power of the one he wore. He heard
 them. Their fading voices called to him, yearning for him to claim them. It was as if they knew,
 his power could preserve what remained of the dark desire and fading power of Sauron.



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          Before he could act, over the plain came a thunderous and piercing SCREEE! It shattered
 his thoughts and filled his heart with dread.
          Overhead in the far distance but coming fast flew Gwaihir, King of Eagles, the Windlord.
 Beside him flew his brother Landroval and following after came Meneldor, young and swift.
 Faster than the winds, they passed over the plains of Mordor flying towards Mount Doom.
          On Gwaihir’s back rode Gandalf. His robes and essence were no longer grey but white,
 bright white, a Valarin white so bright it hurt the dark corrupted spirit in his eyes to look upon.
          While Gandalf’s senses and the Eagles’ eyes were focused on Mount Doom, Glorfindel
 hid himself and Asfaloth in the ravine. There he wove another spell to shroud the presence,
 power and essence of all the Rings of Power laying fallen on the plain.
          Gandalf passed insensate, not thinking the power of the Nine had been diminished and
 was fading: he was deceived by Glorfindel’s spells into believing they had gone out.
          When in truth, coupled with the Elven power of Glorfindel, the Rings of Power of Sauron
 now lived on. They gave purpose to his life, and his life and power gave voice to the evil of their
 Master who had forged them; his hatred echoing loudly within the corrupted bands of gold.
          In the event, it was easy.
          The Nazgûl had flown out over the Gates of Mordor together. Almost in formation, they
 had flown towards Orodruin at Sauron’s call. Even if the Sun had not risen in the east, Glorfindel
 would have almost effortlessly found the Rings by thought alone.
          He laughed madly at the irony. For thousands of years he had brooded, trying to conceive
 a way by overwhelming power or intricate deceit to find a single Ring of Power. Now, a wealth
 of Rings had literally fallen out of the sky around him. Tremulous, he gathered seven more of the
 fallen Nine. Then, despite using all his power to extend his senses, he could not find the Ninth.
          It had to wait. Over the plains rode a horror of a female shape on a terror of a horse. Her
 name was Thüringel and her skin was grey, as if she were already dead. Worms, lice, ticks and
 maggots writhed through her hair, leaving dark trails of infection on her hideously twisted face.
          As she rode forward, her eyes and senses were on the ground, searching for fallen Rings.
 As her forehead strained in concentration, on the third finger of her left hand she wore a golden
 Ring of Power. Its amber gem glowed brightly and she poured her power into a spell.
          It was one of the corrupted Seven, originally given to a great Dwarven king, Malda the
 Ring of Gold, but in Barzhûrk, Sauron named it Húnamírë, the Ring of Cursed Treasure; and
 suspended within the amber, the forever imprisoned horror of a small but ancient dead thing.
          After Sauron had reclaimed the Ring, he gave Malda to Thüringel as a bride-price. He
 wanted to know her thoughts as they practiced dark perversions and Lusts in Barad-dûr. With the
 start of the War of the Ring, Sauron had grown neglectful of her dark desires. Yet he guarded her
 jealousy from his Captains, unlike the other women he often defiled and discarded. So Thüringel
 was not in Barad-dûr as the Dark Tower fell.
          When she reached Glorfindel, he smiled and held up his hands, displaying on his long
 fingers, eight golden Rings of Power set with black gems, which he now wore and ruled. She
 laughed wickedly. Her body shimmered and shifted, changing into a maidenly beautiful yet
 foully voluptuous form. Her hard eyes burned with fire. Her soft skin dripped with desire, as
 lovely and lustful a creature as any a corrupted Elven Lord could ever hope for – or imagine.
          As armies fell or fled and Eagles passed by high overhead, flying west once more,
 Glorfindel and Thüringel coupled wildly on the sundering plains of Mordor. While all around
 them cities burned, the earth erupted fire, and goblins, orcs, trolls, men and Fell Beasts died.



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         Afterwards they lay together naked on the plain and whispered bitter somethings in each
 other’s ears, hatching plans and plots for the conquest of the East and the downfall of the West.
         Shattering their idyls, it had not been long before there came a terrible roar. Charging,
 came the thundering horror of Lungorthin, a monstrous burning Balrog, the Captain of the Tower
 of Barad-dûr, called by his Men, the Gauntlet of Sauron. Breathing fire, he stormed over the
 plains. On the third finger of his left hand, he wore a band of mithril set with a glowing silver
 Moonstone. It was one of the Seven forged by Celebrimbor and corrupted by Sauron.
         The Necromancer had told the Mirdainions it was Telperin, the Ring of Mithril. But
 secretly in Barzhûrk, he named it Cúmana, the Ring of Desolation, Emptiness and Doom. He had
 given it to a powerful dwarven king to corrupt him and enslave his people. When the dwarves
 proved hardier than Sauron reckoned, he slew them and reclaimed it.
         Now, it had been found by his favorite Balrog at the end of the War of the Ring. From the
 same wreckage, Lungorthin pulled the Palantír of Minas Ithil and carried it in the same hand. It
 glowed with a dim grey light, revealing many things. But even in this grey light Glorfindel,
 Thüringel and their Rings lay hidden beneath his spells.
         As Lungorthin’s monstrous body burned with Shadow and Fire, his eyes were on the
 ground, searching for fallen Rings, and for Thüringel, for whom he lusted and yet hated. For she
 had ever striven to drive a wedge between him and his Master. In addition to the Rings, he would
 find and take her by force, and her Ring. Ruined and ravaged, he would end her life, in torments.
         Glorfindel rose before the horror of Lungorthin. Throwing off his human form, he stood
 naked and exposed for what he truly was: a powerfully dark corrupted Elven Lord, with four
 black twisted horns of Lust growing from his head, bright copper skin and incandescent golden
 hair of fire. “Bow to me, Lungorthin! I am your Master. The undisputable Lord of the Rings!”
         Seeing eight of the Nine Rings of Power on Glorfindel’s hands, Lungorthin bellowed in
 white-hot rage. The ground shook. The Fire and Shadow burning around him rose higher. The
 many tongs of his monstrous whip uncurled through the air and burst into bright fire.
         “No, my ‘lord.’” Lungorthin cried. “You are nothing! Thrice cozened and deceived
 simpleton! The hag at your feet has filled your golden hair with lice and your head with lies. Do
 you truly believe wearing eight of the lesser Rings, mere trifles, the least of the Rings Sauron
 ever corrupted – makes you Lord, of anything?”
         Glorfindel’s sweet taste of victory turned bitter in his mouth.
         “He lies!” Thüringel shrieked. “He would say anything to distract you, so he can kill you,
 take your Rings and me for himself. For ever I scorned him and ever he lusts for me!”
         Glorfindel knew it was true. He picked up his sword and strode forward to slay the
 monstrous fire-breathing Balrog. Lungorthin swung the nine burning tongs of his whip. They
 ripped into Glorfindel’s naked back and sword arm. He screamed and dropped his sword, falling
 to the ground in agony. Without having learned to harness the Power of his Rings, he would have
 fallen to the Balrog King.
         Thüringel rose and screeched a deadly incantation. A golden beam of monstrous force
 shot from her Ring and struck Lungorthin. Knocking him down, it extinguished the fire of his
 whips and struck the Palantir of Minas Ithil from his hand.
         In this moment of distraction, Glorfindel recovered and rose. Fueled by his fury and
 galvanized by the Power of his nine new Rings, he picked up his sword and closed on the prone
 form of Lungorthin, still writhing in agony beneath Thüringel’s bright spells. Neither Lungorthin
 nor Thüringel doubted Glorfindel would destroy him. Lungorthin would not be the first balrog to
 fall before Glorfindel in battle.

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          However, Lungorthin was not one of the lesser, wingless balrogs but a great Balrog Lord.
 Cursing them, he grabbed the fallen palantír, spread his wings of Shadow and Fire, and rose into
 the sky. “Ask the harlot Thüringel about Celebrimbor’s original Rings,” he called down to them.
 “She would have kept them from you and collected them for herself. They await the one who has
 the cunning to discover who wields them and the savagery to slay their Keepers, to claim them
 one by one, gathering them all together and becoming the Master of all that is. This, I go to do.
 The day one of us succeeds, the other will fall. And before his death, he will proclaim the first,
 the last and only true Lord of the Rings!”
          When Lungorthin was gone, Thüringel salved Glorfindel’s wounds. Bandaging his back
 and sword arm, she told him everything she knew of Rings of Power. Then and there, she began
 training him to use the Rings he wore and she swore she had planned to tell him all she knew
 before Lungorthin’s lies. For her entire immortal life, she had dreamed of loving an Elven Lord.
 She had never imagined she would fall in love with one as beautiful as Glorfindel.
          He demanded she prove her love by hand fasting and exchanging from the third finger of
 their left hands, their most precious Rings. Delighted beyond belief, Thüringel agreed. Hidden
 invisibly, she removed and gave him one of the Thirteen, Quáco, the Raven’s Ring.
          In return, he removed and gave her the corpse’s iron ring. The magic leached from his
 skin by the iron burned her finger, branding her with the Ring Rhyme on the third finger of her
 left hand. She wept and laughed, celebrating the horror and pain of the trauma of his betrayal,
 which to her served just as well or even better to unbreakably bond them, as if it were love.
          Later that day, they armed themselves and rode Asfaloth to Barad-dûr, where the Tower
 and walls had fallen. Now, great hosts strode about the plains plundering, looting and murdering,
 striving for command of the remnants of Sauron’s armies and his hoarded treasures, especially
 the mithril. Every one of them imagined himself, the new Dark Lord of Mordor.
          In maniac fury at his earlier suffering before Lungorthin and enflamed with his newly
 acquired power of nine Rings, Glorfindel challenged them all and slew more goblins, trolls and
 orcs than anyone ever had in any of the wars of the Lamps or the Jewels or the Rings.
          Long after the armies surrendered, Glorfindel never seemed to tire and he never stopped
 delighting in gutting and beheading and dismembering until he was stopped by Thüringel
 beseeching him to spare the soldier’s lives and make them willing subjects or unwilling slaves.
          With his newly conscripted armies, he ordered the ruin and wreckage of Mordor, then
 painstakingly sifted the debris of the Tower of Barad-dûr. But no matter how long or hard he
 looked, he failed to find the third dwarven Ring, the ninth Nazgul Ring, nor any more knowledge
 of Celebrimbor’s original Rings.
          The thought of these other Rings filled him with a Lust that rivaled what he once felt for
 the One. But his desire for the Master-ring of Middle-earth, which would have ruled the Ruling
 Ring, eclipsed anything he had ever felt before.
          He still greatly desired Thüringel. But he desired power, more. He longed the most to
 leave her, to search out and find the Master-ring.
          Not Thüringel, Lungorthin nor even Sauron could have born it. Glorfindel knew he could.
 He also knew, a palantír such as Lungorthin now had, would serve his need the best. With the
 Master-ring undoubtedly hidden somewhere in the west, the time had come at last to return to
 Imladris, where his searches must be carried out, in secret, and alone.


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                                        Chapter 10




                                        Absolution




         Before the fallen gates of Barad-dûr, Glorfindel proclaimed to his generals that Thüringel
 was now his concubine. She would rule Mordor in his stead: the first Kingdom in his Empire of
 Gondolin, refounded. In front of his subjects he christened her, the first Queen of Mordor.
         This was exactly what Thüringel had always wanted, that Sauron had refused to give. So
 great was her dark delight, she joined him in subduing rival factions still roaming the valleys and
 plains. They reveled in savagely murdering and enslaving wherever they went.
         With the people subdued, they removed from the ruined and shattered foundations, all
 that had once been built. Their armies transported the fallen walls, gates and towers across the
 plains of Gorgoroth to Orodruin. There, the flames still burned, but had stopped flowing.
         Glorfindel once again became Thüringel’s pupil in Dark Arts, just as he had been her
 pupil in dark desires. She taught him why the fires of Middle-earth burned hotter here, than
 anywhere else – why Sauron had chosen Mordor, instead of rebuilding Morgoth’s fortress of
 Angmar, in the north, the favored land of his former Master.
         Obsessed with power, but too quickly seduced by Ulbandi to leave the Valar, Morgoth
 never knew, this was the only place Sauron could have forged the One. Here the fires burned the
 hottest, not just in Middle-earth, here the fires burned the hottest on Every-earth: every magical
 land created by the Ainur, Valar, and any and every other Choir led by Eru Ilúvatar, or any other.
         The center of the cone of Orodruin was where the Lamp Illuin had stood before Morgoth
 destroyed it and the Valar twice reshaped the world. It was the Nexus of All Realities – the
 Crossroads of All the Worlds, that ever were, or would ever be.
         Sauron’s desires had grown and the servant now eclipsed his Master. The conquest of
 Middle-earth was just the beginning. Once he recovered his Ruling Ring and subdued the West,
 Sauron had planned to create a passageway to other worlds, with Mordor as his base.


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         With or without the Master-ring, Sauron would then have embarked on his true desire:
 conquering all the other Earths: every magiced and unmagiced reality, spreading his immortal
 tyranny to more lands on more worlds, than there were stars created by Elbereth Gilthoniel, with
 which she had populated the Heavens.
         This was the Master Plan of Sauron, hidden from everyone. Even his right hand, the so
 called Gauntlet of Mordor: not even the dreaded Balrog Lord Lungorthin had ever known. But
 Sauron had loved Thüringel, as much as any foul creature whose heart is full of malice could
 love. She not only shared her Master’s bed, she had shared his twisted heart’s darkest desires.
         Now Thüringel shared Sauron’s most precious secrets with Glorfindel, while their slaves
 trembled. For often before coupling, she would take a wandering orc or goblin and drink its
 blood. Returning covered and dripping with desire, they coupled madly before any who dared
 watch and many did. All became their slaves and did the bidding of Glorfindel, who wore on his
 hands eight corrupted Rings of Power and one for taming Beasts. And Thüringel, the Mistress-
 Master of his Dark Desires, wore upon her own, one of the Seven.
         At their bidding, thick-stone rectangular walls slowly rose atop four large foundation
 stones. Above each stone, their armies built four high towers and joined them to the walls.
 Behind the single gated entrance lay a massive iron portcullis. This led to a long sloping stone
 bridge topped with a high arch. Protected by a towering barbican, the curved bridge spanned a
 foul moat filled with blood. This was the dreaded Fortress of Mordor. Within the confines of its
 mammoth central courtyard, it encompassed the round flattened caldera that had once contained
 the Crack of Doom. Flames still roiled from it and belched great tongues of fire. Deadly vapors
 and black smoke billowed out to where Thüringel and Glorfindel stood. Joining hands, they
 combined the powers of their many Rings into a spell.
         Not just any spell. Glorfindel and Thüringel wove the most powerful enchantment
 Middle-earth would ever know. They used the power of his Rings, the one of the Seven she wore
 and their lusts and passions for each other. Tapping the power of the Crossroads, just as Sauron
 had when forging the One, from out of the depths they lifted the melted and sundered remnants
 that had once been the Ruling Ring. Thüringel had held them together with a dark spell of her
 own, using the power of Malda, her dwarven Ring attuned to gold. The broken pieces of the One
 Ring rose to the surface, entombed within a great translucent sphere of volcanic black obsidian.
         They stopped it at the very center of the Nexus of the Crossroads of the Worlds and All
 Realities. It was the point where every Road to every realm to every world converged, and they
 christened it, the Master-Stone of Middle-earth.
         Afterwards in their fortress, they lay exhausted beneath the Master-Stone and Glorfindel
 looked up. In the depths of the grey smoky crystal he saw the melted, sundered, scattered, dead
 remnants of the One. Now lifeless, he had once loved it more than life itself.
         They rested and slept. When they awoke and regained their strength, they celebrated with
 the death of many men, women and Beasts. Performing dark perversions atop the Master-Stone,
 they baptized it with their servant’s fouled and polluted blood.
         Then Glorfindel hurriedly bid Thüringel farewell and sped towards Minas Tirith for the
 next step of his plan. Riding Asfaloth in haste, he none the less stopped to bathe in the swift
 running waters of the River Anduin. Crossing over, he perfumed himself with elanor and
 brushed out his long golden hair. It had always been his greatest pride and secret vanity. Donning
 his Elvish clothes, he masterfully cloaked his Rings and newfound power. Outside the Rammas
 Echor, he joined Elrond and Arwen before the sundered Gates of Minas Tirith.



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          The people of the City marked their great victory with the coming nuptials of the King
 and Queen. After Elessar and Arwen’s wedding and joint coronations, the citizens and guests
 again celebrated and drank. The King and Queen retired to the secret room atop the Tower of
 Echthilion and on this very night, they conceived the Crown Prince Eldarion.
          Alone, Glorfindel cloaked himself in Shadow, silent and invisible. Leaving through the
 sundered iron Gates, he stole upon the guarded mound where the Fell Beast had been burned and
 within a cairn its remnants had been entombed. Carefully removing the outer stones, he began
 sifting through the charred and burnt remains.
          Amid the maggots and rotting worm-infested gore, he found the deadly once-burning
 sword of the Witch King, from which dread and horror still emanated like smoke. Gleefully
 belting the malefic weapon about his waist, he recommenced his painstaking search.
          After hours of more digging and careful sifting, at last he found the final and most
 powerful of the Nine: Arien, the Ring of the Eclipsed Black Sun, called in secret by Sauron in
 Barzhûrk, Morgul, the Ring of Black Magic. Possessing it now gave him mastery of the Nine.
          Anybody who wore any of the others would be his slave. He removed the Raven’s Ring
 and put the golden band with its glowing black Star Sapphire stone in the place of honor over the
 letters of the branded Ring Rhyme on the third finger of his left hand.
          No one had been able to approach these things, much less move or even touch them.
 Terror, despair and the fear of death had been woven into their essence. They rose from them
 like a foul and deadly vapor. Where they had fallen they had lain unapproachable.
          The next day, with his new acquisitions secure and his deadly power exquisitely cloaked
 beneath his many spells, Glorfindel celebrated the achievements of the great High King Elessar
 and High Queen Arwen beside Elrond, Galadriel, Gandalf and many others.
          Even those stupid hobbits. They had tormented him in Imladris, then maimed and
 murdered each other in Mordor while unmaking the Ruling Ring. Strangely, he still thought of it
 as his own. Even after destroying it, they couldn’t stop him from finding a new and bigger
 dream, and a better way to conquer. So he joked with them and laughed with them, even danced
 with them, and seemed as happy as anyone. But in truth, he was much happier.
          For entirely different reasons.
          Returning to Imladris with Elrond, he found great preparations underway. The Elves of
 Middle-earth were putting their affairs in order and leaving these lands forever, sailing West on
 the ships Círdan, Galdor and the Elves of Lindon had been building for centuries.
          No one spoke to Glorfindel about his plans. No one asked if he intended to stay, or go.
          Elrond journeyed to the Havens with Galadriel amidst a great company of Elves.
          Glorfindel joined them, without invitation or explanation.
          No one welcomed him.
          In Lindon, he gave Legolas (Legolas!) and Gimli a tour of the white ship, on which
 Elrond and the others would sail. Glorfindel made sure to cross their paths the next morning as
 he escaped with the Elostirion-stone, knowing he had the power to bend it to his will.
          Almost as much as the thought of finding the Master-ring, he gleefully anticipated the
 hideous anguish this would cause Elrond and his daughter; the corrosive discords it would sow
 between the High King Elessar and Queen Arwen, and among the remaining members of the
 Fellowship of the Ring, whose membership within the Company he’d been denied by Elrond.



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          Out of sight of Legolas and Gimli, he cloaked himself once more in impenetrable
 Shadows. Hiding his essence from the senses of wizards or High Elves, whether they possessed
 Rings or staffs or Stones, he waited. He did not have long to wait.
          From Lindon in great fury rode Elrond, a storm of righteous indignation, rage and
 intended retribution. He was screaming Glorfindel’s name and swearing vengeance.
          Only the Rings prevented Glorfindel’s laughter from revealing he was there, right next to
 Elrond, under Elrond’s very nose, just as the One had been hidden by the wiles of Elrond outside
 Imladris on the body of Frodo Baggins under Glorfindel’s own.
          Galadriel, Galdor, Gimli, Legolas and a host of Elves rode after Elrond. They couldn’t
 catch him until he slowed when entering the Shire. There they encountered Bilbo Baggins,
 Gildor and another of the seemingly endless hosts of Elves riding West, and Elrond stopped.
          Gildor and Galdor convinced him to turn back, swearing an Oath to bring Glorfindel to
 justice. Elrond insisted Legolas and Gimli ride to Minas Tirith before he would turn to join
 Frodo and Sam, who Glorfindel had once hated passionately.
          Now, he was indifferent. They were just ahead, there, on the Road.
          They returned to Lindon to board the white ship with Gandalf and without the Elostirion-
 stone, sail the Straight Road after sundown and pass West for Elrond’s reunion with Celebrían.
          Still cloaked in darkness and invisible to everyone and everything, Glorfindel returned to
 Lindon beside them. In East Mithlond, his senses warned him to be wary of Círdan. He stayed
 far away from anywhere near the eyes or ears or mind of the oldest of the Ñoldor.
          That day, Glorfindel lay hidden below the peak of the southern arm of the Grey Haven’s
 cove. He watched the Sun set and the white ship sail from pier. The ship passed out into Belegaer
 far below, leaving the harbor and sailing across the ocean. As the day passed, it grew smaller and
 smaller. In the growing darkness, the twinkling light from the Phial of Galadriel grew dim.
          Hours later, it went out. Slowly, he rose.
          Now, none who remained in Middle-earth had the power to stop him. He returned to
 Imladris, expecting accusations. No one there had heard of his theft of the Elostirion-stone and
 he said nothing. When inquiries in the form of frantic messengers arrived from Círdan, and much
 later but far more desperately from the High King Elessar and Queen Arwen, Glorfindel sent
 back that he had no idea what Legolas and Gimli were talking about.
          Surely the delusions of two strangely outcast wandering reprobates who couldn’t find
 peace among their own people, would not be heeded above the well-known service of the
 faithful, highly regarded and tirelessly self-sacrificing Lord Glorfindel.
          The steadily dwindling population of Elves saw he had no palantír. Not the large, bulky
 Elostirion-stone, nor any other. Nothing about him had changed. He was the same noble Lord
 they had always known. They had no reason and less concern to involve themselves in
 confusion. They were leaving for the Havens and on to Tol Eressëa or Valinor. A few asked why
 Círdan and Arwen were making strange accusations against the Lord of Imladris.
          Publicly, he said he could not fathom their behavior. Privately, he let out that Arwen was
 jealous it was not her kin: not Celeborn, Elladan, nor Elrohir who now ruled her childhood home,
 but Glorfindel, whose beauty she wished was borne by the mortal Elessar. She had come to
 regret having married him and forsaken her immortality, for as he aged, he no longer pleased her.
          All too readily was this lie swallowed by the remaining Elves. None more so than
 Erestor. Erestor had often disagreed with the decisions and policies of Elrond. He resented the
 pride and place given to Elrond’s kin, which none of them had earned, while he slaved away in



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 the House of Imladris (formerly the House of Elrond). There he had received little thanks for
 running the kingdom and Elrond had gotten all the credit.
         Very late one night after a great feast, much drinking and more laughter, everyone else
 had gone to bed. Glorfindel invited Erestor to play a game.
         “A game, my Lord?” Erestor asked. Erestor had always felt neglected. Any invitation and
 inclusion was his secret pride and vanity. “What game would you like to play?”
         “It is called,” Glorfindel answered, with a smile Erestor didn’t understand, but was
 delighted to see on the handsome face of Lord Glorfindel, “‘What Do I Have On My Finger?’”
         Erestor laughed and took another drink of wine. “How is this game played?”
         Glorfindel smiled brighter. “I shall bind your eyes and place on object on your finger.
 You must guess what it is – without looking!”
         “And if I win, my Lord?” Erestor asked, finishing the last of the wine in his glass.
         “Then you may keep whatever it is I give you,” Glorfindel answered.
         “And if I lose, my Lord?” Erestor asked, setting down his glass.
         “You must not concern yourself with that,” Glorfindel told him, but quickly added.
 “What makes you think I would ever allow you to lose, fair and noble Erestor?”
         Erestor submitted himself to this game. Glorfindel bound his eyes and lifted a golden
 Ring set with a black Cat’s Eye Scapolite stone. It was Harma, the Ring of Possession, Lunacy,
 Scars, Confusion and Madness. He slid it on the third finger of Erestor’s left hand.
         Erestor Fell to Darkness and the Shadow, and became the helpless thrall, of Glorfindel.



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          “It pains me to learn, like Maeglin, you have Fallen into folly and the Shadow,” Alatar
 told Glorfindel. “And now you follow, whether you know it or not, willing or all unwilling, the
 dark paths of Morgoth!”
          Glorfindel laughed and the air around him shimmered. His features shifted and flowed
 like hot wax. His skin darkened to the color of copper. Four great twisted black horns grew from
 his head. His incisors lengthened like tusks. Long, dagger-like talons grew from the ends of his
 fingers and his long golden hair burst into incandescent fire.
          “Behold!” he shouted, exulting in the freedom to finally reveal his true form. “It shall be
 the last thing you ever see – the beauty and power of Glorfindel!”
          Alatar raised his staff. “Akašân šebeth delgûmâ ibri mâchan!”
          Black clouds filled the sky, obscuring the Sun and casting everything on the ground in
 shadow. Icy winds drove down and whistled freezing through the streets.
          “Since Shadow you now follow,” Alatar told him, “I will use shadow to defeat you!”
          Glorfindel laughed madly and gestured. Again there appeared on his long fingers, Nine
 golden Rings set with different black gems. They glowed with Fire and Shadow, hotter than a
 dragon’s breath and darker than the Void.
          “Have you never loved something with such an overwhelming passion that the thrill of it
 vibrated through your body with such intensity that was so extreme you knew nothing else would
 ever be as thrilling or as sweet?” Glorfindel asked. “Have you?!?”

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         “We are different, you and I,” Alatar answered. “I was made in a different world, for a
 different purpose. I do not seek nor exult in pleasure, nor power.”
         “Then you are a fool!” Glorfindel cried. Great waves of fire radiated from him, searing
 the air between them. It shot like a geyser burning sideways across the street.
         “Axan arômêz ulban ošošai šebeth!” Alatar shouted, swinging his staff across his body.
 Along the winds he had already summoned, blasts of freezing cold knocked everyone in the
 street down. It snuffed the flames, froze their skin and carried the terrible heat away.
         The Rings on Glorfindel’s fingers glowed brighter. His copper skin grew red as blood
 and hotter. The wooden carts and gate posts lying shattered in the street burst into flames, and
 stronger fires no wind could stop shot from his hands across the street towards Alatar.
         “Dušaman rušur ulban ullu ulubôz!” Alatar cried, his arms outspread.
         Freezing rain drenched the streets in a sudden flood, extinguishing the flames before they
 reached him. They covered Glorfindel and buried him in layers of hard-packed freezing ice.
         “No!” Glorfindel screamed. He fell to his knees beneath the growing weight of ice.
 Gripping his infernal sword, it burst into flames. A great fireball enveloped him, flashing the ice
 and freezing rain to steam. It hissed and whistled, but couldn’t penetrate his Sphere of Fire.
         Glorfindel rose, furious at how quickly Alatar had almost beaten him. His sword burned
 hotter and he pointed it at the wizard. His hair glowed brighter, passing from gold to yellow to
 white too bright to look upon. Alatar realized too late – he was blind. He closed his eyes and
 opened them, looking left, right, up, down. It made no difference. All he could see was white.
         Never had he faced such a powerful foe and so quickly feared he might fall. If he lost the
 contest and his life, he would fail his mission. His spirit would be sent back to Aman, bodiless
 and formless, and face the Judgement of the Valar in the Ring of Doom at Máhanaxar.
         He drove his staff into the earth. Kneeling behind it, he called out a string of powerful
 commands. “Athâraigas ašata tulukha Mâchananaškad!”
         Lancing down from the cloud-dark Heavens, great bolts of blue-white lightning struck
 the burning Sphere of Fire. Each bolt grew larger, with ever increasing intensity, again and again
 and again until at last, they broke the Sphere of Fire and hammered Glorfindel to the ground.
         Glorfindel rose, screaming. Pinioned in the lightning, his burning bright hair stood
 straight-out in every direction. His red skin smoked and turned darker. The blinding white
 strands blackened and withered, and the terrible blinding brilliance pouring from his head faded.
         With the last of his strength, Glorfindel threw his burning sword up in the air. Lifting his
 hands, his Rings shimmered. High above his head, his sword stopped and deflected the lightning,
 driving it into the ground. The bolts tore great rents in the earth and threw up clouds of dirt,
 which fell back down on him as the lighting increased in frequency and intensity. The sword
 glowed brighter, burning hotter. The pommel burst into flames and the blade began to melt.
         “I’LL BE BACK FOR YOU!!!” Glorfindel screamed.
         The most powerful bolt yet shattered the sword in a flash more blinding than the light that
 had blinded Alatar, and the terrible heat and flashing lights from Glorfindel went out. For more
 than a minute, great lightning bolts tore more huge holes in the earth, up and down the street.
         Finally raising his hand, Alatar cried. “Athâra!”
         The catastrophic bolts of lightning and deafening blasts of thunder abruptly stopped.
         Freezing rains continued pouring down, drenching the wizard’s kneeling form.
         Terror gripped him. He feared he might have failed to push Glorfindel past his breaking
 point and not driven him away. Glorfindel could have used his Rings to vanish from all
 perception and at this very moment, be coming to strike him down.

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          If so, there was nothing he could do to stop him. Cautiously, he extended his senses. They
 told him, he hoped correctly, that Glorfindel had fled.
          But his uncertainty, the pain in his eyes, his blindness and defenselessness became a
 terrible helplessness and a horror he’d never known. Still kneeling, he shivered behind his staff.
 The freezing rains soaked his clothes and chilled him to the bone. This felt so much like the
 mortal terror Eldarion had described feeling when he faced Estel.
          “Are you all right, sir?” a voice asked fearfully, kneeling in the rain beside him.
          “I don’t know,” Alatar answered, not daring to move. “I can’t see. Where is Glorfindel?”
          “If you mean the demon thing that was burning up the street,” the voice shouted over the
 pouring rain. “I think you’ve driven him away sir! The Easterlings outside the Gates are gone.”
          Alatar lifted his head in the pelting downpour. He was still blind. He thought he saw
 vague spots coalescing in the whiteness. The burning pain in the back of his eyes grew sharper.
          He tried to stand, but his soaked robes were pinned under his own feet. If not for his
 hands on his staff, he would have fallen face down in the freezing mud.
          “Let me help you,” the voice clamored. A hand lifted one of Alatar’s muddy boots. It
 pulled the water-soaked freezing folds of his robes clear from beneath one foot, then the other.
 Another hand cupped his shivering elbow and lifted him, helping him stand in the slippery mud.
          “What’s your name?” Alatar asked. He pulled his staff out. Raising it over his head, he
 shouted. “Mâchanumâz Amanaišal!”
          The freezing rains stopped. He felt the Sun’s warmth on his face.
          “Ron,” the voice answered, in the eerie sudden silence.
          “How old are you, Ron?” Alatar asked.
          “I’m nearly thirteen sir,” the child said.
          “What are you doing here, Ron?” Alatar asked.
          “My father was a militiaman killed at the fall of the Prancing Pony,” the boy answered.
 “It fell to me to defend the East Gates in his place.”
          “What if the Easterners had killed you?” Alatar asked.
          “Then I should be dead sir,” he answered. “But I will have died doing my duty.”
          “Listen Ron,” Alatar told him. He put his hand on the boy’s head. “I don’t want you to
 die. I want you to live, to report what you have seen so that someday, someone may remember.
 Will you do that for me, Ron?”
          The boy answered solemnly. “It would be an honor to serve the wishes of the man who
 saved the City.”
          “Very good, Ron,” Alatar told him. He lifted his hand and silently completed the spells of
 protection he’d woven over the boy’s head. “Now hurry home Ron and don’t forget.”
          “I shall ride with haste and not forget,” the boy named Ron said, hurrying away.
          As suddenly as he had appeared, the boy was gone.
          Dripping water droplets pinged and plopped all around Alatar. He inhaled deeply, taking
 a moment to give thanks for his victory. Facing the Sun, he lifted his staff and spoke in the
 language of the Valar. They had taught him in the Gardens of Lórien, giving him Mastery to
 Command the Elements of Middle-earth using the words of Ilúvatar.
          He called to the Vala Arien driving the Chariot of the Sun high above his head, using
 words only she could comprehend. “Akašân šebeth amanaišal ibri Dušamanûðân!”
          A golden glow descended from the Heavens. Coursing down through the skies, it softly
 touched his face and filled his eyes. There, the glow waxed brighter, held, then faded.



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         Alatar slowly opened his seeing eyes, blinking amidst the radiance. He bowed, giving
 thanks to the Vala Arien. “Tulukha iniðil axan, Athâraigas.”
         The golden glow withdrew.
         Sailing back up through the skies, it vanished in the light of the Sun.
         Turning, Alatar looked out across the walls of Bree and whistled. Not far off, Silverfall
 answered with a joyous neigh and came running. His hooves clattered loudly as he ran over the
 cobbled streets. Reaching the wizard, he nuzzled his nose against his master’s chest. Alatar
 stroked his horse’s head.
         “Come, my friend,” he said, mounting Silverfall’s back. “We must find the Prince and
 see him safely home before the fall of Gondor.”




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                                        Chapter 11




                           The Wizard’s Apprentice




         “The walls have been breached!” Manus shouted. Rallying his Haradrim troops, he ran to
 the entrance of his largest tent. “Orcs are pouring through!”
         Malvia and her lieutenants climbed the long ladders to their baskets. Manus led Eldarion
 and the hobbits up his ladder and into the basket at the head of the caravan, then pulled the long
 folding ladder up behind them. Two of his Haradrim warriors had everything ready.
         Five little people and a Man were not much of an addition in the large open space atop
 his personal Oliphaunt, Dzombor. One of the warriors gave Manus the reins and the other blew a
 great silver horn. Dzombor answered with a terrible blast from his long, horn-like trumpet snout
 and took off, trampling the pavilions screening them from the town folk of Bree. He lumbered
 through the streets and the other Oliphants fell in line behind him. Malvia brought up the rear.
         Manus steered Dzombor towards the greatest concentration of clamoring horns, cries of
 alarm and sounds of combat.
         “What are you doing?” Eldarion asked. “We are marching towards our foes!”
         “Of course we are!” Manus answered. “Where else should a herd of marauding
 Oliphaunts go in battle, if not to destroy our enemies? Nothing here can stand against us! It’s
 better to face our troubles head on, than run. It’s better for us and it’s better for Bree!”
         “Well said, my friend,” Eldarion agreed. “In this, I am your pupil.”
         They approached the broken walls. Begrudgingly being forced up the street and back into
 the city, the Militia was being overwhelmed by a battalion of Orcelven.
         “I hate orcs!” Manus yelled. He blew a blast on his horn, then screamed to the hobbits
 and men of the militia in the street. “Clear the road! Get out of our way!!”
         The militiamen disengaged from the Orcelven and got out of the way, a few just barely.
         Dzombor and the other Oliphaunts crashed into the ranks of the attacking Orcelven,
 crushing the vanguard beneath their mammoth feet.


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         Swinging their heads, the Oliphaunts cut through scores more of armed Orcelven, tearing
 them apart with every swipe of their thick and sharpened quadratusks. Each tusk was twenty feet
 long, stout as a tree and weighed over a thousand pounds. Hard as rock, each one had been honed
 to a razor-sharp point. The Orcelven couldn’t withstand a single slice or thrust.
         In addition, the Oliphaunts’ skin was thick and tough, like leather. The Orcelven had as
 much chance of chopping through it before they were gutted, as they would have had piercing
 the hide of a dragon. The stampeding Oliphaunts decimated the ranks of Orcelven and the militia
 retook the shattered wall, driving their enemies out and slaying the horseless injured left behind.
         Manus steered Dzombor and the herd out through the broken walls, heading towards the
 woodlands north of Bree. At another of Dzombor’s trumpet blasts, the remaining Orcelven fled.
         “Nothing can stop us now!” Theo cried.
         “Many things can stop an Oliphaunt, Master Théoden,” Manus told him. “But their only
 natural foes are dragons, grootslangs, and of course their mortal enemies, the rikedons.”
         “What’s a rikedon?” Elanor asked.
         “Forget the rikedons,” Sam told them, pointing out of the basket. “What about him?”
         A dozen armored Orcelven rode out from where they had been waiting, hidden in the
 trees. They were led by an oddly disfigured warrior whose face burned with the greatest malice.
         “Estel!” Eldarion shouted.
         The Orcelven broke into pairs and attacked all six Oliphaunts. While Dzombor gutted the
 Orcelven before him, Estel leaped onto Dzombor’s tail, drawn by Elanor’s Ring. From the rear,
 there was nothing the Oliphant could do to dislodge him. Agile as a fox, he climbed to the edge
 of the basket, slashing and stabbing Manus’ warriors with his long and short swords. The
 warriors fought back, but Estel was the better fighter. He killed the first and took on the second.
         “Here!” Manus ordered, stopping Dzombor and handing Sam the reins. “You drive.”
         Estel killed the second warrior and jumped into the basket. “These Men fall like wheat
 before my scythe!”
         Manus ran to the back of the basket, stepping between Estel and his passengers.
         Estel eyed the hobbits standing fearfully behind Manus, regarding Elanor with an
 especially wicked grin. He could barely wait for the moment his opponents fell and she became
 his spoil of war. Laughing, he threw out his arms and his head back. “Aren’t there any Elves
 among you, to give at least a moment’s diversion from all this too-easy slaughter?”
         Manus stepped forward and drew his curved blades, wordlessly challenging Estel.
         “My friend?” Eldarion said, with a hand on Manus’ shoulder. He inclined his head and
 pointed at Estel with his eyes. “If you would not mind too terribly much, may I?”
         Manus wasn’t sure what to make of Eldarion’s polite-yet-odd request at the start of battle.
 Yet he appeared so confident, without thinking, he politely stepped aside.
         Eldarion stepped between them and faced Estel, drawing his long and short swords. “My
 mother’s parents were Elvish. So you could suppose I am half-Elven, if you wish. But whether
 you would or would not, I am the closest we have got, so I am afraid I will simply have to do.”
         “What tremendous good fortune I am having today!” Estel cried, and his delight was as
 evil as his malice. “The Crown Prince Eldarion Telcontar. You escaped me in the palace, Prince.
 But now there’s no one here to protect you and nowhere to run. Any last words I may convey,
 when next I see my dear, sweet, sister?”
         “That will not be necessary,” Eldarion answered, brandishing his swords. “I shall tell her
 myself, as she would have wished, I made your death quick, for once, we were kin.”
         Leaping forward, Eldarion attacked and their swords clashed.

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          For a moment Estel was surprised at the bravery, no, the temerity of this reckless and
 foolhardy soon-to-be-dead prince. But as Eldarion pressed his attack, the moment passed. With
 every stroke of their swords, Estel’s blood lust rose and he savagely commenced his own attack.
          Estel’s sudden ferocity drove Eldarion back towards Manus, Theo, Fastred and Sam, who
 had dropped the Oliphaunt’s reins and stepped in front of Rosie and Elanor, brandishing Sting.
 Reacting to the Orcelven, even in the bright daylight, his Elven blade glowed so bright it seemed
 at any moment it might burst into blue flame.
          Estel was larger than Eldarion, certainly stronger, and perhaps even faster. He was
 unquestionably more ruthless and vicious in his attacks. His heavy blows of ringing steel, sword
 on sword, drove Eldarion back. With his every step of retreat, Elanor felt the ice-cold hand of
 terror on her heart. Yet despite Estel’s onslaught, Eldarion blocked every blow. His backward
 progress slowed, until finally, it stopped. Blow after blow rang out. For a moment, the two
 seemed evenly matched. Then Elanor realized, on Eldarion’s face there was no fear, only a single
 minded focus and determination. Inexplicably, she felt a small but stirring hope.
          “I marvel at how you lunge with every thrust,” Eldarion told Estel. “If nothing else, I
 must admire your commitment.”
          That is when Eldarion went to war.
          He loosed a series of lightning attacks with hammering force. Each blow was deft, sure,
 precisely at the center of percussion. His dazzling skill drove Estel backwards with a surgical
 precision and a fluid grace, like a dancer in a deadly dance, without a single wasted motion.
          Estel stepped back, surprised. Eldarion hammered on. Estel was forced to take another
 step back, a third. It quickly became clear: Eldarion had been carefully taking Estel’s full
 measure, before ruthlessly commencing his true attack.
          Though pressed, Estel was not beaten. He screamed and redoubled his efforts. Yet every
 vicious stroke of ringing steel was blocked with ringing steel, and he began to sweat and grunt,
 breathing heavily, while Eldarion, exerting his maximum effort, was barely winded.
          “Well you use the ricasso on your bastard sword!” Eldarion taunted, striking another
 heavy blow. He stepping back. “It suits you. Clearly the weapon you were born to wield!”
          Estel screamed and leaped at him. Eldarion stepped aside and followed a clever feint with
 a perfectly pitched and surprisingly powerful stroke. One, and then another, ripping the bastard
 sword and short sword from Estel’s hands and flinging them out of the basket.
          For one shocked moment, as Dzombor recommenced plodding along, the basket rocked
 back and forth, and from side to side, Eldarion maintained his legs with grace while Estel fell
 back against the edge of the basket and hugged the sides. Their eyes met.
          Estel knew he was beaten.
          His disbelief flashed to fury and he grabbed at the Ring hanging on a chain around his
 neck. As soon as he wore it, he would vanish from sight, hamstring this whelp, then blind and
 kill the Oliphaunt. When it fell, his Orcelven troops would hold Eldarion down as he tortured,
 killed and raped his friends before the Prince’s horrified eyes. Then he’d carry him off to
 tortures, demanding a king’s ransom from Elessar, which Estel had no doubt Elessar would pay,
 just as he had no doubt that Eldarion would never leave his dungeons alive.
          Eldarion knew what would happen if Estel became invisible: he’d kill them and acquire
 three more Rings of Power. Two were Celebrimbor’s originals. This could give him a deadly and
 deciding edge on his next attack in Minas Tirith – against his family.




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          Eldarion’s sword flashed across Estel’s chest and dark blood spurted out. Estel screamed
 a horrible cry of elemental yet helpless fury. The clinging sound of metal on metal rang out. A
 golden Ring flipped into the air but the mithril chain on which it hung withstood the stroke.
          From deep in Estel’s chest burst a monstrous roar, shaking the basket. He whistled a
 piercing cry as Eldarion swung his sword again to sever Estel’s head.
          The Orcelven Prince leaped backwards, clearing the edge of the basket with his arms out
 in a suicidal jump that would bring him down to be trampled by Malvia’s stampeding Oliphant
 thundering close behind. But an answering screech sounded and a shadow passed overhead. The
 hooked claws and bat-like wings of a Fell Beast plucked Estel out of the air at the peak of his
 jump. Flapping its giant bat-like wings, it carried him swiftly into the sky at a sharp and
 accelerating angle. His few surviving Orcelven turned and rode away after him.
          “A bow!” Eldarion shouted, looking around. “Someone! Anyone!! Give me a BOW!!”
          In less than a minute, Manus had put a quiver and bow in Eldarion’s hands. By then, it
 was too late. The Orcelven riders were lost in the forest. Estel and the Fell Beast had flown away
 with the speed of an attacking hawk. Though still in sight, they were out of range.
          Knowing it was futile, Eldarion couldn’t resist loosing a swift and deadly arrow. It flew
 to a great height yet fell far short of the mark.
          “I’m afraid I’ve made a mistake,” Manus told Eldarion, clapping his shoulder.
          “What mistake is that, my friend?” Eldarion asked, fighting his frustration.
          “It seems you’ve met the Elfs!” Manus told him. “Maybe more than two!”
          “If you promise not to call them ‘Elf’s,’” Eldarion laughed, “for they would find it most
 offensive, I will introduce you to two more: my uncles Elladan and Elrohir. They will be very
 grateful that you have saved their wayward charge.”
          “Saved you?” Manus laughed. “That’s not what happened at all. You saved all of us!”
          Eldarion laughed and clapped Manus’ back, refusing to succumb to his dark mood.
 Manus showed him how to strap the hobbits into the seats lining the basket. The hobbits were
 thrilled with Eldarion’s display of skill, but shaken by the deaths they’d witnessed.
          Instantly, the skies filled with dark clouds. Rosie opened her brolly from Goldberry and a
 small book fell out. Lifting the handle and spreading the ribs of the canopy, she shielded Sam
 and Elanor from freezing rain. Manus grabbed a tarp and Eldarion. He huddled over Fastred and
 Theo, shielding the four of them from pelting ice.
          Explosive bolts of lightning shattered the Heavens with blinding white light and struck
 the walls of Bree. The blast nearly deafened them and the Oliphaunts screamed, fleeing in terror.
 Stampeding through the forests and trumpeting in fear, not even Manus could stop them.
          Yet soon, the lightning stopped. Then, the freezing rains stopped. As suddenly as they
 appeared, the dark clouds vanished and the Sun warmed their shivering bodies.
          Manus, Malvia and her lieutenants were able to slow and calm the terrified and
 stampeding Oliphaunts. Eventually, they brought them to a stop.
          “What do you think that was about?” Fastred asked Sam, after it was over.
          Sam had returned to the front and was standing beside Manus. Accepting the reins, he
 restarted the Oliphaunts. “That was the doing of a Wizard or I’m a Dwarf!”
          “Alatar,” Eleanor said, worried. She looked back at the distant walls of Bree.
          “Who or what is an Alatar?” Manus asked.
          As Elanor explained, the Oliphaunts resumed lumbering through the woods in a single
 file line, traveling at a steady pace. The walls and hills of Bree, and the horrors of their battle,
 slowly faded in the distance.

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         Sam guided Dzombor towards the Midgewater Marshes. Although he dreaded the
 stinging flies, it was the shortest path to Rivendell. He worried about taking Rosie and Elanor
 into danger. But they would have already been killed by Estel, or worse, if not for Eldarion.
         Yet when Eldarion approached, Sam could only think how badly he’d embarrassed
 himself in Mugwort’s office, ashamed of the offensive words he spoke to the Crown Prince.
         Eldarion went down on one knee beside him, looking east towards Rivendell.
         “I spoke out of turn and was disrespectful, your Highness,” Sam said. “There’s no
 excuse! And here, you saved our lives, my Rosie, and my darling Elanor. I… I thank you. I’m
 sorry, your Majesty, for what I said in Bree. I accept any penance you see fit to lay on me.”
         “Sam,” Eldarion told him. “While we are on our Quest, I have asked Elanor and the
 others to call me Eldarion. I would like you and Rosie to do the same. I will avoid asserting the
 privilege of my birth. Though for our survival, there may be decisive moments I will simply have
 no choice. But right now, I am going to claim this privilege and command you, as your Prince, to
 set aside your fears and do nothing, but enjoy the ride from atop this magnificent Oliphaunt.”
         Sam was never certain why, but for the rest of the day that’s precisely what he did.



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         Dzombor and the Oliphaunts made their way through the forest, traveling at a steady
 pace. Two hours before sunset, unpursued and unchallenged, they made camp near a stream.
         Manus, Malvia and her lieutenants climbed down their tall unfolding ladders and helped
 the others down. Elanor and the hobbits thanked them for getting everyone safely out of Bree.
         Manus glanced at Malvia, bowed, and kissed Elanor’s hand. “A pleasure, Lady Elanor.”
         Elanor was rarely affected by the attentions of Men, but this Manus Tarqus, son of
 Oduduwa, was something different. He intrigued her, to the overwhelming consternation of Theo
 and Fastred. Malvia was at least as wroth as the hobbits.
         Rosie called to Elanor and they went to the stream to fill their bottles.
         “We owe you our lives and I’m grateful,” Theo told Manus a little later, when alone. “If
 there’s anything I can do to repay you, just ask. But there is one thing...”
         “What is that, most honorable Théoden?” Manus asked, knowing what he would say.
         “Elanor is mine,” Theo answered, planting his thumb in the middle of his chest.
         “Oh come now!” Manus laughed. “I’m sure Fastred would disagree, and besides, I don’t
 see a ring on either of the Lady’s hands!”
         “There will be!” Theo told him.
         “Théoden! Manus!” Eldarion called. Stepping between them, he put one hand on Manus’
 broad shoulder and the other on Theo’s back. “This has been a great day in the history of
 Gondor! If any of us lives to tell our tale. I feel honored to have shared it with two such
 extraordinary friends.”
         By the time Rosie and Elanor returned, Malvia and her crew had pulled the baskets off
 their Oliphaunts and used the hides and poles to erect ingeniously designed tents.




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          “In Harad we call these gomondwanes,” Malvia told them. One of her lieutenants helped
 her set a great Oliphaunt tusk in place over the main entrance. “Those who travel with Malvia –
 go gamping in style.”
          Each gomondwane was round and the size of an Oliphaunt basket. It had four large
 square entrances, through which two people could walk abreast. Each entrance was adorned with
 Oliphaunt tusks, the honored remains of cherished and well-remembered companions who had
 served faithfully and were missed.
          War spears framed the entrances and their sharp blades were threaded through the roofs.
 At the ends of their long tips above the top of each gomondwane, the spears suspended hide-
 sided tower-platforms. Malvia’s guards stood watch on them, scanning the forest and skies.
          As the Sun dropped close to the horizon, one of the guards cried out. Eldarion, Manus
 and Malvia leaped into each of the watchtower baskets above their gomondwanes. From there
 they saw Silverfall running swiftly through the forest with Alatar on his back.
          “Hallo!” Theo cried. “You found us!”
          “I was nearly blinded by Glorfindel,” Alatar told them, dismounting. “Yet even half-
 blind, it’s hard to miss the trail of a stampeding herd of Oliphaunts.”
          “Glorfindel was the Elven Lord at the Gate?” Eldarion asked, not the least bit surprised.
          “He was,” Alatar confirmed.
          Though shaken, the wizard shared his experience and everything he’d learned. Not just
 what Glorfindel told him: truths he’d sensed hidden between Glorfindel’s words. Using his
 power, he had pulled images, thoughts and memories unbidden from Glorfindel’s mind, despite
 Glorfindel’s best attempts to hide them or deceive him.
          When he was done, Alatar heard about their escape from Bree, the crushing of the
 Orcelven, and Eldarion’s battle with Estel.
          “How can you see after Glorfindel blinded you?” Elanor asked.
          “There wouldn’t be much good being a wizard, if there weren’t a few enchantments I
 could use to heal myself,” he answered. “Still, I was almost killed. It was a very near thing. The
 power granted Glorfindel by his Rings, coupled with his Elvish might, are astonishing. His
 mastery has been aided by twenty years of instruction under Thüringel. She has mastered
 esoteric arts over ten thousand years, learning through the defeats and triumphs of Melkor and
 Sauron. This make either of them incalculably dangerous. Together, they’re a devastating pair.”
          “With foes like these,” Eldarion fumed, “I cannot afford to squander a single opportunity
 to dispatch one of our enemies! With Estel, I was too focused on his Ring. I should have aimed
 higher. I could have cut his throat! I had the perfect opportunity – and I failed.”
          “You distinguished yourself in combat and should be proud,” Alatar told him. “You
 bested a terrible enemy who got the better of both your Elvish uncles in Minas Tirith.”
          “They fought less than a minute… and Estel fled,” Eldarion noted. “Alatar. Do I correctly
 perceive – you are coddling me?”
          “Manwë forbid,” he answered, opening his arms and looking up. “I am merely
 suggesting, most worthy Prince, perhaps you should be kinder to yourself.”
          “No. I cannot afford to let these chances slip through my fingers! I can be, I must be,
 better.” He looked at Alatar and saw only acceptance. “You do not understand.”
          “I understand you hold yourself to an impossibly high standard,” Alatar told him. “You
 would be better served if you learned the lessons of mercy and forgiveness. Not for others, those
 you clearly possess. The time has come to apply them to yourself.”



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         “What do you intend to do with the Ring of Power you won in combat at the Prancing
 Pony?” Eldarion asked, intentionally changing the subject.
         “I rely exclusively on my sword and staff,” the wizard answered. “I have no use for it. I
 hope to find an ally I can train to use it, to help us find the others and defeat our enemies.”
         “Is there a good reason this ally should not be me?” Eldarion asked.
         “There is no one else I’d rather train,” he answered, taking it from his pocket. “But
 learning to use a Ring of Power is tedious, perhaps more suited for a soldier, than a Prince.”
         “I am a soldier,” Eldarion responded. “At the direction of my father, I was trained
 without distinction as a knight banneret. Yet still expected to lead my people at the forefront of
 every charge. I doubt your tutelage, if you agree to provide it, can be more demanding than those
 lessons I have endured since my fourth year. I learned the seven agilities – wearing armor.”
         “Since I’m carrying this Ring,” Elanor said, holding hers up. “And you’ll already be
 teaching Eldarion, would it be too much to ask if you’d teach me too?”
         “If this is what you both want,” the wizard answered, “which I see you do, not only do I
 have no objection, I would not want to do anything different.”
         “Thank you, my friend,” Eldarion told him, putting his hand on the wizard’s shoulder.
 “The people of Middle-earth will be better protected thanks to your wisdom.”
         “For your sake, I wish my wisdom were to thank rather than necessity,” Alatar said.
 Holding up the Ring, he handed it to the Prince. “When would you like to begin?”
         “Now, of course!” he laughed, delighted, finally possessing a Ring of Power. The setting
 Sun vanished in the West below Eärendil’s Star. The Moon rose in the East, sharing the sky.
 Together, they bathed the Ring in Moon and starlight. “Do you not agree, Lady Elanor?”
         “I do!” she answered.
         “I expected nothing less,” Alatar said. “Do you speak Quenya?”
         “As well as I know Rohirric,” Eldarion answered. “Not as well as Sindarin or Westron,
 but better than most.”
         The wizard began his first lesson. “Hold up your Ring and say, ‘Behold! The Moon
 glows, shining brightly in the sky.’”
         “Alae!” Eldarion said, holding up the Ring. “Ê síli erin a isil lúsina, aiya elenion
 ancalima.”
         Elvish runes flared to life with bright blue light both outside and inside the golden band.
         “That’s more than I asked,” Alatar said, meaning Eldarion’s extra words and the second
 set of glowing Elvish runes.
         “What does it say?” Elanor asked, wide-eyed.
         “This is one of the Five for Mortal Warriors,” Eldarion read, turning the band. “It is
 Rómhandë, the Ring of Sound. It is for listening, hearing and discerning truth. It is the Ring of
 Music, instruments, Spheres or Voices, whether Men, Dwarves, Elves, Maiar or Valar.”
         “It says all that?” Elanor asked.
         He laughed and lowered the Ring. “Our tutors have taught me and my sisters much of the
 Lore of the Rings since we were children.”
         “Can you do that with this Ring?” Elanor asked, handing him her Ring.
         He held it up and repeated the phrase. Two sets of runes sprang up along both sides of the
 golden band. He read with fascination. “This is also one of the Five. It is Oialëhén, the Ring of
 Light. It is for seeing things as they truly are, whether far away, hidden, large or very small.”
         “That’s perfect for me!” Elanor said. Delighted, she accepted the Ring from Eldarion.
         Alatar stepped to one side of their gomondwane’s entrance, “Let us continue, inside.”

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         Elanor sat on the ground with her legs crossed in the center of their gomondwane beside a
 small fire facing Eldarion. Both their eyes were closed, but she kept sneaking glimpses of him to
 make sure she was doing everything right. Their wrists were on their knees with their palms up,
 forefingers touching their thumbs and the rest fully extended.
         “The staff of a wizard,” Alatar told them, “to you is just a piece of wood. To a wizard, it
 is far more. A wizard’s staff has been grown from a seed created by Yavanna from his spirit. He
 must plant and tend it in the Gardens of Lórien. The tree is watered by the fountains of Irmo and
 Estë, and bathed in the tears of Nienna, Lady of Mercy. As it grows, it can take many forms.
         “It depends on how many and which of the Valar attend and bless the sapling. This
 makes it a unique blend of their gifts and the wizard’s power. It is more important to him than his
 legs or hands or feet. Just as they are, it is part of him, the most important and useful of his tools.
 A wizard uses his staff to focus and channel his power, and to manifest his will for a multitude of
 effects. This depends on his skill, training and native gifts, and those who have had a hand in the
 growth of his staff. The staff of a wizard is more powerful than any sword, arrow or club. It can
 do things none of those alone can, nor an army of them together. It is a precision tool and a
 bludgeon. It can slice a diamond, fell a mountain or drain the lowest sea. The staff of a wizard is
 rightly feared, for it is truly a remarkable thing. But never forget, it is not the staff that makes the
 magic, it is the wizard who wields it. For you, that is what these Rings of Power will be.”
         “Are,” Eldarion said.
         “When you add its power to your Secret Fire,” Alatar explained, “its music harmonizes
 with your spirit. However, before you can use them, you must first feel the difference and
 become attuned to the subtle alteration of your essence when aided by the power of your Ring.”
         He slipped the Rings on and off their fingers. “On-off-on-off-on-off-on-off-on-off-on-off-
 on-off-on-off-on-off-on-off-on...”
         Neither of them responded. Their breathing remained even and calm.
         He decreased the speed. “On off on off on off on off on off on off on off on off.” He
 moved them from their ring fingers to their little fingers. The gold no longer touched their skin.
 “On, off, on, off, on, off, on, off, on, off, on, off, on, off, on, off.” It was like soft, soothing
 music. He went slower. “On. Off. On. Off. On. Off. On. Off. On. Off. On. Off. On. Off. On.”
         Elanor peaked again. She saw Eldarion disappearing and reappearing. His eyelids
 fluttered. She feared he was falling asleep. But his back remained straight. His posture and
 bearing, though relaxed, never faltered, just as hers didn’t. She wondered what he was thinking
 about because to her, it was starting to get a little boring. “… on... off... on… off... on... off...
 on… off... on...” somewhat monotonous “off... on… off... on... off... on… off... on... off... on…”
         She wished he’d move on to the next lesson. She had sensed the Ring over her finger
 right from the beginning. Alatar seemed to be expending much effort for what had already been
 accomplished. Her thoughts began to wander and she realized how tired she was.
         A lot had happened: traveling to distant lands and experiencing terrifying events,
 completely foreign to anything she knew. She was exhausted and feared she might fall asleep.
         “…. on.... off.... on.… off.... on.... off.... on.… off.... on.... off.... on…. off...”
         She had been up for two days, twice. Her thoughts drifted more. She realized her desire
 to prove to her father she was worthy to take on any challenge, even those normally reserved for
 men, was almost a compulsion, driving her beyond what she thought of as her limits.
         When they first met, Eldarion seemed almost hobbit-like in his want for true
 companionship and his desire to be liked. But the deeper they went into Alatar’s training, the
 more remote and foreign he became. He had an entire kingdom at his disposal and the freedom to

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 do whatever he wanted, yet he was choosing to subject himself to this apparently inexhaustible
 tedium, whose only reward was the promise of more danger and conflict.
         She knew she now occupied one of the most privileged positions imaginable: receiving
 personal and private tutelage from one of the Istari, a powerful Wizard, beside the Crown Prince
 and future King.
         But she didn’t share Eldarion’s fascination for all things magical. They were disdained in
 the Shire and had been her whole life.
         She might become adept at wielding the power of this Ring (she still hadn’t quite gotten
 used to calling it hers), but did so out of need, not Eldarion’s boundless enthusiasm.
         She almost regretted not having given it to her father, the first time he asked. She might
 have, and done so happily, if he hadn’t been so uncharacteristically antagonist. She knew part of
 it was that she was growing up and her father was in the position of every father, suddenly faced
 with the realization his daughter had become a woman. But these ‘normal’ conflicts had been
 blown up out of all conceivable proportion by this new and far more terrible War of the Rings.
         “Elanor?” Alatar asked.
         “Oh, sorry,” she responded. Shutting these thoughts out, she focused on the task at hand.
 She had to accept that she’d made her bed and now she had to sleep in it, as her mother often
 said. Still, she envied Fastred, Theo and her parents, already asleep in their gomondwanes. She
 longed for Eldarion to tire, or more likely, for Alatar to sense she needed sleep.
         At first, she delighted watching Eldarion disappearing and reappearing. She had stifled
 laughter. Now, it had started to wear.
         “Elanor,” Alatar said.
         Her mind had wondered again. “Yes?”
         “Look at your Ring!” he told her.
         “It’s right here!” she responded, afraid she might have dropped it. Yet there it was, right
 where it was supposed to be – on her finger. “My nails are too long. I forgot to cut them. But at
 least they’re clean. Before you came to the Shire, I had an appointment on the morning of my
 two-and-twentieth, I obviously didn’t keep. But I’m not blaming anybody. I really should have
 gotten them done in Bree. But what, with fighting warlocks, lecherous Mayors and invading
 Orcelven, I barely had a chance to catch my breath, much less get my nails done.”
         Eldarion and Alatar merely stared at her, making her nervous, so she went on.
         “I’ve heard stories claiming the Kings of Númenor invented the practice of painting nails,
 when one of the first Númenórean kings painted his purple. There are legends of a certain rich
 and opulent Númenórean Queen named Tar-Ancalimë, who refused to be outdone by a man and
 had hers done with precious gems. For plain old silliness’s sake, in Bree I once heard a tale that
 Queen Berúthiel of Minus Tirith manicured her cats, putting white polish on the black cats and
 black polish on the one white cat. Oh! But Celendrian’s story is the best. She says, a certain
 Prince of Rohan, insists on a perennial pedicure, in red – for his horse!” and she laughed.
         They didn’t.
         “We can see your hand,” Eldarion said. “Even though you are wearing your Ring.”
         “Well,” she responded, embarrassed at having gone on so long about her nails. “That was
 the whole point of this exercise… wasn’t it?”
         “Yes, Lady Elanor,” Alatar affirmed. “That was precisely the point of this exercise.”
         Thankfully, they weren’t mad. Alatar allowed her to go to sleep while he continued
 working with Eldarion.
         “You know what?” she told them. “I bet it’s easier with my Ring. Here, you try.”

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         She handed him Oialëhén and went around to the far side of the fire. Pulling her sleeping
 mat close to the flames, she rolled herself up in a blanket.
         “It worked!” Eldarion said.
         As she drifted off, she wondered why he didn’t go to sleep. He had to be as tired as she
 was. He’d been up two days, as long as she had. Plus, he’d fought Estel and worked with Alatar
 as long as her, taking fewer breaks. She found his zeal and devotion inspiring, but confusing.
         As much as she enjoyed his company and shared as best she could, his enthusiasms, she
 didn’t understand what drove him to take on even more burdens than he already had.
         He was the Crown Prince. There were thousands of people he could appoint to learn these
 lessons. She was just a young hobbit trying to prove herself and find her place in the world.
         Their situations could not have been more different. Try as she might, and she tried again
 and again, she would never understand why anyone who could avoid them would accept these
 tedious labors. These thoughts often troubled her on their journeys. But she didn’t understand at
 the outset and she didn’t understand at the end: why would anybody want to be a wizard?



                   *              *               *              *              *



          She awoke the next morning and realized she’d slept a lot later than her usual hour before
 dawn, having learned it from a lifetime of rising to prepare her family’s food.
          The thought of hiring servants never crossed their minds. She loved cooking with her
 mother, learning new recipes, smelling the rich hearty scents filling the Hill, hearing the
 anticipation of her father, and brothers and sisters, as they laid out the morning meal.
          No doubt with Elanor and Rosie gone, Goldilocks now took her place as the apprentice
 Mistress to her sister, the Mistress Rose of the Gardner clan in Lindon. Good for Goldilocks. At
 least, that’s what she wished. The pangs hit her again: she hoped they were all safe. She felt
 again how much she missed them, envying their safety and unspoiled homely joys.
          Well, mostly unspoiled. At least, less spoiled than being attacked by warlocks and half-
 orc abominations. She wondered what would have happened if she hadn’t felt compelled to
 accompany Alatar on this mad, dangerous Quest. But she also knew, in the same circumstances,
 she would do it all again. Since her father said, there was no use crying over spilt milk, she
 pushed these unwelcome thoughts aside and opened her eyes.
          Eldarion was laying on the other side of the fire on his sleeping mat, wrapped up in a
 blanket, wide awake and watching her. “You really are quite lovely, even in sleep,” he told her,
 without guile or intent. “There is clearly something Elvish about you.”
          She blushed. It was one thing for boys in the Shire to fawn, quite another for the Crown
 Prince to give her such a wonderful compliment. They both knew she would marry a hobbit and
 he, a princess born and raised to the habit of rule. This made his unselfconscious and
 unselfserving complement even more endearing.
          “The year before I was born,” she told him. “Theo’s father and my father, with the help
 of a few others, raised the Shire. They freed us from the subjugation of Saruman. He had
 enslaved our people and destroyed our lands, felling trees and corrupting the soil. It was similar
 to what orcs did to the Pelennor Fields. My father worked hard to restore our land and he was

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 helped by a box of soil from Lothlórien. It was a gift from your great-grandmother, the Lady
 Galadriel. He fed a grain to favored seedlings and tossed the rest to the wind.”
         Eldarion smiled. “That explains it. Everyone still talks about Galadriel’s wisdom and
 beauty. My mother and father speak of her with a love and fondness bordering on reverence. One
 of my great regrets is she sailed to Valinor with my grandfather Elrond the year after I was born
 and I never knew them. I am grateful my great-grandfather Celeborn stayed in Lothlórien,
 though I am not certain why. He is loving and kind, as fine a great-grandparent as a child could
 wish, though he dotes on Elerith. Many say she takes after our great-grandmother Galadriel.”
         “The year your great-grandparents left was the year I was born,” she said. “I was lucky. I
 knew all my grandparents. But my grandfather Tolman died last year. We were very close.”
         “I am so sorry,” he told her.
         “Thank you,” she responded. “People tell me all my grandparents doted on me. But now
 only my grandmother Lily is left. She lives on my uncle Tom’s farm in a small cottage. My
 father talks about Frodo Baggins the way your parents talk about Galadriel. Frodo sailed with her
 and Bilbo, Gandalf – I mean Mithrandir – and your grandfather Elrond, on the same ship.”
         “So I have been told,” Eldarion said, a little sad. “I learned these things from the tale of
 ‘Frodo of the Nine Finger and The Ring of Doom.’ Their arrival in Valinor was a joyous event
 for them, yet a terrible loss for Arnor and Gondor.”
         “‘Frodo of the Nine Fingers and The Ring of Doom,’” she laughed. “I’ve heard the tale,
 and I like it, but I’ve always been struck by that terrible title. Whoever thought of it should have
 a look at my family’s Red Book.”
         “You have mentioned this Red Book before,” Eldarion said. “What is it about?”
         “Really?” she asked, sitting up. “I thought everyone knew about the Red Book of the
 Westmarch! It started with Bilbo’s first adventure to the Lonely Mountain. That’s where he
 found the Ruling Ring. They slew the dragon Smaug and won the Battle of the Five Armies.”
         “A brief outline of the battle was included in my history lessons,” he told her, stretching.
 “They always bring up the Ring. But none of my tutors mentioned the Red Book.”
         “‘Brief outline’?” she asked. “If they barely mention the Quest of Erebor, what do they
 teach you about history in the Palace of Anor?”
         Eldarion laughed and sat up. “Ilúvatar’s creation of Eä and Arda. The Treason of Ulbandi
 and Melkor. The awakening of Dwarves, Ents, Elves and Men. The establishment of Valinor,
 Tol Eressëa and Endor. Aulë’s creation of the Lamps. Yavanna’ creation of the Two Trees.
 Varda’s creation of the stars, and Aulë’s addition of the Sun and Moon. The Wars of the Jewels,
 and Wrath. The Kin Slayings. The Doom of Mandos. The history of the Silmarilli. The fates of
 the children of Hurin, Beren and Lúthien. The falls of Gondolin, Beleriand and Númenor. The
 establishment of the Kingdoms in Exile and the many Wars of the Ring.”
         She stared at him. “I’ve only heard about a couple of those. What about Sauron?”
         He looked thoughtful. “There is really no reason to know them all. The many tales are
 long and often very sad. They happened long ago. The world was a different shape back then and
 Sauron was nothing more than a lesser servant of Morgoth.”
         “That sounds complicated,” she told him. “Even if I had the time to learn it all, which I
 don’t, I don’t think I’d retain all that much of it.”
         “I do not recommend you try,” he said. “Most of the scrolls and records of the histories of
 Arda have been lost. The remaining few are fragmented, full of mistakes and contradictions.
 They call my mother’s people, the Elves, the ‘First Children.’ When in fact, Dwarves were First,
 Ents came Second. They always mistake the Elven Rings. My grandfather Elrond wore the blue

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 stoned Nenya. The history books record it was the Ring of Air. But Nenya means water, not air.
 He often used water to incredible effect. My great-grandmother Galadriel wore the white stoned,
 mithril banded Vilya. It means ‘Heavens’ in Quenya. Obviously, the Ring of Air. It was the true
 Ring of Adamant. The Gates of the Heavens were recorded as being fashioned of Adamant,
 sharing that name with white gems in Antiquity. In Lothlórien, she resisted Sauron more often
 and more effectively than any Elven Lord, using Sun and starlight in powerful ways. At least our
 history books attribute the correct gems to their Rings. I have tried to correct these errors,
 repeatedly. Yet I have been most sternly rebuked – despite my Princely status.”
          She laughed. “I’ve never heard you acknowledge it.”
          He looked pensive. “I grew up in a palace surrounded by courtiers. They all wanted
 something from the Crown and Royal Family. They saw me as the easiest and naivest way to get
 it. It was impossible for me to be unaware of my position. As for the errors in our scrolls and
 records, perhaps when I am King, I will have them all corrected.”
          “‘When I am King,’” she repeated. “It must be grand, knowing such an amazing destiny
 is out there, just waiting for you.”
          “I do not see it quite like that,” he said thoughtfully, sitting back. “It is actually rather
 boring. Most of what my father does is listen to land owners and merchants argue, and settle
 their disputes. He should establish a Council of Magistrates to adjudicate those matters and
 reserve his time exclusively for things more befitting a King.” He looked troubled. “At least it
 was boring, until Estel attacked us and ignited this new War of the Rings.”
          “There’s one thing I’m curious about,” she told him. “In Bree, you said your tutors taught
 you to write poetry.”
          He laughed. “There is quite a difference between ‘poetry’ and good poetry.”
          “Oh please,” she pleaded. “Won’t you share one of yours, with me?”
          “Well, I am not in the habit of reciting,” he said, considering. “Yet, since you have asked.
 This is the poem I have traditionally shared when introducing people to my admittedly modest
 efforts. It is called, ‘To Imagine.’”



                                The waves that break upon the beach
                                       Crash with a thunderous roar
                                And I can tell you why they do
                                       Their colors and much more


                                The many creatures of the depths
                                       Are all well known to me
                                And despite its depth and vast expanse
                                       It holds no mystery


                                When looking out upon the waves
                                       I tend to group and analyze
                                And I have measured all it holds
                                       And am not daunted by its size

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                               I have a friend who does not want
                                       To know the things I do
                               He does not know just why waves break
                                       Or even why they’re blue


                               But when we both look upon the sea
                                      We don’t see the same things
                               I? Dry facts. But he, great dreams
                                      And sweet imaginings


                               To him the breaking of the waves
                                      Are seductive sea nymphs calling
                               Or time lost echoes from the deep
                                      Of Beleriand and Númenor falling


                               Beyond the horizon islands wait
                                      Rich with buried treasure
                               Or caves and bays where mermaids swim
                                      Who live to give you pleasure


                               Upon high seas Númenóreans fight
                                     Against Corsairs seeking plunder
                               Ulmo and Melkor’s battle is heard
                                     Within Belegaer’s thunder


                               For all my knowledge I don’t hear
                                       The songs the Valar sing
                               So now I know, to know is nothing
                                       To imagine is everything


        “That was amazing,” she told him.
        “Good morning,” Alatar said, entering their gomondwane. He was followed by Fastred
 carrying wood and Theo carrying a freshly killed rabbit.
        “You slept a long time,” Fastred said, stacking the wood beside their low fire.
        “I’m not used to traveling this much,” she responded. “Or fighting. Or magic.”
        “You do not like it, do you?” Eldarion asked.
        “I’ve always wanted to travel and meet more Elves,” she answered. “See Rivendell,
 Lothlórien, Minas Tirith, Edoras and Belfalas. Meet King Éomer and Queen Lothíriel, Prince
 Faramir and Princess Éowyn, and their children. Though I wish I’d never seen someone die. For
 hobbits in the Shire, magic is at best, an acquired taste, which I only now seem to be acquiring.”

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          “Speaking of magic,” Eldarion said, handing her his Ring, and she put it on, never
 vanishing. “Perhaps you would like to see what you can do with my magic Ring.”
          “The Lady Elanor is being modest,” Alatar told Eldarion. “Not only is she keeping up
 with you, something I doubted few could do, in some skills she’s surpassed you.”
          “Then I will redouble my efforts,” Eldarion said, smiling and nodding to Elanor. “I would
 feel foolish being bested in my passion by a hobbyist.”
          “What’s wrong with a hobbit being good at magic?” Fastred asked.
          “Fastred,” Elanor laughed. “That’s not what he said!”
          “Oh,” Fastred responded, feeling foolish. “Sorry.”
          “Can we continue this after breakfast?” she asked, standing up and stretching. “I’m
 hungry, and my hands are itching to skin and stew that rabbit!”
          Without waiting for an answer, she took the rabbit from Theo and borrowed his knife.
 She went to the chopping block at the edge of camp. In an apron, her father was on his third.
          “Theo found a warren,” Sam said, making room. “Merry’s done an excellent job. He’s as
 good a hunter as a father could wish. He’ll make some lucky maiden hobbit a fine husband.”
          “I like Theo,” Elanor said, putting on an apron and chopping the head off her rabbit.
          “Fastred is a fine young hobbit too,” Sam said, staring at the severed head. He wiped his
 knife on his own apron and started on the next rabbit. “Ed’s done just as good a job with Fastred
 as Merry’s done with Theo.”
          “I feel the same about my father,” she told him, chopping off the extremities and gutting
 the entrails. “Look at me. Here I am, hobnobbing with wizards and future Kings, as
 unselfconscious as a barmaid in a tavern!”
          “Your mother was a barmaid,” Sam said, looking sad. “There’s nothing wrong with that.”
          “Father…,” she said. “You know what I meant.”
          “I’m sorry, Elanor,” he told her. “You’re right.”
          She peeled back the skin. “We have to get past this whole ‘Ring’ thing. All this angst and
 ill feeling isn’t doing any of us any good.”
          “I want to,” Sam said, deftly quartering his third rabbit. “No. That’s not right. I will. This
 is the last time I let myself act like this. Alright? I just want you to know, the reason this affects
 me so, is because you’re the apple of my eye, my love, and that’s as plain as I can be.”
          That stopped her. She looked up and tears filled her eyes.
          He looked down and started on another rabbit. “This whole ‘Ring thing,’ as you call it,
 puts you in danger. I know you know all this and I’ve accepted your decision, but the thought of
 you in danger will always be hard for me.”
          “That’s why I love you,” she said, going around the block and giving him a hug.
          They finished cleaning the rabbits and took them to her mother at the main campfire.
 Malvia and her people had dug up potatoes and gathered wild vegetables. They cooked them,
 serving a rustic but hearty breakfast. Afterwards, they packed the rest for lunch and dinner.
          Manus, Malvia and the Haradrim started breaking up camp. They dismantled the
 gomondwanes and rebuilt the baskets on the backs of their rested and refreshed Oliphaunts.
          Rosie, Elanor and a few others went to the stream to clean the pans and dishes.
          Eldarion offered Fastred and Theo lessons in sword play and dagger craft. Fastred had no
 weapons training and politely declined, joining Sam leading the Oliphaunts to the stream.
          Theo was excited to add new lessons to his admittedly modest training. He spent the hour
 sweating and grunting under Eldarion’s expert and patient tutelage.



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          Eldarion was showing him how to use unfamiliar swords as they returned from the
 stream. “When you pick up a blade, set it on your fingers, like this, to find the Point of Balance.
 It is called the ‘sweet spot:’ the best place for delivering the most devastating blows.”
          Theo did as instructed and balanced the blade. Eldarion helped him adjust his grip. This
 allowed him rotate the pommel far more easily. He could now smoothly thrust in any direction.
          To Elanor’s eyes, Theo seemed an exemplary pupil. She noticed how brave and fine he
 looked wielding a sword. She asked Eldarion, “When Estel attacked us, he looked much bigger
 and stronger than you. But you faced him with such confidence. What made you sure you were
 the better swordsman?”
          “Sometimes it takes a great deal to distinguish one swordsman from another,” he
 answered. “Though sometimes, very little: the way he wielded his sword atop the Oliphaunt. It
 may not seem like much, yet to the trained eye, the glaring deficiency in skill was obvious.”
          Before they climbed their ladders, Sam asked if he could speak to Alatar alone. The
 wizard agreed and they stepped away from the others.
          “When Estel attacked us outside Bree, I think he was drawn by Elanor’s Ring,” Sam
 confided. “When you first came to Bag End, you said you wanted to teach me how to ‘hear’ all
 the Rings. They’ve supposedly been calling to me. Can you really teach me to find them before
 he does?”
          “Yes, Sam,” Alatar affirmed. “I have never had a single apprentice and now I have three!
 It’s an embarrassment of riches. When would you like to begin?”




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                                       Chapter 12




                          The Silence That Devours




         The trees of the Chetwood forest grew too close for the Oliphaunts to get through. They
 were forced to skirt the edges. Outside the woods there lay barren fields. Sloping up and down in
 the far distance rose the Weather Hills.
         As they progressed, it got harder to find game or good pasture and water for their
 Oliphaunts. But Eldarion seemed to know these lands as if born here. They had never gone too
 far before he led them to green fields and running streams.
         In the middle of their third day from Bree, one of the lookouts shouted. “Vultures!”
         Everyone went to the front of their basket.
         Sam was driving Dzombor. “Which of our enemies use vultures?”
         “They’re not your enemies,” Manus told him. “They’re mine!”
         “Yours?” Eldarion queried.
         Manus collapsed in his seat at the front beside Sam. “I knew I shouldn’t have gotten out
 of my gomondwane this morning.”
         From deep in the forest came the sounds of stampeding feet and breaking wood. Like a
 wave moving towards them, the trees were being flattened and crashing to the ground. As the
 leaves and branches gave way, the high arched backs of marauding monsters rose above the tops.
         The creatures broke into a clearing. Catching sight of their caravan, they charged. About
 the same size of their Oliphaunts, that’s where all similarities ended. The monsters moved like
 lumbering battering rams, equipped with stout conical bodies and short powerful legs. Their
 bowed backs were hairy and ridged. They had small angry eyes with bone white pupils, like dead
 fish. The strangest parts came from the center of their large noses: two thick, hairy horns rose
 higher and sharper than any lance or pike.
         “What are they?” Elanor asked.


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         “They look like drawings of the beasts Sauron’s lieutenant Gothmog used to pull the
 battering ram Grond, during the Battle of the Pelennor Fields,” Eldarion told her.
         “They’re known by many names,” Manus explained. “Elasmotherons, chipekwe and
 asekamoks. They’re the wickedest and powerfulest servants of the greatest evil our world has
 ever known! In Harad we call them rikedons.”
         He opened a low compartment. Withdrawing a silver horn, he blew three powerful blasts.
 Taking the reins from Sam, he turned Dzombor around and the other Oliphaunts followed.
         “You have turned us back towards Bree!” Eldarion said.
         “Of course I have!” Manus cried.
         “Are they servants of Melkor?” Alatar asked.
         “There are other evils in the world, older than Melkor,” he answered. “Rikedons serve the
 Great Evil, bringer of the Silence That Devours. The only one who has ever successfully
 opposed the Great Evil is Incánus the Gold, a Wizard of Aman. Incánus wanders the lands of the
 South, helping the people of Northern, Greater and South Harad.”
         “I know Incánus,” Alatar said. “He’s of my Order. We sailed to Middle-earth together.”
         “Incánus has helped the Pygmies, Black Elves and Men of Harad resist the Great Evil for
 centuries,” Manus told him. “It’s deadlier than Melkor!”
         “How can that be?” Elanor asked. “I thought Melkor was the source of all evil.”
         “Tell us what you know of this Great Evil and the Silence That Devours,” Alatar said. “It
 may help us find a way to defeat their servants.”



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         Though a citizen of Harad, I was born outside our borders on the caravan trail atop an
 Oliphaunt. I am the son and heir of Oduduwa and Tihisis, daughter of Oromiyia of Tarqus. I
 learned from them our family business, and many other things, including the events which began
 before any others. These things would come to define my life.
         Growing up with Oduduwa, the greatest merchant trader in the history of Harad, was a
 glorious adventure. But life on the caravan was often dangerous. Whenever we traveled, he took
 with us his armed guards and they tutored me since infancy in the warrior arts. Journeying across
 the world, I’ve witnessed things most people have never dreamed. As travelers bringing riches
 and tales from distant lands, my family was welcomed in every land by every King and Queen.
         I was a child when the beautiful Princess Akamai Merkaba ascended the throne of
 Greater Harad and became our Queen. Much later, she married King Dacoron, a vassal and ruler
 of her tributary kingdom of East Vazimba. It was a happy union and she bore the Crown Princess
 Malvia. But not soon after, the tragic death of Dacoron marred their happiness and Akamai was
 forced to raise Malvia alone.
         My father became a trusted servant of the Queen and sent me trading with my uncle
 Kekorum to experience The Great Journey. It’s a rite of passage in our family. All worldly
 traders are expected to do it.




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          Together, we traveled from the bottom of South Harad to the edges of the untraversable
 ice in the Northern Wastes. Above Dor Daidelos and the ice mountains of the Region of
 Everlasting Cold, not only there are the stars strange, the Sun and Moon are strangers!
          It was on that journey I learned the maps in the north are mistaken. The lands of Harad
 are much larger than your charts show. Five North Kingdoms could fit in Harad and we’d still
 have room for more. But even our lands are small compared to those in the Far East: Rhûn,
 Hildória, Kalórmë and Dor Daedeloth, ruled by the Warlord Thû, stretch from the frozen shores
 of the Cape of Forochel in the west, through the Wild Woods and Orocarni Mountains, to the
 beaches of Ekkaia and the East Sea, even to the Hither and Dark Lands in the south.
          It was there my uncle died defending our caravan. His responsibilities became my own.
 Since he was the best teacher, I did all right. Ever since then from one end of the world to the
 other, I have traveled the width and length and breadth of all those lands, and many more you
 haven’t heard. You’ll never meet a man who’s journeyed farther than Manus Tarqus!
          During my expeditions I’ve met kings and queens, emperors and empresses, wizards,
 witches and warlords, pygmies, dwarves, giants, trolls, collocoll, elves both light and dark, and
 dragons good and bad; and many other creatures besides. I even wrote a song about my journeys:



                              The Sun had risen casting its glow
                                      Across the land and upon the sea
                              I fled both Khand and Mordor’s realms
                                      Where I had wandered fearfully


                              Led by its light to the Encircling Seas
                                     I heard the Ocean echoing
                              The whispered yearnings that in my dream
                                     I’d heard a demon lover sing


                              To the edge of the world my footsteps led
                                      Where I glimpsed within each cresting wave
                              A pool of shadow free from light
                                      Like visions of an icy cave


                              Within these shadows something lived
                                     That light and open space deny
                              The dark confines of secret realms
                                     In which imaginations fly




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         When at I returned I was full grown, bearing many treasures and great wealth. Joyous for
 our family was my homecoming. Just before my return, Greater Harad had narrowly avoided a
 ruinous war with Swahillogûz, the White Elf Abomination and Regent of Northern Harad.
         Though white, Swahillogûz was born from normal parents among the Black Elves. He
 grew up on a mountain more full of gems than the Silvertine, twice as high as the Lonely
 Mountain, and ten times hotter than Orodruin: Orajkilim. Some say, the glittering white on the
 mountain slopes crept into his mother.
         The Black Elves tried to be kind to Swahillogûz, but he was too strange. He became
 outcast among his people. Nor did he find peace among the Pygmies of the jungles or the People
 of the plains. Rejected by everyone, he went into the Great Desert seeking death at the hands of
 the Silence That Devours.
         For many years, everyone thought he died. On one too bright day, Swahillogûz came
 back: not as an unliving thrall of the Silence, the only things that had come back, he returned as a
 living, breathing servant, though others call him slave.
         Wielding the power of the Silence, Swahillogûz possesses a gruesome weapon. He brings
 the power of the Silence That Devours out of the desert and into our homes. This is how he
 tamed the warring tribes of Wildmen in Northern Harad and made them his terrible armies. He
 has tried to conquer Greater and South Harad again and again. But through our long histories,
 we’ve managed to hold the line, although it hasn’t been easy.
         Stopped by Greater Harad, Swahillogûz and his Wildmen turned to the north for
 conquest. In the Second Age, the allied armies of Swahillogûz and Mordor met at the River
 Gwathló and attacked the forces of the Northern Elves and Númenóreans.
         In the ensuing battle, the armies of Mordor and Northern Harad were destroyed. The
 Regent of Morder known as Sauron, servant of Melkor, was rescued from Gil-galad and Tar-
 Ciryatan by Swahillogûz and delivered safely to his concubine, the dread Thüringel of Mordor.
         This was when the first bond in the Collusion of Nations was forged between our foes.
 Together, they rebuilt their decimated armies and resumed waging war against Greater and South
 Harad in the south, and in the north against Belfalas, Pelegir and Gondor.
         Amid these and other wars, in 2272 of the Second Age the Númenórean King Ar-
 Pharazôn became a traitor to his allies in Middle-earth. His navies invaded, but the combined
 might of the vast armies of Northern Harad and Mordor were more than a match for the small
 shipboard forces of the Númenóreans.
         But during the pre-battle war-council, Sauron asked Swahillogûz to retreat from the field.
 He wanted to trick Ar-Pharazôn into taking him prisoner to get a free ride to Númenor.
         Whatever Sauron did there, it was bad. Númenor sank to the bottom of the sea.
         Since that time, Swahillogûz has turned his attention to Greater Harad and our people
 have been at war ever since. To stop the bloodshed, Queen Akamai offered Swahillogûz a truce.
 As surety of her fealty, she promised him the hand of her only daughter, the Crown Princess
 Malvia. The Queen hired me to transport Malvia to her groom.
         Never having met her, I learned the rumors of the legendary beauty of the Crown
 Princess were true. I was smitten. She wasn’t. She saw my eyes lingering on her face (just her
 face) and told me I wasn’t fit to look on the future Queen of the United Kingdoms of Northern
 and Greater Harad. I was furious, but I’m professional – I did my job.
         I delivered Malvia to Swahillogûz in his capital city of Kakasmegga, ahead of schedule
 and under budget. Malvia was gracious and delighted when meeting him. She smiled and
 laughed at his dumb jokes, but secretly, the White Elf Abomination horrified her.

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          By this time, I had collected my fee and returned to camp. We were prepared to leave at
 first light. In the dead of night, Malvia came to my tent, begging me to smuggle her out of
 Northern Harad and take her back to Queen Akamai.
          Well.
          I wasn’t sure I was allowed to break my signed contract with the Queen. She had trusted
 me to deliver her daughter as promised and I’d never failed to make a delivery. Breaking my
 contract could destroy my reputation and endanger my family business.
          There was also the matter of Akamai declaring me a traitor and having me executed.
          But Malvia said she had discovered a terrible secret and the source of Swahillogûz’s
 power: the origin of the Silence That Devours.



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          Before the beginning of Time, there were two spirits moving in the great nothingness.
 There had to be two. If one moved but didn’t have anything by which to measure its movement,
 it would have been the same as standing still.
          Some people think of one as movement and the other, stillness. Others divide them as
 thought and emotion, being and anti-being, fire and ice. In Hildória, before the East Sea and the
 shores of Kalórmë, where I have also been, people call them Yin and Yang.
          Some think of them as opposites: God and Devil, Osiris and Set. Others see them as
 siblings or brothers; Apollo and Diana, Cain and Abel. Many think they are masculine and
 feminine; male and female, man and woman, brother and sister, wife and husband.
          Call them whatever you want. One thing is certain: in the beginning they were very close,
 close in origin and in original cause and effect. But it is also clear they were never equal and in
 fact, they were very different.
          In Harad we know the truth: they couldn’t have been more different.
          Whatever the similarities and differences, one came first, the second, second; and they
 began in Harad – everything did. Some call them Ilúvatar and Melkor. Those beliefs are false.
 Men and Elves, Valar and Ainur, and Melkor too, were creations of Ilúvatar, not His brother,
 sister, or anything close to His equal.
          It was Ilúvatar’s thoughts that gave birth to the Ainur and He told them – sing. Calling
 the song, the Ainulindalë, He used it to create the world. It wasn’t jealousy that drove Melkor
 away, he had a crappy voice. You call it Discord. We tell it like it is – the guy can’t sing!
          But before the Discords, before the Ainulindalë, before even the thoughts of Ilúvatar,
 there were two spirits flying over Harad and they took the form of the first birds. One, we call
 Benu and the other, Ban Ban. When Benu opened his beak, he created sound from which Ilúvatar
 later created Music. Maybe in the north, Ilúvatar is another name for Benu.
          Ban Ban didn’t move, didn’t think or open its beak. From its unmoving stillness flowed
 the Silence That Devours.
          The Silence became the Banaean and the Banaean silenced Oblivios. Ban Ban gave the
 Silence secret Heat. The Heat boiled water and the water began to whistle. The whistles became



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 Music, this became the Ainur and they sang the Ainulindalë. Pleased with their song, Ilúvatar
 rewarded them by infusing it with Secret Fire. In the North, you call it Fëa.
          In Harad, we call it Life.
          But the Silence That Devours exists outside Life. It doesn’t possess the Secret Fire. The
 Great Evil lives apart from Ilúvatar and His creations.
          Outside Eä, maybe beyond the Void some call Other, it exists outside the realms of
 motion, music and time.
          In the center of Harad, so long ago that memory has forgotten the number of years, there
 once grew the most beautiful gardens. There the flowers never withered, giving endless beauty
 and pollen for bees, who produced endless honey. The trees were always full of the sweetest fruit
 at the peak of ripeness and the fields were full of the biggest variety of crops. These were always
 fresh and ready to be picked without having to plant or harvest. The fruit never spoiled or
 withered and the garden stretched from the mouth of the River Anduin to the tip of South Harad.
          Everything was fertile and green in the Midsummer of the World.
          Every creature, be they fishes or Beasts, lived in friendship and peace. There was no
 sickness or aging, nor jealously or greed, not even violence or war. There wasn’t anything to
 fight over because there was more than enough of everything for everyone. The people of Harad
 were of all races and Harad was the heart of the greatest beauty.
          At the height of the greatest heat on Midsummer’s Day in this first golden Summer, the
 Sun reached the top of the sky and burned at its zenith. It was so hot and bright, even Eru
 Ilúvatar and the Valar slept, waiting for the heat to go down.
          All was quiet and still.
          The Silence That Devours came in hushed noiselessness, while the thoughts and dreams
 of the Valar were in the north. It crept in a Silence more deadly than Melkor’s Discords.
          The Silence is not cold, dark or a black shadow, like men in the North paint their fear. It
 is hot, dry, bright and blistering. The Silence That Devours dries rivers and lakes, melts snow off
 mountains, grinds rocks to dust-like grains of sand to flay entire cities, like an avalanche of
 daggers driven sideways by the wind, laying waste to peoples and whole populations. If this
 blistering heat has a name other than the Silence That Devours – we don’t know it.
          The fields withered and fruit fell rotten from the trees. The first lack was felt. The first
 fears and jealousies were kindled in hot lustfulness. The first blow was struck in the first violent
 act and the first murder led to the first war. The friendship and harmony of the races was
 shattered. People left Harad. We experienced the first Winter, ending the Great Peace.
          In Harad, we mourn the loss of friendships between the races and work to restore the
 world to the peace and harmony that existed before the Great Migration.
          Where the Silence That Devours appeared in the Gardens of Harad, there now exists a
 terrible Wasteland. It’s an almost endless desert, unlike any that existed before. And it is
 growing. It wants to drink the ocean and take what little bounty is left for Men and Beasts, who
 fight in endless violence, warring over meager leavings of what was once a boundless feast.
          In the vast, uncharted loneliness and emptiness of Harad, the Silence That Devours grows
 unheard, unseen and unacknowledged. When the Men of the north, east and west hear rumors of
 the Silence That Devours, they’re too scared of what they don’t understand to admit it is real.
 They lie to themselves and everyone else. They drive themselves crazy lying, so they can deny
 the Silence That Devours exists. They fooled themselves into believing their own lies and then
 made everyone else deny the existence of the Silence.



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         Now they get mad at us, like it’s our fault. They say the truth we tell are lies, instead of
 the greatest evil, the greatest danger, our world has ever known. This is how they spread their
 willful ignorance and terror, their madness and evil.
         That which fuels the growth of evil – is Evil.
         To help us face the Silence That Devours, Black Elves came from the South, bringing us
 their Fire. Unlike the Valar in the north, they didn’t keep it a Secret. They shared it with
 everyone. Elves traveled across our lands and met the Pygmies, our tiny jungle builders.
         Pygmies showed Elves how to make arrowheads and bows from Yew trees, beginning the
 friendship that’s always been. Working together, Elves and Pygmies built the greatest city that
 has ever existed in the history of the world: Zerzura, the City of Gold, silver and jewels.
         When the Silence That Devours came to destroy it, they slid the City onto a cloud and
 floated it into the sky. It flew above the stars, far away to distant Hither in the South.
         Cheated of his conquest, Swahillogûz enslaved the Pygmies, forcing them to make copies
 of his bident blades. Bidents spread the Silence That Devours to every corner of the world.
         All bidents come from Swahillogûz’s first. Made of tikal, galvorn and mithril, it’s the
 only known alloy of all three. But they didn’t invent tikal. They stole the recipe from the
 Sisterhood of the Elves of South Harad. The gnomes of Northern Harad, which you call Dwarves
 and we call Pygmies, have been making bidents for Swahillogûz ever since. If he isn’t stopped,
 Swahillogûz will make turn everyone in the world into a slave of the Silence That Devours.



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         Before we left North Harad at dawn to return home, Swahillogûz came to my camp with
 his warriors and accused me of kidnapping Malvia.
         I’d known for sure there was trouble ahead, but I never imagined how much. When she
 vanished from the palace, her guards told Swahillogûz about our bad blood. He brought his
 guards and said I was the only person depraved enough to steal her. If I didn’t give her back, he
 promised my death would be the slowest and most painful anyone ever suffered.
         Well!
         There’s one thing you should never do to Manus Tarqus, son of Oduduwa of Greater
 Harad: don’t ever threaten him.
         Unfortunately, Swahillogûz’s army had surrounded Manus’ camp. Before they could
 attack, from inside my personal tent, Malvia screamed. They found her all tied up. Removing the
 rope, she thanked Swahillogûz for saving her from the evil Manus Tarqus.
         Swahillogûz was going to kill Manus on the spot and make him an undead servant of the
 Silence That Devours, but Malvia demanded that he deliver on his promise to make Manus’
 death as slow and painful as possible.
         It wasn’t looking good for Manus!
         At Swahillogûz’s palace, he was locked in the lowest dungeon and his guards were
 quintupled. In the morning, Swahillogûz would begin the years of torture he had promised
 Malvia he would start before their wedding.



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         But Malvia wasn’t a warrior princess for nothing. She and the Sisters of Harad attacked
 the dungeon at midnight, killing the guards and breaking Manus out. Making their escape, they
 found his captured Oliphaunts and freed them, riding out of Kakasmegga together.
         During their many battles and legendary exploits which followed, they often joined the
 wizard Incánus the Gold and the Pygmy Prince Pyushum. With their help, Manus and Malvia
 fought their way over many lands to return home to the Palace of Harambee.
         When they arrived, Queen Akamai was furious. Not because Manus had rescued Malvia:
 the Queen was in love with him. She had planned on making him one of her consorts.
         She thanked him for bringing Malvia back and stripped him of everything as punishment,
 Oliphaunts, fortune, citizenship, and she banished him from her kingdom.
         On his way to eternal exile, Manus stopped at his childhood home to say goodbye. But
 Swahillogûz had sent assassins ahead of his planned invasion and Manus arrived too late. His
 family had been turned into undead servants of the Silence That Devours.
         Manus would have died too and welcomed death, but Malvia had enlisted the help of
 Incánus, Pyushum, and Malvia’s ever faithful Sisters of Harad. They arrived riding Manus’ own
 former Oliphaunts, killing Swahillogûz’s assassins and Cryptid servants.
         With proof of Swahillogûz’s invasion lying dead all around them, they went back to
 Harambee and warned Queen Akamai. She assembled the army of Greater Harad and there
 followed a terrible battle. Although a great many people died, together they saved the Kingdom.
         Afterwards, Akamai spared Manus’ life as a reward for his service and she allowed him
 to travel north with Incánus and Malvia, as part of the Queen’s diplomatic caravan to the North
 Kingdoms. But the Queen made them swear they’d stay true to her wishes and be nothing but
 Princess and servant. They agreed and the Queen sent her personal Royal Guards with them for
 protection, and to make sure Malvia and Manus kept their promise.



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         “How does the Silence That Devours make slaves?” Alatar asked.
         Manus went to his locker at the back of the basket and took out a scabbard. Unlike the
 curved scimitars the Haradrim carried, it was straight. Longer and thicker than any they’d seen, it
 looked as if it held a pack of blades. The thick black pommel bore a black hand guard affixed
 with two black spikes. Manus withdrew a long black blade. It tapered abruptly to a fine point.
         The metal was black. Not matte like Númenórean stone or shiny like gems, black as a
 shadow casting no light, a mirror that doesn’t reflect, a thought or feeling that never was. He
 turned the blade and they saw it was two blades. They were set side-by-side, an inch apart.
         “This is a bident,” Manus said. “The double blade that extinguishes the Secret Fire and
 silences the Music of Ilúvatar. Anything dealt a mortal blow from these blades not only dies, in
 death their bodies live on, giving form and function to the will of whoever killed them in service
 of the Silence That Devours.”
         Passing the blade to Eldarion, the others crowded around. From a cage, he pulled a rabbit
 kept to breed more. “The Elves of South Harad say bidents kill, but they don’t destroy the body.
 They dead remains are empty, except for the will of whoever drove the bident to devour the

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 Secret Fire for the Silence. That person becomes the lifeless body’s Master. These animate,
 unliving bodies are called Cryptids. You can recognize them by their eyes. When their Music is
 Silenced and the bident devours their Secret Fire, the heat and dryness turns the pupils white.”
         He took the bident from Eldarion and stabbed the rabbit. It screamed. Its eyes went from
 black to grey, getting lighter and lighter. Although the rabbit’s mouth stayed open, its scream
 faded until its eyes were white and its scream had turned to Silence. For a moment, the Silence
 That Devours filled their minds and they couldn’t think.
         When Manus withdrew the bident tips, no blood flowed from the wounds. The rabbit
 stopped breathing and its white eyes didn’t move.
         He set the dead rabbit on the floor. “Hop!”
         The unliving rabbit – hopped.
         “Hop hop!” he cried.
         The unliving rabbit hopped twice with jerky motions, a mockery of life.
         From his locker, Manus took out a bejeweled scabbard. He withdrew a curved black
 blade and the air grew cold. The surface of the blade misted, producing crystals of black ice.
 “This is Apocope, the most treasured Morwan in Greater Harad. In your Westron tongue, it’s
 called a Dark Sabre.”
         “The blade is thick as a cleaver,” Eldarion noted. “Almost more of an axe than a sword.
 Wielding it would require great strength and inflict massive injuries.”
         “Yes!” Manus said. “It can cut a man in half or rip through metal armor if swung with
 enough force, especially from the back of an Oliphaunt or even just a horse.”
         “Why do you not wear it instead of your scimitars?” Eldarion asked.
         “Apocope wasn’t forged for killing living things,” he answered. “It can be used for that.
 Usually we don’t. Only a Black Sabre can destroy a Cryptid.”
         He slashed at the unliving white-eyed rabbit, still grotesquely hopping in beats of two.
 Where the blade struck, the unliving flesh crumbled to crystalline gravel. In two unliving pieces,
 the legs spasmed and kicked, trying to hop in beats of two.
         Enraged by the terrible memories of his family flooding his mind, Manus hacked at the
 Cryptid. Furious and with wild eyes, he chopped it into a pile of crystal pebbles. He used the
 blunt end of the Saber and kept hitting it, grinding the pieces to powder.
         “Manus!” Alatar said.
         He stopped. Seeing their worried looks, he sheathing his Dark Saber, wiped his sweaty
 brow and took his seat. “If you saw what Cryptids did to my people, my family…”
         “I’m sorry,” Elanor said.
         The pile of gravel spread across the floor with every one of Dzombor’s strides. Manus
 opened the basket door and swept the gravel out. From the open cupboard, he took out a third
 scabbard. It looked like a long dagger. Unsheathing it revealed a double blade with razer-sharp
 edges and needle-like points.
         “This is a biger,” he told them. “There’s no living thing the tips can’t pierce and turn into
 a Cryptid. Cryptids don’t form slowly after sickness or ‘fade’ like people wounded by Morgul
 blades. They drop dead. Although the dead body lives on. It becomes a nameless thing enslaved
 by the Master of bidents, the Silence That Devours. This is the Evil the people of Harad have
 fought since the Birth of Men. This is the Enemy that wants to take the place of people, put out
 the Secret Fire of Ilúvatar and return everything to the Great Void, as it was before thought,
 music or Fire. In Harad we believe to this danger, Ilúvatar has been deaf.”



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          “What,” Eldarion asked, “would happen if the Master-ring of Middle-earth traveled to the
 Great Desert and sang in the heart of the Silence That Devours?”
          “We hope it would destroy the Silence,” Manus answered.
          “These rikedons are servants of the Silence?” Alatar asked.
          “They’ve been hunting our caravan since we skirted the Great Desert,” Manus answered.
 “We sailed as far from the coast as we dared, but their snouts are rumored to sniff out those who
 oppose them. I guess they did. They swam out and attacked us at sea, riding the waves like ships.
 My other ships were destroyed. Only my own ship’s crew and these six Oliphaunts survived. We
 plunged into the jungles of Northern Harad and never saw them again, until now.”
          “How many Dark Sabre’s do you have?” Alatar asked.
          “Just this one,” Manus answered, “and there are six rikedons!”
          “If their snouts are so good, how did you escape them in the jungle?” Eldarion asked.
          “I trapped Anarawd, the King of Beasts,” Manus answered. “He’s the Lion of Harad. As
 my prisoner, I ordered him to tell his Beasts to stop the rikedons.”
          “Why not slay the rikedons instead?” Eldarion asked.
          “There weren’t enough creatures at the edge of the desert for Anarawd to command,”
 Manus answered.
          “We are in the heart of the forest,” Alatar observed.
          “Where is Anarawd now?” Elanor asked.
          Manus stood, put his fingers between his lips and whistled. The other Oliphaunts stopped
 and Malvia pulled alongside. He had her lower a large cage to the ground. It had been stored at
 the back of her basket under a tarp. On the ground they removed the tarp. Caged inside stood the
 golden maned Lion of Harad.
          “My Lord and King of Beasts,” Manus said, bowing. “I know you’re mad at me and we
 still haven’t found the Master-ring, but our enemies are coming to destroy us. If I release you
 ahead of schedule, will you destroy them?”
          The Lion looked away.
          “Please?” Manus begged.
          “Wait,” Eldarion said. Still wearing Elanor’s Ring, he saw on Anarawd’s paw a golden
 Ring of Power. It was Rávi, the Ring of Bravery, Fortitude, Gallantry and Courage – the Ring of
 the Lion Kings. “You wish to find the Master-ring and destroy the Silence That Devours?”
          “Of course I do,” the Lion growled. “The Silence threatens Men and Beasts. It threatens
 everything that lives!”
          “My companions and I are searching for the same Ring,” Eldarion told him. “If we are to
 survive long enough to find it, we need to borrow your Ring of Power to end this battle. In
 exchange, I pledge to return with the Master-ring and destroy the Silence That Devours.”
          “I am a King!” the lion roared. “You think me a fool? I will escape this cage and destroy
 you for trying to deceive the Lion of Harad!”
          “Your Majesty!” Elanor pleaded. “Eldarion isn’t lying and neither am I. What can I say
 to convince you?”
          “Words can’t convince me!” Anarawd told her. “Only deeds.”
          “Of course,” she said. With the power of Rómhandë, the Ring of Sound and Truth in
 Voices, she heard the truth in his words and turned to Eldarion. “Can I have my Ring back?”
          “Certainly,” he said, handing her Oialëhén. “You have a plan?”
          “I do,” she said, holding up her Ring. “Your Majesty, you’re wearing a Ring of Power.
 With your permission, I’d like to lend you two more and back my words with deeds. You’ll see

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 and hear with the power of Oialëhén and Rómhandë. They will reveal the Truth and you can
 decide for yourself if we are sincere and are worth helping.”
         “Hold on!” Fastred shouted.
         “Lady Elanor!” Alatar exclaimed.
         “Have you lost – ” Theo began.
         “Wait!” Elanor begged. Silence followed. Her companions stood, waiting. She turned to
 the King. “Your Majesty. If you give your Word you’ll return our Rings, I’ll lend them so you
 can see and hear the Truth.”
         “I will agree to all you ask,” the Lion growled, extending his paw outside the bars of his
 cage. “In exchange for my freedom.”
         Elanor turned to Manus. “If the King gives us his Ring, will you give him his freedom?”
         Manus didn’t want to. He looked at Malvia and Eldarion. They were in agreement.
         “Sure.”
         She put two Rings on Anarawd’s paw. The golden bands grew to accommodate his large
 toes. A golden glow rose from the hairs on his mane. At first, it was almost blinding. When it
 faded, Elanor saw on the ground in front of the cage, three golden Rings of Power.
         “Thank you, your Majesty,” she said. Putting on Oialëhén, she handed Eldarion
 Rómhandë and gave Alatar, Rávi, the Ring of Anarawd, the Lion King.
         Reluctantly, Manus signaled his lieutenant. He winched the front of the cage up and the
 Lion King roared. Leaping from his cage, he ran towards the rikedons.
         From the forest came answering cries from birds and Beasts. Everything that crawled,
 ran, flew or tunneled underground: bears, aurochs, ibex, and falcons responded. Every killing
 thing in the forest rose and together they attacked the rikedons with beak, fang and claw.
         “Look!” Malvia cried, pointing towards the sky.
         Thanks to Oialëhén, Elanor could clearly make out the black shapes.
         “The vultures are coming!” she cried, warning her friends. “The vultures are coming!”
         The rest of the hobbits and many of the Haradrim took up the cry of alarm.
         “The vultures are coming! The vultures are coming!”
         “VULTURES!”
         A great force of vultures descended from the sky to aid the rikedons. They were led by
 Percnopter, King of Vultures. Savagely, they tore into the Lion King’s armies.
         The rikedons fought the Lion King’s forces with their spear-like double horns. Stabbing,
 rending and gutting their foes, the screams from the creatures they killed immediately faded.
 Their eyes grew white and they became Cryptids, servants of the rikedons and slaves of the
 Silence That Devours. The rikedons turned these newly created Cryptids on their companions, in
 turn creating more Cryptids. As more animals attacked the Cryptids, more Cryptids were created.
 The armies of the Lion King could die or become Cryptids – but Cryptids were already dead.
         “They’re turning the tide against your armies!” Alatar told Anarawd. He raised his staff
 and began to speak words of power.
         Two rikedons slammed their horns together and the clamorous din of battle stopped. All
 was enveloped in a terrible Silence. Alatar moved his mouth, but from his lips came only
 Silence. Four other rikedons charged. Alatar stood before them flustered and momentarily
 helpless. The rikedons bore down on him to stab with their horns and trample him beneath their
 hooves. Malvia stepped between them. From the pendent around her neck, she withdrew the
 glowing blue Merkaba-stone.



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         Enclosed within the stone glowed a golden six-pointed star, the most powerful heirloom
 of the House of Merkaba. She lifted the Stone and in the air around them, the lines of a massive
 glowing blue crystal appeared. Between the lines, transparent walls of diamond hard crystal
 shimmered into existence.
         Malvia held her arms out and lifted her voice in silent song. In the sky above appeared a
 great glowing Lótë tree. Its roots supported the Earth and its crown of leaves filled the sky. From
 perches on its branches, an army of great golden Eagles took flight.
         These were the Eagles of Manwë. They could only be summoned to battle by an anointed
 ruler who held the Merkaba-stone. Diving towards the vultures and rikedons, the Eagles joined in
 the attack against the forces of the Silence That Devours.
         The vultures fought back first, tearing at the Eagles. The rikedons charged Malvia,
 slamming their horns into the invisible sides of her crystal barrier. The walls of the floating
 magical gem around them shook. A crack appeared on the Merkaba-stone in Malvia’s hand.
         Her eyes grew wide. In all the years she’d wielded it, nothing had ever damaged the
 Merkaba-stone. It was the heart of her family’s power. Fearfully, she lowered the gem. The glow
 protecting them began to fade. Manus stepped up to her, silently pleading. He touched his heart,
 motioned at the sky above them, the ground below, their friends around and touched her heart.
         Her lip quivered and a tear slid down her face. Afraid she might be betraying the trust of
 her mother the Queen, she knew what would happen to all of them if she let the barrier fall.
 Lifting the cracked Merkaba-stone, heirloom of the Queens of Greater Harad since time
 immemorial, a blue glow and the lines of their barrier again grew bright and strong.
         The rikedons continued smashing their horns against the barrier silently, again and again.
 More cracks appeared on the Merkaba-stone.
         From the forests around them, other animals arrived in response to the Lion King’s
 summons: leopards, boar, wisent, bison and lynx. At the command of the Eagles, an ever-
 growing number of birds descended from the skies, attacking the vultures and the Cryptids.
         The tide began to turn. Percnopter and his vulture armies fled. Without protection, the
 forces of the Silence began to waver. The throng of the Lion King’s armies tore into the Cryptids
 with impunity and armies of the Lion King grew faster than the number of Cryptids.
         The rikedons ignored the Eagles of Manwë and hammered at Malvia’s shield. With every
 blow, the Merkaba-stone suffered another crack, threatening at any moment to shatter.
         The Lion King leaped at the lead rikedon. Scrambling to one side of its lethal horn,
 Anarawd clawed his way atop the rikedon’s head. Slashing its bone-white eyes and biting its
 snout, he planted his feet on its head. Anarawd arched his back, whipped his jaws around and
 with a deafening roar that broke the Silence, he ripped off the rikedon’s horn.
         The roar of the battle instantly resumed. The armies of the King of Beasts were filled
 with hope. They surged forward, attacking the remaining rikedons. Together they tore at the
 monster’s undead flesh, ripping it away and breaking the creature’s bones.
         More animals arrived from the surrounding forest. They tore at the remaining rikedons.
 Biting, clawing, chewing and stabbing, they ripped its skin and undead flesh away, exposing
 bone and devouring sinew. They clawed and bit, ripping more of the rikedons apart. Soon,
 nothing was left. Caught in the wind, pieces of bloodless rikedon flesh scattered in the trees.
         Malvia’s voice rang out clear and bright. The glowing blue lines of the Merkaba-stone
 and the Lótë tree faded. The Eagles of Manwë flew into the sky, heading higher and West until
 they were out of sight.



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         The Lion King returned. “My part in our bargain is complete, although I would have
 failed without your help. Thank you. From this day forward, the Queen of Harad and King of the
 Northern Kingdoms are my allies. I leave with my freedom and return to my family in Harad.”
         “Thank you, your Majesty,” Elanor said, curtseying. “I am honored to have met you.”
         The Lion King roared and ran into the woods. In answer, the Beasts and birds arose. Rats
 and burrowing things dug back into the ground. Squirrels returned to trees. Badgers and beavers
 dove into rivers. Oxen and Beasts scattered throughout the forest.
         “That was an amazing display of power, your Majesty,” Eldarion told Malvia, bowing.
 “Thank you for saving us.”
         “You are welcome, Prince” she said. Tears slid from her eyes. “Though I fear this victory
 has come at a terrible price.”
         In her hand, the cracked Merkaba-stone vibrated. Pieces of its crystal walls began flaking
 off. Abruptly, it crumbled into a pile of pale blue dust. Where it had rested in her hand, a golden
 six-pointed star floated above her skin and began to fade.
         “What’s happening to the Star of Merkaba?” Manus asked.
         “Its protective coating has been destroyed and I used too much of its life force to create
 another,” she answered. “It is only moments from death.”
         Alatar lifted his staff. “Akašân Dâhan-igwiš-telgûn Dušamanûðân Phelûn athâra iniðil!”
         The golden star floated through the air towards Alatar’s staff, growing ever dimmer. The
 wooden top of his staff opened like the petals of a flower. Flickering and about to go out, the star
 swept into the staff’s center. The wood closed around it and the golden light went out.
         Malvia closed her fist around the blueish dust. Unable to contain her grief, she began to
 cry. Manus took her in his arms. The Haradrim left them alone, returning to their baskets.
         Alatar, Eldarion and the hobbits climbed their ladders into their own basket. For quite a
 while, they sat in silence wondering if their positions had been reversed, if they would have been
 sacrificed their most precious heirlooms to save the lives of strangers.
         Malvia returned to her Oliphaunt. Manus joined them in his and they continued traveling
 east. When they reached the Midgewater Marshes, the Haradrim enclosed their baskets with fine
 mesh nets. With the nets in place, Dzombor led them into the swamps.
         They began slogging through the treacherous midge-infested fens and bogs. Neither the
 traps of sucking mud, peat pits nor the stinging flies seemed to bother the Oliphaunts. It took two
 days to cross the marshes. At night, they never left their net covered baskets. They slept
 peacefully inside them atop their sleeping Oliphaunts.




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                                BOOK II




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                                         Chapter 1




                           The Daughters Of Rohan




         Appearing neither young nor old, the tall and regal silver-white haired Elven Lord
 Celeborn, ruler of Lothlórien, stood between two others, Haldir of the Border and his brother
 Rúmil. The two Elvish brothers and their band of Elvish warriors waited beside their horses.
         Before him stood the High Queen Arwen. Beside her were her daughters, dark haired
 Celendrian, eighteen; and the curious and kind blond-haired Elerith, sixteen. Arwen ushered her
 two youngest daughters forward, the serious and studious blond-haired Brindil, ten; and the quiet
 and watchful, delicate little dark-haired Cetelina, just six.
         Though Arwen was Celeborn’s granddaughter, she appeared much older. This knowledge
 haunted her eyes and never left her mind.
         “You’ll be safe in Lothlórien,” she told Brindil and Cetelina.
         They kissed their mother dutifully, hugged their sisters and said goodbye to their friends.
 Brindil mounted an Elvish horse, but Celeborn lifted Cetelina and put her on his own saddle. He
 mounted behind her and led Brindil north. Haldir, Rúmil and their Elvish warriors followed.
         Around them, the countryside of Rohan spread for miles in gently sloping pastures and
 lush tall seas of grasslands. The grass waved in the harsh winds and stretched as far as the eye
 could see. To the north rose the distant trees of the forests of Fangorn. The dimly glimpsed
 sloping woods glinted golden in the morning sunshine. From beneath the trees, the Entwash river
 flowed across the plains. Its course ran swift and narrow, digging deep into fertile soil. Steep
 banks looked down on the violently churning waters far below. In the farthest distance, the
 southernmost tip of the Misty Mountains rose, revealing the snowy white peak of Methedras.
         Arwen, Celendrian and the rest mounted their horses and rode west, making for the Gap
 of Rohan. The Queen and other royals were each escorted by twelve personal guards and various
 attendants. Their company rode all day and made camp at night, keeping a vigilant watch.
         The guards, advisors and servants of each kingdom’s entourage settled in separate camps.
 The princes gathered together and ate around the main campfire.


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          There, Pingyang and Xiang shared everything that had happened to them since they were
 kidnapped by Estel and his Orcelven troops.
          Pingyang knew Estel needed them alive and unharmed to ensure the cooperation of her
 brother and father, the Emperor Guan Qubing. If not for that, her sisters and mother would have
 died, and worse, long before the tragic events on their ship in the harbor of Minas Tirith.
          “How did you kill all those Orcelven?” Elerith asked.
          Pingyang looked to her brother. Xiang nodded.
          From her pack, she produced a hollow metal ball covered with small holes. Elerith had
 thought it a toy. Pingyang tied it to one end of a long thick-braided rope. The other end secured a
 heavy throwing knife. Sitting beside the fire, she opened the ball and filled it with fresh kindling
 and burning coals. After she shut and locked it, flames sprang from the holes.
          She stood in the dark away from the fire, twirling the burning metal ball on one side and
 her throwing knife on the other. At the end of their strings, they produced audible whirrs. As it
 spun, the ball loosed flashing sparks and burning woodchips: a bright circle of fire grew.
          “In Hildória,” Pingyang told Elerith over the roar, “some call this the Dragon Fist.
 Others, the Meteor Hammer.” She flung the blade deep into a piece of wood beside the fire.
 Yanking it into the air, she again set it spinning in a wide slanting arc. A moment later, she sent
 the burning ball rocketing up and yanked the wood down.
          The two collided and the wood shattered. Its pieces caught fire and they fell in burning
 splinters, landing in a scattered circle around her. Lowering the ball to the ground, she unlocked
 it with tongs, dumped the coals and set it aside to cool. Patiently, she untied and repacked her
 braided rope and the throwing knife.
          “Why did it take us so long to meet you?” Elerith asked, delighted by her display of lethal
 prowess. For the first time since her sisters and mother died, Pingyang laughed. Elerith did, too.
          Xiang and Celendrian’s eyes met and they smiled.
          The third day out after sending Brindil and Cetelina to Lothlórien, the southern peaks of
 the Misty Mountains in the north grew close. The northern peaks of the White Mountains in the
 south narrowed the gap between them.
          The ground began to shake. Coming down from the north, they heard a monstrous roar.
          “What is it?” Celendrian asked.
          “A marauding drake,” Arwen answered. With her keen eyesight, she casually pointed out
 a distant shape which they felt more than saw. “We must ride faster.”
          “We can’t outrun a drake!” Elboron shouted. “We need to make a stand!”
          “We shall lose any contest with a dragon,” Xiang warned. “We must split up. All but one,
 whomever the worm chooses, will survive.”
          “Elboron,” Arwen commanded. “You will lead the Princesses Celendrian and Elerith to
 safety with our royal guests and their escorts.” She turned to the knights of her personal guard.
 “The rest of you will ride with me.”
          “Mother!” Celendrian cried. “What are you doing?”
          “Drakes are not usually found on the plains of Rohan,” she answered, handing Celendrian
 a large black-iron key. “This is not a coincidence. This creature is coming for you. We will
 distract the monster and you will seek refuge in Orthanc. Use the Orthanc-stone and tell your
 father what has happened.”
          Without waiting for a response, Arwen galloped north. Her knights followed, closing the
 distance with the advancing drake.
          “Look!” Pingyang shouted.

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         Coming into view from the west rode an armored cavalry: The Riders of Rohan. Their
 flag and regalia were the traditional green of the Éothéod, emblazoned with a galloping white
 horse. The Riders charged to intercept the dragon before it reached the Queen.
         Celendrian turned her party north against Arwen’s orders and over Elboron’s protests,
 leading them towards the Riders. Arwen and her knights closed with the dragon ahead of even
 the racing Rohirrim.
         One red horse, swifter than the rest, charged ahead of the Éothéod bearing a red-mailed,
 red-armored and red-helmeted knight. The knight carried a long and deadly red lance before him.
         “One knight cannot best a dragon,” Xiang told them.
         “That’s not any knight,” Celendrian informed him.
         “It’s our friend, Prince Ælfwine!” Elboron shouted. “The Red Arrow!”
         Unlike the others, Ælfwine’s armor was the brightest copper red. Outlined in white, his
 shield and helm bore the emblem of a red arrow in flight. The Éothéod tried their best to catch
 him, but his horse Firebrand was too fast and Ælfwine ‘The Fair’ Éadig, the Crown Prince of
 Rohan, closed on the marauding drake. At Ælfwine’s advance, the dragon turned from Arwen
 and advanced on him instead.
         Ælfwine checked his gallop and slowed. Sensing fear, the dragon charged and loosed a
 monstrous roar. Ælfwine spurred his horse and shot forward into the dragon’s deafening howl.
 Thrusting his lance forward, he shoved it into the monster’s open mouth.
         The drake screamed. Rising on its hind legs, it thrashed at Ælfwine with its forelegs and
 reared its head. Ælfwine kicked Firebrand into a hard charge and stood in his stirrups. Shoving
 his lance over and down, it dug into the back of the dragon’s throat. The drake tipped over and
 fell onto its back screaming. Using all of his weight, Ælfwine plunged the lance down. It tore out
 the back of the monster’s throat and into the ground, pinning it in place. The dragon roared in
 agony and thrashed its limbs. Writhing in pain, it curled its body around the implanted metal rod.
         Ælfwine circled the dragon looking for an opening between its thrashing limbs. Seeing
 one, he jumped onto his saddle and leaped, holding his sword Herugrim two handed over his
 head. He landed on the monster’s chest and drove the legendary blade deep into the dragon’s
 heart. The creature spasmed and Ælfwine curled his armored body around the hilt of his sword.
 The beast’s arms, legs and tail shot out, held rigid a moment – then the entire worm collapsed.
         “Ælfwine!” Elboron shouted.
         Arwen’s knights, the Éothéod, and the other princes and escorts cheered. Many slammed
 their swords or gauntlets against their shields in thunderous applause. Celendrian and her party
 rode up and reached the others. Ælfwine got to his feet, pulled Herugrim out of the dead
 dragon’s heart, wiped it against the dragon’s soft foot pads and sheathed his blade.
         Arwen directed her knights to scale the dead drake and collect its teeth, venom and claws.
         “What about its heart?” Celendrian asked.
         “The hearts of drakes do not confer the same benefits as dragons,” Arwen answered.
         “That was amazing!” Elboron told Ælfwine. He slapped the prince’s armored back.
 “Where did you learn that trick?”
         Ælfwine removed his helmet, laughing. His thick red hair glinted in the Sun. “Practice,
 practice, practice! You don’t think we Erolingas leave all the fun to you Ithiliens?”
         “You have to teach me!” Elboron told him.
         “Well…” Ælfwine said, regarding the dead dragon thoughtfully. “You know I don’t
 mind, Elboron. But it’s going to take a lot of work. This isn’t as easy as it looks.”
         “Easy?!” Elboron sputtered.

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         “Ælfwine!” one of the Riders shouted. Reining the horse and dismounting, the Rider
 removed her helmet. Her long golden hair unfurled in the wind. “Are you crazy?”
         “Calm down, Éodyn,” Ælfwine told her. “The dragon was attacking the Queen! Besides,
 it wasn’t that big of a drake. I had everything under control.”
         “Éodyn!” Celendrian, Elerith and Niphredil called. Running over, they embraced.
         Ælfwine called to three of the green clad knights. They approached and removed their
 helms. “Éodyn you’ve met. These are my other sisters, Idris, Liathwyn and Minwyn.”
         Xiang bowed with his arms at his sides. “How is it the Rohirrim are blessed with so many
 strong and beautiful warrior women?”
         “It was to honor the accomplishments of the Shield Maiden of Rohan during the War of
 the Ring,” Ælfwine answered. “It was our aunt, the Princess Éowyn of Ithilien – ”
         “That’s my mom!” Elboron called.
          “At the Battle of the Pelennor Fields, she killed the King of the Nazgûl,” Ælfwine
 explained. “Afterwards, she and her brother, our father King Éomer, created an Éored of women,
 for those who wished to learn the warrior arts. They are known as the Daughters of Rohan.”
         Pingyang bowed to Ælfwine and his sisters. “I am pleased to learn in Hildória, we are not
 alone in training women warriors to fight.”
         “In large numbers?” Idris asked.
         “Yes,” Pingyang answered. “This is why I was allowed to learn the warrior arts. My
 father has a squadron of 180 women led by my aunt Jianü, the Lady of the Sword.”
         “At the insistence of our mothers and fathers,” Elerith told Pingyang, “Niphredil, me and
 my sisters have also learned warrior arts. We’ve inspired others in our kingdoms, too.”
         Arwen interrupted, insisting they mount up and ride to the Misty Mountains at once.



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          They arrived at the feet of the mountains an hour before sunset. High above them, the
 peak of Methedras rose, wreathed in snow. Lesser peaks extended south in a great sprawling
 circle that went all the way around vast rolling lowlands.
          “This is the valley of Nan Curunír,” Celendrian told Pingyang. “It is called by some, the
 Wizard’s Vale.”
          As they approached, they rode atop a dirt highway. It became a street paved with flat,
 square stones. They had been laid so skillfully, between them no weeds could grow. On each
 side, deep gutters overflowed with mud and swirling rivulets of water ran over the tops.
          They passed a tall square pillar of black stone. It bore a white marble statue carved by
 Drendelen, depicting a bearded old man in a tall hat and flowing robes. In his left hand, he held a
 long wooden staff. Riding on, they came to a mammoth arch of black stone. It was the entrance
 to a long echoing tunnel. Its thick stone walls ended deep in the valley. Far away at the other end,
 a second arch opened before a grove of trees. There were no other structures.
          Reaching the second arch, before them a flat plain formed the shape of a great circle
 fenced by high cliffs. Nestled between the cliffs, the riders entered a lush green valley.



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          It held vast open fields, dense forests and many meticulously tended gardens, but no
 evidence of anyone within many a day’s ride to tend them.
          “In the center lies the Treegarth of Orthanc,” Arwen told them.
          They rode to the shore of a dark lake. In the middle of the water against the setting Sun,
 there rose a shape like a sharp tooth. Riding closer, they saw it was a tower topped with four
 black pillars of many-sided stone. Joined in the middle, the massive pinnacles rose high into the
 sky and ended in four jagged spires.
          “This is our destination,” Arwen told them. “The Tower of Orthanc.”
          “How high is it?” Xiang asked, amazed at the height of the seamless structure.
          “Over five hundred feet,” Celendrian answered.
          “How will we get in?” Pingyang wondered, not seeing any doors or low windows.
          One of the large trees lining their path abruptly turned around. It walked towards them on
 massive wooden trunk-like legs and gnarled feet of roots. Only Pingyang and Xiang’s discipline,
 and their own share of extraordinary adventures, kept them from shouting in surprise.
          “Well, hoom!” Treebeard the Ent said, bowing. “Welcome back to Orthanc, my Queen.”
          “Thank you, Treebeard,” Arwen responded. “What news from the west?”
          “The west has been quiet,” he answered. “But from the south and east, the birds of the air
 bring tidings of distant armies, coming closer and rumors of war. I feel a difference in the earth
 that heralds a change in fortune more extreme than those which came when last I met your
 mother, as she crossed these mountains at the start of the Third Age.”
          Though an ominous portent, the Queen thanked him and they rode on.
          At the edge of the lake, hidden behind a strand of willow trees, there floated many small
 boats. They tethered their horses, filled the boats and rowed towards the Tower. Reaching a pier,
 they moored the boats and on the dock found lanterns.
          Arwen had them light a dozen and she led them over a stone path to a wide staircase. The
 smooth black steps rose into darkness. Climbing them, they made their way to a large stone door
 at the top. Celendrian used the iron key Arwen had given her and turned the lock. She pushed
 against the heavy stone with just the tips of her fingers and it swung open silently.
          The open interior was large as a castle, unlike anything Pingyang or Xiang had ever seen.
 Carved from four massive blocks of black stone, the blocks had somehow been set on one side of
 their five-hundred-foot lengths and joined seamlessly in the center of the Tower.
          “Who built this?” Xiang asked, incredulous.
          “Númenóreans,” Arwen answered. “An ancient race of Men from Middle-earth. They
 returned to our shores after living on an island across the ocean in the West.”
          “It has been my dream to journey into the West,” he told her.
          “Only Elves can make that journey now,” she said. “To others, the West is closed.”
          Pingyang touched one of the smooth walls rising impossibly high. “Why was this built?”
          “This valley was once a citadel enclosed by stone walls,” Arwen answered. “It was filled
 with troops to protect the Gap of Rohan. Before Gondor was restored at the end of the last war,
 western kingdoms had for many years battled foreign armies invading from the east.”
          “It was not our people,” Xiang told her. “Until this moment, these lands have been
 shrouded in mystery. We are the first Hildórians to journey this far west.”
          Arwen had Celendrian house their knights in the large windowless rooms at the base of
 the Tower. These were equipped with kitchens, barracks, a smithy and forges. Once, the fires
 here had burned hot. Celendrian directed her servants to prepare the evening meal and escorted
 their royal guests to wide-windowed rooms above the Great Room in the center of Orthanc.

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          With their guests and men-at-arms settled, Celendrian joined Arwen and Elerith in their
 private quarters near the top. “Why does Estel hate you so much?”
          “When we were children,” Arwen answered, “Elladan and Elrohir would have nothing to
 do with him. Your grandfather Elrond made him my special charge. I was to ensure he received a
 princely education, but no combat training. It was ultimately irrelevant. Estel did not enjoy
 learning and he was not a good student. When his agonies began in his twenty-second year, still
 a child in Elvish terms but for orcs a full-grown adult, his body began to change. His face filled
 with angry red blotches, sores and ulcers, corrupting him with evil. I heard the change in his
 spirit one afternoon. It happened dramatically, like a scream of agony. Something burst inside
 Estel like a cancerous bloat, spreading sickness and lust. Estel had hoped to see in me an echoing
 lust. Instead, I unconsciously reacted with disgust. Seeing my horror, he fled Imladris.”
          “Why didn’t grandpa Elrond kill him?” Elerith asked.
          “I… do not know,” she answered. “He was my brother. It never occurred to me to ask.”
          Arwen said good night to Elerith and led Celendrian to the chamber at the top of the
 Tower. A long sloping hall followed the outer walls, turning in on itself twice, like a maze. This
 created a simple but effective structure which trapped darkness and silence within, and kept light
 and wayward outside sounds from entering.
          The room at the center was as silent and dark as a tomb. In the middle of the windowless
 and insulated Chamber of the Palantír of Orthanc stood a black marble pillar. As if floating in
 darkness amid the shadows lay a sable cloth enshrouding the Palantír.
          Arwen covered her lantern and darkness engulfed the total quiet. She pulled the shroud
 off the medium sized Orthanc-stone. Within its grey smoky depths, a grey glow slowly grew
 brighter. She put her hands on the surface and concentrated. Images of hills and roads unspooled
 within the Stone, as if they were looking through clear glass atop a swiftly moving carriage.
          Up hills and down valleys, past waterfalls and guarded gates, the Eye of the Stone moved
 unseen. Eventually it passed over the cliffs and falls of Rivendell. Going up steps and through
 wide double-doors, they saw Glorfindel sitting at the desk which had once belonged to Elrond.
          In the center of the room glowing dimly on a grey marble pillar sat the much larger,
 stolen grey Palantír of Elostirion.
          Thüringel entered and looked at the Elostirion-stone. “Shouldn’t you keep it covered?”
          “If anyone uses the other Stones I want to know immediately,” Glorfindel answered. “If
 anyone were looking at us, we would see them in the light. That’s how the Stones work.”
          “I know how the Stones work!” she snapped. “I have looked in the Palantír of Minas Ithil
 too many times to count, when it was in the Tower of Barad-dûr. I have watched the doings of
 every queen and king in Middle-earth – before the Tower fell and Lungorthin stole it.”
          “Speaking of the Ithil-stone,” he asked, “do you know where it is?”
          “Our spies say Lungorthin has taken it to Khazad-dûm,” she answered.
          “I imagine we’ll be hearing from Lungorthin,” he told her. “He can’t be happy with all
 the shipments of mithril we’ve waylaid.”
          “We should focus on the United Kingdoms,” she advised. “They are much larger and
 more dangerous. Their resources and allies grow faster than Lungorthin’s – or our own.”
          “Of that, I am well aware,” he said. He gestured towards the overly-large Elostirion-
 stone. “Speaking of them, where have Elladan, Elrohir and the Crown Prince Eldarion gone?”
          Until now, Glorfindel had jealously kept anyone else from using the palantír. Eagerly,
 Thüringel went to the Stone. Touching the surface, she concentrated. The Ring on her finger
 glowed. Because Glorfindel had broken the palantír to his will, she was able to look through it.

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         Thüringel searched for hours, walking around the Stone and stopping on the opposite side
 from the direction she wanted to look. Guided by experience, intuition and the power of her
 Ring, after many long hours, her exhaustive and painstaking efforts were at last rewarded.
         “They are continuing their westward flight after leaving the Forsaken Inn,” she told him.
 “Who would have thought two Elves and the Crown Prince would stay in such a place?”
         “Really?” Glorfindel asked. Putting away his papers, he rose and stood beside her,
 watching Elladan, Elrohir and Eldarion riding west. “I wonder what they were doing there.”
         “It doesn’t matter,” she said. “By tomorrow, they’ll be in Bree.”
         “In that case,” he told her, sitting back down, dipping his quill and beginning a letter on a
 fresh sheet of paper, “we must prepare a deadly surprise for them.”
         In Orthanc, Arwen replaced the shroud, plunging the chamber into darkness. Uncovering
 her lamp, she led Celendrian out and waited until they were safely past the maze-like turns.
 “Since they are preparing a surprise for your brother, we must prepare a few surprises for them.”



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          Hours later, Celendrian stood before her mother atop the Tower. She wished her parent’s
 paranoid need for secrecy hadn’t required her to be up so late, as her mother had again required
 tonight. But she also knew, this caution had saved their lives too many times to count.
          They were alone on the black roof of Orthanc. Standing on glowing runes of power
 engraved within the floor, it was the third hour past midnight. In the warm breezeless night
 beneath a large full Moon, the brightly burning stars filled the sky on the twenty-third of March.
          “Long before Celebrimbor made a second Ring of Power for Galadriel,” Arwen told her,
 “she passed her first Ring to Celebrían in a secret ceremony very much like this one.”
          “How do you know?” Celendrian asked.
          “Your grandmother told me when passing that Ring to me,” Arwen answered. On her
 first finger appeared a golden Ring, which Celendrian had never seen.
          “But the Rings were made for different races!” her daughter told her. “You can’t use one
 forged for another race without risking going mad.”
          “This is not that Ring forged for Elves,” Arwen said. She removed it and held it up in the
 Moon light. “This is one of the Five forged for Mortal Warriors. It is Anqaúrë, the Ring of
 Feeling, Sensing, Intuiting. It is a very powerful Ring. Perhaps the most powerful of those made
 for mortal hands to bear, of which there were fourteen.”
          “I remember,” Celendrian said. She reached for the Ring, but her mother withheld it.
 “Your tutors were very thorough. Do you want to tell me about it or can I just put it on?”
          Arwen spoke Elvish and a bright blue light illuminated the hidden runes on the surface of
 the Ring. “Before your brother’s eighteenth birthday, your father broke the seal on the tomb of
 Denethor and retrieved the Palantír of Anor. It was a long and painful process, but he broke the
 hold of Denethor’s dying spirit on the Stone. Time at last moved forward in the grey crystal. It
 was then he saw the death of Denethor. In that moment, there appeared on the Steward’s
 shriveling finger, a golden Ring of Power set with a glittering red gem.”



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          “Why are you telling me this?” Celendrian asked. “Rings and the identities of their
 Ringbearers are never shared, except when passed from one to the next!”
          “You will soon know the answers to all your questions,” Arwen answered. “I am merely
 taking a moment to prepare you for what is coming. Your father discovered that Denethor had
 spent much of his life using the Anor-stone to search out the Five, though he never found them
 all. Of those he did find, one went to his son.”
          “I didn’t know Denethor found those Rings,” Celendrian said. “Which son got a Ring?”
          “Boromir,” she answered. “The orcs who killed him in Parth Galon failed to search his
 body. Saruman had ordered them to kidnap and search the halflings. When your father arrived,
 Boromir was covered in blood, so he missed the Ring which appeared on Boromir’s finger the
 moment he died. Not knowing, your father laid him in a boat and sent him over the falls of
 Rauros. There he was cleansed in the waters of the Anduin and his body journeyed downriver for
 days. Late one night while wading in the shallows, Faramir saw Boromir’s body floating past
 him like a vision. He immediately noticed the Ring. He spoke the Elvish commands, summoning
 the glowing ithildin letters and claimed it as his own. This is why he was not tempted by
 Sauron’s Ring when he found it borne by Frodo. He did not feel impelled by the desires of his
 father for power, as his brother had and he was able to heed the urgent promptings of his Ring. It
 warned him away with an almost violent reaction to the corrupted spirit in the One.”
          “So all this talk about the Three Nobles – ” Celendrian began.
          “Faramir is a good man,” Arwen interrupted. “He is a good friend and a very good
 prince, better than most. Yet still a man, far from perfect.”
          “Does Faramir still wear that Ring?” she asked.
          “No,” her mother answered. “It was the wedding Ring he slipped on Éowyn’s hand the
 day they married.”
          “Oh wow,” Celendrian exclaimed. “Three cheers for Faramir!”
          “Éowyn is a great woman and a loving mother,” Arwen told her. “When Elboron reached
 his Majority, she made it her gift to him, to strengthen him in his struggles against our enemies.”
          “Good for Elboron,” Celendrian remarked, surprised. “That sneaky dastard!”
          “Elboron is a very good man,” Arwen said. “He has the best of both his parents. If he
 ascends the throne of Ithilien, he will be a great prince. He has been an even better friend and
 ally to you, your brother and sisters.”
          “Alright, you win,” Celendrian told her. “Which Ring is Elboron wearing?”
          Arwen smiled, delighting in possessing coveted secrets, as she had among the Elves.
 “Elboron wears Oromë, the Hunter’s Ring. It is unusual. Only two of the Five bear gems.
 Elboron’s Ring has a polished beige thomsonite stone set on a metal band of blue osmium.”
          “This is esoterica,” Celendrian told her. “I’m well versed in alchemy and gemology, and
 I’ve never heard of either.”
          “They are very rare,” Arwen said, still smiling. “Osmium has only been found in the
 same veins as mithril and it was only forged in Khazad-dûm. Thomsonite comes from ores in
 those same abandoned mines.”
          “Why did Éowyn give Elboron her Ring,” Celendrian asked, “but you didn’t give yours
 to Eldarion?”
          Arwen’s smile faded and her expression grew grim. “When Celebrimbor and his
 Mirdainions forged the Five, he gave them to the Númenórean Crown Prince and mariner Tar-
 Aldarion. He had been sailing to Lindon since the early 700’s of the Second Age. Together, they
 formed an alliance to oppose Sauron. At the end of their fruitful partnership, Tar-Aldarion took

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 the Rings back to Númenor. There, he gave them to his family. This included his father, King
 Tar-Meneldur, and his daughter and future heir, Tar-Ancalimë, the first Queen of Númenor. At
 the end of Tar-Meneldur’s reign, the Valar came to him in a dream and told him it was time to
 pass the throne to Tar-Aldarion. He passed the Scepter openly and in secret, his Ring of Power,
 then aged rapidly and died, as is usual when Ringbearers wear them beyond the span of years
 normally allotted to their kind.”
         “That didn’t happen to Gollum,” Celendrian pointed out.
         “Usually,” Arwen reminded her. “That was the Ruling Ring. Don’t be impertinent.”
         Celendrian rolled her eyes. “Mother – ”
         “When Númenor fell,” Arwen continued, “the Rings and many other treasures thought
 lost were saved by Elendil when he fled Númenor and sailed to Middle-earth. He stored most of
 these heirlooms in a secret armory and treasury. There they have lain hidden for centuries. But he
 kept the Rings of Power and passed them to his wife and sons, Isildur and Anárion. They in turn
 passed them to their children, mostly, until one came by succession to Denethor.”
         “That’s not like you,” Celendrian said. “What does ‘mostly’ mean?”
         “The night after Estel tried to murder us, I had a vision,” Arwen confessed. “The Vala
 Irmo Lórien, Master of Dreams, came to me in my sleep and told me the time had come to pass
 Anqaúrë to Eldarion. But the next day, your brother refused to leave Minas Tirith with us and I
 was not certain it was truly his time. That night, the Vala Námo Mandos, the Judge of the Dead
 and the Master of Doom, appeared to me in a dream telling me I must return to Minas Tirith and
 pass Eldarion my Ring. It was his time. Soon he would face terrible trials and great hardships.”
         “But you didn’t,” Celendrian noted.
         “I did not,” Arwen admitted.
         “Why not?” Celendrian asked, tersely.
         Rarely, had she demanded an accounting from her mother.
         Arwen couldn’t help but notice.
         Already the scales were shifting, had shifted, tipped out of her favor and into the hands of
 her daughter, who would certainly be aware of this. Perhaps she imagined she would henceforth
 be her mother’s keeper. But this was just one of many surprises in store for her daughter tonight.
         “I was more concerned for your safety,” her mother answered.
         This sounded unconvincing, but Celendrian moved on. “Where did your Ring of Power
 come from?”
         “When your father found Formáitë, the Ring of Right Decision, on Denethor’s blackened
 bones, he put it on and set out to discover the others,” Arwen answered. “The search had
 occupied much of Denethor’s life. By watching Denethor watching the palantír, your father was
 spared much effort. He discovered, just as Faramir had with Éowyn, when Denethor married
 Finduilas, the Ring he slipped on her finger was Anqaúrë.”
         “But Denethor was much older than Finduilas when they married and she died young,”
 Celendrian reminded her. “I thought the Rings gave extended lifespans.”
         “Finduilas’ death was not natural,” Arwen told her. “She was poisoned. When she died,
 she had not passed her Ring to anyone. Her sons were too young. Nor did Denethor, later.
 Heartbroken, he had it buried with her and it remained on her finger in the House of Queens, in
 Rath Dínen. Your father broke the seal on her tomb and found her body unwithered. One of the
 powers of the Rings is to preserve and her flesh had not been consumed by fire, like Denethor’s.
 When he removed the golden band, her flesh decayed. Then he came and gave me her Ring.”



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         “It’s too bad he didn’t discover this before the two of you married,” Celendrian said. “If it
 had been your wedding Ring, you wouldn’t have appeared to age.”
         “See?” Arwen said, bitterly. “It is all anyone cares about.”
         “No, mother,” Celendrian countered – a flat denouncement in a derisive tone she’d never
 used with her before. “It’s all you care about.”
         “Your father also discovered that Rómhandë, the Ring of Sound, was in the possession of
 a warlock of Khand, in the service of Lungorthin,” she told her. “He has also been gathering
 Rings. He wears one of Sauron’s corrupted Seven, Telpërin, the Ring of Mithril. It bears a silver
 Moonstone. At Lungorthin’s command, believing either your father or I had passed one of our
 Rings to your brother, this warlock has been hunting Eldarion since he left Minas Tirith.”
         “It doesn’t matter,” Celendrian insisted. “We can’t disobey the Valar! We have to find
 Eldarion and pass him your Ring.”
         “Last night, Lórien and Mandos appeared to me together as the Fëanturi, the Masters of
 Spirits,” Arwen explained. “But not in a dream. In a powerful waking vision that startled me as
 few things have – they told me the time to give Anqaúrë to Eldarion had passed. It was too late.
 The Fëanturi warned, the warlock will find Eldarion tonight without the Ring, in Bree.”
         “Elladan and Elrohir won’t let anything happen to Eldarion,” Celendrian assured her.
         “The scene I showed you in the Orthanc-stone happened yesterday,” Arwen told her.
 “This morning your uncles received Glorfindel’s forged summons and rode for Imladris, leaving
 your brother alone. This warlock is armed with demonic spells and strengthened by his Ring of
 Power. When he finds him, I cannot imagine any way in which Eldarion will survive.”
         “We have to ride to Bree!” Celendrian shouted, furious with her mother.
         Misleading and withholding were so much like her, but playing games with the life of her
 brother while threats to their Kingdoms were popping up all around them – was proof she had
 gone too far, even by her own secretive and manipulative standards.
         “I agree,” Arwen said. “Yet I was also instructed, most harshly, that I must first pass
 Anqaúrë to you. You have ventured out in the world amid great dangers. You will need every
 strength and advantage we can muster just to survive, yet you will still be sorely tested.”
         To an outsider, her mother would appear no different. Celendrian saw the pain of her
 mistakes and bad decisions tearing her apart, with a suffering she’d never seen in her before.
         Reluctantly, Arwen lifted the golden band. “Anqaúrë is a very powerful Ring, perhaps the
 most powerful of those made for mortal hands to bear, of which there were fourteen.”
         “I remember,” Celendrian said, frowning. “You’re repeating yourself.”
         “Most importantly,” Arwen told her, with increasing unease, “you must not attempt to
 access all its power immediately. If you do, you will be overwhelmed.”
         “I can remember that too, mother,” she affirmed. “I think you need some sleep.”
         “The most subtle, yet most useful ability of this Ring,” Arwen told her, “when you touch
 someone, if you concentrate, you can learn all they know, everything they remember.”
         “That’s quite a double-edged sword,” Celendrian noted.
         “I knew you could not fail to grasp the significance,” Arwen told her. “You are so much
 like your father.”
         “Yes,” her daughter responded, “and Eldarion is very much like you.”
         “Since I have used this Ring when touching every member of our family and taken their
 full measure, I have no doubt you will instantly sense and have no difficulty mastering whether
 you wish to remain visible or become invisible,” her mother explained. “Yet it will still take you



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 more than a minute to realize the true ramifications of all I have said to prepare you, despite your
 extraordinary grasp of things.”
         Arwen held Anqaúrë out for her daughter.
         Celendrian had been tutored in the Rings of Power her whole life. She had shared
 whispered rumors with her brother and sisters about possibly finding and one day wearing one of
 the so-called ‘lesser’ Rings. She also knew they were much more powerful than the corrupted
 Rings of Sauron. Yet for all that, she hesitated. Arwen looked at her, surprised.
         Celendrian chided herself and was glad her brother and sisters hadn’t been here to
 witness her momentary lapse of brashness. Holding out her hand, she accepted Anqaúrë and read
 the glowing runes outside the band. “Five For Mortal Warriors Destined To Die.”
         She held Anqaúrë up and spoke the proper Elvish commands. On the inside of the Ring,
 blue flames flared to life illuminating a second set of runes.
         Her mother gasped. “How did you know those were there?”
         “I have you to thank,” she answered, elated to have had one of those rare victories where
 she had managed to one-up her over-protective, over-prepared and over-controlling mother.
 “Your hand-picked tutors were exemplary, but none exceeded Elladan and Elrohir!”
         Arwen read the runes. “Anqaúrë, The Ring Of Feeling.”
         Celendrian stared into her mother’s eyes and slipped Anqaúrë on the third finger of her
 left hand, never vanishing from sight. “Thank you. I can see this was very difficult for you.”
         “Giving you the Ring was not the part that is difficult,” Arwen told her.
         “Really?” Celendrian asked. “What is it, then?”
         Arwen held her arms out to give her daughter a hug.
         This alarmed Celendrian.
         Her mother was not prone to gratuitous displays of affection. The realization of the true
 meaning of her mother’s words of preparation, and what was coming, finally dawned on her, just
 when her mother said it would. Uncharacteristically, she began to tremble. She took a deep,
 centering breath and calmed her tumultuous emotions.
         She hesitated far longer than before and with much greater trepidation. But the die had
 already been cast and she knew it. Tentatively, she reached out and hugged her mother.
         On the third finger of her left hand, for the first time, she felt the power of Anqaúrë. Her
 Ring of Power glowed. Celendrian sobbed and shuddered. Her mother rocked their bodies back
 and forth, stroking her daughter’s long, dark hair. It was so much like her own.
         Celendrian could not recall her mother having done that since she was a child. She cried
 for hours, for all the distances between them: her and her mother; and her and the girl she had
 been before putting on Anqaúrë, hugging her mother, absorbing Arwen’s memories, and the
 memories of all the people her mother had ever absorbed. They held each other and cried on the
 roof of Orthanc beneath the Moon and stars, and her mother’s loving arms never faltered.



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         Celendrian awoke the next morning in bed, in one of the basement bedrooms. Silently,
 she tried to process what had happened. Absorbing all those memories wasn’t a violation of her

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 privacy, nor Arwen’s, Celebrían’s, Galadriel’s, or any of the others whose memories Anqaúrë
 had absorbed – it was a violation of the sanctity of her individuality.
          Before, she had been Celendrian, nothing more or less. She had been confident in her
 ability to decide for herself who she was and who she would grow up to be.
          Now, so many other people’s memories, their hopes and fears, their very identities,
 clamored for her attention. She never forgot who she was, neither thinking nor focusing was a
 problem. But when she didn’t focus, it was easy to get lost in the oceans of foreign experiences
 that Arwen and other Ringbearers had absorbed from other people, particularly other women.
 Not all of them were enrichening, or even pleasant. Some were the complete opposite.
          Especially Celebrían’s.
          She pushed these unwelcome memories to the back of her mind. Standing, she stretched.
 Washing her face in the basin before her mirror, she dressed in a simple white summer gown.
 Climbing the stairs slowly, she joined Elboron, Ælfwine and the others in the room at the top.
 Arwen and Elerith were elsewhere in the Tower, occupied in one of the many subbasements.
          Her friends immediately saw she had been crying.
          “You’ve been looking in the Orthanc-stone,” Elboron said, taking a step towards her.
          “Yes,” she affirmed, turning away. Her voice and manner were alarmingly subdued.
          “Is everything all right?” Ælfwine asked, catching Elboron’s eye.
          “No,” she answered, listlessly. “Not really.”
          “I’m so sorry,” Niphredil told her, always sensitive to people’s feelings. While her
 brother and Ælfwine hesitated, Niphredil came forward and gave her a hug.
          Celendrian held her a moment longer than usual. Abruptly, she excused herself and
 returned to the staircase, silently descending until she reached the basement where she’d slept.
          When Arwen and Elerith joined the others, she immediately realized what had happened:
 Celendrian had absorbed Niphredil’s memories. But they didn’t have time for her to process
 them. There was little enough chance they would arrive in time to save Eldarion.
          She went down the long winding staircase to fetch her daughter. “People are rarely what
 they appear to be, as you have now learned. Often, there is much more to them.”
          “You knew?” Celendrian asked.
          “I know her mother well,” Arwen answered. “I also listen, as well as feel things. I told
 your friends you have seen disturbing visions in the palantír. I have asked them to stay away
 from you, and for no one to approach or touch you, unless you request they do so.”
          “Who else knows?” Celendrian asked. She rose and began putting on her riding clothes.
          “I discussed it with your father,” Arwen answered. “I cannot imagine Elrohir and Elladan
 do not know. They are much too aware of things to have something this significant escape their
 notice. At the time, Eldarion was just a child, but he has spent a great deal of time in Ithilien.”
          “I just looked into your memories again,” Celendrian told her. “But I still have to ask,
 about Niphredil… are you sure your brothers know?”
          Arwen regarded her a moment in silence. “What have you seen in Niphredil’s
 memories?”
          Their eyes locked, but the torch had already been passed. The Guardianship of Anqaúrë,
 its burdens, the secrets, were now Celendrian’s. These could not be shared.
          “What have you and Elerith been doing?” Celendrian asked.
          Her mother turned away and helped her gather her things. “I have been teaching her how
 to produce the Fires of Orthanc. You can too, simply by accessing my memories.”



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         Celendrian told herself she was fortunate – Anqaúrë hadn’t had too many Ringbearers.
 Those memories were the strongest, the ones she experienced the most powerfully.
         The others, though just as vivid, seemed less real, like watching a play through a window
 and not hearing the words. They seldom intruded or came to mind unbidden.
         “I know you know I know how difficult this is for you,” Arwen told her. She brought
 Celendrian her riding boots. “But you must adapt quickly. You cannot barricade yourself and
 never touch anyone. Unknown by most people, yet well known to midwives and wet-nurses,
 touch is essential for human survival. Without it, a baby will die just as surely as if its head had
 been crushed under a stone, and it is not just babies, adults as well. People need to touch other
 people. If you barricade yourself and never touch anyone, it will be a form of suicide.”
         “Is that how you planned to do it, mother?” Celendrian asked. There was a bitterness in
 her voice she’d never heard there before. It sounded too much like the bitterness that had been
 growing in Arwen’s voice since the day she said goodbye to Elrond, which Celendrian now
 remembered vividly. Abruptly, she experienced every aspect of their painful parting. Her
 mother’s bitterness had grown in leaps and bounds since Glorfindel stole the Elostirion-stone.
 “Why ask you anything? All I have to do is look into your memories.”
         “I do not recommend that,” Arwen told her. “It will only serve to isolate you and lead
 you further down the path to an early death, despite the long life normally given to those of your
 father’s line, which for you will be much longer, as a child of mine.”
         “At least I have a plan,” Celendrian said. “You’ve already demonstrated how easy it is.”
         “Bitterness does not become you,” her mother told her.
         “Maybe not, but we become bitter,” she responded. Her own voice shocked her. She
 stood very still. “If I gave you back this Ring, it would go to Elerith. Wouldn’t it?”
         “Yes,” her mother affirmed.
         “What about Eldarion?” she asked. “Isn’t he going to get a Ring? Oh, wait… when he
 stayed behind, father may have given him his Ring.”
         “All a Ringbearer ever knows…” Arwen told her, “… usually, is the nature of the Ring
 they wear and the identity of whoever gave it to them – or from whomever they took it. But now
 you know many things, from many different people. If you wish to help your brother, or your
 father and I, and our Kingdoms, you must learn to temper your ability to steal people’s
 memories. You already have access to the memories of a great many people.”
         “Well then,” Celendrian said. “I guess I’m just going to have to make the best of this.”
         Having packed her things, they went up the long winding staircase.
         When Celendrian saw her friends, she laughed and told them she’d had a frightful scare,
 but she refused to burden them with her troubles. She hugged each of them and never once fell to
 the temptation to use the power of Anqaúrë.
         It was only then she began to hope her strength might be a match for her burdens.




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                                        Chapter 2




                            I Dreamed Of Númenor




         As they traveled north, Arwen kept the Misty Mountains on their right. They cleared the
 Gap of Rohan and entered Dunland. When night approached, they stopped and made camp.
         Celendrian laughed and joked with her friends, as she always had. After she went to her
 tent she slept, and sleeping, she dreamt, dreams of Númenor, just before crossing into Eregion.
 During the days, they passed landmarks she had seen on earlier trips. But now she saw them with
 different eyes and different memories, and they meant entirely different things to her.
         Every night before bed, Arwen called her daughters to her tent and sealed the flaps,
 plunging them into darkness. Using their own unique form of Mátengwië, the Elvish secret
 language of silent gestures, she unshrouded the palantír and taught Elerith to use the Orthanc-
 stone. She shared her discoveries, made while everyone else was setting up camp and fulfilling
 their responsibilities to their men-at-arms. The princes gave orders, eased burdens, showed
 appreciation, trained lieutenants, enforced discipline and meted out punishments. They returned
 and shared their observations with their royal friends, who did the same. Eating together, they
 partook of the camaraderie of this unique gathering of princely Peers from the farthest lands and
 most foreign cultures. It was unprecedented, and perhaps, would never be repeated. Every night,
 Celendrian and Elerith regretfully excused themselves to join Arwen alone in her tent.
         This night was different.
         Beyond the light of their fire and the hearing of others, Elboron followed them and
 stopped Celendrian. Elerith glanced back but continued walking, disappearing into darkness.
         “Cel,” he said softly, touching her hand. “I miss you.”
         She took both his hands in hers and pulled him close. “I’ve missed you too.”
         “We haven’t talked since before Orthanc,” he told her. “I’m worried.”
         “I know,” she said. “A lot’s been happening.”

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         “Come on,” he pleaded. “This is me…”
         “El…,” the nearness of him, the tenderness of his strong touch, the intensity of his bright
 blue eyes looking deeply into hers… his handsome face was rugged, and somehow, almost
 beautiful, framed in his golden hair. The sound and timbre of his voice, the way he laughed and
 the enormity of what she felt were just as she remembered them. They were the same as they had
 always been, despite the memories of others in her mind sharing similar, if different things. This
 immediacy was unaffected. “I just need a little time, to process… a few things.”
         “You know you can share anything with me,” he told her and she felt the truth, the
 sincerity of his words, with just this most limited use of her Ring. She also felt his insecurity and
 fear that she was pulling away from him, and their headlong flight into the greatest joy either of
 them had ever known. “Anything. I won’t judge. I want to help.”
         “You will,” she told him. “You are. We’ll talk. Just give me, a day… or two.”
         “Of course,” he said. “I just wanted you to know, I’m here for you.”
         “Celendrian,” Arwen called, from somewhere in the darkness behind the screening backs
 of the darkened tents in which their escorts slept.
         “I have to go,” she said. Kissing him quickly but intensely, they felt the surge.
         From some far distant fire among their men-at-arms, Celendrian heard her name, and
 then, “ – and I was just this close to her. When she asked the Queen, ‘What about its heart?’ I
 thought to myself, ‘Don’t her own daughter know? The Queen ain’t got no heart!’”
         Her mother was waiting for her outside the tent beside the open flaps and Celendrian
 entered. Looking around, Arwen followed and sealed the tent flaps shut.
         While her daughters had been eating with their friends, Arwen had remained alone.
 Eating alone, working alone and now alone in her tent, she showed her daughters the fruits of her
 labors, focused on their survival and that of their Kingdoms. She showed them things that were
 happening right now, close by. They saw things happening far away and things that had
 happened long ago and far away, in the distant past. Sometimes, in the not so distant past.
         “What happened to Eldarion?” Elerith asked, by gesturing.
         “This was two days ago,” Arwen gestured, concentrating and touching the palantír.
         They saw Eldarion watching their uncles ride away from the Prancing Pony.
         Outside the walls of Bree was a mounted, mail-clad hooded figure with his ears always
 cocked, like a bloodhound following a scent. He rode with a group of hard men, outlaws.
         They arrived at the East Gates of Bree and showed their papers to the Captain of the
 Gate. The Captain scrutinized them, knowing something was wrong. But he wasn’t able to put
 his finger on what, exactly, or find fault to prevent their entry.
         “This is a warlock,” Arwen gestured. “He is very cunning, very sly, remaining ever
 hidden. I have not had time to go back far enough to discover his identity. It takes time.”
         She pulled the Eye of the Stone in close to the first finger of the warlock’s left hand.
 Beneath his mail clad glove, glinting against the fabric, he wore a bright golden Ring.
         “Is that a Ring of Power?” Elerith gasped, gesturing. It was the first she’d ever seen.
         “Yes,” Arwen gestured. “It is one of Celebrimbor’s originals, Rómhandë, the Ring of
 Sound, Languages, Truth, Hearing and Music.”
         “I thought you said he’s a servant of Lungorthin’s,” Elerith gestured.
         “He is still human,” Arwen gestured. “Nothing prevents him from wearing Rómhandë
 and accessing its power. It will be difficult to defeat him. I am not certain we can.”
         In the Palantír, the Captain handed back their papers. Scowling and uncertain, he ordered
 his militiamen to open the Gates. The warlock and his bandits galloped through.

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          On their way to the Prancing Pony, the warlock often stopped. Cocking his head, he
 listened, always listening.
          For what?
          They weren’t sure.
          The bandits rented rooms.
          The palantír went dark.
          “What happened?” Elerith gestured.
          Arwen covered the Orthanc-stone with a sable cloth and locked it in its insulated,
 soundproof box. She answered aloud. “There is a way to thwart the Eye of a palantír magically.
 It is called shrouding.”
          “How is it done?” Elerith asked. She was aware of having taken over the lead in asking
 their mother questions, which Celendrian had inexplicably abandoned. Then Elerith
 remembered: her sister was depressed.
          “I do not know,” Arwen answered. “The secret was lost before I was born. In Imladris,
 we had no palantír and I had no occasion to ask. No one in my family ever discussed them.”
          “Can’t we ask father?” Elerith asked.
          “Your father does not know,” Arwen answered. “Even if he did, we could not use the
 Orthanc-stone for anything other than passive observation while remaining silent. If we do not,
 we risk alerting our enemies to our presence. This is why your father never revealed the Anor-
 stone to Eldarion until his eighteenth birthday. He loves you all so very much. He wanted to
 preserve a sense of safety in our family, for as long as he dared.”
          “You think when father showed Eldarion the Anor-stone, it revealed them to Estel in
 another palantír,” Celendrian said. “That’s how he knew your and Eldarion’s faces. Coupled with
 his desire for revenge, it was his desire for the Anor-stone that drew him to the Palace.”
          It wasn’t a question.
          Elerith thought it strange and not how Celendrian usually spoke to their mother. It was
 almost as if she was reading their mother’s mind. More surprising, Arwen didn’t object. Elerith
 was certain her mother would, if anyone tried to tell her what she thought, wrong or right. Few, if
 any, had dared, not to their mother, the Queen. Certainly not one of her own daughters.
          “Maybe great-grandpa Celeborn knows how to shroud a palantír,” Elerith offered.
          “Perhaps he does,” Arwen said. “We have no way to contact him.” Realizing she had
 forgotten to show them something, she unboxed the Palantír. In the crystal, they saw the hillside
 where the Prancing Pony once stood. Now, only shattered wreckage remained. It was laboriously
 being cleared away by the Bree militia. Arwen gestured, “This was today.”
          Her daughters stared in shock. They had stayed at the Prancing Pony with their father and
 been happily feted by the jovial owner, Barliman Butterbur. Arwen re-secured the Orthanc-stone.
          “What happened?” Celendrian asked, aloud.
          “The palantír remains shrouded until after the fall of the Prancing Pony,” Arwen
 answered. “The resulting clamor of the Bree-landers would make it obvious if Eldarion had died
 there, which means he hasn’t. Why can I not find him?”
          “That’s quite a puzzle,” Elerith said. She wanted to use the Orthanc-stone to learn the fate
 of Butterbur and her brother’s whereabouts, but deferred to her mother.
          As they were leaving, Arwen asked Celendrian to wait.
          “Mother asked what was taking you,” Elerith said, pausing at the entrance of the tent in
 front of their mother. “I told her you were talking to Elboron.”
          Celendrian nodded.

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          Elerith left and Arwen sealed the flaps.
          Celendrian faced her mother. “Elboron and I thought we were being clever, as you know,
 even though none of us have ever believed we could keep a secret from you. It is only now I
 appreciate why. Not knowing before now, this time we thought we truly had.”
          “Elboron is a good man,” she said. “If he ascends the throne, he will be a great Prince.”
          “Mother,” Celendrian said, much more gently than before. “You’re repeating yourself,
 again. I’ve never known you to do it once. Now you’ve done it three times.”
          “I know the ways of mortals…” Arwen said. “I am a mortal woman and I have been for
 twenty-three years. Yet for almost three-thousand, I lived as one of the immortal Elves. It is
 impossible for me to speak as if I did not have those experiences. I know the ways of mortals are
 different from Elves. For Men, for humans, from generation to generation, things sometimes
 change very quickly. I do not understand the patterns effecting those changes. But you are a
 Princess and you have become a woman. Now, you are much more. You bear heavy burdens. It
 is not my place to judge or dictate to such a woman, a Princess who will one day be a Queen. We
 live in a new age, the Fourth. Many believe this will be the last for Middle-earth. The challenges
 we face are unlike any we have faced before, and… you are my daughter, a treasure. I love you.
 You are very precious to me.”
          “Thank you,” Celendrian said, surprised by this rare expression of emotion from her
 mother. She hugged her. “I love you too.” For long moments, they held each other in silence.
          Arwen pulled away. “You have grown strong and wise, despite your youth, and if I have
 not said this before, I will say it now: I am proud of you. From this day forward, you are the only
 one who can tell yourself if you do wrong or right. You have my experiences to guide you, as
 well as those of my mother and grandmother, and many others. You can see the effects of our
 decisions, good and bad, and where they have led us.”
          “But seeing those memories isn’t the same as considering them,” Celendrian told her.
 “And seeing the considerations without the memories – is worse!”
          “There are challenges,” Arwen agreed. “You have the strength to overcome them.” She
 caressed her daughter’s brow and smoothed back her long dark hair. Tracing the back of her
 hand down Celendrian’s cheek, she cupped her chin. “I would not trade any of it. There are some
 who think I made a mistake marrying your father. They believe if I could, I would do things
 differently, never accept the Gift of Men, nor become mortal, remaining of the immortal Elves.
 Sailing West with my father and grandmother to reunite with my mother, they believe I would
 have lived eternally happy in Valinor. They do not know, I would not have been happy. I may
 not have even been aware of how empty my eternal life was. For when I look at you, I am
 humbled by the depth of my love for you, your father, your brother and sisters. I would not wish
 to live without this love, not even to spare myself these hardships. I would not change anything,
 not for everything anyone could offer, for it might prevent the miracle of you.”
          Tears, free of bitterness, stung Celendrian’s eyes.
          “If your path with Elboron is different from the one I walked with your father,” Arwen
 told her, “we live in different times, with different hardships and different challenges. Some say
 they are much less than those your father and I faced. Others say they are much greater, in ways I
 cannot appreciate, despite having had your memories, for I do not possess your inexperience. If
 they are right, I will never understand. So be it. My day is past.”
          “Mother, no…” Celendrian said.
          “Yes,” Arwen responded, smiling gently. “My greatest contribution to the world is my
 family. Circumstances may still demand much of me. I will do what I must to protect you and

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 our Kingdoms. I will rise to every challenge with the best I have left. But I do not want any
 contribution I make henceforth to be greater than my gift to the world that is you. You have been
 the greatest gift the world has given me in return. All I want now is to see you happy. I hope one
 day to see in your arms your own child, and in your eyes, a reflection of the love for your child
 that is a fuller realization of the love your father and I share, and feel for you.”
          She hugged Celendrian, as pure and heartfelt an act as any, and they cried without
 bitterness. Arwen at last felt free to give voice to the most profound emotions in her heart
 because she had passed Anqaúrë to Celendrian, who could see in her memories it was true.
          Celendrian stepped away. Drying her eyes, she composed herself. She kissed her mother
 goodnight and went to her tent.
          Despite the heady mix of tumultuous emotions, the many pressures from without and her
 many turbulent lives within; despite her misgivings and the dark tidings, she lay down to sleep,
 and sleeping, she dreamt, dreams of Númenor.
          Her memories and remembrances were full of Númenóreans. She saw them through the
 eyes of Galadriel, whose memories were particularly strong.



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          At the end of the First Age, Galadriel and Celeborn led a great host of Teleri Elves,
 mostly Sindarin, from Beleriand, after the Fall. They were refugees who had survived the War of
 Wrath. They traveled down the northwest coast, beside the forests of the Blue Mountains on the
 east, from whose northern peaks flowed the mighty river Lhûn. It emptied into the widening Gulf
 of Lhun and eventually passed through a narrow channel, reaching the open ocean Belegaer. Still
 many miles from the Gulf, through the woods, they heard the distant sounds of battle.
          When their scouts returned, they reported that the Elvish High King Ereinan and his
 lieutenants were still at war. The Elven master shipwright Lord Círdan and the Elven master
 craftsman Lord Celebrimbor, along with the Elven Lore Master Elrond and his twin brother
 Elros, were fighting beside the Elven King Oropher and his Elven Queen Emisillë of Doriath.
 The hosts of their Men and Elves were sorely pressed. They were holding a crumbling line
 against an overwhelming invasion of orcs, who themselves were fleeing the ruins of War.
          While Celeborn vacillated as to which course they should take, Galadriel donned her mail
 and armor, taking up her great war spear that she alone had charmed Eöl to forge for her of
 nearly indestructible galvorn. She threw off her helm, allowing her long golden-white hair to trail
 shining radiant in the Sun and she led her people charging into the thick of the attacking orcs.
          The orcs were blindsided. The surprise attack of Elves seemed led by the Vala Arien, free
 of earthly flesh, burning blindingly bright and hot, and carrying her long white spear tipped with
 deadly black fire. The orcs couldn’t even look at her, the light was too bright and burned their
 eyes, much less stand against the bite of her spear and the force of her attacking Sindarin forces.
          Ereinan and his Ñoldorin Elves, Oropher, Emisillë, and their Sindar and Laiquendi Elves;
 and Elros leading the Men of the Edain, rallied. During the battle, they crushed the massive
 orcish armies and scattered the survivors across the Blue Mountains. By swiftly galloping Elvish
 messengers, they alerted their allies, the Dwarves of Gabilgathol and Tumunzahar.

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          They were the surviving remnants of the Dwarven kingdoms in the Blue Mountains.
 Battalions of war-hardened Dwarvish warriors assembled in the foothills, gathering to intercept
 and destroy the fleeing orcs.
          Galadriel herself impaled the monstrously muscled and horribly deformed Guguthmar,
 King of Orcs. Although the wooden shaft of her long war spear broke beneath his heavy war
 mace and the onslaught of his thrashing death throes.
          Momentarily without a weapon, a great Orc-chieftain charged to impale her on his own
 great spear. Though badly positioned, Círdan leaped from his horse and tackled the orc.
 Wrestling him to the ground, he throttled him with his bare hands. He gave her the fallen Orc-
 chieftain’s spear and they fought side-by-side, until the orcs were finally killed or routed.
          After the battle, Ereinan thanked Galadriel and Celeborn, and their refugee Elves.
          She thanked Círdan for his timely and dramatic rescue, and nicknamed him ‘The Griffin.’
          “What is a ‘Griffin’?” Ereinan asked.
          “Once, in Valinor,” she told them. “I stood beside the Vala Irmo and Estë at one of their
 fountains, in the Gardens of Lorien. There, I met one of the many creatures the Valar had sung
 into being by blending the themes of their Music. This one had the eyes, head, wings and
 forefront of an eagle. It also had the heart, claws, body and tail of a lion. It had never left
 Valinor, for it did not fit Ilúvatar’s plan for Middle-earth. Yet it was beautiful and fearsome. It
 was kept in the Gardens, with many other unusual creatures.
          “In the battle, Círdan saw my broken spear and leaped from his horse. Tackling and
 slaying the great Orc-chieftain, he seemed the very embodiment of the Griffin: Eagle eyed, far
 sighted, perhaps a bit remote. Yet beneath that detached air, the heart and ferocity of a lion.”
          “Such golden-tongued Elves are rare in Middle-earth,” Círdan said, bowing to Galadriel.
 He turned to Ereinan. “You should invite them to stay.”
          Galadriel tugged Círdan’s beard. “This is most becoming. If I were not safely married…”
 Her eyes found Celeborn’s and they laughed.
          The battle cemented Elrond’s half-Elven brother Elros’ decision to forsake his
 immortality and marry his love, the beautiful Princess Karewyn of Nevrast. They accepted the
 invitation of the Valar to leave Middle-earth and sail to the newly risen island continent called
 Númenor. It was a tranquil paradise, with beautiful trees and flowers found nowhere else. It lay
 far beyond these shores in the middle of the ocean Belegaer. The Valar called it, ‘The Land Of
 Gift.’ It was given to the Men of the Edain for helping destroy the armies of Morgoth. In this
 new land, Elros and Karewyn would be the first ruling King and Queen of the Númenóreans.
          After the battle, King Oropher and Queen Emisillë led their Sindar and Laiquendi Elves
 east over the Misty Mountains to the forests of Greenwood the Great. Many Teleri and Avari
 Elves still lived there and they settled among them. Some Teleri hadn’t arrived in time for the
 Great Battle or been involved in the War. The Avari had refused the Summons of the Valar.
          Galadriel and Celeborn accepted Ereinan’s invitation to stay with him and his people.
 There the remaining Sindar, Laiquendi and Ñoldor began building a new Elvish Kingdom along
 the new west shore of Middle-earth, around the Gulf of Lhun, and they named it Lindon.
          A natural sea wall sheltered the beaches. The river and widening gulf divided the land
 into what became three fiefdoms. Forlindon was in the north, Mithlindon in the middle and
 Harlindon in the south. Together, they comprised the united Kingdoms of greater Lindon.
          In the Gulf in Mithlindon, tall cliffs encircled and protected the harbors. In the sunlight,
 the clear waters sparkled like gems at the mouth of the sea. There they built the fair Elvish towns



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 of West Mithlond and East Mithlond. They were twin harbors on the north and south shores at
 the edge of the river mouth which they named, The Grey Havens.
         In the Havens, Círdan and Galdor began building a fleet of ships to take the Men across
 the ocean. King Elros and Queen Karewyn gathered the surviving people of Estolad, Dorthonion
 and Hithlum. They were descended from Bëor and Hador, called Beornings and Hadorians.
         Ereinan offered Galadriel and Celeborn the thrones of Harlindon in the newly built
 Palace of East Mithlond. King Celebrimbor had held the throne begrudgingly. He was now eager
 to return to his workshops. Celebrimbor was the grandson of Lord Fëanor and Lady Nerdanel.
 He had been born to rule in Middle-earth, after his father and uncles were slain. But he preferred
 the solitude and creativity of his forges, smithies and jewel-shops.
         Galadriel and Celeborn accepted the thrones. Ereinan christened them Queen Galadriel
 and King Celeborn, equals, very unusual in those days. For Galadriel had been born in Valinor
 and was of the High Elves, while Celeborn was born in Middle-earth, a Sylvan woodland prince.
 He had never seen the light of the Two Trees or the shores of the Golden Lands. Although they
 rarely spoke of the differences in their lineages, Celeborn never forgot them.
         They and their people settled the lands south of the Gulf. The Elves and their animal
 servants prospered under this joint rule. The forests and fields of Harlindon and East Mithlond
 grew ever more green and beautiful, and the cities and harbors grew ever more mighty and fair.
         Celebrimbor was overjoyed to be freed by Celeborn from his unwelcome burdens and to
 Galadriel for saving them. In return, she extended great attention and every courtesy to Ereinan’s
 master craftsman. He devoted himself to his forges, and secretly at first, he fell in love with her.
         As the grandson of the greatest Elvish smith in history, Celebrimbor had long been
 praised for the unmatched artistry of his creations. Free of his burdens, he crafted a new helm,
 shield, armor and mail-coat for Ereinan, based on the fallen Elvish High King Fingolfin’s.
         These he forged in mithril, adorned by white diamonds mined in Khazad-dûm. He
 painstakingly cut and arranged the gems in a dazzling tapestry. So great and skillful was his art,
 if the gems were lit by firelight, moonlight or sunlight, regardless, they glittered like stars.
         Galadriel forsook Ereinan’s name and rechristened him – Gil-galad, ‘Star of Radiance.’
         It was a complement to all three of them.
         In response, Celebrimbor forged a new Elessar-stone to replace the one Eärendil had
 returned to Valinor. It was a green gem in which he captured the light and heat of the Sun. He
 gave this Elessar-stone to Galadriel and now there was no doubt he’d fallen in love with her.
         In later years, the arrival of Galadriel and Celeborn with their refugee Elves in the new
 west of Middle-earth would be the time they remembered most fondly. It was the time they
 looked back on most often and they thought of it ever after as the Spring of Lindon.
         Before Círdan and his Elvish shipwrights ferried the Men across the sea, Elros allowed
 Celebrimbor to study the Ring of Barahir, which he wore on the third finger of his right hand.
         It was a gift to his ancestor, Barahir son of Bregor, from the Elvish High King Finrod
 Felagund (Galadriel’s brother) for saving his life. Wrought with mithril, at the top, two mithril
 serpents met beneath a crown of seven golden flowers, which one upheld and one devoured. The
 green gems in the serpent’s eyes had been cut and crafted by Aulë, then set in an exquisitely
 crafted band by Lord Fëanor. This apprenticeship taught Fëanor to create his own bright gems of
 different colors and he passed them to his sons. They passed them to theirs and many came to
 Celebrimbor, who hadn’t had the opportunity to apprentice with his grandfather. He prized those
 gems, and this opportunity to study an artifact crafted by the Valar and Eldar.



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         His trained eye saw the effects Fëanor could only have mastered in collaboration with
 Aulë and his Maiar servants. They had produced a far superior ring and gems than either could
 have forged alone. Suddenly, Celebrimbor felt the spark of someone’s spirit in this ring. Whose
 was it? He wasn’t sure. But he was amazed at the audacity. This birthed a longing in him for
 companions to share the joys of creation, to inspire and be inspired by, just as Fëanor had.
         Though he worked alone, Celebrimbor began crafting Rings of Power, based on Elros’
 Ring of Barahir. They were a testament to a master craftsman in the ascension of his skill and
 power. Each one was a masterpiece, requiring decades of patient toil in which he refined and
 mixed precious metals and new alloys. He cut, sculpted and often discarded gems, ultimately
 preferring simplicity. Depending on the effects he wanted, he poured different aspects of his
 power into the uncorruptible bands of gold. Through a long practice of trial and error, eventually
 his efforts were rewarded and he created the first of Thirteen golden Rings of Power.
         Gil-galad had requested Thirteen Rings for their animal friends and servants: Great
 Eagles, Oxen, Bears, Dogs, Cats, Narwhales and many others. The Gift of Speech given to them
 by the Valar was fading and he didn’t want to lose their friendship, nor their invaluable service
 and assistance in so many areas of food production, commerce and war.
         Celebrimbor’s first Thirteen Rings were masterworks, but only a small part of a much
 larger Great Pattern, conceived and planned from the beginning. Just as the Valar and Eldar had
 with the Ring of Barahir, he included custom touches for every Ring.
         Not only did they preserve existing Valarin gifts, they made the animals who received
 them the Kings and Queens of Beasts, birds and fish. They and all they ruled grew stronger,
 braver, wiser – and ever more grateful to the Elves.
         For the next fifty years, Círdan and Galdor built a vast fleet of over three-hundred ships
 to ferry the Edain over the ocean. They transported tens of thousands of settlers, until all the west
 lands of Middle-earth were empty of Men. Now, only Elves and Dwarves remained.
         Galdor built the first of the three West Towers in the Emyn Beraid and he christened
 them the Tower Hills. Like the Havens, they were shared by all three kingdoms. He named the
 first ‘The Tower of Elostirion’ in honor of the great Elvish warrior who had saved their people
 during the Fall of Gondolin. There, he and Círdan began assembling a large store of heirlooms.
 They secured them in a treasury in the room at the Tower’s top, including Celebrimbor’s
 collection of Fëanorian gems, and the broken shaft and galvorn head of Galadriel’s spear.
         While others toiled in building, or supervising their animal servants, Celebrimbor made
 the hardest, strongest and sharpest war spear ever forged. When he was done he named it Aeglos,
 having laced the carbon steel with his most powerful and deadliest enchantments. Crafting it to
 replace Galadriel’s spear, which she’d lost in the last battle of the War, when piercing flesh it
 would bring the most painful death possible to orcs.
         Galadriel heard what he was doing and went to him, saying she wished to be done with
 war and killing. This great gift was too large and heavy for her hand. It would better serve the
 hand of Gil-galad, as a gift to the High King of the Ñoldor, and it did.
         Just as with his earliest Rings, Celebrimbor passed a tiny spark of his power into Aeglos.
 Whenever Gil-galad held it, he greatly desired to kill as many orcs as he could. Wielding Aeglos
 viciously and relentlessly in battle, he forever after refused quarter, parlays or surrenders. Few
 orcs survived to flee. Those who did, spread tales of horror at the wanton slaughter of the Elves
 and how terribly their brethren orcs had screamed when stabbed by Aeglos.
         Pain and death were orc’s bread and butter, but they had never heard screams like these
 before. The orcs swore they never would again.

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         Legends of the deadly power of Aeglos grew. Forever after in battle, if orcs saw Gil-
 galad brandishing Aeglos, they simply fled. The few who didn’t, died. The fear of Gil-galad and
 his mighty enchanted war Spear spread ever further east.
         Gil-galad was also able to confirm Celebrimbor’s enchanted Rings had saved their animal
 friends and not only did no harm, they had fortified them and their native Valarin gifts, as
 intended. Celebrimbor continued forging more of the Thirteen. Though long before he finished,
 he began forging Rings of Power for their other allies, Dwarves. But even before them, the first
 of his newest Rings was made for Elves and the first of Celebrimbor’s Elven Rings was the most
 powerful. It went where everybody knew it would – to Galadriel.
         He named it Elentári, the Ring of the Heavens. For so highly did he esteem Galadriel, her
 wisdom, grace, beauty, and the beauty of her long golden-white hair, which like the Lamps, the
 Two Trees, and the stars of Varda alone, it glowed with the light of the Valar.
         Just as the Valar infused their works with sparks of their power, Celebrimbor infused
 each of his Rings with a small part of his own. But none more so than the Ring he created for
 Galadriel, for her beauty and regality, he likened to the stars. With this new Ring, she now had
 access to the secrets, power and majesty of the Heavens.
         To say she was touched, most profoundly moved, and elated by Celebrimbor’s
 unprecedented generosity; by the power, munificence and the beauty of her Ring, would vastly
 understate the degree to which Galadriel was amazed and delighted.
         She was dazzled.
         Some said the enchantress herself – had been enchanted. Yet all agreed that henceforth
 and forevermore, Galadriel was enamored with Celebrimbor.



                   *             *              *              *              *



        It was nothing someone else said alerting Celeborn. It was just one of those off-hand
 remarks Galadriel made, which meant nothing to anyone else. As if a bell rang, he realized she
 and Celebrimbor were having an affair.
        It hurt so deeply, he spoke to Gil-galad discretely and obtained his permission to leave
 Harlindon. He wished to travel over the mountains to the forests around Lake Evendim and he
 began gathering a large contingent of woodland Elves. They liked the sea, but loved even more
 the sounds, smells and feels of the primeval forests they’d known before the Fall of Beleriand.
        As their preparations to depart commenced, Galadriel learned Celeborn was leaving, just
 as innocuously as he had learned of her affair. One day in conversation with him and in this same
 innocuous manner, she mentioned she was leaving and going with him.
        Celeborn suspected what she was doing. He confirmed it by casually and innocuously
 mentioning to Celebrimbor that he and Galadriel would soon depart Lindon. His heart swelled in
 renewed love when genuine shock and hurt filled Celebrimbor’s face.
        Much later in private, Galadriel and Celebrimbor shared a tearful and chaste farewell.
        Then Celeborn led a great host of Sindarin and Laiquendi Elves with Galadriel. They
 headed east over the hills of the Emyn Beraid, past the White Towers and Far Downs to the
 shore of Lake Evendim. It lay at the feet of the Emyn Uial, called the Twilight Hills of Eriador.

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         There, Galadriel and Celeborn rediscovered their passion for each other. They felt so
 happy, so free, like when they first met. Galadriel became pregnant and bore them a son they
 named Amroth. In celebration, with the great industry and craft of their kin and kindred, they
 built on the southern shore a wondrous city they named Annúminas, the Sunset Tower. Every
 evening, its high grey stone walls caught the fading light of the Sun and turned gold.
         Back in East Mithlond, Gil-galad again appointed Celebrimbor the Lord of Harlindon, for
 he now refused the title ‘King.’ Celebrimbor apprenticed his adopted son Elrond to rule the
 remaining Sindar and Ñoldor, and to help him run the Kingdom. Often he was in his smithies
 and workshops, forging more of the Thirteen.
         It had been six hundred years since King Elros, Queen Karewyn and the Edain left for
 Númenor. No one had heard from them or their descendants.
         One day a ship appeared on the horizon greater than any ever built, greater than even
 those of the master shipwright Lord Círdan. It had a higher draft and mightier sails. Yet these
 sails were not white, but woven from threads of gold, with taller masts than any ever seen.
         Everyone imagined the tiny figures winding ropes and raising golden sails must be their
 kin: High Elves returning from the West, fair Tol Eressëa or perhaps even Valinor.
         The ship sailed into Gil-galad’s harbor in West Mithlond and there they saw it wasn’t
 manned by Elves. These were Men descended from the long dead King Elros, Queen Karewyn
 and their people – the many years missing and long lost Númenóreans.
         The commander of the Númenórean King’s Ship, the NKS Entulessë, which meant
 ‘Return’ in Quenya, was the young Captain Vëantur. He was a fourth generation descendent of
 King Tar-Elros and Queen Karewyn, and the grandson of Prince Atanalcar. He spoke Quenya
 natively and was Captain of all the King’s Ships in the port of Andúnië. It was the capital of the
 province of Andustar on the western-most shore, closest to the Undying Lands. Vëantur was a
 distant cousin and served the ruling Númenórean King, Tar-Elendil Parmaitë, Wise in Lore.
         The Eldar often sailed from Valinor and docked in Andúnië bearing gifts. They brought
 gold, jewels and most incredibly, marble statues forged by the Elvish master sculptress Nerdanel,
 wife of the long dead Fëanor. Lord Vëantur had welcomed Nerdanel to Númenor numerous
 times and was her friend. Many generations of Men had passed since Elros and Karewyn sailed
 away. To the Elves of Lindon, it seemed a heartbeat. It reminded them how fleeting were the
 lives of mortals. To Vëantur’s great surprise, Gil-galad welcomed him and his Men as kin. There
 was no point in telling them how well they’d known their many-times-over great grandmothers
 and grandfathers, especially King Elros and Queen Karewyn, their own distant cousins. They
 knew from long experience, it would only serve to unnerve and disquiet the mortals.
         Gil-galad, Círdan, Elrond and the rest crowded around Vëantur, eager to hear of
 Númenor. When the Elves transported the settlers six hundred years before, they hadn’t gone
 ashore. The Valar had decreed the Land of Gift was exclusively for the Men of the Edain.
         Vëantur told them of the wonders: there were vast virgin forests in Hyarnustar that
 bloomed with new kinds of flowers and trees: mallorns of silver bark with golden leaves. The
 great capital city of Armenelos had a citadel: a colossal tower of solid gold rising a thousand feet
 above the cliffs. It caught the first light of the Sun every morning and the last light every night.
 In the beautiful, sheltered ports of Rómenna, Eldalondë and Andunië, they received in friendship
 the Eldar of Valinor, bringing gifts from the Valar. Above all other peaks, in the center of the
 island rose the great mountain Meneltarma. It was a fourteen-thousand-foot snowy peak on
 which the Vala Manwë (and some said Eru Ilúvatar Himself) spoke directly to their King.



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         Vëantur saw the wonder, and envy, on the faces of many Elves. He began giving out the
 presents he’d brought himself and those from King Tar-Elendil, priceless treasures: gems, silver,
 gold, jewels and fabled mithril. These Elves had thought it was only found in Khazad-dûm.
         Celebrimbor valued their maps and star charts, and their arts and sciences of ship craft.
 He prized their metallurgy and navigation; their lore of the Sun, stars, Moon, and the planets
 circling beyond. He was fascinated by the strange meteors, comets and other things they
 documented living high above their heads in the hallowed realms of Ambarexä, Kúma,
 Tarmenel, Vaiya, Ilmen, Vista, and those hidden within the Olórë Mallë – the Path of Dreams.
         By necessity, the crafts and sciences of the Númenóreans had grown. Only now did they
 have the confidence to dare the long ocean crossing and return to Lindon. It was a crossing,
 which until that day, had only been successfully completed by Elves.
         Heartened by their success, Vëantur and his Men continued their explorations, going far
 to the north, then south along the coasts. They also went inland through the Gulf and up the
 River Lhûn, mapping its twists and turns, and describing the lands beyond. After two years and
 many trips, Vëantur and his men bid them farewell and sailed back to Númenor.
         Many seasons passed. The seven hundredth anniversary of the Second Age fast
 approached. As plans for a great celebration spread through Lindon, at the suggestion of Círdan,
 Gil-galad asked Celebrimbor to forge a Ring of Power for Men, anticipating the Númenóreans
 would one day soon return.
         Celebrimbor worked for years on the first of the Five Rings for Mortal Warriors, because
 Vëantur, though mighty, would never be a king. After almost a hundred years passed since the
 Númenórean’s first visited, Vëantur still had not returned. Gil-galad, Elrond, Galdor and others
 began imploring Celebrimbor to consider one of their own favored allied Kings of Men, living
 beyond the Misty Mountains, as an alternative recipient for this mighty magic Ring.
         For the first time Celebrimbor fully appreciated what an incredible series of treasures
 (and problems) he was in the midst of creating.
         He knew it was a weighty decision and he wanted time to consider. Though it was winter,
 he got permission from Gil-galad to travel to the Misty Mountains as an emissary to King Durin
 III in Khazad-dûm. Leaving Lindon, he crossed the great dwarven East Road, passing Celeborn
 and Galadriel, clamoring for his attention in Annúminas to the north. In the east, he found a
 pleasant series of gently rolling hills and mild fertile valleys stretching across the midlands.
         He took the dwarves’ Greenway to the Great South Road. Crossing the convergence of
 the Rivers Glanduin and Mitheithel, there he found an enchanted delta. Here the streams and
 rivers ran together, slowed, and then sometimes, reversed their course. The line along the horizon
 between land and water became hard to distinguish. The turbulent flows slowed, becoming
 gentle eddies. Then, they stilled – to mirror finishes.
         He found fleets of graceful swans sailing majestically over the bright reflecting surfaces.
 For fifty miles, he was enchanted. At the end, he found a forest of green trees that hadn’t shed
 their leaves in winter, like those in Lindon. Instead, they bore winter-ripened bright red berries.
         His spirits rose and he thought somewhere here, surely he would find a new home. At a
 second delta there lay a jewel of a valley, set between the rivers Glanduin and Sirannon. Along
 their southern shores wound the rough foot-worn path leading to Khazad-dûm. Before him rose a
 great hill. At the top he looked back, seeing again the fleets of swans gliding over the mirrored
 lakes behind. The snow-white peaks of the Misty Mountain rose in the distance far ahead, and
 below, the rivers ran together. The green trees bearing bright red berries all around he called
 Holly trees and he named the land Eregion, Hollin in Westron. This was his new home.

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         Leaving the hilltop, he followed the foot-path and headed to Khazad-dûm. Dwarven
 travelers hailed him and messengers went ahead to announced his impending arrival.
         When he reached Khazad-dûm, King Durin and his beautiful Queen Myrkinamid
 received him graciously in the Palace of the Courtyard of the Fountains. Amidst great ceremony,
 they introduced him to their master craftsman Narvi, and Narvi’s lovely wife Dagnall.
         After feasting Narvi asked, “For which of our gems or precious metals have you come?”
         Celebrimbor laughed. “I hold you in great esteem, though not for those treasures, nor
 your beautiful wives or fair jewelry, which surpasses those of Elves, as the Nauglamír made
 clear. What I have come for is the cunning of your minds, the ingenuity of your cavern palaces
 and the loyalty you bear each other, keeping always and forever, your greatest secrets, secret.
 Dwarves have been in Middle-earth longer than Elves. Though Elves laugh, treading lightly in
 the woods, Men have surpassed our ship and star craft and Dwarves have surpassed all our
 finery. Elves seem frozen in time, unable to grow. Most impressive to me, you have kept the
 secrets of your language and how you build your magnificent mountain homes. I am not asking
 you to share those secrets. I am asking for your help and I’ll pay you handsomely, so highly do I
 esteem your skills, unknown among Elves. I want a cavern home below a palace in this fair land
 of holly trees near your guarded tunnels, far from the Elven King and Elvish kind, and close to
 the unwavering steadfastness of Dwarves, which I value higher than my own people.”
         Durin and Myrkinamid, and Narvi and Dagnall were shocked and complimented, and
 abashed. It was during this season that the night of the great and lucky Seventh Millennium fast
 approached and they were preparing to celebrate the greatest Durin’s Day ever. Celebrimbor had
 not asked and few of Elven kind had been allowed to enter the Great Halls of Dwarves, but they
 invited him into the underground halls of Khazad-dûm. After he gratefully accepted, they
 ushered him through their heavily guarded, iron and timber gates.
         Although everyone in Lindon (it seemed) had bragged to Celebrimbor of seeing the
 outside wonders of Khazad-dûm: The Dimrill Dale, Durin’s Stone, the Mirrormere, and far
 above, Durin’s Tower, he was the first to experience the wonders deep within: the monumentally
 mammoth First and Second Halls. Durin’s Bridge. The seemingly endless corridors containing
 the records of the Dwarves. They spanned three Ages of Middle-earth in many branching rooms,
 containing the libraries and archives of the vast Chambers of Mazarbul.
         Rich veins of precious ores and gems threaded through three mountains, like strands of
 trees, bubbling streams and fields of bright flowers flowing through open fields on the surface.
 These were Caradhras (the Redhorn), Fanuidhol (Cloudyhead), and Celebdil (the Silvertine).
         He was the first of Elvish kind to climb the Endless Stair. It rose from more than 14,000
 feet below the earth to over 14,000 feet above. At the top, Celebrimbor was the first to look out
 from Durin’s Tower. He said Dwarven creations didn’t rival those of Elves, they surpassed them.
         Hearing this praise from the legendary Elven master craftsman left Durin and
 Myrkinamid, Narvi and Dagnall speechless. They had never felt so gifted by someone’s praise,
 nor held in such high regard for the things they valued most highly about themselves.
         To them, his intensity and quiet study of their stairs, halls and doors began to look more
 and more like that of a Dwarf.
         Feeling he’d met kindred spirits, Celebrimbor invited Narvi and Dagnall to work
 alongside him. Astonished, the two happily accepted Celebrimbor’s invitation. Together, they
 designed a palace of the strongest stone atop a hill above the rivers Glanduin and Sirannon, and
 an impregnable stronghold underneath. It contained a hidden library, archive and armory, like
 those found in the many levels and branching corridors of the Chambers of Mazarbul.

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         For a season, unnumbered Dwarven craftspeople strove with fire and earth, stone and
 water, building a high palace fortress like no other. It had been conceived in an unprecedented
 alliance between the greatest Elvish and Dwarven craftspeople of their Age.
          Celebrimbor was so delighted with the results, in return he offered whatever humble
 skills he possessed to add one or two modest ornamentations to the magnificent palaces and
 mansions of King Durin, Queen Myrkinamid and the Dwarves of Khazad-dûm. If, in the spirit of
 generosity they had shown him, they would afford him such an honor.
         No one had ever offered to do freely for Dwarves, what everyone else offered payment
 and demanded Dwarves do for them. Plans were made, entrances and exits designed, and the
 sculpting commenced for two great and magical sets of doors. When they were done, the
 impregnable Doors of Durin secured Khazad-dûm in both the east and west entrances and exits.
         They also built a road between Celebrimbor’s palace and the West Gate. It was called the
 Elven-way (by Elves, it was really the Khazad-ûlnâla, in Khuzdûl). They created a new form of
 writing with smelted liquid mithril and Celebrimbor named it ithildin. It was only visible in the
 light of the stars or Moon.
         Returning from Khazad-dûm to his new home, Celebrimbor named it Ost-in-Edhil, which
 in Sindarin meant ‘Of-the-Elves.’ In the strongest and deepest vault, he locked Anqaúrë, the
 Ring of Feeling, Sensing, Intuiting. It had aided him mightily in his dealings with his new
 friends; King Durin, Queen Myrkinamid, Narvi, Dagnall, and their Dwarven kin and kindred.
         With his treasure safely stored, Celebrimbor returned to Lindon. He told them of the
 beautiful and majestic halls and palaces of the Dwarves; the beauty and abundant wealth of
 precious metals, gems and jewelry; the wonder of the Endless Stair; their magnificent creations
 in mithril adorning caves and chambers; the spectacular view from inside Durin’s Tower looking
 outside on the West; and the hidden treasure of the stunning beauty of their wives and daughters.
         Above all, Celebrimbor praised the kindness of King Durin and Queen Myrkinamid; the
 comradery of his master craftscouple, Narvi and his equally skillful but undeniably more
 beautiful wife Dagnall; and the expertise of their thriving craftspeople community.
         Most surprising to Elves, Dwarves had delighted in Celebrimbor’s company. In addition
 to the natural and unnatural wonders of their realm, they had shared the marvels of their crafts
 and the arts of their jewelers, smithies and forges.
         It was a testament to the reserve and discipline of Celebrimbor and the Dwarves that no
 one else ever learned that on his first visit they built his library, archive and armory where he
 stored his Ring of Power; not even Gil-galad, Elrond or Galadriel ever knew.
         Gil-galad was suitably impressed by Celebrimbor’s achievements. In private, he and
 Círdan agreed: the economic and military advantages couldn’t be ignored. He and Círdan asked
 Celebrimbor to return to Eregion and found a joint colony of Elves and Dwarves for
 craftspeople. It would be a haven for those who delighted in the arts; a tie to further bind the
 unlooked for and burgeoning friendship between their two races. Celebrimbor was delighted by
 the proposal. He had a vision of his dream coming true: his new Kingdom of Eregion would be a
 city for all races. He would open its doors to all those who adventured in the creation of
 precision tools, precious metals, jewelry and other beautiful things.
         It had been 125 years since the Númenóreans left Lindon. Many generations of mortals
 had been born and died. To immortal Elves, the years passed quickly.


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          In 725 of the Second Age, the Númenórean Crown Prince Anardil Aldarion; a young
 adventurer, sailed to Lindon with his mother’s very old father, Lord Vëantur. Gil-galad, Círdan
 and Celebrimbor welcomed their return and Círdan had a vision: secretly, he advised Gil-galad
 that Aldarion and the Númenóreans, if properly courted, would become powerful allies and
 could play decisive roles in defending Lindon against Morgoth’s surviving servants in the East.
          Just as before, Aldarion and Vëantur explored the coasts and deep inland waterways for
 almost two years. When they first docked, Gil-galad, Círdan and Celebrimbor celebrated their
 arrival and upon receiving gifts from Númenor, gave them many in return.
          Celebrimbor told Aldarion he was fascinated at how much his father, soon to be the
 Númenórean King Tar-Meneldur, had advanced star craft by himself, in the short 125 years since
 Lord Vëantur’s first visit. Aldarion promised to bring copies of Tar-Meneldur’s notebooks,
 scrolls and records when he returned. Privately, Celebrimbor doubted he would see him again.
          But he did – just three years later. Aldarion sailed back without Vëantur, who had
 reached the end of his hardiness and retired, bearing wondrous star charts full of new knowledge,
 just as he had promised. Celebrimbor was impressed by the accomplishments of these Men, none
 more so than their King, who’d shared the gifts of his knowledge of the stars, borne by his son.
          Celebrimbor was delighted finding himself indebted to the race of Men, and Aldarion in
 particular, despite only having the fleeting years of mortals. When Aldarion prepared to return to
 Númenor, he personally promised Celebrimbor he’d dare the seas and return yet again.
          Which he did again – three years later. The Elves were elated that Aldarion’s passion had
 brought him back so quickly, whose frequency was unprecedented. After feasts and fetes, the
 Mariner continued exploring the coasts with his two other ships. He wanted to see for himself
 Forodwaith and its great ice fields and glaciers standing like mountains, even at the height of
 Summer. He would also extend his navigation charts and continue tracking stars.
          Before he left, the Elves again feasted their intrepid and courageous new mortal friend.
 Celebrimbor had gone to Ost-in-Edhil and retrieved the first Ring of Power for Men, called
 Anqaúrë. He gave it as a gift from the Elves to their closest mortal ally, Aldarion himself.
          Gil-galad used these celebrations to announce that Celebrimbor was looking for colonists
 to found a new kingdom (a fiefdom of Lindon, of course). It was for any creative craftspeople
 who wanted to create beautiful things in a land of evergreen trees. These tree, like the Elves,
 never withered, never died, but under the harshest conditions in midwinter, produced the
 brightest berries. The response was overwhelming.
          So many Elves wanted to go, Gil-galad was forced to cap their numbers, in fear of
 depopulating his established kingdoms. Aldarion offered his ships to transport the newly
 crowned King Celebrimbor of Eregion (he felt worthy and wanted the title again). Aldarion
 ferried him and his Elvish colonists down the coast of Harlindon and up the River Gwathló. It
 was called by Men, the Greyflood, which Númenóreans called Gwathir, the River of Shadow.
 The forest canopies were so dense, Aldarion couldn’t see any sunlight reaching the forest floor.
          Eldarion realized that with all these trees beside the ocean, the river mouth was perfect
 for a harbor and repair yard to maintain his ships. They suffered greatly during the stormy ocean
 crossings. To avoid denuding the forests of Lindon, Círdan’s fleet had been neglected and was
 falling to ruin. Aldarion offered to repair them and also provide shipping and repair services to
 Eregion and Khazad-dûm. There he founded the first Númenórean port in Middle-earth and
 named it Vinyalondë, also called Lond Daer Enedh, New Haven, in support of Gil-galad and
 Círdan in Lindon, Celebrimbor in Eregion, and Durin and Myrkinamid in Khazad-dûm.



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          In his new capital, Celebrimbor immediately began stocking his library and archive in his
 personal palace. His smithies, forges and workshops were built in another building called the
 Gwaith-i-Mírdain, the Guildhouse of the Jewel-smiths, patterned after the guilds of Dwarves.
          Narvi and Dagnall were founding members.
          Rarely were new Elvish Kingdoms established. Never had one been built in league with
 Dwarves. Add the mystique of talented artists, musicians, blacksmiths, whitesmiths, goldsmiths
 and jewelers, then wonder at the artistry, beauty and wealth in mithril tools, jewelry and other
 gems flowing from Eregion. Celebrimbor and the Mirdainions became the marvels of the
 Modern World. Stories of their arts and treasures spread through many lands.
          With one majestic stroke, Gil-galad cemented strong alliances with the Dwarves in the
 East and the Númenóreans in the West. United against the rumors of the unnamed but growing
 evil in the shadowy south-east, the friendship between the Edain and the Ñoldor was renewed.
          The Mirdainions were joined by other Dwarven and Elven smiths and jewelers, and they
 discovered their differences enhanced their arts rather than marred them, as some had feared.
          Celebrimbor continued crafting Rings of Power, completing the Thirteen he promised
 Gil-galad. Four of the Eleven for Dwarves went to Durin, Myrkinamid, Narvi and Dagnall (not
 in that order). At last, he finished his second of the six of the Eleven for Elven Lords, yet it
 didn’t go to Gil-galad, as everyone expected, but rather surprisingly – to Celeborn.
          No one was more surprised than Celeborn himself. The trade in mithril had helped Ost-
 in-Edhil, as Celebrimbor had provincially named it, grow quickly from a small rural town to a
 rich bustling city. Along with the Ring, Celebrimbor sent an invitation for Celeborn to rule
 Eregion, at the new and magnificent Palace of Edhilon. It was the grandest Citadel ever built
 above ground, thanks to the great creative alliance between Dwarves and Elves.
          The Palace rose over natural hot springs. Narvi and Dagnall had built two great arched
 aqueducts from the River Sirannon. The grounds were full of fountains; hot and cold public and
 private baths fed from mountain springs. Flowering beds of perennials, large bushes and tall
 Holly trees were transplanted onto the Palace rooftop gardens from which falls of water cascaded
 down to fountains. The pools in gardens far below overflowed with the singing waters of the
 Gate Stream. They ran south from the Silvertine sparkling effervescent in the Sun.
          Inside the palace walls there hung bright tapestries woven from threads of silver, gold
 and mithril. They were inlaid with precious stones and spun into majestic landscapes of the
 Misty Mountains or the coastlines. Visitors often mistook them for open windows.
          Out the three-story picture windows, majestic white watermills on the rivers provided the
 grinding for great stores of grains that had been grown in the surrounding countryside. The
 overflow of this bounty went to Lindon, Annúminas and Khazad-dûm.
          But their flavored butters, spiced cheeses, sweetened creams and pastry custards spoiled
 too quickly for transport and could only be found in Eregion. They filled the many granaries,
 bakeries, pie and cake shops, and of course the royal kitchens, dining rooms and banquet halls,
 with the best and freshest of everything. The sheer opulence had jealous Elves in Lindon calling
 this new capital, Ost-en-Tatious. Celeborn could not think of a good reason to say no.
          He and Galadriel left Annúminas. Celebrimbor welcomed them as the new King and
 Queen of Eregion, vassals of the great High King Gil-galad, as before. The Ring of Power
 Celebrimbor had given Celeborn was Anor, the Ring of the Sun.
          After he (and Galadriel) began ruling, wearing Anor on his hand, his own long flowing
 silver hair now shown and glowed almost as bright and beautiful as Galadriel’s own.



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          Between the two of them, it was as if the Sun had come to live in Edhilon, as Galadriel
 had immediately and sensibly rechristened the city, on arrival.
          The land flowed with honey from tended beehives, milk from pastured cattle, music,
 beautiful white swans in the distance swimming atop mirrored lakes, cherished jewels and a
 wealth of precious metals: silver, gold and mithril. Thus began the Summer of the Elves.
          The one blot on their perfect happiness: Amroth had refused Celebrimbor’s invitation.
 With a band of followers, he went north around the Misty Mountains to a land called Lórinand. It
 lay far to the east of the East Doors of Khazad-dûm, to escape (he said) the dwarfish influence.
          With Edhilon as the unmatched Wonder of the Modern World, Celebrimbor’s legendary
 status as creator of miracles was assured, enshrined among the greatest smiths in history.
          Whatever transpired between Galadriel, Celeborn and Celebrimbor, no one knew. Yet all
 was tranquil. Edhilon grew ever more wealthy, powerful and beautiful. Its many palaces, great
 houses and stone streets grew grander and more full of fountains, trees and gardens, just as
 Celebrimbor’s private palace, treasury and library did.
          Its entries and exits, its very existence, were his most closely guarded secrets, shared only
 with Narvi and Dagnall. There they recorded their discoveries and greatest secrets: how they
 fashioned Ring of Power. For the entire history of Middle-earth, those secrets and the secret
 location of the library remained hidden and inviolate. Not even Celeborn or Galadriel ever knew.
          Aldarion had returned to Númenor before the arrival of Celeborn and Galadriel. Inspired
 by Celebrimbor, in Númenor Aldarion established his own guild. Instead of building it in a fixed
 location on land, his professional society of merchants, sailors and captains was on his personal
 ship Eämbar. He anchored it off the island of Tol Uinen, centered in the large bay of Rómenna.
          Númenórean tradition said the bay had been put there by the Vala Uinen, the Lady of the
 Seas, when the Valar first created Númenor. Númenórean sailors held her in special reverence,
 for she protected them from storms when their ships were far from shore.
          Whenever Númenórean sailors returned, women welcomed them carrying branches from
 the Oiolairë tree, found only in Númenor. It was a symbol of the special favor and protection the
 Valar had given them and their ships.
          Among these women, the greatest beauty was named Erendis. She had caught Aldarion’s
 eye when bearing such a branch, but her grace and kindness ensnared his heart. Together, they
 harvested the trees of the surrounding forests and built the Order of the Guildhouse of the
 Venturers, named for Aldarion’s grandfather Vëantur. Only the hardiest mariners were invited to
 be members and it became the most famous guild in Númenor. Young Númenóreans sought
 admission from all the inland regions and they called Aldarion, the Great Captain.
          On his ship Eämbar, Aldarion and Erendis collected and bound the records of his
 voyages. But as the years passed, Aldarion kept delaying their wedding. Erendis grew fearful
 something might happen to him at sea. If so, she would never see her love again.
          In 850 of the Second Age, Valandil, Lord of Andúnië, held a feast to honor the Lady
 Erendis, betrothéd of Aldarion. At the height of the feasting Valandil stood and made a toast,
 naming her, ‘Uinéniel, Daughter of Uinen.’ But Erendis saw Uinen as a jealous rival who might
 allow something horrible to happen to Aldarion, to claim him as her own.
          “Call me by no such name!” Erendis cried, sore afraid and horrified. “I am no daughter of
 Uinen: rather is she my foe.”
          Aldarion had given Anqaúrë, the Ring of Feeling, to Erendis for their engagement. He
 had not known about and would have much grieved Erendis discovering the power of her Ring to
 absorb the memories of others.

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         The secrets and terrible truths it revealed in the hearts of those she loved and thought she
 knew were so sever, they made her bitter. Aldarion had also given his father, King Tar-
 Meneldur, Rómhandë, the Ring of Sound, Music, Hearing, Language and Discerning Truth.
         No one else knew it existed.
         In exchange for their Rings of Power, Aldarion received from them their solemn oaths:
 when they passed their Rings to heirs, or whomever they felt (or if in dreams, as the Valar
 instructed) they believed they should, then the identity of the recipients would only be known to
 them, and so on to each successive Ringbearer, as Aldarion had promised Celebrimbor.
         In time, Aldarion and Erendis married. They eventually had a daughter. They named her
 Ancalimë and when she was full grown, Erendis passed Anqaúrë to Ancalimë, knowing her
 daughter was destined to become the first ruling Queen of Númenor.
         Unfortunately, like all who possessed Anqaúrë, the bitter knowledge which the Ring
 passed to its Keeper made Ancalimë as bitter as her mother, and as bitter a Queen as any who
 ever ruled.




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                                         Chapter 3




                                    Before The Fall




         The greater Gil-galad’s wealth grew, the more frantic he became and the threat of war
 loomed ever closer: violent rumblings from savage Men, Petty-Dwarves and the surviving
 creations of Morgoth living beyond the Misty Mountains. These evil creatures heard rumors of
 the wealth in Lindon and the power of Celebrimbor’s magical creations in Edhilon.
         To address these concerns in 880 of the Second Age, Galadriel invited Gil-galad,
 Emisillë, Oropher, Facerëia, Elrond, Drendelen, and many others to the first Council of the Wise.
         Before her guests arrived, Galadriel learned Celebrimbor, Narvi, Dagnall and the
 Mirdainions had forged three more Rings for Elves. They were supposed to be a secret. But she
 was Celebrimbor’s Queen and his better in most things. He had almost wrecked her life before,
 but she had once again grown fond of the talented and charming master craftsman Celebrimbor.
         Almost as fond as Celeborn.
         It wasn’t hard to guess whose hand wore one of those Rings. Undoubtedly, Gil-galad’s.
 But with so many Elvish kings, queens and princes trolling for power, not even she was certain
 who wore the others. She assumed Celebrimbor kept one. Maybe Círdan or Elrond had the
 others. She knew the Mirdainions were forging Rings for Dwarves. She guessed Durin and Narvi
 each had one, but she had no idea where the others were – and it bothered her. Celebrimbor had
 gotten much better at keeping secrets since his alliance with these Dwarves and so had she. She
 had even come to like Dwarves, though Celeborn never did.
         After opening the Council on the third story rooftop gardens of the Royal Palace,
 Galadriel thanked everyone for coming, then relinquished the floor to Gil-galad. He told them
 how grateful he was for their continuing efforts in resisting the Evil in the East. He also praised
 King Tar-Meneldur for allowing his son, their good friend and ally Anardil Aldarion, to come so
 often and stay so long, who Galadriel alone had never met.


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          Aldarion was right now exploring further down the coast, then returning to Lindon before
 going home to Númenor. Gil-galad was going to give him a sealed letter for the King because
 Aldarion had agreed: Númenor was so peaceful, a Regent could rule if Gil-galad invited his
 father to visit. If Gil-galad’s letter got the response he hoped, when next they saw Aldarion’s
 sails he would have with him his wife, the future Queen Erendis, their daughter the Princess
 Ancalimë, just four years old, and the reigning King of Númenor, Tar-Meneldur. Gil-galad felt
 certain when King Tar-Meneldur read the letter, he would sail to Lindon with Aldarion.
          Their objective: convene a Council of the Western Powers, similar to this. They would
 create an Alliance between Elves and Men to prevent their Kingdoms from falling to Evil. Today
 an Alliance of Elves. Tomorrow, an Alliance with Men. Eventually, they’d invite the Dwarves.
          “Dwarves?” Celeborn asked.
          For the first and last time, Gil-galad spoke openly of the Rings of Power. The Thirteen
 for Beasts had been gifted to their animal allies. Six of the Eleven for Dwarven Lords had been
 gifted in secret and in secret would remain. Five of the Eleven for Elven Lords at this very
 moment were protecting three kingdoms of Elves.
          Celebrimbor was finishing the fourth of the Five for Mortal Warriors. In addition to the
 letter, Aldarion would receive it as a gift for his wife Erendis. According to Aldarion’s men
 (Aldarion never bragged), she was more beautiful than the women of the Eldar.
          At this, Galadriel bristled. But only Celeborn caught it.
          Feeling inspired after the meeting, Celebrimbor eagerly returned to the Guildhouse.
 Curiosity overcame Galadriel and she visited him there alone, which she’d never done. Having
 been lauded at the Council by Gil-galad and only recently resuming his affair with Galadriel,
 Celebrimbor was jubilant. In the middle of her private tour, in walked Círdan.
          “My Queen,” Círdan said, bowing.
          “My Lord,” she replied, smiling.
          “My good Lord Círdan!” Celebrimbor exclaimed. “What an embarrassment of riches I
 am having today! In my humble little blacksmitherie, first rose the Sun and now comes the
 Moon. My sky could not be more full! But, what are you doing here? You’ve never graced my
 workshop with your august presence before.” Before Círdan could answer, Celebrimbor
 breathlessly went on. “No! No matter. Welcome! But beware your fine sandals, Lord. You might
 get a bit of blacksmitherie on them! Ha ha ha!”
          “Now is not the time for jest, my good Lord Celebrimbor,” Círdan said, smiling. He was
 amused at their reaction, catching them alone together. “I have come from the King.”
          “Ho ho!” Celebrimbor laughed. “Today I am Lord Celebrimbor. This must be very
 important. However, from which king have you come? Rather than a dearth, we have a wealth of
 kings and queens in Middle-earth! There are so many, among them, I seem to have lost my
 crown, on more than one occasion. Yet amidst this throng, no one noticed!”
          Círdan and Galadriel laughed and Círdan said, “You seem mayhap to have lost more than
 just your crown this afternoon, Celebrimbor.”
          “Do I seem delighted?” he asked. “Seeing you in my modest workshop, this humble
 jewelsmitherie, my simple shop of crafts? Yet amidst all this modesty, look at what I have
 wrought.” He stepped aside and presented upon his anvil, one of the last of his Great Rings.
          Forged of the purest gold, it was unlike most others: it bore an exquisitely cut and
 flashingly bright red precious gem. Círdan and Galadriel’s eyes were drawn to the jewel.
          “You have acquired a few new skills, studying the ancient scrolls of the learned Elven
 master craftsmen Mahtan, Nerdanel’s father, who taught your grandfather Fëanor,” Círdan said.

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 “I think… there are touches from the dwarven master craftsman Telchar, forger of wondrous
 swords, and a few from his tutor, Gamil Zirak, the Old.”
          “Why, my good Lord Círdan,” Celebrimbor told him. “You’ve impressed with my own
 craft. I would not have believed anyone but me could see those things. I will never again
 underestimate the discerning eyes of Círdan.”
          Amidst their conversations, there entered the Elven blacksmith, the Lady Marcidelén,
 daughter of Irimë, and the Dwarven whitesmith, Rudlun the Bold, son of Granmar. They bowed
 to their Queen and Lords, then went to their stations and began working.
          “Before I forget,” Círdan said. “I have come at the request of our King. I know you are
 busy completing your ‘Great Ring Cycle.’ He wants you to set all that momentarily aside.”
          “Do you know how close I am to finishing?” Celebrimbor asked. “How hard I’ve been
 working? I’ve been crafting Rings for centuries. Every set was made for different races to do
 different things. The original enchantments alone sometimes took an Age!”
          “This is precisely why Gil-galad sent me,” Círdan told him. “It is for one of our mortal
 friends. We cannot wait an Age. If you do not set everything aside, our friend will be dead before
 you finish. This, Gil-galad will simply not allow.”
          “Who is this mortal for whom I must set aside my work?” Celebrimbor asked.
          “The Crown Prince Anardil Aldarion of Númenor,” Círdan answered.
          “You should have said it was for Aldarion when you first entered,” he told him. “It would
 have saved time. Perhaps an Age! I’m happy to set everything aside for Aldarion. In fact, it
 would be perfect to give him a gift from you and Gil-galad, when I present him with another gift
 from me. What does Gil-galad want? Or, I think it is you who wants a gift for Aldarion.”
          “Very perceptive,” Círdan said. “As you know, the Númenóreans do not build ships as I
 do, crafted elegantly in the shape of swans.”
          “Yes, about that – ”
          “Aldarion builds ships that look like kegs of beer,” Círdan told him.
          “As well he should!” Celebrimbor laughed. “You know what it’s like being at sea so – ”
          “The least we can do is put something on the prow to delight his eyes,” Círdan said. “If
 not a swan, perhaps a familiar carved in stone. Elrond suggested the likeness of one of the
 Uinéniel, daughters of Uinen. She might take it as a compliment and increase her blessings and
 protections on Aldarion’s ships. Whatever it is, I wish it could be sculpted by your grandmother
 Nerdanel. Her sculptures are perfect. They seem to the untrained eye, alive.”
          “How would we obtain my grandmother’s services in Valinor?” Celebrimbor asked.
          “Yes, I know,” Círdan said. “It is just – I so highly esteem her work. You have seen my
 collection in the Emyn Beraid.”
          “The best in Middle-earth,” Celebrimbor told him. “What about her granddaughter, my
 ravishing red-haired cousin, the Princess Drendelen?”
          “Drendelen could carve Nerdanel’s features on a statue of one of Uinen’s daughters,”
 Galadriel suggested. “It would be a work of Art, yet sure to catch a sailor’s eye, even this mortal
 friend of yours. What’s his name?”
          “Anardil,” Celebrimbor answered. “This is a marvelous idea! Nerdanel’s likeness on one
 of Uinen’s daughters. It’s inspired!”
          “No, no,” Círdan countered. “I did not say a daughter.”
          “Yes you did. I heard you,” Celebrimbor insisted, dismayed at Círdan gainsaying
 Galadriel. He turned to the Mirdainions. “Did he not say a daughter?”
          Marcidelén and Rudlun laughed.

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          “Yes,” agreed Marcidelén.
          “He did,” Rudlun affirmed.
          “You are dismissed,” Círdan said, smiling.
          They smiled and looked to their Lord. Celebrimbor smiled and nodded. They left.
          Galadriel stayed.
          “I want the effigy of an Eagle,” Círdan explained. “With a beak and talons of gold, to put
 on the prow of his ship. You know our friends, the Eagles. You gave King Thorondor a Ring of
 Power. Do not look so surprised. I want Drendelen to carve an Eagle King and you will set above
 its golden beak, two green eyes. Emerald eyes, like in the Ring of Barahir. Dazzling, bejeweled,
 enchanted emerald eyes will see far and wide, all this Eagle sees – and so shall we.”
          “Why, my good Lord Círdan,” Celebrimbor said. “This is genius, and devious. I would
 say it is both far above and far beneath you. Being both, it suits you. This was not Gil-galad’s
 idea. This stroke of genius has come from you and your mind alone.”
          Laughing, Círdan bowed, helpless before the truth.
          “Since you’ve surprised me,” Celebrimbor told him, removing the drop cloth from
 another anvil. “Perhaps I may still surprise you.”
          “Another Ring of Power,” Círdan said, looking closely, then back and forth between the
 two of them. “You have gotten better at keeping secrets.”
          “This is my day,” Celebrimbor said, smiling at Galadriel. “It’s not every day I surprise
 the far-sighted Círdan.”
          “It is an amazing thing,” Círdan said, looking closely at the perfect circle of gold. “A
 Ring of exquisite simplicity.”
          “It may not look like much – to the untrained eye…”
          “Do not forget to whom you speak,” Círdan said, knowing Celebrimbor was having fun
 and playing along. Galadriel and Celebrimbor were the only two outside Gil-galad and Elrond
 with whom he felt truly at ease. “For the first time in history, a goldsmith has removed every
 trace of impurity. The band is truly a thing of beauty: pure gold. You know, you could include a
 stone, as with your other new Ring. The long lost Ring of Barahir had two.”
          “The greatest beauty is in the greatest simplicity,” Celebrimbor answered. “The quality of
 the craftsmanship alone will distinguish this Ring, and one or two custom touches, perhaps only
 your eyes can see. The greatest effort has gone into the foundations, which few will see. To add a
 stone, even the most precious gem, would be a corruption of my intentions for this particular
 Ring. This is Oialëhén, the Ring of Light, and seeing Clearly. I have forged it for Aldarion. He
 once told me his mother, the Queen Almarian, supports him completely when he sails to Middle-
 earth, but his father, King Meneldur – not always.”
          “The Ring of Seeing,” Círdan said, thoughtfully. “Purity and simplicity.”
          “Aldarion told me sometimes, on the ocean in the middle of lightless and stormy nights,
 he fears he might never reach the shore,” Celebrimbor confided. “On those nights, he feels the
 only light guiding him is his friendship with us. This Ring will take the light living in his heart
 and put it on his hand, to guide him when nights are dark and he wonders who are truly friends.
 Oialëhén, the Ring of Light will be proof he can see: the Elves will always be his friends.”
          “A kingly gift for our friend who will one day be King,” Círdan observed. “Yet… I still
 believe it could use… something.”
          “What do you mean?” Celebrimbor asked.
          “I noticed,” Círdan observed, “just as Aulë did with the Ring of Barahir, when you
 created the Thirteen, you put part of your power in each Ring.”

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         “It was just a spark,” Celebrimbor defended. “Even thirteen times, so small a part I’ll
 never miss nor ever feel the lack.”
         “You misunderstand,” Círdan said. “I applaud your workmanship. Yet I noticed, despite
 several master enchantments, there is none of your spirit in this particular Ring.”
         Celebrimbor laughed. “There’s no danger of Aldarion forgetting how to speak.”
         “I agree,” Círdan told him. “Yet it still could use… something.”
         “Have we grown so accustomed to perfection,” Celebrimbor asked, “when presented with
 the achievement of the ideal, we fail to appreciate an artist who overcomes impossible odds and
 creates so complex, yet so simple and flawless a thing?”
         “Have you thought of adding a green stone?” Círdan asked, in jest.
         “This Ring is a gift to Aldarion from me, personally,” Celebrimbor told him, missing the
 joke. “No green stone. It is a mark of my true friendship to the young prince, who ages before
 my eyes. He’ll grow old and pass, sometimes I fear, without our having known.”
         “Such things are to be expected when ships put out to sea,” Círdan said.
         “This is why I have made this Ring so simple,” Celebrimbor told him. “It’s a symbol of
 our friendship, nothing more. He’ll wear it as you see it: unvarnished, unalloyed and unadorned,
 for simplicity is complexity in its rarest form.”
         “They say thrice pays for all,” Círdan said. “There is a boon I will grant, unasked. If I
 may make a gift to Aldarion, my foresight foretells a bit of foresight might be foresightful – for
 this particular Ring.”
         “My good Lord Círdan,” Celebrimbor responded, in true humility. “On behalf of
 Aldarion, I would be honored to accept from you such a gift for his Ring.”



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        Celebrimbor, Círdan, Gil-galad and Celeborn returned to West Mithlond. In a grand
 ceremony, he gave Oialëhén to Aldarion. Aldarion immediately recognized the matchless
 craftsmanship required to achieve its perfect purity and simplicity.
        Círdan gave him the Eagle, with its golden beak and talons, and emerald eyes.
        Meeting him later alone, Gil-galad gave Aldarion a sealed letter for his father, Tar-
 Meneldur. He asked him to bring Erendis, and their daughter Ancalimë, on his next voyage.
        Aldarion doubted his wife would come. “Erendis loves only Númenor. She doesn’t
 approve of my journeys to Middle-earth. I’ll give my father your letter. Maybe if she learns what
 I’ve been doing here and sees this magnificent Eagle, she’ll change her mind.”
        “Next time,” Gil-galad told him, “meet me in the wonder of the modern world – The
 Royal Palace of Edhilon in Eregion!”
        “There’s not much there to tempt Erendis,” Aldarion responded.
        Gil-galad laughed. “You haven’t seen Edhilon in over a hundred years! It has grown far
 beyond Celebrimbor’s lone palace and become a jewel of a city. You won’t believe what he and
 the Dwarves have built since you first ferried him up the river.”
        “What have they built?” Aldarion asked.



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         “Enchanted palaces with baths and fountains, waterfalls, gardens, and bejeweled
 tapestries hanging from the ceilings that look like open windows,” Gil-galad answered. “Imagine
 Erendis traveling up the Swanfleet River, escorted by fleets of white swans. Staying in the Royal
 Palace, pampered by Elves in spas and hot springs, and eating the finest foods in Middle-earth.
 Imagine traveling to Khazad-dûm and meeting the King of Dwarves, seeing the Courtyard
 fountains and the Palace outside the Doors of Durin, sparkling with the waters of the Silvertine.
 Imagine the ithildin engravings on the Doors coming to life in the moonlight, touring the
 magnificent halls of Khazad-dûm, escorted by their King; ascending the Endless Stair, looking
 out Durin’s Tower and seeing the bright stars living deep inside the mystery of the Mirrormere.”
         “If anything could make Erendis love Middle-earth,” Aldarion said, “it would be all that.”
         “To make our invitation irresistibly sweet,” Gil-galad told him, lifting a bright golden
 Ring adorned with the most beautiful red gem Celebrimbor had ever created, “give her this.”
         “Thank you,” Aldarion said. He was astonished by the beauty of the dazzling cuts made
 across the surface of the glittering red gem. “What is this magnificent scarlet stone?”
         “A red beryl,” Gil-galad answered. “Prized more than diamonds, this is the best one ever
 made. There is no rarer or more precious gem in existence than the red beryl in your hand.”



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          Less than a year had passed since Gil-galad gave Aldarion the Eagle, letter and Rings of
 Power. He had never returned so soon and no one was expecting him. Yet post riders reported to
 Gil-galad that lookouts stationed in the tower at the tip of the peninsula of Belfalas had sighted a
 fleet of white-sailed ships sailing for the mouth of the River Greyflood. They were undoubtedly
 from Númenor and heading for Edhilon. Gil-galad sent frantic messengers to Celebrimbor,
 Celeborn and Galadriel, telling them to prepare for the arrival of the Númenóreans.
          He hoped to reach Edhilon before Aldarion, his wife, daughter, and the ruling King Tar-
 Meneldur. If he didn’t, in his absence they must welcome Aldarion, his father the King, the
 future Queen and the Crown Princess. Galadriel must be her most charming and enchanting self,
 showing the Númenóreans the splendors of Edhilon and making them feel welcome.
          Celeborn went to personally supervise the sounding and dredging of the Swanfleet River,
 to make sure it could accommodate Aldarion’s ships. They were reportedly bigger than any ever
 seen. As Galadriel watched from the Palace, their great white sails glided majestically into view,
 filling the three story picture windows, bigger than towers. They had masts so tall, the billowing
 white cloth spreading across the windows seemed like clouds filling the sky.
          But Galadriel didn’t want to meet the Númenóreans.
          She had never thought much of Men. Human’s died so quickly, often before she learned
 their names. Without time to grow, or grow wise, their lives were full of the foolish mistakes of
 Elvish children. Celeborn had gently chided her, saying if he could accept Dwarves, she must get
 used to humans.
          Gil-galad and Celeborn were so concerned she make a good impression, particularly on
 Aldarion, she was nervous and hesitant, and foreboding their arrival. She begged excuse, to
 delay, or have them choose another. But Gil-galad and Celebrimbor insisted – it must be her.

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          They had done all they could. Aldarion had done much for them, more than any mortal
 had. They needed more, especially from his King. For the first time, Galadriel doubted her
 ability to charm this powerful Númenórean King and his son. Though human, they were none the
 less much older and mightier than other mortals. Only the heirs of Elros, descended from High
 Elves, of which she was one, lived so long yet stayed so strong and fair.
          That morning, her handmaidens brushed out her long, beautiful golden-silvered hair, until
 it gleamed as brightly as it ever had. She dressed in white and disdained her crown or any other
 ornamentation, except Elentári, the unparalleled Ring of Power she only wore openly in Edhilon.
          Messengers from the docks reported the King had come as Gil-galad had hoped, but it
 wasn’t Tar-Meneldur. Aldarion was the new crowned King of Númenor and he had come alone.
          Gil-galad and the others hadn’t yet arrived, so she was alone when Aldarion, the tall
 bearded Númenórean King, walked into the great windowed reception hall. At his side he wore
 the legendary sword of the Númenórean Kings, Aranrúth. She had last seen it in the hands of
 Elros, before he and Queen Karewyn sailed from Lindon. Before that, it had been worn by
 Thingol, the High King of the Sindar during the First Age, he who was the father of Lúthien.
          And just as Thingol had towered over lesser Elves, Aldarion towered over her, she, who
 had ever towered over lesser men, and Galadriel felt nervous in a way she never had before.
          Aldarion barely glanced at her. “Where are Gil-galad and Celeborn?”
          “King Celeborn will not be joining us,” she answered. “He went to the Swanfleet to
 ensure your safe passage and has been called away to Annúminas, our tributary province. The
 others are late. Where is your daughter, the Princess Ancalimë… and Queen Erendis?”
          “I…” Aldarion began. He looked out the three-story picture windows beside the still life
 hanging tapestries, wrought from threads of precious ores, utterly lost.
          “You are dismissed,” she told her servants.
          They left them alone.
          “I’m sorry,” Aldarion said. “We…” the long-suppressed emotion cracked his voice. He
 sank into a chair by the window and fought the storm of grief engulfing his heart. “It’s… over.”
          Looking at the swans in the distance, he remembered how hopeful Gil-galad had been,
 when giving him that magnificent red beryl Ring. He remembered all the things Gil-galad had
 planned, all those festivities. He had thought it would be a second honeymoon, but now…
          Galadriel went to the open window. “My Lord…”
          Just like that, the floodgates of grief opened and she cradled his head in her hands.
          The powerful King of Númenor cried like a child before the open windows of the Palace
 of Edhilon, in the arms of the tall and regal Elvish Queen Galadriel.



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         Such a shocking, and some might say inappropriate, beginning to their knowing each
 other could have easily led to an uncomfortable estrangement.
         It didn’t.
         When his grief was spent, he composed himself and noticed her beauty. Men always did.
 Yet he was also removed, talking about the beauty of the stars and sea, rather than her beauty.

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          That was rare.
          Galadriel found herself listening and attracted to this tall, bearded Númenórean King,
 who had seen wonders of which she had never dreamed. He spoke with such passion for
 adventuring and discovery. She was taken by his handsome and commanding face, and
 remembered he happened to be a distant cousin, though that couldn’t possibly have had anything
 to do with it. He came from the ocean with all his hunger for life, and suddenly her, vividly
 etched in his eyes, he hadn’t thought to try and hide. He was so very different from the beardless
 Elves and their reserved, coy, detached, almost feminine beauty, to which she’d grown insensate,
 just as she had grown insensate to her own beauty.
          Reflected in Aldarion’s hungry eyes, she remembered how beautiful she had been, and if
 she saw the truth in his desires, she still was.
          Galadriel told him of the history of Valinor and High Elves, in which she had been a
 witness and participant. He couldn’t help being impressed by this valiant and mighty warrior
 Queen, born in the Undying Lands and having been tutored by the Valar. She had fought Fëanor
 during the Kin Slayings and in the War of Wrath against Morgoth, driving off an army of orcs at
 the founding of Lindon.
          They talked about the future. There was a nameless evil rising in the East beyond the
 Misty Mountains. She, Gil-galad and Círdan knew it would one day threaten Khazad-dûm,
 Eregion, Lindon and even Númenor. For the wars of one land had always spread to others, even
 to the shores of Valinor, requiring the Valar to decree the Ban of Elves.
          It grew late and the others arrived. Galadriel and Aldarion barely noticed. They may as
 well have still been alone. Gil-galad, Elrond and even Círdan was surprised.
          Celebrimbor wasn’t.
          Not just because he knew, if anyone could inspire greater devotion from their devoted
 ally, it was Galadriel. But also because he saw how genuinely moved they were, what a precious
 moment in time this was, how they would carry it with them in their hearts the rest of their lives,
 which for Aldarion, would be exceedingly brief.
          Galadriel and Aldarion began meeting frequently, urged by Gil-galad and his need for
 more from the bustling island economy of Númenor. Yet after their first meeting, they needed
 little encouragement beyond their own. They were grateful for the excuse of Gil-galad’s urgent
 preparations for a still-in-the-future and far distant war.
          Aldarion remained married to Erendis and missed much of his daughter Ancalimë’s life.
 Galadriel was married too, with a son of her own, and their situations, though different, were in
 many ways the same. For her part, she said nothing about her husband, although Aldarion had
 met Celeborn on an earlier trip. He never asked about or mentioned Celeborn, nor did she.
          If she must make peace with whatever lay between him and Queen Erendis, then he must
 accept whatever lay between her and King Celeborn.
          Celeborn was in fact, not far away, except he may as well have been. He had been for
 centuries, since the birth of Amroth. In many ways, he still was and always would be. Although
 she loved him more than she had ever loved anyone.
          But when Aldarion was in the room, he brought one-hundred percent of himself: all his
 focus and attention, all his hunger and appreciation. And suddenly, Galadriel was there too, alive
 in ways she hadn’t felt and been in too many years; many hundreds, in fact, almost a thousand:
 not since the Spring of Lindon.




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          A thousand years is a very long time to live and only then realize you haven’t been living
 at all. Now she was, that’s all she knew. That’s all she needed to know. Nothing better would
 come along. They both knew it.
          As for the war, though pressed and uncertain as to what he could faithfully promise,
 Aldarion agreed to teach Círdan and Galdor what he had learned of ship craft so they could build
 boats like the one he sailed, called the NKS Hirilondë, that had so impressed her. It bore on its
 prow the life-like figure of an Eagle, carved by Drendelen. It had bright yellow talons and a beak
 of the purest gold, and bright green emerald eyes, a gift from Lord Círdan.
          Gil-galad wanted more.
          He wanted Aldarion to rebuild the crumbling harbor of Vinyalondë, which Aldarion
 himself had built over two hundred years before, at the mouth of the river Gwathló. It had fallen
 into ruin. Gil-galad was convinced it was essential for their defense. Someday they’d build a
 fortress in the undefended gap between the Misty and White Mountains. For now, the best thing
 was to rebuild Vinyalondë.
          Galadriel asked Aldarion to recruit the Men of Eriador. They sometimes traveled to Lake
 Evendim and tarried beside the city of Annúminas. Coming from lands beyond the North
 Farthing and the North Downs, they journeyed through the Weather Hills. Sometimes they could
 be found around the foreboding Hill of Weathertop.
          These Men were of the same line as Bëor and Hador, and therefore kinsmen of the
 Númenóreans. They feared the Elves, towering over them, wearing strange clothes, seldom
 speaking, and then in incomprehensible and almost musical voices, more like singing than
 speech. Strange indeed were the ways of Elves to Men. They feared they’d be bewitched.
          They would only come and stay at the behest of other Men. And they perceived Aldarion
 for the powerful Númenórean King he was, without his having said so. Though doubtless, his
 sailors and the Eriadorians talked among themselves.
          Without discussing it or thinking about it, or worrying what it meant or what it didn’t,
 Galadriel and Aldarion began having an affair; even as he worked with Celebrimbor, with whom
 he’d long been friends and much esteem they shared.
          He gathered the men who lived east of the Brandywine, taught them, and they began
 felling trees for building ships. Celebrimbor praised the learnings of this Númenórean King. He
 was flattered to learn Aldarion had copied his Guildhouse of the Jewel-smiths with an Order of
 captains, sailors and explorers called the Guildhouse of the Venturers, named for his grandfather.
          For many years, Aldarion sailed between Númenor, Lindon and Edhilon. Though to
 Galadriel, their affair seemed like a too sweet moment in time she knew would be over before
 she had fully appreciated how sweet was its beginning. It had come unlooked for and would pass
 far too swiftly with the life of this mortal King.
          Somehow in a way Galadriel didn’t understand, knowing their time would be so short
 made it impossibly more precious and more sweet. She wondered if this was what Ilúvatar had
 intended with the Gift of Men, which Elves had been denied, unless one of them fell in love with
 a mortal, which Galadriel realized suddenly, was happening to her.
          She didn’t need to try and keep Celeborn at arm’s length. In that way Celeborn had
 always known, he had other duties and other interests, taking him far abroad.
          But Celebrimbor looked on this mortal King and his affair with his Queen in a different
 light. Aldarion had been his friend for almost three hundred years, but he was intruding on his
 own affair with Galadriel. He was jealous and possessive, but there was nothing he could say.



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          Feeling powerless and not sure what to do, Celebrimbor began fashioning a final Ring of
 Power to exceed all other Rings. It would not only equal the sciences and riches of the
 Númenóreans, which Aldarion was gifting Galadriel and Gil-galad, it would exceed all arts and
 treasures that had ever existed or ever would. Out of his jealously, pride and his still passionate
 love for her, Celebrimbor began the enchantments that became the Master-ring of Middle-earth.
          Having an affair with both of them, Galadriel knew she’d gone too far. She was ‘gilding
 the lily’ as Celebrimbor’s own Mirdainions often said, admonishing each other against over
 ornamentation or excess. She couldn’t help herself. She didn’t want to.
          Two of the fairest, most brilliant, most virile men she had ever known were vying
 constantly in competition for her attention, while in the throes of vigorous and grand creation.
 Constantly plying her with their discoveries, accomplishments and treasures worthy of the Valar,
 they were living a moment in time she knew wouldn’t last. She refused to allow this never-come-
 before, never-to-be-repeated moment to slip away.
          They knew Galadriel was having an affair with both of them. But she did so without guile
 or deception. They accepted this as the price of their passion, just as they accepted the inevitable
 continuation of her marriage to Celeborn.



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         When Galadriel became pregnant, neither of them knew which one was the father.
         At Gil-galad’s request, she traveled with Aldarion to Númenor, before she began to show.
         Aldarion’s daughter, the Crown Princess Ancalimë, was now one-hundred-and-twelve
 years old, ruling as Regent during Aldarion’s absences. Because she wore Anqaúrë, the Ring of
 Feeling, she hadn’t aged, mistakenly believing it was only because she was of the Line of Elros.
         Ancalimë felt certain something was happening to her father. With her Ring, she had
 unconsciously instilled in her mother, the not-banished yet broken Queen Erendis, an unbearable
 longing to see once more her long estranged husband.
         News swept through Rómenna: a ship was spotted on the horizon. It was the return of
 King Aldarion. Erendis now felt she’d erred, scorning and abandoning him. She’d heard the
 rumor of the priceless red beryl Ring of Power worn by one of Aldarion’s captain’s wives. She
 was certain it was meant for her and she’d foolishly cast it, and her husband the King, aside.
         Unannounced and unknown to anyone, she traveled to Rómenna and was waiting on the
 pier alone, with a branch of the Oiolairë tree, the Bough of Return. She had brought one to
 Aldarion many times when they were young.
         The NKS Hirilondë, the Haven-finder, arrived and anchored. Aldarion descended the
 gangway bearing the hand of a regal and ravishingly beautiful Elven Queen.
         Beneath her golden crown, she not only had magical other-worldly glowing golden hair;
 her skin, face; everything about her seemed to glow with light and delight. Galadriel’s radiant
 smiles put even the Sun to shame and Erendis knew Aldarion had found another Haven.
         It was her own fault. She had abandoned him more than a hundred years ago. She had
 long since grown old – and looked it. Yet she wouldn’t have, she finally understood, if she had
 accepted the Ring of Power Aldarion brought back for her, instead of scorning him.

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         This Queen of Elves looked so young. If human, a woman who looked this young would
 be younger than their daughter.
         Aldarion was just as radiant, as happy as Erendis had ever seen him. And if truth be told,
 he was happier, displaying this powerful, wise and otherworldly beauty, which Erendis had
 feared she would never be. She realized too late what a fool she’d been. To strive to be the wife
 of one so high above her head, the worst thing would have been to get him, which is exactly
 what had happened. Worse than worst, she had given her heart to this man who was, she’d
 always known, a King of Men, and he had been in love with her, but she had allowed her
 insecurities, foolish pride and her small, petty, winner-take-all attitude to drive him away.
         Now she had nothing.
         He had everything. It was now clear to Erendis, Aldarion had been the one who made a
 mistake marrying her, as she had always feared, not the other way around.
         Consumed with a grief so dire it broke her heart and shattered her last hope of any joy, as
 the happy couple boarded a carriage and left for the palace, Erendis ran to the end of the pier.
         Leaping into the harbor waters far below she shouted, “He is yours, Uinen!”
         News of King Tar-Aldarion and the Elvish Queen’s debarkation, and her mother’s
 suicide, reached Ancalimë before Aldarion and Galadriel.
         They arrived at the palace not knowing, laughing, crowded by throngs of admirers,
 amazed to see one of the Eldar from Valinor by way of Middle-earth once again visiting
 Númenor. Just as it had been clear to her mother, it was obvious to Ancalimë: Galadriel was
 Aldarion’s mistress. This was why her mother committed suicide. Her father didn’t even know it
 had happened. Seeing him so happy, Ancalimë feared when she told him, he wouldn’t care.
         The happy couple laughed in happy ignorance, giving each other surreptitious glances an
 eight-year-old could figure out.
         Ancalimë was horrified. “How dare you bring your mistress to our home! Did you really
 think you could get away with this deception?”
         The sudden silence filling the palace was deafening.
         Breathless, Ancalimë went on. “Why even try? I care not that she is Elvish or a Queen!
 She is nothing but a common – ”
         “Tread carefully, Ancalimë,” her father the King Aldarion said, with an upraised hand,
 and all were silent. “You will not slander our royal guest. I’ve had the inheritance laws changed
 to accommodate your future rule. I can have them changed again, or simply disown you: cast you
 from the royal family – forever. If this is what you want, say the first hateful, spiteful thought
 you have in that overly precious head. Such thoughts are unbecoming to a Queen. The moment I
 hear one, just one, pass your lips, a future Queen you will not be.”
         Enraged, her future threatened so carelessly, so easily, Ancalimë ran wordless from the
 chamber. She rode her horse alone past the peak of Meneltarma, where she herself had spoken to
 Manwë and Varda, as the first-ever acting Queen of Númenor. Fording the Siril river and passing
 the Noirinan valley, which held the tombs of Númenórean kings and queens, she reached her
 private palace at Hyarastorni, in the province of Emerië.
         It was in the region of Mittalmar, full of high mountain meadows, gently rolling pastures
 and grasslands in the south-west of Númenor. This was the region of shepherds where Ancalimë
 had been raised alone by Erendis, while Aldarion had tarried in Middle-earth.
         Galadriel remained a guest of Aldarion at the Royal Palace of Armenelos, where she
 blossomed. Six months later, she gave birth to a daughter they named Celebrían. In Númenor,
 their daughter grew and not even Ancalimë ever knew where the Princess lived.

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         Before Galadriel came, Ancalimë had been genuinely curious to see what had drawn her
 father east. She had wanted to follow in his footsteps and experience the wonders he described
 on the shores, valleys and towering snow-covered mountaintops of Middle-earth.
         Now she had no need to go. Aldarion had shown her what had drawn him. He’d gone to
 see his mistress. She was certain they had been together for years. They may have even started
 before her parents married. Galadriel was immortal, much older than she looked, and Elvish
 women were rumored to esteem strong age in men. It was rarer than a rarity, unheard of among
 Elves, who barely aged. Maybe her father had been something of a novelty for the harlot Queen
 of Edhilon. It didn’t matter. Galadriel being an Elven Queen only made it worse.
         Ancalimë heard people say, ‘Of course he took an Elvish Queen to wife, and one so
 beautiful – who wouldn’t? No man could refuse the charms of such a woman.’
         Never again did she speak of the lands in the East, traveling there or supporting Middle-
 earth against their enemies. Many believed the breach between Númenóreans, and the Eldar and
 Valar, began with Ancalimë’s antipathy for Galadriel.
         Ancalimë went in secret to the Council of the Scepter and told them she feared for her
 life. A great evil had been born in Númenor. She dared not speak of it, lest the King learn of her
 words and disown or destroy her for trying to save the Kingdom. He was bewitched, enchanted
 by Dark Magic woven on the shores of Middle-earth.
         The Council demanded she tell them all she knew.
         She refused.
         She was too terrified, she said, of what the King would do. So they wrote a letter of
 Amnesty and swore themselves to secrecy. At her insistence, they put in writing: they would
 never reveal to anyone by any means, explicit or implicit, that they had spoken with Ancalimë.
         As proof of their fealty, they also wrote and affirmed: no matter what the King might do
 in the future, upon his death, Ancalimë would receive the Scepter and White Crown, regardless
 of whatever transpired between now and the death of the good King Tar-Aldarion.
         This was what Ancalimë had been waiting for. Once the documents were written and
 signed in secret, and sworn upon by Manwë, Varda and Ilúvatar himself, she revealed her father
 had been seduced by the Queen of Elves.
         Her father, the good and kind King Tar-Aldarion, felt pity for this strange and wanton
 creature, who was outcast from her people. He had brought her in desperation to Númenor for
 sanctuary. She was married (gossips around the court said) with a family of her own.
         So great was this harlot’s shame, none in Middle-earth would bear her or her bastard
 child Celebrían to live, just as none in Númenor should.
         Galadriel had arrived pregnant with the King’s child. But now, it was too late. On
 Númenórean soil, this witch had borne a half-Elvish Heir, an Elven half-breed abomination: a
 claimant to the Crown by which this scheming enchantress meant to usurp the throne in a
 bloodless coup for Elves. Using her wiles and false devotion to conquer Númenor, she would rob
 Men of their Eru given Right to this island Kingdom, and the prosperity and tranquility of Men.
         Elves were clearly incapable of this, forever embroiled in endless wars. Had not the Valar
 been forced to decree the Ban of Elves, giving Númenor to the Men of the Edain alone? This vile
 enchantress would surely displace, enslave or destroy the Men of Númenor. Had not the races
 ever done these things between their divisions, from one kind to another?
         These were the dark designs of the evil Queen of Elves. She had forsaken her lawful
 husband and forced Aldarion to forsake his lawful wife.
         There was worse.

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         Upon arrival, Galadriel had bewitched Erendis. She had forced the Queen to take her own
 life! After her mother leaped to her death in the water below the pier in the harbor of Rómenna,
 Ancalimë had been forced to flee the palace. If she hadn’t, she would have been next. The people
 of Númenor would have been left without an Heir – exactly as Galadriel schemed.
         The Elves were terrified of their enemies in the East: nameless powers rumored to be the
 sons and daughters of Morgoth. Their own Númenórean ancestors had sacrificed so many of
 their own lives to defeat these foes during the War of Wrath.
         Winning and receiving, deservedly from the Valar, this idyllic and tranquil Land of Gift,
 they were intended to be free of that strife and those wars against these same opponents. Now,
 Galadriel was trying to drag King Tar-Aldarion and the Númenóreans back into their wars.
         Did not the Council possess in their archives, the letter written by the Elvish High King
 Gil-galad, which would attest to the truth of her words?
         The Council was shaken.
         They called for the letter to be found. It had been written to King Tar-Meneldur,
 Aldarion’s father, by Gil-galad, more than a hundred years before:


        A new shadow arises in the East. It is no tyranny of evil Men, as your son
        believes; a servant of Morgoth is stirring, and evil things wake again. Each
        year it gains in strength, for most Men are ripe to its purpose.

        Not far off is the day, I judge, when it will become too great for the Eldar
        unaided to withstand.

        Behold! The darkness that is to come is filled with hatred for us, but it hates
        you no less. The Great Sea will not be too wide for its wings, if it is suffered
        to come to full growth.


         “See!” Ancalimë screamed. “The Great Sea has not been wide enough! The Darkness
 comes! Its road to full growth began when Galadriel arrived and gave birth to Celebrían. Only a
 fool would deny my father intends to make this Elvish whore a Queen, for by coupling with
 Galadriel, has he not already made an Elvish Queen a whore?”
         For days in secret, never leaving their halls, the Council held long, rancorous, sometimes
 violent meetings to determine how to prevent the loss of their ancestral home.
         After exhaustive debates, never in unity, a majority was finally and painfully achieved.
 They carefully wrote out their Declarations and then summoned the King. When he arrived, they
 feigned his palace servants had come anonymously, in fear for their lives, to save Númenor from
 the deceptive wiles of this treacherous Elven Queen.
         They presented King Tar-Aldarion with a Decree, affirming Númenor was for Men alone,
 and only Númenóreans of all the races of Men. It was definitely not for Elves or Dwarves.
 Therefore, this Elvish Queen and her child Celebrían, regardless from whence they had come,
 who the father was, or where they intended to go – they could not remain in Númenor.
         Aldarion had broken the Laws of the Valar by bringing her and the entire Kingdom was
 in deadly peril. If she stayed, the Council would have no choice but to interpret the acts of this



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 Elvish Queen as Acts of War. If Tar-Aldarion defended her, he would be a traitor to Númenor.
 They would be left with no choice but to Depose him as an unlawful and traitorous King.
         Aldarion was stupefied.
         He thought he had been so careful. Only his most trusted lieutenants and their families
 knew Galadriel had given birth. It must have been one of the wives. Yet he accepted and
 understood. He and Galadriel had gone too far. These things could easily be misinterpreted as the
 threats he himself had labored to make Númenóreans believe were terrible, relentless and deadly.
         Now they believed him. He couldn’t fault them their belief, he had created it.
         After leaving the Council, Ancalimë had returned to her palace and sent Aldarion a letter
 as if she hadn’t left. He never knew it was from her lips these lies had spread.
         He saw how grievously and sore afraid his subjects were, how terrified of Galadriel and
 the dark wars of evil threatening to consume Middle-earth. Those wings had now reached across
 the ocean with fear and spread upon the shores of Númenor. He suddenly saw that these wars
 could actually consume his beautiful and peaceful island kingdom. Filled with shame for the part
 he’d played, he saw his subject’s fearful looks and heard their desperate rumors growing: of
 invading armies and coming wars, which neither he nor the Council could stop.
         So he withheld rebuke.



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         Alone in Rómenna, Galadriel had troubles of her own. She had Aldarion’s child without
 becoming mortal. It had never been done. She had broken too many Laws of the Valar to count.
         She would never be allowed to return to Valinor. She had traveled so far beyond the line,
 she had made it impossible for the Valar to forgive her. It was almost as if she wanted to be
 banished to the Void beyond the Doors of Night. There she would find herself alone with the
 only other immortal to have ever been banished – Melkor.
         Love had drawn Galadriel to become one of the two most reviled immortals to ever exist.
         It was unthinkable, yet it had happened.
         These were the Laws of the Valar. She couldn’t plead ignorance. She knew the Laws
 better than anyone. She had been tutored by the Valar in their own Halls and Gardens.
         The worst part for her was, she had fallen in love with Aldarion as she never had before,
 and now she was afraid he hadn’t fallen in love with her. The call of his duty to his people and
 Kingdom was pulling him away. It never had with Celeborn or Celebrimbor.
         She planned to tell him she had decided to become mortal and stay in Númenor with
 Celebrían, not as Queen and Princess, but as private guests of the King. They would live out the
 ends of their days as mortals, grow old together, and see who would be taken by Death first.
         Aldarion returned from the Council and told her the three of them must sail back to
 Eregion immediately.
         The situation in Númenor had become dangerous.
         Rival factions were forming. He feared for their lives. He feared for his own life. He
 feared for the first time in its history, Númenor would experience war – a bloody Civil War. It
 wouldn’t matter who won: Númenóreans would lose.

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         As their King, this he could not allow.
         If he left now, when he returned, he may have already been Deposed. He could find
 himself arrested and executed. But even with this uncertainty hanging over his head, he sailed
 from Armenelos to the far side of the island to ready his ships for another long ocean crossing.
 Preparing his ships to sail with Galadriel and Celebrían, he refused to entrust their safety to
 anyone else, even at the cost of his throne, and on his return, his own life.
         He was in love with her.
         Before they left, he gave her seeds from many flowers and trees: golden elanor, star-like
 niphredil, and most especially, the silver seeds of malinornë trees. They were the things which
 had impressed her more than all the other wonders of Númenor. They were the things she had
 talked about most incessantly. The sliver trunks and golden leaves of the malinornë were the
 things she had said she’d miss the most.



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         Bringing Celebrían and Galadriel safely back to Lindon, Aldarion sailed away from
 Middle-earth for the last time in 988 of the Second Age. Neither of them spoke of what would
 happen when he restored order in Númenor, and returned to see her and Celebrían. She assumed
 it would be well before the arrival of the Millennium, which she planned to celebrate together.
         Aldarion had traveled back-and-forth too many times to count. She was sure he would
 make the crossing many times again. After his ships pulled away, holding little Celebrían’s hand,
 she allowed herself to feel the fear which had been whispering in the back of her mind.
         Before he left, he had given her a letter and a small gift. She opened the letter first.



        Dearest,


         Since there are no words, remember how it felt when our eyes met; the stirrings in our
 hearts when we touched; the sounds of soft repose, lying together in the silence of the world,
 hearing only each other. Remember the rustling of our bodies, stirring. The rhythms of our
 heartbeats and breathing. Remember the sweet fragrances in our hair, on our skin, in our
 clothes. I will carry forever the taste of your kiss and you will always be this close.


        My love is named Celebrían and Galadriel,


        Anardil




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                           The Beauty Of Fire


                  At the prow of my ship I watch sea birds appear
                          Who sing with their souls to influence the choice
                  Of a mate, with the promise of love and good cheer
                          All that I hear in the sound of your voice


                  Standing above the dark blue of the sea
                         Gazing at the light blue filling the skies
                  The line of the horizon appears to be
                         Were Eru has hidden the blue of your eyes


                  Over the fields on the first day of spring
                         A blithe bee flies among flowers he sips
                  And the nectar for whose sweetness to the skies he takes wing
                         Is, I know, not as sweet as the taste of your lips


                  When I feel the caress of the wind on my skin
                        Then I long for the warmth of your form by my side
                  When my soul feels the depths of the Night closing in
                        Then I’m drawn to your light like the Moon draws the tide


                  Yet the oceans between us continue to grow
                         And the days pass so slowly while we are apart
                  But the love that we’ve kindled continues to glow
                         And each memory, like a coal, is the fire in my heart


                  Divided by distance which stands like a wall
                         My hands cannot touch you, but my heart still remembers
                  So though you’re not with me I still can recall
                         The beauty of fire from the beauty of embers




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         Tears filled her eyes and spilled down her face. Never, in all the millennia she’d lived,
 had anyone made her cry. She unwrapped the present, opened the small box and was dazzled by
 a magnificent golden Ring set with a glittering red beryl gem.
         She would never have believed he wouldn’t come back to see her and Celebrían again,
 until that moment. She had assumed he would remove his opposition in the Council, consolidate
 his rule and return for them. It’s what she would have done in his place.
         She was sure when seeing them again, he wouldn’t be able to refuse to take them back to
 Númenor. The problem had been, she was right. So Aldarion never came back, or saw their
 daughter, the sweet, so very beautiful Celebrían, ever again.
         Her return to Lindon, which she had imagined would be a last look and a final goodbye to
 Celebrimbor and Celeborn, became a permanent homecoming.
         Turning her back on the West, she felt the cutting, cracking feeling she had never known,
 yet instantly recognized: her heart was breaking.
         She never spoke of this to anyone. Yet when alone, she feared the unthinkable: the father
 of their daughter would never return or see her grow into a woman. She recognized belatedly,
 something similar had happened to Ancalimë, because of their affair.
         Now she regretted what she had done. Not that she had loved Aldarion, nor bore their
 beautiful daughter, she regretted hoarding his time without thinking of Ancalimë’s needs, and
 what their time together had cost his other daughter.
         For Erendis, Galadriel felt contempt. Erendis had made her harbor, let her sink to the
 bottom of it. It was better than she deserved. She had rejected her own magnificent husband and
 King. Galadriel was certain Erendis deserved worse.
         Galadriel returned to her palace in Edhilon with Celebrían, clutching the seeds of the
 malinornë. They reminded her so poignantly of her undying love for Aldarion, and her foolish
 mistake: the only Elvish woman to break the Laws of the Valar.
         She could never return to the Undying Lands. Her life would be very, very long in
 Middle-earth. Over tens of thousands, perhaps hundreds of thousands of years, she would age.
 Her face would wrinkle, her beautiful golden hair and its iridescent golden light would dim and
 turn grey, until the coming of the Dagor Dagorath, which she would face as an ugly crone.
         Celeborn agreed to raise Celebrían as his own daughter and they never mentioned her
 true father. For most of her life, Celebrían didn’t know she was half-Elven. When she grew up
 and fell in love with Elrond, everyone was surprised, except Galadriel.
         She knew Celebrían was just like him, half-Elvish, and because Aldarion was her father,
 a much closer cousin than if she had been Celeborn’s daughter.
         They married and had three children: the Elvish twins Elladan and Elrohir, very rare
 among Elves, as Aldarion’s forefathers Elrond and Elros had been; and the dark haired Arwen,
 who took after her grandfather Aldarion.
         None of Celebrían’s children learned they were Númenórean, until they each wore
 Elentári in the Third Age of Middle-earth.
         Celendrian learned of their loves and losses when she put on Anqaúrë and slept, and
 sleeping, she dreamt, dreams of Númenor.




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                                         Chapter 4




                           The Forging Of The Ring




          Celendrian and Elerith entered their mother’s darkened tent. In the Orthanc-stone,
 Glorfindel and an army of Easterners were riding out of Rivendell. Heading west on the Great
 East Road, the only place they could be heading towards was Bree – to kill Eldarion.
          Arwen rose, gesturing in Mátengwië. “You must continue north to Rivendell and aid your
 uncles. They will doubtless avoid these Easterlings just as they avoided the Orcelven.”
          “You’re going to Bree to face Glorfindel alone?” Celendrian asked, gesturing. “This is
 just like you taking off alone against the dragon!”
          “You read too much into my actions, just as before, when you had less of a mind with
 which to think,” Arwen signed. “I have no intention of martyring myself. Look closer.”
          Elerith had no idea what her mother and sister were communicating. While Arwen
 packed, Elerith took control of the Orthanc-stone. She pushed the Eye along the winding road
 towards the Weather Hills. Arwen took control away from her. Lifting the Eye above the treetops
 and over the Hills to Weathertop, there she found Erestor, who she’d never liked, supervising a
 band of Easterners inside the broken ring of stones. They were setting up a tall black-marble
 pillar in the center. Another group were bringing up an overly-large palantír.
          “They moved the Elostirion-stone?” Elerith asked, gesturing.
          “No!” Arwen screamed aloud. Twenty-two years of anguishing over losing her parents
 because of Glorfindel’s theft of the Palantír came tearing out of her. “I just saw it in Imladris!
 They have used the stolen Elostirion-stone to find the long-lost Stone of Osgiliath!”
          had never heard their mother scream before. Celendrian and Elerith stared through the
 Palantír of Orthanc at the Osgiliath-stone. Through the other palantíri, their enemies also heard.
          “My Queen!” a knight shouted, ripping their tent flaps open. “We heard you scream…
 are you, and the… royal princesses – ”

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          The Palantír of Orthanc glowed. Many monstrous forms they had been looking at within,
 now clamored around their own palantíri and looked out at them.
          “Thank you, Captain,” Arwen said. “I thought I saw a snake. I was mistaken. I appreciate
 you looking in on us.” She sealed the tent flaps shut.
          “We should have realized if Glorfindel has Fallen, Erestor wouldn’t be far behind,”
 Celendrian signed, ignoring the fact that her mother’s scream had just betrayed their presence.
          Elerith pulled the Eye of the Stone in close on the third finger of Erestor’s left hand and
 gestured. “Look!” There he wore a golden Ring set with a black Cat’s Eye Scapolite stone.
          Regaining her composure, Arwen signed. “It is a Ring of Power.”
          “Is it another one of Celebrimbor’s?” Elerith asked, gesturing.
          “No,” Arwen and Celendrian gestured at the same time. They looked at each other.
          “That’s weird,” Elerith gestured. “You’ve never done that before.”
          “It is one of Sauron’s corrupted Nine,” Arwen signed. “Tilion, the Ring of the Moon. Or
 at least, this is how Sauron presented it to the Easterling King Khamûl when he made a gift of it
 and seduced him. In truth it is Harma, the Ring of Possession, Madness, Lunacy, Scars and
 Maimings. It bound Khamûl to Sauron forever – as his slave.”
          As soon as the Easterlings put the Osgiliath-stone in place atop the pillar, Erestor touched
 the surface and concentrated. His Ring glowed, amplifying the scrying power of the Osgiliath-
 stone to pierce the shadows hiding them, using just their own palantír’s glow.
          “He became one of the Nazgûl,” Celendrian gestured to Elerith.
          Erestor’s eyes filled the palantír. They saw each other clearly.
          “That’s comforting,” Elerith said aloud, terrified of Erestor and all too aware the need for
 silence was over: thanks to Arwen’s scream and their continued use of the palantír, they had just
 been found. She threw a shroud over the Stone and sealed it in its case. As terrified as she was of
 their enemies, she was more troubled by the strangeness of her mother and sister, acting like her
 twin Elvish uncles. “How can we defeat Erestor wielding a Ring of Power?”
          Neither of them responded.
          Elerith left, horrified their enemies had Rings and now knew where they were.
          Celendrian hung back. “You didn’t have a good reason to tell me all those things the
 night you gave me Anqaúrë. I was about to learn them from your memories. You just didn’t want
 to miss out on your last chance to lord over me with superior knowledge.”
          “There is no point in responding,” Arwen said. “You know I gave up my immortality and
 am now as human as you. Bitterness I bequeath you. But this pettishness does not become a
 future Queen. It is time for you to accept the responsibilities.”
          “I’m certain I already have,” Celendrian retorted.
          Arwen handed her the sealed box containing the Palantír of Orthanc. “Then you will have
 no trouble using this. Learn all you can of Erestor’s plans.”
          “Where are you going?” Celendrian asked, her face framed in the glow of the palantír.
          “I am leaving for Bree to find Eldarion before Glorfindel,” Arwen answered, leaving.
          Outside, she told her knights they would not be resting that night. They packed their
 things and rode north, heading for Bree in darkness only occasionally broken by moonlight. It no
 longer mattered. Her only hope to save Eldarion now lay in speed, not secrecy.
          With their mother gone, Celendrian went and found Elerith. They took the palantír to her
 own tent, sealed the flaps and followed Erestor in the Stone. His attention had turned to other
 things. Instead of waiting and watching him setting traps for Elladan and Elrohir, they went
 backwards in time, the most strenuous use of a palantír, trying to discover the key to his plans.

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         Working far into the night, they took turns, pushing themselves and the palantír ever
 further back. One rested, made observations and took notes. The other concentrated, pushed
 harder, farther, calling on the discipline ruthlessly bred into them by their mother and the
 endurance available only to the very young.
         Half the night had burned away. Celendrian collapsed in exhaustion. Despairing and
 close to breaking, within the depths of the palantír, Elerith watched in horror as Glorfindel and
 Thüringel drank the blood of nine Kings he’d given Rings, creating undead Ringwraiths and
 taking control of their kingdoms by slaughtering their entire families. Trembling before the
 horror of nine royal family regicides, Elerith shrouded and sealed the palantír.
         “Glorfindel’s assembled the armies of nine kings!” she shouted, shaking Celendrian
 awake. “I know who they are! I’ve counted their squadrons and assessed their arms. They’re
 marching to Weathertop. In seven days they’ll reach it and ambush Elladan and Elrohir!”
         Celendrian sat up startled, half awake. Her mind seethed with the experiences of the
 women warriors and queens who had worn Anqaúrë. “We must assemble every garrison and
 cavalry within a seven day’s march and have them meet us at Weathertop.”
         Elerith waited.
         There was no more.
         It was monumental. It had never been done in their lifetimes. Yet Celendrian had said it
 so simply, almost casually.
         “There are problems with this plan,” Elerith told her.
         “The minor kings and queens won’t act on our orders until they receive confirmation
 from father,” Celendrian agreed. “By then it will be too late.”
         “I’m afraid so,” she affirmed.
         “We know most of them,” Celendrian responded. She rose and began pacing, “And they
 know us. But you’re right. They’ll wait, if only to give themselves more time to worry. Blast!
 Their heirs, the Crown Prince and Princesses who are our friends wouldn’t. The Crown Princess
 Ulmara, Prince Rondeled, Princess Gianamin and Unahil have been trained from birth to rule.
 They’re as decisive as we are. If they were on the thrones…” she stopped.
         A long silence.
         “What?” Elerith asked.
         “They know, just as they themselves will one day rule their own lands,” she answered,
 “we will one day rule them. They would do anything to avoid a blood feud, especially one in
 which Elladan, Elrohir or Eldarion are killed – because of their inaction.”
         “That’s true,” she agreed.
         “They have more to lose by disobeying a command from us than their own parents,”
 Celendrian told her.
         “You would order them to disobey their parents?” Elerith asked.
         “That would be foolish, an invitation to failure,” Celendrian answered. “I will order them
 to act without consulting their parents.”
         “You don’t mean going behind the backs of their lawful kings and queens,” Elerith
 almost asked.
         “Correct,” Celendrian answered. “I will tell our friends not to consult their parents
 because I have already gone over their heads.”
         For a moment Elerith was shocked to silence.
         Then she asked, “How can we be sure they will?”



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         “We’ve spent so much time together,” Celendrian said, feeling her exhaustion. She sat.
 “Too many hours, on too many days to count. It’s always the same: watching our parents argue,
 we usually agreed among ourselves the outcome, yet months of inactivity passed, and with them,
 the lives of too many of our subjects.”
         “What can we do?” Elerith asked. “Our family is scattered on the field. Glorfindel’s
 armies are moving and we can’t afford further delays. If his armies unite unopposed, nothing will
 stop him. He’ll tear through our kingdoms and we’ll lose too many people.”
         “I will inform them of this… ask them to set aside their doubts and petty bickerings…”
 Celendrian rose. “No. I will command them. They will come.”
         “But… even if they do, how will they fight?” Elerith asked. “They’re not as well
 provisioned as we are. We’ve been to their castles. They don’t have enough of anything. None of
 them have war machines. Many don’t have horses. Some don’t even have swords.”
         “We therefore authorize for the duration of this emergency,” Celendrian said, pushing
 two trunks together. She gathered parchment, quills and inkpots, sitting to record her thoughts.
 “Within the preserves of the King’s Forests, the claiming of oxen, hounds and horses.”
         “Magnificent!” Elerith said, pulling up a chair.
         “We also authorize the felling of trees for fashioning clubs, spears, arrows, bows or
 lances for arming soldiers. The hunting of animals for provisioning troops in support of the
 Crown will also be permitted.” Celendrian wrote it down and showed Elerith. “For any Prince, or
 People, who rise at the Command of their Lawful High King and his Heirs.”
         “It’s brilliant,” Elerith told her, tentatively dipping her quill into their shared inkpot.
 “Epic! If I wasn’t so terrified – I’d be excited.”
         Celendrian laughed and hugged her, grateful they had each other. “Let’s get to work.”
         The hour before dawn as the royal garrisons roused themselves, the other princes
 emerged from their tents to have their morning meal. Elerith and Celendrian unsealed their flaps
 and came to the fire amid the sleepy royals. In their arms, they carried two stacks of letters that
 would either save or doom them and decide the future of their kingdoms.



                   *              *              *               *              *



         “The Dunlendings were our enemies during the War of the Ring!” Elboron protested, in
 front of the other princes. “They’ve never answered a call from their King, much less his Heirs.”
         “It doesn’t matter,” Celendrian told him. “They’ve sworn allegiance to the King and
 Royal Family with their lives. It’s time to put their newly-minted loyalty to the test.”
         “I wish we had time for a practice test,” Elerith bemoaned.
         “You can’t do this!” Elboron told her, while the others observed the first of many power
 struggles about to be replayed throughout the west. “You’re not Eldarion, to call out the
 auxiliaries. We must wait for your father, or their own kings and queens to decide!”
         Celendrian drew herself up and looked down on him, radiating power and command.
 “One does not say must – to a Prince!”
         Elboron stared at a bearing he’d never seen in the woman he loved and thought he knew.
 For a moment he simply stared. Bowing his head, he kneeled. “Your Majesty. Forgive me.”

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         “Prince Ælfwine,” Celendrian said, turning. “Who are your fastest riders?”
         “My royal sisters,” he answered, without hesitation. “My father has given them the best
 horses, Mearas like my own. They’ve had the best training and they’re half the weight of men.
 No one will ride farther and faster than Éodyn, Idris, Liathwyn, Minwyn and their cavalries, the
 Daughters of Rohan.”
         She handed Ælfwine the stacks of royal summons. She and Elerith had stayed up all night
 writing, signing and addressing them to specific princes whose loyalty was the strongest. They
 were gambling they could count on them, affixing their orders in wax with the Royal Seal. “Give
 them these and have them ride. At once. The rest of us will race to Weathertop.”



                   *               *              *              *               *



         They rode for seven days, pushing their escorts and mounts. Celendrian offered Xiang
 and Pingyang the opportunity to continue north on the Old South Road to avoid the battle. They
 thanked her but stayed, welcoming the chance to stand with Celendrian and prove their loyalty.
 They relished the opportunity to demonstrate what the warriors of Hildória could do.
         Alone in their tent, Elerith remarked on the gravitas Celendrian had displayed before
 Elboron. “You didn’t demand. You commanded! It wasn’t your words, it was the way you said
 carried yourself. When you stood up to Elboron – I’ve never seen anyone so regal!”
         “Thank you,” Celendrian responded.
         “Can you teach me?” she asked.
         “These aren’t lessons that can be taught,” her sister told her, turning away. “Even if they
 were, they’re not things I’d want you to learn.”
         “What did you see in the Palantír of Orthanc?” she asked.
         “Please, Elerith,” she pleaded. “Some things are better left unspoken.”
         “Well, regardless, you looked every inch a Queen,” Elerith told her. “Mother is the
 Queen of Queens, but you looked even more a Queen than her.”
         “It’s not that I looked more a Queen,” Celendrian responded, smiling. “It’s just,
 compared to me, mother is more a King.”
         They laughed.
         Then Elerith held still. “No, Celendrian. Compared to mother, you looked more a King.”
         During their journey and battle preparations, Elboron kept his distance. It was just as
 well. Celendrian was exhausted, attending to too many details, even with Elerith’s help.
         Every night she went to her tent, ate with Elerith and tried to follow the scattered
 Daughters of Rohan in the palantír. They witnessed their receptions and observed the reactions
 of the Crown Prince and Princesses of their allies. Sometimes, just the Royal Cadets.
         Most nights, she conferred with Elerith, the other princes and their returning post riders,
 then went to her tent and forced herself to eat before falling into an exhausted sleep. She had to
 keep her strength up for the battle at the end of their hard riding.
         On the nights she couldn’t keep her eyes open long enough to confer with the others,
 Elerith took her place, then came to her tent and left with the palantír.
         Every night, Celendrian lay down to sleep and dreamed. But now she dreamed of Rings.

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          In 1208 of the Second Age, a deceptively attractive being calling itself Annatar ‘Bringer
 of Gifts’ appeared. Claiming to be a Maia servant of Aulë, he went to Lindon, hoping to find and
 steal one of the legendary Ring of Power, of which frenzied rumors were crisscrossing the lands.
          Outside the gates of East Mithlond, he requested an audience with the High King Gil-
 galad, offering gifts in exchange for knowledge of rumored Rings. He was refused an audience
 and barred from the kingdom by Elrond.
          Elrond and Gil-galad had been warned by Círdan that his vision was clouded. “Maia
 essence is there. Yet there is something… more.”
          “What more?” Gil-galad asked, listening in growing fear.
          “I… do not know,” Círdan answered. “It is as if a shroud has been laid upon my eyes.”
          That alone was alarming, more than enough to deny the stranger entry.
          But in Edhilon, things had been different. Annatar arrived with two servants. He
 introduced them as High Elves, an Avari crafts-couple, the Lady Malison and Lord Peterman.
 Annatar gave Celebrimbor a gigantic and barely lift-able sledgehammer. “I am the Bringer of
 Gifts, Master-craftsman. This will provide great service in fashioning gems and magic rings.”
          “What did Gil-galad say when you made him this offer?” Celebrimbor asked. He looked
 curiously at the Avari couple and strained to heft the weight of the massive hammer.
          “A mighty King is Gil-galad, and wise in lore is Master Elrond, and yet they will not aid
 me in my labors,” Annatar told him in a strangely archaic accent. “Can it be they do not desire to
 see other lands become as blissful as their own? But wherefore should Middle-earth remain for
 ever desolate and dark, whereas the Elves could make it as fair as Eressëa, nay even as Valinor?”
          “I’m not certain,” Celebrimbor answered. “I must ask my Queen.”
          Galadriel immediately recognized Annatar as a servant of Morgoth, just as Celebrimbor
 had. His essence stank of corruption and there were no High Elves among the Avari.
          She assembled the Council of the Wise in an emergency meeting, demanding Celeborn
 and the Council’s authorization to assassinate them, even though they were guests under their
 roof, a grievous thing in those days, avoided at all costs.
          A great debate ensued.
          Celebrimbor was still smarting over her affair with Aldarion and the birth of their
 daughter. Even though Celebrían wasn’t his or Celeborn’s, Celeborn loved her, raising her as his
 own. Few knew otherwise.
          In the Council, Celebrimbor opposed her. “I’ve sifted every iota of his spirit. He hangs on
 a precipice, half given to darkness and half to light. He’s had poor role models and gross
 injustices heaped unasked on his head. It’s true, he’s made bad decisions. Some very bad. One or
 two, very, very bad. But he can be saved. Did he not absent himself from opposing the Valar
 during the War of Wrath? Did the Valar not spare him... and request his return to – Valinor?”
          This last comment was pointedly directed at Galadriel.
          “You are a fool, Celebrimbor,” she said, scornfully. She had never used pejoratives with
 anyone, much less her once beloved master craftsman. It was their Autumn, the end of much that
 had been beautiful between them. “He will betray you no matter what you do.”
          Gil-galad, Círdan and Elrond were traveling from Lindon, halfway between the coast and
 Edhilon. This left the Council split, half siding with Celebrimbor and half with Galadriel.
          It was left to Celeborn to decide. “The number in this council was not foresighted. It has
 failed its purpose, evenly divided. As your King, in recompense for the service you have done
 for Eregion; indeed, for all Elvish kingdoms and Elvish kind, if you take responsibility and hold
 yourself accountable for success or failure, as you have always done, I will gainsay Galadriel and

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 allow you to do what you do best, forge miracles – and craft redemption for this former servant
 of Morgoth.”
          Enraged, Galadriel swept wordless from the chamber.
          The worst of it was, she was to blame. She had brought this on herself. Celeborn had
 borne much and an accounting was owed and due him. It couldn’t be avoided. But it couldn’t
 have come in a worse way or time. Their daughter was now a ravishingly beautiful, though still
 very young woman, and their most villainous Enemy had entered the Kingdom.
          This, Galadriel realized belatedly, must have been how Ancalimë felt when she arrived
 pregnant in Númenor and gave birth to a half-Elvish heir to the throne.
          Celebrimbor was delighted with Celeborn’s decision.
          He invited Annatar and his Elvish companions to his workshop. In the center displayed in
 honor, the great sledgehammer sat on an elevated and ornate anvil of gold.
          Celebrimbor had Annatar begin his apprenticeship with no less a luminary than Dagnall.
          “I believe you are capable of great gifts,” Dagnall told him, handing him tools the size of
 pins. “It is my duty to help you find a way to share them with the world.”
          Celebrimbor showed Annatar one of Dagnall’s newest creations: golden runes on metal.
 “This is githildin, writing in gold that can only be seen in the light of the Sun.”
          “Interesting,” Annatar said.
          “Listen to Dagnall’s lessons with a mind for an invention of your own,” Celebrimbor
 advised. “Perhaps a new form of writing in some other language.”
          When Celebrimbor returned to his palace, Galadriel was waiting for him.
          “You are so much like the mortals I once disparaged,” she told him. “You juggle your
 understandable desire to hurt me with the safety of our subjects and the Kingdom.”
          “Always the hypocrite,” Celebrimbor told her. “You couldn’t come and apologize for
 what you did to me and Celeborn, or talk about your concerns for our people. You had to come
 and conflate the two, accusing me of doing what you’re doing.”
          He was right, which made things worse. “By dragging Celeborn into this, you have made
 it clear your only desire is to hurt me. Yet I have been and shall ever be a Queen. I will not stay
 and endanger my daughter, no matter how safe you or Celeborn believe us to be.”
          “Ever a queen, Galadriel?” he asked.
          “If this is a threat,” she told him, “I advise against it. You poured your power into my
 Ring. Combined with my own, I am mightier than you. Think twice, Celebrimbor. Whatever
 threats you might have thought to make, my deeds will silence them.”
          “You preach ‘no threats’ while making threats! Do what you will. I will meet your deeds
 with deeds,” he said, departing. “Your behavior has not been worthy of a queen.”
          Right, again. Oh, how very much this particular realization hurt. In that moment, she no
 longer wished to be a queen and she also no longer wanted to wear Elentári, a painful reminder
 of all they had shared in happier days, now lost. She returned to Lindon and passed her Ring to
 Celebrían. Though she would never reveal where it had gone, she communicated to Celebrimbor
 she no longer ruled or wore the greatest Ring of Power he’d ever forged. She knew he’d be
 furious. She hoped he would also realize she was letting him know she was no longer a threat to
 him and that his points were valid. This was her roundabout way of apologizing.
          For 150 years, Celebrimbor strove to rehabilitate Annatar.
          Right from the beginning, Lady Malison and Lord Peterman confessed they didn’t wholly
 trust Annatar, and perhaps he shouldn’t either.



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         Celebrimbor started confiding in them as his estrangement with Galadriel grew. She and
 Celebrían now lived exclusively in Lindon and Annúminas. Annatar asked about Celebrían often
 and begged to be taught the secrets of forging magic Rings.
         “Celebrían wants nothing to do with Eregion or anyone who lives here,” Celebrimbor
 told him. “She’s decided to live permanently in Lindon, whose door are forever closed to you.
 Nor are you ready to make Rings of Power. Apprenticeships among Elves lasted many lifetimes,
 Annatar. You have just begun your first.”
         For three centuries, Annatar went from one Mírdainion to another. He wasn’t the best
 student. Only slowly did he learn the arts of the forges and jewel-smiths. Yet much of this was
 subterfuge: for every lesson, he meticulously took it apart and reconstructed it. He subverted the
 aims of jewelers, striving to make gems which perfectly refracted the light. He made secret cuts
 that favored darker wavelengths and cast shadows. He mixed the uncorruptible gold with
 enchanted copper and trace amounts of ensorcelled lead, reconfiguring their original
 enchantments for fulfilling potential to instead make the bearers of Rings subservient to his will.
         Amid these growing dangers, in his private workshop Celebrimbor continued forging his
 last Ring of Power. It was his Masterpiece. He had been laying the foundations and working on it
 since Aldarion was last in Edhilon. He had not only perfected the process for making gold
 completely pure and uncorruptible, he attuned the reality of this Ring with the perfect essence of
 his idea of what this Ring could be, which before the moment of its final molding and meticulous
 shaping, had existed only his mind – and he made it real. This was true, not only on Middle-
 earth, he extended the reality of this truth to every world in the Nine Realms, and far beyond: to
 every world that had ever been or would ever be. This unparalleled and monumental feat took
 him another 150 years. At the end, he summoned from Annúminas the only person he cared
 about impressing. Galadriel met him alone in her old throne room.
         “I’ve created the Ring of Power to Rule all Rings!” he boasted. “All that have ever been
 or will ever be, including Elentári, which you discarded.”
         “How is that possible?” she asked.
         “I passed most of my power into my final Ring and infused it with the Ainulindalë!” he
 answered, feeling for the first time, the enormity of his accomplishment. “Finally, I designed and
 forged a Ring of Power for myself – the Master-ring of Middle-earth!”
         “Where is it?” she asked.
         “On my anvil, still hot from the forges, too hot to touch,” he answered. “It is such a thing
 of beauty! So simple, yet capable of the greatest complexity. Even complexities not yet
 conceived. Once I master the Master-ring, my slightest whim will become instant reality.”
         “Have you lost your mind?” she asked.
         He stared at her a moment. “What – are you asking?”
         “Say those words again,” she told him. “Only this time, listen to yourself saying them.
 The power of your Master-ring, the power to do anything, includes dominating the will of every
 living being! This is villainy, on an unprecedented scale, far more monstrous than what Annatar
 or even Morgoth dreamt. You have made yourself the greatest threat that has ever been.”
         “I’m not a threat to anyone!” he protested.
         “How are you not?” she asked. “Infused with the Ainulindalë, your Master-ring can do
 anything. But not just for you, whom you trust. Although, as this lunatic accomplishment has
 proven, you shouldn’t. Whoever wears your Master-ring will be able to do anything. Think of the
 wars fought every day over land and gold. Now imagine the conflicts once the existence of your
 Master-ring is known. Our lands will devolve to Chaos. The desire for your Ring will sunder

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 parent and child, subject and king, craftsman and master. No one who wore such a thing would
 sleep one hour safe in their own bed. Whoever murders you and steals your Ring, and everyone
 will try, yet the most villainous who succeeds will be able to challenge Ilúvatar himself. I
 imagine news of this will be warmly received in Valinor. Farewell, Celebrimbor.”
          She turned to go.
          “No!” he shouted, blocking the door and stopping her. “I don’t want to control anyone!”
          “Then you missed your mark,” she told him. “Who would be free of your control?”
          Thinking about it honestly for the first time, he couldn’t bring himself to answer.
          “Your silence condemns you,” she told him. “When you said your ‘slightest whim’
 would become reality, did you not realize I would suddenly find myself in love with you, and
 you alone, and pregnant with your child? Would you unconsciously kill Celeborn in some
 misguided attempt to eliminate a rival? What would you do with Celebrían, a painful reminder of
 my affair with Aldarion? Is this why you have been creating all these Rings?!”
          “That’s not true!” he protested. “Gil-galad asked me to make them! I accepted from the
 beginning that Celeborn would forever be your husband and you, his Queen. I would never hurt
 Celebrían! Nor have I envisioned you having our baby.”
          “Then what is this?” she asked. From behind her throne, she produced a small but
 exquisitely crafted mithril coat. “You had Dagnall make this for an Elvish child-prince. Why?”
          Staring as if he hadn’t designed nor watched the forging of its mithril links, he was
 shocked by his own audacity, revealed to him as if done by someone else.
          “Gathering this much mithril could not escape the attention of the Queen of Eregion,
 even in absentia,” she told him. “Only you, standing at the crossroads of the mithril trade in the
 heart of the exchange could afford this, and I suspect, only because Durin discounted the ore.”
 He hung his head in shame. “You disgust me Celebrimbor. You are not the Elven Lord I
 remember. Do you not understand what has happened?”
          “What are you talking about?” he asked, frustrated and confused by his own actions.
          “You thought yourself immune from Annatar’s wiles,” she answered. “Whatever your
 original intentions for this Ring, they have been corrupted in the most subtle and insidious ways.
 I scoffed when he first appeared, his ‘masterful’ charade transparently obvious. I will scoff no
 more. When Celeborn gave you the opportunity to save him, Annatar was engaged in an act. He
 wanted to appear pathetically incompetent to lull you into complacency so he could twist you to
 his purpose and shape the final form of your Master-ring.”
          “His spirit is too impure to ever wear or wield my Master-ring,” Celebrimbor told her.
 “How has he benefited?”
          “I do not believe he has,” she answered. “Yet his flattery has distorted your reality and
 destroyed your relationships. Narvi and Dagnall stay in Khazad-dûm. Did you notice? Celebrían
 and I live in Annúminas. Celeborn lives in Lórinand with Amroth. Gil-galad, Círdan and your
 own adopted son Elrond never leave Lindon. Here in Eregion, you are a shadow of your former
 self, surrounded by Avari sycophants. The worst part is, Annatar did this reflexively, in never
 ending mindless plotting, casting schemes this way and that, hoping for any gain, regardless how
 small or ephemeral, or the cost. Nothing personal. He has not done these things out of any great
 antipathy for you, specifically. The irony is, you are correct: he will not achieve a use from you.
 He will discard you. Irrelevant. You have been used by the one you swore would never have any
 power over you and he has prevailed where it mattered most – he has corrupted your heart.”
          Hearing her, he knew it was true. His heart burned with fire, consumed by more hatred
 than he ever thought existed, much less imagined feeling. He drew his sword. “I will kill him!”

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         “You cannot kill him,” she told him. “He is Maia. You can destroy his body of fair flesh.
 His spirit will live on. He will simply create another fair form with which to deceive whoever
 next crosses his path, or whomever strikes his fancy and he seeks out, as he sought out you.”
         “There must be something we can do,” he said. Pacing, his thoughts raced. “I’m sure I
 can create a weapon capable of defeating even the most powerful servant of Morgoth.”
         “Share everything you have done with Annatar,” she advised. “Just as he schemes. Let
 ‘slip’ your greatest secrets.”
         “Why would I do that?” he asked.
         “Annatar has debased your love with a Lust which cannot be foresworn,” she answered.
 “If you do not share your secrets, he will continue tormenting the world, endlessly making and
 unmaking himself and laying waste to kingdoms. He has already learned much from you. If he
 continues copying you, he will make the same mistakes. When he forges his own corrupted
 Master-ring, he will be forced to transfer his power into it, just as you did. One of us will be able
 to destroy him then and he will lose his fair deceptive form, forever… Or maybe… he will make
 such a poor imitation, we will be able to unmake his Ring and destroy him utterly.”
         “You could be right,” Celebrimbor acknowledged.
         She laughed. “No, that was foolish. You’ve perfected the template and written step-by-
 step instructions. Not even Annatar could be that stupid.”
         “Or,” Celebrimbor said, “when the Master-ring cools, I’ll put it on and annihilate him!”
         “That is what he would do in your place,” she told him. “The corruption of your spirit
 would be complete. Power corrupts and absolute power corrupts absolutely. A Dark Lord would
 rule Middle-earth and his name would be Celebrimbor. Your only hope to avoid this is to destroy
 your Master-ring. Or you will find yourself sharing a cell with the headless and legless
 screaming pieces of Morgoth, similarly dismembered.”
         “But my Master-ring can’t be destroyed!” he protested.
         “Then it must be sent away,” she told him. “Other than understanding your own
 motivations, you have always been brilliant. You will find the perfect place. Task someone who
 does not know what it is and have them bear it, but do not record where it has gone.”
         Confronted with a problem, Celebrimbor’s mind engaged. “Where will I find you?”
         “Celeborn has been very patient, encouraging my mad infatuations with the sea in
 Harlindon, East Mithlond, and of course my stay in Númenor, which none of you have ever
 seen,” she said, and she laughed, once more the mistress of her own destiny. “But I have grown
 weary of gulls. Celebrían and I will be joining Celeborn and Amroth in Lórinand. We need to
 spend more time together as a family.” She turned to go. “Oh, and Celebrimbor? Do not let it slip
 to Annatar how you made your Master-ring too soon after we depart. If he suspects a connection,
 he will not trust anything he learns. You must wait.”
         “How long do you expect me to wait?” he asked, lingering at the throne room table.
         “You have spent 150 years with him,” she answered, devising in her own mind, the
 perfect punishment for Celebrimbor’s failings. “Another 150 years – would be perfect.”
         “I can’t wait another 150 years!” he protested.
         “You have spent more time forging a single Ring,” she told him. “If you cannot wait,
 then you have truly become less than a shadow of yourself. Grossly stretched at dawn or dusk or
 compressed at noon, even a shadow displays a semblance of its original shape. The former
 creator of miracles before me does not. What is your name? I know you not.”
         Ashamed, he turned and left. Something glinted on the table. Just like Aldarion over 300
 years before, Celebrimbor had left her a parting gift and a poem. She read the poem first.

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                               It Is Something

                  It is something if we can laugh where others weep
                          And build the things we need as we have done
                  It is something to have loved while others sleep
                          And seen the stars that never see the Sun


                  It is something to smell the mystic rose
                          Though withering it leaves its thorny rods
                  It is something to imagine worlds as those
                          Who dare imagine with the dreams of Gods


                  To know the things which from the weak are furled
                          These mighty ancient passions, strange and high
                  It is something to go running through the world
                          Not like the ones who watch the world run by


                  They cannot stop our works or mar our arts
                          Nor overwhelm our pity with their lies
                  Or silence music playing in our hearts
                          Its harmonies are older than the skies


                  Those quick to complement you cannot trust
                         Deceptive lips will from their sweetness tire
                  In a world of dimming love and fading lust
                         It is something to be certain of desire


                  Harkin your ears and you will glories hear
                         Open your eyes and we will beauty see
                  For in Valinor the dawn comes bright and clear
                         There our love which can never die will be




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         In the poem she saw the shape of the proud and brilliant master craftsman she had known
 and loved. Before her in an open gift box glittered Vilya, the mithril Ring of Air and Adamant. It
 was tainted by a brilliant white gem originally forged by Fëanor, then stolen by Lord Peterman
 from Círdan’s locked Tower of Elostirion and ensorcelled with dark enchantments by Annatar.
         She laughed.
         Celebrimbor had forged his greatest Ring in the hope it would bind her to him and make
 her love him forever. But his last three love-enchanted Rings had been tainted by Annatar’s Lust
 and corrupted by necromantic spells. Sensing this, Celebrimbor knew she would reject him and
 he wouldn’t have the will to oppose her. So he had prepared his own revenge, just as she had,
 which was also a gift, and the wheels-within-wheels intricacies displayed on the table exceeded
 her hope that Annatar hadn’t conquered him after all.
         His last gift was a vindication and an absolution.
         If she wore Vilya, she would admit, for all her boasting, that she too was weak. If
 Annatar’s snare, the trap of his Ruling Ring they had now set him on the path to making ever
 came before her, Vilya the Ring of Adamant, would be her shield against her own desire to
 become a fearsome and Dark Elvish Queen. In truth, a lesser Melkor. No, not even that. If she
 wore the Ruling Ring, she would never again cast the shape of her own shadow. She would be
 less than a shadow of herself, transformed into a shadow of someone else.
         She would become the shadow of Melkor. Or worse, the shadow of his mistress, the Mad
 Vala Ulbandi. She would never admit it, but Celebrimbor’s final gambit was brilliant: not water,
 like Nenya; not fire, like Narya, but the white Fëanorian gem adorned Vilya, the Ring of the
 Adamant gates of Heaven, as unshakable as the stars. Only the two of them would ever know
 how pointed, how driven by the youthful love they’d shared in the Spring of Lindon, was the
 power of this Ring. Not Celeborn, Gil-galad or even Círdan (well, maybe Círdan. But maybe, not
 even he) would understand. The secret of the Three Ring for the Elven Kings was they were not
 just shields, they were weapons forged to remind Ringbearers, weapons should never be used.
         The Elves of Valinor lived in Middle-earth where they could die, hoping a day would
 come when they conquered their inner demons; whatever drove them to live in these accursed
 lands full of real demons; exorcising the phantasms of their minds, their longing for power,
 passion or revenge, which had been instilled in their hearts by Fëanor and still burned darkly.
 Purified of these lusts, they could return to Valinor, where there was no need for weapons.
         In the meantime, the last gift of Celebrimbor would keep at bay the dark corruptions of
 Melkor and Ulbandi, channeled through their servants and uncountable lesser evils.
         She was more than happy to wear Vilya.
         It reminded her of the terrible vengeance she would one day extract from the fragile flesh
 of Annatar, Bringer of Gifts. She put Vilya, the golden Ring of Power of Adamant on tolyo, the
 middle finger of her right hand.



                   *              *              *              *              *



         Annatar ever lusted for Celebrían. His minions saw their master’s desire and also lusted
 after her. For two Ages, she stayed two steps ahead of them and all their subterfuges.

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          As Galadriel advised, Celebrimbor sent the Master-ring away. But the secret of with
 whom and to where, he would not share, not even with Galadriel.
          When Celebrían and Galadriel approached the open, guarded west Doors of Durin, after
 many days of traveling with their armed Elven escorts, her daughter protested.
          “We shouldn’t have to flee!” the young Elven Princess Celebrían told her mother.
 “Remind them of all you’ve done for Elves. You opposed Fëanor in Valinor before the Kin
 Slayings! You helped lead our people over the ice. You fought in the War of Wrath and
 destroyed an army of orcs at the founding of Lindon!”
          “No, my dear Celebrían,” her mother responded, lightly. “Please, do not speak of those
 things. The oldest was more than 8,000 years ago. It is ancient history.”
          They intended to travel through the West Doors of Khazad-dûm, as they had before. But
 they had never come with armed Elven warriors. The Dwarf Fathers didn’t allow any race except
 Dwarves to go armed through their halls. Even then, it was only Longbeards.
          Knowing they were fleeing Annatar, Durin himself met them and graciously admitted
 them with their armed guards. Giving them a personal tour, he showed them secret treasuries he
 was certain they’d never seen. After almost a week of traveling through the Halls of Khazad-
 dûm, he held a lavish feast outside the East Doors in honor of the Queen and Princess of
 Harlindon, East Mithlond, Eriador, Eregion and probably, one day, Lórinand.
          At the end of their Progress after reaching the Dimrill Dale, Galadriel asked Durin how
 she could repay his kindnesses.
          He held still a moment, then answered thoughtfully. “If by chance in some future time,
 you come across Dwarves fleeing enemies, whether Men, other Dwarves or even Elves,
 remember the kindness of Durin the Deathless. Repay this kindness I do now, with no thought of
 compensation, with equal kindness given then, equally with no thought of recompense.”
          “This is a great day!” she said, curtsying low and bowing her head. “I would never have
 believed a Queen of Elves could be humbled and undone, utterly defeated. Not by captains of
 war, by the kindness and generosity of the King of Dwarves, which I now deem is the true source
 of your wealth. Henceforth, I am a Queen no longer. Now and forevermore, I am a vassal of the
 High King Durin the Deathless, the Once and Future King of Dwarves. I am nothing more than
 what I should have been, had I not been blind to my own arrogance. I am simply, Galadriel.”
          “Since Galadriel you are, do not esteem yourself lower than the King of Dwarves esteems
 you,” he told her. “You are a pearl beyond price! It would go well for our enemies if we did not
 value ourselves and our allies. In the purity of your humility, you have humbled a King.”
          “Thank you,” she responded, bolstered in her moment of self-doubt and deeply moved.
          “Regardless of land, position or birth, by your grace alone you are now and will forever
 be a Lady,” he told her, holding out his hand. “A Lady by Grace, the Lady Galadriel.”
          “Galadriel still possesses a glimmer of her pride and a sliver of her former wisdom,” she
 responded. Rising, she took his hand. “She recognizes the wisdom of the High King Durin. She
 will not refuse his pardon, nor the title. Thank you, my King. The Lady Galadriel accepts.”
          The Lady Galadriel and Celebrían passed the Dimrill Dale and went to live in Lórinand
 with Celeborn and Amroth. For many years, they lived together as a happy family.
          Quiet and happy events are the fewest recorded by scribes, who think them common. In
 truth, they are the rarest and most precious.
          Galadriel was never again tempted by the sea or other men, until she left Middle-earth
 forever. Celeborn, for his own reasons, stayed behind.



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         Just as he had never questioned her, wisely, she did not question him. So much time
 passed between, many historical records omitted Galadriel and her kin entirely.
         Others remembered one, two or three of them, but never all four together as a family.
 Many ancient records gave entirely separate and often contradictory accounts of their lineages,
 issue, wanderings and Reigns. This was perfectly acceptable to Galadriel. She preferred it. She
 liked maintaining an air of mystery.
         Using her Ring, the malinornë seeds she brought from Númenor thrived in Lórinand.
 Aldarion had wanted her to use them to make her and Celebrían’s home as fair as Númenor. He
 had given her other seeds as well, including elanor, niphredil and lissuin.
         She didn’t use her Ring so long as Sauron wore the One. When the One Ring was lost,
 she put Vilya to good use, transforming Lórinand with whole forests of mallorns. It became
 Lothlórien, the Land of Dreams, a dream-like refuge for the Nandor, or any Elves wishing to
 escape the threat of Mordor. Secretly, it was also a tribute to her and Aldarion’s love, their
 beautiful daughter, and the brief moment they had shared as a family, happily, in Númenor.



                   *              *              *               *             *



         Celebrimbor hid his virulent hatred for Annatar more effectively than Annatar had ever
 hidden anything. He waited the longest 150 years he had ever known.
         By then, Annatar had all but forgotten Galadriel and Celeborn. He had also convinced
 himself he’d come to Edhilon, not as a pupil, but as a teacher.
         Celebrimbor was saddened by Annatar’s unconscious betrayal of himself. It drove home
 his own hammering awareness of Annatar’s betrayal of everyone in Edhilon and Eregion.
         In his imperfect attempt to express himself, he wrote one of his most beautiful, yet
 forgotten, lost-forever poems. Writing it, he knew he had failed. Nor was this a perfect poem. It
 was as imprisoned by its imperfections, as he was imprisoned in his own imperfect reality.




                            Something Beautiful

                       I stood in a room talking to people
                               Who were neither ugly nor beautiful
                       And wondering how they could be happy
                               In that dull gray neither/nether state


                       Like a day that neither rains nor shines
                              No dawns come like thunder, no lightning sunsets
                       Pointless lightenings are followed by pointless darkenings
                              That ultimately seem not worth the effort to breathe

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                  When beauty finally comes, like a shaft of light through clouds
                         They flock to it or gaze at a distance, wistfully
                  So few think to stop and hang a stained glass window there
                         Plant a flower in the path of the light


                  Craft a prism to release – a plethora of color
                          Those who do are running from or to something
                  Escaping pain, pursuing pleasure
                          Anything, but standing still


                  So many people stand so still so long
                        The air itself collects in layers about them
                  Oppressive, heavy, dank: the petrifaction occurs
                        In imperceptible stages


                  Yet all they have to do, to be moved, is move
                          Beauty is an act of the soul’s own will
                  A conscious and deliberate desire
                          To become the bright and Heavenly light


                  In these rooms I look deeper than their skin
                          With my questions and their slow stolid answers
                  For some hint of beauty. Far too often
                          Inside and out, all I find is formless gray


                  I search for souls who do not bask in the Sun
                          But give off their own light and move
                  Of their own volition. Looking into eyes
                          I hope to find, not the darkness of a pupil


                  But the light and the brilliance of a teacher
                         If eyes are the windows to the soul
                  Then I have never found a teacher
                         And seen the handiwork


                  Of only a few courageous souls, wandering alone
                         In the Wasteland between, following and leading
                  Learning and teaching, knowing and expressing
                         It is there, I long to find… something beautiful

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         Returning to his workshop, he allowed Annatar to ‘teach’ him how to fashion gems and
 Rings of Power, with the little he’d learned from the Mirdainions. Annatar thought it quite a
 victory of deceit when he ‘stole’ a few of Celebrimbor’s most closely guarded secrets.
         Yet one of the Mirdainions let slip a secret Celebrimbor didn’t want Annatar to learn:
 Rings of Power had been given to the Númenórean King Tar-Aldarion and taken to Númenor.
 Annatar imagined it was the perfect place for Celebrimbor to hide his Master-ring.
         After learning all he thought he needed, the Necromancer returned to Mordor. At the
 Crossroads of the Worlds, tapping the power of the Nexus of All Realities, he infused the One
 Ring with most of his Power, just as Celebrimbor had with his Master-ring. But in Edhilon,
 Annatar had delegated his work to subordinates. He had never practiced forging a magic Ring.
         The Ruling Ring was his first attempt. Like all maiden voyages, it was horribly flawed.
 Annatar had never learned patience, nor accepted the necessity of scrapping his mistakes and
 starting over. He refused to do so now. When his terribly flawed first attempt cooled enough to
 wear, it was still so hot, it would have incinerated the hands of lesser beings. Annatar wore his
 Ruling Ring nearly molten and exulted in its power.
         Yet he couldn’t escape his fear that the One, his Ruling Ring, was a pale and corrupted
 imitation of Celebrimbor’s Master-ring. It could subjugate hosts of Orcs and Men. But the Power
 to enslave Dwarves, Elves, Valar and Ilúvatar himself (as he secretly hoped) was beyond him.
         He was forced to admit, Celebrimbor had let him steal only the most superficial aspects
 of creating magic Rings. Annatar the Deceiver had been deceived. He had spent centuries in
 Edhilon, engaged in subservient drudgery and it had been a waste of many lifetimes. His hatred
 rose in his throat, chocking the air from his lungs. Seething with fury and malevolence, he began
 marshalling the greatest army the world had ever known to exact his terrible revenge.



                   *              *              *               *              *



          When Annatar abruptly left Edhilon, Celebrimbor abandoned gems, jewelry and the
 pursuit of ephemeral beauty. He dedicated himself to making useful things.
          In the wake of these changes, Narvi and Dagnall returned from Khazad-dûm and renewed
 their fruitful partnerships, creating modern miracles. In this, as in everything, Celebrimbor
 transcended expectations. Learning whole new fields of knowledge, he made every mistake a
 novice could make and many more people would have thought impossible. Few have
 acknowledged and fewer accept failure as part of the process and burden of great achievement.
          Celebrimbor’s native talent, wisdom and the experience of his prodigious and uncounted
 failures drove him to his few and much celebrated successes. As the centuries passed, his
 stubborn refusal to quit bore fruit. One day, he finally showed Narvi and Dagnall his newest
 creations. One was a large mechanical device of uncounted gears and levers. They were
 embedded within the intricacies of its many parts and pieces.
          “What’s it for?” Dagnall asked.
          “This is a Yétaenwa. It has stored thousands of years of records, regarding the passing of
 the planets overhead, the seasons, sunshine and rainfall, eclipses, frosts, droughts, floods and
 more,” he told them. “Based on what has gone before – it can predict the future.”

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         For a minute, no one spoke. They were overwhelmed by the implications.
         “What have you seen of the future?” Narvi asked, incredulous, yet fearful.
         “I haven’t!” Celebrimbor laughed. “I’ve waited for today, so we can witness what
 tomorrow will bring, together.”
         Before turning it on, he took them to another corner of his workshop. He had removed the
 bottoms and welded together two tea pots. Their spouts faced opposite directions. They were
 mounted on a wagon-axle hanging over a furnace. After he lit the fire, the water inside boiled.
 Whistling steam spun it with blinding speed, like a wheel on a charging chariot.
         “What does it do?” Narvi asked.
         “I don’t know,” Celebrimbor smiled. “But I’m sure I’ll find an application. I have a
 feeling that this invention could one day revolutionize… everything.”
         “I know,” Dagnall told them. “We can add more spouts of different sizes and create a
 steam powered music machine!”
         “My friends!” Narvi laughed. “Such music would be discord. I believe this is another
 necessary failure that may one day lay the groundwork for a future accomplishment.”
         “You’re probably right,” Celebrimbor responded. He stared at the spinning pots. “I can
 always… wait. I think… I’ve just had the inspiration – for the perfect application!”
         An explosion shattered the wall and an onager stone crushed the prototype steam engine.
 The booming force of the collision rocked the building and threw them to the ground. For a
 minute, they could only hide their heads as the wreckage and dust settled. All grew still.
         Picking each other up, they ran to the tower at the top of the Guildhouse. In the
 countryside beyond the walls of Edhilon, riding at the head of legions of marauding armies,
 Annatar stood in the stirrups of a black horse.
         The moment Celebrimbor beheld him in the distance, Annatar lifted a golden Ring of
 Power. It was his Ruling Ring, a pale imitation of Celebrimbor long-vanished Master-ring.
         The change in the sky was astonishing.
         Black clouds filled the Heavens and covered the Sun. All grew dark and silent. Jagged
 lightning shattered the darkness and thunder broke the silence. Discarding pretense, in the midst
 of a great wind, Annatar unfurled the black flag of Mordor. A lidless Eye on a field of black
 revealed him as a monstrosity of evil – the Dark Lord Sauron. Sliding on the Ring, he spoke in a
 commanding voice that bellowed over the plains:


                               Ash nazg durbatulûk
                                      Ash nazg gimbatul
                               Ash nazg thrakatulûk
                                      Agh burzum-ishi krimpatul


         No one had ever spoken the dark tongue of Morgoth in Eregion. Everyone in the city
 trembled at the portent, then beheld the power and wrath of Sauron’s attacking legions. His
 armies destroyed the aqueducts coming from the Gate Stream. They polluted and razed the fertile
 fields across the countryside. Setting fire to the Holly trees, his armies burned whole forests and
 destroyed all living things within. Countless orcs converged on the walls of Edhilon.
         Celebrimbor, Narvi and Dagnall had been staring at the destruction in disbelief. Now
 they turned to each other. They knew the city would fall. That wasn’t the point. They had to save

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 as many lives as they could. Running into the streets shouting, they sent as much of the
 population as quickly as they could, sluicing down the west and south aqueducts.
         Dragged to the edge of the waterways, Princess Drendelen was one of the first.
         “My statues!” she cried, looking around in horror. “I can’t leave my life’s work!”
         “You must!” Celebrimbor told her. He lifted her over the edge and down into the torrents.
         Following right after went her ever-faithful companion and friend, the Lady Marcidelén.
         Narvi and Dagnall ran to retrieve their children and meet Celebrimbor at his Palace.
         This was the type of assault the Doors of Khazad-dûm had been designed to withstand, as
 well as Celebrimbor’s own vaulted Armory, Archive and Library.
         Sauron and his armies pounded against the fortress walls of Edhilon. After many
 attempts, his relentless assaults and massive battering rams finally broke through.
         Entering the city, he and his forces slaughtered the populace that hadn’t managed to
 escape, just as they had ruthlessly slaughtered everyone in the fields outside the city.
         Celebrimbor was waiting in a panic outside his Palace. As soon as his friends arrived, he
 would seal them in his vaults and they would drop into the earth, becoming a well provisioned
 and unassailable fortress. They and all their records and inventions would be safe from Sauron.
         Celebrimbor saw Narvi in his enchanted mail and helm, leading Dagnall and their family.
 They were running wildly towards him, less than a block away. Sauron and his armies stormed
 through a side street, catching them and slaughtering their three sons and only daughter with
 weapons they themselves had forged in the Guildhouse of the Mirdainions.
         “What need have I of Rings?” Sauron laughed, demonically. Staring into Celebrimbor’s
 eyes, he tore out Narvi and Dagnall’s entrails and beheaded their screaming bodies.
         Celebrimbor slammed shut the doors of his Palace and dropped his Library, Archive and
 Armory into the earth. There, they were lost to history. Running down the street, he entered the
 Guildhouse of the Mirdainions. By the time Sauron fought his way to the Guildhouse,
 Celebrimbor emerged in a dazzling bright, enchanted mithril armor. Flanking him were the mail-
 clad forms of Lady Malison and Lord Peterman. In Celebrimbor’s hands he held no sword or
 spear, he wielded the great Sledgehammer ‘Annatar’ had given him over 350 years before.
         “Come, Annatar!” Celebrimbor shouted. “Come ‘Lord of Gifts.’ You have come for
 Rings of Power! Your objectives await you behind this door. But for every Gift, there is a price.
 Some believe the greater the price, the greater the treasure. Come, Sauron! Come see how costly
 the price of these treasures and how well Lord Celebrimbor has learned your bitter lessons!”
         Hordes of wargs and legions of orcs surged towards Celebrimbor. He crushed them all
 beneath the monstrous weight of his enchanted Sledgehammer. He wielded it as lightly as a
 stick, yet it struck with the force of a falling mountain. Every impact rocked Eregion. What little
 remained standing fell to the ground. One downward stroke from the enchanted hammer crushed
 anyone flat. A glancing blow sent his foes rocketing away, faster than arrows. They became
 deadly missiles, killing everyone who came anywhere near the Elvish master craftsman Lord
 Celebrimbor. Before long, only the Guildhouse of the Mirdainions still stood inviolate.
         Sauron’s armies shot burning arrows, spears and onager stones. The Necromancer
 himself slung fire and flame, great heat and burning acids with his deadliest necrotic
 enchantments. All were fueled by the power of his Ruling Ring.
         All were deflected by Celebrimbor’s enchanted armor. He leaped off the steps, followed
 by Lady Malison and Lord Peterman. Reaching Sauron, he raised his magical weapon to destroy
 the Necromancer, forever. So great were the enchantments woven on this mallet in anticipation
 of this day, in its own way, the Sledgehammer of Celebrimbor was as great as his Master-ring.

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         Anyone or thing, whether Maiar or even Valar, caught beneath its weight, stayed crushed
 and flattened forever. Neither Sauron nor his Maiar essence would ever rise again.
         Behind them, the skin of Malison and Peterman shimmered, flowed and revealed them as
 Changelings. They were Thüringel and Súro, the son of Sauron, bred before Sauron killed and
 resurrected her. They kept their own faces, transforming their bodies into whatever race they
 wanted. Now, they chose winged Balrog Lords. Surprising Celebrimbor from behind at the peak
 of his swing, they batted the enchanted Sledgehammer from his hands and wrestled him to the
 ground, pinning him beneath the weight of their giant, burning bodies of Fire and Shadow.
         But even now, they couldn’t hurt him, encased in his enchanted mithril armor.
         It took all the force of Sauron’s battering rams, but he finally broke the doors to the
 Guildhouse of the Mirdainions. Inside, he found the Nine. He also found notes revealing the
 locations of the Seven. He never found them all, or records of any of Celebrimbor’s original
 Rings of Power, and he never knew how to make a true copy of the Master-ring.
         Knowledge of the existence of Celebrimbor’s original Rings was lost, passing from
 history with the deaths of those who hadn’t escaped down the aqueducts and with the silence of
 those who had. For they had borne witness to the slaughter. Of the few who did survive, one of
 them, some nameless and forgotten balladeer, wrote the mournfully beautiful Lays of Eregion.
         Those too were lost, after the passing of many Ages. Only a handful of verses about the
 ancient Lore of the Rings were preserved, forgotten by all but a few.
         Forever after, Sauron boasted that he took Celebrimbor back to Mordor and wracked,
 tormented and tortured him long and painfully. He claimed it was only after years of hopeless
 agony that he finally extracted the locations of the Seven and Nine.
         Those were lies.
         Thüringel and Súro lifted Celebrimbor off the bloody steps and tore off his mithril helm
 with plundered tools from Celebrimbor’s own workshop. These were the only things that could
 affect his enchanted armor, revealing Sauron was too late: Celebrimbor had released his spirit to
 the mercies of Eru, for good or ill. They had only conquered the empty shell he’d left behind.
         In the Guildhouse, Sauron tortured the faithful servants of the Mirdainions, but they told
 him nothing. It was irrelevant. They knew nothing he didn’t already know.
         So great was the carnage within those halls, blood ran down the steps as if springing from
 the ruined rooftop fountains.
         His armies butchered everyone left in Edhilon, until the sparkling waters of the Sirannon
 ran red with blood. Across Eregion through towns and farms, they uprooted gardens, leveled
 palaces, shattered the remaining aqueducts, and burned and polluted the fields.
         In the Nîn-in-Eilph, they dismembered and slaughtered the fleets of white swans, turning
 the lakes into stinking red cauldrons of rotting body parts.
         No tale records how many died. None survived who would tell the tale. Sauron’s armies
 killed everyone – except the exquisitely beautiful wives and daughters of the Dwarves.
         The Necromancer turned his attention to Khazad-dûm and the Rings he had learned for
 certain were there. Durin, the All Father of the Dwarves, wore one of the Eleven, receiving his
 Ring directly from the hand of Celebrimbor. Another was worn by Narvi. But Sauron had failed
 to recognize him beneath his helm. The last record of the Seven noted Narvi, Dagnall and their
 Rings in Khazad-dûm. Sauron hoped there he’d also find the Master-ring.
         Where else could Celebrimbor have sent it so quickly, and where else was safer and more
 secure than the deep delved halls of Durin?
         But Durin had slammed shut his Doors.

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         Sauron, Thüringel, Súro and their great armies and monstrous battering rams hammered
 away at the Doors. In the tumult, the wondrous palaces, parks and fountains in the Courtyard
 Gardens outside the West Gates of Khazad-dûm were shaken from their foundations and
 destroyed. No tale is left which records the majesty and intricacies of their once great beauty.
         Yet no force, no dark enchantment, not even Sauron’s Ruling Ring could destroy or mar
 the Doors of Durin. They had been forged in friendship by Narvi, Dagnall and Celebrimbor.
 Sauron was again reminded how pathetic his ‘Ruling’ Ring was: it couldn’t break down a door.
         For months, his armies battered the Doors, smashing to pieces his battering rams. The
 Dark Lord accepted he’d fare no better against the East Doors, as strong a set as the West. He
 and his forces departed Eregion, leaving behind a smoking and polluted wasteland.
         Eight and a half months later, the first of the few surviving female Dwarven prisoners
 appeared outside Khazad-dûm before the Doors of Durin. Every one of them was pregnant.
         Cautiously, they were taken in. It was not known what became of them or their babies.
 Few, if any, ever again saw the beautiful women of Durin’s line. It was forgotten how truly
 beautiful the maids, Ladies and Queens of the Dwarves had been. Some misremembered them
 derisively, saying they looked exactly like their men. Others began to wonder if there had been
 female Dwarves. They told tales of Dwarves awakening full grown, as if springing to life – from
 the living stone.
         Sauron convinced himself it couldn’t be in Khazad-dûm. If Durin had it, surely he would
 have worn and wielded it against Sauron. Besides, there were many other places to search. After
 centuries, having failed to find the Ring, the only place he hadn’t searched was Númenor. His
 most powerful enchantments revealed (he mistakenly believed) it wasn’t in Middle-earth.
         There was nowhere else it could be. The Necromancer became obsessed with conquering
 Númenor – to find the Master-ring. Sauron’s greatest secret, which Celeborn and Galadriel never
 knew, was Celebrimbor had been right: half of Sauron’s spirit was still pure. He had disdained
 ever descending into total evil, for nothing deceives so perfectly as sincerity. When he wanted to
 deceive, this was the aspect of himself he manifested.
         In his sincere fair form, he would have been able to wield the Master-ring of Middle-
 earth, eclipsing Melkor and not only challenging Ilúvatar – in this guise, Sauron truly believed he
 would defeat the mighty Eru when wielding the Master-ring.
         But to get there took careful planning. On the road to omnipotence, it was wise to avoid
 the waste of resources with fruitless efforts. This included challenging the mighty Númenóreans
 unsuccessfully. When the Númenórean King Ar-Pharazôn sailed to Belfalas, he brought the
 largest army the island continent of Númenor had ever sent. Gil-galad and his many Elvish
 forces, Durin and the seven Dwarven kingdoms, uncounted tribes of Men, Ents, unconquered
 Trolls, rebellious Orcs, irrelevant Hobbits, and many other creatures lay to the north. The truly
 massive continent and the Kingdoms of Northern, Greater and South Harad lay to the south.
         Everyone in the leagues between fled their homes, hiding in the forests and hills.
         Ar-Pharazôn and the small but deadly Númenórean army passed unopposed through rich
 farmlands, which appeared empty and desolate. Marching for weeks unchallenged, they entered
 through the open and deserted, great and terrible Gates of Mordor. Crossing the empty plains of
 Gorgoroth, they reached the towering, silent walls of Barad-dûr. Thick as buildings, they rose to
 the height of mountains. So far, not a single sword had been drawn nor an arrow shot from a
 bow. Ar-Pharazôn demanded Sauron’s immediate and unconditional surrender.
         The Necromancer left his terrible armies of gigantic monstrous creatures at once and
 without parlay. His first deception was by far his best: he knelt before Ar-Pharazôn and said he

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 was overcome by his own personal dread of him and the sheer majesty of the Númenórean army
 (composed entirely of diminutive mortals).
          Ar-Pharazôn swallowed the lie hook, line and sinker. Who could resist? It made no
 difference: Ar-Pharazôn’s wasn’t the rightful king, but a usurper. The daughter of his brother, the
 Crown Princess Míriel, was the rightful Heir. She was later called (ironically) the Númenórean
 Queen Ar-Zimraphel. Ar-Pharazôn had forced her to marry him against her will. Taking her
 unwilling on their wedding night, he locked her in a cell and ruled alone. He returned to her
 prison and impregnated her repeatedly. But she never bore him a living child.
          Sauron went with Ar-Pharazôn, apparently unwilling, a captive in chains. It was a great
 victory for Ar-Pharazôn (he thought), achieved without the loss of a single life on either side.
          Sauron sailed to Númenor on Ar-Pharazôn’s ship, secretly as happy as a child
 approaching presents on his birthday, giddy with delight. He was confident he would find the
 Master-ring and add its incalculable power to the corrupted lesser copy he’d left behind. It was
 secure in his own armory and treasury in Barad-dûr. On his hand he wore a powerless copy of
 his copy. He would never have surrendered himself in chains with the Ruling Ring on his finger.
          He spent the journey scheming, thinking of everywhere he could conquer and everything
 he would create, once he truly could create, finding, claiming and mastering the Ainulindalë:
 Upper-earth, Middle-earth and Valinor would fall. He would even master the great Eru Ilúvatar.
          While Sauron dreamed, idly, he tried to seduce the hearts of these evil Númenóreans.
          Despite his best, most flattering and devious efforts, he couldn’t corrupt them. Ar-
 Pharazôn and his people were corruption incarnate. Theirs was a ruinously divided and bitter
 kingdom filled with fear and violence. They hated the Eldar who had brought them gifts and the
 Valar who created them – long before Sauron arrived. In time, like the puppeteer he was, the
 Necromancer learned to steer their corrupted hearts in directions of his own choosing.
          Reaching Númenor, Sauron began his life there as a helpful prisoner. After long years, he
 became a trusted counselor. Eventually, he grew into the power behind the Númenórean throne.
 In this role he searched the island Kingdom high and low, starting with the Library and Archives
 of the Guildhouse of the Venturers in Rómenna. Sifting the Tombs of Kings and Queens in the
 valley of Noirinan, he sought out and desecrated the tombs of Tar-Aldarion and Queen Erendis.
 Eventually, all that remained unsearched was their most sacred mountain, Meneltarma. Its flat
 summit was wide enough to hold great hosts and was called the Pillar of the Heavens.
          He tried to approach the top, where no one but the rightful King or Queen had ever
 walked and spoken with the Valar. Great Eagles, larger than any ever seen, screeched and cawed,
 driving their deadly talons down at him. Despite his own prodigious power, he had no choice but
 to flee in mortal terror. He swore vengeance and eternal enmity against the Eagles, as if they
 hadn’t already been the bitterest foes. Sauron had others desecrate the mountaintop. They
 searched it top to bottom, striking the surface and pockmarking the hallowed ground with holes,
 looking for hidden compartments, secret doors or rooms. Nothing was ever found.
          He had a statue of himself placed in the center, made of indestructible black Númenórean
 stone. It held the enchanted Sledgehammer of Celebrimbor, that none could wield and only
 mechanical cranes could lift. The men who set the statue there died from a mysterious illness.
          Though the fearsome black statue couldn’t be damaged or unmade, it was buried under
 mounds of guano, left by hordes of Eagles coming from far and wide especially for this purpose.
 No one ever again set foot on the flat summit of Meneltarma in the Second Age. None who were
 foolish enough to try survived the rending claws and beaks of Manwë’s attacking Eagles.



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         Convinced Celebrimbor’s Ruling Ring wasn’t in Númenor, Sauron persuaded Ar-
 Pharazôn to challenge the Valar by setting foot uninvited in Valinor. He never imagined Ilúvatar
 would do as He did: Númenor sank below the waves in a terrible catastrophe, utterly destroyed.
         Many songs were sung about the lost beauty and splendors of Númenor. After thousands
 of years, just as the island paradise they attempted to immortalize was lost, those too were lost.
         Now, only one was left, lying buried and forgotten near the bottom of the hoards of
 scrolls and records in Minas Tirith. Not even Gandalf found this last, many times translated and
 recopied fragment, missed during his searches for the secrets of the Lore of the Rings.
         It was Finduilas who found it, a young girl, alone, neglected, a too bright girl-princess
 with nothing to do and no one to do it with. Reading it, she never appreciated or fully understood
 what it was. But in her memories, Celendrian saw it and knew. Centuries later, Eriol did too. It
 would color his own account of the Fall.




                          THE LAY OF NÚMENOR

                          This account of the Island of Númenor
                              In descriptions and maps long preserved
                          Was in the archives of the Kings of Gondor
                              The only place they endured


                          The land resembled a five-pointed star
                              Ringed about by violent seas
                          The central part was called The Mittalmar
                              And set above five promontories


                          The Mittalmar was separate from the rest
                              Its white walls were filled with precious things
                          And all agreed it held the best:
                              Armenelos, the City of Kings


                          Near the center of The Mittalmar
                              The Pillar of Heaven was the highest peak
                          It was sacred to the worship of Ilúvatar
                              Where none but the King could speak


                          A spiral road was built upon it
                               Beginning at its feet in the south
                          It ended below the tall summit
                               Before the gulley’s mouth

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                    Though often filled by a swelling crowd
                        Upon the silence, none dared intrude
                    No one else there ever spoke aloud
                        Though the summit held a multitude


                    In Midsummer and at Thanksgiving
                        To the peak the King ascended
                    To praise Ilúvatar while singing
                        Clad in white and fair garlanded


                    If anyone else approached the summit
                         The Great Eagles would appear
                    Flying down from high above it
                         To alight on three rocks near


                    The number of Eagles were also three
                        Believed to be sent by the Valar’s hands
                    They were called the Witnesses of Manwë
                        To set his watch upon their lands


                    These tales represent the smallest part
                         For most were lost, like the lives of all
                    All they knew of science and art
                         Vanished in its high tide at the Fall


                    The Downfallen ever looked West to the sky
                        And thought themselves the only measure
                    Of the Exiles who could no longer deny
                        Their folly had cost them their greatest treasure


                    At last it was clear, for there came a day
                         They no longer denied the truth they feared
                    The Land of Gift was forever taken away
                         When fair Númenor first disappeared




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         Sauron’s fair form was unmade in the destruction and Fall of Númenor. As a Maia, he
 was able to return to Middle-earth, but was never again able to take a pleasingly deceptive and
 beautiful form. He created instead a terrible and monstrous visage. He wore Celebrimbor’s
 impregnable armor, which only Celebrimbor’s own enchanted tools and weapons could damage.
         From this time forward, if anyone found the Master-ring, not only would Sauron be
 unable to wield it, the Master-ring’s bright beauty and perfect harmony would destroy him.
         Many believed Meneltarma later rose again from the sea and formed a small island.
         Celebrimbor’s only clue to where he’d sent the Master-ring was a riddle: “The shortest
 distance between any two points is where you may one day discover my Ring.”
         In the Ages that followed, the wisest of the Wise exhausted themselves trying to reason,
 deduce or calculate probable starting and end points. Everywhere the aqueducts had gone was
 considered. The places where Celebrimbor’s Library, Archive and Armory might have stood
 were searched. Nothing was ever found. People tried to determine where he could have started
 when he began his journey and where he might have been when it ended, and what could be the
 shortest distance between these many points.
         One and all, the Wise have failed.



                   *              *              *               *              *



         Celendrian woke late, much later than she usually did. Her mind was awash in her
 memories of the wholesale devastation of Númenor from the memories of Elendil’s wife
 Vanimália. For she had worn Anqaúrë, escaping the Cataclysm with her husband and sons.
         She also remembered the terrible destruction of Eregion. She saw it far too vividly in the
 memories of Drendelen. Vanimália secretly absorbed them from the Elvish princess long after
 the fateful day Celebrimbor sent her down the aqueducts.
         All Celebrimbor’s Elvish Rings gave their Keepers the memories of the previous
 Ringbearers. Of the Rings for mortals, only Anqaúrë did. Yet of all the Rings, only Anqaúrë
 could absorb the memories of others.
         At the end of each day’s travel on their way to Weathertop, Celendrian and Elerith
 searched with the Orthanc-stone. Working together, unlike their mother had, they found Arwen
 and her knights riding on the Great East Road. There, a host of orcs and goblins attacked. They
 could only watch in horror as Arwen’s knights were murdered and her handmaidens tormented.
         Arwen alone was spared.
         Glorfindel wanted her alive. He promised torments beyond imagining to anyone who
 harmed or even touched the High Queen of Arnor and Gondor. In chains, Arwen stood before
 Thüringel, the deadly Queen of Mordor. Though bound and helpless, Arwen was not humbled.
         “You dare assault the Royal House of Telcontar?” Arwen scoffed. “Any injury received
 by me or any member of my household shall by paid by you and yours a thousand-fold. Count
 those you have slain. Ah, but you employ goblins and orcs, not renowned for their ability to
 count. I have no doubt they better their Mistress. The number is twenty-four. Pray you have
 twenty-four-thousand troops ready to die, or your rotting undead flesh will suffer the agonies of
 twenty-four-thousand deaths. We will see how much disfigurement and pain you can endure,

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 having your face ripped off, eyes gouged out, ears punctured by red hot tongs. Your body will be
 dismembered, then I will have your screaming head try and convince me you call it pleasure.”
         Thüringel was bound by Glorfindel’s commands, yet enraged, hearing threats from her
 prisoner, and still she trembled before Arwen’s fearless and vengeful wrath. Humiliated, she
 ordered Arwen bound like a common prisoner and put in an iron cage atop an open cart.
         Watching through the Palantír, Celendrian was furious.
         “Don’t you see?” Elerith asked. “Atop a cart in an iron cage, mother goaded Thüringel
 into doing the only thing that could prevent her from being tormented, like Celebrían.”
         Thüringel and her party rode north towards Glorfindell, the capital of New Gondolin
 within the valley of Imladris. They reached the Great East Road well to the east of Weathertop.
         Pushing the Eye west, Elerith and Celendrian found atop the butte their Elvish uncle
 Elladan hanging shackled to a broken section of wall, four feet off the ground. They followed his
 pointed gaze, as if he was laying out a trail to be followed through the Palantír of Osgiliath.
         There they saw his twin brother Elrohir, riding west around the edges of the Midgewater
 Marshes, the long way around to Bree. He wouldn’t do that without good reason. Elerith pushed
 the Eye through the Marshes. In the Chetwood, she discovered a mysterious path of vegetation
 being crushed flat by invisible forces. In the distance, a blue and silver robed Istari rode a Mearas
 towards these invisible marauding things. All were on a track for Weathertop.
         “There are an infinite number of possibilities to explain these mysteries,” Celendrian told
 Elerith. “But a limited number of probabilities. I’d wager that Alatar the Blue and uncle Elrohir
 are racing to stop Eldarion from being caught in the same trap as Elladan!”
         They informed Elboron and his response was immediate. “Our duty is clear. We can’t
 detour from Weathertop to save the Queen. Our primary responsibility must remain saving
 Eldarion. If we split our forces between Erestor’s forces and Thüringel’s armies, we risk losing
 both battles. We have no choice. We have to stay together.”
         “I don’t like it,” Celendrian said. “But I agree.”
         “We shouldn’t worry too much about mother,” Elerith told them. “If she maintains even a
 fraction of her intimidation, her captors won’t dare harm her.”
         “You don’t honestly believe that,” Celendrian said.
         “I don’t,” Elerith responded, looking away. “I wish I did.”
         Seeing the path of crushed vegetation emerge from the Marshes close to Weathertop, they
 knew they had to start riding before sunup and keep going well after dark to arrive in time to
 save Eldarion. After a long hard ride the day before the battle, not yet having reached the peak,
 the princes sat around the fire exhausted and ate together, as they usually did. Elboron tried to lift
 their spirits by insisting everybody play his favorite game. ‘Ribbles’ was a modern and irreverent
 (some said scandalous) take on the ancient and respected (some said boring) game of Riddles.
         “What would you get if I picked up the Princess Elerith and tossed her into a random
 chair?” Elboron asked, looking around the fire. No one hazarded a guess.
         “A Royal Thrown!”
         ‘Ugh,’ Celendrian told herself. ‘At least he’s pretty.’ She was trying to fool herself into
 believing she hadn’t missed him – and failing. She missed him terribly.
         When Elboron left the fire and entered his tent, she was already inside waiting.
         “My Lord,” she said, curtsying formally.
         He sealed his tent flaps and whispered, “Cel!”
         She hadn’t moved when he turned back around. They just looked at each other, keeping
 their distance. They had never done that before. Watching each other silently, neither one dared

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 move. They were two studies of powerful forces in silent opposition, pushing and pulling against
 their reasoning and wildly fluctuating emotions. They knew it was the last night before a terrible
 battle. Not knowing if either would survive, they were certain too many of their companions they
 had known their entire lives would die. Worse, the uninterrupted closeness and happiness they
 had shared since first meeting many years ago had been broken. They continued to stare at each
 other, silently wondering what they could do to repair the breach.
         They had gone too far to go back.
         They struggled for something that would allow them to move forward.
         Abruptly, Celendrian crossed his tent as if commanded and she set her finger on his lips.
 “No, no words. Please. They’ll only get in the way. Just us. Just you and me. Not what duty
 demands and what happened before. Not what we face tomorrow. Just this. Just our hearts, our
 feelings, right here, right now. All we have left for sure is this one last night. Let’s make it ours.”
         He held still a moment, then kissed her finger. She lifted it away and put her lips on his.
 His arms went around her back. When he touched her, his emotions rose in response to hers,
 desire igniting desire. The love they were still too frightened to name welled up inside them,
 meeting everywhere they touched. He groaned, overwhelmed by these new and powerful
 emotions. Swept up in this thing that transcended reason or uncertainty, they were certain
 whatever they faced and whatever happened, sharing this made everything worth it.
         Rather than being dismayed, they welcomed the moment and leaped headlong through it.
 Their mouths engulfed each other in their passion, more momentous than anything they had
 experienced before or would in the future. Here, their so very new loves met and grew. When
 their bodies joined, their hearts sang.
         Her thoughts were untroubled about whether or not to use Anqaúrë. She was engulfed in
 the totality of their sharing this mad, reckless, beautiful, transcendent passion that neither had
 dared to name, which neither would dare deny.
         “Celendrian,” he told her, breathless, between kisses. “I love you.”
         “I love you,” she said, kissing him madly. Tears slid from her eyes.
         As they made love, their hands locked together, just as their bodies interlocked, just as
 they felt their souls interlocking. Their fingers entwined in their unconscious desire to touch each
 other everywhere. Wiggling her fingers, she pressed the webs of her skin against his, touching
 the osmium metal band she couldn’t see on the first finger of his right hand.
         For one second, her awareness shifted on what was there and Elboron, who wore Oromë,
 knew he’d been her prey: the Hunter had been hunted. She’d found the Hunter’s Ring.



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         Afterwards, they lay together on his cot. Her back pressed against his chest. With their
 arms and legs wrapped up in each other’s, their heartbeats slowed. Their ragged breathing
 evened out, becoming soft and their grip on each other’s hands relaxed.
         He kissed her shoulders, her neck. He pulled her around and kissed her lips. A quiet
 stillness settled over them. They stared into each other’s eyes, inches apart.
         “Don’t you have something to tell me?” she asked.

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        “You were looking for it,” he responded. “You knew it was there.”
        He waited. He knew it infuriated her. Nobody except her parents could make her wait for
 anything, except him (Eldarion could, but he was too polite to actually do so).
        “I’m not supposed to talk about it,” she said.
        “Neither am I,” he responded.
        “My grandparents never spoke of it,” she told him.
        “My parents did,” he said.
        “Of course yours did,” she told him. “They had to in order to – ” she cut herself off.
        “How do you know?” he asked. “Nobody was there except me and my mother.”
        She took a deep breath. “This is very hard for me.”
        “Then don’t,” he told her. “It’s not as important as holding you.”
        That did it.
        He had opened the floodgates of her emotions, long sealed by her mother, against trusting
 anyone and sharing anything.
        She told him everything.
        Trust meeting trust, he told her everything.



                        *              *               *              *              *



          It was midnight in Osgiliath on Midsummer’s Night. Éowyn and Elboron were alone. She
 sat in one of the two side-by-side double thrones at the back of the elevated top of the Palace of
 Stars. Elboron sat in the other. Outside the windows, the full Moon poured light through the
 multifaceted, multicolored gems set in the blue-black ceiling. Glimmering, glinting and
 twinkling, they formed bejeweled constellations embedded in the Númenórean stone, forming
 the Dome of Stars above their heads.
          Éowyn was a traditionalist. She required in the design of the round Palace, a classic stone
 henge with a single entrance. Below them, it formed a perfect circle and followed the round outer
 walls. It had a smooth hollowed ditch and embankment carved in stone, set just outside the edge
 of the ordered rows of amphitheater seats, which spread out in a wide circle below their thrones.
          The night before, the Fëanturi had come to Éowyn in a dream, telling her it was time to
 pass to Elboron her Ring. He was going out into the world and would face great trials. Even with
 his training, skill at arms and the Ring, he would still be sorely tested.
          “This is Oromë,” she told him. For the first time, he saw the silver-blue metal band of her
 Ring of Power. It was set with a polished, bright beige gemstone, on the third finger of her left
 hand. “It is the Hunter’s Ring, forged by the Elvish master craftsman Lord Celebrimbor, in
 Edhilon. It is one of the Five for Mortal Warriors. Tonight, you will become one of the Five.”
          “Were you wearing Oromë on the Pelennor Fields?” he asked.
          Rarely, had she allowed anyone to speak of her confrontation with the Witch King.
          “That was before your father gave me Oromë,” she answered. “I wish I had it then. I was
 forced to face the dwimmerlaik alone.”
          Hearing this, Elboron was even more overawed by her bravery and revered even more
 her greatest accomplishment, remembering every detail he’d learned of their confrontation.

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         “Your father is one of the greatest warriors in the Kingdom,” she told him. “As well as
 one of the best scholars. He has taught you well and you have been an apt pupil. Yet these
 lessons are different. You must stay focused.”
         “Yes mother,” he affirmed. He cleared his thoughts. “I’m ready.”
         “With this Ring, you will be able to sense how people around you feel,” she told him.
 “Happy, sad, healthy, ill, and you will learn to distinguish illnesses. If someone is not with you,
 things they have worn, or often simply touched, will do. All your senses will be heightened, but
 none more so than your ability to discern different scents. Your sense of smell will be keener
 than a bloodhound’s or a hunting wolf’s.”
         “Hence the name,” he said, smiling.
         “Your memory will be extraordinary,” she told him. “There is nothing you will ever
 forget. You will look at a room and know everything in it – at a glance. Forever after, a part of
 you will always be in this room. You will be able to recall every detail as if you were still here.”
         “But you’ll lose these abilities,” he said.
         “They have served me well,” she told him. “The time has come to pass them to you. You
 will recall every word you have ever heard and your impressions of what people said: why they
 said them, what they were really saying and what they were not saying. On reflection, you will
 discern different things as you live and your wisdom grows. Yet the images will never fade.
 They will always be as vivid as this moment.” A tear slid down her face.
         “Mother,” Elboron said. “What…”
         “I treasure tonight,” she told him, rising from her seat. “The privilege of passing Oromë
 to you. The greater privilege of having raised a fine and honorable man who will one day be the
 Prince of Ithilien. It is an honor and a joy to pass you this Ring… and yet… I will not be able to
 recall every detail of this night, perhaps the most precious night of my life. Not in the way I have
 effortlessly recalled my entire life, since the moment your father put Oromë on my finger during
 our wedding. Right now, I can still see the moment I met your father, as clearly as I did then. I
 can hear everything he said. I can feel how happy he was, every time he saw me.” She removed
 Oromë from her finger and held it up. “There is one thing I want you to know. After the Fëanturi
 commanded I pass Oromë to you, I went to your father. I asked him, when had they come to him
 and commanded him to pass this Ring to me?”
         “What did he say?” Elboron asked.
         For a moment Éowyn was overcome by the memory, even though she no longer wore
 Oromë. “They never did.” At her direction, he rose from his seat and kneeled before her. “In the
 name of Oromë, who discovered the Elves and Men at Cuiviénen, and taught them speech. In the
 name of Manwë and Varda, who rule over us and the stars of Heaven. In the name of Eru
 Ilúvatar, the One Above All, who created everything and looks upon His Children with favor, I
 Knight you a Ringbearer of Ithilien, in the United Kingdoms of Arnor and Gondor, under the
 great High King Elessar and Queen Arwen, and their Heirs. Rise. Join the Company of the
 Ringbearers. Accept from the Princess Éowyn, your mother who loves you, the Ring of Power of
 Oromë, the Hunter’s Ring.” She lifted his right hand and slid the Ring on his first finger.
         He vanished.
         She kept her hands on his, lifting his invisible form, until he stood invisibly before her.
 “Close your eyes. Relax and take a deep breath. Feel how calm, how centered, how at ease I am.
 Mirror this feeling. Relax and then reappear before me.”
         He did as she instructed. On his second breath, he reappeared and saw his hand holding
 hers. For the first time, he saw on his finger Oromë.

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         Amazed, he didn’t tremble. He was enveloped in his mother’s love and his pride in all his
 parents and their people had accomplished. If he felt fear, it was from the words of the Fëanturi,
 prophesizing terrible deeds in his future and that he’d be sorely tested. He hoped to distinguish
 himself, a son worthy of his mother and father, a king and queen in all but name.
         “This is the only osmium metal known to exist,” she told him. “It was smelted from the
 same ores as mithril. When the mithril melted, the osmium weathered the heat. Nothing can hurt
 the metal of this Ring. It is the hardest thing known to exist. The beige stone is called
 thomsonite. Like your osmium band, it has extraordinary properties. If you are surrounded by
 smoke, this stone can absorb it, but not heat or fire: only things that exist naturally in air; mist,
 fog, fumes, noxious gases, poison. It can also expel them. While you wear Oromë, no one can
 hunt you or your companions. You will leave no traces, foul or fair, unless you choose to.”
         “What about focusing my spirit or hearing the Music of Ilúvatar?” he asked.
         “I do not know of those things, nor does your father,” she told him. “We are not Elves or
 wizards, nor their pupils. Everything you father knows, he learned through trial and error, over
 many years. You will learn memories are a double-edged sword and you will be amazed at what
 people say, forgetting what they have said in the past. It is not always dishonesty. Some people
 simply make those mistakes. And people change. Yet what I have found most troubling; it is
 common for some people to reconstruct their memories, over time.”
         “Do I do that?” he asked.
         “No, my son,” she answered. “You are a Prince among Men, even had you not the title.”
 She sat on the throne and motioned for him to sit beside her. “Right now, I can still remember
 every moment facing the dwimmerlaik before the broken gates of Minas Tirith. Those memories
 were once nightmares I could not escape. Amidst constant praise, they became trophies I was too
 embarrassed to recall. Though when I did, it was with joy, for the outcome was sweet. Even the
 pain of my arm splintering. I remember the pain of giving birth to you just as happily. The
 outcome of that pain was the greatest joy I have ever known.”
         “Mother…” he said.
         “You will never fail to find anything,” she told him. “Once you touch it and mark it in
 your mind, you will be able to feel in which direction it lies from your body. You will always
 know which way is North, South, East and West; where you are and where your home lies.”
         “My home is with you,” he said.
         “Once you have the scent of something, even if you do not know who or what it is, you
 can hunt it. It can never escape you; not over rivers, amid the throngs of great hosts, not even
 after the passing of time. You are now the Hunter who wears Oromë, the Hunter’s Ring.”
         “It would have been so easy for you to become feared wearing Oromë,” he realized.
 “You wouldn’t have had to try. But you never did. You’ve always been so kind, so loved.”
         “Wearing a sword does not require you to hew your enemies,” she told him. “Remember,
 if you befriend an adversary, all those they command, their kin and descendants, become your
 friends. Only in this way are their identities as foes ever truly destroyed.”
         “I’ll remember that,” he said. “I don’t fear our foes and I won’t shirk from battle. But you
 and father have instilled in me the greatest thirst for peace.”
         She smiled and held his hand. “You will recognize by scent male or female, young or old,
 healthy or infirm, wounded or diseased; which race, animal or creature; when they left their
 traces; rested or weary; anxious, happy or sad.” She rose from her throne. “I have a great deal
 more to teach you. There is much to learn. Let us go down to the seats below. I want you to tell
 me everything you can of whoever last sat there.”

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         “I wish your mom had taught me how to use my magic Ring,” Celendrian told him.
         “I like your mom,” he said. “She impresses me as much as my own parents. I can count
 on one hand the number of people I think that highly of.”
         “I better be one of them,” she admonished.
         “You’re not,” he laughed. Kissing her, he wrapped them up in his blanket, “You, are in a
 class by yourself.”
         “I hope that’s not true,” she told him, pulling him close. “I want us in the same class.”
         “I accept the nomination,” he said, smiling. Immersed in this moment of happiness, he
 pulled her face closer and kissed her again. They held each other a moment in silence. “You
 know what? We already were.”
         “What do you mean?” she asked.
         “There are only five mortal Ringbearers,” he answered.
         “That’s not what I meant,” she told him.
         “I know,” he responded. “But I can’t help wondering – who are the others?”
         “We don’t know if all the Rings have Bearers,” she told him. “Your grandfather Denethor
 never found them all.”




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                                        Chapter 5




                                      Weathertop




         Having left the forests surrounding the Midgewater Marshes, the Oliphaunts lumbered
 over the moorlands. Even though it was the rainy season, the poor soil kept most of the hills
 barren. But there were still patches of grass and bushes to be found. The Oliphaunts grazed
 during rest stops in the early mornings and late evenings.
         Sam and Fastred had enthusiastically learned to drive Dzombor. Manus now trusted them
 to steer the Oliphaunt as much as they wished.
         Alatar spent most of his time tutoring Eldarion and Elanor in their ever-growing
 knowledge of how to use their Rings.
         He spent time with Sam, too. His progress was slower, but when it finally came, the
 breakthrough was dramatic. Alatar had promised he would spend the last hour before dusk with
 Sam. When the Sun reached the edge of the horizon, he was still working with Eldarion and
 Elanor inside their gomondwane. Sam had been waiting outside alone the whole time.
         “You just said you were done!” Sam fumed. “But I can hear their Rings getting louder!”
         They emerged from their gomondwane and stared at him.
         “We were done,” Elanor told him. “Eldarion and I were practicing on our own.”
         “What did you hear?” Eldarion asked.
         Sam was confused. “Don’t you hear the Music?”
         “I hear many things,” Eldarion answered. “The hummingbird’s wings behind me. Three
 groundhogs burrowing between us underground. Everyone’s breathing and heartbeats. But no
 Music. Where is it coming from?”
         In that moment, as if in answer to Eldarion’s question, Sam finally Listened.
         Celebrimbor had used all seven of the metals of antiquity when designing and forging the
 bands and gem settings for his original set of Rings. He had also aligned key properties of each
 Ring with the seven planets each metal represented.

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         Connecting the entirety of his thirty Greater and lesser Rings with the thirty Major and
 minor Music keys, this attuned them to the melodies produced by the planetary Spheres created
 by the Valar. They orbited high overhead and rubbed against each other, like bows on violins.
         Individually producing notes, together they produced songs. Until now, this Music had
 only been heard by the Valar. These celestial songs were called the Music of the Spheres.
 Transcending the divisions between the Valar and the Children of Ilúvatar, they connected
 Middle-earth to Aman through the Olórë Mallë, the Path of Dreams. While sleeping, mortals
 sometimes heard faint echoes of this Music in their dreams and awoke inspired.
         Finally awake himself, Sam heard notes rising from Rings worn by Ringbearers. They
 produced melodies with the metals deep in the earth and the Spheres above his head. For the first
 time, Sam saw the Great Rings of the Nine Realms and the Spheres of the Seven Heavens. They
 rotated high above and below, filling Arda with Music only he and the Valar could hear.
         This was the Secret of the Seven Heavens: The Music of the Spheres to which the
 Ringbearers contributed was the Song of Ilúvatar, the Ainulindalë!
         This was how Eä was continuously produced and how it in every moment grew. When a
 Ringbearer used a Ring of Power, new music arose, bridging the distance between the mortal
 world and Aman. These new melodies became part of the Ainulindalë to the delight of the Valar.
         Sam could even hear the screeching nails-on-blackboard Discord coming from Saruman’s
 Ring in Alatar’s pocket. No one wanted anything to do with that Ring, except perhaps anticipate
 the chance to unmake it. Alatar had told them the Crack of Doom was now enclosed in an
 impregnable citadel and the Fortress of Mordor was protected by monstrous armies.
         Sam was glad sending him or any other hobbit to Mordor to unmake Rings of Power had
 become a practical impossibility. Not that if it wasn’t, he would have volunteered. He was no
 longer young enough to survive the hardships he and Frodo faced, nor naïve or optimistic enough
 to try. No one had asked him, nor had anyone asked Elanor.
         This left the problem of how they were going to deal with these Rings. Everyone had
 avoided discussing it. Sam wondered where they could be unmade, if not Mordor. If they could
 be unmade. If they couldn’t, he wondered where they could be sent and with whom.
         West over the sea?
         That seemed the only answer.
         He missed his children and hoped he’d have a chance to go to Lindon.
         “Don’t you see them?” Sam asked Eldarion, Alatar and Elanor. Astonished, he pointed at
 the Spheres. They wheeled about in great circles high overhead, as plain as the nose on his face.
         “I see the sky and setting Sun,” Eldarion responded.
         “I see the paths of the Olórë Mallë,” Alatar replied.
         “Father,” Elanor said, taking his hand. “Now that you’ve pointed them out, I do See
 them. But I wouldn’t have otherwise. They’re so… beautiful. Truly amazing. Thank you.”
         The Sun went down and the visions faded in the darkness.
         They were tired. Retiring to their gomondwanes, they slept. In the morning, they got an
 early start. Sam and Elanor compared notes while manifesting these visions and describing them
 to Alatar and Eldarion.
         It wasn’t long before they saw the peak of Weathertop rising slowly above the top of the
 Weather Hills. One of the lookouts called out in Haradrim. Most of Malvia’s company didn’t
 speak Westron. They grabbed their bows and arrows, now kept close at hand. Going to the edges
 of their baskets, they aimed at the galloping sounds rising on the far side of the hill.
         Sam stopped Dzombor and the others stopped their own Oliphaunts.

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        A horseman rode over the top of the hill and the markspeople pulled their bows taut.
        “Wait!” Eldarion shouted, waving his hands. “He’s one of us! It’s my uncle. Elrohir!”
        He jumped over the side of the basket and slid down a rope.
        Elrohir jumped off his horse and the two embraced.
        “I was so worried!” Eldarion said. He released his uncle and looked around. “Where’s
 Elladan?”
        “Taken prisoner,” Elrohir answered.



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          Elladan and Elrohir rode warily along the Great East Road. Approaching Weathertop, the
 Elvish Princes felt a gathering darkness. It was closing in on them from all sides. Elladan took
 off his Ring of Power and handed it to Elrohir, who slipped it on. It vanished, becoming as
 invisible as the Ring he wore on his other hand. It was Elladan’s turn to be the bait and Elrohir
 would be the switch – the teeth on the jaws of their trap.
          Because they were twins, Elladan and Elrohir shared many things which Elves who
 weren’t twins didn’t share, including a private language.
          Their Private Language passed between their minds instantaneously and no one else
 could hear it. It communicated more than words: thoughts, ideas, feelings; everything they saw,
 heard, smelled, tasted, touched and even perceived.
          Among High Elves and wizards; even the Valar had to concentrate to share a thought.
 Between Elladan and Elrohir it happened automatically. They had to concentrate not to
 communicate. It took significant effort to turn it off. This they rarely did, unless ill or injured.
          Normally they experienced each other’s entire sensorium. It was among their greatest
 strengths and secrets. Their Elvish abilities coupled with their Rings of Power could do more
 than hide their Rings or turn them invisible and there was little they feared.
          In the midst of great battles, such as on the Pelennor Fields during the War of the Ring,
 everyone had known they were powerful Elven Lords, but there were no records of their deeds.
 Few wondered what role they had played. Yet secretly, they had exceeded the accomplishments
 of all others, except perhaps Éowyn and Merry, and only then, because those two had been at just
 the right place at precisely the right moment to destroy the Nazgûl King.
          The twins wished it had been them. Though if it had, it wouldn’t have been recorded, just
 as their other deeds went unrecorded.
          No one would have known who vanquished the Witch King, unless someone close to
 them; Aragorn, Arwen or Elrond, uncharacteristically asked if they knew about the fall of the
 High King of the Nazgûl. The Witch King would have simply vanished, or his remains and those
 of his Fell Beast would have been inexplicably found among the dead and defeated.
          In combat, the twins used their Rings to turn themselves and their horses invisible.
 Invisibly, they slaughtered their enemies with impunity. Their shared four eyes literally watched
 each other’s backs for threats hurled by catapults, bows, slings, darts or arrows. Visible fighters
 had no way to match them. No one had yet conceived a way to stop the Sons of Elrond.



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         Their visible foes didn’t even know the invisible twins were there and needed to be
 stopped. It was one of the most advantageous aspects of one of their greatest weapons. Only
 Elessar, Arwen and the Dúnedain knew they fought invisibly.
         During the War, they had stayed close to the leaders of the Free Peoples. These were
 Éomer, Imrahil and Alphros. The twins protected those princes from the most lethal adversaries
 by slaughtering their foes before they got too close.
         Oliphaunts tried to charge the defenders of Minas Tirith. Inexplicably, they had fallen.
 Their eyes had been gouged and the tender pads on the soles of their feet were punctured. It
 became obvious to Oliphaunters that it was foolish to approach the Captains of the West.
         Some whispered there must be invisible savage war spirits bringing death. Oliphaunts
 avoided those foes. Instead, they crushed as many of the outlying troops of Gondor, Dol Amroth
 and Rohan as they could.
         But always and most especially, the twins protected Aragorn, as Elessar then was known.
 In addition to having been charged by their father Elrond with the responsibility of safeguarding
 the Heirs of Elendil, they loved him with something akin to the love a parent feels for their child.
 This love was crossed with what one sibling feels for another.
         Perhaps their love for Elessar, Arwen and their children was part of that same special
 love they felt for themselves and each other.
         Lesser Elves and Men (and women) sought praise and acclaim. The twins didn’t. They
 had an Oath to fulfill before they allowed themselves to sail to the Undying Lands: they had to
 kill every Orc or Orc-hybrid; every Southron, Ruffian and all the Orcelven; but most especially,
 their leader and purported brother, the half-Orc abomination called Estel. For him, they felt the
 greatest hatred. When Elrohir first put on Elentári, they experienced every detail of their mother
 Celebrían’s horrific and terrible torments.
         Not even Eldarion understood the source and depth of their antipathy for orcs. They
 never mentioned it. One day inadvertently, he stumbled on it.
         Returning from Ithilien, they found a company of orcs sleeping in one of Gondor’s secret
 caverns. These caves had been maintained since long before the war. Right before attacking,
 Eldarion questioned if it was honorable or acceptable to kill sleeping enemies, even orcs.
         Elladan and Elrohir disagreed. Eldarion was surprised they were willing to break what he
 perceived as honorable rules of engagement. He stood aside. His uncles vanished and invisibly,
 they mercilessly slaughtered the sleeping orcs. Witnessing the carnage, Eldarion tried to pretend
 he wasn’t upset. They burned the bodies and rode away in a grim and uncomfortable silence.
         “I do not disapprove,” Eldarion told them. “I wanted to help. Yet I feared when my father
 learned of my participation – he would think less of me.”
         “We are much older than we appear and we have not shared all our experiences,” Elladan
 told him. “Perhaps in this, we have erred on the side of caution.”
         “But we are not insensate,” Elrohir affirmed. “Anyone could see you are distraught.”
         “My father is different with me,” Eldarion said to their blank faces. “He is not the same
 with me as he is with you! You do not understand.”
         “Perhaps we do not,” Elladan told him. “Perhaps there are things about us you do not
 understand, things we have neglected to share.”
         “What things?” Eldarion asked.
         “Our reason for not sailing with our father and the other Elves from East Mithlond,”
 Elrohir answered. “We wanted to go with him and see our mother again.”
         “Why did you not go?” Eldarion asked.

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         “We were too ashamed,” Elladan answered.
         “Ashamed…” Eldarion asked. “Of what?”
         “We could not leave,” Elrohir answered, “not yet having exacted our vengeance against
 the monsters who tormented her.”
         “We have pledged an Oath more terrible than Fëanor’s,” Elladan confessed. “We shall
 not leave these shores in either of our immortal lives until we have killed every Orc and
 Orcelven throughout the whole of Middle-earth.”
         “If one of us is slain,” Elrohir explained, “the other will travel to Valinor to beseech the
 Valar, just as Tinúviel did. We will ask them to allow us to return with our reincarnated brother.”
         “We were present at your birth Eldarion,” Elladan told him. “We have watched you
 closely ever since. We were also present at your father’s birth and we watched him just as
 closely for much of his life, until he charged us with watching you.”
         “We were also present at your grandfather Arathorn’s birth,” Elrohir added. “Your great-
 grandfather Aravorn’s birth. Your great-great-grandfather Arahad’s birth. Your great-great-great-
 grandfather Arassuil’s birth, and many others. Unfortunately, were also present at their deaths.”
         “But we have sworn never to take a wife or have a family of our own, not until our task is
 completed,” Elladan explained. “Eldarion, we do not know if one day we will have children. But
 if we do, it is not possible for us to love them more than we love your sisters and you. It is in the
 heart of this love that we ask you, please, do not ever tell us we do not understand.”



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          The twins rode towards Rivendell on the Great East Road. They approached Weathertop
 warily, though not fearfully. Riding farther apart, they extended their many senses. They were
 secretly hunting the hunters who thought they were hunting the twins.
          They sensed these hunted hunters gathering around Weathertop. They left the Road and
 galloped around the hill to the base of the path in the northwest corner.
          Elrohir slowed his horse and fell farther behind. Before rounding the side of the last low
 hill, he used the power of their Rings with their own twin-augmented might, as he often did, and
 he and his horse vanished. Together, they rode on. Elladan was visible and Elrohir came behind
 invisibly, following a bend in the road. There they saw Erestor, standing beside a windswept dell
 at the base of the upward path. He wore long, billowing grey robes and stood immobile.
          “Erestor!” Elladan called. He slowed his horse. “What are you doing here?”
          Erestor smiled. “I am here to play a game, thrice noble Prince.”
          “I have no time for games,” Elladan told him, approaching cautiously.
          “You are already playing this game,” Erestor explained, raising his long arm.
          “What is this game you believe I am playing?” Elladan asked.
          Erestor smiled and held up his empty hand. “‘What Don’t I Have On My Finger?’”
          Elladan reined his horse, shocked. Their father Elrond had given him his Ring. It was one
 of the most powerful ever forged; one of the original five for Elves, of the Eleven forged by
 Celebrimbor and the Mirdainions for Dwarf and Elven Lords. No one else knew he had a Ring.
 No one else could possibly know, or so they had believed.

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          Around the lip of the dell, Nine tall Hunters In Grey rode up on large grey horses. Their
 armor and helms were grey. Their mail, breeches and boots were grey. On grey belts hung grey
 scabbards with grey pommeled long and short swords forged of a dull grey metal bearing bright
 glinting razor-sharp edges. Beside them hung deadly grey daggers in dull grey sheaths.
          On their backs were grey quivers full of grey feather-tipped grey arrows and gray shields.
 Their grey longbows were strung with grey string. Their hair and eyes were grey, even their skin,
 lips and fingernails were unnaturally grey. The once proud, noble faces of Nine kings were blank
 with the grey look of those long dead. Their long dead, rotting flesh was somehow animate.
 Glorfindel had imprisoned their spirits in their dead flesh with ghastly necrotic death spells.
          They were Glorfindel’s Ringwraiths, the new Nazgûl – bowmen, undead kings
 transformed into terrifying rotting ghouls, deadly Hunters in Grey. Forcing Rings of Power on
 their fingers, Glorfindel had murdered their bodies and imprisoned their spirits within their
 rotting flesh. Prevented from leaving the circles of the worlds as Ilúvatar intended, they were
 blasphemous abominations. Every moment their spirits were trapped in their dead rotting flesh
 was an incomprehensible agony. It echoed through them and poured out, flooding the minds and
 spirits of everyone and everything around. They stank with the stench of rotting flesh.
          They did not speak. They could not speak. Their tongues and throats were dead; dried out
 and rotted. Far greater fear emanated from them than had come from the ones before, filling even
 the minds and hearts and souls of the brightest of High Elves. Not even the Witch King of
 Angmar had inspired such deathly terrors as these malevolent Hunters in Grey, with their
 agonized grey eyes staring from their long-dead and rotting grey faces. Silently, they strung their
 bows with arrows and aimed their razor-sharp glinting arrowheads at Elladan.
          Shaking with a terror he had never known, Elladan held up his trembling hands. Sliding
 off his horse, he kneeled before Erestor, his mind blind with fear. He would have screamed, if
 not for Elrohir’s reassuring voice in his mind, helping him, reminding him he was not alone and
 greater help would soon come.
          The silent, dead, grey Hunters tied Elladan with grey hithlain rope. Every touch of their
 skin against his own transmitted the agony in their undead, rotting bodies. With their dead, ice-
 cold grey fingers, they searched his saddlebags, clothes and skin; everywhere and thing. It sent
 ice cold stabs of pain coursing through him, penetrating every level of his being. His body grew
 cold. His thoughts grew dull. But terror grew in his heart and came flowing out. It was too
 overwhelming to endure. Deep despair began dimming and drowning his bright Elven spirit. The
 touch of all Nine Ringwraiths would have killed him, if not for the bright strength of Elrohir and
 their Rings of Power pouring into him through their Private Language.
          Despite the exhaustive efforts of the Nazgûl, on his person they found no Ring.
          Elrohir kept his thoughts as one with Elladan, pouring his power into his brother. He
 turned and galloped south to return to Eldarion in Bree. He had to warn the Crown Prince and
 Elessar of the treachery and Fall of Erestor. But most especially, they must be told of the return
 of the Nazgûl, who walked the earth again, this time as deathly ghouls. Those who had once been
 kings were now ghastly, undead bowmen, deadly Hunters In Grey. Unlike those before, their
 soul crushing touch and presence brought terror and despair to the hearts of even High Elves.
          As the miles flew by, Elrohir turned himself and his horse visible to conserve his
 strength. He continued sending as much of himself as he could to Elladan, still writhing in the
 agonized grip of the Ringwraiths. Although he experienced the same agony, Elrohir continued
 pouring his power into his brother. Even though the distance between them grew, it made no
 difference to their Private Language.

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          Erestor mounted the extra horse the Nazgûl brought. He led them up the treacherous path
 until it became too steep. Dismounting, they walked the rest of the way up, leading Elladan.
          On the flat hilltop, there once stood an ancient tower. Long ago, it had been destroyed.
 All that remained was a ring of stones, part of the foundation. A few open doorways and arches
 stood between the low broken walls in one or two places, no higher than a single story.
          On one of these they chained Elladan’s wrists above his head, five feet apart. Straining
 his long arms, he hung helpless, four feet off the ground, yet grateful to be free of their touch.
          In the center of the tower’s broken foundation where a pile of old burnt stones once
 stood, there now rose a thick pillar of grey marble. Atop the column at eye level sat the large
 uncovered grey crystal of the Palantír of Osgiliath.
          Even in the bright Sun, it glowed with a dim grey light, giving a commanding view of
 everything around for many miles. Looking into its depths, Elladan could see it was
 communicating to several distant observers.
          Erestor put his hands on the surface and peered deep into the Osgiliath-stone.
          Miles away riding through the moorlands, Elrohir looked out of Elladan’s eyes and saw
 Erestor touching the Palantír of Osgiliath and gazing into its smoky grey depths where he found
 Elrohir riding across the moorlands looking through Elladan’s eyes at Erestor looking at Elrohir
 watching him through Elladan’s eyes watching Erestor watching Elrohir…
          For the first time in their lives, the twins felt their Private Language invaded. Their
 thoughts, feelings and memories were abruptly revealed to a far greater power. Everything they
 were or had ever been lay naked and exposed – to other malevolent minds.
          Savagely they fought, combining their power and that of their Rings to drive these
 foreign minds out. It was a brutal, merciless struggle. They were only capable of waging it
 against the power of so many foes because of their shared might coupled with their experience
 and unmatched skill on the paths of minds, refined over thousands of years.
          Using their Rings and the Private Language they had shared since the moment of their
 conception, they drove out the minds of Erestor connected to the mind of Glorfindel, and the
 undead wills of the Nine Nazgûl and their Rings.
          Incredulous and momentarily beaten, Glorfindel wasn’t defeated. He focused the power
 of Nine Rings, eleven mind and their wills into a terrible lance of power. Shooting it into the
 Elostirion-stone through the Osgiliath-stone, it rocketed out of Elladan’s mind to destroy Elrohir.
          “NO!” Elladan screamed. Sensing Glorfindel’s intentions and the gathering power the
 moment before they came coursing through him – he ruthlessly shattered the link.
          Reeling under the feedback, power shot out of the Osgiliath and Elostirion-stones and
 into the minds of the Ringwraiths, Elladan, Erestor and Glorfindel. The Hunters in Grey, the
 Ringwraiths, the deadly Nazgûl standing around the edges of Weathertop, Erestor and Glorfindel
 in Imladris simultaneously dropped to their hands and knees. All twelve screamed.
          Glorfindel, Erestor and the Nazgûl on Weathertop collapsed. Elladan hung limp on the
 wall, insensate. Only Elrohir had escaped.
          For a long time, none of them stirred.
          Lying prone and truly dead, the Ringwraiths were the first to move. Their limbs twitched.
 Slowly, their ever-dying spirits were pulled back into their long dead bodies and their terrible
 undeath resumed. Reeling in pain and looking around, they rose on unsteady legs, confused.
 They shook their heads, trying to fight off the agony and remember who they had been.




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         Far away in Rivendell, Glorfindel recovered enough strength to reach out and reassert his
 control. What little thought might have been left in the undead minds of the Nazgûl was crushed
 under Glorfindel’s power. Lying beside the Nazgul, Erestor was the last to rise.
         His head throbbed. His stomach lurched and his hands shook. Every nerve in his body
 was on fire and his skin crawled with the sensation of a thousand needles. Unlike the others,
 Erestor wasn’t a mindless slave. Glorfindel had done little more than give Erestor the freedom to
 express his loathing for the Children of Elrond that he’d always felt. He was subject to no one’s
 will save his own, which he had happily allied with Glorfindel.
         Gripping his face with both hands and using the power of his Ring, he screamed. Driving
 the pain out of his head, his body shook with adrenal fatigue. He stilled his palsied movements
 and willfully silenced the last of his agony. He lowered his hands, opened his eyes and looked
 into the Osgiliath-stone. Elrohir was gone. He turned and looked into Elladan’s mind.
         It was closed, locked tight.
         Marshalling the power of the Ringwraiths, he battered them against Elladan’s will. Now,
 not even the recombined might of Glorfindel, Erestor and the wills of the enslaved Nazgûl could
 break the barrier between their minds and Elladan’s.
         “We have ways of discovering your thoughts,” Erestor told him, stopping his mental
 assault. “You would tremble in fear if you knew what they were. If we use them, they will fill
 you with more torment than this. You will feel more pain than you can possibly imagine.”
         “Do what you must,” Elladan said, gritting his teeth and preparing for the next monstrous
 assault. He had no doubt Erestor spoke the truth. “I will die before I betray my brother.”
         That was the problem.
         Erestor knew he couldn’t push too hard. Unlike the Nazgûl, Elladan’s spirit wasn’t
 imprisoned within his flesh. If he wished, just as Celebrimbor had, Elladan could release his
 spirit and return bodiless to Aman. Long before he allowed them to taint his brother, or anyone
 in his family, he would end his own life, just as he had shattered the link.
         They had to be careful. Glorfindel had only been ensnared at the end of long tortures
 because of his arrogance, believing he could, or should, endure them.
         His pain subsiding, Erestor regarded Elladan thoughtfully and then turned to the
 Osgiliath-stone. With his strength returning, he cast the Eye of the Stone ahead, ever faster.
         In time, it came to the heavily patrolled and guarded walls of Bree. Searching the city,
 where the Prancing Pony once stood, there now lay broken ruins.
         “What has become of Eldarion?” Erestor asked, turning to Elladan.
         “You have known us for thousands of years,” Elladan responded. He closed his eyes
 against the pain still coursing through him, as terrified as he had ever been, but not conquered.
 “Break my body, destroy my mind! You can make me suffer. You cannot make me betray
 anyone in my family. Neither of us will betray our duty or the trust of our King.”
          “Of that, I have no doubt,” Erestor said. He turned to the Stone. “I will enjoy ending
 your suffering, after you watch us kill your twin, Eldarion and all your kin. Yes, even King
 Elessar. The United Kingdoms of Arnor and Gondor will fall. Rohan, Harad and Hildória will
 fall! The lands from Forodwaith to the East Sea, and many more: far more lands and realms than
 you have dreamt in all your philosophy. All will soon be ruled by the Emperor Glorfindel.”
         Elladan hung in silence, fighting his agony. Frustrated, Erestor turned and walked away.
 Elladan waited. He forced himself to concentrate, pushing his thoughts past his pain. Tensing
 every muscle in his body, he hooded his eyes and guardedly looked into the palantír.
         Erestor left the ring of broken stones.

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          Much more warily now, constantly on guard for the threat of another’s thoughts seeking
 their own, he and Elrohir secretly reconnected their minds. They hid their power and connection
 far more skillfully than anyone traveling the paths between minds could.
          So great and subtle was their skill, despite even Elladan’s agony, that unperceived and
 imperceivably, the twins bent the Stone of Osgiliath to their will. From the ruins of the Prancing
 Pony, they pushed the Eye of the Palantír invisibly. Scanning the walls of Bree, they found the
 breach. Following the trail of crushed bodies, broken trees, and flattened shrubs and grass, the
 trail reached an end. Strangely, it did not end. It continued growing.
          Try as they might, they could not see what was creating the trail. It was as if a herd of
 monstrous creatures were marauding through the countryside invisibly, wearing golden Rings of
 Power. The advancing trail left the Midgewater Marshes on a course for Imladris.
          Elrohir abruptly left the East Road and headed northeast. He steered his horse towards the
 head of the advancing trail, growing by invisible means. Reaching it, Elrohir found Eldarion
 riding in a basket atop an Oliphaunt. With him was a warrior of Harad, Elanor, Theo, Sam, Rosie
 and an unknown hobbit.



                   *              *              *               *              *



         Eldarion and Elrohir tried to catch each other up at Dzombor’s feet. Surrounded by
 Manus, Alatar and the hobbits, Elrohir grimaced and his face went white.
         “What is it?” Eldarion asked.
         “Something has come between Elladan and I,” he answered. “A blindness has fallen over
 his senses! I was so excited, I did not realize I had vanished from his mind.”
         “It’s got to be that evil Erestor!” Manus said.
         “No,” Elrohir told him. “It is something else. I sense… a shadow that does not hold
 darkness. It is as if Elladan’s senses were somehow smothered beneath a… sable shroud.”
         “A shroud…?” Alatar asked. He turned to Fastred.
         “What is it?” Sam asked.
         “It’s me,” Fastred answered. “I have to get away from Elrohir.”
         “Why?” Rosie asked.
         “We haven’t time to explain,” Alatar answered. He lifted Fastred, putting him on
 Silverfall’s back and withdrawing from his saddle a silver horn, “Ride northwest. Those lands
 should be empty and you’ll be safe. When you’ve gone far enough, I’ll blow my horn. When the
 time comes for your return, I’ll blow three more. If you never hear from me, assume the worst
 and ride to Minas Tirith. Silverfall knows the way. Tell Elessar everything that’s befallen us.”
         “Wait a minute,” Theo said. “Why do we want Erestor to see us through his palantír and
 lose the advantage of surprise?”
         “Hiding from the palantír will do no good,” Elrohir answered. “Erestor cannot fail to see
 with his own eyes a herd of Oliphaunts marching towards him across the Weather Hills.”
         “It would only serve to needlessly reveal we are capable of hiding from the palantíri,”
 Eldarion told Theo. “This is a secret we would be better served keeping secret.”



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          “How can we beat the Nazgûl?” Sam asked. Fearfully, he remembered the outcome the
 last time he faced Ringwraiths inside a dell below Weathertop.
          “Whatever our skill at arms, we are no match for these new and far more deadly Nazgûl
 if they are gathered together and united in our destruction,” Elrohir warned. “We must spread the
 Oliphaunts out. When Erestor sees them, they will be the bait to draw the Ringwraiths apart and
 I,” Elrohir announced, slicing the air as he drew his sword, “will be the teeth of our trap!”
          “What does that mean?” Fastred asked.
          “Two can play Erestor’s game of traps,” Elrohir answered. “If we encircle Weathertop
 with Oliphaunts, Erestor will be forced to separate the Nazgûl to stop us before we get too close.
 I will see which Hunter is closest to which Oliphaunt. A single Ringwraith is no match for me.”
          “I believe I can help,” Alatar said, raising his staff.
          “Not unless you have the Elven skill to hide from his senses,” Elrohir told him. “Erestor
 will see you through the palantír and the bows of the Hunters In Grey will sing long before you
 see them. While their terror blinds your mind, their arrows will find your heart. Stay on the backs
 of your Oliphaunts! I will hunt these Hunters. You must accept my Word: they will never see me
 coming. I will dispatch them one-by-one, before they come close enough to harm you.”
          “I can help,” Eldarion said. He held up his hand. On his finger appeared a Ring.
          “It is forbidden to reveal these things!!” Elrohir shouted.
          Eldarion had never heard his uncle yell at him before. “I… am sorry, tyenya. I apologize
 for my breach. My companions know I wear a Ring. Alatar fought a deadly and very public duel
 with a warlock to win it. He gave it to me in front of them. I have sworn my friends to silence
 and bound them in the Fellowship of the King.” He looked at Sam, Rosie and Manus. “Well…
 most of them. It seems… I have spoken out of turn. Again, I apologize for my lapses.”
          “No need, Eldarion,” Elrohir said. He put his hand on Eldarion’s shoulder. “After only a
 few days, you have found strange companions and stranger tales await. Just know, the only way
 we have kept these things hidden from our enemies is through our great secrecy. I apologize for
 my outburst, but Rings of Power have ever been the most closely guarded secrets of the Elves.”
          “Thank you,” Eldarion told him, inclining his head. “Let us attend to these Ringwraiths.”
          “I can’t explain,” Alatar told Elrohir. “But Fastred and I can help.” He jumped onto
 Silverfall’s back behind Fastred and they sped off towards Weathertop.
          “Back to your Oliphaunts!” Elrohir ordered. Mounting his horse, he rode after Alatar.
          Eldarion and the others climbed their ladders. When they and their ladders were up,
 Manus signaled his companions and they moved forward, spreading their Oliphaunt apart.
 Plodding along, soon they were approaching Weathertop from six different directions.
          Alatar and Fastred were still far ahead. They would be the first to face a Nazgûl.
          Inexplicably invisible in the palantír, Erestor could see them with his eyes. Six
 Oliphaunts were advancing on the hill from different directions. He sent eight Ringwraiths down
 to their horses. They rode out, one or two accompanied by another, to intercept and attack the
 Oliphaunts. The ninth he kept to protect himself and to guard Prince Elladan.
          Elrohir caught up to Alatar, standing beside his horse. Fastred was still on Silverfall’s
 back. His staff was planted in the ground on the west side of a hill, hidden from Weathertop.
          “Erestor can see you through the Stone!” Elrohir cried. He drew his sword and turned to
 the sounds of hooves approaching the top of the low hill.
          A Hunter galloped over the top. Bearing down on them, he silently notched a grey arrow
 against his grey bow. Horror and terror more terrible than any they had ever known blinded their



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 minds and Fastred screamed. But it was too late: the ground around the Nazgûl opened. He and
 his horse dropped straight down into a sinkhole and were buried beneath the collapsing earth.
          A firework rocket shot straight up from Weathertop. High in the sky it exploded, visible
 even in the bright light of the Sun. Distant trumpets sounded and a terrible roar arose.
          In the passes and lowlands between the Weather Hills rode armed cavalries from nine
 kingdoms. Deadly armies from Nurn, Lithlad, Udûn and many others, marched towards them.
          “It was a trap!” Elrohir realized. “We have been ambushed!”
          The enemy horsemen rode streaming past the foot soldiers. Elrohir’s skill and power no
 longer mattered. He couldn’t protect Eldarion’s friends from such an overwhelming press of
 foes. On these open plains there was nowhere to hide, except those who could hide invisibly.
          The rest would fall.
          Erestor had sprung a foolproof trap and the deaths of their friends was certain. Only a
 few, if any, would survive. Elrohir, Alatar and Fastred galloped back to Dzombor, while the
 plains filled with approaching enemies. Elrohir climbed the rope hanging from the side of the
 basket and quickly reached the top.
          “We must save the few we can,” he told Eldarion.
          “I am not leaving any of my friends,” Eldarion responded.
          “We do not have time to argue!” Elrohir shouted.
          Whatever he was planning, he never had time to act. Farther off, a great host of bugles
 filled the air. Echoing ever louder through the valleys sounded the war cry of Gondor.
          Coming over the top of the Weather Hills, Celendrian rode at the head of the armies of
 Arnor and Gondor. Charging behind the Nazgûl’s invading armies, her dazzling mithril armor
 shone. She brandished her bright sword, leading a great many princes with their banners flowing.
          In every direction, many more soldiers than the armies of the nine Nazgûl Kings rode
 down the Weather Hills and marched relentlessly over the plains. They were led by the Heirs
 who had received Elerith and Celendrian’s summons and answered their call – with deeds.
          From the South came the princes of Dunland, Tharbad, Gwathló and the Greenway. From
 the West, the princes of Uial, Nenuial, Evendim and Fornost. They were led by the Crown
 Princess (and her great friend) Ulmara of Annúminas. From the East, the princes of Hoardale,
 Coldfells, Rhudahur and Bruinen led a great host of Angles. But from the North they came
 princeless and had no flags or symbols of their lands, yet their vastly greater numbers filled the
 low hills, marching slowly but steadfastly came the Thains and simple farmers of Eriador.
          Here and there, a few had swords and spears. Many wielded axes or picks. Most carried
 hoes and rakes. They were the only ironworks they had: humble, but here.
          They came, the lowest and the mightiest, to defend their kingdoms and save the Crown
 Prince Eldarion. Led not by their fathers or mothers, kings and queens who must pause, consider,
 debate; they came led by Thains or Princes, a few by Royal Cadets. They were young men, and a
 few young women. Yet all had come at the call of the Princes Elerith and Celendrian. Riding at
 the heads of the Brigades of Minas Tirith, together they charged the armies of the Nazgûl Kings.
          “It’s Celendrian and Elerith!” Elanor shouted, as tears streamed down her face. She and
 Rosie held each other, crying at the beauty of the them charging into battle.
          “Here!” Elanor said, wiping her tears. She turned to Sam and held out her Ring.
          “Please,” Rosie told her, pulling Sam away. “Your father has given enough.”
          Elanor turned to Fastred and offered him her Ring.
          He looked down. “I don’t think I’d be much good in a fight, other than defending you.
 Invisible or not.”

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          “Who would have thought I’d have this much trouble getting rid of a magic Ring?”
 Elanor asked no one in particular.
          “What about ME?!” Manus cried, holding out his hands. “I want a Ring of POWER!!”
          “Which is precisely why you are never going to get one!” Elrohir told him.
          “Théoden?” Elanor asked. “Can I lend you my Ring?”
          His face brightened. “I’d be delighted!”
          She handed Theo her Ring. He looked down at it amazed, then back up at their expectant
 faces, then once more at the Ring, more than a little scared. He looked at Eldarion and the rest of
 their friends. Looking out at their attacking enemies, he drew his sword. Sam stopped him.
          “Take this one,” Sam said, handing him his scabbarded Sting. “You’ll get better use of it
 out there on the battlefield than I will stuck up here on an Oliphaunt.”
          “Thank you,” Theo said, more incredulous than when Elanor lent him her Ring.
          In the Shire, Sam’s sword was a legend. Drawing the enchanted Elven blade, he balanced
 Sting on his fingers, as Eldarion had taught him. Finding the point of balance, he adjusted his
 grip. Now rotating the pommel skillfully, his confidence surged. Sheathing Sting, he strapped
 and fastened the sword belt securely around his waist. He bowed to Sam and Rosie, then hugged
 Fastred. Kissing Elanor longingly on the lips, “For luck,” he put on her Ring and vanished.
          Immediately, he saw a bright corona of golden light crackling around Elrohir. Even
 brighter points of bright white light shone on Eldarion, Elrohir and his own finger.
          “Come Theo!” Eldarion cried, slapping his own shoulders and facing away. A soft thud
 bent Eldarion with the force of Theo’s jump. He confirmed the hobbit’s invisible hands were
 firmly clasped around his neck. Springing over the basket, he slid down a rope to Elrohir’s horse.
          Invisibly, the three of them rode into battle. Despite and because of the heady visions of
 magical power coursing over the plains, Theo was completely terrified. A whole new world of
 secret energy and invisible connections was suddenly revealed to him. They pulsed and glowed,
 threading through the world which, until this moment, had been his once familiar reality.
          Elrohir avoided the first enemy horseman. Riding up behind him, he dispatched the rider.
 Eldarion jumped onto the riderless horse with Theo on his back and Elrohir reined them to a
 stop. After a Ring assisted tutelage, which Theo felt took hours, but was actually only minutes,
 Eldarion’s horse vanished. The three of them rode invisibly into their attacking enemies.
          On the plains Celendrian, Elerith and Niphredil rode at the head of the Princes Brigades
 they had summoned from the kingdoms of Arnor. They were flanked by Xiang and Pingyang at
 the head of their Hildórian forces on one side, and Elboron leading the Ithiliens on the other.
          They were joined by Manus, Malvia, and their Haradrim spearmen and archers. Standing
 atop their stampeding Oliphaunts, they fired into their enemies. Uniting with many other princes,
 the allied forces of the High King Elessar attacked the armies of the Nazgûl Kings.
          The fighting was vicious and brutal. The princes, including Celendrian and Elerith, had
 trained their whole lives almost as hard as Eldarion. Though not their first battle, it was the most
 savage. Thanks to their planning and disciplined execution, they broke the wall of their enemies.
          Their foes began to waver, then teetered precariously. Foe after foe fell under their
 relentless assaults. But the wavering forces of the Ringwraiths refused to break, no matter how
 many died. Gondor’s superior numbers might destroy their enemies, but at this pace most of their
 allies would be dead before their unrelenting maniacal foes were defeated.
          Theo, Eldarion and Elrohir fought through their enemies. Theo wielded Sting invisibly,
 stabbing enemy horsemen who got too close. Working their way to Celendrian, Elerith and



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 Niphredil, those three had stayed together at the heads of their Brigades. With disciplined
 precision, they were besting their larger and stronger enemies by working together.
          When their three invisible allies reached them, Elrohir remained invisible and continued
 dispatching the worst of the approaching threats. Eldarion and his horse appeared before them.
          Startled in the heat of battle, for a moment Celendrian, Elerith and Niphredil simply
 gaped, as if in a waking dream.
          Celendrian recovered first. “It’s about time you got one of those!”
          Mighty trumpets filled the air with the war cry of the Rohirrim, signaling the returning
 cavalries of Ælfwine, Éodyn, Idris, Liathwyn, Minwyn and the Daughters of Rohan. Charging
 like an arrow loosed from a bow, they cut into the dying armies of the Nazgûl Kings and moved
 between the Eriadorians and the enemy cavalries. This allowed the armies of the north to engage
 the enemy foot soldier’s unharassed.
          For all the terror of the banners of the undead Kings, their soldiers were only Men. But
 finding themselves overwhelmed, they still fought on, ruthlessly. Some who hadn’t yet died tried
 to escape. Failing both, they fought bitterly to ensure their deaths were dearly bought.
          Waving a white flag, Celendrian offered quarter and the opportunity to parlay.
          These were refused.
          “They’ll never give up as long as the Nazgûl Kings command them!” Celendrian cried.
          “Where are they?” Eldarion asked. “I have yet to encounter a single one.”
          “They’ve retreated up Weathertop,” Elboron informed them.
          “We must take them out or our foes will fight to their deaths and possibly our own,”
 Eldarion said. “And the deaths of too many of our people!”
          Celendrian blew three sharp blasts on her horn and retreated from the battle, riding
 hundreds of feet up the path. While their armies and men-at-arms fought on, the leaders of the
 Princes Brigades assembled half-way up the path winding precariously to the crown of
 Weathertop. Still at the halfway point, Eldarion embraced Elboron, Niphredil, Ælfwine, his
 sisters and Xiang, who introduced him to Pingyang. She bowed deeply. Manus, Malvia and the
 hobbits climbed down their ladders from atop their Oliphants and joined them on the ground.
          “Elanor!” Celendrian cried.
          She, Elerith and Niphredil ran together and embraced. They welcomed Sam and Rosie,
 and were introduced to Fastred. Eldarion made hasty introductions; Manus and Malvia to his
 sisters and their other friends. The princes bowed and the princesses curtsied.
          “Where’s Alatar?” Elanor asked. She looked down over the raging battle.
          “He went back to dig up a Nazgûl,” Fastred informed them. “I think he dropped
 something in the pit back there with the Ringwraith.”
          “Elladan is at the top with Erestor and the rest of the Nazgûl, dressed as Hunters In
 Grey,” Elrohir told them. “At least, he was. Something is again shrouding my senses.”
          “Is there another way up?” Elboron asked. “Elladan is definitely there, but we shouldn’t
 walk blithely into another trap. That’s what’s waiting for us at the top.”
          “Stay if you wish,” Elrohir told them. “My brother is in agony! We must end this battle,
 now. I will face the Ringwraiths alone, if I must.”
          “I am going with you,” Eldarion told him. “We cannot take our horses. The path is too
 steep. Only one person at a time can walk to the top.”
          “I don’t care how well armed everybody is,” Sam told Elanor. He stopped her and Rosie.
 “I’m putting my foot down! You are not going up and facing Ringwraiths!”



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         “This is a sheltered dell,” Eldarion said, agreeing. He showed them a bowl-shaped hollow
 protected from view by a grove of trees. “The four of you wait here with Elerith, Niphredil and
 Minwyn. I will post our men-at-arms. We will leave our packs and plate mail here.”
         Despite the deadly threat of the battle raging below and the Nazgûl waiting above,
 everybody wanted to go with Eldarion and Elrohir. They doffed their heavy armor and packs.
         With Eldarion’s consent, Celendrian put Ulmara in charge of the other princes fighting
 ferociously on the plains in a deadly war of attrition. The rest of their party, armed with their
 swords, helms and most trusted guards and men-at-arms, started up the path.
         Elboron led them with Eldarion and Elrohir right behind.
         They hadn’t gone far.
         Elrohir shouted, “Bilbo!”
         He, Eldarion and Celendrian vanished. In the dell, Elerith dove to the ground, dragging
 Elanor and Niphredil down. Still invisible, Theo saw dark necromantic energy rising before
 them. Terrified, he dragged Rosie, Sam and Fastred down.
         Still on the path, invisible arms dragged Manus and Malvia, Elboron and Ælfwine, Xiang
 and Pingyang down. Then again Éodyn, Idris, Liathwyn and Minwyn were dragged down.
         Grey arrows whistled by, killing many of their escorts. The princes sprang up, drawing
 their swords and launching themselves at seven of the Ringwraiths.
         Restringing grey arrows, the Nazgûl rose above the lip of the dell, but in such close
 quarters, they were forced to drop their bows and draw their swords.
         Elboron struck first. The Hunter didn’t turn the flat of its blade to block his stroke,
 meeting him edge on edge. Elboron’s sword clove in two pieces and his arm fell numb, hanging
 useless at his side. The Ringwraith swung its sword and Elboron raised his shield. The glittering
 Nazgûl blade sliced through the stainless steel. It sheared off the top and just missed his head.
         “Their blades are enchanted!” he shouted, jumping back. Both his arm hung useless.
         Manus and Malvia converged on a Nazgûl. Crossing their swords, they impaled the
 Hunter and slammed their bodies against the Ringwraith. Their blades shattered inside the
 monster. It screamed in their faces as its body bloodily burst apart and they fell to the ground
 covered in rotting grime with their defeated foe, overcome by the Grey Breath.
         Though she shook with the terror emanating from the Nazgûl and was almost sick from
 the stench, Celendrian appeared between Elerith, the hobbits and the monster.
         She switched her sword to her distaff hand and released the pommel the moment before
 their blades met. Though the Hunter shattered her sword, her arms were unaffected.
         The Ringwraith swung its glittering blade up to bring it down and split her in two.
         Celendrian threw her arms forward and locked her elbows. Two small crossbow arms
 sprang out above her wrists. Screaming, she shot two spiked bludgeon darts at the Hunter’s head.
 The bolts missed the openings but struck its helmet and knocked the monster backwards. The
 Nazgûl hit the ground thrashing and shrieking with a sound that hurt to hear.
         Filled with a sudden battle rage, Celendrian scooped up the pommel of her broken sword.
 Though her body shook with terror, she leaped and landed on top of it, driving the hilt through
 the Hunter’s screeching throat. The thing’s dead arms grappled and clawed at her. She screamed
 and hacked the broken knife blade through the monster’s hands, shoulders and neck. Piece by
 piece, she dismembered it until it’s rotting body lay still. Groaning, she fell unconscious.
         Ælfwine and his sisters gathered back-to-back in the middle of the dell, determined to
 protect each other from the Ringwraiths. Ælfwine had sheathed Herugrim. In his hands, he
 wielded his short sword and dagger.

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          His sister’s swords broke against the Nazgûl blades and one-by-one they fell to the Grey
 Breath. Soon, only Ælfwine remained. He struck the monster’s sword. His shortsword broke and
 his sword arm went numb. Removing his helm, he used it with his one good arm as a shield. The
 Hunter cleaved his helm and it fell, sundered. Both his arms hung useless.
          The monster raised its sword to kill him.
          Eldarion appeared between them. Swinging his sword with all his strength, he severed the
 Hunter’s head. His sword shattered like broken glass and his sword arm went numb. Leaping
 back, he dragged Ælfwine away with his one good arm, keeping them clear of the Grey Breath.
          Another Ringwraith screeched a horrific cry. Running at Eldarion and Ælfwine, it swung
 its glittering sword. As they leaped back again their blood ran cold and their ears cramped. Their
 muscles in their legs spasmed and they couldn’t move, overcome with horror. As the Nazgûl
 reached them it began slashing its long and short swords.
          A heavy throwing knife on a long rope swung out and wrapped itself around the Nazgûl’s
 shoulders, pinning its arms to its sides. It dropped its blades wailing its pain and straining so hard
 against the rope it broke its own skin, filling the air the putrid smell of rotting flesh.
          “Get back!” Pingyang shouted.
          Eldarion dragged Ælfwine aside. Pingyang flung her red-hot burning Meteor Hammer
 and it struck the bound Ringwraith in the center of its chest splattering it with fire. Its grey robes
 ignited and flames engulfed the Nazgûl. The Hunter screamed. Its undead flesh burned and a
 horrible stench filled the air. Flailing its pinned forearms, it burned until the monster fell.
          Xiang ran forward and brandished his staff. He stepped between Elboron and the Hunter
 who had shattered the Prince’s swords and numbed his arms. The Nazgûl swung its sword but
 the moment before making contact, Xiang’s staff broke into three chain-linked pieces.
          He spun one section around his body and wrapped the other two around the Ringwraith’s
 blade clear of the cutting edge. Pinching the Nazgûl’s sword and pulling it from its hands, he
 whipped the other end of his Sānjiégùn forward with lethal force and crushed the monster’s head.
          The end of Xiang’s sectioned staff inside the Nazgûl’s head burst apart. As the top of its
 head shattered, the Ringwraith leaped screaming through its slathering mouth and withered
 throat tackling Xiang and Elboron. All three fell in a heap.
          “Xiang!” Pingyang shouted. She dropped her weapons and ran to aid her brother.
          Elrohir was still invisible. Imperceptibly, he came up behind the last Hunter with his
 sword in his distaff hand. Driving it through the Nazgûl’s back, Elrohir’s sword shattered. He fell
 to his knees and the Hunter fell to the ground screaming. The body convulsed, then lay still.
          Elrohir appeared on his knees. His left arm hung useless.
          “At last!” Erestor cried. He appeared in front of Elrohir with his sword raised high. He
 wanted Elrohir to see who killed him. “Your Rings of Power will be mine!”
          He swung his sword down as Pingyang leaped forward swinging her own sword
 sideways. Erestor’s mithril blade sliced her sword in two but was deflected.
          Elrohir vanished.
          Seeing most of the Nazgûl defeated and suddenly outnumbered, Erestor fled up the hill
 and hadn’t gone far before he too vanished.
          A strange stillness settled over the dell.
          “Theo!” Elanor shouted, as she got to her feet.
          He appeared beside her holding out her Ring. She put it back on without vanishing.
 Eldarion, Elerith and their few friends that were left standing gathered around them.
          “How do we know Erestor really fled back up the hill?” Elerith asked.

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          “I’ve got my eye on him,” Elanor answered. She stood apart from the others. “He’s
 running as fast as his legs will carry him.”
          “How can you see him?” Elerith asked.
          “Elerith,” Eldarion called. He looked down the path, confirming their men-at-arms were
 keeping the enemy soldiers at bay. “Help me tend Celendrian and the others.” He kneeled beside
 his uncle and raised his one good arm. “Are you alright?”
          “My arm has gone numb,” Elrohir answered.
          “I have athelas,” Eldarion told him, examining his arm. “I must get my pack.”
          “I see it!” Elanor called. “Erestor’s out of Sight and I’m the closest.”
          She hurried back along the grassy bank to fetch Eldarion’s pack. Even amidst the battle,
 Sam heard a faint screeching nobody else could hear. The hairs on the back of his neck rose and
 he looked up. On the crown of Weathertop, the final Hunter leaned out. His long grey bow and
 glittering grey arrowhead were sighted on Elanor, who had been tracking Erestor.
          She walked through the middle of the dell exposed, oblivious to the danger.
          “Watch out!” Sam shouted. He ran towards her waving his arms and only succeeded in
 drawing her attention. “Get down!”
          Sam heard the bow of the Ringwraith sing and the deadly silver arrow shot down at
 Elanor. Sprinting, he leaped between his daughter and the silver singing death. The arrow struck
 him full on in the center of his chest. With a muffled thud, he fell. Rosie and Elanor screamed.
          ‘No wait.’ Elanor thought. ‘He’s alright. He’s wearing his mithril coat.’
          A horrific shriek rose above them. The head of the last Hunter split, pierced by a
 glittering mithril arrow. The Ringwraith plunged over the edge and tumbled down the hill.
 Hitting the flat ground far below, its undead bones shattered and the body lay still.
          Elerith crouched at the edge of the dell with her knee bent and one leg extended. In her
 hands she held a scavenged Nazgûl bow. “In Gondor we teach Princesses to shoot.”
          Elanor and Rosie ran to Sam. They knew his mithril coat had withstood a powerful spear
 thrust by an orc-chieftain when Frodo wore it in Khazad-dûm. Sam had been struck by a slender
 arrow from a regular bow, not even a long or crossbow. It couldn’t pierce his mithril coat.
          But a mithril arrow protruded from Sam’s chest and the grey arrowhead lay embedded in
 his heart. Bright red blood soaked his clothes and stained the grass beneath.
          “Sam!” Rosie screamed. She knelt beside Elanor.
          They turned him on his back and saw it all: the bright red blood spurting from the wound,
 Sam’s grey skin, his eyes closing and the arrow embedded far too deeply in his chest.
          Elrohir and Eldarion knelt beside them. Elrohir ripped the arrow out with his one good
 arm. Rosie and Elanor screamed, but Sam was already unconscious.
          “Eldarion!” Elanor cried, clutching her father’s body and tears streaming down her face.
 “One day you’ll be King! My father always said the hands of a King are the hands of healer.
 There must be something you can do to help him! Please!!”
          Eldarion knew, besides his knowledge of herbs, the secret to his father’s healing was the
 Elessar gem and enchanted Ring he wore. Eldarion had no Elessar-stone and the wound in Sam’s
 chest was mortal. “Elerith, Niphredil, remove Lady Elanor and Mistress Rose from the dell.”
          They obeyed immediately, with gentle but unyielding strength and speed. The hobbits
 were not too heavy. Lifting them up, they carried them down to their men-at-arms.
          Eldarion pulled off Sam’s mithril coat and saw how deep the mortal wound went. Not
 that he’d harbored any doubts. He withdrew the vial of the Waters of Awakening.



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          “Are you sure?” Elrohir asked, kneeling beside him. “This is a Valarin gift. Though he is
 the most beloved and honored of mortals, Samwise is a hobbit! Should you not reserve this for
 these fallen princes and the future needs of the royal family?”
          “If I had any doubts,” Eldarion told him. “Your words would have removed them.”
          He broke the seal and let fall a single drop. It struck the center of the bloody mess that
 was Sam’s chest. A miraculous thing occurred: the bleeding wound began to heal.
          But far too quickly, the effects were exhausted. Much of the wound remained open and
 bleeding profusely. Eldarion let fall another precious drop and another incredible healing
 occurred. It wasn’t enough. Again and again, Eldarion loosed drop after drop, attempting to
 conserve as much as he could while saving Sam’s life. His face remained riveted as he strained
 and concentrated. The task tested and taxed the best of his abilities. After great and focused
 effort, the wound in Sam’s chest closed. More than half the Waters of Awakening were gone.
          “My Prince,” Elrohir said, darkly. He pointed at Sam’s face.
          Eldarion’s careful and deliberate use of the Waters had taken too long. Sam lay beneath
 him, cold and gray. His mouth gaped and his dead eyes stared at nothing.
          “You did your best,” Elrohir told him. “The wound was too great. You must husband
 what little remains. Challenges aplenty await us. We cannot predict our future needs. After
 today, we should report you used the entire vial and reserve the remains in secret.”
          Eldarion lifted the vial to pour the rest into Sam’s open mouth.
          “Eldarion!” Elrohir shouted, grabbing his hand. “This is not your father’s intention!”
          A single drop fell where Eldarion had held it over Sam’s mouth.
          “Elrohir – ” Eldarion said, angry, unaccustomed to being gainsaid so forcefully.
          “I know you acted from the heart, but that was foolish!” Elrohir admonished. “The spirit
 in Sam’s body has already fled.”
          Eldarion looked at Sam’s lifeless face. He had spent another precious drop, to no avail.
 The shame of another costly error burned his face. He turned away, calculating the price of his
 failure in future lives. Far below, more and more of his people died.
          Sam coughed and his body shook. His dead eyes closed and he breathed. The color
 returned to his cheeks and he opened his living eyes.
          “Elanor!” Sam shouted, thrashing. Sitting up, he looked around. “Where is she?!”
          “Wot-wat-what?” Elrohir asked, completely shocked.
          “Father!” Elanor cried. She ran back to the dell with Rosie.
          Elerith and Niphredil followed.
          “Wait!” Eldarion shouted. They stopped. He held onto Sam and examined his chest but
 couldn’t find a wound or any bleeding. “Sam! Are you alright?”
          “Let me go!” Sam cried. Eldarion’s strange reaction didn’t do anything to remove his fear
 for Elanor’s safety. “Is she alright?”
          “Yes, Sam,” Eldarion answered. He motioned her and Rosie over. “She is fine.”
          Crying, Rosie kneeled beside Eldarion and hugged her husband. “Oh, Sam…”
          Elanor kneeled beside them and hugged her parents.
          “You’re safe!” Sam cried. He looked down fearfully at the raging battle, laughing and
 crying at the same time. “When I saw that Nazgûl pointing his bow at you – ”
          “You don’t… remember?” Elanor asked.
          They let him go. Holding him at arm’s length, they examined his hairy chest and
 unblemished skin. Pressing their hands against his heart, they felt the strong and steady beat.
          Sam looked down at their hands and back up. “Remember what?”

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          Rosie pointed at his torn and bloody shirt on the ground. He saw his pierced mithril coat
 and the breeches below his belt soaked in his own blood.
          “But… how?” Sam asked.
          Elanor turned to Eldarion. Bowing her head, she curtsied all the way to the ground. Fresh
 tears sprang from her eyes. “The hands of a King… are truly the hands of a healer.”
          “Nothing would please me more than to take credit for this,” Eldarion told her. “I wish I
 had that kind of power. The wound was mortal, beyond anyone’s ability to heal.”
          “Oh no,” Elanor said. “You used it, didn’t you?”
          “Yes,” he answered.
          “Used what?” Rosie asked.
          “How much?” Elanor asked.
          “There is no point in keeping a secret that no longer exists,” Eldarion said. He held up the
 half-empty vial. “The injury was too severe. I used more than half of the Waters of Awakening. I
 fear there is not enough left to save even half our fallen friends!”
          Elanor held Eldarion at arm’s length. She pulled him into a hug and cried. Her joy at her
 father’s survival was tempered knowing this gift would be paid for with the lives of too many
 others, perhaps the lives of these fallen princes. She could only say, “Thank you.”
          Eldarion went to where Celendrian had fallen. Pingyang knelt beside him. Having tended
 her brother, she had witnessed Eldarion’s confrontation with Elrohir.
          “May I, fair prince?” she asked, holding her hand out in invitation before the vial.
          “Please,” he said, handing her the flask.
          “However sever the injury,” she told him, holding the vial over Celendrian’s mouth and
 letting fall a single precious drop, “it only takes one.”
          A moment passed. Then two.
          Celendrian breathed deeply, as if awakening from deep sleep. She opened her eyes and
 sat up. “Pingyang. Eldarion! Good to see you. What happened?”
          Pingyang went to her brother and let fall another drop. Rousing him, she went around the
 dell administering a single drop to everyone wounded or fallen to the Nazgûl.
          But Eldarion had used too much on Sam. Before Pingyang could heal Idris, the Waters of
 Awakening were gone. She shook the bottle again and again, trying to coax out one more drop.
 There was no more. Any residual moisture evaporated. Idris lay silent and unresponsive.
          Eldarion put his hand on Pingyang’s arm, stopping her frustrated efforts. When their eyes
 met, he lowered his, ashamed at having wasted so much.
          “Keep her warm,” Eldarion told Éodyn and Liathwyn. They hovered over their sister,
 covering her with a blanket. “I will tend her when we return.”
          “Your questions must wait,” Elrohir told Sam, handing him his torn and bloody mithril
 coat. “My brother’s life is at stake!”
          A pang struck Eldarion. If something happened to Elladan that could have been healed by
 the Waters, it would be his fault.
          “Nothing is going to happen to Elladan!” Eldarion told him. “It is time to go to work.”
          He vanished.
          Sam put his finger through the hole in his mithril coat and stayed silent. While he put his
 arms through the sleeves and pulled it down over his head, behind him, Elanor vanished.


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         High above the battle on the flat crown of Weathertop, Erestor stood beside Elladan’s
 hooded head. He held a grey sword in one hand and a grey dagger in the other. The glinting
 sharpened edges crossed, pressed tight against Elladan’s throat.
         Elrohir appeared before him.
         “There they are!” Erestor cried, looking at the invisible Rings on Elrohir’s fingers. “Let
 us play a game, Prince Elrohir.”
         “I do not play games with murderers!” he shouted, brandishing his short sword.
         “This game will be fun,” Erestor insisted. “It is called, ‘Will He Trade His Rings For His
 Brother’s Life And Mine?’”
         Still invisible, Elanor drew her father’s Barrow-blade, sword of Westernesse. She’d been
 wearing it since riding away from her uncle Tom’s farm. Now she realized, she should have split
 her time between Alatar and Eldarion, learning to handle a sword like a sword, not a knife. Her
 best bet was to stab Erestor in the leg and give Elrohir a chance to disarm him.
         Erestor heard her draw the blade and he flung his dagger. “Whoever you are, die!”
         Eldarion appeared between them, his shield raised. The dagger pierced it, but the metal
 stuck. “Lady Elanor!” he called, and she appeared behind him. “Close your eyes!” He turned
 away from Erestor and the Palantír, covering her eyes with his hands and closing his own.
         “Glorfindel!” Alatar shouted. He stood in the center of the entry arch and stared into the
 Palantír of Osgiliath. “By the authority of Mandos, invoked within this ring of broken stones – I
 pronounce your Doom! You are unworthy to use the Palantíri and unfit to attack the faithful
 servants of the Valar. Axan delgûmâ Mâchananaškad dâhan-igwiš-telgûn ulubôz phanaikelûth!”
         The Palantír glowed, going from grey to purple to red to orange to gold to white too
 bright to look upon. Enveloping Erestor in a growing orb of radiance, it expelled a blast of
 blinding light. All around the Battle of Weathertop, the fighting armies were struck by the flash
 of light and momentarily blinded. Men groped for their swords and shields, dropped in the
 moment of shock as they covered their eyes in the wake of the blinding radiance.
         Having been warned by Alatar through the link he shared with Elrohir, even though his
 eyes were covered by the hood, Elladan had closed his eyes and looked away. Now, guided by
 Elrohir’s eyes, he kicked Erestor in the head and knocked him backwards.
         Elrohir leaped forward. Erestor rose, blindly brandishing his Ring and reciting a necrotic
 Death Spell. Just before the last word, Elrohir drove his short sword through Erestor’s throat.
         Erestor gagged, choking on the steel. Blood poured down the fuller of Elrohir’s sword,
 into Erestor’s pierced insides and filling his lungs. Erestor’s hands clutched the blade and he cut
 himself trying to pull it out. More bright blood stained his hands and the front of his grey robes.
         Elrohir yanked out his sword. Erestor sank to his knees. Staring at nothing, he fell, dead.
         “I hope Glorfindel got a taste of his own medicine,” Alatar told them. “My light should
 have passed through the Elostirion-stone to wherever he’s hiding.”
         “He got a double dose!” Celendrian announced, appearing beside him. “One through
 Erestor’s mind and another through the Osgiliath-stone to the Elostirion-stone in Rivendell!
 Hello,” she said, curtsying. “I am the Princess Celendrian Telcontar.”
         “Your Highness,” Alatar said, bowing. “I’m delighted to finally meet and relieved to find
 you unharmed in the midst of battle. I am Alatar the Blue, a Wizard of Aman.” Searching
 Erestor’s dead hands, he found on the third finger of his left hand, a golden Ring of Power
 bearing a black Star Diopside stone.
         “This Ring was forged by Celebrimbor and ensorcelled by Sauron,” Elrohir told him.
 “The Necromancer told the Mirdainions it was Fanyamar: The Ring of Light Filled Aether,

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 Health, Healing and Happiness. But in Barzhûrk he named it Ngwalmë: The Ring of Torment,
 Torture, Shadows, Darkness, Despair, Abandonment and Pain.”
          “That’s cheery,” Alatar said. He pocketed the Ring and took the keys from Erestor’s belt.
          Elrohir put a crate that had held a section of the marble pillar beneath Elladan’s feet, to
 relieve the weight of his body from off his hands.
          “Prince Elladan,” Alatar acknowledged, stepping up and unlocking the first shackle.
 “Aiya Elladan, Eldarin Ancalima.”
          “Thank you, Alatar,” Elladan said. He rubbed the red welts on his wrist against his side.
          “I have heard many tales of valor about you and your brother,” Alatar said, unlocking his
 other wrist. “It is an honor to finally meet. Cormacolindor, laita tárienna.”
          “Elen síla lúmenn’ omentielvo,” Elladan said, smiling and bowing deep. “The honor is
 mine, oh learned and mighty Morinehtar.”
          Eldarion hugged Elladan. Celendrian hugged them both. Elrohir hugged all three. Elerith
 went around the circle, hugging each in turn.
          Alatar went to the ledge where the Nazgûl had stood. He looked down at the raging
 battle. Finding the rest of their companions waiting in the dell five-hundred feet below, he
 signaled them to come up. Returning from the edge he informed his friends, “I searched every
 one of the Nazgûl. Unlike Erestor, they weren’t wearing any Rings.”
          “Once a Ringwraith is created,” Elladan explained, “wearing a Ring of Power is no
 longer required to keep them enslaved.”
          “When I fought Glorfindel in Bree,” Alatar reported, “he wore all Nine.”
          “Elerith discovered that Glorfindel had stopped here on his way to Bree,” Celendrian
 explained. “He collected the Ninth from Erestor. During your battle at the Gates, you temporarily
 blinded him. He returned here with his Easterlings and gave Erestor a different one of the Nine.”
          “Why do that?” Elanor asked.
          “To fortify him before facing Alatar and my uncles,” Celendrian answered. “Glorfindel
 then left with the eight of the Rings. Led by his Easterlings, he has returned to Rivendell.”
          Elboron, Elerith, Niphredil, Pingyang, Xiang, Manus, Malvia, Ælfwine, his sisters and
 the hobbits reached the entry arch. They took turns stepping onto the crown of Weathertop.
          From the arch, Alatar retrieved two severed Nazgûl heads. “We need pikes.”
          “Here are pikes,” Ælfwine called, finding a store of weapons. He helped Alatar run the
 blades through the bottoms, mounting the heads on the ends of long poles.
          Eldarion ordered his men-at-arms to skewer the others, including Erestor’s. They carried
 all ten down to the plains to show the enemy armies that the battle was over. The enemy leaders
 saw the gored heads of the Nazgûl Kings. Their resolve broke and what was left of their dying
 armies fled. The enemy soldiers ran or rode away eastward between the Hills. Most of
 Glorfindel’s armies were dead. Their broken bodies lay scattered across the plains.
          Eldarion and the others returned to their men-at-arms below the dell. Mounting their
 horses, they joined the other princes, who had finished the fighting and gathered their battalions.
          “My People!” Celendrian cried, jubilant. She stood in her stirrups before the hosts of their
 victorious armies. “The Princes of Arnor and Gondor thank you for answering our call. Behold
 the Crown Prince Eldarion! Your future King, who by your heroic actions, you have saved!”
          The great mass of assembled warriors cheered. Many struck their shields and helms with
 their gauntlets or swords, creating thunderous applause.




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          Eldarion was genuinely humbled. He bowed before his people and waved. They had
 risked their lives riding to his rescue and defeated their enemies, proving themselves heroes and
 his most loyal subjects.
          “The Masters of the Rolls will record your names,” Celendrian announced. “The forests
 of the King will welcome you!”
          Another great cheer arose. The Knights of the Palace of Anor began accounting the
 names of all who had ridden at Celendrian and Elerith’s call and saved Eldarion.
          Riding to the crown of Weathertop, Eldarion turned to his sisters. “That was very clever.”
          “I’d like to take the credit,” Elerith told him. She pointed at Celendrian. “It was her idea.”
          “As usual, our Elerith is being modest,” Celendrian told her brother. “We wouldn’t have
 known you were in danger if she hadn’t made herself a master of the Palantír. It was Elerith who
 discovered the armies of Glorfindel’s new Ringwraiths. Her searches revealed you had survived
 the battle at the walls of Bree and were on your way to his trap at Weathertop.”
          While the rolls were taken far below, the hosts of Arnor and Gondor began burying their
 dead. They burned the bodies of their enemies and claimed the spoils of war from their fallen
 foes. Those who emerged victorious were infinitely richer in ironworks and other spoils. They
 were also now secure in the favor of the Crown Prince and Royal Family.
          Eldarion and the princes dismounted. Walking back to the top, they gathered on the peak
 of Weathertop in the broken ring of stones. “We must pack our things and hurry to Rivendell.”
          “We’ve recovered the Osgiliath-stone, lost for millennia,” Alatar told him. “The Royal
 Family is safe and we’ve won another Ring of Power. I promised your father I would bring him
 these evil Rings. The Ringbearers may keep the benevolent one’s I’ve bestowed. Though it pains
 me to leave you, I must take the rest to Minas Tirith and seek the council of the King.”
          “It would be a grievous blow to split our forces now,” Elladan told him.
          “It grieves me as well,” the wizard said. “I have never found such worthy companions
 outside the Heren Istarion. I am truly sorry, Prince, but I must. I gave my Word to the King.”
          “Who calls my name?” Eldarion asked, cocking his head.
          They looked around. Neither Sam nor the twins with their Elvish hearing had heard.
 Eldarion’s eyes were drawn to the Osgiliath-stone and he approached the pillar. Putting his hands
 on the surface with practiced grace, he concentrated and looked into the grey depths.
          “Eldarion!” a faint voice cried. It grew louder from deep within. “Can you hear me?”
          The grey mists in the Osgiliath-stone parted revealing the worried face of King Elessar.
          “Father!” Eldarion cried. “I can see and hear you now, and so can everyone else.”
          “I was helpless to aid you!” Elessar told them. “Yet I could not look away from the Anor-
 stone. I saw you fighting Erestor and the Nazgûl. They were monstrous foes. I hoped never to see
 their like again and... I am so proud of you. All of you. As a King, in the name of Gondor and
 Arnor, you have my thanks. As a father, I thank you too.”
          Eldarion bowed. “You are welcome, your Majesty. As your loyal subjects, we are
 honored to serve our King. As your son, I am grateful my actions have met with your approval.”
          “Celendrian!” Elessar called. “Elerith! Step forth.”
          They rose and walked to the Osgiliath-stone. Standing beside Eldarion, they bowed their
 heads and awaited the judgment of their King.
          “You disobeyed my commands,” Elessar said. “Failing to go to Annúminas. Instead, you
 created the Prince’s Brigades with my other disloyal subjects. Defeating Erestor and the Nazgûl
 Kings, you routed their armies. Your actions saved many of our tributary kings and queens, and



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 their peoples. You also saved the life of your brother, the Crown Prince Eldarion, and your royal
 uncles, Elladan and Elrohir, my royal brothers. For that and more, you have our thanks.”
           They curtsied and Celendrian bowed her head. “We are thankful for your forgiveness,
 and gratified our actions have met with your approval, your Majesty.”
           Elessar looked around. “Where is the Queen?!”
           Eldarion turned to his sisters. “I thought she was with you.”
           Elessar’s face vanished.
           Thüringel appeared within the face of the Osgiliath-stone. She was in a dark dungeon lit
 by low burning torches. Beside her, Arwen stood on her own two feet with her hands chained to
 the wall on each side of her waist.
           “Mother!” Elerith called.
           “I have your mother sweet, little, Princess,” Thüringel cackled. “You snot-nosed brat!”
           “If you so much as harm a single hair on her head,” Eldarion warned, “you will answer to
 me and I swear, your death will be much slower and more painful than any you can imagine.”
           “Ho ho!” Thüringel howled. She struck Arwen’s face so hard she cut her, drawing blood.
 “Come, little princeling. I want it!” She lifted her fist to strike Arwen a much harder blow.
           Alatar jumped to the Palantír, putting one hand on the surface and lifting his staff.
 “Akašân axan! Athâra axan! Amanaišal axan!” His staff and the Palantír glowed.
           Thüringel screamed. Her form shimmered. For a moment, they saw her as she truly was:
 a grey blood-bloated dead thing. She had horns and filthy vermin infested her wild, dirty hair.
 She had fangs, black lips, a bloated belly and obscenely bloated breasts. Worms, maggots and
 lice ate away more and more of her hideously decayed, disfigured, half-rotted face, writhing in
 and out of her skin and filth-caked grey-white hair.
           “Orro!” she cried. “Atto, úcarnet nin. Ánin apsenë, ani lerya… ván.”
           Some on Weathertop gasped. Many turned away, sickened. Others were disgusted.
           “Súrë túla cendeletyallo,” Alatar said. “Áva quetë.”
           She shimmered again and her fair form returned. “Do as you wish. Her brother Estel will
 soon be my guest, here in Glorfindell. I have no control over him. I understand he’s been looking
 forward to being alone with his sister for quite some time. You know what they say about… No.
 Never mind. We should keep that… in the family.”
           “Lúmë mana?” Elladan asked.
           “Lá istan quet' Eldarin!” Thüringel snapped.
           “I want to speak to Glorfindel,” Alatar commanded.
           “He’s a bit indisposed at the moment,” Thüringel told him. “But don’t think your nasty
 little trick had anything to do with it!”
           Alatar smiled. “I wouldn’t dream of it.”
           “Do not dream of coming to Glorfindell either,” Thüringel told him. “Arwen is
 unharmed, relatively, and untormented. But she will suffer her mother’s fate and much, much
 worse, if any of you step so much as one foot within the borders of Gondolin. If you do, I will
 sense it. I will know and the High Queen Arwen will be the one who pays the price!”
           The Palantír went dark.
           “She is completely insane,” Elrohir told Alatar.
           Elessar’s face returned to the surface. He looked back and forth between Elerith and
 Celendrian. “How did the Queen become a prisoner?”
           Celendrian stepped up to the Palantír. “The Queen left our party after she saw Glorfindel
 and his band of Easterners leaving Rivendell to waylay Eldarion in Bree. We knew Erestor was

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 setting a trap for Elladan and Elrohir here at Weathertop. We also knew there were traps within
 traps, but we didn’t know how many. The Queen rode into a trap we failed to see.”
         “Her company was waylaid by Thüringel, leading a large regiment of orcs and goblins,”
 Elerith told him. “The Queen’s royal guards and handmaidens were killed, eventually. She was
 not harmed and taken prisoner.”
         “Where is she being held?” Elessar asked.
         “In the dungeons of Rivendell,” Elerith answered.
         “There are no dungeons in Rivendell,” Elrohir told her.
         “There are now, uncle Elrohir,” she affirmed.
         “We cannot sit idly by,” Elessar told them. “Glorfindel is again gathering allies. He
 intends to unite them in a new alliance and create an even more massive army than the one we
 just defeated. Their deadly magical armaments already vastly exceed our own. I fear not even
 our united allies and Rings of Power will be enough to defeat them.
         “There must be something we can do,” Eldarion said. “What do you propose?”
         “The time has come to open the Treasury of Elendil,” Elessar answered. “It has long lain
 hidden here within the secret vaults of Aman Sûl.”
         “What will we find there?” Celendrian asked.
         “The greatest heirlooms of the House of the Edain,” Elessar answered. “These are your
 birthrights. They were hidden here long ago in anticipation of a day as perilous as this.”




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                                         Chapter 6




                            The Treasury Of Elendil




         The royal guards of the Palace of Anor and the men-at-arms of Gondor packed and
 removed the marble pillar and Palantír of Osgiliath from Weathertop. They carried them down
 the winding, slippery path to be loaded on the carts and horses waiting a thousand feet below.
         At the center of what had been the ground floor of a once mighty fallen tower, Elladan
 and Elrohir knelt before the edge of a large square stone. There they searched for inscriptions
 and hidden runes of power.
         “We don’t have time to wait for the Moon,” Alatar said. He raised his glowing staff.
         “Wait!” the twins shouted.
         The wizard had already driven his staff down and he struck the grey stone.
         A blinding flash and thunderclap blasted him across Weathertop. The burst knocked
 everyone else back. Only Alatar’s windward enchantments prevented him from flying off the
 hill. Teetering over the edge, a powerful gust pushed him back. He fell hard to the ground and
 dropped his staff. It clattered to the floor. He lay bruised, embarrassed and breathless.
         Eldarion ran to him, followed by the twins. “Are you alright?”
         The wizard gasped, catching his breath. He grasped the twin’s outstretched hands and
 pulled himself up. “More surprised than hurt. I think. I’m so very sorry. Are you all alright?”
         “You bore the brunt of it,” Eldarion told him, handing him his staff. “We barely felt it.”
         “Speak for yourself!” Fastred shouted. He picked himself and Elanor up off the floor.
 Sam helped Rosie up. Fastred rubbed his bruised forehead. “That knocked the wind out of us.”
         “The door to the Treasury of Elendil cannot be broken by magic,” Elrohir told him.
 “Unless you break the hill. Then the treasures would be lost.”
         “How will we get in?” Celendrian asked.
         “Lady Elanor,” Elladan said, holding out his hand. “Where will wanes wile will win.”

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          The others cleared a path. Surprised, she took his hand. He escorted her to the large
 central paving stone. They kneeled at the edge and were joined by as many as could fit along the
 four sides. All who could, extended their senses, searching for inscriptions or hidden runes.
          “I’m sorry,” Elanor said, looking with the power of her Ring. “I don’t see anything.”
          “Are you sure it hasn’t worn away?” Elboron asked.
          “Some writings do not wear,” Elladan answered.
          “Similar to the ithildin you have seen elsewhere,” Elrohir told her. “Like the lachtêw Sam
 never saw, though he wore them invisibly on the Ruling Ring in Mordor.”
          Elladan turned to Elanor. “Your Ring has a power which can help us find the hidden
 gwâthteitha inscribed on this stone.”
          “Of course,” she said. She made her Ring visible, removed it and held it out to him.
          “Your control has grown,” Elladan noted, refusing her Ring.
          “Not quickly enough,” she responded, dismayed she hadn’t contributed to the battle.
          “One of your Ring’s attributes is a heightened ability see,” Elrohir told her. “You can
 extend this to those around you, if you wish, even if everything is enveloped in Shadow.”
          “I’m afraid I don’t understand,” she said.
          “Elladan will summon the bewildering mists of the Shadowing Seas,” Elrohir explained.
 “We will show you how to pierce these Shadows with your Ring’s light to reveal hidden things.”
          “Okay,” she said, putting on her Ring. Remaining visible, she reflexively made Oialëhén
 invisible. “How do I do that?”
          “Close your eyes and concentrate. You must become one with the power of your Ring,”
 Elrohir answered. “Imagine everything is enveloped in darkness and everyone here is blind.
 Your Ring must supply the light for us to see.”
          “I hope this works,” she said. Closing her eyes, she focused on her Ring.
          For more than a minute, she stood silently, her eyes closed, concentrating. Eldarion was
 the first to notice the light fading. Faintly at first, then faster and deeper. Quickly, everything
 became dark. No one could see. A minute passed in silence. Then, another. Nothing else
 happened. Only Elrohir knew Elladan was giving Elanor strength and secretly guiding her.
          Suddenly, they saw an unexpected and stranger thing: everything that had been shrouded
 in shadow before the light faded, grew bright. Whatever had previously been illuminated by
 daylight grew dark and impossible to see.
          The twins turned to the stone square enveloped in this bizarre reverse-negative light,
 which the others had never imagined existed, produced by the combined power of their Rings.
 Across the dusty stone, the surface of the granite’s orange brightness that had once been grey,
 was now dimmed by blood red letters.
          “This is not Tengwar,” Eldarion observed, in this strange reverse darkness.
          “Correct,” Elrohir affirmed. “It is Gongwar.”
          The twins put their palms down flat on the stone and pushed. First left, then right. Right
 again. Forward, left, then down.
          “You can stop now,” Elladan told her. He lifted his hands. “I will remove the Shadows.”
          She opened her eyes. The strange darkness full of stranger light vanished.
          Daylight returned and everything appeared as before. The stone the twins had pushed
 down slowly sank into the floor. Everyone jumped up and stepped away. A second stone
 descended. Then a third, fourth, another and many more. Retreating beyond the ruined stone
 foundations, everyone watched in wonder. Stone after stone slid down into the darkness. The
 entrance to a wide stone staircase opened the hidden depths beneath the ruins of Aman Sûl.

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         “Normally,” Alatar interjected, “I would feel compelled to lead. However, after my last
 attempt at leading, I feel a bit like following, at the moment.”
         “Would either of you like to go first?” Eldarion asked the twins.
         “If there’s one thing a hobbit’s good for,” Theo said, “it’s exploring holes!”
         He led Fastred and Elanor down the steps into the darkness. Sam escorted Rosie, hand-in-
 hand. The twins came close behind them. They led Alatar and Eldarion, Celendrian and Elboron,
 Manus and Malvia, Pingyang and Xiang, Elerith, Niphredil, Ælfwine and his sisters. Some
 followed the hobbits tentatively. Many went fearfully. A few, very reluctantly.
         “I have no doubt Lady Elanor has added seeing in the dark to her many growing talents,”
 Eldarion told Elboron, halfway down. “The rest of us need torches.”
         “Allow me,” Alatar said. Lifting his staff, the entire length glowed with a pale blue light.
 It seemed dim at first. As they descended into darkness, the light grew brighter.
         At the bottom was a large stone chamber. Three concentric levels rose to the edge of the
 round outer walls. In a wide circle, around the edge of the lowest level was a stone henge.
 Evenly arrayed within the circle’s perimeter were twelve roughly-oval Standing Stones. Each
 one was twelve feet tall, six feet wide, and had four distinguishable sides, made up of three
 distinctive triangular faces, tilted at slightly different angles.
         “What are they?” Elanor asked.
         “These are Guardian Stones,” Alatar answered. “Defenders of Arda. They were created
 by Ilúvatar many Ages before the Awakening of Elves and Men. Manwë made them Protectors
 of the Two Trees. But for all their strength, the Trees fell to Melkor’s treachery and Ungoliant’s
 hunger. In the ensuing battle, many were destroyed.”
         “What are these doing here?” Elanor asked.
         “I have no idea,” Alatar answered. He turned to the twins. “Do you?”
         “We have no knowledge of them,” Elladan answered. “They were not brought here by
 Elves or Men.”
         Elrohir cocked his ear. “These Guardian Stones call for aid.”
         “What kind of aid?” Ælfwine asked.
         “I hear them,” Eldarion told them. “Yet I cannot distinguish their voices.”
         “They seek freedom from their prison,” Elladan answered.
         Alatar lifted his staff and it glowed brighter.
         Elrohir lifted his hand. “Wait.”
         “I’m waiting,” the wizard responded, holding his staff immobile.
         Elladan cocked his head. “They are calling for… Fastred?”
         Surprised, everyone turned to Fastred.
         “Me?” he asked. Looking up at their highborn faces, he felt extremely self-conscious.
         The twins nodded. They beckoned him forward and motioned everyone else to step aside.
         Fastred walked through their ranks and stopped before the largest Guardian Stone. It
 faced the bottom of the steps. He looked around. No one else knew any more than he did, which
 helped him feel less self-conscious. He lifted his fist and knocked on the hard surface. “Hallo?”
         There was no response.
         But with every step, he had felt the weight of his Túrin-stone grow heavier. Withdrawing
 the locket, he opened it. Since the day Círdan first gave him the Stone, it had remained the
 darkest black. Now deep in the center, the impression of a star glowed faintly, bluish white. It
 grew brighter with a white multicolored light, like that of a living star. As he lifted the Stone’s
 brightness, twelve bright beams shot from his hand and struck all twelve Guardian Stones.

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          The rocks drank the radiance. It crackled and glinted along the edges of the four sides and
 twelve distinctive faces. Fizzling and fading at first, it waxed and grew brighter. A sudden line of
 brightness divided each Stone into two even halves. Two more bright white lines appeared,
 joined at the largest intersection, then four, then more. Soon, all thirty-six edges glowed. With a
 grinding and a snap, they began to move, opening like the shells of crabs. Neither warm-blooded
 mammals nor cold-blooded reptiles, they were moving things of living stone.
          Two of the twelve surfaces fell forward slowly. Touching the ground they lay flat,
 becoming the soles of the Stone-men’s feet. Each bore three stone toes. Two pointed forward and
 one back. Two more flat surfaces opened. They became the backs of the Stone-men’s hands.
 They unfolded with two stone fingers and a large stone thumb. Two sections opened, becoming
 the backs of the Stone-men’s legs. Two formed the upper arms and two the lower. Two sections
 became the sides of the Stone-men’s backs. From the center rose the Stone-men’s oval heads.
          The Guardian Stones stood up straight and lifted their arms, twelve feet tall. They opened
 their stone eyes and looked around with their grey stone faces, towering over everyone’s heads.
 With their arms extended, they were almost as wide. The triangular plains on the flat backs of
 their stone arms, legs and shoulders gave their movements a powerful air.
          Everyone stepped back fearfully, moving away from the Stone-men except for Fastred.
 Strangely, he felt no fear. The Stone-man in front of him stepped forward. His large heavy stone
 feet struck the ground, shaking the chamber and every step raised dust. His movements were
 sweeping, somewhat rigid, not limber, yet neither lacking grace.
          He thudded to a stop before Fastred. Going down on one knee, the other Stone-men knelt,
 bowing their heads. “Who has freed the Stone-men of Zirakzigal from our prison?”
          Fastred looked around at his frightened companions. Eldarion nodded.
          “I’m – Fastred!” he answered. “Oh… uh, son of Folcred… of Greenholm – in the Shire.”
          “Fastred, son of Folcred of the Shire,” the Stone-man said. “I am Mytikas, son of Genesis
 the Protolith, King of Stones, the Peak of Petradons and Apex of Pinnacles. I am the Crown
 Prince of the Metamorphs of Archany, in Líthos and Rhodium; the Archon of the Cementation of
 the Dodecahedrons. We were formed from among the Dodecatetrapetroandri. We are called by
 Dwarves, the Stone-men of Zirakzigal – The People of the Living Stone.”
          Fastred stared at Mytikas, speechless. Eldarion motioned with his eyes and lifted his chin.
          “Oh!” Fastred responded. “Rise up, oh mighty… Mytikas?”
          Mytikas rose. A broad smile spread across his stone face and a twinkling filled his grey
 stone eyes. He was followed to his feet by the others.
          “How were you imprisoned in the Treasury of Elendil?” Alatar asked.
          “By treachery and sorcery,” Mytikas answered.
          “What does that mean?” Fastred asked.
          “We were born in the light of the stars before the stars and we witnessed the Ainur enter
 Eä,” Mytikas answered. “Our ears heard the Valar sing the Ainulindalë and our eyes watched the
 world come into being. But Melkor sang Discords and cast down the Lamps. So Manwë created
 the Order of the Guardian-stones to protect the Valar. Guardian-stones do many things,
 protecting realms from Valinor to Under-earth. My father appointed me and my Dodecs the
 Guardians of the Trees: Telperion the Silver-tree and Laurelin the Golden, when they were
 growing in Aman. But on a dark day of treachery, Oromë, Tulkas and we Dodecs were bound by
 dark enchantments in Ungoliant’s Unlight. Many Stone-men were broken by Melkor’s xenocrist
 and the Two Trees fell to the spider’s hunger. Using the bodies of our fallen comrades, we cut
 ourselves free of her webs and the Cementation of the Dodecahedrons rallied. We freed the Valar

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 and drove the spider-monster away. Yavanna and Nienna were able to save enough sap for the
 last flower and fruit to bloom. From them, Aulë created the Chariots of the Sun and Moon. With
 the ascension of these new lights in the Heavens, we were no longer needed above and so we
 returned to Under-earth and the War of the Three Kingdoms.”
          “What is the War of the Three Kingdoms?” Celendrian asked.
          “The Igneous, Sediments and Metamorphs are the Three Kingdoms of Rocks,” Mytikas
 answered. “We have warred since the Beginning. Long before Collocoll, Gnomes, Kôr or
 Nameless Things sank below the earth or Dwarves, Ents, Elves, Men or Îkor rose above.”
          “Why are you fighting?” Fastred asked.
          “We do not know,” Mytikas answered sadly, looking down. “This war has always been.
 It is written in the Annals of the Stones, ‘No vestige of a beginning and no prospect of an end.’”
          “But you are Metamorphs,” Elrohir said. “The mightiest rocks. Who could defeat you?”
          “If our war was confined to those cluskshlum Igneous and pfouthmryscuk Sediments, we
 would have been victorious long ago,” Mytikas answered. “But Inaequalis the Xenolith swore
 allegiance and servitude, and now worships the Mad Vala Ulbandi. He set in stone her road to
 conquest in Under-earth. The dark Valarin arts of Ulbandi gave Inaequalis the power to take the
 throne of Tantalum and conquer the Igneous throughout the realms of Mohoro. But that was not
 enough to sate Inaequalis’ porous thirst for power. He made war on my father King Genesis and
 laid waste to much of Mesos. Then he did the unthinkable: attacking the Gardens of Asthenḗs,
 our Stoneries where baby Stones are born and grow. We had no choice but to surrender. The
 treachery of Inaequalis allowed Ulbandi to defeat us, the Guardian Stones. We, the Cementation
 of the Dodecahedrons, the oldest and most powerful of the Dodecatetrapetroandri, fell. Then we
 were bound by dark enchantments and Ulbandi cast us out of Gaiaspheria, imprisoning us here.
 With no one to stop him, Inaequalis conquered Asthenḗs. He took the crown of the Igneous and
 now rules in Perfidy.”
          “Who is Ulbandi?” Fastred asked.
          “Ulbandi was one of the Valier,” Alatar answered. “A Queen of the Valar: the intended
 bride of the Vala Draëd, King of Earth. When Ilúvatar chose all male Vala to spearhead
 Creation, Ulbandi demanded an equal number of female Valier act as guides. Her demands were
 met with Silence. Some say the Silence That Devours is the Silence of Ilúvatar, transformed into
 a weapon by Ulbandi to destroy existence. When Draëd tried to stop her, she killed him and then
 seduced Melkor, who had been betrothed to Nienna. Ulbandi turned Melkor to the Dark Side.”
          “Is this why Nienna is the Queen of Tears?” Celendrian asked.
          “It was not always so,” Alatar answered. “Before Ulbandi’s treachery, Nienna was the
 Queen of Poetry; the Queen of delicate and beautifully fragile things: saplings, crystals, babies,
 laughter, reflections, memories, wings. Tragedy was born when Ulbandi betrayed Nienna.”
          “We witnessed the Kinslaying of the Valar,” Mytikas told them. “Ulbandi may have been
 the first to Fall, but Draëd paid the price. He was first to pass the Doors of Night to whatever lies
 Beyond. It was the birth of Evil in Eä, a sad and dark time in Arda, before the Lamps. She and
 Melkor have birthed countless Evils since. We must return to the Kingdom of Archany. In our
 absence, the Sediments and Igneous will have wreaked havoc. But the Dodec are forever
 indebted. If you need us, simply call. We will come at Fastred’s summons in the Turin-stone.”
          Mytikas turned to the staircase wall. In the center, a red line appeared and slowly grew.
 Two parallel red lines glowed beside it, then three more crossed the first three diagonally. Six
 more lines appeared, then twelve, twenty-four, and many more, forming hexagonal patterns. Side



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 by side, tall hexagonal blocks in descending heights slid out from the wall. They formed a
 hexagonal staircase ending at the Stone-men’s feet. It rose to a glowing dodecahedral opening.
          Unfolding beyond the wall were endless staircases rising, descending, twisting, turning,
 reversing, growing and shrinking within the Escherscape of Archany – appearing, twisting,
 turning and disappearing in every conceivable orientation and direction.
          He ascended the stairs with heavy plodding footfalls that shook the floor. Stepping
 through the opening into the Escherscape, he reached a large stone platform from which twelve
 stone staircases rose or descended. They connected to countless others, disappearing and
 appearing in endless distances of stone. The lumbering but gracefully mighty Dodecs followed.
          “Until all is lost in ice or fire,” Mytikas called, waving his arm and all three fingers.
          When the last Stone-man passed beyond the wall’s surface, the hexagonal steps rose one
 after another, returning to the Escherscape. The surface of the wall slowly closed and the bright
 white lines dimmed to a dull red. They shrank and dwindled from the outermost 736 to 368 to
 184 to 92 to 48 to 24 to 12 to 6 to 3 until the last one faded and went out. All was dark.
          Alatar lifted his staff and it glowed with a bright blue light. They saw the stone floor they
 were on was round. At the edge, steep stone steps led to two higher levels, forming three
 concentric circles. The walls of the top level of The Treasury of Elendil were even with the outer
 walls of Weathertop. The two higher levels formed a wide stone shelf going all the way around
 the hill. On each level were metal-mesh girdles displayed ingeniously designed armored suits of
 sturdy leaf and ring mail.
          Some were dark and black as night. Others were bright, reflective silver-white. Many
 were wrought like fish-mail, shining like glittering stones in river water under moonlight. In
 metal sheaths were long and short swords. Black and silver bows were paired with quivers full of
 arrows. Daggers, spears and pole-arms lay propped up beside shields and axes. Covered lamps
 dangled from chains affixed to the ends of metal rods protruding from the walls.
          Some were round; others, square or hexagonal. All had banded, faceted faces and were
 secured by metal covers. The farther up the walls they looked, the more exotic and ornate
 became the shapes of the Lamps.
          Alatar approached the nearest one. “These are Fëanorian Lamps.”
          “What do they do?” Elanor asked.
          He opened one of the covers. A beautiful blue light lit the chamber with a soft blue but
 heatless fire, captured within the dazzling smoky-white multifaceted crystal.
          The ithildin runes on the invisible Rings of Power which Elanor, Eldarion, Elladan,
 Elrohir, Celendrian and Elboron wore glittered brightly with a pale blue light. Almost as one,
 their brows furrowed and the ithildin runes hovering over their fingers vanished. They regarded
 each other gravely and with wonder, yet they said nothing.
          “They were crafted in Valinor,” Alatar told them, pulling the bright lamp off the wall.
 “By Fëanor, the greatest Elvish smith in history. The chain is mithril and the crystal is silma, the
 same as he used to capture the light of the Two Trees within the Silmarilli.”
          “What’s the source of the light?” Elanor asked. Peering into the smoky crystal, not even
 her Ring enhanced senses could penetrate its depths.
          “I don’t know,” Alatar answered. “It’s said these Lamps can’t be extinguished. Neither
 wind nor water affects them. Though less well remembered here, in Valinor, Fëanor was as
 famous for his Lamps as for the Silmarilli. When he died, the craft was lost. I think it convinced
 Celebrimbor to create his library, so his skills wouldn’t die like his grandfather Fëanor’s had.”



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         “Elboron, Ælfwine,” Eldarion commanded. “Before we leave, count and gather these
 Lamps. We are taking them with us.”
         “We will not leave any of the treasures,” Elladan said. He and Elrohir stepped up to one
 of the bright armored suits. “Half are mithril. I did not know so much mithril had been mined.”
         “Or gathered in one place, outside of the Palace of Anor,” Elrohir added.
         “The mining of mithril began deep in the First Age, tens of thousands of years before you
 were born,” Alatar told him. “It continued well into the middle of the Third.”
         “Where has all the mithril gone?” Celendrian asked.
         “It was hoarded by Sauron,” the wizard answered. “What became of it after his fall, I do
 not know.”
         “The black metal is galvorn,” Elladan said. “It is harder than mithril and heavier. It can
 be beaten into paper thin sheets, impervious to harm. It is an alloy forged by Eöl, the Dark Elf.”
         “Mithril grew so precious, it passed beyond price,” Elrohir told them. “But Galvorn never
 had a price. It was thought all Eöl’s works were lost in the Fall of Gondolin.”
         “There’s some galvorn in Lindon,” Fastred offered.
         “And apparently,” Celendrian added, “King Tuor saved more than a few things.”
         The twins uncovered more of the Lamps. Blue light lit the Treasury, illuminating all of
 the second level. On opposite sides stood two large white-marble statues.
         The one on the left was Nerdanel’s most renowned creation: Varda, Queen of Heaven,
 lifted her hands to the sky in song while from her fingers rose the first primordial stars. In the
 light of the Fëanorian Lamps, Nerdanel’s unmatched artistry made the frozen stones seem as if
 the marble stars depicted were rising and twinkling brighter.
         The statue on the right was Drendelen’s most famous work. It depicted Lúthien Tinúviel
 dancing through the forest. Bent back at the waist, her head was thrown back, her body and face
 upraised. One arm was lifted high in exultation. The other went down in a straight line behind
 her. As if moving swiftly in a circle, her arms swept up spirals of marble leaves that had been
 caught up in the beauty of her dance.
         For long moments, they simply stared at the unmatched artistry, only half believing such
 beauty could exist, much less be depicted within lifeless marble.
         At the far end of the Treasury on the top tier was a high, slender dais. It displayed three
 large intricately-patterned black galvorn-metal boxes.
         “These are the loksboks of Eöl,” Elladan told them. “Ever were they used to safeguard
 the most precious treasures.”
         “No treasures can surpass these sculptures,” Ælfwine remarked.
         “Except the long lost Silmarilli,” Elboron reminded.
         “Can you open them?” Eldarion asked.
         “The Sons of Elrond have been steeped in the lore of Middle-earth since we learned to
 read,” Elladan answered. “We have devoured twice as many scrolls and books as our father.”
         “Guided by him, the greatest Lore Master in history, we have egged each other on,”
 Elrohir said. “What one of us reads does not need to be repeated by our brother. We can simply
 ask each other for any needed answers. This is what we do in Rivendell and in our travels.”
         The twins climbed the steps to the top and carried the largest loksboks down to the
 ground floor, where everyone was waiting. Eldarion and Manus carried another. Elboron and
 Ælfwine brought the third.
         The boxes were built like puzzles. Fortunately, the twins were familiar with them. By
 pressing, pushing and sliding their hands, they began to move some of the intricately connected

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 pieces. Working slowly and methodically, they moved the interlocking parts, which were
 baffling to the others and would have stymied anyone else.
         They moved the plates farther apart slowly, like Gordian knots that had been wrought
 with sublime purpose by one of the greatest craftsmen in history; not in pliant cloth, but Galvorn,
 the impregnable metal of Eöl’s own devising. Moving the pieces forward, sometimes back, up,
 down, or from one side to another, they slid more sections further apart. Their painstaking efforts
 finally produced an audible click.
         They opened the lid. Inside was a soft, smooth, white, lustrous flax-and-nettle fabric. It
 provided the lining for three compartments. In one lay a scabbarded sword. Another contained a
 large broken war spear. The third held an ornately decorated helm. Each artifact was adorned
 with golden runes.
         “This is Aranrúth,” Elladan told them, lifting the scabbarded sword. “Named, ‘The
 King’s Ire.’ It was the sword of Elu Thingol, he who was the ambassador of Elves in Valinor.”
         “The High King Thingol was a companion to the Vala Oromë,” Elrohir said. “He ruled
 Doriath, married Melian and fathered Lúthien in Beleriand, long before it Fell beneath the seas.
 Aranrúth was taken to Númenor by King Elros. It was ever the Sword of Kings.”
         He carried it to where Eldarion stood in the center of the group. The Crown Prince was
 flanked by Elboron, Ælfwine, Xiang, their sisters, Manus, Malvia and the hobbits. Instead of
 handing it to Eldarion, as everyone expected, he gave it to Celendrian, “This is yours.”
         “Thank you,” she said. Incredulous, she opened her arms and clutched the sword. Pulling
 it against her chest, she cried sudden tears. “I… remember, my sword. My sword! I remember!!”
         Elboron held her in his arms. He stroked her long dark hair and quieted her sobs.
         “May it serve you in good stead,” Elrohir told her. “I fear your needs will be as great as
 anyone’s. Greater by far than even those great deeds you have already done.”
         From the same loksboks, Elladan removed the large mithril helm. It was adorned with
 gold and engraved with runes of victory. It had a visor on its crest inlaid with an intricate and
 beautifully crafted golden dragon, “This is the Dragon-helm of Dor-lómin. It bears the image of
 Glaurung.”
         “It is said whoever wears it is protected from earthly weapons or wounds, even death,”
 Elrohir told them. “A sword that hews it breaks. Darts and arrows spring aside. The hearts of the
 hosts of the bearer are lifted high in battle. It was once written in Beleriand that the hosts of
 Hador cried, ‘Of more worth is the Dragon of Dor-lómin than the gold-worm of Angband!’”
         Elladan approached the group. Eldarion felt sure this was why Elrohir hadn’t given him
 Aranrúth, as not to underscore the enormity of what, in his mind, had to be the greatest armament
 ever wielded in Middle-earth.
         Elladan put the Dragon-helm of Dor-lómin on Ælfwine’s head. “You are our dragon
 slayer. Just as Azaghâl, Lord of Belegost, gave this helm to our great-great-uncle Maedhros for
 saving his life, I give this to you for saving the life of our sister, Queen Arwen.”
         “I told you I wanted to learn how to do that!” Elboron shouted. He slapped Ælfwine’s
 helm covered head. “Let’s hear it for Ælfwine!”
         In their amazement and overjoyed at this sudden turn of good fortune, enthusiastic cheers
 broke out. Everyone clapped and congratulated Ælfwine. He removed the helm and stared at it.
 Looking up at the happy faces of his friends, he could barely believe what was happening.
         Elrohir lifted the two pieces of the black, nine-foot carbon-steel spear. “This was broken
 by Sauron outside Barad-dûr before the Necromancer killed Gil-galad.”



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        The tip of the Spear ended in a sharp two-foot blade. It was etched with a bronze filigree
 and the handle bore the runes of a Ñoldorin Elvish inscription:




        “What does it say?” Elanor asked.
        Elladan read the runes. “Gil-galad ech vae vaegannen matha/Aith heleg nín i Orch
 gostatha/Nin cíniel na nguruthos/Hon ess nín istatha. Aeglos.”
        “What does that mean?” Fastred asked.
        Eldarion knew the verse by heart:



                                Gil-galad wields the mightiest Spear
                                   Orcs well fear my point of ice
                                     Seeing me they face their
                                      Fears, fighting me they
                                         Earn their Deaths
                                              Aeglos


         “With your permission, Eldarion,” Elladan requested. “This is an Elvish glaive forged for
 the hands of Elves.”
         “Of course,” Eldarion said, agreeably. He wondered if he was going to get a sword. He
 mused if he did, it couldn’t possibly be as legendary a weapon as these two already given to
 others. It didn’t matter. He could make do with a dull, unbalanced common blade. His skill was
 such, it was all he needed. He had before. The fortunes of war made it certain he would again.
         Elladan gave the broken spear to Elrohir. “When we retake the smithies of Imladris, this
 Spear will be reforged, just as Narsil was. The two blades that mortally wounded Sauron outside
 Barad-dûr will be fitting companions when you wield this in battle beside Elessar, for even in
 death, the victory went to Gil-galad and Elendil. You will wield this spear against Orcs and
 Orcelven, they will see in its glittering blade their deaths and we will at last fulfill our Oath.”
         Elrohir accepted the Spear from his brother. Bowing humbly, he set it aside and they
 went to work on the second loksboks. Learning as they went, they opened the second one faster.



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          Elladan lifted a black sword in a leather scabbard. “This is Anguirel, the Iron of Eternity.
 It was forged of baenpet, called the ‘Metal of Heaven.’ It fell as a flaming star and became one
 of two blades forged from it by Eöl, though the other has been lost.”
          “There is no hide it cannot pierce, no creature’s blood it cannot drink and kill with just its
 thirst for blood,” Elrohir added. “It can cleave all earth-delved metals, even galvorn and mithril.”
          Elladan approached the group, but wasn’t heading for Eldarion. He gave Anguirel to
 Elboron. “This is yours.”
          “Way to go Elboron!” Ælfwine shouted, slapping his back. “Now you don’t have to be
 jealous. But you do have to be careful not to cut my helm!”
          Elboron blushed, self-conscious. He wasn’t used to being the center of attention in this
 particular group. He bowed to Elladan. “Thank you, Prince. I am humbled by your generosity.”
          Cheers rose, everyone applauded and he got a kiss from Celendrian. She had recovered
 and now brightened at their good fortune.
          Elrohir lifted a second sword. Even in the dim lamp light, it glowed with the lightest,
 brightest gold any of them had ever seen. “This is Illuin, the Sword of the Sun. It was forged in
 Valinor by the Vala Aulë, using the same alloy he made when he created the Chariot of the Sun.
 It is one of only three known alloys of mithril.” He handed the golden sword to Elladan.
          “The alloy used to create the Chariot of the Sun is called milectrum: mithril and gold,”
 Elladan explained. “Illuin is the only weapon made with it. It cannot be broken, melted or bent,
 nor will it chip, tarnish or rust. It can deflect or absorb heat or flames, even dragon fire, and it
 will never lose its edge.”
          Elrohir lifted the last sword from the second loksboks. It was a silver-black blade and it
 had a matching scabbard. “This is its twin, Ormal, the Sword of the Moon. It is made of githril,
 the same metal Aulë used to create the Chariot of the Moon.”
          “Githril is the second mithril alloy, galvorn and mithril. The sword made with it is the
 only one of its kind,” Elladan explained. “It is the lightest, hardest, strongest and sharpest blade
 ever forged in Arda. In moonlight, the bearer is twice as strong as a Man and impervious to
 magic.” He and Elrohir gave these scabbarded swords to Xiang and Pingyang. “You have given
 the House of Telcontar priceless heirlooms and proven your fealty in combat. The servants of the
 King thank you. We ask you to accept these gifts as tokens of our friendship, to honor your
 sacrifices and to thank you for sparring our kingdoms from the devastation of all-out war.”
          Xiang and Pingyang accepted their swords humbly and bowed. Separately, they each
 quietly thanked the twins saying, “Thank you. Thank you.”
          The other princes tried their best to muffle their cheers out of respect for Pingyang and
 Xiang’s losses, and in response to the solemn carriage of their Eastern guests and newly minted
 friends. But while they quietly applauded, a few couldn’t help cheering.
          The twins opened the third loksboks even faster. Elladan lifted up a heavy double-headed
 war axe. “This is Dramborleg. It was the war axe wielded by King Tuor during the fall of
 Gondolin. No armor can stop its blades and no foe can survive its bite. Wielding Dramborleg,
 Tuor slew five winged Balrog Lords and thereby saved his people.”
          “It has been treasured for ten thousand years,” Elrohir told them. “It has survived the
 Falls of Gondolin, Beleriand and Númenor, yet it has always found a way. It is one of the most
 precious Heirlooms of the House of Elendil.”
          Elrohir lifted one of the largest black galvorn ring-mail shirts from an iron mesh girdle
 and followed his brother. Elladan approached the faces of the expectant princes. Each one
 wondered who was going to get the fabled galvorn mail and double-bladed weapon. Each

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 envisioned themselves cleaving Balrog Lords and fire-breathing dragons. Elladan stood before
 them. Silently looking past them, they stepped aside. He walked through their ranks and gave the
 great war axe of Tuor to Manus Tarqus, son of Oduduwa, trader from Greater Harad.
         “Me?” Manus asked. He hefted the heavy war axe and accepted the mail shirt.
         “Congratulations, my friend!” Eldarion said. He clapped Manus’ shoulders and clapped
 while the others cheered and applauded. “We would not be here if not for you! I hope we live to
 see our journeys through to their ends, together. I esteem your good cheer and great strength, and
 prize you and your companion’s skill at arms!”
         “No one here is better suited to this weapon, nor more deserving,” Elladan said. “Many
 are the untold tales of the journeys and battles of Manus Tarqus, son of Oduduwa, fought in
 every corner of the world. Yet greater are the deeds and battles lying before you, still to be done
 and won, if you persevere.”
         “Dramborleg will serve you well,” Elrohir told him. “You will wield it with your great
 strength and aid its bitter bite better than any other warrior or prince assembled here. Use it well
 against this gathering of Evil we now face in this last great War of the Rings.”
         From the loksboks, Elrohir drew a black-scabbarded black blade. “This is Dagmor, the
 Slayer of Darkness. It is the only galvorn blade forged by Eöl to survive the Fall of Beleriand. It
 was given to Beren, son of Barahir, lover of Lúthien.”
         “It was he who took from Morgoth’s iron crown the Silmaril, so they could wed,”
 Elladan told them. “Their descendants founded the House of Númenor. No Evil thing, Shadow or
 Dark Enchantment can withstand the stroke of Dagmor.”
         Eldarion was certain this sword was intended for him. Elrohir gave it to Alatar.
         “Thank you,” Alatar said bowing, surprised to receive the last of the loksboks blades.
         From another wire mesh girdle, Elladan retrieved a long, exquisitely balanced short
 sword with a broad blade. It was pointed, double-edged and encased in a mithril sheath. He
 kneeled before Elanor. “Lady Elanor, Handmaiden to the High Queen Arwen, this is yours.”
         “What is it?” she asked, accepting the short sword that to her served as a broadsword.
         “This is Eket, the short dagger-like stabbing sword worn by Isildur during the War of the
 Last Alliance,” Elrohir answered. “With Eket, he slew many terrible foes and brandished it
 before the walls of Barad-dûr. While facing the Dark Lord Sauron, it blocked the Necromancer’s
 most powerful weapons without breaking.”
         “Are you sure it should go to me?” Elanor asked. She looked at Fastred and Theo.
         “When Isildur swam into the Anduin, fleeing Orcs at the Gladden Fields, he invisibly
 wore Oialëhén,” Elladan explained. “He disdained every weapon, except this.”
         “But I don’t know how to use a sword,” Elanor protested.
         “So expertly balanced is this blade,” Elrohir told her, “with minimal training, in your
 hands it will seem alive. Let it guide you during battle and it will never let you fail.”
         She bowed her head and curtsied. “Thank you, Prince Elladan, Prince Elrohir.”
         Everyone cheered and applauded, amazed by the myriad wonders. They pondered the
 adventures before them, more than a little scared.
         “These legendary weapons are not trophies, nor given to the unworthy,” Elladan said.
 “Too often the price of their power was paid with the lives of the people who wielded them.”
         “As their bearers,” Elrohir explained, “this is part of the responsibility you were born
 with, have long ago shouldered or must now accept.”
         Murmurs of assent and approval rose throughout the group and everyone nodded.



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          The loksboks were empty. No ornately decorated or rune-engraved scabbards or swords
 were left and the group began breaking up. The princes started ordering and recording the
 remaining treasures before calling their men-at-arms to pack and carry them out.
          “Uncles,” Eldarion said, smiling politely, yet feeling somehow forgotten. He hadn’t
 received a weapon to replace the ones destroyed while fighting the Nazgûl. “Please, excuse me. I
 must go and find a discarded sword on the plains of the Weather Hills.”
          “We have not forgotten you,” Elladan said, smiling.
          “Our most worthy and beloved Prince,” Elrohir added, nodding.
          The others fell silent and returned to where they had been standing, giving the twins their
 undivided attention.
          The Elvish brothers went to the third and highest level. A little apart, they faced each
 other and each one pressed a hidden panel. On the wall, the outline of a secret door appeared.
 Black at first, the outline began to glow. Outside the glowing lines at shoulder level, the outlines
 of two small ten-inch cubes appeared, then pivoted on metal rods. The cubes were so well-
 crafted, the hollow stones swiveled open noiselessly. Each cube contained an eight-inch metal
 figure in the shape of mechanical armored Men. They were made of bronze with riveted bands of
 iron, brass and copper going around their foreheads, throats, thick arms, waists, big legs and big
 sturdy feet. The thick soles of their heavy boots were made of lead. The metal puppets moved
 with highly specific motions, as if suspended on strings.
          But there were no strings.
          In their big strong iron hands were brass bugles. They set them against their copper lips,
 as if they blew. From deep in their chests rose the notes of a rousing song.
          “What are they?” Elanor asked.
          “These are Autono-men!” Manus told her. “I have seen them many times. They are found
 in the south of Hither on the southern tip of South Harad. They can also be found in the East of
 Kalórmë just East of Hildória, beyond the eastern edge of the East Sea.”
          “We have them in Hildor and Oronto, in Murmenalda,” Pingyang said. “In the Royal
 Palace of Qubing, I received one as a gift from my grandfather when a child. So delightful are
 their melodies, I have faithfully replaced broken parts and kept it repaired and fair. Mine is
 polished and burnished bright, a delight to the eye and ear. They are very precious things.”
          The Autono-men opened. In the center of each eight-inch figures from under its gears and
 springs stepped a six-inch Autono-man. They too blew their horns and opened. Two four-inch
 Autono-men stepped out and blew their horns. These opened, releasing two-inch Autono-men
 who proudly marched out and joined the others, completing the ever higher and happy song.
          The smallest Autono-men were immediately swallowed by the larger ones, one after
 another. The rejoined eight-inch Autono-men completed their march inside the blocks of stone.
          The blocks swung shut and their outlines vanished.
          The dark outlines of two large doors appeared on each side of a ten-foot door. They were
 just as big, ten-feet tall. The outside doors swung open on greased and soundless hinges.
          Through the open door on the left marched a larger than life, eight-foot tall, iron, brass
 and copper Autono-man. He wore the golden crown of a king. Pressed against his copper lips
 was a golden horn. From his chest in a lower and louder key came the triumphal song of the tiny
 Autono-men. It was full and deep, and echoed off the wall – the Song of Kings.
          He marched proudly past the center door and entered the open door on the right. Passing
 Elanor whose gift was Sight, she thought she saw the lifeless, calculating, mechanical eyes of the
 Autono-man King on her and her Ring. They also found Elboron, Celendrian, Eldarion, Alatar,

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 Elladan and Elrohir. She second guessed herself as to why he singled them out or even if he did,
 so swiftly had it happened. In the second door, the Autono-man King marched down a staircase
 into the depths and completed his song. The top of his golden crown descended, passing from
 sight and his heavy mechanical steps faded. The doors closed and the bright lines vanished.
          The center door swung open, revealing an ornate Fëanorian Lamp on a golden chain
 hanging from the small room’s ceiling. It glowed with a golden light, the only one. A metal stand
 displayed a mirror-bright reflective silver-white mithril helm and ring mail. It was studded with
 dazzling white gems. It gleamed and glittered, as bright as stars on Midsummer’s Night. Below
 the bright ring mail lay a blue-white shield set with silima crystals, glittering with a pale blue
 light. On a golden baldric in a silma sheath, the hilt of a githril sword glittered as bright as ice.
          Eldarion’s eyes grew wide.
          “This is the mail of Fingolfin, his shield named Helcar and his sword called Ringil,”
 Elrohir told them. He lifted the baldric and brought the scabbarded sword to Eldarion.
          Elladan brought the silver-white helm and mail, and the blue-white shield. “They were
 recovered from the Cairn on the peak of Neldëchoriath above Gondolin, by King Tuor. The
 shield, helm and armor were forged by Fëanor, for the great Elven High King Fingolfin.”
          “He wore them during the War with Morgoth,” Elrohir said. “Ringil was forged by Eöl
 and enchanted by the Valar to absorb, deflect or cleave any spell in Arda, save Ilúvatar’s own.
 Fingolfin wore Ringil while at war in Angband, slaying many orcs and Balrog Lords.”
          “None could breach his armor or stand against his sword,” Elladan explained. “He fought
 Morgoth longer and more savagely than any before or since. Seven times, Fingolfin wounded
 Morgoth. On the brink of death, the Dark Lord leaped up and brought his cudgel down.”
          “Fingolfin leaped aside, but Morgoth caught him and crushed the Elvish King beneath his
 boots,” Elrohir told them. “Before he died, Fingolfin stabbed Morgoth’s foot and the Dark Lord
 was forever lame.” He kneeled before Eldarion. “This hallowed blade is yours, my future King.”
          For a moment, Eldarion’s composure left him. He gaped at Helcar and Ringil. When his
 self-possession returned, reverently, he lifted the shield and baldric. Drawing the blade, the air
 grew cold and his breath misted. The blade glittered like ice with the light of winter stars.
          “Ringil means ‘Cold-Star’ in Sindarin, a fitting name,” Eldarion said. He sheathed Ringil
 and hugged his uncles, unmindful of protocol before other princes. “Thank you, tyenya. Now,
 having made such kingly gifts, you must also arm yourselves.”
          “We shall,” Elladan said. Picking up two quivers of black clothesline arrows, Elrohir
 lifted a matching longbow. Elladan gave the quivers to Elerith. “Well you used the Nazgûl dart,
 yet these are better. Númenórean swords or spears were not feared the most. It was their hails of
 arrows. These are named Dailir. They were used by Bregor, forefather of Beren and Túrin. He
 never failed to recover them in battle. The secret of why his arrows never broke is because they
 were forged by Eöl of galvorn. Bregor was called Cúthalion, ‘Strongbow,’ thus I christen you.”
          “The foes of Númenor cried, ‘The men of the Sea send before them a great cloud, as rain
 turned to serpents, or a black hail tipped with steel!’” Elrohir said, handing her the bow. “This is
 Belthronding, the hollowed galvorn and mithril compound Bow of Bregor, of the House of Bëor.
 It was the most renowned in Númenor. Larger than others, its hollow arrows strike harder than
 crossbow bolts, yet the string pulls light as a harp. They can be disassembled and hidden, and
 contain secret weapons to surprise your enemies. They will you serve you better than any other.”
          “Thank you, uncles!” Elerith cried. She hugged them both, amazed and delighted.
          The twins went to the back of the Treasury. Behind the staircase were suits of Elven
 armor, bows and arrows, swords and helms. They singled out two curved blades.

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         “These are Elvish Lhang swords,” Elladan said. He picked one up, inlaid with gold.
 “Expertly balanced, they require minimal energy. Their long handles perfectly fit our hands. We
 can wield them with one or both hands and swing in any direction. These are the swords we were
 raised wielding. The Galadhrim and High Elves esteem Lhang swords above all others.”
         They each took a saber and strapped them on their backs diagonally over their Lhang
 swords. The pommels rose over opposite shoulders, easily within reach.
         “These Elven Lord Sabers have shorter hilts and are easier to use while riding horses,”
 Elrohir told them. “This is the fighting style we favored in Imladris. Arwen and we prefer these.”
          On the top tier were matching suits of Elvish mithril armor and two scabbarded blades.
 They donned the armor and fastened the blades to their sword belts.
         Elladan explained, “These are the unique identical twin Elven Lord Sabers forged at the
 direction of Thranduil, the Elvish King of Mirkwood. They share a single name: Hadhafang.
 Forged from a single piece of mithril, it was hollowed out and engraved with runes of ithildin
 and gold. These are the blades we were destined to wield in this last great War of the Rings.”
         Finally they took from the wall, four pre-assembled double-bladed polearms, carved from
 greenwood shafts. They bore matching curved Elven blades on both ends, forged of bronzed
 steel. The twins spun them parallel to their bodies, holding the handles in the middle of the shafts
 below their waists, the best-armed Elvish warriors in all of Middle-earth.
         “For those of you who wish,” Elladan pointed out. “Here there are mithril and galvorn
 swords and helms, shields and armor, lances and spears.”
         “Complete your armor and armaments,” Elrohir told them. “As you see fit.”
         Ælfwine and his sisters began looking over the various girdles fitted with arms and
 armor. They were quickly joined by the others. It was not long before everyone had completed
 their gear. Their men-at-arms were called and they started boxing the rest of the treasures.
         With their love of exploring holes, the hobbits searched every corner of the Treasury.
         Fastred found a small loksboks at the top. He took it to Eldarion, who gave it to the twins.
 They opened it. Inside were intricate and beautiful, mithril fillets designed to be worn across the
 forehead. Each was styled differently and all were set with a single dazzlingly white gem.
         “These were made in Númenor,” Elladan told Eldarion. “They are the symbol of
 authority worn by Númenórean kings, since the time of Aldarion.”
         “Can I have one of those?” Fastred asked. The twins looked at him. “It’s not for me!
 Uhm… this is a ‘Fellowship of the King’ secret. Is that alright?”
         Eldarion smiled. “Yes, Fastred. Agreed. Go on.”
         “Well… there’s a certain maiden hobbit I’m thinking I might ask one day to marry me”
 he said. “Not today! But someday when the time is right, it would be the perfect betrothal gift.”
         “It is a magnificent idea,” Eldarion told him. “Take whichever one you want.”
         Fastred dug through the box and withdrew the one at the bottom. It held the most
 beautiful white gem any of them had ever seen. He folded the intricate mithril filigree and put it
 in a pouch under his shirt. “Thank you!”
         Grateful and delighted, Fastred bowed and left. Ascending the stone steps, he joined the
 other hobbits near the top of the treasury.
         When he was out of earshot, the twins stepped over to Eldarion.
         Elladan asked politely, but confused. “Tell us again: who is this – Fastred, son of
 Folcred… and where did you meet?”

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                                          Chapter 7




                        The Coming Of The Collocoll




         “Rivendell is full of Easterlings,” Eldarion told his friends. He stood inside the ring of
 stones on the flat crest of Weathertop. “Our only hope to save the Queen is with a small strike
 force. One that can get in and out of Rivendell, without Glorfindel or Thüringel knowing.”
         “It sounds like a suicide mission,” Idris said, scornfully. She was angry, being the only
 one revived using athelas instead of the Waters of Awakening.
         “I would never demand anyone to accompany me on this mission,” Eldarion told her.
         Everyone else raised their hands, volunteering to go.
         “Who will be on this strike force?” Manus asked. He looked around at all the hands.
         “My uncles were born there,” Eldarion answered. “Queen Arwen is their sister and
 Imladris is their home. They know it better than anyone. Of all here assembled, Alatar is best
 suited to aid them. For reasons I cannot explain, at least one – ”
         Theo cleared his throat.
         “ – three, of our five intrepid hobbits, will accompany them.”
         “Hobbits, elves and wizards,” Elboron observed. “There’s a missing element.”
         “I began this journey with my uncles,” Eldarion told him. “The Queen is in danger
 because they are her brothers and she is my mother. The seven of us will finish this together.”
         “How would you advise the rest of us?” Xiang asked, his hand on the hilt of his new
 golden sword.
         “Celendrian will lead you and your armies under cover of darkness,” he answered.
         “In the coming battle,” Celendrian affirmed, “we will need every one of you and your
 men-at-arms.”
         “Where will we all be going?” Malvia asked.


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        “The borders of Rivendell end at the Loudwater River and the Great East Road,” Elladan
 answered.
        “Stay south of them until you see our signal,” Elrohir advised. “Then attack.”
        “What will be this signal?” Pingyang asked.
        “We dare not explain,” Elladan responded.
        “Though rest assured,” Elrohir told her, smiling. “You will undoubtedly recognize it
 when it comes.”



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          Theo and Fastred were packing their things onto their ponies by their small fire, the night
 before their departure. Theo secured Sting and Fastred packed up some rope. Sam approached
 them with a sword, his mithril coat and two small rune-engraved mithril shields.
          He gave Theo one of the shields and his freshly burnished coat. “There’s a small hole
 here with no time to mend. You should be alright. Another arrow would have to hit this exact
 same spot to hurt you. Eldarion noticed neither of you took any weapons to complete your
 armaments, so he picked these out himself.”
          “I don’t know what to say,” Theo said. He cradled the shield and mithril coat. “We’ll be
 sure to thank Eldarion.” He bowed. “Thank you, Sam.”
          Sam handed Fastred the other shield and his Barrow-blade. “There weren’t any ring-mail
 shirts, plate-armor or helms small enough for hobbits. Since Elanor now has Eket, she agreed this
 should go to you.”
          Fastred cradled the shield and Sam’s Barrow-blade in his arms. He bowed humbly.
 “Thank you, Sam. I’m afraid I don’t know how to use them. I’ll try and learn as best I can.”
          Sam put his hand on Theo’s shoulder. “I’d like you to teach Fastred everything
 Eldarion’s been teaching you. We hobbits can easily get overlooked. We need to stick together.”



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        A small group gathered around Eldarion. They were far from the firelight of the campfire
 and the hearing of the others. Elanor, Elboron, Niphredil, Celendrian and Elerith stood fanned
 out around him. He loaded his gear onto his horse, surrounded by his kin and closest friends.
        “I cannot stand the thought of mother in a dungeon,” he told them.
        “She saw you in the palantír,” Elanor said. “She knows you’re coming.”
        The tension in his shoulders eased. “I should have realized. It is just, I am so very worried
 they will harm her… and it will be my fault.”
        “Thüringel is crazy,” Elerith told him. “Your words didn’t change anything.”



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         “They’re right,” Celendrian affirmed. “Remember how we could never keep a secret
 from mother? She knew before you did that you’d be coming to save her.”
         “I did keep a secret from her once,” Eldarion mused. “Yet I was so afraid she would
 discover it, I told her the secret and that I had tried to keep it from her. I never tried again.”
         Sharing these intimate conversations, Elanor was amazed he had embraced her as part of
 his inner circle, just as his sisters had long ago in the Shire. “What was the secret?”
          “Having learned of Rings of Power, I heard rumors some might be in the Palace,” he
 answered. “I went to father, demanding one.”
         “Oh…” Elerith said. “You should have known how he’d react to something like that.”
         “Obviously, I did not get one,” he recalled, smiling. “Father took away my horses and
 told me to return to my studies, so I complained about our tutors.”
         “We all did,” Celendrian told him.
         “I believe I was the first,” he admitted. “Caught off guard, father confided our tutors had
 extracted a promise that neither he nor mother would interfere in our educations.”
         “That was a mistake,” Elboron noted.
          “What happened?” Elanor asked.
         “Mother dismissed them all,” he answered. “And it was my fault.
         “Why was it your fault?” Niphredil asked.
         “I told her what father said,” he answered. “I played our parents against each other to get
 the tutors I preferred: Elladan and Elrohir.”
         Elanor laughed. “I’m sorry! I’m not laughing at you. It’s just – you look so distressed.
 Every child plays their parents against each other.”
         “That… may actually be true,” he said, with dawning comprehension. “However, it is not
 acceptable behavior for the Crown Prince and Heir to the Throne.”
         Celendrian grabbed Eldarion’s hair and told Elanor, “The Hair to the Throne!”
         She smiled uncertainly. “I’m not… sure I understand.”
         “When I was a boy,” Eldarion explained. “I hated the barbers my mother chose, so I
 would not allow anyone to cut my hair. It grew long, until Celendrian offered and I accepted.”
         “I did a good job,” Celendrian told him.
         “The best,” Eldarion affirmed. “I always prefer Celendrian to cut my hair. Though now,
 she refuses.”
         “I don’t refuse,” she countered, looking at her nails. “It’s just – your barbering times have
 become inconvenient.”
         “The first time,” Eldarion related, smiling at the memory, “Elerith watched. When
 Celendrian was done, she picked up a handful of my shorn hair and announced – ”
         The three of them chimed together: “The Hair to the Throne!”
         “Speaking of haircuts,” Niphredil told him. “You need one.”
         “I know,” Celendrian agreed. “I’m tempted to give him one right now.”
         “I wish you would,” he responded. “I feel self-conscious before our royal guests.”
         “It’s not our royal guests he’s self-conscious in front of,” Elboron told them, laughing.
 “It’s the Princess Pingyang!”
         Everyone’s eyes went up and they turned to Eldarion.
         “I do confess,” he said, blushing, “I find Pingyang – intriguing.”
         “There’s nothing to be embarrassed about,” Elboron told him. He laughed again and
 slapping Eldarion’s back. “She’s the mostest!”
         “Mostest isn’t a word,” Celendrian said, rolling her eyes.

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         “Yes it is,” he responded. “I just made it up.”
         “You can’t just ‘make up’ words,” she insisted.
         “Of course I can,” he told her. “You do it all the time.”
         “When have I ever made up a word?” she asked.
         “‘Oh, Elboron,’” he answered, in a terribly high-pitched imitation of her voice. “‘No, not
 tonight. I’m just the tiredest I’ve ever been. Oh, and would you please be a dear, and take my
 scraps to the feeding pens on the way to your tent?’”
         Eldarion tried the hardest (the mostest, of all five of them) not to laugh. But after Elanor
 broke down, he couldn’t stop himself and he burst out laughing too.
         Celendrian stormed off.
         “That’s not like her,” Elboron said, recovering from the giggles. “She usually laughs at
 my jokes harder than anyone.”
         “She hasn’t been the same since Orthanc,” Niphredil reminded.
         Elboron nodded and moved to follow her. Eldarion put his hand on the prince’s arm. “My
 friend, I think perhaps this time, it might be best if I speak with her first.”
         Elboron realized he was right and nodded. Eldarion went after his sister.



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        She hadn’t gone far. He didn’t think she would. He found her sitting on an outcropping of
 rock. She was looking up at the stars. A bright shooting star lanced across the sky and she started
 singing a song he hadn’t heard since they were children:



                               From the ground the mist slowly rises
                                       Enshrouding the land in a fold
                               Of the cloak which Night traverses in that
                                       When the stars were young was old


                               Above the stars are shining
                                      Innumerable and bright
                               Piercing the Cloak of Darkness
                                      With their Valarin light


                               They glitter like gems in jewelry
                                      Fair diamonds the Night loves to wear
                               Their prismic beauty gracefully lies
                                      Beyond all earthly compare



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                                Once in a while one reaches
                                       The end of its life in the sky
                                Leaving its place in Tarmenel
                                       It plummets to Middle-earth to die


                                As it falls it brings inspiration
                                         For a story, a song or a sonnet
                                Or for Children who stare and whisper a prayer
                                         Entrusting their wishes upon it



         “That was beautifully sung. Your voice is as lovely as ever,” he said. Sitting down beside
 her, he lifted his long arm and pointed up at the sky. “See that bright one rising in the West? It is
 Eärendil’s Star… remember?”
         “I remember Eärendil,” she told him. “He wasn’t the sort… one could easily forget.”
         He waited.
         “A lot’s happened since we left home,” she said.
         “To both of us,” he responded.
         “You and your new friends seem quite comfortable talking about Rings of Power,” she
 told him. Holding up her left hand, she displayed Anqaúrë.
         “The tone for that was established between Alatar and Elanor before we met,” he
 responded, holding up his left hand and displaying Rómhandë. “I felt it would be inappropriate,
 lecturing an Istari and Ringbearer, on mother’s strictures against discussing Rings.”
         “That was probably best,” she affirmed. “Sometimes, the less of mother the better.”
         “In the event, it was invaluable,” he told her. “Secrets were shared which proved
 decisive. Most incredibly, Círdan has given Fastred a Stone from the Shroud of Túrin!”
         “I wondered what that was he used to free the Dodecs,” she said. “I didn’t know there
 were loose Stones from the Shroud. It explains how you’ve been hiding from our palantír.”
         “‘Our palantír’?” he asked.
         “We took the Orthanc-stone,” she told him. “Don’t look so shocked. Without it, we
 wouldn’t have known you were danger… or arrived in time to save you.”
         “Then I most heartily approve,” he said, leaning towards her and smiling. “Thank you.”
         “I wish I could take the credit,” she told him. “It was mother’s idea.”
         “Her directness and lack of patience grates on almost everyone,” Eldarion said. “Yet
 where would we be without mother. Have you given Elboron access to the Stone?”
         “No, nor do I intend to,” she told him. “Elboron isn’t going to be getting anything from
 me – for quite some time.”
         He laughed and she did too. It felt good to find their footing with each other again.
         “You mustn’t judge him too harshly,” Eldarion told her. “He is in love with you and
 accustomed to getting his way at home. With us, he feels he must be careful of our relationships,
 while never being less than our most devoted friend. Tonight, he asked if you had come to me
 and had him barred from our group traveling north, to protect him.”
         “He needn’t have bothered,” she said. “I won’t try protecting him again.”

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         “Not even Fastred would believe that,” he told her. “Right now, you are just upset.”
         She hugged him and held onto his waist. “You’re quite fond of your new friends.”
         “I believe you will find them as delightful a group as I have,” he said. Wrapping them in
 his cloak, he put his arm around her, “But you are my sister. The place you hold in my heart
 compares to no other.” For a long time they sat in a comfortable silence, staring up at the stars.
         “Remember when we used to dream of growing up and finding Rings of Power?” she
 asked. “And using them to defeat dreaded foes!”
         “If memory serves me,” he responded, “I believe Elboron and Elerith were usually the
 sources of those more romantic ideas of conflict.”
         “True,” she said. “There didn’t seem to be a point in doing mother’s work and killing all
 their fun.”
         “Now the reality is upon us,” he told her.
         “It’s not fun at all,” she responded.
         “Something has happened,” he noted. “To upset you… profoundly.”
         “I know we’re not supposed to say anything…”
         “You and I can share whatever we wish,” he told her. “Mother’s strictures – or not. I trust
 our bond as much as Elladan and Elrohir trust theirs.”
         “There’s a lot more to their bond than meets the eye,” she told him.
         “I have always assumed there is,” he affirmed.
         Against the explicit instructions of their mother, repeated since they were children,
 Celendrian unburdened herself, telling him everything that had happened since they left home.
         He listened patiently, holding her when she cried. He didn’t try to fix the problems she
 described, he just listened, sitting with his arm around her, paying close attention. Sometimes he
 asked questions. Above all, he made it clear he loved her and would always be here for her, her
 steadfast rock of support.



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         Glorfindel entered Arwen’s cell alone. The heavy iron door clanged shut behind him.
         The Queen remained impassive.
         “Yes,” he said. “That’s precisely how you did it when we all lived here together.”
         “It does not matter what you have come for,” she told him. “I will tell you nothing.”
         “You are quite mistaken,” he informed her. “On all counts.”
         “Elladan and Elrohir will destroy you,” she said. “Your Rings of Power, or no Rings.”
         “I am certain they will try with their own ‘Rings of Power, or no Rings,’” he said. “Yes. I
 did enjoy that look of surprise. I remember well, such victories over you are rare. I’m also
 preparing a few surprises for them. When they arrive, they won’t be expecting what they find.”
         The guards standing at attention outside the Queen’s cell heard her scream. They didn’t
 dare disobey Glorfindel’s commands and look inside.




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          The twins shouldered their packs. They led Eldarion, Alatar and the hobbits to the mouth
 of a cave at the foot of the western slope of mount Andrath. Recently run dry, a depression at the
 entrance had been a flowing stream.
          “May we again switch Rings?” Eldarion asked Elanor. They did and he peered into the
 shadows. “I cannot see the depths. I felt certain I should be able to with your Ring.”
          “There is no need to be concerned,” Elladan told him. “Elrohir and I have been through
 these caves before.”
          “Why are you worried?” Elrohir asked. “We thought you liked caves. Did you not write a
 poem about wanting to go adventuring in one?”
          “I did write a poem,” Eldarion responded. “It was about wanting to escape a cave.”
          “Oh, can we hear it before going into this one?” Elanor asked. “Please? It would lift my
 spirits and make this easier.”
          “Well…” Eldarion responded. He regarded his uncles with a less-than-grateful look.
 “Only for you, Lady Elanor. I was very young when I wrote this, perhaps a bit impatient to grow
 up, and feeling more, the burdens of my position, rather than the privileges.”



                               Am I a gem that is possessed
                                      By caves within the sea
                               A fragrant flower however bright
                                      That people will not see


                               Am I a man who'll not see dreams
                                      Become reality
                               What are the glories I could have had
                                      That never came to be


                               How many lovers have I lost
                                    That I have never had
                               How many questions can I ask
                                    Without me going mad


                               How many lives, how many deaths
                                      And yes, how many births
                               Are greater or more tragic
                                      On how many Middle-earths




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                               For when in space and where in time
                                      Have I successfully
                               Both sought and found, then finally lived
                                      My chosen destiny


                               Why can't this then be the world
                                      Where I can catch a wave
                               And escape the stifling darkness
                                      That is with me in this cave



         “That was better than the first one,” Elanor told him. “Thank you for sharing it.”
         “It seems kind of strange,” Theo remarked. “If we come through this cave and are
 successful on the other side, this will become the world you wanted to live in.”
         “Let’s not attach too much more significance to this particular expedition,” Alatar said.
 “It already has more than enough.”
         They took the covers off their Fëanorian Lamps and the twins led them into darkness.
         “How long will it take us to get through?” Fastred asked, fearfully looking into the cave.
 “Hobbits prefer to live in holes, but personally, I don’t like being too far underground.”
         “One day,” Elladan answered. “Perhaps two at most.”
         “The walls of the gorge protecting Imladris are high and steep,” Elrohir told him. “Yet far
 less wide than the Misty Mountains.”
         The dry streambed was uneven and winding, though mostly flat. They made good time.
 After two hours, they came to a wide bend. Rounding the corner, in the center of a large cavern
 stood the figure of a man. He faced them with his arms at his sides, motionless, silent and alone.
 He was curiously dressed in smooth, grayish-green sleek form-fitting clothes, not much bulkier
 than if he’d been wearing little more than his own skin. The light from their Lamps glinted and
 glittered off the surfaces. They were covered with small scales, like a fish.
         He was tall and fair. His high cheekbones, square chin and long thick black hair recalled
 the bearing and likeness of figures carved in stone by Drendelen. Those statues could still be
 found in the cities of Arnor and Gondor, of Númenóreans. They could see he was breathing. His
 chest rose and fell. But his unblemished skin was marble white. Below his forehead and above
 his nose, the white skin was smooth and seamless – he had no eyes.
         “Long has it been since surface dwellers used the Road winding through Euthyria,” he
 said. “It was prophesied when the Globse River in the western Abyss runs dry, strangers would
 come bearing great news and greater need. It must be true if you dare the paths of the collocoll.”
         “I am Elladan of the Elves and this, my brother Elrohir,” he told the collocoll. “We are
 the sons of Elrond Peredhel. He was once known as the Lord of Imladris, ruler of the lands on
 the far side of your cavern halls. We came among your people many years ago. Though it was
 long before any were born who now live in the towns and cavity streets of your kingdoms.”
         “Hopefully,” Elrohir added, “some history endures and records that when last we met, we
 met as friends.”
         “You are Elladan and Elrohir… the Elvish twins of legend?” the stranger asked.



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         “We are,” Elrohir answered, stepping forward. “Our friend, the collocoll King Spelen,
 was kind when first we came. Though his people have doubtless sent him on The Great Voyage
 long ago, in your waters of eternal rest whose fathomless depths have no bottom.”
         The stranger raised his empty palms, holding them straight out from his sides to show he
 was unarmed. “I am Calcarin, a translator, son of Hydrochous, a collocoll of Ferrumequinum.
 We serve King Helvum and Queen Mederma. What brings you to the Kingdom of Collocolly?”
         “Our father departed on his own Great Voyage and shall not return,” Elladan answered.
 “Our lands are now held against us by a Usurper. We request permission to cross your borders so
 we may reclaim our ancestral home.”
         Another tall red-haired white-skinned similarly dressed and eyeless collocoll, making
 curious clacking sounds, ran to Calcarin from beyond their lamplight. “They cannot enter!”
         “What is wrong?” Calcarin asked. The other refused to answer. “This is Stygobromus,
 Son of Parnel, Warden of the Western Abyss of Collocolly. Only by his leave may you pass our
 borders.” He turned to Stygobromus. “These are the Elven twins of legend, Elladan and Elrohir,
 returned at last! As foretold by our forefathers, the time of our deliverance has come!”
         “If this is true, I will not gainsay you,” Stygobromus told him. “The twins and their
 friends may enter, except him.” Without looking, he pointed a finger like an accusation at Alatar.
         “What?” Eldarion asked.
         “What do you know of me?” the wizard asked. “I am Alatar the Blue, a Wizard of Aman.
 I come in peace to aid Collocoll, Hobbits, Men and Elves alike in Middle-earth.”
         “We are not in Middle-earth,” Stygobromus said, scornfully. “This is Under-earth! The
 oceans and lands of Euthyria are many times more vast than you surface dwellers imagine. Yet
 we have no room for an abomination like you!” He turned to Calcarin. “Do you not hear?”
         “I do,” Calcarin answered. “Listen closer. Beneath the pain, do you not hear… the
 beauty?” He made the same sort of clacking noises in his throat, then pointed without looking,
 just as Stygobromus had, one after another at Elladan, Elrohir, Eldarion and Elanor.
         “What do you hear, my friends?” Eldarion asked. He stepped up even with the twins.
         “From his twisted heart,” Stygobromus shouted, pointing at Alatar. “The Song of Pain!”
         “Ah,” the wizard said. He withdrew from inside his breast pocket, Ngwalmë, Sauron’s
 Ring of Torment, Torture and Pain. It glowed with a black Star Diopside stone. “You mean this.”
         “Cast it out!” Stygobromus shouted. He covered his ears with his hands. “You bring Evil
 to Euthyria! Cast it from the cavern before you drive our people mad!”
         From deep within the cave came a cacophony of clacking, followed by two companies of
 collocoll soldiers. They were dressed for combat in turtle shell helms, shields and armor. They
 carried ingeniously designed spears and swords of finely crafted and razor sharp-edged stone.
 Forming two lines behind Stygobromus and Calcarin, they held their weapons at the ready.
         “I’m sorry,” Alatar said. His robes glinted silver-blue and glowed. He gestured and spoke
 a series of commands. His staff glowed bright and all went dark. “I didn’t know.”
         The imperishable blue light in their Fëanorian Lamps sputtered back to life. The collocoll
 made a torrent of clacks. They lowered their hands and their faces filled with wonder.
         “I heard the music, yet the Song of Pain was so loud. But now…” Stygobromus couldn’t
 finish. A drop of water, clear and bright, dripped from his nose. First one, then another, then
 many more. He and the collocoll soldiers cried. Their tears poured from their noses and dripped
 off their chins. “The melodies are… so beautiful.”
         Alatar lifted his staff and spoke more commands. Another moment of darkness came and
 went. The soldiers stilled their tears and wiped their noses.

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          “I will lead you to King Helvum and Queen Mederma,” Stygobromus said. “Perhaps as
 Calcarin hopes, the time has come and your arrival begins the fulfillment of the prophesy.”
          The collocoll clacks sounded like a cross between clearing throats and the chirps of
 exceptionally large crickets. The soldiers formed two companies. One led Stygobromus,
 Calcarin, Eldarion, Alatar, the twins and hobbits. The second came behind them.
          They walked on winding paths through many caverns. Elanor realized if she became
 separated from her friends, she would never be able to retrace their steps and find her way back
 out. She was grateful their collocoll escorts guided in front and watched out for them behind.
          They passed through a cavern whose walls were covered in gems. Their Fëanorian Lamps
 shined over them, dazzling bright. Different bands of colors glowed in a single stone, displaying
 every color they’d ever seen and many more they couldn’t name, nor had even imagined.
          As they passed the gems, the colors changed. They seemed to flow and grow with every
 step and movement of their Lamps. Their iridescent beauty flared to life as bright as fire.
          “What are those?” Elanor asked, amazed. No one knew.
          “I bet if we sold them in Bree,” Fastred told her, “we’d be richer than Dwarves!”
          “You cannot take the stones of Euthyria,” Stygobromus admonished. “We cast thieves
 into the pits which have no bottoms.”
          “Oh, my!” Elanor exclaimed.
          “What is it?” Theo asked.
          “I just realized,” she answered. “I have to start writing down everything that’s been
 happening to us – and add it to the Red Book!”
          “With all that’s happened,” Theo said. “It’s going to end up being a mighty thick book.”
          “There is doubtless more to come,” Eldarion noted.
          “Then we just might have to make it two books,” she said, happily.
          They passed through another cavern filled with tablet-shaped crystals. They had yellow-
 green scales that seemed to drink the light of their Lamps. Once through, she looked back. The
 crystals glowed green like apples, beckoning her to return to the garden of green stones lying in
 her past, just beyond the light of their Lamps. The green fire seemed to live inside the gems.
          In another cave, majestically faceted crystals weren’t imbedded in the walls: they were
 the walls, roofs, columns, floors and paths. They glowed with a pale yellow light and led to
 jewel-walled chambers. The facets of the crystals formed bejeweled steps rising and descending.
 These led to mammoth and monumental gems, growing in the chambers above and below them.
          “How is it possible for crystals to be this big?” Theo asked.
          “It seems we’ve descended through strange roads into strange lands,” Alatar answered,
 examining the gargantuan crystals. “Stranger than even the wonders of Aman.”
          “I have sometimes wondered what it might be like to have not been born a Prince,”
 Eldarion told them. “There have been great dangers, terrible trials and many hardships. Yet
 experiencing these wonders, I now know for certain, if I had been born into a conventional life, I
 would leave it. I would not trade my life, even with its burdens, for any other.”
          In another cave, crystals as big as buildings filled the floor, rising in columns. They were
 clear as glass, yet hard as stone. Elanor thought they might be ice. Touching one, it felt warm.
 Fastred went around the back so they could see each other through the clear rock. Even though
 the crystal wasn’t faceted nor cut and had no cracks, she saw two Fastreds. The light from his
 Lamp split – leaving tails and spots, trailing lights shooting in every direction. They looked like
 stars flinging traces of the Sun in bright birefringence, passing just beyond their eyes.
          Theo went around the clear rock and joined Fastred on the other side.

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         Elanor saw something different over his head. “What’s that?”
         The others looked: two golden orbs were crossed by two glowing bars of star-like blue
 light, hovering just above his head. It filled him with a pulsing light and revealed a hidden recess
 in the wall behind him, as if he wore a crown of sky leading to more secrets of the Heavens.
         “Theo,” Alatar told him. “Don’t move.”
         Theo froze. They went around the clear rock and approached the glowing orbs, but before
 they reached them, the orbs vanished. They reappeared on the other side of a secret door. It was
 outlined in pulsing gold and blue light, leading to another cave.
         “Are you alright?” Elanor asked.
         “I’m fine,” Theo answered. “But something is calling to me from the other side.”
         The others heard it too.
         “This is the Cave of the Sun,” Calcarin told them. He pointed to ancient drawings above
 the entrance. There were abstract geometric shapes below representations of thirteen ancient
 animals, running across the top. “Our legends say only the twins and their friends may enter.”
         The collocoll soldiers didn’t dare disobey. They all knew the prophesy.
         The twins ushered in their five companions. Eldarion stopped, beckoning to Calcarin and
 Stygobromus. “Come with us, my friends. Let us discover these wonders together.”
         Calcarin and Stygobromus joined them. Outside their escorts waited, clacking fearfully.
         The twins led them through another cave. The stone walls and floor were smooth, but
 uneven and irregular. The walls sloped sleekly on the Road, going this way and that, as if they
 had been formed by water in motion. At the far end, the pale blue light grew brighter.
         Following the slanting floor, they passed a curving wall. The cave’s pale glow went from
 a soft blue to a warm golden light. At the far end, a round entrance was half submerged. The
 opening went down to a glowing golden lake, brightly lit from below. Within it lay a large stone.
         Even with the floor, a flat stone shelf went all the way around a tall, boulder-like stone
 floating in the lake. Its peak rose like a spire, half-submerged in the golden water. The twins led
 them onto the shelf. As soon as they were on, it began to move. Elanor found the change
 disorienting. She would have fallen, but Theo and Fastred took her hands and steadied her.
         “Do not be alarmed,” Elladan told them. “This is a Sailing Stone.”
         “It will take us to The One Who Calls,” Elrohir assured them.
         They sailed smoothly across the still water, out one cave and across an underground lake.
 Entering a larger cave, on the roof high above them, small shapes pulsed with a cold black light.
         “What are they?” Elanor asked.
         “Shadow-worms,” Elladan answered. “They sense evil thoughts.”
         “They fall and devour anyone who thinks them while riding a Sailing Stone,” Elrohir told
 them. “They are here to protect The One Who Calls.”
         On the far shore from under the water rose the slender shoulders of a beautiful woman.
 Her pale hair glowed with a bluish tint and her skin was marble white. She wore long, golden
 gossamer robe belted by a black leather scabbard hanging empty. When she turned to them, her
 golden irises gleamed with an amber glow. Her pupils shone with a brilliant star-like blue.
         She curtsied low, “I am the Lady of the Cave.”
         “What’s your name?’ Alatar asked, bowing. “I am Alatar the Blue, a Wizard of Aman.”
         “Tulúnidil,” she answered. “Keeper of The Secrets Of The Earths.” As she walked up the
 shore, the water stayed behind leaving her raiment and supple skin dry. Before her, the path rose
 along a high golden arch. “Come Morinehtar, child of Oromë. Follow me. You and your
 companions will be the first outside the Valar to enter the Cave of the Sun.”

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          On the other side, a lake enclosed an island bearing a glowing golden grotto. In the center
 sat an oval stone chamber. Above it, a hole in the roof let in a bright shaft of Sun light. It lanced
 straight down onto a rock-hewn table. In the center, a golden hexagonal gem absorbed the light.
          “What is this stone?” Eldarion asked.
          “You are the Crown Prince Eldarion Telcontar, son of the High King Elessar,” Tulúnidil
 told him. “And this is the Sky-Stone.”
          The golden-white light turned black, filling the Sky-stone with a pulsing black light.
          “What’s going on?” Alatar asked.
          “In the sky outside there is an eclipse,” Elladan answered.
          “In those few instances when Arien and Tilion pass, their mingled light is collected here
 by the Sky-stone,” Elrohir explained.
          “The time has come for one of you to carry the Sky-stone to the surface,” she said.
          “We can’t touch it!” Alatar told her. “Its heat would destroy our mortal forms.”
          “Do not fear,” Tulúnidil told him. “I will aid the one I choose to bear the Sky-stone
 without harm. Come Théoden, son of Meriadoc. The hour of your Geomancy has come.”
          “Me?!” Theo asked. “Why me? I can’t bear the heat of a Sky-stone!”
          “You can with this,” Tulúnidil told. She opened the lid of a small blue bowl. It held a
 swirling pool of water. In the center floated a black boat-shaped stone. “This is a dream-pool. It
 bears an onyx Lode-stone. It will absorb the heat and keep you safe.”
          He looked back at his friends. The twins nodded. Trembling, he held out his hand.
 Tulúnidil lifted the dream-pool. Atop the spinning Lode-stone she set the burning Sky-stone. The
 flashing white and black light faded, revealing a glowing hexagonal gem. It was clear, like glass
 with a golden tint. It began spinning faster in the center of the dream-pool, pulsing from black, to
 grey to golden-white. Shutting the lid, she handed the bowl to Theo.
          “What am I supposed to do with it?” Theo asked.
          “For now you must carry it with you and keep it safe,” Tulúnidil told him. “You will
 know when the time comes for you to use the Stone.”
          Fearfully, he nodded and loaded the dream-pool in his pack.
          “Come with me,” she said. Returning to the Sailing Stone, the others followed.
          With everyone aboard, again it moved through the golden water. Sailing into dim grey
 light, they entered another cave. Waterfalls flowed down from the ceiling over close-set crystals
 set in the walls. They were growing in the shapes of every conceivable bladed weapon.
          “This is the Cave of Swords,” Tulúnidil told them. Different colored crystals grew in
 different sections. The Sailing Stone passed a wall of white stone-swords and stopped. In the
 center of the wall before them glowed a single scarlet blade. Grabbing the stone hilt, she loosed
 the blade and withdrew the faintly glowing weapon. “This is the Sword of the Bloodstone.”
          “What does it do?” Alatar asked.
          “Many things,” she answered. “Bloodstone will stir your blood when there is danger and
 give you the courage to face any threat. It wards off enchantments and can cleave spells. The
 scabbard can cleave infection, but the blade has an insatiable thirst for blood. A wound made by
 the Bloodstone will never heal, even if it wounds its bearer. Only someone who has mastered
 their emotions can safely wield the Bloodstone. All others are overcome with bloodlust.”
          “I doubt anyone has truly mastered their emotions,” Eldarion noted.
          “There is one,” she told him. “It is yours Calcarin, son of Hydrochous, if you would not
 refuse the Gifts of the Valar.”



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         For a moment Calcarin was overcome. Then he kneeled and bowed his head. “You know
 better than any other, Lady. Ever have I been your most humble servant.”
         Tulúnidil smiled. Raising the Bloodstone, she pressed the flat of the blade on Calcarin’s
 shoulder. “I knight you a Servant of the Valar, in the name of Ulmo, King of Oceans and Mandë,
 Queen of Fortune. May the Bloodstone serve you well and be mighty in your hands.”
         Sheathing the sword in the scabbard at her waist, she put them in Calcarin’s hands.
         “Thank you, Lady. This is a generous gift,” Calcarin said. He rose and belted the
 scabbarded sword about his own waist. “I pray it brings only honor to your name.”
         The Sailing Stone recommenced its journey. Passing under the Arch of the Sun, they
 sailed across the golden water of the Lake of the Sun. Making a wide circle, the Sailing Stone
 returned to the first chamber and the twins led them ashore. Tulúnidil stayed behind and lifted
 her hand in farewell. The Sailing Stone glided out of the cave and she passed from sight.
         At the other’s request, Calcarin and Theo showed them the Sword of the Bloodstone and
 the Sky-stone. They took turns examining them without touching either. When Calcarin and
 Theo put them away, Stygobromus led them back to their collocoll escorts, who dared not
 question them. Yet they looked at their faces with wonder.
         The group went on, passing through many caves in silence. Soon they reached a cavern
 where columns of branching stalactites grew from the floor beside their path. These were fed
 from above by dripping needle-pointed stones, hanging from the ceiling on many-armed
 branches of stalagmite columns. They looked like one forest of mirrored trees in the ceiling
 feeding another growing from the floor. The downward sloping branches from above and upward
 growing branches far below were filled with tiny crystal needles, as if wanting to be fir trees.
         Covering the floor as if living in a field under the Sun, there grew delicate crystal flowers
 fed from the forest’s branches. Their leaves held splashing mineral patterns blossoming like
 petals. Refracting their lamplight, rainbows sprang from the petals. Light filled the chamber with
 a dazzling display of moving, changing and reflecting prisms dazzling their eyes.
         Elanor reached down to pluck one of the blossoms.
         “Beware!” Stygobromus warned. “Though they appear to you as flowers, those leaf and
 petal edges are made of stone as sharp as knives. If you touch one, it will cut you.”
         “How can you see me?” she asked. “I mean, you don’t have…”
         “Collocoll see,” Elladan told her. “With their ears and the clacking in their throats.
 Echoes tell them things your eyes tell you and many things eyes cannot see.”
         In another cave, the temperature dropped calamitously.
         Elanor shivered. “Why is it suddenly so cold?”
         “We are passing the border of one of the realms of Ulbandi,” Stygobromus answered.
         “What?!” Alatar shouted.
         “I hear you have heard of her,” Calcarin noted. “What do you know?”
         “Ulbandi was the consort of Melkor,” Alatar answered. “After his Fall, her grief and rage
 were so great, in Aman we feared she would not try to conquer Middle-earth as Melkor had, but
 wrack and wreck the world in revenge for the eternal imprisonment of her lover. Instead, she
 stayed in Forodwaith with an Istari of my Order. She conquered the people of the North and
 ruled for Ages, called by them their White Queen, the eternally frozen Queen of Snow.”
         “Unknown to surface dwellers,” Calcarin told him, “Ulbandi forsook those lands and fled
 to Under-earth, waging war against collocoll and conquering kingdoms. Here she is known as the
 Queen of Abominations and Nameless Things. She is also the Queen of Great-worms gnawing



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 the roots of the Earth. Were-worms gnaw the Great Worms which are devoured by Were-flies
 filled with Were-mites. Ulbandi is the Queen of Parasites and Predation.”
         “Our legends say when the Elvish twins return,” Stygobromus added. “Ulbandi will
 forsake our lands and return to Middle-earth, leaving the citizens of Euthyria to live in peace.”
         “How do your legends say we will accomplish this?” Elladan asked.
         “They do not,” Calcarin answered.
         Eldarion thought that he’d vastly prefer it if Ulbandi never returned to Middle-earth.
 Wisely, he said nothing.
         They neared the cavern exit. Warmer currents before them and the colder drafts behind
 created fierce winds. These produced tiny ice crystals joining in midair before their eyes. Some
 crystals were caught in whirling gusts and formed extraordinary and exquisite branching
 snowflakes larger and more intricate than any on the surface.
         On the walls, windswept crystals formed patterns and grew into fragile strings of ice
 waving like ribbons in the wind. Ribbons rose and fell, breaking apart in spectacular flurries.
 Sparkling in the light of their lamps, they filled the tumultuous air with storms of dancing snow
 and ice crystals. Covering their clothes and faces, when they exited, the crystals melted.
         They found themselves at the edge of a mammoth cavern. It was so large, the walls were
 higher than their bright Fëanorian Lamps could illuminate and the light passed out of sight.
         Calcarin told them, “This is the Cave of Khazum-marum. It is the largest in our kingdom.
 Within it lies our cavity of Ferrumequinum, the capital of Collocolly.”
         “That name sounds like a borrowing from Khuzdûl,” Eldarion noted.
         “It is,” Calcarin said. “Do not all languages borrow from each other, growing richer with
 fresh sounds and new ideas?”
         “Well,” Eldarion responded, dryly. “That is what they are supposed to do. Some on the
 surface resent foreign words entering their language, or hearing another culture borrowing
 anything for use in another.”
         “I told you,” Stygobromus admonished Calcarin. “Surface dwellers are insane.”
         “We must deafen your ears,” Calcarin told them.
         “What?” Alatar asked. Then he saw the clay in their hands. “Why?”
         “We are approaching Ferrumequinum,” Calcarin answered. “Our people will come to
 sound you out and they will talk among themselves in great excitement. Rarely have surface
 dwellers ventured so deep into Collocolly. Rarer still do they come to Ferrumequinum. Most
 collocoll have never heard a surface dweller with their own ears. Few know Westron so they will
 speak Collocollese. Unlike your courser tongue, our words are not spoken but sung.”
         “Others have found the songs of the collocoll so enchanting, they were too beautiful to
 bear,” Stygobromus warned. “It drove them mad.”
         No wishing to go mad, they all consented. Calcarin and Stygobromus pulled more of the
 soft substance from the pouches on their belts. It felt like dough. They filled the ears of everyone
 in the company. As the collocoll led them hand-in-hand, all they could hear were the sounds of
 their hearts beating, their lungs breathing and the blood rushing through their heads.
         Except for Elanor.
         She still wore Rómhandë, the Ring of Sound. Through the clay, she heard the musical
 voices of the collocoll. Their joyful and triumphal singing started when they heard the footfalls
 of the Elves and they sang in jubilation, believing the time of their deliverance had come.
         The songs in the streets drew more collocoll from their homes. They emerged from the
 decorated stone-lined entrances of caves, lining the cavern-walled streets, in ever growing

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 numbers. Amazed to hear the surface dwellers, they were ecstatic to learn the Elvish twins of
 legend had returned. Their voices swelled ever higher with rhapsodic and euphoric symphonies.
         It was so heart-breakingly beautiful, Elanor couldn’t stop crying silent and beatific tears,
 which she hid from her friends. She feared Eldarion or Alatar would remove the Ring to stop her
 from going mad. Yet Rómhandë gave her the strength to resist whatever madness had befallen
 those who came before. All she knew was the most indescribably beautiful and radiant ecstasy.
         It was so much more than the most beautiful music she had ever heard, could imagine
 hearing or would ever hear again. When she tried, she could only faintly remember, not the
 singing, but the feelings brought by the songs. They echoed just beyond the reach of her
 memories and haunted her dreams.
         Often to herself she would try to describe, not the music, but those feelings. Especially
 later, when she wrote down her experiences in the Red Book. She struggled to describe them.
 Yet as hard as she tried, she could not quite recall them, nor the music and its too-sweet-for-
 memory-and-words haunting melodies and harmonies.
         The only time she even faintly reimagined the echoes of those feelings was when she
 pressed a conch shell to her ear. This, she often did in later years on the shores of the Earth,
 whenever facing the indescribably vastness of the oceans.
         She would close her eyes and she dared to imagine she was once more inside those
 cavern halls, lost so long ago; still with the twins, Eldarion, Calcarin, Alatar, Fastred and Theo;
 and listening to the songs of the collocoll.



                   *               *              *               *              *



         Stygobromus bowed before the thrones of King Helvum and Queen Mederma. Beside
 them, the Crown Princess Lyra turned her ears and clacked at them curiously.
         The Queen asked, “It’s Lucifugus again, isn’t it?”
         “No, my Queen,” Stygobromus answered. “Not this time.”
         “If I might be allowed to explain, your Majesty?” Calcarin offered.
         They consented. Calcarin described meeting the surface dwellers and their journey,
 leaving out the Cave of the Sun, Theo’s acquisition of the Sky-stone, and he himself receiving
 the Sword of the Bloodstone from the Lady of the Cave.
         At the end, he introduced the twins to the King and Queen.
         “How do you propose to rid us of Ulbandi?” King Helvum asked.
         “We have no knowledge of this prophesy,” Elladan answered. “We know of Ulbandi, but
 nothing of her kingdoms here, nor the Nameless Things she rules.”
         “We only ask your permission to cross your borders so we may return to Imladris,”
 Elrohir added. “To remove the usurper who sits in the halls of our ancestral home.”
         Alatar stepped forward. “Your Majesty, Ulbandi is one of the Valar who created Middle
 and Under-earth. She is the mightiest being in this world. None who live can stand against her
 and survive, much less prevail.”
         “If you cannot do the thing which has been prophesied,” Helvum said. “There is another
 task you must perform, before I give my permission for you to cross Collocolly.”

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          “If it is within our power to do,” Elladan told him. “We shall.”
          “Queen Serpentris rules the collocoll Kingdom of Eidolon,” Helvum explained. “She
 harbors our enemies, the Troglodytes. They have a terrible weapon which produces a Silence.
 Everyone who hears it has gone deaf. They are threatening to bring this Silence to Collocolly.
 There is nothing we can do against such an infernal weapon. As our King, I am ashamed to
 admit, we cannot stop them. Nothing will prevent them from destroying our kingdom when they
 come. This, we cannot allow. You must go to Eidolon and destroy their weapon, whatever it is.”
          “What if it can’t be destroyed?” Elanor asked. She wondered if the Silence the King was
 describing was the same one Manus told them about outside Bree.
          “Then you must take it with you,” Helvum answered. “Only by removing this weapon
 will I grant you leave to cross our caverns and reach the entrance to the surface world you seek.”
          “I’m sure this is a foolish question,” Alatar said. “If we refuse?”
          King Helvum clacked and pointed to the throne room walls.
          They lifted their Lamps.
          Battalions of silent collocoll archers held their bows notched with arrows drawn and
 pointed at them, ready at any moment to be loosed.
          “Then you will die.”
          Calcarin and Stygobromus were ordered to stay behind. Collocoll soldiers led the others,
 taking them to a banquet room. There they were fed plates of delicious fish, clams, shrimp,
 salamanders, crabs and many kinds of aromatic mushrooms. They drank rich fern-brewed beer.
          “Why does this feel like the night before an execution?” Theo asked.
          After their feast, they were taken to a small cave. Soft lichen grew thick across a floor of
 fertile soil. They slept peacefully and awoke at the end of the sleep cycle rested and refreshed.
 They were served a hearty breakfast of roe eggs, tortoise bacon and mushroom bread.
          Waiting outside the cave, their armed collocoll guards never took their ears off them.
 Now prepared for their task, they found Calcarin and Stygobromus waiting with their packs.
          “Our petitions to become trogloxene have been granted by King Helvum,” Calcarin said.
          “What does that mean?” Fastred asked.
          “They have banished themselves from Collocolly,” Elladan answered. “And tied their
 survival to our success.”
          “We could not hope for better companions,” Eldarion told them. “But why have you
 given up your home and jeopardized your lives, my friends?”
          “The thought of leaving our cavities is terrifying,” Calcarin answered. “Yet even as a
 child, I dreamed of learning the languages and hearing the wonders rumored to exist on the
 surface. Now I have been called by a higher Power to leave Collocolly and lend whatever aid I
 can in the War of the Rings to end all Wars of the Rings. I cannot fail to answer this call.”
          “It was not my wish to go,” Stygobromus told them. “But Calcarin has been my best
 friend since we were children. Though it was him chosen by the Valarindi and not I, I will not
 abandon him to travel to the surface world alone, without a friend of his own kind.”
          Calcarin slapped Stygobromus’ back, grateful for the company and Stygobromus led
 them out of Ferrumequinum. As before, one platoon of collocoll soldiers and archers went before
 them and another came behind. They traveled across the Cavern of Khazum-marum for three
 hours, until Elanor heard the sounds of swiftly flowing water.
          The shore of a wide fast-running river opened before them. The walls and roof of the
 cave, like the other shore, lay so far beyond their Lamps, it appeared as if nothing existed except



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 the black rushing water. A tear dripped from Stygobromus’ nose: the ground behind their armed
 escorts had been his only home and it was now forever behind him.
          At the shore, if shore it was, there was no sand, loose earth or rocks. An almost straight
 line of solid stone had been cut by the swiftly rushing water a dozen feet below the rim.
          “No collocoll knows where this river begins or how deep it runs,” Calcarin told them.
          “Why not?” Fastred asked. “It can’t be that deep.”
          “No pole has found the bottom,” Stygobromus answered. “Our best swimmers cannot
 dive that deep. Those who tried – were lost.”
          He led them down stone steps cut in the stone river walls to a wide and long stone
 platform harboring stone boats. Each one had been hollowed out from a single solid stone.
          “How can stone boats float?” Elanor asked.
          “It doesn’t matter what a boat’s made of,” Fastred told her. He pointed out how far down
 into the water the interiors went. “If the skin is watertight, as long as the hull displaces more
 water weight than the weight of the boat, it can be made of lead and it’ll still float.”
          “I hope this boat isn’t made of lead!” she cried.
          Fastred took her hand and they boarded the stone ship, followed by their collocoll guards.
 Once aboard, the guards took away their Fëanorian Lamps. Their Rings couldn’t hide them from
 the collocoll, but their guards could drop their Lamps overboard and blind them.
          “What’s the name of this boat?” Fastred asked.
          “You give boats names?” Calcarin asked.
          “We do,” he answered. “And I propose we christen this, the UKAG Enterprise!”
          “By right of fiat,” Eldarion announced, delighted by Fastred’s proposal, “the UKAG
 Enterprise it is!”
          “Where does this river lead?” Alatar asked.
          The soldiers rowed the large boat far from shore, into the swiftly running currents.
          Stygobromus answered, “The Kingdom of Eidolon in the realms of Ulbandi.”
          The river grew swifter. What little guidance their ship needed, Fastred expertly supplied.
 He deftly navigated the changing currents better than any of their collocoll hosts. Everyone
 except for Elanor and Theo was surprised.
          “If the water wasn’t moving so fast,” Fastred remarked, “it’s so wide here, I would’ve
 thought this was a sea instead of a river.”
          The swiftly running river carried them downstream for hours. They never saw the top of
 the closest wall or the other shore. Then suddenly, the side walls reentered the light. The shores
 and river narrowed. They came together quickly and formed a narrow turbulent channel. The
 sheer walls came into the light and almost converged. Nothing on dry ground could get through.
          The collocoll soldiers had Fastred guide the boat to shore. They gave them back their
 Fëanorian Lamps and got out, leaving Calcarin and Stygobromus. The soldiers pushed the boat
 back into the current. The boat sailed through the churning water between the narrow passage.
          On the other side it was ten degrees colder. They floated on in silence for over an hour
 and as they traveled, it got ever colder.
          “We are far from Collocolly and ventured deep into the lands of Eidolon,” Calcarin
 finally told them. “Keep your ears up and stay vigilant.”
          “My ears are not as good as yours,” Alatar said. “I think it’s time for a little light.”
          “What is ‘light’?” Stygobromus asked.
          “Light is what allows our eyes to touch things far away,” Alatar answered. “The same
 way sounds allow our ears to hear, but different.”

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          In the middle of the widening and swiftly moving river, Alatar wove a great enchantment.
 It was one of the strongest he had ever attempted. Lifting his staff, he spoke the words of
 Command. “Akašân Mâchanâz šebeth Dâhan-igwiš-telgûn Athâraigas!”
          High up in the Heavens there appeared a blindingly bright hot point of light, of dazzling
 might and beautifully white.
          “Has your magic struck a fire?” Calcarin inquired.
          “You can feel the distant heat?” Eldarion asked.
          The bright white star evaporated the moisture around it, creating drafts and breezes. For
 the first time, clouds formed in the skies above Collocolly.
          “Yes,” Calcarin answered. “Low, but strong and somehow… very comforting. I like this
 ‘light’ of yours, Alatar.”
          “Now I understand why you prize it,” Stygobromus added.
          “Thank you,” he said, concentrating and looking out on the lands opening before them.
          Beneath this dazzling light, the seven with eyes were the first to behold the wonders of
 Euthyria, curving away in the distance as if they were high atop a mountain on the surface.
          Before them were rolling hills and deep valleys. Mountains rose on the edges of the
 horizon. The land between stretched out like some unplowed Eden, waiting to be tamed, if only
 the light would stay one more day, and another after that, and after that, another…
          “What was that?” Fastred asked. He pointed far away. Only now, in this great Valarin
 light could they finally see.
          “At first, they looked like rocks,” Eldarion answered. Because he wore Oialëhén, he
 could see the figures clearly, but was hesitant to describe them. “Now they are moving.”
          “Those are Nameless Things,” Elladan told them. “Some are scurrying on long pole-like
 legs, with bodies large as houses. Others are crawling or writhing, armless and legless, fat, like
 worms. They have huge mouths, but no faces and are big as dragons. The light is burning them!”
          “Look!” Eldarion shouted.
          Misshapen things seemed to come to life from everywhere at once, moving across the
 horizon. Soon there wasn’t anywhere they could look and not see grotesque figures in motion.
 That’s when they heard the first dirges and screams of pain. More and more of them were drawn,
 not from seeing the light, for none had eyes, but by the heat which was burning, infuriating and
 drawing them, hissing and screaming, in pain. It drove them to murderous frenzies.
          Some came running towards the shore. Others, relentlessly plodding. A great many more
 were crawling, scurrying, faster, urgently and more viciously, in greed to feed or in pain to
 destroy. They hurtled themselves towards the boat, with rending claws and gnashing fangs.
          “Put it out!” Fastred shouted.
          “Athâra Mâchanumâz Athâraphelûn Amanaišal!” Alatar shouted.
          The light high above them vanished.
          “The Lamps!” Eldarion cried.
          The moment the star went out, the light from their Lamps became the brightest points in
 Under-earth, drawing the creatures directly to them. In a mad panic, they covered the Lamps.
          Through the darkness, they heard the thunderous steps in the far distance, from Nameless
 Things, coming closer, ever closer. Hoofs, claws and slithering bodies slowed. Confused, they
 turned in many directions, searching blindly.
          They found each other. Titanic battles sounded. Roars of fury cut through shrieks of pain,
 breaking bones and screams of rending flesh. These were followed by many deaths. Then biting,
 ripping, chewing, feeding. The ravenous sounds of their hunger echoed over the water.

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           For three hours, they flowed downstream in total darkness, keeping as best they could to
 the center of the swiftly moving river. Exhausted, Fastred left it to Calcarin to guide the boat.
           Sometimes, far away, and sometimes closer, the baleful wails of fighting, feeding,
 wounded or dying Nameless Things echoed loudly. Far too many were still hunting, for food,
 and more for the source of the light and pain; for them – hunting them in the dark.
           Fastred would never forget these dark hours in Euthyria. He had never been so terrified
 on a river. His mind was filled with horrendous images of Nameless Things, reaching out from
 the shore to impale him with their long pole-like legs and dragging him into the water.
           Hours later, the river widened. Instead of slowing, the water moved faster. At Calcarin’s
 insistence they uncovered their Lamps. The shores on both side were tilting, as if they were
 running down a long sloping hill. The water grew more turbulent and ever swifter.
           “We must get to the far shore quickly,” Stygobromus warned. “The river is moving too
 fast. It is faster than I have ever heard! If we do not hurry – we will run out of time.”
           “Run out of time – before what?” Alatar asked.
           “Before we fall to our deaths over the Falls of the Walls of Euthyria!” Calcarin shouted.
           Fastred jumped to the back to help Calcarin at the rudder, fighting the accelerating
 currents. In the distance, they heard the first faint roar of the swiftly approaching Falls. Alarmed,
 Alatar summoned a great wind and pushed the boat as quickly as he could to the far shore.
           His enchantments were more than equal to the task. The inlets there were broken and
 uneven. This created harbors, like those they’d seen on the surface. Closer to shore, the currents
 slowed. They found a sheltered grotto and hid the boat, stepping onto Eidolon’s frigid border.
           “We made it!” Theo exclaimed. He jumped ashore and kissed the ground. “No offence
 Fastred, but it’s going to be a long time before I get into another boat.”
           Stygobromus led them on. They walked for many hours, their senses extended, ever
 vigilant for the sounds of Nameless Things. Traveling straight inland from the shore, the walls of
 the cavern came down to meet them. When they reached the wall, Calcarin took the lead and
 they passed through the mouth of a small cave into winding tunnels. There were countless
 branching corridors in every direction, as if inside a sponge of granite.
           “Nameless Things cannot find us in this maze of caves, or hear us coming,” Calcarin told
 them. “The many turns of stone mask our clacks and footfalls.”
           “How do you know where we’re going in this maze?” Elanor asked.
           “You do not feel the tug of North?” Stygobromus asked.
           She confessed she didn’t, never had, nor knew anyone on the surface who did.
           “Surface dwellers have said collocoll are blind because we do not have eyes,”
 Stygobromus said. “I would not trade my ears for your eyes and all you claim they tell you.”
           “Nor would I,” Calcarin told them. “My ears have never failed me, even when my throat
 was tired and hearing dim.”
           Hours later they emerged from the spongeform tunnels and stepped into an even colder
 cavern. Crossing a large plain, they came to the entrance of a small but distinctively oval cave. It
 was sealed shut by a large boulder.
           “Where are we?” Eldarion asked.
           “Outside the Armory of Queen Serpentris,” Calcarin told them. “That stone imprisons the
 Silence produced by the mysterious weapon we have come for.”
           “Why is it unguarded?” Eldarion asked.
           “The fear of going deaf is mortal to Collocoll,” Stygobromus answered.
           “What if this is the same Silence that Manus warned us about?” Theo asked.

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         “If it was, I doubt it could be imprisoned by a rock,” Alatar answered. “And even through
 the walls of this cave, the air would be hot.”
         He went to the stone, pressed his staff against it and spoke a string of stern commands.
         Just as in Bree, after less than a minute, his efforts produced a tiny crack. It lengthened
 and spread, then multiplied. With frightening cracks and shattering breaks, the large stone began
 falling apart. In far less time than a minute, the terrifying sounds faded. Nothing was left but a
 pile of crumbling rocks and a floating cloud of settling dust.
         “I regret we were not companions before,” Elladan told him, waving away the dust.
         “Such power would have been a help on many days,” Elrohir added, coughing.
         They walked through the settling dust and entered the Armory. Lifting their Lamps, they
 saw an enormous number of cruel and deadly armaments. A few seemed inexplicably strange.
 Yet most were too easy to imagine hurting and killing people. At the far end of the Armory, there
 lay the open mouth of a narrow tunnel. Its long walls disappeared into darkness.
         “There,” Eldarion said. He pointed and lifted his Lamp.
         Halfway down on the far side of the cavern, pale-blue Elvish runes hovered in mid-air.
 Beside the wall, locked in a display case behind thick glass lay a smooth and featureless mirror-
 finished gleaming Ring of Power. On its surface glowed wavering blue runes. For a moment, no
 one moved. The twins stared at the Ring and its liquescent runes as if entranced.
         “What’s wrong?” Theo asked.
         “The Ring,” Elladan answered. “As far as we can see, it is literally a perfect circle.”
         “What does that mean?” Fastred asked.
         “The Ideal has been made Real,” Elrohir told him.
         “What do the runes say?” Elanor asked.
         “This is one of the Eleven for Dwarven Lords,” Eldarion answered. “It is Ingolë, the Ring
 of Quicksilver; the Ring of Deep Lore, White Magic and Mystery; the Ring of Journeys,
 Healing, Stealth, Silence and Sleep; Alchemy, Transformations and Transmutations. It is a very
 powerful Ring.”
         Although they took turns trying, after much effort and more time, neither Alatar nor the
 twins could find a way to open the case. The wizard finally touched the clear glass with the tip of
 his glowing staff. He spoke stern commands and waited. Nothing happened. The twins stepped
 away angry and thwarted. It was the first time anyone had seen them stymied.
         Frustrated, Theo picked up a rock two-handed and threw it at the glass. “Watch out!”
         “Wait!” the twins shouted, leaping to deflect the stone.
         The rock passed just beyond their outstretched fingers. Striking the glass, it shattered.
         The jarring sounds of shattering glass was followed by the tinkling of the falling pieces.
 A large hole in the glass was framed by half-broken pieces of glass.
         For a long moment, there was silence.
         Horns blew in the distance.
         Cries of alarm rose outside the Armory, echoing throughout the cavity.
         “That was a bad idea,” Theo said. “Wasn’t it?”
         Alatar picked the broken glass apart and grabbed the Ring. The floating blue runes and
 glowing Elvish letters inside and outside the enchanted quicksilver vanished.
         “Let’s be off!” he cried.
         They hurried from the Armory. Moving towards them from too many openings in the
 spongeform cavern walls across the plain came hosts of collocoll soldiers serving Queen
 Serpentris. They brandished stone swords, wooden spears, slings, tortoiseshell shields and

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 longbows notched with many-colored bright jewel-tipped arrowheads. They were joined by too
 many others, clacking and running along the outside walls of the Armory. Within moments, the
 surface dwellers were surrounded at the entrance. Fearfully, they drew their weapons.
          For the first time in combat, the twins drew Hadhafang. The hobbits held up their small
 shields. Fastred wielded his Barrow-blade, Elanor drew Eket and Theo held Sting. It glowed with
 a bright blue light. Alatar held his glowing staff and the black blade of Dagmor. Calcarin
 brandished the glittering Sword of the Bloodstone. Stygobromus held a pale stone sword of a
 bright spring green, an unknown mineral or stone. Eldarion lifted Helcar and drew Ringil. It
 glittered, seething with hidden power. The air around the blade misted and froze.
          The enemy soldiers stopped, as if sensing the power of their foes. None dared come any
 closer. No one said anything. Utter silence from such a large host was eerie and unnerving.
          “What are they waiting for?” Fastred asked, gritting his teeth.
          As if in response, the collocoll soldiers parted.
          A commanding figure approached, flanked by a squad of terrifyingly beautiful, perfectly
 proportioned and muscled, half-feral mad half-naked warriors with long blond hair. They had
 fangs and long claw-like nails growing from the tips of their fingers. They were the Kôr, the
 corrupted, perfect and perfectly vicious Were-men of Ulbandi’s Clans. Behind them came two
 giant surface dwellers, twenty-five feet tall, shouldering heavy war clubs made of solid stone.
          Their leader strode ahead of them ushered forward by the Kôr, her Praetorian Guards.
 She was dressed in an intricately crafted and expansively beautiful, yet terrifyingly brutal silver-
 blue black armor. Death-heads were forged on her helmet, belly and thighs. Cruelly barbed
 spikes rose from her shoulders, elbows, hips and knees. She wore a long and deadly sword on her
 belt. It was Angrist, the Iron Cutter, forged by Telchar, used to cut the Silmaril from the Iron
 Crown of Morgoth, where it broke. Reforged, it was still stained with his blood that neither fire
 nor molten iron could purge. Any stroke from Angrist would infest with vile corruptions,
 deadlier than poisons. Her helm barely contained her fury. Her eyes glowed malevolently red. A
 cloak fell from her shoulders, darker than Night emanating Unlight: unspeakable and all-
 encompassing horror, dread and darkness, swallowing all light, including the light of hope.
          The seven from the surface despaired.




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                                        Chapter 8




                                          Ulbandi




         “Here are two collocoll from Ferrumequinum, but you are not from Under-earth,”
 Ulbandi said, her eyes as clear as theirs. “Those are Fëanor’s Lamps! Who are you?”
         Alatar looked back at the narrow door and long passageway at the rear of the Armory.
         No one could answer, overwhelmed by the terror and horror of her Unlight.
         “I see a spineless wizard, two gutless Elves and a very frightened Man-child,” Ulbandi
 told them. “These others are less than worms.”
         “You are Ulbandi,” Alatar finally spat. “Ruler of Spiders, Snakes and Scorpions, the ever
 enchanting Queen of Abominations. In Under-earth you have been practicing Dark Arts, cross
 breeding Beasts with Men. For creating Nameless Things, you used yourself as broodmare.”
         “Your voice is known to me,” she said. Her red eyes glowed brighter and hotter. “You
 never should have left Aman, little Maia! Alatar the Sad. Alatar the Cold. Alatar the Blue! The
 most pathetic of the Istari. You will regret for all Eternity having crossed paths with Ulbandi!”



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         Uncounted eons before the birth of the Children of Ilúvatar, Ulbandi and Melkor fled the
 Valar after she murdered her lawfully wedded husband, the Vala Draëd. They sailed to Middle-
 earth on a ship, riding storm clouds. Dwelling for a time in the North in Utumno, there they
 quarreled, fought, parted, warred and devastated huge tracks of then uninhabitable lands.

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          She built a terrible ice citadel in the frozen wastes of Forodwaith. Melkor built great
 armies, creating Orcs by corrupting Elves, then challenging the Valar. He was defeated and they
 took him back to Valinor, condemning him in the Ring of Doom at Máhanaxar. Beheading and
 dismembering him, they imprisoned the pieces in a lightless dungeon at the bottom of the Void.
          Fearing to share his fate, Ulbandi fled through a frozen ice cave. Its tunnels went down,
 deep into the ground. She discovered the cavern halls and cavities below the first crust of Under-
 earth. Here she was free from her fear of censure by the Valar. Unfettered, she bred new races of
 Men, bringing out their most vile and vicious characteristics. These were not misshapen, slow or
 dullards. They were faster, stronger, more agile and more cunning. Larger than surface dwellers,
 they were finer warriors, more hateful, destructive and murderous, more beautiful and more
 vicious: the White Were-men of Ulbandi’s clans known as the Kôr.
          To her they were less than Children and more than toys: obsessions with which she
 amused herself. Inspired to torture them, she created barbaric instruments of pain: the screw, the
 first cutting edge and the first blade. She made Women bleed and inflated their breasts. Unlike
 any other of Ilúvatar’s creations, this made them endlessly targeted by Men’s lusts, which she
 greatly amplified, until the Were-men hated each other more than any other race. Their endless
 wars brought themselves to the brink of their own extinction.
          Hating any way a Man could feel superior to a Woman, Ulbandi removed the stays on
 feminine desire, making these women as wanton as their men. In Under-earth she created strange
 hybrid creatures and parasites, gleefully becoming their Queen. She became the Queen of all
 Predators and Predation. Unlike Morgoth who could only make lesser copies, Ulbandi was a
 woman. She mated with living things and produced new perverted, twisted, hybrid
 Abominations, becoming yet another Queen. There was no end to her ambitions and Lusts.
          Bored, she mated with Death. They bred perverted, twisted hybrid forms of necrosis.
 Crossbreeding her own Children with collocoll, she bred milky-white undead vampire Man-bats.
 Eye-less, they screamed through Night skies on the surface, moments before killing their prey.
          She crossbred Man-spiders, scorpions and a plethora of other horrors; too many to name
 or even count. She bred so many, she long ago forgot them. Uncounted and unnamed, she
 became the Queen of Nameless Things and conquered almost all the worlds of Euthyria. A few
 kingdoms were spared because she tired of the sport. Forodwaith remained her tributary
 province. They remembered her as the Queen of Ice, the White Queen of Frozen Wastes.
          In the early days of Man, her greatest delight had been igniting the icy skies with
 beautiful dancing lights. Men looked up in wonder. She taught her frozen daughters to call them
 from their fires. Lowering the hems of their blouses, they showed their pale white skin and
 promised hot love, just beyond the firelight. Those foolish enough to accept the invitations of the
 White Women of the North were never seen alive again.
          Sometimes in the morning, they were found dead with ice-bound anguished looks of
 horror forever frozen on their hideously twisted faces. The people of the North knew these deaths
 were from Ulbandi’s daughters. Icicles of tears hung from the eyes of their victims. They
 reached all the way to the ground in frozen downward spirals of eternally frozen pain.



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          “Akašân šebeth delgûmâ ibri ošošai!” Alatar cried, lifting his staff.
          Gale force winds drove Ulbandi, the Kôr and the enemy collocoll soldiers back. A cross
 wind pushed the nine companions back into the Armory.
          “You would use Valarin gifts – against a Vala?!” Ulbandi called, through the cavern. Her
 voice echoed impossibly loud through the caves. It drowned out the fury of the storms. Her
 hands glowed bright white, as if they were new-born stars, and she pointed them at Alatar.
          Eldarion leaped between them brandishing Ringil.
          Titanic bolts of blue-white lightning exploded from her hands and fried the air. Ringil
 glowed blue-white, drinking the burning light. Eldarion’s arms trembled and strained. His whole
 body shook with the effort of holding his sword before the onslaught of power. His face stood
 out in the darkness, illuminated blue-white in pain. Ringil glowed bright, absorbing the sound
 and heat, electricity and power, which would have cooked and deafened them.
          “Who are you?!” Ulbandi demanded. She lowered her hands, furious and disbelieving.
          “My name is unimportant,” Eldarion answered. He brandished his bright, glowing sword.
 “It is enough for you to know that I am a Man and he is my friend. If I can save my friend by my
 strength or skill at arms, even at the cost of my own life, I shall!”
          “Fool!” she shouted. Her hands turned black. Deathly necrotic curses, the blackest magic
 she knew, shot out with ringing force.
          Eldarion lifted Helkar, deflecting them with his shield. Hewing and cutting the ones
 growing around him, they tried to break through his defenses. Such was the power of her spells,
 he would have failed, despite his enchanted weapons and long-practiced skill at arms.
          His eight companions sprang to his aid, hacking the legions of growing, screaming and
 bleeding necrotic death spells.
          For the first time in Alatar’s hands, Dagmor, Slayer of Darkness, had darkness aplenty on
 which to feast. Hadhafang rose and fell in the twin’s hands, moving almost faster than eyes could
 see. Theo nimbly wielded Sting. It glowed blue-white as it sliced, almost as bright as Eldarion’s
 blade. Laboriously, Fastred’s Barrow-blade cut and cleaved the dark powers it was forged to
 conquer. Calcarin deftly hewed at the death spells with the Sword of the Bloodstone. It hummed
 in his hands, joyously drinking even the putrid black blood of Ulbandi’s spell created horrors.
          Protected from the onslaught, Eldarion added Ringil. It drank the foul polluted blood of
 the dark creatures. Cleaving and killing them, the last one fell writhing, dying on the floor. But
 not before Elanor smote one with Eket. It burst open in front of her, splattering her with filth.
          “You!” Ulbandi yelled, at Eldarion. She strode fearlessly towards him. “Do not be too
 frightened to say your name! Remove your tiny tail from between your cowering legs and tell me
 how a Man can stop the most powerful enchantments of a Valier. I Command you!”
          “This is Ringil,” he answered, lowering his shield and brandishing his glowing sword. It
 grew brighter, filled with the power of Ulbandi’s own Valarin lightning. “This, its companion
 Helkar. They were forged in Valinor and wielded by Fingolfin in the Dagor Bragollach. Before
 the gates of Angband, he almost slew your lover. Cast your most powerful enchantments! My
 shield will block them and this sword will cleave them. My cold glittering steel will do to you
 what the Valar did to Morgoth: behead you! And I, the Crown Prince Eldarion Telcontar of the
 United Kingdoms of Arnor and Gondor will cast your lifeless body into the Void!”
          Howling, he strode out of the cave swinging Ringil two handed over his head. The
 glittering blade shone so bright it was almost blinding, viciously singing as it cut the air.
          “Did you not know – you FOOL?!” Ulbandi shouted. She ran away between the legs of
 her slovenly twenty-five foot guards. “There are giants in the earth! Gilim! Nan! KILL HIM!!”

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          The giants grinned. Their cracked teeth protruded from their mouths. Their unwashed
 hair hung in their eyes and fell to their shoulders. Rage slowly filled their grimy faces. They
 lifted their massive war clubs, as big as battering rams.
          Gilim’s mammoth club descended first. Eldarion swung Ringil two handed and they
 collided. A colossal discharge of energy shattered the giant’s stone war club and blasted Gilim
 backwards, knocking him senseless to the ground and the entire cavern trembled. But the power
 Eldarion had absorbed with Ringil was spent. Nan lifted his own club.
          “Run!” Eldarion shouted. He pushed his companions back into the Armory. At the last
 moment he leaped through the door, barely ahead of Nan’s massive cudgel. It crashed against the
 entrance, crushing six feet of stone around the opening and momentarily deafening those within.
          The breaking rocks fell in a pile before the entrance.
          With their ears ringing, they weren’t able to hear Alatar screaming. His staff glowed and
 he pointed to the door at the back of the Armory. Eldarion led them, sprinting through the cave.
          Ulbandi summoned hordes of collocoll soldiers, scorpions and Were-flies to pursue them.
          “Run!” Stygobromus shouted. His collocoll cry penetrated even through the ringing in
 their ears. Stepping into the opening, he screamed torrents of shattering clacks.
          They struck the Were-flies, scorpions and collocoll soldiers like devastating blows. The
 Were-flies scattered. The scorpions stopped, lowering their bodies and tails to the ground. The
 soldiers fell, covering their ears and howling in agony.
          From high above the Armory’s outer wall, a giant hairy werewolf-spider dropped from
 where it had been stalking them unseen over their heads. She landed squarely on Stygobromus’
 chest and crushed his ribs under her bloated stinking body. Driving her claws through his throat,
 her sting pierced his heart.
          “Stygobromus!” Calcarin screamed, running out of the tunnel.
          “It’s too late!” Elrohir shouted, following him out. He grabbed Calcarin’s howling form
 and carried him back into the tunnel.
          The giant spider crushed Stygobromus’ head in her jaws and ripped off his head.
 Scurrying through the Armory, she entered the tunnel followed by the Were-flies, scorpions and
 terrified collocoll soldiers.
          Elrohir sprinted through the tunnel carrying Calcarin’s crying form. Barely halfway
 through, the giant spider and Were-flies closed on them faster than the fastest Elves could run.
          “Hurry!” Eldarion shouted, standing before the exit at the other end of the long tunnel.
          Alatar could see they weren’t going to make it. The roar of whirlpool winds sucked the
 Were-flies back and slowed the soldiers, scorpions and giant werewolf-spider to a crawl.
          At the silent command of Elladan, Elrohir leaped through the tunnel door, assisted by
 another wind from Alatar. The wizard stood beside the opening, his robes glowing brightly and
 he pressed his staff against the stone above the tunnel. Shouting words of command, he shattered
 the rock and the roof of the long tunnel collapsed. A deafening roar and a mountain of falling
 rubble crushed the giant spider and everything else in the tunnel under tons of stone. A terrible
 rush of air and pulverized stone blew out of the collapsing tunnel and covered them in dust.
          When the floors, ceiling and walls stopped shaking and flinging them about, the noise
 subsided and the dust began to settle. Eldarion and Elladan helped Calcarin and Elrohir stand.
          Calcarin couldn’t speak. He shuddered and tears streamed from his nose, running down
 through the gray granite grime covering the white skin on his face and neck.
          “It was very brave,” Elladan told him, coughing and waving away the dust.
          “There was nothing you could do,” Elrohir affirmed, breathing through his sleeve.

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          “Stygobromus saved us,” Eldarion told Calcarin, handing him a handkerchief from his
 inner breast pocket. “At the cost of his own life.”
          On the far side of the chamber, Fastred held onto Elanor. She bent over and vomited what
 little remained in her stomach. Wiping the filth and grime from Ulbandi’s creature off her face
 and hands, she cleaned her dirty sword with water from her bottle and a scrap of linen.
          Through the walls, they heard faint echoes of stone striking stone.
          “I fear it was for nothing,” Calcarin told them. Wiping his grey-streaked face and
 clacking, he pressed his ear against the wall. “Ulbandi has set her army to break the boulders and
 carve apart the rocks. They are digging through the rubble and coming to kill us.”
          “It doesn’t matter,” Alatar said. He pointed at the enclosed chamber. “It’s a dead end.”
          “An unfortunate choice of words,” Theo observed.
          “Unfortunate,” Alatar responded. “But accurate.”
          “We have to find a way out!” Eldarion bemoaned. “I revealed my identity to Ulbandi! I
 fear she will attack my family, seeking vengeance. We have to warn them!!”
          “Why did you say your name?” Fastred asked.
          “I- I got carried away,” he answered. “Wielding Ringil and Helkar for the first time in
 battle and beating back the most terrible of the Valier – it, it was a bit intoxicating.”
          “She tricked you,” Theo said.
          “She tricked me,” Eldarion agreed.
          “She ensorcelled you,” Alatar revealed. “Using the power of her Voice.”
          “It’s my fault,” Elanor said. Using water from her bottle and another scrap of linen, she
 cleaned, dried and burnished his Ring. Handing him Rómhandë, she accepted Oialëhén. “You
 would have been able to resist her spell, but I forgot to give you back your Ring.”
          “It’s no one’s fault,” Alatar told her.
          “But now she’s our enemy,” Theo cried. “The most powerful Vala!”
          “I know!” Eldarion lamented. He fell against the wall. “This is exactly what I did not
 want to happen! Did I not say, I wished never to fall so far afoul of such a powerful woman?”
          “Yep,” Fastred affirmed. “I remember that! We were in Bree. You sure did!
          Elanor shushed him, asking Alatar, “Can’t you crumble the stone and tunnel a way out?”
          “I’m exhausted,” the wizard told her. “I sent my power up as high as possible to put as
 many tons of earth between us as I could!”
          “Why did you try so hard?” Theo asked.
          “Ulbandi is the most evil thing that has ever existed in Arda!” Alatar cried.
          “Calm yourself, mighty Morinehtar,” Elladan told him. “We are not in Valinor. In Under-
 earth clothed in flesh, she is much less than the terrible Power you last saw and remember.”
          “How long before you’re rested enough to try?” Theo asked.
          Alatar took a deep breath. Girding his hips, he stood up straight. “I will try now.”
          He went to other end of the room. Pressing his hand against the wall, he raised his staff.
 He closed his eyes and concentrated, speaking the words of command. The blue light of their
 lamps dimmed. His robes glinted and shimmered.
          The wall began to glow and a humming filled the air.
          They waited.
          No one said anything.
          Minutes passed.
          “Well, my friend?” Eldarion asked.



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         The wizard dropped his hand and lowered his staff. The glow and hum faded. The light in
 his robes went out and their lamps brightened. “We’re too far underground. Long before we
 reached another cave, if there even is another cave in this direction, I’ll have filled this space
 with dirt and granite dust… and buried us alive.”
         “That’s a cheery thought,” Theo said.
         “What about Ulbandi’s giants?” Elanor asked. She realized belatedly, most quests failed.
         Calcarin pressed his ear against the wall again. He listened, then pulled away. “They are
 working very hard. I hear echoes of their screams. For all their desperate strength, she is
 whipping them, flaying their backs in her mad belief it will spur them to work harder. But they
 are dying, which feeds her fury, and more of them and her guards, the vicious Kôr, die faster.”
         “I can’t wait ‘till she gets here,” Theo said, gloomily.
         “If it comes to that,” Eldarion warned. “It will be better for Alatar to give us the mercy of
 a swift burial, than surrender to the tortures Ulbandi doubtless plans.”
         “We do not need to worry about either of those,” Calcarin said. He sniffed the subtle
 warming currents. “The air will soon go bad. We will suffocate long before they reach us.”
         Everyone looked around at everyone else and Calcarin clacked.
         “Are we going to… die?” Elanor asked. For a moment, she regretted not having listened
 to her father and given him the Ring. Yet that would have meant he’d be here in her place, which
 was just as unacceptable.
         She didn’t know what to do.
         “Normally I’d say where there’s life, there’s hope and our concern should be finding a
 way to escape,” Alatar said. “But I fear this time… we may not find a way to escape.”
         They stood still in the light of their Fëanorian Lamps.
         Long minutes passed.
         First Fastred, then Elanor and then Theo sat down amidst the rubble.
         “This has been an incredible adventure,” Eldarion said. Sheathing Ringil, he sat beside
 them. “If this is our end, I am proud to have fought beside each and every one of you.”
         “There must be something we can do,” Elanor said. She felt torn between terror and
 despair. Theo and Fastred huddled against her and each took hold of one of her hands.
         The twins sat, one on each side of Eldarion. Silent, they threw their hoods over their
 heads. Calcarin clacked and sat between the Elves and hobbits. Alatar sat down last. Leaning
 back, he set his staff across his chest, closed his eyes and his breathing slowed.
         For a much longer time, no one spoke.
         The sounds of their breathing filled the space and their minds began to wander.
         Slowly, the air grew warmer.
         “Wait,” Eldarion said. He sat up. “Fastred has the Turin-stone!”
         “Which means your family can’t find us in their palantíri,” Theo told him. “Even if they
 happened to have been looking for us.”
         “It means,” Alatar said, using his staff to wearily climb to his feet, “Fastred can summon
 Mytikas and the Dodecs.”
         Everyone rose and stared at Fastred.
         “What good will that do?” Fastred asked. He rose last and stood beside them.
         “It will give us something to do, other than imagining slow torments at the hand of
 Ulbandi’s giants,” Alatar answered. He leaned wearily on his staff, but was even more irritated
 with Fastred, a young hobbit, at this moment, a victim of his own fear and uncertainty.



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         Fastred withdrew his locket. Opening it, he looked at the Turin-stone. “I don’t know how.
 None of us thought to ask Mytikas to show me.”
         “All we have left is a little time,” the wizard said. “We lose nothing by trying.”
         Fastred pursed his lips and nodded. Withdrawing the Stone, he held onto it with his
 fingertips. He closed his eyes and concentrated.
         Nothing happened.
         After a minute, he opened one eye and looked at Alatar. “Should I, maybe, say
 something?”
         “Why not?” Theo asked. He looked around at their companions. “It can’t hurt. Right?”
         “Correct,” Alatar responded, cautiously. “I can’t imagine any way in which it could.”
         “Is there a spell of some sort that might help?” Eldarion asked.
         “None I can think of,” Alatar responded. “Fastred, do precisely as Mytikas said. Call his
 name through the Stone.”
         “I guess feeling foolish doesn’t amount to much,” Fastred told them. “Caught between a
 rock and a hard place.”
         “So to speak,” Eldarion noted.
         “Fastred?” Alatar intoned, losing patience and catching the hobbit’s eye. “Just – say –
 ‘Mytikas’!”
         “Mytikas,” Fastred said, uncertainly. Then he felt foolish, having delayed so long, now
 that he was actually trying. He closed his eyes, tilted his head back and opened his arms. “Oh
 mighty Mytikas! Come to me. Heed my call! Mytikas, come to me. It is I, Fastred, son of
 Folcred, of Greenholm in the Shire. Honorary member of the Counselors of the North – ”
         “Who told you that?” Theo asked.
         “Companion of Alatar, the Dark Blue Wizard of Aman – ”
         “It’s just ‘Blue,’” Alatar told him.
         “Elladan and Elrohir, twins and Elfs from the – ”
         “We’re Elves!” the twins admonished.
         “Elanor of the Shire, the High Queen Arwen’s Maid, and a friend to – ”
         “I’m a Handmaiden,” Elanor corrected.
         “Théoden, son of Meriadoc, the Master of Brandybuck and Counselor of the North –”
         “Buckland,” Theo told him. “Deputy Counselor! Fastred, why are you – ”
         “Calcarin, translator from Feroo-, Ferum-, Feraneck – Calcarin, where are you from?”
         Calcarin clacked inscrutably and grimaced, making his displeasure clear.
         “Prince Eldarion of Gondor – ”
         “Crown Prince,” Eldarion said. “Your future King and – why am I last?”
         “Mytikas, come to me! I am a member of the Fellowship of the King – ”
         “That – ” Eldarion scolded, “is supposed to be a secret!”
         “Come at my call, Mytikas! For I am the Master of the Turin Stone – ”
         “You’re laying it on thick,” Alatar warned.
         “Mytikas! I command you to appear before the Company of the Ring– ”
         “STOP!!” the twins shouted.
         Fastred stopped. Opening his eyes, he looked at everyone’s sever expressions,
 exceedingly annoyed at his very poor choice of words. He lowered the Turin-stone and
 wondered if anyone was thinking of walloping him. Their expressions were so… angry.
         “Look!” Elanor shouted, pointing at the wall beside Fastred.



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          A glowing red line appeared. Slowly, it grew longer and brighter. Two more emerged on
 each side. They were crossed by three more. A white seam ran down the center of the first line,
 growing longer and wider. Three more red lines turned white, then six, then twelve, forming
 hexagonal patterns. Steps began falling out of the wall, creating a growing open space. It
 revealed the cascading array of Escher-like staircases opening into an impossibly intricate
 stonescape full of moving, descending, rising, twisting and turning staircases. They continuously
 appeared and disappeared in every conceivable direction and orientation.
          Down the closest strode Mytikas. He was carried by the purposeful and powerful motions
 of his massive lumbering stone feet, that were still graceful. Mytikas thumped down the
 hexagonal steps to the floor and the chamber shook. His pounding footfalls echoed. Walking past
 them to the back of the large room, he was followed by one, then two, then four Dodecahedrons.
          A much larger Stone-man, the largest Alatar had ever seen, walked down the hexagonal
 stairs. His massive feet thudded like the heaviest hammer strikes. Each footfall shook the room.
 When he thumped onto the floor, this Stone-man’s giant head reached the top of the chamber.
 The worn, many-eyed black surfaces of his great stone body were pitted, weathered and uneven.
          “I am Genesis, Tor Mons,” the Stone-man said. “The Protolith. The Father of Stones,
 Apex of Rocks and Peak of Petradons. I am the High King of the Mountains.”
          “Welcome, Revered and Risen Genesis,” Alatar said, bowing low. “Many and great are
 the tales of Genesis the Protolith, Apex of Mons. Your deeds are praised even in Valinor. I long
 hoped to meet the Father of Stones. It’s an honor to greet you here, in the heart of your strength.”
          “Welcome to Euthyria,” Genesis said. “Rare indeed are the servants of the Valar willing
 to tread the pedons, tunnels and cavities of the Gaiaspheres. Especially one so burdened with toil,
 as Alatar the Blue of the Istari. Long have I observed your tutelage in the Gardens of Aman.”
          “Thank you,” Alatar responded. “I wish we came under more favorable circumstances,
 your Majesty. Unfortunately, we’ve run afoul of the Mad Vala Ulbandi.”
          Genesis smiled. “It expands the crystals of my biotite to think the Metamorphs of
 Archany have found allies in our war against Ulbandi. She is the greatest threat our Earths have
 ever faced. If we do not stop her, she will extinguish every fire and shatter every rock. Nothing
 will remain but frozen dust scattering endlessly through ice and aether.”
          “How can we help?” Eldarion asked.
          “You breaking into her Armory has prompted Ulbandi to return to the surface,” Genesis
 answered. “She goes to recruit more goblins, orcs and trolls. Long ago, she tortured and
 murdered those she had brought for her amusement many Ages ago. But first she goes to recruit
 Men, Dark Elves and Dwarves. We must prevent her from succeeding. Metamorphs are mighty,
 but our armies are not endless. We can be overwhelmed by sheer numbers, like ants chipping
 away at boulders. This is Ulbandi’s plan.”
          “What can we do?” Alatar asked.
          “She has accepted the invitation of the King of Gondolin. Before your arrival, she had
 spurned him,” Genesis answered. “Now she goes to Glorfindell to meet with him and recruit the
 kings and queens attending his war council. If we take you there, you must stop her.”
          “Will you come with us?” Theo asked. “You look much stronger than we little hobbits.”
          “Stone-men are the oldest living things,” Genesis responded. “The first primordial
 beings. We are not the Children of Ilúvatar, created with the help of the Ainur, like Elves and
 Men, nor even Dwarves. The Stone-men of Zirakzigal are a race Ilúvatar created Himself for
 Ilúvatar. He has had many thoughts and sang many creations. We are the Children of His earliest
 Song. It is a deep primordial melody. But we are outside the specificity of his Middle-earth

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 creation. Like many other creations of the Valar and Ainur, we cannot come to the surface of
 Middle-earth. The strange air and water will wear Metamorphs down, like sand in a storm. Just
 once, during the War of Wrath, did Manwë suspend the enchantments binding us below. We rose
 up and joined the war against Melkor. So great was the strength of the Stone-men beneath the
 Banners of Eönwë, our passing Hosts shook Middle-earth and put terror in the hearts of our
 enemies. Eärendil would have failed without our strength.”
         “Is there anything we can do for the Stone-men, or for Genesis, the Father of Stones?”
 Elladan asked.
         “If you distract Ulbandi,” Genesis answered, “it will help us retake the Stoneries of
 Asthenḗs from Inaequalis the Xenolith, and his army of Igneous and Sediments.”
         “Where are the Stoneries?” Fastred asked.
         “Deep in the Earth,” Genesis answered. “When two Stones fall in love, they court a very
 long time. When the time comes for their union to produce Baby-stones, they dive through the
 levels of Gaiaspheria to the Asthenosphere. There they meld and merge in hotspots, sometimes
 longer than the Age of Man. When Stones emerge from Asthenḗs with Baby-stones, we teach
 them the Steps of Stone: the ordering of the Gaiaspheres. The responsibilities of Stone-men are
 many times more vast than the realms of Middle-earth and Under-earth combined. We order the
 elements, keep the lands and seas apart, manage the fires deep within and the migrations of rocks
 throughout the Stone Creation Cycle. Most importantly, we stop Ulbandi’s Nameless Things
 from coming to the surface. Our responsibilities require constant vigilance and prodigious effort
 to keep the changing conditions of Chaos ordered.”
         “Thank you for protecting us,” Elanor said. “What can we do to help?”
         “Inaequalis has also gone to the surface to meet Glorfindel,” Genesis answered. “Igneous
 and Sediments can, thanks to the spells of Ulbandi. If you force Inaequalis to summon enough of
 his Igneous troops from Asthenḗs, we can retake the Stoneries and free the Asthenosphere.”
         “I am certain we can find a way to accomplish this,” Eldarion said, thoughtfully.
         “Who are you?” Genesis asked.
         He bowed low. “I am the Crown Prince Eldarion, son of the High King Elessar, of the
 United Kingdoms of Arnor and Gondor.”
         “Every night beneath the ground is a good one!” Genesis announced, happily. He noted
 their armaments and turned to Alatar. “You have found worthy companions on the surface.”
         “Thank you, your Majesty,” Alatar said. “Not only are the Men of Gondor and Arnor
 faithful allies, Prince Eldarion and our fellow companions have become true friends.”
         “After you have stopped Ulbandi, Prince,” Genesis told Eldarion. “Return to the caverns
 of Under-earth with your father. Have Fastred summon us and we will hold a council.”
         “Are there representatives of the Sediments or Igneous who oppose Inaequalis and would
 come?” Eldarion asked.
         “Metamorphs and Sediments change and grow, but the ways of Igneous are set in stone,”
 Genesis answered. “When Metamorphs order the world, we make room for all Stones. We
 respect all of Ilúvatar’s creations. But Igneous are selfish, caring only for other Igneous.”
         “Wouldn’t their selfishness destroy the world?” Fastred asked.
         “Yes, Fastred,” Mytikas answered. “If they succeed, only one thing will exist: the
 creation of ever more Igneous-stones. They will absorb all other elements into their Stone-
 bodies, transforming all Stone-men and every other living thing into Igneous-stones, alone.”
         “What about the Sediments?” Theo asked. “Won’t they try and stop them?”



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          “Sediments do not help in our war against the Igneous,” Genesis answered. “Some of
 them oppose us. They refuse to accept how much work we do to maintain the world. Perhaps
 they do not care. If it takes work to run the world, the world can fall apart. At least Igneous,
 though abhorrent, have principles, behind which they stand like rocks. Not those smirtsfelsdt
 Sediments. They would allow the world to crumble and all to perish before they lift a stone.”
          “Sediments don’t concern themselves with ordering anything,” Mytikas told them. “Not
 even themselves. They’re lazy bums! Like Avari Elves. Sediments ‘go with the flow.’ If things
 fall into place, they rejoice. If not, ‘Oh well. It wasn’t meant to be.’”
          “‘Meant to be,’” Genesis snorted. “Keeping the world rolling requires monumental effort.
 Sediments are insane.”
          “But not so insane as to refuse the protection of the Metamorphs,” Mytikas added. “Only
 three Sediments in the history of Archany have risen above their station and taken an active part
 against the Igneous. Most Sediments destroy, sometimes Igneous, sometimes Metamorphs,
 mostly each other. Now their numbers are small.”
          “Our most sacred duty and privilege is to treasure Baby-stones, while keeping the world
 rolling,” Genesis said. Opening his heart-stone, he pulled out a little six-inch rock and tapped it
 twice. It unfolded in his hand and a baby-stone stood on her baby-stone feet. “This is Petralith,
 my granddaughter, the daughter of Mytikas and Larissa. She bore her while he was imprisoned
 in Aman Sûl. You have returned her father to Archany and she wishes to thank you.”
          Petra raised her little stone arm and waved, including all three finger.
          “Aw, you’re welcome Petra,” Fastred said. He turned to Mytikas. “She’s so cute!”
          Mytikas motioned Fastred over. Pulling him around with his back to the others, he hid the
 hobbit and they shared a whispered conversation.
          Genesis turned to Elanor. “You are the Handmaid to the High Queen Arwen, yet you
 seem as if Ilmarë were reborn. She herself was a Handmaid of Varda, the High Queen of
 Heaven, wife of Manwë. Metamorphs fought beneath her banner among the Valarindi.”
          Mytikas lumbered back around and faced them. “Our hosts were so large, the mountains
 rang beneath the pounding of our great stone feet. Ilmarë and Eönwë were our chiefs, therefore,”
 he pushed Fastred forward.
          Fastred held in his hands a dazzlingly white gem. It was set within a wide delicately-
 banded mithril filigree. Walking to Elanor, he kneeled and bowed his head. “Fair Lady Elanor,
 Handmaid to the High Queen Arwen, I’m not worthy to present this gift – ”
          “Fastred…” Mytikas said.
          Fastred looked back. Mytikas raised his great stone shoulders and large stone arms.
 Suddenly, he understood. With what had been uncharacteristic before, Fastred suddenly took
 heart. Straightening his shoulders and lifting his eyes, he allowed himself to feel the dignity and
 pride for the choices he’d made, the valor he’d displayed and the duties he now performed. “I’ve
 accepted the responsibilities of the Servant of the Servants of the Valar. On behalf of them, and
 me, please accept this gift for all you’ve done and have still to do.”
          Mytikas smiled. He looked to Genesis, who nodded in approval.
          Eldarion caught Elanor’s eye and looked down. Caught off guard, she curtsied low,
 bowed her head and closed her eyes. Mytikas motioned Fastred to go around behind her. He set
 the mithril filigree over her head, smoothed her beautiful, long blond hair and put the bright,
 white star-like gem in the center of her brow. Glowing brightly in the light of their Fëanorian
 Lamps, its multicolored, multifaceted crystals dazzled their eyes. He lifted her to her feet.



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          “We will take you to the mouth of a cave under the city of Glorfindell, just below the
 surface,” Genesis told them. “But we must hurry! Ulbandi has slain her giants and summoned
 Inaequalis’ Igneous troops. We are too few – and they are coming.”
          Genesis opened his great arms to Mytikas and the Dodecahedrons. They raised their
 shoulders and lifted their chests. A white line divided the center of their bodies. Then two more
 lines, then six, then twelve; their bodies opened like the surface of the wall had. Six-sided stones
 of decreasing heights fell from their chests, one after another. They formed descending, six-sided
 steps. The last fell even with the floor. A great hollow chamber loomed inside each of them.
 Genesis motioned to Alatar and his companions to ascend the steps and enter the Dodecs.
          “Is it safe?” Elanor asked.
          Behind them, the shattered rubble blocking the tunnel began to glow. The walls turned
 red radiating waves of heat and the room grew hot.
          “The Igneous and Ulbandi’s troops are coming!” Alatar shouted. “Into the Dodecs!”
          They climbed the hexagonal steps. Fastred rode in the place of honor inside Mytikas.
 Genesis enclosed Petra within his crystal biotite heart-chamber.
          “Farewell,” Genesis said. “If the fate-stones are kind, we will meet again.”
          The six-sided stones rose and the bodies of the Stone-men closed about them. For a
 moment Elanor feared she would be crushed. Yet almost as if their stone bodies could feel, when
 the slabs pressed firmly against her skin, they stopped, holding her tight and sealing her in safely.
          She felt her Stone-man moving, climbing and rising. Then he was tumbling, sliding,
 falling and bouncing. She felt the motions and heard the noises dimly through the insulating
 rock. Yet she was held so snugly, she couldn’t feel the smashing or crashing.
          Howls and cries of pain from Nameless Things penetrated through to her. The thuds and
 thumps of blows, sounds of battle and smashing stones against crushing bones resounded. Her
 terror grew. Her fear that the Igneous, Ulbandi and her Nameless Things had found them gave
 way to panic. It was made so much worse by not knowing what was happening outside.
          Then they were falling again, sliding, gliding, floating, climbing, plodding and running.
 Elanor lost track of time in the darkness and mostly muffled silence. After a long while, she fell
 into a much needed and bone weary sleep.



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         She woke with a start, unsure how long she’d slept. It was cooler. Yet her body was
 covered in sweat. She could taste the air inside her host becoming foul. She began to sweat
 again, though not from the heat. She feared the Stone-men had no way of knowing when their
 tiny and frail human passengers were running out of air. This new fear gripped her.
         Suddenly the Dodec’s body opened, just as before. Fresh air and dim light rushed into the
 Stone-man’s body. Between her and the ground, his chest became a series of descending six-
 sided steps. They slid out and formed a staircase ending even with the floor.
         Alatar stood in front of her. Holding out his hand, his staff glowed.
         She took his hand and walked cautiously down the hexagonal steps. Turning, she
 curtsied. “Thank you for saving us and carrying me safely through the Escherscape of Archany.”

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         Stiffly, the Stone-man bowed. “You are welcome, Lady Elanor Elestirnë.”
         “Huh?” she asked. “What does that mean?”
         “Lady of the Star-brow,” the Stone-man answered. He pointed at the glowing white gem
 on her forehead. “Like Ilmarë, your brow now shines with the light of stars.”
         She blushed and curtsied again. “Thank you.”
         “You’re welcome, Lady,” the Stone-man said. He opened his three big stone fingers and
 presented her three small (to him) grey stones. “Please accept these gifts from me, Lord Raldorus
 of the Cementation of the Dodecahedrons. I am a companion to Prince Mytikas. These are
 mementos of Under-earth and your ride within the living Stone-men of Zirakzigal.”
         “Thank you,” she said, picking them up. They filled her small hand. One was round with
 a shallow hole in the center. The second was thin and round, like a stone-stick. It fit in the stone
 hole. The third was an oval hollow. Looking closer, she saw it had an opening: it wasn’t a stone.
 It was the petrified shell of a small crustacean. It had lived at the bottom of an ocean long ago,
 somewhere in one of the many Gaiaspheres, deep in the depths of Eutheria. “What are they?”
         “For grinding seeds,” he answered. “And listening to the Music of the Spheres.”
         Fastred stood before Mytikas. “Thank you for saving us.”
         “The Master of the Turin-stone does not need to thank his servants,” Mytikas told him.
 “If ever you are in the depths of the earth and in need, speak into the Turin-stone and we will aid
 you. Now we must go. Thanks to the Turin-stone, Ulbandi and her Nameless Things are blind to
 you and we deny them the paths of the Escherscapes. But the Igneous can follow us. If they find
 you, they will tell Ulbandi where you are. We must double back and lead them away.”
         Mytikas and the Dodecs drew the hexagonal steps back into their bodies. They folded the
 sections of their centers closed and once again towered over the hobbit’s heads, twelve feet tall.
         The Stone-men strode up the hexagonal stairs, leading to the open wall of the cave and
 the entrance to the Escherscape of Archany. Inside, the stone steps were twisting, turning,
 closing and unfolding in every conceivable direction and orientation.
         Mytikas went last. Beyond the wall on a twelve-sided platform of stone within Archany,
 one step away from disappearing behind a twisting turning staircase, he stopped.
         “Oh, and… Fastred?” Mytikas called. Trying to stifle laughter, he failed. He lifted his
 stone arm and waved, including all three fingers. “Next time, just say ‘Mytikas.”
         The hexagonal steps rose one after another. They folded up into the wall and the wall
 slowly closed. The white lines dimmed to red and shrank until the last one went out.
         They were just inside the mouth of a small cave. It was hidden behind a clef at the base of
 a ravine. Outside, it was midday. The Sun shone warm and bright. The air was fresh. Elanor
 inhaled the sweet smell of snow-fed streams and flower-scented mountain-air. Before them lay a
 green valley through which flowed what were only recently the beds of mighty rivers. They were
 now reduced to trickles, dammed somewhere out of sight. Nestled between the dramatic canyon
 walls, over which a great many waterfalls once poured, there now dribbled only modest streams.
 In between the remaining sprinkling drops lay the many doors and windows of what she had
 never seen, yet knew must be the Homely Homes of Rivendell. She refused to call it Glorfindell.
         To Elladan and Elrohir, the land was terribly changed. Most of the forests and trees had
 been felled. What were once open fields full of wildflowers were now croplands under plow.
 Roads and bridges filled the valley floor, connecting the segmented and fenced parcels. A small
 city had been built of hastily assembled and ugly wooden barracks. There were kitchens, stables,
 latrines, armories, forges, training grounds and many more buildings: everything a great army of



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 Men needed to become a marauding force of conquerors. Their refuse polluted the land. Gone
 were the pristine forests of what had once been one of the fairest places in Middle-earth.
          The twins knew somewhere, Arwen was chained to a wall inside a dungeon. The thought
 that something might have befallen her filled them with such rage, they longed to use their newly
 acquired weapons with the ferocity they often felt, yet rarely expressed.
          Thanks to Fastred, no one knew they were here. The twins led them towards the back of
 the largest house. But Calcarin held back, just inside the entrance of the cave. His body
 alternated between terrified wave-like shudders and uncontrollable trembling.
          “Calcarin?” Elanor called. She paused at the mouth of the cave. He turned away, fighting
 to control his shaking, too ashamed to speak his fear. “What’s wrong?” she asked.
          After long moments of shaking hesitation, he turned his mouth to her ear. “Imagine
 coming to a door in the middle of the day. Beyond it lay an impenetrable darkness in which your
 Sun would never rise again and through which your eyes would never see, and you knew you
 must forevermore walk in darkness. Now imagine, not only must you step away from your
 homeland of light into darkness, forever, but in there lived the most powerful demons that had
 ever existed: the very embodiments of evil which had frightened you as a child, from which you
 hid trembling under your blankets, sightless and blind. Now you had to step into that darkness
 and face those demons in their own land at the peak of their powers. But you, because of your
 blindness, would forevermore be at the lowest ebb of yours. This is where my strange desire to
 learn new languages and explore new lands has led me… and what I now must do.”
          “I’m sorry,” she said. “I never thought what coming to the surface might be like for you.”
          “Thank you, Lady Elanor,” Calcarin said. Taking control of himself, he faced her. “But
 this is a choice I made. I must face my choice, listen, hear my fears and transcend them.”
          “That’s true,” Elanor said, offering her hand. “But you have friends. You don’t have to
 face your fears alone.”
          Calcarin clacked and listened to her hand. Taking it, he held it firmly with his strong, yet
 trembling fingers. A tear fell from his nose.
          The others looked at their friend kindly.
          Together, the two of them stepped out of Euthyria – into Glorfindell.




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                                          Chapter 9




                           The Council Of Glorfindel




         Glorfindel sat on an elevated throne. He towered above four long meeting tables arranged
 in a square. His guests sat at the tables below him in his biggest hall. Beside him sat Thüringel.
 She surveyed the others: the most powerful gathering of queens and kings ever assembled.
         With her wearying browbeating, as if she fancied herself a wife the way she nagged,
 Thüringel had tried to keep him under her thumb. Yet she was not his better, he was hers. This
 gathering proved it, if the Rings he wore did not. He exulted in his accomplishment.
         She would never admit it, but even she was impressed.
         On each side of the meeting hall stood two marble statues. The one on the right was a
 black marble masterwork of Nerdanel’s. Elevated on a black pillar was a depiction of Melkor on
 his knees, with his hands chained behind his back. He was bound by the links of the massive
 chain Angainor. They wound around his shoulders, torso, waist and chain-wrapped bare feet.
         On the left was a large white marble sculpture by Drendelen. It depicted Elendil standing
 up straight with his right hand held high bearing the Palantír of Anor. Below his feet, a ribbon of
 white marble ran in a wide circle behind him.
         Pillars of varying heights rose along the ribbon. They bore depictions in white of the
 other six palantíri. The largest, the Stone of Osgiliath, loomed directly behind him. The smallest,
 the Palantír of Minas Ithil, sat on the highest pillar at the end of the circular ribbon on his left.
         At the other end of the large hall rose a large grey marble pillar. At eye level on top, the
 grey crystal of the Palantír of Elostirion glowed with a dim grey light. Beside the Palantír, a large
 black Guardian Stone stood silent and unmoving. It had the misshapen aspect of a man, lumpy
 and uneven, of black volcanic rock.
         The queens and kings feared if anyone tried to steal the Palantír, the Guardian Stone
 might come to life by some dreaded enchantment and crush them under his mammoth fists.
         In addition to the many human queens and kings seated beside each other, there sat the
 collocoll Queen Serpentris of Eidolon and King Lucifugus of Gaiarium.

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          Neither friends nor allies, they warily clacked and sang to each other in their strange, yet
 oddly beautiful collocoll tongue.
          Here too sat the Changeling Queen, Yhasandaed Imavich, Queen of Wetwang. There sat
 Daqued, son of Blaqued, King of Trolls, ruler of the Entmoors. Gothmog, the hideously
 deformed and misshapen King of Orcs, had come from Mount Gundabad. Mid-table sat the tall
 and insolent golden-haired Prince Estel Peredhel of Rhûn, the Progenitor of the Orcelven. He
 looked around as if he owned the room and they were guests in his halls, to be dismissed – on
 whim. Such insolence.
          Estel was at war with Dominus, the human King of Rhûn. Glorfindel had seated them on
 opposite sides of the long square tables. He knew neither could be trusted to get too close to the
 other. Here sat Rudlun the Bold, the small ruddy-cheeked wandering King of Petti-Dwarves.
 Beside him was Mesic, the black-skinned blue-eyed Pygmy King of Greater Harad. Gurulus, the
 squat-faced King of Gnomes sat beside him. Perched on mounted poles there cawed Butulishia
 and Accipiter, the Queen and King of Hawks. Outside the window close to Glorfindel, towered
 the leafless branch of a dead tree. It extended through the open window and ended near his
 throne. On the end of the longest bough perched Percnopter, King of Vultures.
          “I want the head of Gwaihir!” Percnopter cawed. “Too long have the Eagles taken the
 best hunting grounds. They steal the game we kill and leave behind their wastes. Those rotting
 remains, even hyenas will not eat! Their eyries have swelled, protected by Elessar. They have
 depopulated our lands of prey. We have had no choice – but to scavenge their leavings.”
          “Can you imagine,” Glorfindel said, turning to Thüringel. “Eating rotting corpses.”
          “With Gwaihir dead, we shall do so no more!” Percnopter vowed. “Destroy him, and as
 the Avian King of Birds and the High King of the Skies, everything that flies will support the
 armies of Glorfindel.”
          “I agree, Emperor Glorfindel,” said Tevildo, Lord of Cats. Sitting halfway down on the
 left, he petted his one, large black cat. It wore a thick collar of gold with sharp iron studs. The
 eight white cats fearfully served him. “Let the vultures rule the air and the cats will rule the
 streets! Destroy the hounds and everything my cats see will be known to the rulers of Gondolin.”
          The large eyes on the white cats seemed languid. Glorfindel knew they were watching,
 smelling and listening. They were learning everything they could and reporting to Tevildo.
          “Destroy the Eagles and there will be no last minute rescue for Elves and Men in this new
 War of the Rings,” Percnopter vowed. “You will never hear them cry ‘the Eagles are coming!’”
          “You are right, I won’t,” Glorfindel assured him. “The Eagles will be dead.”
          “The Eagle are the servants of Manwë,” Thû the Great said, Conqueror of the North,
 sitting across from Tevildo. He ruled the northern empire of Dor Daedeloth, one of the most
 powerful warlords in Middle-earth. “How can you destroy them and not bring his wrath on us?”
          Thû claimed his realm stretched from the shores of Forodwaith in the west, across the
 Northern Wastes and the Regions of Everlasting Cold to the Mountains of the East, and down the
 Eastern Seas to the shores of Hildória. If true, his empire was larger than that of Emperor Guan
 Qubing, who was already allied with Elessar and had spurned their invitation.
          Some said Thû had extended his empire beyond the Eastern Seas to the Dark and South
 Lands, even to the shores of Kalórmë with its fabled Sun blackened hills. Yet even if true, most
 of his northlands were frozen wastes. Size was not necessarily commensurate with power.
          “I have lived since before the Two Lamps,” Glorfindel answered. “The Valar rarely leave
 Aman. When they have, it is only after Middle-earth has been all but destroyed. I will kill the
 Eagles! King Percnopter and his Vulture armies will descend from the skies, serving me.”

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         In the center of the empty floor-space created by the four long tables sat a low dais. It
 bore the single largest egg anyone had ever seen. Over three feet tall, it weighed 150 lbs.
         It was a dragon egg.
         Everyone imagined it was close to hatching.
         In the place of honor opposite his throne, Glorfindel had given the chair to Swahillogûz,
 the Albino Abomination, called the White Elf of Northern Harad. Dressed all in white, he was
 the servant of the Silence That Devours.
         Next to Swahillogûz in a flowing robe woven of threads of gold with a golden staff of
 gold heartwood sat Swahillogûz’s principle councilor: the white haired, black skinned Wizard of
 Aman, Incánus the Gold. He was the Wanderer of Northern, Greater and South Harad.
         In other chairs sat many more powerful and noteworthy queens and kings.
         On one side of the great meeting room, a large mirror was set within the wall. It reflected
 the open windows, columns and tapestries, the statues and Palantír, the large round dragon egg in
 the center of the tables and the stern faces of the gathering.
         On the other side of the magical mirror lay a secret room. It had been created and
 concealed by the power of Elrond. Its existence was unknown to anyone, even Glorfindel. On the
 other side of the solid wall and the one-way magical glass stood Alatar, Eldarion, Calcarin, the
 twins and hobbits. Observing the meeting, they were shrouded from all perception by Elrond’s
 spells and Fastred’s Turin-stone.
         “Elrond doesn’t seem to have been very trusting,” Alatar noted.
         “Trust does not necessitate abandoning reasonable precaution,” Elladan said.
         “Nor failing to protect your family,” Elrohir added.
         “We have a serious problem,” Elanor told them.
         “What problem?” Eldarion asked.
         “It’s better if I show you,” she answered. She switched Rings with him again briefly.
         Eldarion put on Oialëhén and looked out at the gathering. “There are Rings of Power on
 King Percnopter’s claw, Queen Butulishia’s talon, Lord Tevildo’s hand, Thüringel, Queen of
 Mordor’s hand, and Rudlun the Petty-Dwarf King’s hand. Beside the Bëorning King, Grimbëorn
 the Old, a Ring is on his Queen Ursula’s hand. The collared and chained warg of the Goblin
 King Gurulus has one on its paw. Estel wears a Ring beneath his tunic on a slender chain of
 mithril. On one hand Glorfindel wears another and he holds eight more in his hand!”
         “The rikedons were destroyed and we were forced to flee,” Percnopter told Glorfindel.
 “Elessar’s armies destroyed your allies at Weathertop. They left under cover of darkness.”
         “Could they be headed here?” Queen Amphisbaena asked.
         Whispered conversations and cries of concern rose and fell around the table.
         “If they are, how will you stop Elessar and Alatar?” Imavich asked. “If you can’t protect
 yourself, how do you expect anyone to believe you can protect any of us?”
         Thüringel narrowed her eyes. She wore her fair female form, as not to terrify the
 gathering. Yet beneath her calm exterior, her fury raged.
         “Because of these,” Glorfindel answered. He opened his hand, displaying seven golden
 Rings of Power set with different black gems.
         “Those are Rings of Sauron,” Incánus noted. “Seven of the Nine worn by the Nazgûl.”
         “They confer great power,” Glorfindel told them. “To the Ringbearers I choose.”
         The queens and kings regarded each other in silence.
         “What will become of those Ringbearers without Sauron to control them?” King
 Kaparmál of West Carnen asked. He covetously yet warily eyed the Rings.

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          “I do not know,” Glorfindel answered. “What I do know is that these Rings are the keys
 to Power. With them you can secure your borders and defeat your enemies. Oh, and incidentally,
 they give the Ringbearers immortality. That is, if you happen to be… mortal.”
          No one spoke. The mortal queens and kings looked back and forth between Glorfindel,
 the Rings in his hand and the faces of the others. Most were enemies.
          “What will happen to us in two-hundred years?” King Voljotin asked.
          “I have no idea what I’m having for dinner,” Glorfindel answered.
          “He’s having us for dinner,” Imavich told Voljotin.
          “We know what will happen,” King Gylslag said, laying his hands on the table. “What do
 you demand from us in exchange for one of these Rings?”
          Glorfindel eyed him greedily. “Your first-born child.”
          Queen Leafkysäsi turned to her daughter. “Send for the Crown Prince Eriol – at once!”
          “I spoke in jest,” Glorfindel told her. “The Master of these Rings has never demanded a
 price. It would be foolish to do so now. But, if you happen to have an extra son, or daughter…”
          “We know the price,” Tevildo said. He stroked the back of his large black cat.
          “They demand their own price,” Imavich told him.
          “For all I know, nothing will happen,” Glorfindel said. “There is no way to know.”
          “The King of Gondolin must think we who have accepted his invitations are fools,”
 Incánus said. “We know the history and Dark Gifts conferred upon the wearers of the Nine.”
          “Believe whatever you wish,” Glorfindel told them. He held up his left hand and
 displayed on his ring finger, Arien, the Ring of the Eclipsed Black Sun. The Morgul Ring’s black
 Star Sapphire stone glowed with a fierce inner light. “I would never endanger myself. Nor allow
 anybody to harm one of my Ringbearers. I will personally destroy anyone who tries.”
          “I believe something like that already happened during the Battle of the Pelennor Fields,”
 Incánus said. “Didn’t a hobbit break the enchanted protection around the Witch King of Angmar
 and the Shield Maid of Rohan was able to run him through?”
          “Yes!” Glorfindel cried. His features twisted in hatred. “Princess Éowyn of Ithilien and
 the Master Meriadoc of Buckland! Would that I had known when they stood before me. The first
 thing the Allied Kingdoms of this War Council will do is march on the Shire a fortnight west of
 here. We will slaughter every hobbit and scorch their lands! Then, Ithilien will fall.”
          In the hidden room behind the mirror, Fastred grabbed Theo’s arm.
          “If you pledge their lands to me, after my army’s genocide of the hobbits,” Queen
 Leafkysäsi of Bearnmyrdre said, “I will accept one of your Rings and ally our kingdoms.”
          She held out her hand.
          Glorfindel rose and slowly walked around the table. He held up one of the Rings for all to
 see before setting it in her trembling fingers. “This is Elemmire, the Ring of Wealth.”
          Leafkysäsi closed her fist around Morimaitë, the Ring of Treachery, Deceit and Trickery.
 She opened it and examined the Jet stone. It was polished so bright it almost glowed.
          Before she could put it on, the other queens and kings reached out with greedy, grasping
 hands. One rose, then another, then the mass of them surged towards Glorfindel.
          “Stop!” he shouted, holding up his hands. They froze. “Sit.”
          They hesitated and looked around at each other. Slowly, they returned to their seats.
          Thû, Incánus, Swahillogûz and many others hadn’t moved. They sat silently. Their arms
 were folded with their hands tucked out of sight.




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          Glorfindel smiled. He didn’t need all of them. Just seven. In the end, it was so easy. He
 walked around the table, aware of the queen’s and king’s wanton desire for power. It rose from
 their trembling faces like the stink of an unwashed beggar.
          It was not a thirst. It was a craving for power and immortality as great in its small, mortal
 human way, as his own truly great and immortal predatory, ravenous hunger for the Ruling Ring
 had once been. That long past hunger had grown, becoming his indescribably insatiable and all-
 consuming Lust for the Master-ring of Middle-earth.
          Unlike his, their hunger was not for power over him, nor the other queens and kings
 gathered around these tables they didn’t already know, as Glorfindel had feared. Since he wanted
 power over them, he’d thought of little else.
          That’s not what they wanted at all.
          They wanted power to crush their personal enemies and to conquer their ancestral foes.
 Only a few sat around this table. They preferred to not become involved with foreign lands. The
 less they had to deal with Glorfindel and western lands, the better. Their ambitions didn’t have
 anything to do with him, until he offered them Rings of Power. Before now, they never had.
          Glorfindel walked to King Kaparmál of West Carnen. He was the next of Glorfindel’s
 carefully pre-selected queens and kings. They were the ones with the largest armies and the
 richest lands, outside of Thû or Emperor Guan Qubing.
          “Hold out your hand!” Glorfindel commanded.
          Kaparmál held out his trembling palm, accepting from the King of Gondolin, the largesse
 of the Emperor of the West in the form of a small yet potent golden Ring of Power.
          Glorfindel handed out the others. The queens and kings who received them inspected
 their Rings. One or two hesitated. Kaparmál put his on and vanished. The others did, too.
          Seeing each other disappear, when not one of them had ever seen anybody become
 invisible, made them look down. Failing to see their own invisible hands, they finally grasped the
 terror, just the rumor of even just this one ability that their new Rings of Power would instill in
 the hearts of their enemies. They also knew there were other powers in these Rings.
          A few of them chuckled. Others laughed gleefully.
          The many who hadn’t been given Rings watched silently.
          Glorfindel raised his hands and the laughter died. “Please, remove your Rings for the
 benefit of our other guests, so we may continue.”
          All seven did as they were told.
          Swahillogûz, the White Elf, rose. “It is not fitting for the Emperor Glorfindel to give so
 many gifts, yet receive nothing from this assemblage in return.”
          He waved his hand. One of the Wildmen, a warrior of Northern Harad, standing
 motionless and silent behind him came forward and set a large wooden case on the table.
 Swahillogûz opened it, revealing three black double-bladed weapons set in white velvet.
          “What are they?” Thû asked.
          Swahillogûz lifted the double-bladed sword. “This is a bident.” He set it down and lifted
 the double-bladed dagger. “This is a biger.” He replaced it in the case and lifted a handle that
 bore two slender needle-blades. “And this is a biletto.”
          “You are too kind,” Glorfindel said, smiling. “But you needn’t have bothered. I already
 purchased a great many from Manus Tarqus, the largest arms dealer of Greater Harad.”
          “What?!” Theo whispered fiercely to his friends in the hidden room.
          Glorfindel gestured and Easterlings ran in through the open doors. Brandishing bident
 swords and bigers, they surrounded the queens and kings.

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          Frightened, the six to whom he’d given Rings put them on and vanished.
          From behind the hanging tapestries stepped Nine Nazgûl, Hunters In Grey, holding grey
 mithril bows. The grey eyes in their dead grey faces were blank. Already notched against grey
 hithlain string, grey arrows with black bident arrowheads were aimed at the invisible queens and
 kings. The Ringwraiths could see them half-in, half-out of their same shadowy wraith world.
          They loosed their arrows. The double needle-points shot through the air and pierced their
 targets. The queens and kings reappeared screaming. Falling to their knees, their pupils grew
 grey, lighter, then white as their screams faded. They stayed on their knees unmoving, silently
 screaming. Their golden Rings of Power glinted on the unliving slaves of Glorfindel.
          “Treachery!” Thû shouted.
          Percnopter cawed, flapping his wings. He rose and dove at Butulishia, the hawk Queen,
 catching the hawk’s talons in one of his own and her head in the other. King Accipiter screeched
 and escaped out the window. Wrenching his talons out sideways, Percnopter ripped the Hawk
 Queen apart. He dropped her body and flew after Accipiter, clutching the hawk Queen’s talon. It
 glinted with a golden Ring of Power that appeared the moment she died.
          Everyone else jumped to their feet.
          The sunlight streaming through every open window dimmed. The images of everyone in
 the room scrambling about grew murky, shadowy. The sounds of everything around them faded,
 diminished, became inaudible. The space contracted and bent to the open door where Ulbandi
 stood in her blue-black Death’s Head armor, more powerful than the gravity in the floor.
          The only light undimmed came from her murderous, gleaming blue-black mail. Shining
 brighter, the beams stabbed the eyes of everyone in the room with a cutting pain. Behind her
 strode Anfauglir, Queen of Werewolves, and Latistha, the great ice-winged Balrog Queen.
          Everyone stood frozen with their feet rooted in place, held by Ulbandi’s power.
          “Well, well, well. What treachery is here in Glorfindell?” Ulbandi asked, contemptuous.
 “Hail ‘Fair’ High King Glorfindel and Emperor of Gondolin, Re-founded.”
          She looked around the table. The queens and kings held their heads bowed, silent,
 terrified. Anfauglir and Latistha posted themselves at the open double doors, above the bodies of
 the Easterlings they’d just dismembered. Following them came an old crone with a wrinkled
 face. She had bony hands, and fingers with long, broken, dirty black fingernails. She wore a long
 black robe and a black blindfold around her eyes. It pinned her long, dirty grey-white hair against
 her head. In her gnarled hands, she carried a long black staff of scorched black wood.
          “Oh, no!” Alatar whispered, knitting his brows. “It’s Ulbandi and Leminkkäenin.”
          “I remember you telling us about Ulbandi, but who’s Leminkkäenin?” Elanor whispered
 back. “What’s wrong?”
          “I hate Leminkkäenin,” he whispered, pressing his fingertips against his eyelids. “And
 she hates me. She is of my Order, an Istari. Leminkkäenin the Black, a Wizard of Aman.”
          “What’s she doing here?” Theo asked.
          “She was chosen by the Vala Vairë, and sent to the North. There she was seduced and
 Fell to Ulbandi,” he answered. “She serves as her chief councilor. She is Evil. Powerful and Dark
 are her Arts. Long ago, she passed from the knowledge of all who knew her and was forgotten,
 long thought lost. Her whereabouts remained unknown in any record and even memory, to all
 save the Eldar.”
          “What about that guy in the gold robe?” Fastred asked.
          “Never mind about him,” Alatar said.



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         Ulbandi walked around the table. “I didn’t give much thought to your ambitions, and
 your few paltry conquests, Emperor Glorfindel, little value to your accomplishments. A few
 minor kingdoms. A few magic Rings. I gave no thought at all to what might follow. Yet in this
 gathering, I see such a powerful assemblage of aspiring Masters of Destiny, whom you
 immediately betrayed while guests under your roof. Such treachery. Unspeakable. I had to come.
 This is your most extraordinary accomplishment to date.”
         Glorfindel was terrified. Like Alatar, he had last seen Ulbandi in Aman, unincarnate; a
 being of vast and terrible Power. Uncertain of her intentions, he lifted his head with a strained
 smile, as if exalting in praise. He had to try and be gracious.
         “Thank you, Vala Ulbandi,” he said, duplicitous, with more confidence than he felt. He
 stood and bowed very low. “I am honored.”
         “Yes, Vala I am,” she said, seeing right through him and disgusted. “You see, my little
 mortal beings, those of you who are mortal, for I see a few of my immortal Children here as well,
 I have come to share many secrets with you and offer boons. Valarin secrets and boons.”
         “What secrets and boons would those be?” Incánus asked.
         Ulbandi looked passed him, catching sight of Nerdanel’s statue of Melkor. It displayed
 him chained and kneeling barefoot with his head bowed, humiliated.
         “What – is THIS?!” she shouted. Her eyes glowed with a piercing red malevolence.
 Lifting her hands, they glowed with black fire. Two bolts of black lightning blasted out –
 shattering the priceless treasure in titanic bursts of broken and smoking marble.
         The queens and kings screamed. But nobody could lift their feet. For long moments, no
 one spoke. The debris settled to the floor and the noxious stench of rising smoke dissipated.
         “Great is the power of Ulbandi,” Incánus said. “Is this the secret you spoke of sharing?”
         “No, greedy Maia,” she answered. “The secrets of my power are not for you. What I have
 come to reveal is the secret of the Seven Heavens. They have been whispered about by different
 races since they first awoke. The most ambitious, if not the wisest among you, have sought them
 unsuccessfully. Watching them wheeling high above your heads unattainably, their secrets have
 been guarded jealously by Varda. They have never been imagined or revealed–to mortal minds.”
         They waited. A few leaned forward.
         “The Secret of the Seven Heavens – is not in the Heavens,” she told them. “The secret is,
 in addition to Seven Heavens wheeling unattainably above your heads, there are Seven Earths,
 waiting attainably, right beneath your very feet.”
         Shock filled the faces of everyone in the room, including Glorfindel’s.
         “Below the surface there are seven planetary spheres, just as there are seven above,”
 Ulbandi told them. “They are called the Gaiaspheres. Each one is a world successively larger
 than the first. They are separated by great earthen folds, like titanic arches, lifting one level of a
 temple above another, with as large a width as the skies above this world. Between each of those
 skies lies a crust, such as the one in which Queen Serpentris and King Lucifugus live.”
         “What are these worlds you speak of?” Lucifugus asked.
         The last one anyone would have guessed was first to speak. He and Serpentris were as
 surprised as the others. They lived in Under-earth, yet had no knowledge of these other realms.
 The familiar had become strange. They were also in the best position to gain from her news.
         They might have to war with each other in order to claim them.
         “The first is Líthos, ruled by Genesis, the Protolith, King of Stupidity, Peak of Platitudes.
 He wars with the Igneous and Sediments for mastery of all that lives and dies, and all that cannot



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 die in the worlds of Under-earth. Many are uninhabited, waiting like vestal virgins, to be ravaged
 or conquered or plundered, perhaps by one of you.”
         “Why not rule them yourself?” Imavich asked.
         “I already do,” Ulbandi answered. “The ones that are not empty. In the first crust of
 Under-earth, where I have lived millennia, I have been creating armies of Nameless Things.
 They are mightier than dragons, Maiar or Ainur. I want you to populate the rest of the
 Gaiaspheres. When our armies have grown full and round, I will do what only a Vala can do –
 lead you over the Straight Road to destroy the Valar and murder all who live in the Undying
 Lands! I will give Valinor to my allies, making you immortal. Once Aman is mine, we will
 besiege and break the Doors of Night to release Melkor, named by some Morgoth, the father of
 my Children. Together, we will ascend the thrones of Manwë and Varda, ruling all that is!”
         The enormity of what Ulbandi was proposing, until this very moment, had been beyond
 the wildest imaginings of anyone here, except Glorfindel and Thüringel.
         “May I speak, Vala Ulbandi?” Thû asked, head bowed.
         “Yes,” Ulbandi said.
         “I understand this will be of interest to races such as goblins, gnomes, dwarves, orcs and
 blind collocoll, who live in caves. The rest of us are creatures of light,” Thû explained. “Our
 people need the Sun to grow our food, and her heat and light to live.”
         “There are Suns beneath the Earth,” Ulbandi told them. “There are whispered rumors of
 them among your scrolls and records, hidden in the languages of your own people. The
 daughters of Arien and Tilion, the Tyrannies, drive their burning chariots through the open skies
 between the lands of Tantalum, Cethyria, Tullares; all the worlds of Gaiaspheria, except Líthos.”
         “If there are Suns between these worlds driven by mighty Vala charioteers, as Arien
 drives the Chariot of the Sun, what of water?” King Corhynchus of the Sal-men asked.
         “There are oceans in the Gaiaspheres,” Ulbandi answered. “Filtered by the soil of the
 Spheres above, the waters are free of salt. All of them are fresh and teem with life. Fresh fish and
 fresh creatures, akin to dolphins, seals and whales for you to make your servants or skin and eat.
 These freshwater oceans are smaller than on the surface. So Under-earth is far more habitably
 extensive and more fertile. They have lain fallow for millennia, waiting for tillers to grow food.”
         “You say there are Suns,” King Sciolius asked. “Are there Moons?”
         “An excellent question,” Ulbandi answered. “Because the surface world is struck by the
 light of Tilion, it absorbs his madness, as well as the controlling effects of the planets of the
 Seven Heavens. In Under-earth, the skies and oceans are tranquil. The people are not controlled
 by the Heavens. They are free to choose for themselves their own destinies. There are no Moons,
 no storms, no winter winds, no squalls or tornadoes. Women do not bleed. There is only peace.”
         “I would like to see this Under-earth,” Imavich said.
         “Are there rains?” Sciolius asked.
         “Yes,” Ulbandi answered. “Except for Líthos, the last of the Gaiaspheres. From Center-
 earth, the fires of Tantalum rise in cones throughout the rest, bringing clouds. Some come to the
 surface, as in Mordor.” Ulbandi turned to Glorfindel and Thüringel. “Is this not true?”
         “It is indeed,” Thüringel affirmed.
         “In the Gaiaspheres,” Ulbandi told them, “temperate clouds drift throughout the skies,
 bringing gentle rains without storms.”
         “This sounds better than the Isle of Gift,” Sciolius said. “The lost wonders of Númenor.”
         “The realms of Under-earth are,” Ulbandi affirmed. “It was from my Gaiaspheres that the
 Valar stole the land of Númenor. Just the tiniest part, a single valley they pinched and pushed to

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 the surface. Yet it was more full of diamonds, rubies, emeralds, sapphires, silver, copper and
 gold than any land except the peaks of the Misty Mountains.”
           She lifted her heavy mithril chain and pendent. It glittered against her black armor. It was
 set with the largest and most dazzling white and black diamonds they had ever seen. “And
 mithril. Mithril and diamonds. Fields and plains, where mithril ores rise like trees. Down through
 the skies of Under-earth, ejected by erupting volcanos, diamonds fall like rain. Diamonds are
 only born in Under-earth, in the realm of Asthenḗs.”
           “She speaks the truth!” Inaequalis said, the Igneous King of the Stone-men.
           The others cried out. A few who had sat back down jumped up, but they still couldn’t lift
 their feet. They had thought him a statue or unmoving Guardian Stone, not a living thing that
 could move and speak.
           “Who are you?” Queen Amensula asked.
           “I am Inaequalis the Xenolith, King of Asthenḗs,” he answered. “I rule the Igneous in
 Perfidy under Ulbandi. It is in my realms the diamonds grow. If I wish, I can stop the flow.”
           Ulbandi fingered the glittering black and white diamonds on her large pendent. “Do not
 trouble the mortal queens and kings, King Inaequalis.”
           He bowed awkwardly and stiffly. “Your wish is my command, Valier Ulbandi.”
           “How do we find the roads to these worlds?” Imavich asked.
           “They sound like paradise,” King Fainéant wondered aloud.
           “Indeed they are,” Ulbandi told him. “Melkor was the earth-wright who forged this
 world. The worlds beneath are his masterpiece. He made them the paradise we call Eden. They
 were intended for the Edain. But Eru knew if the Men and Elves awakened to such wonders, they
 would worship us instead of him. Thus, he has warred with us since the Beginning. The Children
 of Melkor awakened early, so great were the wonders awaiting them and so eager were their
 spirits to experience them. At the time, only the first terribly-flawed realm of the surface world
 was finished. Yet those on the surface still worshipped us. So jealous were the Valar, they
 hurtled meteors and stones, striking the surface and poisoning the oceans with salt, killing whole
 populations and reshaping the land. In Valinor, they thought Melkor and I had gone into the
 Void. They were wrong! We traveled to Under-earth where we were not disturbed. Applying our
 full ripened skill, we set about perfecting the masterpieces of the Seven Under-earths. By myself,
 I have just completed them. This is what has brought me to the surface and to you.”
           “She’s lying,” Elanor whispered to Eldarion, safe in their hidden room.
           “Yes she is,” Eldarion affirmed.
           “Beneath our feet,” Thû told her, “it is said there is only fire and ice.”
           “It was Ilúvatar who lied to the Children of Melkor,” she said. “He told you the worlds
 beneath your feet were full of pain and terror, loneliness and death. He wanted to control you. He
 said you had no choice. You could fall beneath the ground and experience the pain and
 loneliness of Under-earth, or you could suffer on the surface. Either way, you had to live a short
 span of years in suffering and pain, then die, traveling beyond the Doors of Night into the Void.
 There, great wonders wait. He said. Unfortunately, Ilúvatar, the God of Gods, the God of all that
 is, all that was, and all that shall ever be, could not describe these wonders. The omniscient,
 omnipotent God of All could not find a way: not with words, visions, not even dreams. Perhaps
 he would in time. Give him a millennium.” She paused, letting her words sink in. Such was the
 enchanting power of a Vala. “It has now been millennia of millennia. Ilúvatar, the God of All,
 has failed to find the words to describe the wonders, He claims, to have already created.”
           “He lies!” Sciolius shouted, slamming his fist down on the table.

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         “He lied then and He lies now,” Ulbandi told them. “Ever has He lied to you, to me, to all
 who live. The wonders of paradise are here, lying beneath your feet. But cowed and living in the
 fear of Ilúvatar, the other Valar stood silent, while the poor duped and deceived Fathers and
 Mothers of Collocoll, Dwarves, Gnomes, Pygmies, Hobbits and Men ‘chose’ the ‘Gift’ of Men,
 to die. Yet the Valar, Ainur, Maiar, Elves, Orcs, Stones, Giants, Ents, Huorns, Kôr and Îkor,
 Balrogs, High and low, Goblins, Trolls, Vampires, Wargs, Werewolves, too many Nameless
 Things to count – none of them die. Yet most of you here in this room – do.”
         She paused, drinking in their riotous emotions, their anger and fury. She delighted in
 creating Chaos. “You are forced to pass unmourned and unremembered into the Void. There
 waits no Paradise. I know. I am the only one who has voyaged beyond the Doors of Night!”
         Shock filled the faces of the queens and kings. The evidence of so many races which
 were immortal while they weren’t, the presence of Inaequalis and the collocoll queen and king
 proving the truth of everything Ulbandi was telling them, filled their hearts with rage and hatred.
         “While all unwilling, the poor duped and deceived Men have held out their grasping,
 desperate hands. You accept your deaths willingly, just like these queens and kings who accepted
 Glorfindel’s Rings. You have lived as the slaves of Ilúvatar, and Death, his hidden and only true
 eternal love. She is the reason he does all that he does… since the Beginning.”
         The gathered rulers gasped. More slammed their fists down, outraged.
         “The collocoll tried to flee. Ilúvatar stopped them halfway down. They were not allowed
 to complete their journey or experience the wonders of Edens. They live in the first of the crusts.
 Collocoll, like Men above, live lives full of pain and unrewarded toil, full of misery and grief,
 only to die, to the great delight of Ilúvatar, whom you still worship. It should now be clear, he
 has kept you the lowest of the low for the sport of his only love and mistress – Death.”
         “How do we reach these lands of plenty and escape Ilúvatar and Death?” Gothmog asked.
         “You need my permission,” Ulbandi answered. “Only I can show you the Doors to these
 Roads. Only I can guide you through the endless mazes of Under-earth. Only I can open the
 borders to the lands of plenty, the Edens, which have been waiting beneath your feet.”
         First one, then another, and soon almost all the great and terrible queens and kings of the
 surface world kneeled before her.
         “Please, Valier Ulbandi,” Imavich beseeched. “Tell us what you require and lead us to
 these lands.”
         Gothmog, and a few others, did not kneel. “How do we know we can trust you?”
         “You don’t need to trust me,” she told him. “Come and see or send your kin. Whomever
 you trust to report back truthfully the things they have seen, who are brave enough to pass
 through the halls of Collocolly, Eidolon and Under-earth to the lands of Eden. The Lands of
 Plenty. The lands originally intended for the Edain, which the Edain disdained. This is where
 ‘disdain’ comes from. From them. The Edain. The ones who disdain.”
         Gothmog signaled his guards to leave ahead of him, to make it clear he wouldn’t oppose
 her: none of them could move. He kneeled, humbling himself before her. “Thank you, Vala
 Ulbandi. But I must beg you to release me and return to my poor halls, without your gifts.”
         “You are Gothmog, King of Orcs.” She looked into his hideously deformed body. “Your
 corruptions are... beguiling. Abominations are the inheritors of the Earths, which is where you all
 come from. Before now, you’ve never known. You are all Abominations: corruptions of the
 generations which came before. But you, Gothmog – I insist. You must be the first to infest Eden
 with your magnificently damaged and unequally twisted strain of Orc.”
         Gothmog looked about fearfully. “Why me?”

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         “Because I am the Queen of Abominations,” she answered. “Yet I have never seen so
 great an abomination as you! You are the descendent of the incestuous inter-breedings of not
 only the corrupted Elves who became Orcs, but uncounted generations of incestuous Orcs. Kin
 on kin: first cousins, brothers and sisters, father-daughters, mother-sons. You are the father of – ”
 she turned, for the first time noticing Estel. “You!”
         “That twisted thing…” Estel asked, in horror, “is my… father?”
         “YES!” Ulbandi cried. They couldn’t see her face, but she felt a joy she hadn’t known in
 Ages. “You are the son of Gothmog and Celebrían, daughter of Galadriel, Queen of Elves, wife
 of Elrond, born in Númenor, taken prisoner and tormented by this sweet and charming meat.”
         “That I did!” Gothmog exclaimed. He was full of wonder at the far distant memory. It
 was a dark delight so long ago, it had been forgotten. “I will never forget her beautiful flesh.”
         Behind the mirror, Elladan and Elrohir glowered with murderous hatred and malice.
         Ulbandi’s dark eyes grew darker, drinking in the obscene essence of Estel. He was the
 offspring of rape and this vile abomination, born of violence and pain. Her body was inflamed
 with a terrible burning desire to take his pain – and amplify it. “You are the vile corruption of
 uncounted generations of incestuous Orcs, joined to the purest light of High Elves.”
         “You are… my father,” Estel said, horrified by the deformity of Gothmog.
         “I care not,” Gothmog sneered, drawing himself up, indignant. “I already have too many
 sons! Too many to count. They all want the same thing: my crown. No doubt you will too. You
 cannot have it!”
         Estel looked away and his eyes met Ulbandi’s. Peering out her helm, they stared deep
 into his own. He realized she desired him.
         But Ulbandi wasn’t to Estel’s liking at all.
         From the moment she walked in, she had blustered, bragged and swaggered like a Man.
 She spoke like a Man, demanded like a Man, and commanded the attention of everyone in the
 room like no Man he’s ever known. Even Glorfindel feared, groveled and now shamelessly
 courted her with desperate flattery and transparent lies.
         Beholding the horror of these treacherous queens and kings whose livelihood was horror,
 casting themselves down on their knees, utterly surveille, gibbering like the weak and frightened
 Men they were – before a woman.
         It disgusted him.
         Her power; bending light, pulling gravity – terrified him. She was nothing like any
 woman he had ever seen, taken or had ever wanted, nor ever would. Not prim or dainty, demure
 or timid, the kind of woman he took whenever he had a mind to take one, which was often. He
 killed them with his deadly attentions and lethal lusts. Or for a few, turning their screams of
 terror and pain into pleasure, because they were that desperate to survive.
         Ulbandi would not ask. She would take, as only he had taken. He did not like the thought
 of that at all. He was thoroughly repulsed. The thought of trying to couple with her sickened him.
 He would never allow himself to be on the receiving end of the torments he inflicted on women.
         But he would have preferred even that than her trying to love him. He would cut his own
 throat before he let her try. He could not have been more horrified than if she was a bloated dead
 thing decomposing on the road and hosting colonies of maggots.
         His skin crawled and his mind went white, but his feet were frozen. He stayed, just as the
 others stayed. When she first entered, he had been terrified she’d take his Ring. Now he wished
 all she wanted was his Ring. At last, he understood the true meaning of obscene.



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         “I care not for your lands,” Estel told Gothmog, though he clearly did. “I want one thing
 and one thing only: revenge on Arwen and her kin!”
         “You mean the Queen Arwen who is a prisoner in our dungeon?” Thüringel asked.
         “Arwen is here?!” Estel cried, straining against Ulbandi’s spell. She released everyone.
 He jumped to his feet and drew his sword. His blood lust rose and he turned on Gothmog.
 “You’re the reason I was born among the Elves and cast into the Wilds to die alone!”
         “Have a care, whelp,” Gothmog warned. He drew his own sword. “I am a King! I
 command legions. With one word, I’ll destroy the lands you war over in Rhûn and all the lands
 between, son or no son. Make one ill-considered move and I will crush you. Then my legions
 will eradicate every Orcelven you have ever birthed!”
         “He is your father,” Ulbandi laughed. She reveled in the terror and chaos she’s unleashed,
 knowing it would live in their hearts for the rest of their immortal lives, with just her words,
 unintentionally. It was so rich. Too rich. Exactly as she would have wished, if she had planned it,
 which she hadn’t. That made this unlooked for feast of horrors even sweeter. “If any other orc
 had infested Celebrían’s womb, your Elvish blood would have overcome the influence. So
 Elrond must have believed, allowing you to be born. But it was no regular orc who sired you, or
 produced the wonder of sickness and contagion you spread like an infection with your loins.
 Only the deformed and twisted Gothmog, the incestuous offspring of incests beyond count could
 produce the wonder of the dark corrupted horror of Estel.”
         Estel’s monstrous roar shook the room. Leaping over the table, he lifted his sword to kill
 Gothmog. This was exactly what Glorfindel had been waiting for. He’d missed Ulbandi’s desire
 for the Orcelven, hidden beneath her helm.
         Other than creating more Nazgûl and annexing Kingdoms, conquest made easy, he’d
 brought these rulers together to ensnare as many Rings of Power as he could. What made this all
 the sweeter, was not just that another of his brilliantly conceived and flawlessly executed plans
 had succeeded in drawing a plentitude of Rings, putting him one step closer to eclipsing Vala
 like Ulbandi, and the day he would no longer fear even Ilúvatar; but he hated Estel and the
 Orcelven even more than he loathed orcs: they were close in kin, yet a vile corruption.
         Glorfindel drew his sword and launched himself savagely at Estel to intercept him before
 the egg, run him through and take his Ring. “Die you filthy Orc!”
         “Stop!” Ulbandi cried. The light dimmed, gravity bent and everyone froze in mid-motion.
 She stepped up to Estel. “Tell me, my sweet abomination, what you want, and it shall be done.”
         Even though she was all that stood between him and the death awaiting him on the tip of
 Glorfindel’s sword, so great was his revulsion, Estel, the Prince of Lies, could not lie and say he
 wanted her or could even stand her. He’d kill Glorfindel himself. “Release me!”
         Sensing his desire, she released everyone except Glorfindel.
         Estel roared and launched himself at Glorfindel’s frozen, helpless form.
         “Come, fair Prince,” Thüringel said. She stepped between them growing gigantic.
 Scooping up Estel, she held him firmly in her giant hands. Having recognized how greatly
 Ulbandi prized the Orcelven Prince, she pulled his sword away gently and tossed it aside, well
 clear of Glorfindel. “Can’t we all be friends?”
         “Queen Thüringel,” Ulbandi commanded. “My lovely Child. Take your lover Glorfindel
 and Prince Estel outside. I will speak with these queens and kings alone. Then we will speak.”
         Thüringel picked Glorfindel up in her other hand and curtsied. “Yes, Valier Ulbandi.”

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                                        Chapter 10




                    The Fall Of Gondolin, Refounded




         It had grown late. Except for guards, the large Meeting Room lay quiet and deserted.
         Behind the mirror the twins vanished, leaving the others safe in the hidden room.
 Invisible and shielding their power and presence, they searched Imladris high and low for
 Gothmog. They were consumed with a rage the likes of which they had not felt in years.
 Learning the orcs had been among the first to leave the valley, they went in search of Arwen.
         It took them much longer than they would have thought to find the dungeons of
 Glorfindell. There were too many new, ugly and indistinguishable buildings in their once fair and
 pristine valley. When they finally did, Arwen’s Easterling guards died instantly from silent,
 invisible dagger thrusts. Her jailers fell noiselessly to the ground. A ring of keys rose, as if
 floating. One inserted itself in the heavy iron door and turned the lock. The door swung open.
         The twins appeared before Arwen. It was one of the greatest surprises and joys of her life.
         “Elrohir!” she whispered. Tears filled her eyes. “Elladan!”
         Elrohir put his finger to her lips and wiped away the dried blood from the cut on her face.
 Elladan unlocked her shackles.
         “They have harmed you,” Elrohir whispered.
         “Yes,” she whispered back. “We will speak of this later. I trust you have a plan?”’
         “Meow.”
         Walking in a circle around the cell entrance was Grimalkin, the black Master-cat of
 Tevildo. The three of them froze. The cat purred. He grated the sharp, pointed iron studs on his
 thick gold collar against the edge of the prison door. Looking back and forth between them,
 Grimalkin ran deeper into the dungeon. After a moment’s hesitation, the twins followed.
         “Where are you going?” Arwen asked. “The exit is this way!”
         “Do you not hear?” Elladan asked.

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        “Elladan?” a voice called again, from somewhere deeper in the dungeon.
        The twins vanished.
        A minute later, a floating key opened the door to another cell. Inside, a beautiful red
 haired Elvish princess in a dirty disheveled gown backed away fearfully from the entrance.
        “Drendelen!” Elladan cried. He reappeared before her.
        “Is it really you?” she asked, wide-eyed and afraid. She shrank back in terror.
        He kneeled before her, one hand over his heart. Holding his other hand up, his empty
 palm opened in invitation to lead her from the dungeon. Fearfully, she took his hand.
        He rose and looked into her eyes. She collapsed in his arms. He held her trembling form
 and gently stroked her dirty, tangled hair. She sobbed against his shoulder and shook.



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         After Ulbandi spoke to the assembled queens and kings, she received their pledges of
 fealty and servitude. Commanding them to return to their kingdoms, they left to gather their
 armies and make preparations to invade Under-earth.
         Riding away, they were delighted beyond words. They had by the merest happenstance
 escaped Glorfindel’s treachery and instead found themselves allied with a Vala.
         A few by long arraignment had agreed to meet in secret.
         In another building in a windowless room, Inaequalis met with Tevildo, Lord of Cats.
 “Glorfindel has promised you have found a weapon that can slay Genesis.”
         “It was a difficult problem,” Tevildo said. He stroked the fur of his collarless white cat.
 “The answer was in the ‘Parma Kuluina.’” He waited for a reaction. Inaequalis didn’t react. “It is
 a book written by the Eldar of the history of Elder Days, kept on the island of Tol Eressëa. We
 were fortunate. Had the Parma Kuluina been in Valinor proper, a copy would never have left
 those shores. Fortunately, Gildor took a few books with him to pass the time during his long
 voyage on his return to Middle-earth.” He set the Parma Kuluina on the table before Inaequalis.
         “I do not read human languages,” Inaequalis said, noting Tevildo’s Ring of Power.
         “I wasn’t sure,” Tevildo explained, petting his cat. “I didn’t want to deny you the
 opportunity, if you did. In an effort to be prepared, I took the liberty of finding the pertinent
 passages when Emperor Glorfindel first contacted me regarding your needs many months ago.
 After too much effort to bother recounting, and great expense, my feline companions were able
 to track down and we procured this.” Beside the book, he set a black, heavy, jagged wedge-
 shaped stone on the table with a heavy thud. It had a Stone-man sized handle.
         “What is it?” Inaequalis asked. He could see it was meant for stabbing. This alone would
 not ensure it was capable of harming Genesis.
         “It is a pyroclastic xenocrist, named Klastos,” Tevildo answered. “They were created by
 the Vala Oromë. One was stolen by Melkor. He had them mass produced before the War of
 Wrath, where a great many Stone-men died. This one was kept by Sauron in the Armory of
 Barad-dûr. He infused it with his deadliest enchantments. After his Fall, it passed through many
 hands before I found it, with many escalations in price. If you stab Genesis, or any Stone-man, it
 will pierce his body and shatter him from the inside out. You brought the diamonds?”

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         Inaequalis’ chest chamber opened. He retrieved a large pouch and laid it on the table.
         With his cat in his lap, Tevildo opened the pouch. He poured out a tall, generous mound
 of large, brilliantly cut and flawlessly glittering white diamonds.
         “Mewlips,” Tevildo said to the white cat. “Go find wherever Grimalkin has wandered off
 to and tell him to gather your sisters. We will be leaving soon.”
         Mewlips jumped down and scurried out the door.
         Tevildo picked up the largest diamond. Holding it up to the lamp, it refracted the light
 into myriad rainbows, scattering them about the room. They glittered brilliantly. “Glorfindel was
 right. The diamonds of Asthenḗs are the largest and most beautiful I have ever seen.”
         Inaequalis lifted Klastos. It fit between his two fingers and thumb perfectly. He raised his
 arms and laughed. His great rumblings sounded like breaking rocks. Tevildo pushed the
 diamonds back into the pouch. He was certain he hoped never to hear a Stone-man laugh again.



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         Thüringel and Glorfindel returned to the Meeting Room. The two of them sat alone,
 backs straight and attentive, before Ulbandi.
         Her servants had removed her helm and armor. She sat in a green royal gown on
 Glorfindel’s throne. To her right, the image of Estel stood frozen in the Elostirion-stone, her
 servants had placed beside her. She often turned and gazed at his sneering face.
         “Alatar escaped you?” Glorfindel asked.
         “Tread carefully, fledgling king,” Ulbandi warned. “Remember whom you address.”
         “Mistress,” Thüringel said, “what are your plans for Lungorthin?”
         Ulbandi’s eyes sparkled. “Though wayward, he is still one of my sons.”
         “Your – ” Glorfindel began.
         Thüringel put her hands on Glorfindel’s mouth. “What of Durin VII? He plots
 Lungorthin’s downfall.”
         “Prophesy says this Durin shall be the last,” Ulbandi answered. “His passing will mark
 the end of Dwarves. Lungorthin’s triumph over him and all six Dwarven Queens, and that upstart
 King Gimli, is certain. All he must do is wait, as I have ordered.”
         “Speaking of Prophesy,” Glorfindel said, recovering himself a little. “Since this is the end
 of Dwarves, it seems undeniable the End Times have come. What of the Dagor Dagorath?”
         “What of it?” Ulbandi asked. Her eyes glowed red.
         “Mistress,” Thüringel said, “I know how you can find the bones of Túrin Turambar.”
         Ulbandi regarded her gravely. “Speak.”
         “One of the hobbits you met in Eidolon carries a stone from the Shroud of Túrin,”
 Thüringel responded. “His name is Fastred, son of Folcred, of Greenholm in the Shire.”
         “How did you come by this knowledge?” Ulbandi asked.
         “Inaequalis and I spoke after you dismissed him,” Thüringel explained. “Long have we
 been friends. I asked how the surface dwellers escaped. He said Genesis heard Fastred’s call, all
 the Stone-men did. But only Mytikas and Genesis knew from whence it came.”



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         “I shall cleave a thing or two from off that hobbit when next we meet!” Ulbandi hissed.
 “But first I want to hear how you intend to persuade Prince Estel of Rhûn to return with me to
 Forodwaith, despite his – reservations.”
         “Yes, Mistress,” Thüringel bleated. “We can and will be honored to help. We only
 humbly request a modest boon in return.”
         “Of course, Child,” Ulbandi said. “Name your price.”
         “It’s not for ourselves we ask,” Thüringel told her. “King Inaequalis has pledged his army
 to help us invade Arnor and Gondor. In return, he requests a way to stop the Autono-men. They
 break the Stone-men and steal their crystal hearts. Those crystal hearts are the only things that
 can power the Autono-men’s mechanical bodies and free them from dependence on Men.”
         “What do you know of the war between the Stones and Autono-men?” Glorfindel asked.
         In their hidden room, Elanor’s Ring began to glow with a pale-blue light. She saw
 something flashing in and out of Sight in the room, behind murky mists. It swirled around and
 settled on Glorfindel’s eyes. “There’s something evil… about Glorfindel’s eyes.”
         “His eyes?” Eldarion asked.
         As if he’d heard, Glorfindel’s head swiveled on his shoulders, turning towards them.
         “Lady Elanor…” Alatar hissed. “The glow from your Ring!” Without waiting for a
 response, the wizard’s staff glowed and he whispered, “…phanaikelûth…”
         The surface of the magical mirror brightened and blocked her Ring’s glow.
         Glorfindel admired his reflecting golden hair.
         Elanor grew faint and would have fallen, but Fastred caught her. “Are you alright?”
         “Your Ring is glowing,” Theo told her. “Glorfindel almost saw it! What’s wrong?”
         The blue glow from her Ring grew brighter. Looking at Theo, a terrible vision filled her
 eyes and pain lanced through her heart. About to scream, she fainted.
         “Long ago, Aulë and Oromë plotted revenge against my former servant, the Maia Melian.
 They blamed her for unwittingly helping me seduce Melkor,” Ulbandi answered. “They created
 the Autono-men to destroy her and her servants, the Metamorphs of Archany. But one of my
 spies informed me. I was able to substitute the ichor in the veins off the Autono-man King
 Khalkós with my own. Enslaved by me, Ilúvatar would not infuse the Autono-men with the
 Secret Fire. Aulë had no choice but to destroy them and much of his power he had poured into
 them. Or, he could reconfigure them with gears and springs. This he did. Though powerful, they
 need to be wound by the hands of living being. Lifeless, in many ways they are wiser than living
 things. Their minds are made of gears, sprockets and springs, and not a single sieve. Nothing
 they learn escapes them and they grow ever wiser.”
         “But they are powerful in calculation only,” Thüringel interjected.
         “True,” Ulbandi affirmed. “Aulë and Oromë redesigned the Autono-men. They freed
 them from the need for human slaves by using the crystal hearts of Stone-men. Thus, they hunt
 them. But Khalkós sought to be free of my control, which the metal of the Lamp Illuin can do.
 After many Ages, he found it and forged from its ruins his golden crown. He also learned that he
 alone can power his Autono-men forever if finds the Girdle of Melian. Free of the control of the
 Valar and his need for slaves, and driven by his jealousy and hate of living things, especially
 magical beings, he will wipe out every living thing in our magically created reality.”
         “What would be left?” Glorfindel asked.
         “A world full of self-replicating, unliving Autono-men,” she answered, “free of women
 and filled with never ending calculation.”
         “A place I have no doubt,” Glorfindel told Thüringel playfully, “you would be happy.”

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          “Laugh if you wish,” Ulbandi scolded. “The Autono-men would have created that world
 long ago when Aulë first created them if my blood did not run through the veins of their King. It
 was I who kept the Autono-men from finding Melian. I kept them focused on destroying the
 Stone-men for their hearts and they have waged unending war against each other ever since.”
          “How goes the war?” Glorfindel asked.
          “Stalemated,” Ulbandi answered. “Khalkós forged his crown, breaking free of my control
 and betrayed me. Since the power of my spells alone could no longer stop him, I used the power
 of the Valar woven into the stones of Weathertop to imprison him instead.”
          “Why do that?” Thüringel asked.
          “With the help of Inaequalis, I used the power of my own Valarin spells to imprison
 Mytikas and the Cementation of the Dodecahedrons there. I needed only to find an unwitting
 agent with the power to break both spells to revive them and they would destroy each other.
 From the ruins of Amon Sûl, I would take the crown of the Autono-men King and the crystal
 hearts of the fallen Cementation. These would power the rest of the Autono-men, again making
 them my deadliest servants without the need for human slaves. With the Crown of Khalkós on
 my brow, I will rule an army of Autono-men and be impervious to the Power of the Valar.”
          Glorfindel’s eyes grew wide.
          “What happened?” Thüringel asked.
          “Things have gone from worst to worse!” Ulbandi cried. “Now I understand how the
 hobbit Fastred freed them! The Stone-men have returned in strength to Under-earth and they
 assail the forces of Inaequalis. Khalkós fled Amon Sûl and found his dormant Autono-men.
 Winding their gears himself, he revived his armies. They returned to their ancient lands and
 human worshipers. Men revere them as Valar. They believe the Autono-men are mechanical
 Gods of Old. The Autono-men secured their borders, subdued rival tribes of Men and exact
 tribute. If any refuse, Khalkós lifts great boulders and crushes his foes beneath them. Khalkós
 gathers news of all that has happened since I imprisoned him. His mind of inhuman calculation
 plots to destroy all magical beings. If he succeeds, the Autono-men will inherit Middle-earth.”
          “Where is the hidden Treasury of Elendil?” Thüringel asked.
          “Beneath the crumbling remains of Weathertop,” Ulbandi answered. “Erestor, may he rot
 in the Void, was blind to the treasures beneath his feet and lost the Palantír of Osgiliath. Only the
 Prince of Fools can stand on the richest hoard in Arda and leave poorer than when he arrived!”
          “What has become of these artifacts?” Glorfindel asked.
          “They are gone,” Ulbandi told them. “Taken by the indistinguishably boring twins, those
 unendurably stupid hobbits, that pathetic excuse for a wizard and the brats of the House of
 Telcontar.”
          “If Alatar has plundered the Treasury of Elendil, he may gather the remaining Rings of
 Power before us,” Thüringel said. “What can you offer in exchange for the Master-Stone?”
          “I do not need Celebrimbor’s Rings to power the Master-Stone,” Ulbandi answered. “I
 am Valier. The Master-Stone can be powered by my will alone. Unlike Melkor, I have not
 squandered my strength in raising mountains and creating armies for useless wars.”
          “Don’t forget, we require a price for the Master-Stone,” Glorfindel told her.
          “Your life is the price!” Ulbandi snapped. He flinched in fear and stepped behind
 Thüringel. “If you do not give me access to the Stone, I will take it! Your armies and spells stand
 between us, but I am raising an army the likes of which Middle-earth has never seen! Combining
 surface dwellers and my unstoppable abominations, whose horrors you cannot imagine, I will
 raid Mordor and Glorfindell! All the kingdoms on the surface will fall, bringing ruin to you all!”

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         “As attractive as it sounds,” Thüringel said, mischievously. She purred seductively,
 putting forth all her subtle power to calm Ulbandi. “There is no need, Mistress. Forget the Rings.
 We will find them ourselves. All we want as the groom-price for the love of Estel are the missing
 Silmarilli. If you give us those, then the Master-Stone, and all of Middle-earth, are yours.”
         “I want the missing Palantíri,” Glorfindel reminded Thüringel. “They are the only way
 we can find the rest of the Rings.”
         “That’s right,” Thüringel said. She turned to Ulbandi. “It is rumored they were lost in the
 ice of your northern kingdom. You are the Queen of Ice.”
         “Finding them in her own realm should not be difficult,” Glorfindel told Thüringel. “I
 found two easily.”
         “You stole them,” Ulbandi rebuked.
         “Steal is such an unkind word, Mistress,” Glorfindel mewed. “As one of the Eldar, I have
 lawful access to the Stones.”
         “My only interest in Laws is breaking them,” she said. “If you hadn’t lost the Osgiliath-
 stone and let Alatar defeat you, they wouldn’t have invaded my lands and I wouldn’t be here.”
         “Then you would not have met that young Orcelven prince,” Glorfindel reminded her.
 “Who only Thüringel can give you.”
         “So you say,” Ulbandi said. She turned to Thüringel. “How can you accomplish this?”
         “I have a spell,” she answered. “No one else has, to ensnare the heart of any man.”
         “You’ve found a way to increase the size of your chest?” Ulbandi asked.
         “I really do need to, don’t I?” Thüringel laughed. She looked down at the cleavage of her
 opulently wanton breasts. Narrowing her shoulders, she let them fall low in her blouse, as if she
 was flat chested. Sitting back, she lifted her chest and they grew to twice their enormous size.
 “But they’ve been growing larger all by themselves. Why the surprise? You have offspring.”
         “You’re pregnant?” Ulbandi asked.
         “We are,” Glorfindel responded. He hugged Thüringel and kissed the top of her head.
         “Who’s the father?” Ulbandi asked.
         Glorfindel’s skin darkened, going right through red to a terribly bruised purple. “Since
 you have been so kind to ask Mistress, we want the Silmarilli to delight our baby’s eyes.”
         “But those would only be like asking for both the Sun and Moon,” Ulbandi said. “What
 of the stars?”
         “For them we have the Master-Stone,” Thüringel smiled. “And soon, so shall you.”
         “You want two Silmarilli and two Palantíri – four long-lost beautiful and powerful Stones
 – for larger breasts?” her chest grew twice as big as Thüringel’s. “I can do that myself.”
         “Ladies!” Glorfindel exclaimed. Forgetting his fear, his eyes danced between them.
 “There’s no need for this heavy breathing, sweating and swelling of breasts!” Only Glorfindel
 was breathing hard and sweating. He looked across the room. In the mirror, he admired his long
 fingers. Stroking his waist-length blond hair, he wondered if Ulbandi noticed how bright it was.
 “As much as I enjoy the competition. Should Estel and I lengthen and compared our manhoods?”
         “He would never do such a thing,” Ulbandi told him.
         “In fact,” Glorfindel countered, gesturing at the palantír. “We have already discussed it.”
         Estel’s livid face came to life in the Elostirion-stone. “I’d rather do that with you than be
 with her! I have greater desire to trek to Forodwaith and bore a hole in a glacier than try to
 couple with that mad ancient Vala’s frozen icicle of a – ”
         “Hush!” Thüringel hissed, waving her hand. Estel’s voice stopped mid-word and his face
 vanished from the Stone. “He’s so charming! I see now why you like him.”

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         “I weary of this,” Ulbandi said. Her eyes glowed red again. “Tell me your offer.”
         “What I have,” Thüringel said, as her and Ulbandi’s breasts returned to their normal,
 obscenely overly-large sizes, “is the only genuine falling-head-over-heals-in-love-with-you-for-
 all-eternity potion ever created in Arda.”
         “Of course you do,” Ulbandi told her. “Or you wouldn’t have been impregnated by the
 feminine beauty of Girlfindel.”
         Glorfindel laughed, clutching his sides and tears rolled down his face. Quieting, he rose
 and went to the door. “I leave you to finish here. I’ll be in our chambers sodomizing our newest
 batch of slaves. Join me when you’re done with her. We’ll dismember a few together.”
         Thüringel laughed, her mind on the waiting delights. With him gone, she turned to
 Ulbandi. “You’ve heard our terms.”
         “Fëanor created the Palantíri and Silmarilli using Valarin arts,” she answered. “I could no
 more fail to find them than I could fail to punish anyone who displeases me.”



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         Glorfindel didn’t go to his bedchambers. Angry, yet terrified of Ulbandi, he went to a
 secret meeting room. It was hidden by spells of concealment he had long ago mastered. Before
 entering, he composed himself and smiled with a confidence he hadn’t felt facing the Valier.
         Waiting anxiously seated inside were Thû, Swahillogûz and Incánus.
         “What’s become of Ulbandi?” Incánus asked. He nervously looked out the door.
         “She negotiates with Thüringel,” he answered, closing it. “We all have our price. Tell me
 of the Fires of Orthanc. You’ve hinted at them fearfully, yet covetously. A mix I rather like.”
         “We’re agreed?” Thû asked. “The formula in exchange for access to the Master-Stone?”
         “We are agreed,” Glorfindel affirmed.
         “Very well,” Incánus said. “The Fires of Orthanc were refined by Aulë to produce two
 substances: Naphthylminium and Naphthylmite.”
         “Called by some,” Swahillogûz noted, “the Fires of Ilúvatar.”
         “Blasphemy!” Glorfindel cried, horrified. Abruptly, he checked himself. “Why should I
 concern myself over heresies? Tell me of Ilúvatar’s Fires.”
         “Like fire, they burn,” Incánus told him. “They strike like lightning, sound like thunder
 and pummel like a hail of battering rams. Their winds blow stronger than tempests, legions of
 tempests blowing in every direction. Nothing withstands this power.”
         “It is whispered the Fires of Orthanc can kill the Valar,” Swahillogûz told him. “It can
 even destroy Númenórean stone. The Tower of Orthanc will fall to us. The black walls of Minas
 Tirith will fall. We could even destroy the Palantíri.”
         “Nothing can destroy a palantír,” Glorfindel said.
         “The Fire of Ilúvatar can,” the warlord insisted.
         “Then why haven’t you?” Glorfindel asked.
         “All copies of Saruman’s formula were destroyed by Treebeard,” Incánus answered. “His
 labs and the equipment in the Tower of Orthanc were given to Elessar.”



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         “Having been used by so many of Saruman’s servants,” Glorfindel considered, “with a
 bit of guile, bribery and torture, the formula shouldn’t be beyond your power to reconstruct.”
         “We have done this,” Thû told him. “Perfected every step, except for one.”
         Glorfindel leaned forward. “Which one?”
         “The alchemical formula must be purified with the wood ash of a tree,” Incánus
 answered. “Or it is powerless.”
         “Trees are plentiful,” Glorfindel noted.
         “Not just any tree,” the warlord said. “The wood ash of only one tree will do.”
         “Which tree?” Glorfindel asked.
         The three of them looked at each other. Incánus answered. “We don’t know.”
         “I fail to see the problem,” Glorfindel told him. “Try them all.”
         “We have,” Swahillogûz responded. “The one Saruman used must have gone extinct.
 Many trees have, since the coming of Men. Or it fell with Númenor to the bottom of the ocean.”
         “Perhaps it was destroyed by the Ents,” Incánus offered.
         “Treebeard would never destroy trees,” Glorfindel said. “You haven’t tried them all.”
         “Yes we have!” Thû insisted. “We have scoured and burned the forests in every land,
 from one end of the world to the other! If you knew the lengths we’ve gone. From the shores – ”
         “You missed one,” Glorfindel told him.
         “Why do you think it’s even possible, we missed just the right tree?” Swahillogûz asked.
         “I don’t think,” Glorfindel told him. “I know. In fact, there are two trees you missed.”



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         Thüringel entered the Moon lit gardens in an almost sheer gown. It generously displayed
 her figure. She carried a silver tray set with three wine glasses and a full decanter.
         Estel looked at the fountains and statues. They hadn’t changed since he was last here,
 centuries ago. Turning to her, he drank in her lithe beauty.
         She set the tray down on the garden table. “Refreshments?”
         “Where are the others?” he asked, looking around before eyeing her hungrily.
         She poured three glasses and lifted the tray. “You know how things are with conquerors,
 my Lord, endlessly planning. You are one, plotting to take over the world.”
         He picked up his glass and held it up. “To taking over the world.”
         She lifted her glass and pouted. “Is that all you want?”
         “No,” he answered, eyeing her breasts. “I want more.”
         “Let us drink to more, my Lord,” she said, raising her glass. “To all you want.”
         “To all I want,” he toasted, clinking her glass.
         She drank and stepped past him into the gardens.
         He drank, set his glass down, turned to pursue her and came face-to-face with the most
 beautiful woman he’d ever seen.
         “Good day, my Lord,” Ulbandi said. Without her helm and armor, he still recognized her
 voice. She picked up the third glass and drank. “How does the wine?”



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         Thüringel had dressed her in a seductively beautiful, red shoulder-length gown. Braiding
 her hair and piling it artfully atop her head, Thüringel had lifted it off her shoulders, displaying
 the fine feminine lines of Ulbandi’s long neck, fragile collar bones and opulent breasts.
         “I…” Estel began. He stopped, enchanted by the beauty of her perfect skin.
         Her dark eyes burned. She turned to the central statue and took another sip. “I am told,
 these gardens have witnessed the meetings of many disparate peoples. Yet they still discovered
 common ground. Is this not true, my Lord?”
         Estel was having problems concentrating. He knew she was Vala and he shouldn’t think
 of her desirously, even if respectfully. But his eyes were drawn to the beauty of her face, her
 hair, hands, lips, her body…
         He began to sweat. What should he say to such a magnificent woman? What could he
 say? “I… why, yes. I actually do remember my adoptive father Elrond, telling me something
 about him meeting my mother here. See that statue carved by Drendelen?”
         They turned to where a great marble pillar bore one of Drendelen’s masterpieces. It was
 her magnificent, larger than life, ‘Glorfindel Slays The Balrog.’
         “Such brutality! Such power.” Ulbandi admired the work, despite loathing Glorfindel.
         “I agree,” Estel said, thoughtfully. “Though it’s not my favorite.”
         Surprised, she turned to him. “Which is your favorite, my Lord?”
         He led her to the back of the gardens. On a downward slopping hill there stood a grove of
 dead Eldar trees. In the center of the grove on a pillar of black marble, rose Nerdanel’s most
 controversial masterwork. Two powerful figures were locked in a titanic, lethal struggle.
         “My – Lord…” Ulbandi gasped, before the larger than life marbles. 20,000 years after
 they were sculpted, they still seethed with malevolence: as if captured by a spell in a moment of
 terror and malice, and at any moment completing the grizzly depiction of ‘Ulbandi Slays Draëd.’
         “Even as a child,” he remembered, taking another drink. “I saw it and knew it was one of
 the most beautiful things I had ever seen.”
         “This is one of the most beautiful things I have ever seen,” she told him.
         “I had thought it the most beautiful,” he said, turning to her. “Until now.”
         Their eyes locked.
         Ulbandi, the Mad Vala – felt dizzy butterflies fluttering through her stomach.
         She turned away, trying to catch her breath. “I, am thinking of returning, to Forodwaith.”
         “Forodwaith?” he asked. He couldn’t help noticing the pale skin on her slender shoulders,
 illuminated softly in the Moon light. There was something about Forodwaith… something he
 was thinking of doing there. He couldn’t remember. He swallowed.
         “It is beautiful there,” she said, looking up and raising her hand. “The stars reflect so
 brightly off the ice. As if my citadel walls rose higher than the skies, looking down on stars.”
         “That sounds… enchanting.” He stepped towards her. “But must you go so… soon?”
         He didn’t want her to leave, but couldn’t bring himself to demand she stay. He didn’t fear
 her power (anymore). He didn’t want to disappoint or displease her. He racked his brain for
 something to say to make her stay, or something to do to please her, before she left.
         “Perhaps, you might like to come one day,” Ulbandi said, taking another sip of wine.
 “See the wonders of Forodwaith… with your own eyes.”
         Outside, the Sun began to rise. Glorfindel took back the seven Rings he’d given his new
 undead Ringwraiths, the queens and kings the Nazgûl had killed the day before in the Meeting
 Room. He gave his new servant queens and kings instructions to return to their lands. They were



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 to gather their armies and then march with him to destroy the Shire. His undead servant queens
 and kings bowed and rode away, leading their terrified men-at-arms.
         Inside, the burning flames of the open pits at the center of the Hall of Fire grew dim.
 Lemminkäinen the Black and Incánus the Gold regarded each other warily – in silence.
         “So,” Incánus finally said. “It’s been a long time. We’ve come quite a distance. Very far
 indeed, from the Halls of Mandos.”
         “So very true,” Lemminkäinen responded. She wondered if he belittled her choice to
 become outcast from the Valar. And her plight: regent of the frigid lands of the North, constantly
 pinioned between the barely containable fury of the Balrog and Werewolf Queens. But worse for
 her, she was forever imprisoned in a land of unending snow and bitter cold. “Ages. You serve
 Swahillogûz, the Albino Abomination of Northern Harad – it seems.”
         “I am a wanderer,” Incánus told her. “I give council to those who wish to benefit from the
 wisdom of one tutored by the Valar. You serve the Vala Ulbandi, in Forodwaith.”
         “I do,” she replied insolently, deciding he mocked. “I was so sorry to hear of the loss of
 your son. I cannot imagine harder trials or a greater burden than such grief. My condolences.”
         “Thank you,” Incánus said, slighted by her contemptuous use of the death of his son.
 “Your heart must swell with pride at the accomplishments of your own children. Forgive me,
 I’ve lost track. What has become of that bewitching daughter of yours?”
         “I’m afraid I filled her pretty little head with too many tales of the prowess and staffs of
 the Heren Istarion when she was a child,” Lemminkäinen answered. “She is positively dying to
 meet you, as well as the rest of our Order. She speaks of little else.”



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         The twins reappeared before Eldarion, Alatar, Calcarin and the hobbits.
         “We feared for your safety,” Eldarion told them. “You were gone so long.”
         “Your mother is safely out of Imladris,” Elrohir informed him.
         Eldarion gripped both their shoulders. “Thank you.”
         “Something has been going on outside,” Alatar told them. “Many rode away last night,
 after you left. The rest of Glorfindel’s guests and his newest Ringwraiths departed Imladris with
 their men-at-arms this morning before Sun rise.”
         “We saw,” Elladan affirmed. “Ulbandi sent most of the kings and queens back to their
 lands to gather their armies. She plans to invade the rest of Under-earth. This morning,
 Glorfindel sent his new Nazgûl Kings and Queens to gather their armies so he can invade the
 Shire. We will attend to these matters soon. First, we must get the six of you to safety.”
         Crack.
         A hairline fracture zigzagged across the surface of the dragon egg.
         “Summon Emperor Glorfindel and Queen Thüringel!” the Captain of the Easterling
 guards ordered his lieutenant. “Immediately!”
         “Yes sir!” his lieutenant cried. He ran from the room shouting.
         “We cannot allow a wyrmling to imprint on Glorfindel,” Alatar told them.
         “Nor Thüringel,” Eldarion said. “Some nestlings grow quickly into dragons.”

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         “We are more concerned about Ulbandi,” Elladan told him. “We do not know what has
 become of her.”
         “Nor Lemminkäinen and her servant-queens,” Elrohir added. “Anfauglir and Latistha. A
 dragon in any of their hands would be catastrophic.”
         “I’m afraid there may be too many of them and too few of us,” Alatar warned.
         “This is not the first time we have faced great power and greater numbers,” Elladan told
 him. “Doubtless, it will not be the last.”
         Elrohir asked the wizard. “How long can you hold Ulbandi off?”
         “Hold her off?!” he responded. “You’re talking about a Vala as if a mortal creature! You
 mean survive against her!!”
         “Hush,” Elladan warned. “Though I trust your spells, it does no good to shout.”
         “You keep forgetting,” Elrohir reminded. “You first saw Ulbandi in Aman, unincarnate.”
         “Clothed in flesh,” Elladan assured him, “she can be defeated if her body is destroyed. If
 we kill her, her spirit will be forced to return to Aman. There she will face the Judgement of the
 Valar, as Morgoth did.”
         Alatar looked down and sighed. “Very well. Since we have the advantage of surprise and
 I will be striking first… I should be able to hold her off for three minutes. Perhaps less.”
         “What is the soonest she could possibly vanquish you?” Elrohir asked.
         “I have to say,” Alatar told them. “I despise the direction of this conversation! You both
 do understand this, don’t you?”
         “We do,” the twins said, softly.
         “I will give you three minutes before I fall,” the wizard said. “No matter what.”
         “That will be enough,” Elladan affirmed. He removed a dazzling white diamond set on a
 mithril band, from the many they carried, which Fastred had found in the Treasury of Elendil. He
 fastened the first on Eldarion’s head, placing the diamond in the center of his brow. “Wearing
 timbarëmírë is how we and the Chiefs of the Dúnedain have ever gone to battle.”
         Elanor put on hers. The twins put one on Alatar, Calcarin, Theo and Fastred.
         “Thank you tyenya, on behalf of myself and our friends,” Eldarion said. “It is an honor to
 fight beside every one of you.” He drew Ringil. It glittered with a cold light. “Estel is mine.”
         “I will avenge my family against Lucifugus,” Calcarin told them. Drawing the Sword of
 the Bloodstone, it gleamed luminous red.
         Theo drew the glowing edge of Sting. “Glorfindel is mine.”
         From their packs, the twins withdrew the pieces of their polearms. They looked down at
 Theo and back up at Eldarion as they assembled them, preparing to speak. Eldarion stopped them
 with a shake of his head and Theo was very grateful for his faith in him. Elanor drew Eket.
         “What can we do?” Fastred asked. He drew Sam’s barrow-blade with less confidence.
 Looking at the blood red eyes on the spiraling serpents threading over the cross guards on his
 sword, he swore he’d act as decisively as any and prove himself a worthy companion.
         “Alatar’s first strike against Ulbandi must kill her,” Elladan answered. “Eldarion will aid
 and protect him. Elladan and I will kill Glorfindel and Thüringel, and as many of the others as
 we encounter. Calcarin and you three must use your blades and Rings to destroy the Nazgûl.”
         Doubtful, full of fear and trembling, nonetheless they nodded.
         The twins looked at each other, communicating more than words. Closing their eyes, they
 concentrated. Their forms shimmered.
         Elanor saw their Rings glow.



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         “In the far, far distance,” Calcarin noted, lifting his head and cocking his ear. “From far
 away in the heights of the mountains, I hear… the beginnings of the faintest roar.”
         “What is it?” Alatar asked.
         Glorfindel and Thüringel ran into the Meeting Room. Excited, they dismissed and cleared
 everyone out. Closing and locking the heavy double doors, they stood side by side just outside
 the meeting tables enclosing the dragon egg.
         Crick.
         Another zig-zag fracture tore across the egg’s white surface.
         “Oh, I can hardly wait!!” Thüringel exclaimed. “This is so exciting!”
         Crackle.
         Three more fractures spread, connecting the other two. A sharp baby dragon tooth broke
 through the egg’s white surface.
         “Now!” the twins shouted. With their polearms whirling, they drove the steel through the
 enchanted wall and shattered the great mirror. Launching themselves into the room through the
 open magical portal, they attacked Glorfindel and Thüringel. Following close behind came
 Eldarion, Alatar, Calcarin and the hobbits.
         Glorfindel and Thüringel turned, and together yelled at Alatar. “You!”
         “Akašân Mâchan uruš igas, Athâraigas Dušamanûðân!!” Alatar shouted. His staff became
 blindingly bright and cast his most powerful enchantment.
         Thüringel was screaming and growing gigantic. A Valarin beam of pure white light
 intended to kill Ulbandi, flashed from his blindingly bright staff. It struck her – blasting her
 monstrous growing form towards the double doors. She had already grown too large to pass
 through them. The lethal blast blew her skin off and smashed her body through the walls.
         “Die!” Glorfindel screamed. Eight ruby red beams shot from his hands at Alatar.
         Eldarion leaped between them lifting Helcar. Deflecting the beams with his magical
 shield, he struggled to stay standing against the onslaught of power.
         The twins closed on Glorfindel with their polearms whirling. Nine Hunters In Grey, the
 deadly Ringwraiths, rushed in through the shattered wall. Screaming monstrous howls, they
 made everyone’s blood run cold and blinded their minds with terror. The Nazgûl swooped in
 front of Glorfindel and lifted their grey bows fitted with long grew arrows.
         A piercing cry rose from Calcarin, the only one not felled by the terror emanating from
 the Nazgûl, blind to the horror. His collocoll cry hurt his friend’s ears, but its power was tightly
 focused and hit all nine Ringwraiths squarely. They dropped their bows and fell to their knees,
 unable to stand, their dead ears bleeding and their balance – disrupted.
         The twins swung their polearms and their bladed ends struck two Hunters. Both blades
 shattered, but the enchantments in the Elvish wood protected their arms. The monsters screamed
 and fell. Reversing their polearms, they struck two more. Two more blades shattered and two
 more Nazgûl fell. The twins dropped their shattered polearms and drew their Lhang swords.
         “To arms!” the Easterlings outside the shattered wall shouted to others in the distance.
 “The Emperor is under attack!”
         Glorfindel lifted his right hand. On his third finger, the black gem glowed atop the Ring
 which Sauron told the Mirdainions was Alcarinque, the Ring of Kings and Command. But
 secretly in Barzhûrk he named Rohtalië, the Ring of Usurpation, Tyranny and Corruption.
         A cold black beam shot from his hand and struck Calcarin. His ears began ringing. His
 mind filled with a cacophony of false images. He fell to his knees blind, confused and helpless.



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         “What fools you are!” Glorfindel laughed at the twins. He drew his sword. Before him,
 the five remaining Nazgûl rose. Horror and deathly fear rose with them. “Together, you lack half
 the wit of trolls! Even they know better than to challenge the Emperor in his own home!”
         “This is not your home!” Elrohir shouted. Devastated by terror, he still resisted, aided by
 the power of his Ring. Refusing to succumb, he lifted his trembling hands. They glowed as
 bright and hot as stars, hotter and brighter than the fires of Glorfindel. “It is ours!”
         Glorfindel screamed and fell beneath the burning radiance blasting out from Elrohir’s
 fingers. The undead flesh of the five Nazgûl began smoking, then burst into bright-blue eldritch
 flames. The Ringwraiths screamed, their undead flesh burned and they fell.
         Arwen ran up behind the two Easterlings that had been outside, guarding the broken
 doors, a dagger in each of her hands. As they drew their swords and prepared to enter, she
 stabbed them in the back. They screamed and fell dead.
         “Sister!” the twins shouted. Running to her as she entered, they lowered their swords.
         “Why have you returned to the valley?” Elladan asked.
         “I want his head!” Arwen screamed, pointing her bloody daggers at Glorfindel.
         The twins turned. Glorfindel’s smoking form rose painfully from the ground.
         Arwen raised her bloody daggers – to stab her brothers in the back.
         “Beware!” a cry rang out. Behind Arwen, Incánus’ staff shot a golden beam of light and
 it enveloped Arwen in a golden oval. She was imprisoned and immobile, as if encased in amber.
         In the distance, an army of Easterlings came charging towards the House of Glorfindel.
         “You cannot beat me here or anywhere else!” Glorfindel yelled.
         Elrohir grabbed Arwen, the golden glow incasing her vanished and she collapsed in his
 arms, unconscious. The golden beam had held even her lungs immobile.
         Eldarion and Alatar joined them at the door.
         Elrohir handed Arwen to Eldarion. “Carry your mother out of the valley! We will destroy
 Glorfindel and bring our companions.”
         Eldarion nodded. He and Arwen vanished.
         “You foolish unlicked cubs!” Glorfindel sneered at the twins and Alatar. “I am protected
 by Prophesy. No man can defeat the one who wears the Ring of the Witch King!”
         “That’s not true!” Theo cried. As the others fought, he and Fastred had crept around
 behind Glorfindel. Now they leaped up, swinging their swords. “My father laid the Witch King
 low in the Pelennor Fields and we’re here to do it again!”
         If Theo had remained silent just as Merry had, they might have succeeded. Alerted by his
 cry, Glorfindel leaped up well clear of their blades. Landing nimbly, his long sword struck
 Fastred. Off balance, he hit him with just the flat of his blade. It was more than enough to send
 Fastred flying backwards. He rolled under the meeting tables and struck the cracking dragon egg.
         “Fastred!” Elanor shouted. “Theo – watch out!!”
         Glorfindel swung his sword again, cutting across Theo neatly. Sam’s mithril coat saved
 him, but the blow batted him across the room. Theo struck the far wall, dropped Sting and hit the
 ground. Groping, he found the pommel. Grasping it and gasping, he rose on unsteady legs.
         “You are the son of Meriadoc?!” Glorfindel shouted, raising his hands and his Rings
 began to glow. “Let the son of the one who hurt us atone for the sins of the father!”
         “Ow!” Calcarin cried. He fell to the floor, his hands against his ears. “Make it stop!!”
         Glorfindel locked eyes with Theo. A brilliant glow and a deafening shriek rose from
 Arien, the Ring of the Eclipsed Black Sun. It was taken up by the other Rings. They flared bright
 and hot. Framed in the darkest shadows, they burned brightly across Glorfindel’s body.

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          Drowning out the others, the Morgul spirit in Arien SCREAMED.
          Everyone fell to the ground, their hands on their ears, unable to stop the pain, except
 Calcarin. He stopped his ears with collocoll dough. Remembering where last they stood, he rose
 and went to the twins. He filled their ears with dough and pulled out more. The twins guided him
 to where Alatar lay writhing in pain.
          “Use the Sky-stone!” Elladan shouted to Theo.
          “This is why you were chosen!” Elrohir yelled.
          Theo tried, but his eyes were locked on Glorfindel’s and his body was frozen in place.
          Two beams of brightly burning fire burst out of Glorfindel’s demonic eyes. They ignited
 the air and burned as they cut across the room. The two lines of leaping flames shot straight
 through the Meeting Room heading for the imprisoned eyes of Théoden.
          “Look away!” Alatar Commanded.
          Theo couldn’t move. His body spasmed with desperate effort, but he was transfixed,
 pinned in the deadly grip of the living fires lancing through the air.
          They struck his eyes and he screamed. His body began to glow.
          “Alatar!” Elanor pleaded. “Save him!!”
          Fire burst from Theo’s hands and his hairy hobbit feet caught fire. Flames flared up,
 erupting from the top of his head. The fire consuming Theo grew bright as a furnace and his
 scream merged with Glorfindel’s Rings. The scream of the Ring of the Witch King rose above
 the others, exulting in revenge. Soon the screams began to fade. The deadly brilliance enveloping
 Theo dimmed. The fires linking Glorfindel’s eyes to where Theo’s had been went out.
          All that remained was his mithril coat, scorched sword belt and timbarëmírë, lying atop a
 small pile of smoking ash. Where he had dropped it at his feet, there lay Sting.
          “I will find the Master-ring and bend the Valar to my will!” Glorfindel cried. “I have
 learned the secret: the shortest distance between two points – are the Fire Eyes of Glorfindel!”
          “Theo, no!” Elanor lamented, drawing Glorfindel’s attention. For the first time, he saw
 the Ring of Power on her finger as she lifted it, trying to use it to attack him. “You monster!”
          “Glorfindel!” Elrohir called. Pointing his sword at him, he and his brother ran forward.
 “The hobbits have a saying, ‘you should pick on someone your own size!’”
          “The true scope of my new powers have been revealed!” Glorfindel laughed. He ignored
 them and rejoiced at the first of his many coming victories. “All I required were worthy foes!”
 He turned to Elanor. “Look at me! See your death – in the Fire Eyes of Glorfindel!”
           “Here we are!” Elladan shouted. He and Elrohir ran between Glorfindel and their friends.
 “Not one foe, but two! All the better for you. Try and do to us what you did to our friend!”
          “Or perhaps,” Elrohir said, splitting from his brother. The two of them went around
 Glorfindel, closing from opposite directions. “If you engage your Fire Eyes to slay one of us, the
 other will slay you!”
          “I need not hold your eyes!” Glorfindel told them, but backed away fearfully. “I have
 only to ensnare them a moment. Then your lives and Rings of Power will be mine!”
          Caught off guard, the twins stopped.
          “Yes, you simple-twins!” Glorfindel sneered. “I have studied the Lore of the Rings and
 searched for years within the Palantír. I know where all the Eleven and Five have lain hidden. I
 claim yours now and the lives of these Ringbearers! All the Rings of Power will be mine!!”
          Glorfindel locked eyes with Elladan. Two trails of fire lanced across the room. Before
 they could strike, Elrohir vanished and Elladan followed. The flames continued on, striking the
 wall behind them. It burst into flames, setting the House of Glorfindel on fire.

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         “How can you hide?” Glorfindel asked. His eyes darted around the room. “Even before I
 wore these Rings, I could still see the wraith world!”
         No answer came.
         “A hobbit trick won’t work on me!” Glorfindel screamed. He too vanished.
         Fire Eyes shot from where he had been standing, through the place where Elrohir had
 stood. The burning beams struck the wooden pillar behind. It broke apart and the falling pieces
 caught fire. The burning remnants crashed to the floor.
         “You cannot escape!” Glorfindel shouted.
         Fire Eyes shot from different places as invisible, he leaped around the room. He struck
 tapestries, ceiling beams and arches. The House of Glorfindel burned. “I will incinerate every
 room, every building, every tree! I will destroy this entire valley – you will not leave alive!”
         “Stop, you fool!” Thüringel cursed. She ran in her normal size and hideously mangled,
 smoking true form. Half her undead flesh had been blasted off. Many of her bones were broken.
         “You are worse than fools,” the voices of Elladan and Elrohir echoed through the room,
 coming from everywhere and nowhere, “believing you can hold Rivendell against us. Not Maiar,
 Elves nor Valar can hold these mountain fields and streams against the Sons of Elrond!”
         A terrible roar, such as Elanor had never heard before, filled her ears. It was so loud, she
 could no longer think. Blind with terror, the roaring shook the building and bled into her mind.
         Held in the Misty Mountains by the twins for days, above dry riverbeds and over empty
 waterfalls came the antediluvian floodwaters – crashing, battering and slamming down the walls.
 They filled the forests and fields throughout the whole of the valley. Surging above the tops of
 the buildings, they smashed through the attacking armies of Easterlings, Fallen Elves, Petty-
 Dwarves and Men. They crushed the barracks and armories with all their enemies, battering them
 down the fields and over the falls. Drowning Men and Beasts, the flood swept everything away.
         The minute before the massive waves struck, invisible hands picked Elanor and Calcarin
 up, carrying them out of the building. Outside, a forty-foot wall of water bore down on them
 from which there was no escape. Elanor screamed. Shutting her eyes, she buried her face in
 Elladan’s suddenly visible shoulder.
         “We will not allow any harm to come to you!” Elladan said, loudly over the approaching
 flood. “Open your eyes! You are the first outside our family to behold the power of Gaearon!”
         The moment before the floodwaters hit, Elladan’s golden Ring of Power glowed,
 Gaearon, the Ring of Oceans. With the coming of a great wind and a terrible roar, the wall of
 rushing water parted, echoing like a tunnel and reforming around them. Steps formed along the
 moving sides of the water’s flowing walls and the Elvish twins darted nimbly to the top.
 Wherever they went, they brought a waveless circle of calm, carrying Elanor and Calcarin.
         Over the surface of the raging flood they ran, a trough of stillness through Chaos, leading
 to the edge of the valley. Beneath their feet, a flat disc of hard water rose atop a geyser, lifting
 them to the top. They stepped onto the cliff beside the incredulous face of Incánus. He held
 Arwen imprisoned in bands of golden light around her hands and feet. Next to him were
 Eldarion, Drendelen, Marcidelén and Alatar. The wizard helped Fastred feed the last of the egg
 yolks to the baby red dragon in his arms. Broken eggshell pieces lay on the ground around him.
         Behind them, piled high against the sides of the cliffs were a great many rolls and scrolls,
 and stack after stack after stack of loose parchment leaves, folios, leaflets and many high piles of
 hard-bound ancient books.
         The twins had transported the entire library of Rivendell with the help of Arwen, Incánus,
 Drendelen and Marcidelén, before summoning the flood.

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         Gently, they set Elanor and Calcarin down. Taking off their own timbarëmírë, they put
 them away. They helped the others do the same and left them in their keeping. They were now
 members of the most elite secret fighting force in Middle-earth.
         Elanor looked out over the cliffs. Far below, the floodwaters were carrying everything
 away. But the waters swelled larger, rising higher and growing louder. A terrible fear filled her:
 perhaps the twins had released forces they could no longer control.
         Fastred handed Alatar the satisfied and drowsing baby dragon. Elanor shook in terror
 before the rising water and the screams of drowning armies. She cried at the horrible loss of life,
 even for her enemies, and for Theo. Fastred took her in his arms and held her, crying just as hard
 for the loss of his dearest friend. They sobbed until exhaustion took her.
         Collapsing in his arms, she knew no more.




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                                        Chapter 11




                                    Secret Meetings




          Elanor woke to the setting Sun. The water filling the valley below her was calm as a lake.
          The wreckage of Rivendell, all that remained of that once fair land, floated here and there
 on the placid surface.
          “We searched her fingers, clothes, everywhere,” Elladan told Alatar and Incánus. “She is
 not wearing an invisible Ring of Power.”
          “Perhaps she has hidden it somewhere else,” Incánus said. “Somewhere you might be…
 disinclined to search. Perhaps it can still be found, by someone less – prudish.”
          “Do not speak of our sister like that,” Elrohir said, standing beside Elladan. Their eyes
 glowed with pale blue light. “Do not even think it! You will not touch her. She has no Ring.”
          “Where is your wedding ring?” Eldarion asked his mother.
          “It was stolen by Thüringel,” she answered.
          To Elanor’s eyes, though Arwen tried to maintain her usual air of inscrutability, certain
 muscles in her face were more relaxed than others. She wasn’t certain, yet it seemed beneath her
 flat exterior, the Queen was secretly happy to have sown dissent among the company.
          Fastred rowed his boat full of food he’d collected from the flotsam and jetsam. On the
 prow stood the baby dragon with his wings and tail spread. He felt the flow of the gentle breezes
 hardening his skin and pulling tight the webbing between his outstretched metacarpals.
          They reached the cliff. The dragon shook like a bird fluttering its feathers. He folded his
 wings and walked over the gunwale on his hands and feet. Climbing up an oar, he settled on
 Fastred’s shoulder. Still not secure in his footing or perch, he held onto Fastred’s head and curled
 his tail around the hobbit’s neck. Fastred stepped ashore carrying a large pouch of food.
          “What’s its name?” Elanor asked.


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          “His name’s Belethor,” he answered. Opening the pouch, he tossed a fresh cut of meat
 up. Belethor snatched it out of the air and munched it down, licking his long snout.
          “I like it,” she said, stroking the baby dragon’s back. Balancing, he arched his wings and
 tail, snarling low and long, like a purr. “Hello Belethor. Where’d you get the name?”
          “I didn’t,” Fastred answered. “He told me his name. He’s very intelligent.”
          At the waterline around the edge of the valley, surviving Elves, Dwarves and Men who
 had suffered under Glorfindel’s rule and fled before the release of the floodwaters, were slowly
 returning. They began assessing the damage before beginning the long and sad salvage efforts.



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         The water slowly sank. The rivers and falls started settling into their beds. Wet ground
 emerged. Celendrian, Niphredil and Pingyang rode up on their horses. Manus and Malvia, Sam
 and Rosie rode through the narrow clef atop their Oliphaunts with the Haradrim warriors.
 Elboron, Xiang, Ӕlfwine, his sisters and the Daughters of Rohan returned from hunting and
 destroying the few remnants of Glorfindel’s armies that had escaped the lethal flood.
         Elboron and Celendrian went searching on their own. The others looked for bodies or any
 trace of Glorfindel or Thüringel. Not long after, Elboron found their trail. He and Celendrian
 returned to Eldarion.
         Elboron reported, “They were swept up in the flood and carried out of the valley.”
         Later, he found Theo’s scorched sword belt, scabbard, Sting, mithril coat, his
 timbarëmírë and the Sky-stone, buried beneath the wreckage of the House of Glorfindel.
         In the following weeks, they started exchanging letters by post riders with Arnor,
 Gondor, Rohan and Lindon. Sam, Rosie and Elanor were overjoyed to learn Frodo had managed
 to stay ahead of the roving bands of Orcs and Orcelven, leading his brothers and sisters to safety.
 Círdan himself had written. He assured them no harm would come to their family in the Havens.
         A few weeks later, the Master Meriadoc of Buckland arrived with his son Boromir, who
 everyone called Ronny, Theo’s younger brother. Ronny’s best friend Faramir Took also came,
 who everyone called Remy. They brought with them a large contingent of hobbits.
         During a solemn ceremony of grief and remembrance outside the Great House, Merry
 accepted from Eldarion, Theo’s sword belt, all that was left of his son.
         It was the saddest day of Elanor’s life. Standing beside her parents, Fastred, Alatar,
 Eldarion, Calcarin and the twins, she explained to him why Theo had gone with her, Fastred and
 Alatar to Bree, and everything that had happened since.
         There were no words to console a parent who must bury the remains of their child.
 Through his tears, though his grief knew no bounds, Merry gathered his strength. Silencing his
 inconsolable cries, he told Elanor he understood.
         She and Fastred were blameless. He was proud of all the extraordinary things Theo had
 accomplished. He knew his son wouldn’t want to take anything back, except maybe the part with
 Glorfindel at the end. He thanked them for having been such dear and loving friends, and for
 standing beside Theo to his last breath, ever-faithful companions.



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         Standing between his friends Ronny and Remy, who did their best to comfort him,
 Fastred was a wreck, the worst by far of all of them. Merry took what scant consolation he could
 by comforting Fastred, Sam and Rosie. He also accepted the most solemn thanks from Eldarion,
 who was filled with grief at the death of his friend.
         “Though we knew each other a short time, as people measure the years of their lives,”
 Eldarion told Merry. “Many times more than the lives of Men will I remember the courage and
 laughter of my dear friend, Théoden. He never let me down or failed to make me smile.”
         “Thank you, Prince,” Merry told him, bowing low.
         “Do not thank the Prince,” Eldarion said. “Theo was not a Prince’s friend. He was my
 friend. A real friend. A friend who, however kind, spoke his true mind. He would not lie to me,
 because he valued me for myself. Nor would he fail to tell me if he believed I was wrong.”
         “Such friends are worth their weight in gold,” Alatar told him.
         “Such friends are not measured by precious metals or the treasures of the earth, my
 friend,” Eldarion said kindly, laying his hand on Alatar’s shoulder. “True friends are measured
 by the invaluably precious memories they leave behind, the priceless heirlooms of the heart.”
         “Thank you, Eldarion,” Merry said. “That means more to me than you know.”
         “You are wrong,” Eldarion told him. “I do know. For these are things Theo and I shared,
 which my father shares with you. There are very few alive who have done as much for me
 personally. Fewer still, almost no one except you, Sam and those assembled here, who have done
 as much as Théoden Brandybuck, son of the Master Meriadoc of Buckland, for the betterment of
 all kingdoms. On behalf of King Elessar, I give you his condolences, and his thanks. And the
 thanks must not be forgotten of your dear friend Aragorn. Nor the debt which is owed for the life
 and bravery of Théoden, son of Meriadoc of Buckland, by Arnor and Gondor.”
         Arwen hugged Merry. He was a friend she’d known for years and cherished. She told
 him she admired him as much as she admired any man or woman in the Kingdoms. Merry knew
 how extraordinary and rare were her praises. So seldom given, he couldn’t help but value them
 more. He felt the fullness of her affection and the sincerity of her praise for his deeds and those
 of his son. Theo had ridden to her rescue through many battles and great danger. Saving the
 Queen, he had proven himself a true and faithful companion to the Crown Prince, her son.
         The most touching tribute came from Elladan and Elrohir. At the height of the memorial,
 they produced a dazzlingly bright diamond set in a simple mithril filigree.
         “This was Théoden’s timbarëmírë,” Elladan told him, “forged in Númenor. The first was
 worn by the Númenórean Queen Erendis. It has ever been a symbol among us of the highest trust
 and greatest honor. During the battle of the Pelennor Fields, where you distinguished yourself in
 combat against the Nazgûl King, we and Elessar wore our own timbarëmírë.”
         “I remember…” Merry said. He was filled with astonishment at the memory he’d always
 carried, but only now understood.
         “This we gave our friend Theo,” Elrohir said. “Even among Elves, few are those we have
 named friend and to fewer have we given timbarëmírë, for few are worthy. Théoden, son of the
 Master Meriadoc of Buckland, was one of them.”
         “Take this and be glad,” Elladan told him. “Your son, like you, distinguished himself
 through many perils and the greatest dangers, ever displaying unflinching courage and grace.
 The Sons of Elrond shall ever be friends and allies to you and your kin in the House of
 Brandybuck, whose heroes now stand proudly among the greatest who have ever lived.”




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          Merry accepted Theo’s timbarëmírë, staring at it with wonder. He put it in a pouch inside
 his shirt against his heart. Sad, yet somehow heartened in the heart of his mourning, grateful and
 brimming with love, his memories and love for his son warred with his grief, and always would.
          The morning came for Merry and his hobbit’s departure for the Shire. They planned to
 have Theo’s funeral there, despite the absence of a body. Eldarion asked him, Sam and Fastred to
 come to a small private council room for a secret meeting. He asked Sam to wear his mithril
 coat, and for both of them to come armed with their swords.
          Elladan led the Lady Drendelen in, hand-in-hand. Their eyes were ever on each other.
          Eldarion introduced them. Sam realized he’d never met such a shy Elvish woman.
          Graceful and so very beautiful, Drendelen rarely looked into anyone’s eyes, except
 Elladan’s. Yet she listened intently. Her questions were incisive and her comments, precise.
          “Now that Lady Drendelen has been found, it seems every Court in Middle-earth has
 offered a king’s ransom for her services,” Eldarion told them. “King Éomer has commissioned a
 sculpture of Eorl, and another of King Théoden hewing the serpent banner. Prince Faramir has
 asked for a sculpture of Éowyn slaying the Fell Beast, and another of his brother Boromir. The
 list of requests from the Elves of Lindon, Tolfalas and Dorwinion, among many other Elvish
 realms, is too long to recount. Even my father has requested a new work.”
          “What does Elessar want?” Sam asked.
          “A likeness of Frodo bearing the Phial of Galadriel,” Eldarion answered.
          “That one may be the hardest,” Merry said. “Anyone else’s face on the statue won’t do.”
          “Fortunately,” Drendelen told them, not looking a day over twenty. She opened her large
 artist’s scratch pad and smiled at the memory. “I sketched Frodo years ago when the four of you
 first came to Rivendell.”
          “Thanks to the never-to-be-underestimated persuasive power of Prince Elladan,” Eldarion
 told them, smiling. “The Lady Drendelen has graced me with the privilege of being first to
 commission a new work from her.”
          “Congratulations!” Sam said.
          “What have you requested?” Merry asked.
          Eldarion looked pensive and excited. “This is a surprise for everyone we know, including
 my father. If you agree, you must keep this in the strictest confidence. Only the six of us here
 will speak of this until the pieces are presented to the King. Are we agreed?”
          “Of course,” Sam told him.
          “Most certainly,” Merry responded.
          “If you approve,” Eldarion said, “Lady Drendelen will do sketches now and sculpt in
 white marble later, the Master Meriadoc wielding his Barrow-blade on the Pelennor Fields.”
          “Against the High King of the Nazgûl,” Sam realized, wide-eyed.
          “And you Sam,” Eldarion told him. “Wearing your mithril coat, thrusting Sting two
 handed, straight up.”
          “Into Shelob,” Merry said.




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          Elanor gave Merry letters for her friends. These included his daughters, Esme and Prissy,
 and her uncle Tom’s children; her best friend Bell and Bell’s brother Reggie. Merry, Ronny and
 Remy, and their hobbits and escorts from Elessar, rode out of Rivendell. At the border waited
 Treebeard with a large host of Ents and Huorns.
          “Treebeard!” Merry cried, astounded. He introduced Ronny and Remy.
          “I am very sorry for the loss of your son,” Treebeard told him. “When I heard hobbits and
 your homelands had been threatened by Glorfindel and Ulbandi, Elessar and I agreed: it is our
 duty to protect you. We are going to the Shire to guard your borders. We do not wish to repeat
 the mistakes of the last War of the Ring, allowing any more devastation in your country. Who
 knows? Perhaps in the West we may yet find the Entwives.”
          Before they left, Treebeard sent Ronny back on his pony to fetch Fastred and Belethor.
          When they arrived at the Ent-camp, they found a large boulder waiting. It had been split
 apart by the old Ent, sheered flat on top and sitting open like a table. It was set with three tall
 stone jars with heavy lids. Beside them lay a ladle, one very large bowl and five smaller ones.
          Treebeard removed the lids. Inside, the clean and clear water glowed. One jar glowed
 with a warm golden light. Another, with a rich green light. The third, with a hot red light. He
 carefully ladled the same mixture from the three jars into the six bowls. Picking up the big bowl,
 he directed the hobbits to each lift one of the smaller ones.
          “Share water!” Treebeard said. He drank his whole bowlful in one long, slow drink. If he
 was gulping, they couldn’t hear it.
          “Never thirst!” Merry said. Picking his bowl up, he started drinking, savoring the rich and
 aromatic flavors. Ronny and Remy did the same, as did Fastred.
          Belethor sniffed his bowl dubiously. Watching the others drink, he dipped his long
 tongue in and sucked it back into his mouth. His face brightened. Picking his bowl up, he drained
 it in one long gulp.
          Fastred felt the effects of the Ent-draught begin in his toes. Looking down, he swore he
 could almost see the hairs on his feet curling. A great vigor spread through his limbs. He felt his
 lungs expanding and his nasal passages contracted. A great wind-like breath filled his chest and
 his mind grew quick, yet calm, like swiftly flowing currents beneath a placid river surface.
          Belethor gagged. His eyes watered and a cloud of smoke rose from his mouth and
 nostrils. Coughing, he spat acid and it hit a rock. The acid bubbled over the stone and melted it,
 filling the air with smoke and the smell of sulfur. Abruptly lifting his head, he opened his mouth
 and a great shoot of fire blasted up in a searing column of bright white-hot flame.
          The hobbits cried out and jumped back, afraid they’d be burned by the terrible heat.
          “Belethor!” Fastred yelled, rushing over.
          The baby dragon made strange gargling sounds, like laughter. He jumped into Fastred’s
 arms and hugged him. Leaping over the table with his wings spread, he glided onto Treebeard’s
 trunk. Taking hold, he folded his wings and ran in ascending circles up under Treebeard’s long
 grey whiskers and up into the branches above the Ent’s head. Standing, he spread his wings and
 fanned the large mass of leaves. They fluttered in waves, as if caught in a rolling breeze.
          “Ho-hoom!” Treebeard laughed. “It seems your little dragon-kin liked the taste of his first
 Ent-draught.”



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         Spending so much time with his friends, Fastred could no longer bear the thought of them
 riding away without him. He and Belethor rode their pony back to the Shire for Theo’s funeral.
         Arriving home, he received a hero’s welcome. People lined the Great East Road, cheering
 his name. They tossed flowers and shouted their thanks and good wishes for his having helped
 draw away the orcs and Orcelven that had been invading the Shire months before. Nothing this
 momentous had happened since the Bullroarer stopped an invasion of goblins at the Battle of
 Greenfields in 2747 of the Third Age.
         He had always been popular, but never like this. Everyone wanted to touch him and hear
 his story. They were overawed by the things he had done with Elanor, Eldarion and Alatar, and
 more than a little scared of Belethor.
         They were met by Merry’s wife Stella, and their daughters Prissy and Esme. Remy’s
 father and mother, Pippin and Diamond came. Tom Cotton and his wife Mary were there, with
 his daughter Bell and younger son Reggie; and a great many other well respected Shire folk.
         They were amazed meeting Treebeard and his Ents, although frightened by the silent
 Huorns. Everyone felt it: strange times had come. Legends and mythological beings were in their
 lands. Yet they were saddened by their task: laying the scorched sword belt of Theo to rest.
         At Theo’s funeral they buried his belt. There, Merry shared the adventures of his son.
 Theo had died fighting beside Elanor and Fastred along with Wizards, Elven Princes and strange
 eyeless white-skinned creatures from beneath the earth, who were still noble warriors.
         When news spread that Theo, the most popular Deputy Counselor, had been killed in a
 mismatched battle against one of the evil Fallen High Elves, the resentment became a great wave
 of anger. It flared to outrage – burning brightly throughout the Four Farthings.
         Merry’s campaign to recruit Ent-riders for the War of the Rings was met with furious
 approval. It seemed hardly a boy or girl, man or woman was left who hadn’t volunteered to learn
 archery and sword craft, claiming an Ent or Huorn in defense of their homeland. Posters began
 appearing throughout their lands. Some displayed a very good likeness of a crowned King
 Elessar pointing at the viewer with Andúril. Above his picture was the caption: “We Want
 Hobbits!” and bellow: “To Join The Army of Arnor & Gondor.”
         Clearly there was clever, hitherto unknown and unheralded artist hidden somewhere in
 the Shire. Another popular poster featured a drawing of Theo, holding an impressive composite
 bow, even though he’d never touched one, riding an Ent into battle captioned: “For Theo!”
         That phrase, plus “Remember Théoden!” and “For The Shire!” as well as many others
 (Ronny’s was “The Shire Forever!”) became rallying cries, often heard throughout the Four
 Farthings and even in distant Bree. There, volunteer hobbit archers flooded the militia.
         Another poster featured a drawing of Elanor in her baby-blue two-and-twentieth gown
 wearing an apron over her dress. Her upraised arm, flexed below her chin, displayed an
 impressive (fully dressed in long sleeves) bicep, captioned with the slogan: “We Can Do It!”
         The fierce nationalist zeal sweeping their land left no corner untouched. In time, every
 Ent boasted of carrying a well-armed and highly trained hobbit archer in their branches.
         The older hobbits were taken aback by the strange goings-ons, especially seeing so many
 maidens firing arrows at targets or learning sword and dagger craft. Treebeard assured them, if
 war called, no female hobbits would leave the safety of the Shire.
         Every Farthing was busy building archery guilds, or bow and arrow craft shops. Others
 built smithies for forging swords based on Sting or the Traveler’s Barrow-blades.

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         As happy as he was at home, Fastred couldn’t bear the thought of not returning to Elanor,
 nor of quitting on Eldarion and his other friends, leaving unfinished what they’d started.
         Belethor reminded him he must be true to the trust they’d given him. Like it or not, he
 was now part of the histories of kings, great deeds and wars in distant lands. He’d been
 appointed by Círdan as the Guardian of the Túrin-stone. He’d accepted these responsibilities
 many times over during their travels. Fastred now realized they were as much a burden as a
 privilege, just as Eldarion had warned him when they first met at the Prancing Pony.
         Reluctantly, he and Belethor left the Shire. They headed back to Rivendell carrying
 plenty of provisions on an extra pony. But first, while on the way, they stopped in Bree.



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          During Theo’s memorial, when Arwen hugged Merry, Elanor perceived something was
 wrong. She saw a flicker of darkness about the Queen. It was so brief, she wasn’t sure it had
 happened. It seemed as if a shadow had jumped from Arwen, terrified of Merry, yet vicious.
          As Arwen’s handmaiden, she felt disloyal suspecting the Queen. So she forced herself to
 push these unwelcome and worrisome thoughts aside. But she kept remembering the Queen at
 the last battle, raising her bloody daggers to stab her brothers in the back.
          The day came when she could no longer ignore her feelings. Finding Celendrian, she told
 her it was twice now she’d seen something, however scant, and she was worried.
          They had a long talk about what was happening between her and Fastred. Then
 Celendrian unburdened herself, telling Elanor everything that had happened since she put on
 Anqaúrë and hugged her mother. During their long conversation, Elanor ‘saw’ that with her help,
 Celendrian could touch her and absorb just the two specific memories she wanted to share.
          Celendrian wasn’t sure.
          None of the previous Ringbearers knew about this. Yet Elanor was certain that by using
 the power of Oialëhén to guide her, Celendrian could harness Anqaúrë far more effectively than
 others had, simply by being open and honest, instead of secretly stealing memories.
          “Even if we fail and you absorb all my memories,” Elanor said. “I grew up in the Shire!
 The privileged daughter of the Mayor. You may be disgusted to learn the truth: nothing terrible
 ever happened to me, until Theo died. You know, I’ve never thought about it, but as the firstborn
 of twelve, half my brothers and sisters shouldn’t have been born alive, or lived very long.”
          “I’ve never thought about it either,” Celendrian said. “But none of my siblings died.
 Every other family we know lost half their children, and far too many mothers during childbirth.
 Unlike humans, Elves have fewer children. Their mothers and babies rarely die.”
          “I bet Galadriel infused the power of her Ring,” Elanor told her, getting excited at the
 realization, “the Ring of Adamant, into the lives of her descendants and her gift to my father!”
          For a moment, Celendrian was shocked. Elanor waited, watching her friend process the
 idea. “I’ve just searched Galadriel’s memories – and you’re right! That was very insightful.
 Okay. Let’s see if I can absorb just the two memories you want to share.”
          They held hands and concentrated, as Alatar taught her. She poured her insights and the
 power of Oialëhén into Celendrian, as Elladan had shown her.

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         Both Oialëhén and Anqaúrë flared.
         Gasping, Celendrian absorbed just the two memories. For the first time since she put on
 her Ring, she felt something akin to real hope that she could do more than just weather the
 storms of foreign emotions and memories she already had, with the dread of absorbing more a
 constant threat, until the overwhelming burdens drove her mad. Elanor had given her the first
 bulwark against her own Ring-granted abilities, which were already threatening to swamp her.
         They were overjoyed.
         Yet Celendrian was horrified to discover Elanor was right: something evil was hiding in
 her mother. Now that she knew what to look for, Anqaúrë was able to confirm her mother’s
 essence was different. Celendrian could now feel a hidden and malevolent corruption.
         They went to Alatar in the middle of training Sam. “My own power tells me nothing.”
         “I think I’ve heard something coming from the Queen,” Sam told them. “A faint buzz.
 Like a fly, coming and going by my ear, for snatches of a second. I wasn’t sure what it was.”
         “I heard you talking,” Calcarin told them, entering from another room. “I too have heard
 the dissonance coming from Queen Arwen. Never having met her, I did not realize it was
 different from how she was supposed to sound.”
         Elanor noticed Calcarin had come from inside the Great House. She had never seen him
 outside, unless accompanied by one of the seven with whom he’d traveled from Euthyria.
         They told Eldarion and his uncles about the Queen.
         The next day, the head Elvish librarian of Rivendell, the beautiful Lady Marcidelén,
 another of Arwen’s handmaidens, led the Queen to the newly reconstructed library in the still un-
 christened Great House. She left Arwen alone with Celendrian, Eldarion and the twins, firmly
 shutting the doors of the library behind her. Arwen looked around at all the books.
         “I want you to know,” Celendrian said. “This is the hardest thing I have ever had to do.”
         “What is the hardest thing you have ever had to do?” Arwen asked.
         “This is coming from you, what you yourself have told us to do,” Eldarion replied.
         “We know you are wearing one of Glorfindel’s Rings,” Elladan told her.
         “You think to take it from me?” Arwen sneered, backing away from them, her face
 inflamed with sudden virulent hatred. “You are abominations! The House of Elrond is nothing
 more than bright Maia spirit – and dirt!” She vanished.
         Celendrian, Eldarion and the twins vanished.
         A vase rose, streaking from the table. It hurtled itself through the window, breaking both.
 This created a large hole – then the entire window shattered outward.
         Nets were under the windows.
         One bowed with the weight of an invisible body amid falling glass. The threads opened,
 slashed by an invisible dagger. The ground below the net fell inward even deeper. Leaves and
 pulled grass had concealed a deep hole, hidden under a network of twigs. A scream came from
 the bottom of the pit. In another net, the much thicker cords began to open one-by-one.
         Four invisible hands grabbed the invisible arms sawing at the ropes.
         Arwen screamed.




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         They tried to keep the Fall of the Queen a secret. Outside Arwen’s chambers Sam,
 Calcarin, Eldarion, Alatar and Incánus waited. Inside Celendrian, Elerith, Marcidelén and Elanor
 searched for the evil Ring of Power. Before Celendrian closed the doors of the Queen’s private
 chambers, Eldarion had said he wanted to be there for their mother.
         “No,” she told him. “When mother recovers, she’ll be grateful I kept you from seeing her
 humiliation; bound and helpless, unable to prevent us from doing our will, even though it’s to
 remove an evil talisman. If you don’t believe me, I’ll have her tell you herself how she feels.”
         “That will not be necessary,” he said. “You have completely convinced me.”
         Alatar wanted to be there too, but he heard their exchange and said nothing.
         Celendrian felt his intentions. “On behalf of the Queen, she thanks you for your concern.
 I thank you, too. If we need you, we’ll call. Just listen.”
         “You know I shall,” Eldarion said, putting his hands on Sam and Calcarin’s shoulders.
 “And so will my friends.”
         “I know,” she said, kissing his cheek. “That’s just one of the many reasons I love you.”
         She entered the Queen’s chambers and pulled the doors shut.
         Calcarin turned to Eldarion. “It is not that you cannot hear the sounds coming from your
 mother. The Discords are very loud. The Ring is hiding them in the shape of other sounds: the
 pounding of your heart, the blood rushing through your head, the rustling of your clothes against
 your body, your hair slapping against your ears. The Ring is screeching so loud, it is actually
 screaming. It hides its scream by mimicking the sounds your mind is right this very moment
 dismissing. It is the cleverest thing I have ever heard. As it hides its scream, so hides the Ring.”
         “How can you distinguish them?” Eldarion asked.
         “It is very difficult, picking them out from sounds we’re used to dismissing,” Calcarin
 answered. “Only a scholar of sound is likely to do so. Perhaps only a collocoll, who has spent his
 whole life listening, possessing greater hearing and relying on sound to navigate your world.”
         “What’s taking so long?” Incánus asked. “It’s just a Ring! It’s probably on her toe.”
         Alatar looked at him, disapproving.
         “My friends,” Eldarion said, putting his hands on the wizard’s backs. “It seems you two
 are developing a bit of a rivalry. Was it always like this?”
         “On the boat, everyone was on their best behavior,” Incánus answered. “I was first to
 depart, going ashore in Harad. The rest sailed up the coast.”
         “We disembarked at East Mithlond, except Lemminkäinen,” Alatar told him. “She
 continued north. Gandalf stayed in Lindon with Gil-galad and Círdan. Four of us took the Great
 East Road and traveled south through the Gap of Rohan to Minas Tirith.”
         “I’ve never understood how the Valar decided who went where,” Incánus remarked.
 “Lemminkäinen was the least suited to cold. She dreaded the coming snow. Yet all she had to
 look forward to was an eternal Winter and cliffs of endless ice.”
         “I believe I know how the assignments were made,” Eldarion told them.
         The wizards were surprised.
         Alatar asked, “How?”
         “The worst method – by committee,” he answered. “The Valar are not omniscient. It
 seems their foresight and wisdom failed when they gave you your assignments.”
         “I was surprised Saruman failed,” Incánus said. “In Aman, he was chosen first. We
 thought there wouldn’t be anything left for us to do after him. We were wrong.”
         “There was Saruman, Radagast, Gandalf, yourself and Pallando who stepped off the boat
 in Lindon,” Eldarion mused. “It explains the belief there were only five Istari.”

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         “I’ve heard Saruman, not the most modest of our Order, dismissed us as irrelevant,”
 Incánus said. “I never traveled North. He and Gandalf said they traveled South, though I never
 knew anyone who met them in Harad. If he heard of my doings, it must have been rare. No more
 than rumors, faint and indistinct, which couldn’t be trusted, passing through so many hands.
 Maybe he heard more tales of me than Lemminkäinen, but not enough to stay in his mind. Not
 like the Blue Wizards, who went to Minas Tirith and spoke at length with King Ciryandil.”
         “Pallando and I advised Ciryandil against trying to break the siege of Umbar without first
 reorganizing his armies,” Alatar told them. “I’ve wondered what Saruman said to convince him
 to disregard our councils.”
         “You think Saruman counseled him to disregard you?” Incánus asked.
         “Before the last War of the Ring, I wouldn’t have been so sure,” he answered. “But too
 much has happened to think otherwise. Minas Tirith was Minas Anor back then. It was
 Ciryandil’s summer residence. We called the Men who lived there, Men of Stone. Gondorians,
 living in a palace of stone. Your mother’s plantings have grown fragrant gardens full of colorful
 flowers in the Rammas Echor. There weren’t even walls around the empty fields back then. Men
 told us tales of unnamed evil things beyond the Ephel Dúath that were terrifying. Yet we
 couldn’t shirk our duties. After we met the Men and Beasts of the East, we laughed at how
 frightened we had been leaving Minas Anor. Though at the time, it was no laughing matter. We
 had been told the mountains and plains were infested with dragons!”
         “Dragons… in the Ephel Dúath?” Incánus asked.
          “I just remembered,” Alatar said, snapping his fingers. “In Ciryandil’s war room there
 was a huge map on the wall. Beyond the mountains there were drawings of dragons! Written
 above them in Adûnaic was the phase, ‘HC SVNT DRACONES.’”
         “‘Here there be dragons,’” Eldarion translated.
         “But there weren’t any,” Alatar told them. “They were all up north in the Ered Mithrin.
 At the time, we didn’t know. There was no way to know, until we actually went. I don’t think
 they did it on purpose.”
         “That sounds terrifying!” Sam said.
         “It wasn’t that bad,” Alatar told him. “But it wasn’t easy. There were Beasts and more
 than a few monsters. The worst were Ulbandi’s Nameless Things. I’ve killed too many to count.
 Them and the infestations of orcs. Now we have the Orcelven.”
         “It sounds like a lot,” Calcarin said.
         “It has been a lot,” Alatar agreed. “There’s doubtless more to come.”
         A scream came through the door.



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        Celendrian exited the chamber. She carried a gleaming golden Ring. It was set with a
 polished black Cat’s Eye Scapolite stone; Harma, the Ring of Possession. She gave it to Alatar.
        At her son’s insistence, Arwen allowed Eldarion to see her in bed. Elerith and Elanor
 hovered around the edge of the room, folding new-washed linen, arranging the many gorgeous
 bouquets of fresh flowers that had arrived for the Queen and keeping busy.

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        Eldarion took her hand. “How are you feeling?”
        “Well enough,” Arwen said, limply holding his hand. She stared out the window. “I am
 now one of the Fallen. How enchanting. What has… your father, said?”
        “He told us to remind you how very much he loves you,” Elerith answered.
        “He wants to see you,” Elanor told her. “He hopes you’ll honor the wishes of your
 husband. He begs you to return to Minas Tirith, when you’re ready.”
        “Of course,” Arwen agreed. She looked out the window. “Who else knows?”
        “We haven’t told anyone,” Elerith answered.
        “We will see,” Arwen mused.
        “Many saw the window of the library in the Great House shatter,” Eldarion said. “The
 Ring removed your invisibility, I now believe, on purpose. They saw us pull you from the pit.”



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         “That’s a new shirt,” Elanor told Fastred. A drawing of a red dragon was set over his
 heart and on his sleeves, adorned above and below with runes. “What are those symbols?”
         “They’re my Coat of Arms,” he answered.
         “What’s a Coat of Arms?” she asked.
         “You know the way Celendrian and her Brigade wore the King’s emblems, the White
 Tree and Seven Stars. Xiang and Pingyang wear a blue dragon on a field of yellow with a red
 pearl. And Ælfwine wears a white outline of a red arrow in flight on a field of red?” he asked.
         “Yes,” she laughed. “And a red pedicure on his horse! Celendrian wasn’t kidding.”
         “This is my version of those,” he told her, handing her a hand drawn copy. “Or a chief
 dragon rampant gules.”




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         “What do those runes mean?” she asked.
         “The top ones say, ‘By Skill And Valor,’” he answered. “The bottom ones mean,
 ‘Ascendant, Transcendent, Eternal.’”
         “Oh, that’s interesting,” she said. “Was this Belethor’s idea?”
         “It was,” Fastred answered. “One of his better ideas.”
         Elanor showed the drawing to Celendrian. “I think Belethor’s starting to go to his head.”
         “Ló Curu Ar Cánë,” she read. “Ambarónë, Langë, Oialë. He’s using Quenya!”
         “Fastred doesn’t know Quenya,” she told her. “Are you sure?”
         “I love all the detail and the sense of strength in the dragon. Can I borrow this?” she
 asked, looking around. “Where’s Fastred?”
         While Fastred was designing a Coat of Arms for Celendrian, Elerith asked for one too.
 Soon there was a long line of princes, kings, queens, and a great many other officials wanting a
 Coat of Arms. Celendrian and Elerith insisted on paying him and they advised him to charge for
 every design. Eldarion asked him to record them in a book for the King. Fastred was forced to
 hire an assistant to handle appointments and a banker to keep track of his money.
         One of the first hobbits to ask for one was Mayor Mugwort. He was very critical,
 requesting numerous changes. Fastred got so frustrated, he asked for Belethor’s help. When they
 finished, Mugwort said he didn’t like it and wasn’t going to use it. He refused to pay them.
         One day a militiaman from Bree rode in with messages for Eldarion. Emblazoned on his
 shield and shoulders was the Coat of Arms Fastred and Belethor had worked so hard designing.
         That night, the Mayor’s office mysteriously burned to the ground. The fire could easily
 have gotten out of hand and consumed much of Bree.
         The militia had been doing one of their extremely rare (never before recorded) fully
 staffed night training operations when the fire broke out. The Mayor’s office was consumed, but
 they managed to contain the flames and no other buildings were affected.
         Elessar proclaimed that Fastred, son of Folcred of Greenholm in the Shire, was now the
 official Master of Emblems for the Kingdoms. He was the only person who could design and
 record the insignias for officers, princes, kings or queens, High or low.
         Fastred designed a Coat of Arms for Elessar’s heralds, so people would know they were
 the officially sanctioned Heralds of the King and their messages could be trusted. Elessar added
 ‘Master of Heralds’ to Fastred’s growing number of titles and offices.



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         One morning Eldarion summoned Manus to a secret meeting attended by his family.
 Fastred and Belethor were there, as were the princes and princesses of Ithilien and Rohan. They
 included Malvia, as the representative of her mother, Queen Akamai of Greater Harad.
         Having recused himself from the proceedings, but unable to prevent the inquiry, Eldarion
 sat on one side observing. Uncharacteristically, he appeared upset.
         “This is a formal inquiry into charges that by selling magical armaments to Glorfindel,”
 Celendrian read, “you acted as an enemy to our Allies and a traitor to the United Kingdoms.”



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         “Greater Harad had no formal treaty with the North Kingdoms then, and Manus Tarqus
 and the Haradrim were not allied with any kingdoms in the north, so the first charge is false,”
 Malvia interjected. “The exchange happened in Rivendell, a country separate from the United
 Kingdoms, ruled by the Crown Prince Eldarion’s brothers, the Elven Princes Elladan and Elrohir.
 When Greater Harad finally did ally with Arnor and Gondor, Manus fought beside Eldarion
 against Estel and the Orcelven, both of whom are enemies to Greater Harad and the North
 Kingdoms. Because of these circumstances and by his own heroic actions, Manus could not
 possibly have been a traitor. Queen Akamai of Greater Harad requests that all charges against her
 faithful servant, Manus Tarqus, son of Oduduwa, be dropped.”
         “Unfortunately, there is more than one aspect to this inquiry,” Celendrian told her.
         “What do you mean?” Malvia asked.
         “Before Swahillogûz left Rivendell, he met with Ulbandi before her throne,” Eldarion
 answered. “She instructed Swahillogûz to take Manus’ weapons to the Balrog Lord Lungorthin
 so that he may use those weapons to attack Gondor and fortify our enemies. Lungorthin has
 conquered Khazad-dûm and Ulbandi requested he join her ‘Pact of Middle-earth Powers.’”
         “Then as your Ally,” Malvia told him. “Greater Harad will send our warriors and
 Oliphaunts to Khazad-dûm. We will recover the weapons forged in Harad. We will also destroy
 Swahillogûz and his allies, including Lungorthin, in order to vindicate Manus.”
         Celendrian and the others excused themselves to confer. Everyone else broke for lunch.
 When they returned from the Chamber of the Palantír, Celendrian addressed Malvia graciously.
 “We thank you for your cooperation and participation in these proceedings. On behalf of the
 King and our Allies, we accept your generous proposal.”
         “On behalf of Queen Akamai, we thank you for the wisdom and mercy of your decision,”
 Malvia told them. “We also request your assistance to find a way to free the Star of Merkaba
 from its imprisonment in the wizard Alatar’s staff, after finding a new enclosure in which it can
 be safely housed, so it can be transported back to Harad.”



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         Prince Faramir arrived with General Beregond, his assistant and principal Counselor.
 Beregond brought his sons, Bergil and Borlas. The Crown Prince Elphir of Dol Amroth also
 came, leading armed royal guards from Gondor, Ithilien and Dol Amroth, to escort Arwen home.
         Faramir was overjoyed to find his children Elboron and Niphredil unharmed after the
 Battle of Weathertop. He greeted Eldarion and his family with great warmth and affection.
         Celendrian stood beside Elboron and welcomed Faramir just as warmly. They’d always
 had a special fondness for each other. Faramir was delighted to learn they’d plighted their troth.
         At Elessar’s request, Eldarion called a council in the nearly rebuilt Palace. In a solemn
 ceremony, what had once been the House of Elrond was rechristened the Palace of Elendil. In the
 center of the largest hall on top of a high white marble pillar, they set the large grey marble of
 the glowing Elostirion-stone. Everyone took to calling it by its other name, the Elendil-stone.
         It was now the fourth in service to the King.



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         That night, Eldarion held a special dinner for his mother. He honored the many princes
 who rode to his defense at Weathertop and to her rescue from the dungeons of Glorfindell.
         As good hosts should, he mixed the seating arraignments so people who didn’t know
 each other well (or at all) would have a chance to meet. No one missed the fact that on his left,
 he seated the Crown Princess Malvia, and on his right, the Princess Pingyang.
         Afterwards, he held a formal ball at the much more grandly rebuilt and newly
 rechristened Palace. Everyone came dressed in white.
         Many hobbits, young princes and dwarves requested a dance with the Lady Elanor.
         Eldarion’s attention was in high demand among the many princesses and Ladies. Yet he
 seemed to be spending a great deal of time dancing with Pingyang. She was the most graceful
 dancer and they were a striking pair.
         Ælfwine was the most popular. Not only was the red-haired prince devastatingly
 handsome, he insisted on dancing with as many princesses and ladies as he could. His
 conversations with each of them seemed genuine and very personal. Many ladies were charmed
 by Ælfwine ‘The Fair’ Éadig, the dashing red-haired Crown Prince of Rohan.
         His sisters Éodyn, Idris, Liathwyn and Minwyn didn’t find the ball to their liking.
         The princes and men they danced with were confused by these beautiful princesses that
 weren’t scheming for a husband and knew more about weapons, equestrianism and world events
 than they did, yet little to nothing about knitting, gardening or the insides of a kitchen.
         One of the few exceptions was Xiang. He happily danced with them and enjoyed their
 conversations. Sharing news, he told them tales of Hildória and learned much of Rohan. But he
 made sure he danced the same number of dances with each princess.
         The Haradrim kept a watchful eye on Manus and Malvia. The two of them danced with
 others. Only once did they allow themselves the pleasure of dancing with each other. Yet in that
 moment, sweeping across the dance floor, there was something about the two of them. Not even
 the glow from Eldarion and Pingyang could outshine the magic enveloping Manus and Malvia.
         Though unintentional, after telling Faramir they’d plighted their troth, the ball became
 something of an impromptu engagement party for Celendrian and Elboron. Many royal families
 and citizens, who’d been saved from the armies of the Nazgûl Kings by Celendrian assembling
 the Princes Brigades, were eager to express their gratitude. They took turns, conveying their
 prayers and heartfelt wishes for a long life and every happiness to the resplendent royal couple.
         Having taken a break from dancing with the Princess Liathwyn, Xiang stood beside his
 father’s chief councilors, Shouxing, Luxing, and Fuxing. They observed the Princess Pingyang,
 again dancing with Eldarion.
         Fuxing spoke in Hildórian. “I do not recall your sister requesting your father’s permission
 to court this foreign Prince.”
         “Most noble councilors,” Xiang responded, in the same language. “Let us not interfere
 tonight. Eldarion has shown nothing but favor to myself and Pingyang.”
         “You believe she should be allowed to court and marry a foreigner?” Shouxing asked.
         “I do not,” Xiang answered. “If the decision were mine, I would not approve such a
 match. However, tonight they are simply dancing.”
         “Some in your father’s Court have urged him to seek such a match for your sister,”
 Luxing told him.
         “They are strong allies and our need for allies has never been greater,” Xiang agreed. “I
 respect this Prince and his family. Yet I cannot agree with such a match.”



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         Fuxing looked at Xiang curiously. “Yet you dance with these foreign princesses and with
 more than simple courtesy. Perhaps you feel as you do, because Prince Eldarion, Princess
 Celendrian and Princess Elerith show as much favor to your sister, as to you. If this feeling while
 watching your sister is uncomfortable in this foreign land, perhaps you should welcome it.”
         “Eldarion has invited you to go to war with him to Khazad-dûm,” Shouxing told Xiang.
 “Have you considered whether you wish to accept?”
         “I wish to go West,” Xiang responded. “To see the Elves of Lindon. I have stood on the
 shore of the Eastern Sea. I will be the first of my people to travel to the western shore. Perhaps I
 will be the first person ever to travel from one end of the world to the other. I am going West.”
         There was one beauty dressed in white with the most full and ravishing red hair. She was
 the Bell of the Ball – the Lady Drendelen. She seemed to be suffused with a pale glowing light,
 dancing with Elladan. She refused all other partners. The two had eyes only for each other.
         Most surprising, Elrohir danced almost every dance with Niphredil, midway on the
 ballroom floor, as if trying to blend into the crowd. Nothing could disguise Niphredil’s beatific
 face, as if happiness and joy had been created this very night, for her alone to experience. They
 were so radiant, no one could miss or mistaken them for any other couple.
         At the edge of the dance floor, Faramir watched, fuming at the sight of his daughter
 dancing with the Elvish Prince. Elanor didn’t understand why he wasn’t thrilled to see his
 daughter so happy, and in the arms of such a handsome and renowned royal escort.
         She couldn’t imagine any woman nor any father, whether commoner or king, who could
 hope for a better match for his daughter than Prince Elrohir, son of Elrond, Prince of Rivendell.
         Between her many dances, she wondered what had become of Fastred.
         Midway through the Ball, he appeared elegantly dressed in a new, dashing, white velvet
 suit and tails. Wearing white gloves, he looked very solemn. She hoped he wouldn’t bring Theo
 up again. She wanted one night apart from the tragic memories she knew would never leave her.
         He asked her to dance as sheepishly as she accepted. They danced awkwardly. It was
 nothing at all like the night of her two-and-twentieth. The conversation was no better. It was as if
 neither could think of, or worse, had all that much to say to the other.
         It was an unfortunate misunderstanding that ended their dance, when Elanor asked,
 “Don’t you think you’re overdoing it, with all these new titles and offices?”
         “What do you think I should be doing?” he asked.
         “I don’t know,” she answered. “Maybe you should ask Eldarion to teach you how to use
 my Barrow – ”
         “I knew it!” Fastred shouted. He let go of her hand and stepped away. The people
 dancing around them widened the gap and stared at them. “You think it’s my fault Theo died
 fighting Glorfindel – because I wasn’t a good enough swordsman!”
         Elanor was shocked at his inappropriate, false and very public accusation. She burst into
 tears and the musicians stopped playing.
         Eldarion excused himself from Pingyang. He crossed the dance floor and extended his
 hands, stopping anyone from approaching. “Master Fastred, Lady Elanor. What seems to be – ”
         “It’s all right, your Highness,” Fastred said. He bowed formally before the Prince. “This
 is my fault. My apologies. I was just leaving.”
         He stormed out.
         In the sudden hush, Faramir ran onto the dance floor and found Niphredil. “This dance is
 over for you. We are leaving!”



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         “Father, no!” she pleaded. Tears poured from her eyes and horror replaced her happiness.
 Seeing his anger and disapproval, her unbridled joy shattered.
         “You will do as I say!” Faramir shouted, grabbing her arm.
         “Release her!” Elrohir commanded. His eyes and hands burned with bright blue fire.
         The ballroom erupted with cries of alarm at the Elven Prince’s unprecedented display of
 lethal Elvish power that almost no one in attendance had ever seen before.
         Most everyone backed away. Ithiliens unconsciously assembled behind Faramir. Elves
 gathered around Elrohir, including Elladan.
         “No, please!” Niphredil told Elrohir. She twisted free of her father and stood before him,
 not frightened, yet beseeching. “He doesn’t know any better. Please! Don’t hurt him.”
         Together, Elboron and Eldarion moved to intercede.
         Celendrian drew herself up to her full height and held out her hands. “Wait!”
         Throughout the room, Elves and Men (and women) stopped dead in their tracks.
         Celendrian stepped in front of Niphredil and turned her wrath on Faramir. “Perhaps you
 are jealous of your daughter’s happiness. But I do not care where your twisted desires come
 from! I will not allow you to punish Niphredil for wanting to be happy. I would tell you what
 you can do with your penal envy, but I am a Princess who will one day be a Queen. The way you
 have dishonored yourself is worse than anything I could say, inhuman of anyone! Much less
 someone once ‘thought’ to have royal blood. It is now clear, Éowyn married beneath her. You
 were never meant to be a king. I forbid you to deny Niphredil’s right to be a Queen!”
         Faramir stood frozen, caught between the stern looks of Eldarion and Elladan, Elrohir’s
 fury and the Majesty of Celendrian.
         Elboron pulled his father away.
         Things quieted down. The crowds dispersed. Palace servants brought fresh trays of food
 and more drinks. The band began to play again and people went back to dancing.
         Incánus and Alatar went looking for Fastred.
         They found him with Belethor, sitting on the roof of the Palace of Elendil. Fastred was
 busy scribbling on a piece of paper. He occasionally looked out into the bright moonlight. The
 full Moon sailed across the sky and its reflections glistened across the roaring falls of Rivendell.
         “You shouldn’t draw in the dark,” Incánus warned. “It’ll ruin your eyes.”
         “I’m not drawing,” Fastred told him. “I’m writing.”
         “What are you writing?” Alatar asked, sitting beside him. Incánus sat on his other side.
         “It’s a poem,” he answered. “It’s my first. But it’s not very original. I guess it’s an
 answer to the poem Eldarion shared outside the Collocoll cave.”
         “Let’s hear it,” Alatar invited.
         “Uhm…” Fastred responded. “I don’t know. I don’t think it’s very good.”
         “No judgements,” Incánus said. Alatar nodded in agreement.
         “Well…” Fastred said. He looked at Belethor, then cleared his throat. “Okay.”



                               I am a gem that is possessed
                                       By caves within the sea
                               A fragrant flower inflamed in red
                                       That nobody can see



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                              I am a Hobbit who never saw
                                     My dreams become reality
                              No single glory I ever sought
                                     Has ever come to be



                              No where in time, no when in space
                                     Have I successfully
                              Both sought and found, then finally lived
                                     My chosen destiny



                              This unhappy place became that world
                                     In which I never caught a wave
                              Nor escaped the stifling darkness
                                     That is with me in this cave



         “What’s wrong, Fastred?” Alatar asked. “What happened between you and Elanor?”
         “I don’t think she likes me anymore,” he answered, crumpling the poem and tossing it.
         “What makes you say that?” Incánus asked, retrieving the crumpled paper.
         “It used to be whatever we did, we’d share and make the most of it,” he answered. “But
 ever since Theo died, I… I feel like she wishes I – was… more, like Theo.”
         “We’re all still grieving,” Alatar told him, missing his real meaning. “Give her time.”
         Incánus caught it. “What could Theo do that you can’t?”
         “Theo… knew how to use a sword,” Fastred answered. “He knew how to fight. All I can
 do is row a boat and draw.”
         “You don’t need me to tell you that those are rare and special gifts, and not your only
 two,” Alatar told him. “I’ve seen you pilot ships across the oceans beneath the Earths. You’ve
 faced warlocks, broken Valarin enchantments, rescued primordial beings, befriended the Father
 of Stones! The things you’ve done, the places you’ve gone – I don’t care what anyone says, not
 even Lady Elanor. You, Fastred son of Folcred, are a Prince among Hobbits.”
         Fastred looked up with a trembling smile, not daring to believe him.
         Belethor rubbed his head against Fastred’s chest and howled at the Moon.
         “If all you want is to use a sword,” Incánus said, speaking loudly over Belethor’s
 howling. “Why haven’t you unlocked the power of your Túrin-stone?”
         “No,” Alatar told Incánus.
         Belethor stopped howling and stared at them.
         “No?” Fastred asked. “What does that mean?”
         “Do not bring your Haradrim magics to the North Kingdoms!” Alatar reproached.
         “Wait a minute,” Fastred said. “Tell me what it means to ‘unlock’ the Túrin-stone!”

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         “Incánus!” Alatar warned.
         “He wants to know,” Incánus responded. “He’s the Guardian of the Stone! He should be
 given access to its abilities. It could have made a difference against Glorfindel.”
         “What?!” Fastred shouted. He jumped to his feet and Belethor squawked, leaping from
 his lap, flapping his wings and sliding across the ceramic roof shingles.



                   *               *               *               *              *



          With King Elessar’s permission, Alatar called a secret emergency meeting of the Heren
 Istarion through the palantíri. Radagast stood before the Palantír of Osgiliath beneath the Dome
 of Stars with Princess Éowyn. Pallando stood before the Palantír of Anor beside King Elessar,
 Emperor Guan and Prince Imrahil at the top of the Tower of Echthilion. Alatar and Incánus stood
 before the Palantír of Elendil, in the Palace of Elendil in Rivendell. Beside them stood the twins,
 Eldarion, Celendrian, Elanor, Fastred and Belethor.
          “Raising the dead is the darkest Necromancy,” Alatar told them. “It’s an evil
 enchantment only used by Morgoth and his lieutenants.”
          “Connecting Fastred, the Lawful and duly appointed Guardian of the Túrin-stone, to the
 abilities of Túrin Turambar through his Stone is not ‘raising the dead,’” Incánus explained. “It is
 simply giving Fastred the ability to voluntarily use the link that already exists between them,
 which Túrin uses constantly. In Harad, we do this every day for things as important as approving
 treaties and blessing weddings, to things as mundane as a single throw in a game of dice.”
          “Fastred’s life is not a game!” Alatar shouted, quite out of character his friends noticed,
 though they said nothing.
          “Alatar, old friend,” Pallando said. Elanor realized, before arriving in Middle-earth, just
 as the wizards of the north had taken the appearance of the northerners and Incánus had taken the
 appearance of the Haradrim, Pallando had taken the appearance of the Hildórians. “In Hildória,
 this practice is also commonplace. We do, however, call it by a different name.”
          “What do you call it?” Alatar asked.
          “In Hildória, we say ‘calling on the spirits of our blessed ancestors,’” he answered. “We
 do this for strength, skill or courage. Regardless, whether you say ‘spirits of ancestors,’ ‘souls of
 the dead,’ fëa, or even ghosts or ghouls, really, it is the same thing. In the East, these customs are
 highly respected and commonly practiced. It is most Orthodox.”
          Emperor Guan confirmed Pallando had correctly represented their most devout practices
 and cherished beliefs.
          “There are significant differences,” Radagast noted. “Just as the way Men and Elves
 utilize the services of Beasts. With Elves, Beasts aid them as friends, with mutual respect and
 mutual benefits. Beasts toil in the fields for Elves and Elves protect them from predators. They
 attend to each other’s needs in a voluntary and happy exchange. Men use animals as slaves. Or
 worse, as fodder for their kitchens. The difference for spirits is whether they serve voluntarily
 and if so, and perhaps even more importantly, if they serve out of genuine love and respect.”
          “Radagast has hit the nail on the head!” Pallando exclaimed. “This is why the practice
 works so well in Hildória, but is so dreaded in Mordor. Thüringel’s spells are involuntary curses,

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 inflicting evil spirits in destructive possessions. In Hildória, people only call on their ancestors
 they trust to help voluntarily, doing good works for their descendants and those they love.”
          “Since we are in the West,” Eldarion asked the assembled wizards. “Is there any way in
 which Fastred could be harmed?”
          Radagast and Pallando deferred to Incánus.
          “If Túrin Turambar was an evil person, or a good person unwillingly summoned, or a
 spirit who wished to possess Fastred or harm him, then yes, there could be a danger,” he
 answered. “But Túrin is the hero of the Valar! I don’t believe he would ever possess Fastred
 against his will. I’m sure he only wants to help him defeat our enemies.”
          “How can we be certain?” Eldarion asked.
          “The simple answer is to just ask Túrin,” Incánus told him.



                    *              *               *               *               *



         Fastred was laid on a table beneath the Palantír of Elendil. Incánus placed the Túrin-stone
 on the center of his chest. Alatar asked if Pallando could perform the ritual.
         He responded by saying his experience was in summoning groups of ancestors who knew
 their descendants well, having observed and guided them from afar for centuries, and eagerly
 welcoming the opportunity to help even more, so therefore disinclined to hurt or possess them.
         Calling a soul to aid someone they didn’t already know, and know well, and asking them
 not to possess or hurt, but to help. No. Even though it should only be done after consulting Túrin
 and confirming he wanted to help, and had no intention of harming or possessing Fastred, still,
 the only wizard of their Order to cast these enchantments was Incánus the Gold.
         The Council agreed, over Alatar’s objections, to honor Fastred’s wishes. Incánus
 requested Manus and Malvia assist him, as was customary in Harad. Pingyang, Xiang and Guan
 were invited to attend, being particularly experienced in the pray, consultation and worship of
 their blessed ancestors. Elessar attended through the palantíri.
         Alatar suggested and Elessar agreed: the Heren Istarion and the Fellowship of the
 Ringbearers were invited to observe, learn and lend whatever aid they could, if necessary.
         Elboron stood on one side of Celendrian and Elanor on the other, holding Belethor. He
 was obviously very worried and constantly fidgeting. The baby dragon held onto Elanor tightly.
 He kept burying his head in the crook of her neck, looking back at Fastred and covering his eyes
 with his wings. She did her best to comfort him. The twins flanked Eldarion.
         Incánus took his time, sparing no effort to ensure no harm would come to Fastred. He
 layered many different spells of protection. His voice was deep and resonant. When he lifted his
 golden staff, his golden robes glistened and glowed. They were dazzling and warm, but not too
 bright or blinding. The rich warm light was soothing.
         It wasn’t just the sight of the light – it was the feeling. It was as if someone was singing,
 and it was such a happy and beautiful song. Elanor wished the ceremony could go on, just so she
 could continue experiencing Incánus the Gold casting an enchantment.
         Whatever congress he and the Istari had with the spirit of Túrin Turambar, only Manus
 and Malvia shared it. For several minutes, their eyes glowed as golden as Incánus’ robes. The

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 golden glow slowly waxed warmer and brighter, filling Fastred’s eyes. Then it faded, twinkling
 here and there, and in their eyes, until it was gone and things were as they had been before.
          “How do you feel?” Incánus asked Fastred. He took the Túrin-stone off his chest and
 examined it carefully. Handing the Stone back to Fastred, he helped him sit up.
          “All you alright?” Alatar asked. Stepping up to them, he stood on his other side.
          “I feel fine,” Fastred answered. He put the stone back in its mithril case, tucked it under
 his shirt and looked at his hands. “But I don’t feel any different. I don’t think it worked.”
          “Incánus, these are your spells,” Pallando said, through the Anor-stone. “Is there a way to
 test them and confirm they worked?”
          “We just have to throw him into a fight,” Incánus answered.
          “You’re not ‘just’ going to throw him into a fight!” Alatar shouted.
          “How can you test fighting skills without fighting?” Incánus asked.
          “Are you trying to get him hurt?” Alatar responded. “This is my friend! He’s not some
 random villager. He’s a member of the Fellowship of the King! He wears the timbarëmírë, a
 Starbrow. He’s an Elf friend! For Eru’s sake, he’s the Lord of Dragons!!”
          “I’m the – what?!” Fastred asked. He jumped off the table. “Belethor, is this true?”
          Belethor climbed out of Elanor’s arms, over her shoulders and onto her back. He looked
 at Fastred over the top of her head, nodding in embarrassment that he hadn’t mentioned this yet.
          “What does that mean?” Fastred asked.
          “Fastred!” Manus yelled. Pulling out his dagger, he hurled it at Fastred’s heart.
          Fastred swung his arms forward and slammed his flattened palms together, pinning the
 dagger a foot from his chest. He flipped the dagger up, spinning it in a high circle and catching
 the hilt in his right hand. Looking at it, he didn’t quite believe what he’d just done. He flipped
 the dagger, spinning it over his head and catching it just as skillfully in his left. “It worked!”
          The other wizards began congratulating Incánus. Belethor, Eldarion and the twins
 surrounded Fastred, asking him questions. Elanor, Celendrian and Elboron stood off to the side.
          After the ceremony, Elanor returned from the Palace to the small cottage the twins had
 given her family. There, she found Sam busy packing. “Where are you going?”
          “Elessar has summoned Arwen, your mother and me to Minas Tirith,” he answered. “We
 leave in a few days.”
          “This seems a bit sudden,” she said. “Though it does make sense, I suppose.”
          “I want you to come with us,” Sam informed her.
          “You know I’ve always wanted to see Minas Tirith,” she told him, yet she pulled away.
 “What has Eldarion said?”
          “This isn’t his decision,” Sam responded, without the rancor he’d expressed in Bree.
 “You’re in your two-and-twentieth year. You’re a young woman now. You can make your own
 decisions. I’m just hoping the wishes of your father still carry some weight. If they do, please say
 you’ll come! The baby will be born in Minas Tirith. It would mean so much to your mother to
 have you there for the birth of our last child.”
          He wasn’t fighting fair and they both knew it. Her mother would have asked Elanor
 herself if it was something she wanted that badly.
          This didn’t mean Rosie didn’t want her there. Elanor knew she would. She wanted to be
 there too, if she could. Rosie would sleep better and have a much better delivery if she went with
 them and was there for her, as she’d been before. She also wanted to help Eldarion on his Quest.
          She could not do both.



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         “I understand much better now, your words to me in Bree,” she told him. “And I love you
 for them. You were right. War is an evil thing. Being attacked and seeing so many people die…
 watching Theo die – ” she had to stop. Her father understood and waited. “It’s the worst thing
 that’s ever happened to me. I knew any of us, or all of us, could die at any moment. There were
 times we came close, just as you and mother came close. We could still die. I understand it in a
 different way now. But how I feel hasn’t changed. If anything, I feel even more strongly than
 before that this is my duty and I have to keep doing it. I have to stay with Fastred, Eldarion,
 Celendrian, Alatar and the twins, to see this through to the end. Whatever end awaits me.”
         “This isn’t like before,” Sam told her. “I don’t know why, but Hobbits never died on
 Quests before! We could have, easily. Frodo and me, we cheated death on our way to Mount
 Doom a dozen times. So did Merry and Pippin during the war. Dozens! As for Bilbo, I’ve never
 counted. There’s no good explanation. It just didn’t happen. Now here we are, at the start of
 another terrible war. But this is just the beginning of what’s sure to be a longer and even deadlier
 Quest full of many more dangerous journeys and battles… and Theo’s already dead!”
         Hearing her father say it, she burst into tears. She couldn’t stop remembering Theo very
 much alive one moment, fighting beside them and the next, pinioned in Glorfindel’s new and
 terrifying power he’d named his Fire Eyes. It was magic of the darkest and most lethal kind.
         Her father held her a moment. Composing herself, she pulled away.
         “I know you’re almost all grown up now and old enough to make your own decisions,”
 Sam told her. “But won’t you please come with your mother and me to Gondor? We’ll all be safe
 there and you can welcome the newest addition to our family... please?”
         “Actually, Lady Elanor,” Eldarion said. He came through the open front door with Alatar,
 Incánus and the twins. “My father has recalled all three of you to Gondor. Pack your things.”
         “There is,” Celendrian said, standing in the back door with Pingyang, Elerith, Malvia and
 Niphredil, “another consideration. I spoke to father too, after you, Eldarion. Master Samwise, I
 hope you’re not offended and it doesn’t alarm you, but the King has agreed: if she wants it, I
 may offer Elanor a role to play in this War of the Rings to end all Wars of the Rings.”
         “Excuse me, your Highness,” Sam said, bowing humbly. “But Elanor is my – ”
         “Father,” Elanor said, gently. She took his hands in hers. “I’m in my two-and-twentieth
 year now. As much as I love you, and want to please you, I will make my own decisions.”
         Sam stood face-to-face at last with the inescapable reality: in his heart, she would always
 be his little girl, but the time had come. He had to trust he and Rosie had done a good enough job
 for her to stand on her own two feet.
         He had to let her go.
         “I- I’m sorry Elanor,” he said, looking back and forth between Eldarion and Celendrian.
 “You’re right. I guess, I just wasn’t ready.”
         “I know,” she told him, letting go of his hands. “I love you for that. But I was serious
 when I said all those months ago that a woman should be given the opportunity to contribute if
 she wished, and I do. It’s what I want.”
         “That doesn’t mean it’s ever going to be easy for your father. But let’s not make this any
 harder.” He kissed her cheek and went to the door. “Discuss your plans with Eldarion and
 Celendrian. When you’ve made your decision, find me and your mother, and let us know.”
         He left and Elanor turned to Celendrian. “What role do you have in mind for me?”
         “We’re beginning our hunt for the Master-ring of Middle-earth,” Celendrian answered.
 She turned to her brother. “What are you going to do?”



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         “Elessar’s first strike against our Enemies will be in Khazad-dûm,” Eldarion answered.
 “Alatar, Manus, Ælfwine, Legolas, Elves of Ithilien and I will join Durin VII, Gimli, and a great
 host of Dwarves from all seven Dwarven Kingdoms to destroy the Gauntlet of Mordor. The
 Balrog Lord Lungorthin and his growing armies in the tunnels of Khazad-dûm must fall.”
         “Please be careful,” Celendrian told him. She took his hand. “I know we have to, but I
 hate the idea of you going anywhere near a balrog.”
         “I do not relish the thought,” Eldarion said. “Though I do believe the quickest and safest
 place Celebrimbor could have sent the Master-ring was to the hidden treasuries in Khazad-dûm.”
         “Besides the mithril,” Elanor told them, “it would explain why Lungorthin risked leading
 his armies through the heart of the High King’s land and across the lands of his allies.”
         “If the Master-ring is in Khazad-dûm,” Eldarion said, “we must find it before he does.”
         “How do we know he hasn’t found it already?” Elanor asked.
         “When the Master-ring is found,” Alatar told her, “everyone will know.”
         “Even if it is not in Durin’s Halls,” Eldarion said, “we must reclaim the stolen Palantír of
 Minis Ithil. Protecting our communications could be decisive in this war. I am also certain at
 least two of Celebrimbor’s original Rings of Power are hidden somewhere in Khazad-dûm.”
         “I remember Alatar telling us that Lungorthin wore one of Sauron’s corrupted Seven for
 Dwarf Lords,” Elanor recalled. “Who’s wearing the others?”
         “The Balrog Lord that Gandalf slew in Khazad-dûm is the same one who slew Durin VI
 and Queen Audoulna,” Eldarion answered. “I believe, on the inaccessible peak of the Silvertine
 beneath the wreckage of Durin’s Tower wait the Rings of Queen Audoulna and King Durin.”
         “Do you think Audoulna and Durin’s Rings are two of the Seven or Eleven?” she asked.
         “From what we know, the Seven have all been accounted,” Eldarion answered. “It would
 seem they would have to be two of the untainted Eleven. However, there is a chance they could
 be two of the Seven. As I’ve mentioned, none of the histories of the Wars of the Rings are free
 from errors. Not with so many copies, translations and emendations.”
         “Where are the original documents?” Elanor asked.
         “Only stove-fired clay or stone tablets could have survived intact after so many thousands
 of years,” Celendrian answered. “Unfortunately, our scribes switched to parchment many Ages
 ago and our languages have changed repeatedly. Translations of copies of copies are all that
 remain, I’m afraid.”
         “Whichever they are, we must claim those Rings and search Khazad-dûm for the Master-
 ring,” Alatar said. “If there is anywhere it could be hidden Sauron missed, it is in Khazad-dûm.”
         “Maybe,” Celendrian countered. “But maybe not. Elanor, we’d like you to join us on our
 own Quest for the Master-ring by finding the long-lost Kingdom of Nimrodell.”
         “I remember reading about the Elvish Princess Nimrodel,” Elanor brightened. “She lost
 her love, the Elvish Prince Amroth, ruler of Lórien. I didn’t know she founded a lost kingdom.”
         “No one’s ever seen it,” Elerith told her. “But there are so many tales about her and other
 missing Elves. They’ve all gone somewhere. Father and his Councilors believe she has.”
         “Why hasn’t anyone found it before?” Elanor asked. She was enchanted by the thought of
 searching for and finding a long-lost Elvish kingdom.
         “Círdan gave one of the Stones from the Shroud of Túrin to Elendil,” Celendrian
 answered. “It was passed down the Line of Kings and given to Nimrodel by King Eärnur of
 Gondor, to hide her from the Mad Vala Ulbandi. There was no way to find her, until Eldarion
 discovered Círdan had given another Túrin-stone to Fastred. Only Fastred and his Túrin-stone
 can sense the others and help us find Nimrodel and her lost kingdom.”

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        “Oh, bother,” Elanor said.
        “What’s wrong?” Elerith asked. “I thought you liked Fastred.”
        “I did,” she answered. “No, I do. I always have. It’s just, well… ever since Theo died,
 and Belethor came along, and then your father started giving him all these new offices and titles,
 and he started making all that money… he’s been acting – different.”
        “You’ve been acting different, too,” Celendrian laughed. “Finding and learning to use a
 Ring of Power. You’ve befriended wizards and dragons yourself. You’ve fought warlocks and
 Fallen Elves, and you’ve even stood up to your father! Elboron and I have had our problems too,
 as you’ll no doubt recall. More keep cropping up. It’s just growing pains. This may seem like the
 stupidest advice, but it’s always worked for me: try not to think about it too much. If it was really
 meant to be, then you’ll find a way to work things out.”



                   *               *              *               *               *



          Having agreed to accompany Celendrian on her Quest, the next morning Elanor was
 summoned to the training grounds. She wore a wooden training dagger. It served as her sword.
          Celendrian stood before her with a fully armed Marcidelén. “You’ve met Marcidelén.”
          “Many times,” Elanor smiled, curtsying. “A pleasure seeing you again.”
          Marcidelén bowed. “Well met, Lady. It is good to see you. I am here for your training.”
          “For what, specifically?” she asked. “Alatar is already training me.”
          “Eldarion said you wanted to learn to fight with Eket,” Celendrian answered. “I agree,
 you should. If you’re going to wear such a renowned blade, you should know how to use it.”
          At the end of her first hour, it was obvious Marcidelén had been starting slow and going
 easy on her, but her arms were already sore. In separate training pavilions around them, Ælfwine
 and his sisters trained at various locations. She saw Elerith, Malvia and Manus. Pingyang and
 Xiang were there too, and so many others. She had been faintly aware the warriors trained every
 morning. This was the first time she actually saw them doing it.
          She also learned that Eldarion had invited Fastred to the training grounds to test his new
 abilities. News of their arrival spread. The warriors from many kingdoms took a break. They
 gathered to observe the Prince and hobbit inside a fenced pen, arming themselves with wooden
 practice swords and training daggers. Belethor perched on a gate post, watching anxiously.
          Fastred was immediately aware that Elanor had arrived.
          Eldarion silently noted the arrival of Pingyang and Xiang. He held up to Fastred a tray of
 protective defensive pads. “You may wish to consider wearing these.”
          “Thank you, your Highness,” Fastred responded, smiling. “I don’t need them. Though as
 your friend, I should probably respectfully suggest you consider taking your own advice.”
          Eldarion and a great many others laughed. Embarrassed at his breach before Fastred, he
 quieted everyone down. Stifling a last chuckle, he handed the pads to Ælfwine. Composing
 himself, he turned to Fastred. They bowed a few feet apart. It signaled the start of the match.
          As Eldarion drew his wooden swords, Fastred leaped into his stomach, knocking him
 down. He pulled Eldarion’s training dagger, holding it against his throat and staring menacingly
 into his eyes. “The best way to defeat your enemy is to prevent him from reaching the field!”

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         “Fastred?” Eldarion asked, startled. He looked into the hobbit’s angry eyes. Ælfwine and
 Elboron took a step towards them. “Is this really… you?”
         “It’s me!” Fastred answered, waving the others away. He dropped Eldarion’s training
 dagger and touched his own chest. “I’m sorry! I’m not Túrin. That was just the best thing to do!
 Are you alright? I’m so sorry! I didn’t hurt you, did I?!”
         “It is alright, Fastred. Calm down. I am fine. It is just… you surprised me,” Eldarion said.
 He signaled Elboron and Ælfwine to stand down. He glanced at Elanor and Pingyang. “The first
 point is yours. Now, would you please be so courteous, as to kindly get off my stomach?”
         The watching warriors laughed.
         “Oh, I’m sorry!” Fastred said. He rolled off the Prince and onto his feet, picking up the
 wooden training dagger. “I’m so sorry!”
         “Fastred please, stop apologizing,” Eldarion told him. He rose and held out his hand. “It
 is alright. My dagger.”
         About to hand it to him, Fastred stopped. Stepping back, he flipped the wooden training
 blade in a high arc, which Eldarion deftly caught. “It would be stupid to hand you a dagger
 within striking distance, after handing you the floor. Even a friend. Sorry.”
         “That is exactly what you should have done,” Eldarion told him, sheathing his wooden
 dagger and drawing his wooden long and short swords. He glanced at Elanor. “And exactly what
 you should have said. Draw your sword.”
         Smiling, Fastred unsheathed his wooden practice dagger. Just as with Elanor, it served as
 his sword. From a hidden pouch, he also pulled a metal thrusting dagger.
         “Where did you get that?” Eldarion asked, alarmed by the metal blade.
         “I always keep hidden weapons,” Fastred answered.
         “Since when?” Eldarion asked.
         “Since yesterday,” Fastred replied.
         Eldarion slapped his wooden blades under his arms and hurled his scabbards like daggers.
 Fastred skillfully batted them aside. Lunging in their wake, Eldarion slammed the flats of his
 wooden long and short swords against Fastred’s shoulders.
         Fastred stared at him in shock. He bowed. “The second and third points, are yours.”
         The crowd of warriors around their pen had grown. It seemed to Elanor, everyone had
 taken a break from their training to watch. Many others had come, who didn’t normally train.
         “No enemy is immune from the element of surprise,” Eldarion said. Backing away, he
 walked in a wide circle. “As you so ably demonstrated. Thank you, for the reminder.”
         “Are we sparring or are trying to train me?” Fastred asked. He walked around the circle,
 stalking the Prince and annoyed, having lost two points in front of Elanor.
         Eldarion lunged, swinging his wooden training blades. Fastred jumped back and parried,
 countering with his training and thrusting daggers, using the least amount of effort and most
 incisive skill. Moving nimbly on his feet, he displayed a remarkable prowess and a physical
 grace they’d never seen from him before.
         “Very good, compensating for my height and strength while conserving yours. You are
 preventing me from ascertaining the true scope of your abilities,” Eldarion noted, as a
 distraction, before lunging again. “However, I am not giving you a choice!”
         Fastred also lunged, moving inside the arc of Eldarion’s blades. He expertly parried,
 driving Eldarion’s training sword into the ground. Blocking Eldarion’s short sword with his
 thrusting dagger, he stomped down on the side of the wooden longsword with the flat of his boot,



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 breaking it. Pressing both his daggers against Eldarion’s femoral arteries, he pushed the Prince
 back against the gate. “Never engage an opponent at a disadvantage, your Highness.”
         “Who then, would I have to spar with?” Eldarion asked, dropping the hilts of his broken
 wooden longsword and his short sword. He lifted his hands and nodded to Elanor. “The fourth
 and fifth points, and the match, are yours.”



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          Prince Faramir of Ithilien entered the private meeting room with Elboron. He faced the
 grim and uncomfortable faces of Eldarion, Celendrian, the twins and his daughter Niphredil.
          “In Gondor and Arnor,” Eldarion told him. “Prince Elrohir needs the permission of King
 Elessar to become engaged to the woman he loves, and the woman to consent to the marriage.
 He does not need your permission. Nor does Princess Niphredil.”
          “However,” Celendrian said. “Niphredil does not wish to bar you from her future, and the
 King values your counsel. Therefore, he has agreed: you may ask a bride-price for the hand of
 your daughter in marriage to the Prince of Rivendell.”
          Faramir regarded Celendrian warily. He didn’t need Elboron cautioning him that she had
 grown prodigiously during their trial by fire. Marshalling the kingdoms of the west, she had
 rallied the princes of the auxiliaries into a fighting force that had routed the armies of the Nine
 new Nazgûl Kings. Her efforts had saved Eldarion’s life and the lives of the people of the North
 Kingdoms. Elboron kept warning him that her confidence and command had grown
 commensurate with her deeds, but Faramir wasn’t blind: he could see all that for himself.
          “You know I am against this betrothal,” he told her.
          “You are here at the King’s request,” Celendrian noted. “To name your price. Nothing
 else. If you are impertinent, I will throw you into the stocks, friendship to the King – or not!”
          Faramir composed himself. He had been fighting Nazgûl and running the Kingdoms long
 before she was born. “For the hand of my only daughter, so highly do I esteem her, and such a
 treasure is her love, I can demand nothing less than both the long lost Silmarilli.”
          A shocked silence filled the room. The greatest Quest recorded in the history of Middle-
 earth had been Eärendil’s search for a single Silmaril. Fëanor and his sons spent thousands of
 years embroiled in the most destructive vendetta since the Valar and Ainur first sang Arda into
 existence – relentlessly driven by their obsessive adherence to what was, quite frankly, a lunatic
 Oath to reclaim all three gems, no matter the cost. It cost not only their lives, but the lives of
 everyone who had died in the War of Wrath. And still, neither of the gems were ever found. For
 Faramir to now demand both – it was unthinkable.
          When she recovered herself, Celendrian was infuriated by his request. Reluctantly,
 Eldarion reminded her that Faramir was within his Rights.
          They both knew that Elessar had long been planning expeditions to find the missing
 palantíri and Silmarilli. But the unfinished planning for those two campaigns began long before
 they became embroiled in this new and deadly war.
          Elladan and Elrohir setting out to find them now, along with other princes and warriors,
 would spread many key fighters farther afield than the King wanted or could easily afford.

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         Yet Elladan and Elrohir could not be persuaded to wait. This affront and challenge would
 be dealt with. Niphredil would be free to marry and these invaluable heirlooms (and measurably
 valuable tools for the war) would be recovered, now.
          With their plans set, many more people came and went from Rivendell, including
 Pallando. He rode from the Palace of Anor on another of the Mearas, his steed Bluestar. He and
 Incánus added more lessons to the ones Alatar and Marcidelén were already teaching Elanor.
         Sam asked Eldarion’s smiths to repair his mithril coat. Privately, he gave it and Sting to
 Elanor for her to keep. Adding Sting to Eket, she now effectively wielded both a long and short
 sword. Only Eldarion’s blade Ringil was more famous than her two blades.
         In a secret ceremony attended by Fastred, Belethor, Calcarin, the wizards and the House
 of Telcontar, the twins summoned all the Ringbearers and certain key allies. There they set
 dazzling bright mithril and white diamond adorned timbarëmírë on the brows of Pallando,
 Incánus, Celendrian, Elboron, Elerith, Ælfwine, Manus, Malvia, Pingyang and Xiang.
         With the forges of Rivendell restored, Eldarion had Aeglos reforged for Elrohir. Alatar,
 Incánus and Pallando restored the spells Celebrimbor had infused on it. Eldarion also found
 Frodo’s broken Barrow-blade. It had been long preserved in a basement within the armory of
 Rivendell (after the water was pumped out). He had it reforged, too. With the help of the three
 wizards, it’s broken spells were also restored.
         In a public and very well attended ceremony, he knighted Fastred and Calcarin. They
 were now battle-hardened and decorated warriors. He dressed them in the silver and black of the
 Royal Guards of the Palace of Anor, and set atop their heads, helms of solid mithril. He also
 presented Aeglos to Elrohir. For Fastred, he presented him with Frodo’s enchanted Barrow-
 blade, its original spells restored. Fastred now had two blades, serving as two longswords.
         Eldarion called forth Elanor, Celendrian and the members of her Questing party. Elboron
 and the members of his Questing party were also called. They were going with the twins to find
 the palantíri and Silmarilli, with Xiang, Éodyn and Liathwyn. He summoned the members of his
 own Questing party, Ælfwine and Manus. They stood with Fastred, Calcarin and the others.
         For each of them in turn, Eldarion hung about their shoulders grey Elven cloaks woven in
 Lothlorien, a gift from King Celeborn. He fastened each one in place with a dazzling bright
 solid-mithril ‘Star Of The Dúnedain’ brooch.
         Before that, Belethor had always perched on Fastred’s right shoulder. Now, whenever he
 wore his cloak and mithril brooch, Belethor perched on his left. Rubbing it with his limbs and
 tail every chance he got, the dragon gazed at his own reflections in the gleaming true-silver.
         Elanor had to admit, Fastred looked very dashing in his new uniform and Elven cloak,
 pinned with his mithril brooch. He had become even more famous than she was and instantly
 recognizable with Belethor on his shoulder. Eldarion always seemed to be summoning him to
 secret meetings and councils to ensure they stayed secret. Elanor saw less and less of him.
         They grew more distant.
         For his part, Belethor was very fond of Elanor. He felt certain she and Fastred were
 meant to be together. This was no guarantee they would. He knew now, anything could happen.
         Using all his dragonly wisdom, he went to great lengths to mediate the growing rift. But
 despite the best intentions and the greatest of intellects, navigating the intricacies of the human
 heart lay beyond the power and mind of even the smartest dragons.


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         Outside, it was night.
         Inside the cave, the eight companions who had come to Rivendell to rescue the Queen
 stood inside the entrance. It was hidden within a ravine behind the Palace of Elendil. Eldarion
 held the Orthanc-stone. Within it loomed the face of the High King Elessar.
         Before them, a staircase of six-sided stones rose to an open twelve-sided portal. On the
 other side, atop a twelve-sided platform in the Escherscape of Archany stood Genesis and
 Mytikas. Arrayed behind them were the other eleven Lords of the Dodecahedron.
         “Why must you send Fastred on the only mission which will not pass through Euthyria?”
 Genesis asked Elessar. “The staircases of Archany are always moving. Without the beacon of his
 Túrin-stone, we cannot find Eldarion or the others, much less hear your call to bridge the barrier
 between our worlds and assist you.”
         “We have no choice,” Elessar answered. “Only Fastred and his Turin-stone can find the
 lost Kingdom of Nimrodell.”
         “Then I am sorry, King Elessar,” Genesis said. “As much as we would like, there is
 nothing we can do. The Stone-men of Zirakzigal cannot aid you against the Mad Vala Ulbandi.”



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         Just before sunset, Elanor led Arwen past the sentry-guarded double doors. Together,
 they walked into the almost deserted Great Hall in the Palace of Elendil.
         Facing her before the Palantír stood her Elven brothers and royal children. They stepped
 aside and the two of them approached the Elendil-stone. It glowed with a rich warm light.
         Elerith put her hands on the gleaming surface. Concentrating, she pushed the Eye farther
 and faster than Arwen had ever seen it move. Thanks to long practice, Elerith quickly drove it
 past the shores of Lindon. Sweeping out over Belegaer, it passed many islands. It flew over
 windswept leagues and across the open ocean, which only the Palantír of Elendil could cross.
         Ahead of it, a great golden glow arose in the West.
         It sped ever faster. Dark shadows rose from the waves and reached up into the sky, until
 they completely engulfed the Eye. For a while they could see nothing and Elanor wasn’t sure if
 the Eye was moving. Abruptly, light broke through the darkness. They Eye of the Palantír sped
 over the horizon and the shadows faded behind it. Before it, the golden glow grew brighter.
         At long last, Arwen finally beheld the glowing shores of Tol Eressëa.
         “Come mother,” Eldarion whispered. He held out his hand.
         The Queen hesitated and began to tremble.
         Celendrian took her hand. “It’s alright.”
         Guided by her children, Arwen walked to the surface. Having crossed the edge of the
 fabled shores, the Eye of the Palantír rushed up to a beautiful country home. It passed colorful
 gardens full of deep red seregon, the white star-shaped lissuin, and varieties of golden
 simbelmynë. Slowing down along rows of long-legged, sweet-smelling aisles of tall aeglos
 shrubs, it drifted through the misty shadows beneath their branches.




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         The Eye passed through the front door of the home and stopped. Recalling events of her
 youth, Galadriel sat in a large chair before a warm fire. There she entertained Elrond and
 Celebrían, laying arm-in-arm on the couch, with tales of Eldar days.
         “M- m-mother?” Arwen whispered. She reached out. Tears fell from her eyes.
         “She can’t hear you,” Elerith said. “They’re not near another palantír.”
         “We have to keep trying,” Elanor told her.
         “We’re certain that eventually, we’ll find them when they are,” Celendrian said. “It’s just
 going to take a little time.”
         Arwen hugged her family. As they huddled close and she felt their love, the terrible
 wound in her heart began to mend.
         Elanor left them alone.
         As Arwen watched the vision of Tol Eressëa fade, Elerith removed her hands from the
 palantír and they hugged, sharing gentle, happy tears. “Thank you.”



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          It was the cold hour before dawn, a week before Sam, Rosie and Arwen’s scheduled
 departure for Minas Tirith. Eldarion summoned Sam to a secret meeting in a private meeting
 room. Fastred sat on one side of him (without Belethor) with Alatar on the other. Behind him
 stood Pallando and Incánus. Before him on the table were four golden Rings of Power and one of
 enchanted quicksilver. One bore a black Star Diopside gem. Another, a black Cat’s Eye
 Scapolite stone. The other three appeared to be free of any engraving or device. Sam knew
 enchanted runes had been engraved invisibly on both sides of the bands, on four of the Rings.
          “In all of history, only Gil-galad and Elendil were entrusted with five Rings of Power,”
 Eldarion told him. He picked them up and laid each one in Sam’s hand. “No one is better suited
 to resist the compulsion of the evil spells on Sauron and Saruman’s Rings than you, Sam.”
          “I am honored to serve, your Majesty,” Sam said. He put the Rings in a small iron case
 and locked it. Hanging it on an iron chain around his neck, he tucked it under his shirt, once
 more a Ringbearer. “I will be true to your trust and faithfully perform my duties, your Highness.”
          “Sam,” Eldarion said. “No one can know what you carry. Not Rosie. Not Elanor. Not
 even my sisters. But above all, not my mother Queen Arwen, who is going with you. No one.”
          “I understand, your Highness,” Sam assured him. “I’ve seen firsthand the evil these spells
 can do, on friends and foes alike.”
          “By combining our power with the power of Fastred’s Túrin-stone,” Alatar told him, “we
 can ensorcell your Rings. No one will be able to sense them. But if you or your party are waylaid
 in the Wilds and there is any chance the Rings could fall into Enemy hands, you must put on the
 two untainted Rings and wield their power to defeat your foes.”
          “If your enemies overwhelm you and our allies,” Pallando added. “You must turn
 invisible and escape. Make your way back here or to Minas Tirith.”
          “If things become truly desperate,” Incánus told him, “and you have no other choice, you
 must put on the other Rings and add their power to the two you’ll already be wearing.”



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         “How can I do that?” Sam asked, facing the assembled wizards. “I never learned how to
 use the power of the One, except to turn invisible.”
         Alatar picked up Ómataina, Saruman’s Ring of Voices, Deceptions, Corruptions and
 Control. Incánus picked up Rávi, the Ring of Lions, the King of Beasts.
         Pallando picked up Ingolë, the Ring of Quicksilver, White Magic, Journeys, Healing,
 Stealth, Silence, Sleep, Alchemy, Transformations and Transmutations, a very powerful Ring.
 “This is what the three of us are here to teach you.”




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                                       Chapter 12




                          The Dragons Are Coming




          Led by Faramir, Alphros and three hundred knights of Arnor and Gondor departed for
 Minas Tirith before dawn escorting Sam, Rosie and Arwen. For two hours, Celendrian and
 Elerith observed them through the Elendil-stone, keeping the Eye high overhead and out of the
 line of sight of anyone on the ground. Celendrian felt certain they could safely lower it.
          Elerith said no.
          Led by Belethor, Fastred entered the dark, insulated Chamber of the Palantír of Elendil.
 The dragon could see in the dark as well as Elanor. Elerith threw a shroud over the Seeing Stone
 and removed the cover from a Fëanorian Lamp. Turning, they followed Fasted and Belethor out.
          Outside the door of the Chamber, he handed her a drawing. “This is a copy of the Coat of
 Arms that Queen Arwen requested before she left.”
          In the center of the page stood a fountain.
          It’s flowing waters fed beautifully sculpted gardens. Four stone paths led away from the
 fountain, dividing the page into four equal quadrants. Two of the diagonals were golden. The
 other two were black. Beyond the edges of the quadrants, the four paths wound their way down
 the page to the Misty Mountains drawn at the bottom. At various places, the trails were adorned
 with strange and foreboding symbols. The four paths went over, around, through or below the
 mountains, twisting and turning. Eventually, they all converged on a castle.
          On the battlements of the castle stood a beautiful Elvish maid. She wore a flowing white
 robe hemmed with gold. Silver shoes were on her feet and a bright star shone on her brow. In the
 valley below, on each side of the castle there grew a large tower-like tree. One was burnished
 silver, the other, golden-white.
          On one mountain peak there stood a high stone tower.
          “This is a map,” Elerith said.
          “It’s also a warning,” Fastred told them.


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         “Yes, I see,” Celendrian responded. “All four paths lead to the Kingdom of Nimrodell.
 All are beset with danger. Only one avoids Death.”



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         Weeks passed. Sam, Rosie, Arwen, their escorts and the royal guards safely reached
 Minas Tirith without incident. In the interim, a great many more people had come and gone from
 the borders of Rivendell. Eldarion, Celendrian, the twins and the companions they were leading
 on their respective Quests were finally prepared to depart.
         The day before they were scheduled to begin, Elessar assembled the Council of the King.
 The Great Room was filled with people: Elanor, Fastred and Belethor, Manus and Malvia,
 Pingyang and Xiang, Ælfwine and the Daughters of Rohan, Elboron, Niphredil, Eldarion, his
 family, Drendelen, Marcidelén, Alatar, Incánus, Pallando, Calcarin and many other people she
 didn’t know. They were all gathered around the palantír.
         At the top of the Tower of Echthilion, Elessar, Arwen, Emperor Guan, King Celeborn of
 Lothlórien (he took up the title again with the outbreak of war), Thranduil, King of the Eryn
 Lasgalen, the Wood of Greenleaves, King Éomer and Queen Lothíriel of Rohan, Prince Imrahil
 and Princess Gebyrda, and Prince Alphros and Princess Corwyn of Dol Amroth, Sam and Rosie,
 and a great many others gathered around the Anor-stone.
         In the Dome of Stars in Osgiliath, Prince Faramir and Princess Éowyn, Beregond and
 Hlathian, Bergil and Lêafful of Ithilien, Radagast, Queen Facerëia of Dorwinion, Lord Gildor
 Inglorion and Lord Galdor of the Trees & Havens were surrounded by even more people she
 didn’t know. They could see each other clearly, as if standing in the same room.
         “Now at last we have recovered the Elostirion and Osgiliath Stones,” Elessar told them.
 “The plans of our enemies have been revealed to us by members of this Council, over several
 battles and at great cost in lives. I thank you for your efforts and we mourn beside you for our
 friends who have fallen. Let us bow our heads and observe a moment of silence, while those who
 knew them remember these honored heroes.”
         For Elanor, this meant Theo. She had too many fond memories of Theo to count. While
 some simply waited in respectful silence, she felt her grief and fought back tears.
         “To you who have the Ithil-stone and seek the Annúminas and Amon Sûl Stones,”
 Elessar said, to whoever might be listening (Lungorthin). “As the Heir of Isildur, only I and
 those I appoint are the Lawful Keepers of the Stones. I say to you now what I said to your
 dreaded master Sauron then, before we destroyed him: the die is cast. We are sworn enemies.
 Your treacheries will no longer avail you. The only place you can challenge us is openly on the
 battlefield. You must now face the strength of our arms and the commitments in our hearts. We
 will not rest until you have been brought to justice and paid for your crimes – with your lives.”
         “What’s become of Ulbandi?” Alatar asked Elessar, through the Stones.
         “She left Rivendell with Estel,” he answered. “They rode northeast with their newly
 combined armies. They are a truly formidable force, and it is growing. I have followed their
 progress in the Anor-stone. They are heading to the Trollshaws and Mount Gram.”
         “To make war, or seek allies?” Queen Facerëia asked.

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          “Doubtless, both,” Elessar answered.
         “Perhaps they will do our work for us and destroy each other,” Celeborn offered.
         “It is more likely those who do not join Ulbandi willingly will be defeated and enslaved,”
 Faramir warned.
         “The most important thing right now is that she has not gone in search of the missing
 palantíri or Silmarilli,” Elessar told them. “We know she will, most likely soon.”
         “What about Glorfindel and Thüringel?” Queen Facerëia asked.
         “Fastred’s Túrin-stone shrouded the battle with Glorfindel and Thüringel,” Elessar
 answered. “The palantíri could not show us if they survived.”
         “We in Ithilien have assumed they have survived and are on their way to Mordor,”
 Faramir informed them. “Wherever they have gone, they are too dangerous to ignore.”
         “Elboron could have gone hunting them,” Celendrian added. “But he is needed by my
 royal uncles Elladan and Elrohir to help them find the palantíri and Silmarilli.”
         “Agreed,” Elessar said. “However, our prime concern is Ulbandi. Though clothed in
 flesh, she is still very powerful, but not omnipotent. For those of you who rightly fear her yet
 have not heard, the wizard Alatar the Blue and the Crown Prince Eldarion stood against her in
 Eidolon. During their battle, they held their own. They were on the brink of gaining the upper
 hand – and she fled from them. They have proven with planning and preparation, she can be
 vanquished. But those discussions must wait. For now, we will hear of news from Ithilien.”
         “In Ithilien we have not been idle,” Faramir announced. “In addition to having cleansed
 the Morgul Vale and drained the Dead Marshes, for twenty-two years we have guarded the
 borders of Mordor, repelling Thüringel and her armies. We have also rebuilt Osgiliath, the River
 City and its great stone bridge, including the Great Hall and Dome of Stars.”
         At Elessar’s command, the Eye of the Anor-stone went to the nearly completed Bridge
 and Tower of Osgiliath. It spanned the Anduin, halfway between Minas Tirith in the south and
 Minas Ithil in the north.
         The harbors were full of ships. Others were moored along the bridge. Barges and boats
 sailed downriver, loaded with war materials and fighters. In the City, they were preparing arms
 and building guild-houses of wood or great manors in stone.
         Inside the Dome, the black roof of Númenórean stone had been restored to its full glory.
 Bejeweled stars sparkled in the bright sunlight. Surrounded by the King’s royal councilors
 attending this meeting, from the floor there rose a black marble pillar. At eye level sat the
 glowing Stone of Osgiliath, the largest and greatest of the Seven.
         “How did Glorfindel recover the Osgiliath-stone?” Eldarion asked.
         “When you were young, the time you first traveled there,” Elessar answered, “Glorfindel
 put on a summer festival. It was held at night on the shores of the Anduin and he filled it with
 hundreds of bright burning torches. We have learned that secretly, his Easterlings were dredging
 the Anduin from the ruins of the Dome to the rapids downstream. Eventually he saw torchlight
 reflecting through the submerged Osgiliath-stone, within the Elostirion-stone in his possession.”
         “We should have thought of this before him,” Facerëia remarked to Celeborn.
         “We know it now,” Elessar told them. “This is one of many tools we will employ to find
 the missing Palantíri.”
         “We are watching all roads in and out of Mordor,” Éowyn told Facerëia, apologetically.
 She felt responsible, Glorfindel had recovered the Osgiliath-stone under their noses. “We will do
 what we can to prevent anyone from entering or leaving and send aid to find the others.”



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         “Thank you,” Elessar said. “We have appointed Prince Faramir, Princess Éowyn, Prince
 Elboron and Princess Niphredil, the Keepers of the Osgiliath-stone. At the Battle of Weathertop,
 we learned there has been great traffic in mithril from Khazad-dûm. Using the Anor-stone, I
 searched the chambers beneath the Misty Mountains. Lungorthin has conquered the Halls of
 Durin. He is filling them with armies of orcs and goblins. They have reopened the mines and
 found rich veins of mithril.” He signaled his men. They brought in an assortment of mithril arms
 and armor. “These weapons were recovered after the battle from the fallen Nazgûl. They are a
 new generation of Ringwraiths, deadly bowmen, dressed as Hunters In Grey. Glorfindel fashions
 many more Nazgûl than Sauron ever did yet still sends them out in groups of Nine. Their mithril
 weapons can cleave iron, steel and other mithril arms and armor. They almost killed our honored
 hero, Samwise Gamgee Gardner. He would have perished, but for the gift of the Emperor Guan
 Qubing, and the efforts of Prince Eldarion and Princess Pingyang. Master Samwise and Mistress
 Rose have joined us at the Palace of Anor. Here, they will refrain from future heroics. Mistress
 Rose will be attended by the Queen’s handmaidens when giving birth to their thirteenth child.”
         Elessar signaled them. Sam and Rosie, now obviously very pregnant, stood up from their
 chairs. The great assemblage applauded.
         Elanor and Fastred waved to them through the Stones and they waved back.
         “We cannot sit idle while Lungorthin keeps Khazad-dûm from our friends and allies, the
 Longbeard Dwarves, while arming our enemies with mithril weapons,” Elessar told them. “After
 private congress with King Bard of Dale and Thorin Stonehelm, the King of Erebor under the
 Mountain, we have raised armies of Elves, Dwarves and Men. This will be our first strike of the
 War. We will invade Khazad-dûm and take back her halls for King Thorin.”
         Elessar signaled Durin. Though very young for a Dwarf and with only a modest beard, he
 stepped up to the Palantír of Elendil with confidence. Elanor had heard he’d arrived and met with
 Eldarion and Celendrian. But with everything going on, she hadn’t had a chance to meet him.
         “This is Durin the Deathless. He is the seventh of that name,” Elessar told them. “He and
 the other Dwarven nations are preparing to march on Khazad-dûm and take back their ancestral
 lands, just as Elladan and Elrohir retook Rivendell from the usurper Glorfindel. We have signed
 treaties and formed an alliance with the leaders of Dwarves, Elves, Men, Hobbits and Ents.
 Together we have created ‘The Alliance Of The Rings.’ Ents of Fangorn, Hobbits of the Shire,
 Men of Gondor, Arnor, Hildória, Harad, Ithilien and Rohan, all seven Dwarven Kingdoms and
 every Elvish realm in Middle-earth stand united. We will retake the Dimrill Dale, storm the
 Doors of Durin and wrest Khazad-dûm from our Enemies. I have asked the Crown Prince
 Eldarion to lead our Allied forces in co-captaincy with King Gimli, the Crown Prince Legolas,
 and the Crown Prince Durin the Deathless, Heir to the thrones of Erebor and Khazad-dûm.”
         “I shall lead my people proudly!” Durin announced. “Dwarves from all seven Kingdoms
 are marching to Khazad-dûm, where I will join them.”
         “The time has come to share the secret histories of the Rings of Power,” Elessar told
 them. “Many have died to keep these secrets, including Celebrimbor, the Elven master craftsman
 who created them. A few of you know that Celebrimbor and his Mirdainions began forging
 Rings of Power hundreds of years before Sauron arrived in Eregion. Some of our histories say
 these Rings were triflings. No Ring of Power was ever that. A few were far more.”
         “For those of you who like me, survived the last War of the Ring,” Faramir said. “It is
 important to understand why we kept these secrets. Too many people were corrupted by the
 temptations of power. Revealing them would have distracted us from uniting to defeat Sauron



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 and destroying his Ruling Ring. Now, however, our enemies are sharing these secrets. So it is
 better for you to hear the truth from your King, rather than lies mouthed by our enemies.”
         “Some have called Sauron ‘The Lord of the Rings,’” Elessar told them. “But it was
 Celebrimbor’s skill and the hands of the Mirdainions that laid the foundations for both sets of
 Rings. Because of this, Sauron’s corruptions of Celebrimbor’s Rings did not conquer most of the
 Ringbearers. Neither Dwarves nor Elves fell prey to the Necromancer’s enchantments. Some
 might conclude the forces of good and evil were stalemated. He conquered the Nine and One, yet
 the Seven and Three remained unconquerable. But hobbits wore the One and did not fall under
 his control. At the end of the War of the Ring, Frodo claimed the Ruling Ring – his will was not
 conquered. Not even Gollum, a poor weak creature allowing himself one joy, his ‘precious,’
 which he wore for centuries; not even he became Sauron’s thrall. This makes eleven Rings
 useless to him as tools of control. That does not include Celebrimbor’s original Rings. There
 were thirty Rings forged by Celebrimbor that Sauron never touched and had no power over them.
 In addition to the Rings, there was a prophesy most of you have not heard. It is remembered in a
 verse of the Lays of Eregion and has long remained hidden – until today.”



                       Thirteen Rings for Enchanted beings that swim, run and fly
                           Eleven for Dwarf and Elven lords wherever they may roam
                       Five for Mortal Warriors destined to die
                           One for the Bright Lord on his Golden Throne
                       In the East of Eregion, where the Misty Mountains lie
                           One King will gather them all, one King will unite them
                           One King will lead them against the evil that will smite them
                       In the Land of Mordor, they will triumph… or die



         “Who is the ‘one King’ who gathers them all?” Pallando asked.
         “No one knows,” Faramir answered. “These things have only just come to light. Many
 believe it is our High King Elessar.”
         “It could be the Crown Prince Eldarion,” Elessar told them. “Or any king in any land, one
 who lives now or is not yet born. Yet despite the uncertainty, we will not allow this opportunity
 to pass unchallenged. This Council marks the beginning of our Quest to gather all the Rings.”
         A great cheer and much applause rose from all three rooms in three distant kingdoms.
         “Which brings me to my news,” Radagast told them, standing in the Dome of Stars.
         “What news?” Elessar asked.
         “It is widely known, at least three of the Seven Rings for Dwarves forged by Sauron were
 consumed in dragon-fire, High King,” he answered. “It would be more accurate to say, while
 breathing fire, three dragons swallowed their Rings. They were compelled by Sauron’s spells of
 covetousness. The dragons wished never to part from the single greatest treasure in their hoards.”
         “This is news,” Elessar said. He frowned, upset Radagast had shared this with everyone
 through the palantíri without first briefing him privately. “We must immediately construct plans
 to find those dragons. If we bring them down, we can obtain their Rings before our enemies.”



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         “No, your Majesty,” Radagast told him. “That is not the news. I am sorry, my King.
 Those three dragons were found dead in their hoards. Their bellies and chests had been cut open.
 The Rings of Power they swallowed, and their hearts – have been stolen.”
         Cries of dismay rose throughout the rooms.
         “Who could have done this?” Pallando asked.
         “We do not know,” Radagast answered. “I cannot find a single bird or bee who witnessed
 the events. This has never happened. The lack of eyewitness accounts… is unprecedented.”
         “They’re being enchanted… or controlled,” Celendrian told them.
         “We have more hidden enemies,” Arwen said. “Perhaps a traitor in our midst.”
         Many were startled and tremors of anxiety went through the assembled hosts.
         “We will attend to them when they are revealed,” Elessar told them. “A new war has
 begun, The War of the Rings to End All Wars of the Rings. It is larger in scope than any that has
 come before. Our course is clear, we will gather the Rings of Power and win the War.”
         Locked behind bars in a large steel display case atop the Tower of Echthilion, Prince
 Imrahil of Dol Amroth displayed the five enchanted Rings. People gasped, pointing and staring
 amidst cries of wonder and whispered exchanges.
         “When we learned Théoden Brandybuck, son of the Master Meriadoc of Buckland, was
 slain by Glorfindel during the retaking of Rivendell, we also learned Ulbandi the Mad Vala had
 returned to Middle-earth,” Elessar told them. “Both have sworn to avenge themselves on
 Hobbits. I dispatched Treebeard and his hosts of Ents and Huorns to protect them. Hobbits of the
 Four Farthings and the Bree-lands have responded in overwhelming numbers. The Thain
 Peregrin Took of Tookland, the Master Meriadoc of Buckland, and HMS Tolman Cotton of the
 Shire have raised a Hobbit Homeland Protection Force. It now patrols their borders. All hobbit
 lands are armed for war with a hobbit archer perched in every Ent and Huorn. Yet this force is
 not merely defensive. Soon they will invade Goblin Town, the Trollshaws and the Entmoors, the
 ancestral home of Ents, now held by the Enemy.”
         “Elessar!” someone cried. A pounding rang against the throne room door. “My King!!”
         “Unbar the door,” Elessar commanded.
         The guards did.
         Húrin, the Warden of the Keys, ran in. “Minas Tirith is under attack!”
         Elessar ran to an open window followed by his Councilors. Straining their eyes, they
 looked beyond the walls of the Rammas Echor.
         In the far distance, farmers worked the fields.
         The open empty plains of Osgiliath lay to the north. The tranquil Emyn Arnen was to the
 east and peaceful Ithilien in the south.
         All was quiet.
         “Where are these attackers?” Elessar asked.
         “Not down there, my King,” Húrin answered. He pointed to the sky. “Up there!”
         “The Eagles are coming!” the voice of a Tower guard shouted. First one, then another.
 Soon the entire Palace was alive with repetitions of the cry. “The Eagles are coming! Eagles!!
         In the distance flying west towards the City, the skies filled with thousands, perhaps tens
 of thousands of Eagles. There were more than anyone could remember seeing, except those who
 had fought in the Battle of the Morannon before the Gates of Mordor.
         “Gwaihir and his people would never attack Minas Tirith!” Éomer told them.
         “The Eagles are not attacking,” Elessar said. He lifted his long arm and pointed behind
 the swiftly approaching forms. “That is!”

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         Beyond the last line of Eagles but coming like the thunderhead of a storm, a gargantuan
 red dragon boomed and bellowed. Its cries were so powerful, they sounded more like thunder
 following lightning than the cry of a living creature.
         Elessar pulled a silver horn off the wall beside the window and blew three deafening
 blasts. Many had to cover their ears, even those listening through the palantíri. Echoing horn
 calls arose from the surrounding towers and the gate houses on the battlements.
         Within minutes, great siege engines rumbled out into the Sun light. They were pulled by
 teams of horses or pushed by laboring guards.
         Up in the sky, the rear guard of Eagles turned and attacked the dragon. The dragon was
 too large – Eagles who flew close to claw or bite were batted from the sky by the merest shrug of
 the dragon’s wings or tail. It crushed even more too easily with its rending claws and jaws.
         Elessar returned to the Anor-stone and focused on the forefront of Eagles. Streaking close
 to Minas Tirith flew Gwaihir, the Windlord, King of Eagles. The howling red dragon dove down
 amidst the rear guard, smashing through thousands of Eagles in an effort to destroy Gwaihir.
         This brought the Eagles close enough to slash its underbelly and hind parts. Their claws
 opened bleeding rents. The dragon roared, opened its slathering jaws and breathed fire across the
 sky. In seconds, it destroyed countless Eagles, consuming them in flames. One Eagle made it
 past the fire and flew close enough to slash the left eye of the dragon, pulling out a huge chunk.
         Black ichor plumed out of the mangled socket and the dragon screamed. Its great leathery
 wings lanced the Eagle, ripping her to shreds along with those following in her wake.
         The dragon launched itself in a high arc above the Eagles. Their westward course had
 brought them to the edge of the City and they passed over the walls of the Rammas Echor. Horns
 and alarm bells filled the air. The people of Minas Tirith ran screaming to protect their children
 and take cover wherever they could. The dragon came within range of the great siege engines.
 Axe men cut the ropes, catapult engines unwound and they launched their deadly baskets.
         Elessar blew two sharp trumpet blasts. In response, the Eagles veered left and right. The
 deadly missiles flew past them and struck the red dragon: front-weighted dragon-blades and
 spears. Most bounced off the dragon’s thick scales. Some tore through the bat-like wings, ripping
 huge holes and the dragon screamed. Black blood fell from the sky. On the ground, almost
 everyone struck by the dragon blood writhed in agony, but nothing could be done to save them.
         Another hail of darts struck the dragon, tearing bigger holes through its wings. The
 dragon wailed in fury and agony. Recoiling from the pain, its wings closed and it plummeted
 towards the City. Fleeing citizens screamed and ducked for cover.
         Although the dragon was not defeated. Batting its wings, it hurtled the embedded missiles
 away. It spread its damaged membranes and righted itself through a long low curve. Evening off,
 it launched itself back up into the thick of Eagles breathing deadly fire.
         The flames consumed hordes of Eagles.
         Yet its fall put it in range of the Palace war machines. Axmen cut the ropes and loosed
 more missiles. Turning, the dragon breathed a cataclysmic expanding cone of flame. Its deadliest
 attack filled the sky with fire, destroying all but a few of the Eagles and missiles of Minus Tirith.
         Most of the darts and arrows melted. The stouter and thicker spears made it through.
 These red-hot molten spears were aided by the terrible heat. They burned through the dragon’s
 scales, driving deep into its body. With its vitals pierced, a terrible death knell erupted from the
 maimed and bleeding dragon. Its punctured wings collapsed and it plummeted down.
         But it refused to die alone. As it fell, its remaining eye found Gwaihir, descending to the
 Tower of Echthilion. With its last breath, the dragon blew out all the fire it had left. A bright

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 cone of flame spread faster than even the King of Eagles could outpace. Gwaihir’s personal
 guardian Eagles interposed themselves and were enveloped in flames with their King.
           The dragon struck Minas Tirith with a deafening crash, crushing homes and too many
 people. The terrible collision shattered wood and stone, and dragon bone. The dragon’s ear-
 splitting death cry echoed throughout the City. The walls of the Palace of Anor trembled and the
 floor shook. In the sky above, the burning bodies of Gwaihir and his guards fell through clouds
 of fire. The surviving Eagles tried to stop Gwaihir’s fall, but the flames were too hot. It burned
 their claws and wings.
           Finally it was Sorontur, Gwaihir’s sister-son, who flew heedless of the pain. Catching
 fire, he clutched the burning tumbling body of his King. Batting his wings to snuff the flames,
 nothing worked. In desperation, he closed his wings about his King to smother the fire. Anything
 less and the flames would have consumed Gwaihir. Their fall resumed.
           Moments before impact outside the entrance to the Tower of Echthilion, Sorontur opened
 his wings and flapped madly. Checking their fall with this last desperate effort, he flipped
 himself beneath his King a moment before the crushing impact.
           Elessar ran ahead of everyone. Making it down the stairs of the Tower, he was first to
 arrive before the two crushed bodies, the only burning Eagles to survive the fall.
           “Water!” he shouted. Grabbing a helmet from one of the door guards, he filled it from the
 fountain. Broken but still alive, Sorontur opened his burning wings, exposing the horribly
 charred and still burning body of his King. Elessar poured water on their giant forms.
           Others took up the task. They formed a helm and water brigade in growing numbers,
 pouring helm after helm on the great Eagles. Others brought vases and buckets. For many long
 minutes, they labored to extinguish the flames. Amid cries for aid and an ever-growing number
 of water filled containers, the fires finally went out.
           “Sorontur… my friend…” the broken voice of Gwaihir coughed.
           “I go to the eyrie in the sky, my Lord,” Sorontur cawed wetly. “There I will one day
 welcome you with pride. I hope then to once again have the honor of faithfully serving my
 King.” His body shuddered and he died.
           “Sorontur!” Gwaihir shouted, but he was gone.
           Elessar kneeled beside the Eagle and crying, cradled the giant, scorched head. “Gwaihir.
 It is I, your friend, Elessar.”
           “My King,” Gwaihir cawed. His eyes blinked open. They were blind, blackened
 scorches. “I regret…” he tried to explain. Agony engulfed him. “I can do no more… than serve
 as a warning. This was the first, of many… the dragons, are… coming...”
           With those words Gwaihir, the King of Eagles, the Windlord, died.



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         Elessar stood before a black marble table near the back of the House of Kings. It was the
 most prominent structure in the Rath Dínen, the City of Tombs. The buildings were carved from
 the sides of the mountain, nestled behind the Palace of Anor.



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          Along the walls of the large square chamber there were thirty-five marble coffins. Each
 was engraved with the likeness of the king whose honored remains rested within.
          These tombs took up little of the vast space. Five rows of empty black marble tables
 filled the middle of the high open room. At the back, the tables sloped together in a high arc. One
 grand but empty platform stood elevated above the rest.
          Rosie realized someday, the remains of King Elessar would be laid to rest right there. She
 shuddered at the morbid thought and hoped she wouldn’t live to see it. She couldn’t imagine the
 heartbreak Arwen, Eldarion and the rest of Elessar’s children would feel, nor did she wish to.
 The thought came suddenly: unless something unexpected happened and she died first, she
 would one day stand over the tomb of her beloved Sam. Wives usually outlived husbands.
          She pushed these thought away, too terrible to contemplate.
          There were no windows here. Fastened in scones along the walls, the shadow-enclosed
 chamber was dimly lit by torches. Candles were set on empty slabs to provide sufficient light.
          To reach the tombs, they had entered a long dark hallway at the back of the sixth level.
 Two doors were opened with great ceremony by palace guards. The first door was carved of
 stone from the mountain itself. The second, called the Fen Hollen, Rosie couldn’t help but notice
 with astonishment had been carved from solid lebethron and mithril.
          The helmets on the palace guards were also solid mithril. She felt overwhelmed by the
 incalculable wealth of Gondor in which Faramir, Eldarion, Celendrian and the rest of Elessar and
 Arwen’s children had been born and raised, yet seemed not to notice.
          Elessar was the most forward pallbearer. The many wooden poles lifted by mourners
 made the weight of the over-large wooden box, a temporary bier while a proper tomb was
 carved, and the body of Gwaihir laying inside, the lightest part of their heavy labor: laying to
 final rest a King. Passing a second door, the pallbearers descended the Silent Street followed by a
 long line of mourners. It flattened out deep in the heart of the mountain at the same elevation as
 the fourth level of the Palace, separated by tons of stone. Inside the House of Kings, they reached
 a temporary marble platform and set the coffin down.
          Arwen, Elessar’s counselors, his friends, and their families stood around him with their
 heads bowed. Most of those invited to this private ceremony were veterans who had fought
 before the Gates of Mordor at the Battle of the Morannon. It was the day Gwaihir had led his
 people to their rescue. Taking turns, they recalled the life of the King of Eagles, sharing many
 personal stories of his heroism they had witnessed fighting Fell Beasts and the Nazgûl Kings.
 Facing those monsters, the Men of Gondor and Arnor had been helpless, overcome with terror.
          Gwaihir had shown no fear.
          He and his Eagles dove straight down at these terrible foes and attacked the Nazgûl.
 Surprising everyone, the Ringwraiths fled. The arrival of Gwaihir and his Eagles had heralded
 their victory. Following the remembrances, Imrahil held a brief ceremony. He consigned the fëa
 of Gwaihir to the Halls of Mandos. Having paid their respects, one by one, the mourners left.
          Except for Sam, lingering before the box, alone.
          Rosie waited behind him. Finally, she asked, “Sam…?”
          “He… saved my life,” he responded, his face wet with tears.
          “I know,” she said, touching his arm. “I remember you telling me about it even before
 Frodo wrote it down. He and his brother Landroval.”
          “No!” Sam said. “It was him who carried me, with Gandalf on his back. He may have
 been after Mr. Frodo, but it was me he grabbed. It was me he carried off the volcano and I just
 stood there looking out the window doing nothing – and watched him die!!”

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        She put her arms around him and he burst into tears again. “I guess knowing there was
 nothing anyone could do doesn’t help. I’m sorry, Sam.”
        Sam couldn’t speak. He held her tight and sobbed louder.



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          He sat in his seat atop Amon Lhaw, the Hill of Hearing. Set on the east shore of the great
 lake of Nen Hithoel, he heard the screams of dying Eagles and the roar of the red dragon. It had
 attacked their nests east of the mountains, between the Rhimdach and the High Pass.
          The screams were too terrible. He descended Amon Lhaw and took a boat pulled by
 schools of powerful fish through the turbulent lake waters. Traveling west, they made a wide
 loop around the tall island of Tol Brandir, on which only he had stood. It rose midway between
 the roaring Falls of Rauros, many leagues north of Minas Tirith.
          The fish steered clear of the hazy mists rising from the powerful waters. Sweeping
 everything over the Falls, gargantuan waves fell in great torrents to the deadly rocks below.
          Twenty miles upriver from here, the waters of the Anduin widened and slowed, forming
 this great lake, ten miles wide. In the far distance to the north rose the tops of two mighty rock
 hewn statues. They were the Argonath, visible above the edge of the horizon, imposing and
 foreboding, even at this great distance. Along the shores, the jagged cliffs and barren rocky crags
 of the hills of the Emyn Muil spread seventy-five miles wide and one-hundred and fifty-miles
 long. The sheer walls of the escarpments, treacherous dead-end drops off ledges and the tops of
 precipices created an impenetrable and deadly region of mazes. It had never been crossed by
 land. This isolated him from the world. It was more effective than any fortress. Reaching the
 western shore, he left the boat and climbed the tall rocky hill rising high above the mighty Falls.
          This was Aman Hen, the Hill of Seeing. At the top, he reached the tall throne called the
 Seat of Seeing. Climbing the wide stone steps, he sat in the high stone chair. From here it was
 easy to see the red dragon flying south, chasing Gwaihir and his Eagles towards Gondor.
          They passed so close, he felt compelled to hide behind the throne. Just as he had once
 watched Frodo Baggins hide behind this very chair, cowering before the searching Eye of
 Sauron. He wasn’t surprised the Gondorians managed to kill the dragon. He was surprised they
 did it so quickly, after only the death of most of the Eagles, including Gwaihir.
          It was too bad.
          He had enjoyed watching Gwaihir fly, listening to his broken, cawing way of speaking
 Westron. With the death of the dragon, he realized he had to go to Minas Tirith again.



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          By the time the dragon struck the ground – it was too late. The city was in flames. Most
 of the people fled. Taking boats or diving in the water, some tried to swim across the lake. Few
 of the swimmers made it. They were overcome by the freezing cold and the weight of the water
 soaking their clothes. Flailing helplessly, it dragged them down into the depths where they
 swallowed freezing water and drowned. Their lifeless bodies sank to the bottom, food for fishes.
          At the time, he was just another anonymous soldier.
          Expendable.
          He hadn’t mixed with the others much. He had learned while very young, people couldn’t
 be trusted. No one knew his name or cared. It was no surprise he was chosen for the crew tasked
 with cutting up the dragon. They hauled it off in pieces by boat to a pit on an out-of-the way side
 of the mountain. He heard reports of others dying as soon as they touched the dragon blood.
          But in the orphanage in which he had been raised, he had heard another tale. It was
 probably just a baseless legend. Yet it had never left him: he who eats of the heart of a dragon
 understands all languages. It no longer mattered all that much to him if he died. He no longer
 held any illusions: whatever life remained was going to be thankless and bitterly hard. It was
 more important to taste the dragon’s heart and to hear what he might hear.
          When he reached the dead dragon, its body lay sprawled amid the wreckage. There were
 more soldiers lying dead from touching the blood then there were who had died in the attack.
          No one cared.
          He worked hard, harder than he had ever worked before. When the blood hit him, so did
 the panic. The panic eventually passed. He was more than a little surprised to find he was still
 alive. He went back to work. A few of the others had also survived. Most lay on the ground dead.
 Many still writhed, consumed by the agony of their final death throes. The few survivors were
 filling bottles, planning revenge on everyone who had ever wronged them.
          He didn’t.
          He had a higher purpose.
          One by one, the obviously valuable parts began vanishing: claws, scales, teeth, bones;
 stolen by other soldiers. He kept working. He was afraid once the heart was exposed, he’d have
 to fight for it too, as he had watched others fighting over parts they wanted.
          No one else seemed to have heard the same story.
          He returned from the dock with a large wheelbarrow. The heart was bigger than he had
 anticipated. It took two trips, but only one boat. He was going to take it somewhere and cook it,
 but couldn’t wait. He wasn’t overcome by his desire until he was clear of the shore and shrouded
 in darkness. Cutting a piece out with his knife, he swallowed it without chewing.
          He waited, expecting to die.
          Nothing happened.
          For two hours, he floated on the surface of the lake. In the light of the still raging fires, he
 saw other soldier’s efforts to rescue survivors, and the dragon removal work going on to prevent
 the poisoning of the lake. He wondered which was getting more attention. He thought of jumping
 overboard and letting the frigid waters do their work. He no longer had anything to live for. As
 with any carcass, the crows had gathered around the dead dragon right from the beginning.
          He no longer cared.
          He was slowly leaning farther over the edge of his small boat, closer and closer to the
 freezing surface of the lake. He felt the boat tip.
          Quite distinctly, he heard: “No, I think… the human is still alive.”
          He looked up.

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          “You’re right!” the other crow cawed. They flew on to the bodies in the ruins of Lake-
 town, lying amid the still raging fires which had been started by the dead dragon Smaug.
          Reaching the far shore, he decided to take Smaug’s heart to the dragon pit. He had
 planned to cook and eat the rest. Now he realized it wouldn’t make any difference. No one knew
 what he was carrying or cared. By the time he got to the pit, it had started raining. He dumped
 the heart in with the rest of the dead and soon-to-be rotting dragon.
          He headed back towards the shore. Out of sight in the darkness between the pit and the
 dock workers, he abandoned his wheelbarrow.
          Alone in the wilds, he was surprised to discover the animals he encountered were more
 surprised to hear him speaking their languages than he was learning he could dupe them so
 easily. They became meals, or guides, and he was pleased to find, quite unlike the people he’d
 known, animals took him very seriously.
          It was a dog who set him on the path to power.
          Talking on the side of the road, the dog assumed he was his master. It was a short step to
 discovering almost every dog took him as their master. He was more afraid of trying with
 wolves. Summoning the courage to surround himself with a pack of dogs, he conquered wolves.
          Cats never listened to him, no matter what he said or did. It no longer mattered. He didn’t
 need every Beast and bird. There were enough of the others who did.
          From there, triumphs came quickly: deer, bears, fish; soon they were doing his bidding.
 The trick, for those who required it, was to exact service before making payment.
          Simple.
          It was how everyone had treated him. Only he paid for services rendered.
          Amon Hen was a revelation: an isolated chair, atop a high hill few had ever reached and
 nobody cared about, on which he could hear almost anyone, anywhere, saying anything.
          On Amon Hen, he learned about Rings of Power.
          The dragons had been tricky.
          He had a lifetime to prepare. The dragons never had a chance. Now, on the fingers of his
 hands he wore three Rings of Power. Each bore a stone. One, a red Villiaumite. Another, a blue
 Chalcanthum. The third, a white Arsenicum. Learning the secrets of their power, he had amassed
 his great treasure hoards. Never again would he be an anonymous soldier in someone else’s army
 fighting other people’s war. Now he raised his own armies and leading them, he instigated wars
 at the time and place of his own choosing.
          He was no longer nameless and faceless; no longer hiding in the shadows, timid and
 afraid, terrified of what others thought or might do. He had the knowledge and power of a self-
 created being. He took the name, Ohtáron Moriñgotho, the Nameless Black Foe. Refusing the
 name others thrust on him: The Warlord. He took the title he wanted – The Lord of War.
          On Amon Hen, Moriñgotho heard someone, somewhere, say, “Knowledge is power.”



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          The day after the funeral, Elessar summoned everyone who had been at the Council when
 the dragon killed Gwaihir. They stood before the other palantíri in Rivendell and Osgiliath. Their
 bearing was solemn, their faces, hard; set with a resolve which had not been there before.
          Landroval perched beside Elessar on an elevated stand and their heads were even. On one
 claw, visible only to Elessar, the new-crowned King of Eagles wore a golden Ring of Power,
 Sornë, the Ring of Eagles. For the first time, Landroval saw Elessar’s Rings. The one on his right
 hand bore a glittering red beryl, Formáitë, the Ring of Right Decision. On his left, he wore the
 Ring of Barahir. Its emerald serpent eyes glistened and glowed, seething with hidden power.
          “Our Eyries have been destroyed,” Landroval told them. “We few who made it here are
 the last of our tribe, all that remain of a once proud and mighty people.”
          “His lieutenants have proclaimed Landroval their King,” Elessar told the assembly.
          “Such as we are,” Landroval said. “We are the final generation. Most of our women and
 all our nestlings are… dead.” Tears filled his Eagle eyes.
          “We must avenge this regicide and genocide!” Éomer cried. “The Eagles have ever been
 our most faithful allies.”
          “How can we?” Imrahil asked. “If we could reach those peaks and find a way to be of
 assistance against hordes of dragons, other than sharing death, it would make no difference. The
 dragons have done their work. The eyries of the Eagles have been destroyed.”
          “King Elessar,” Landroval said, too solemn to express his sudden anger. “I must have
 words with my captains, building our last nests on the peak of Mount Mindolluin.”
          He spread his wings and flew over everyone’s head – out the large open window.
          “If I spoke out of turn,” Imrahil said, bowing. “Forgive me, my King.”
          “No need, old friend,” Elessar told him. “You spoke the truth. There is nothing we can
 do. Soon enough, we will have dragons aplenty to fight here in Gondor.”
          Cries of dismay rose throughout the rooms.
          “Do not despair,” Elessar said, raising his hands. “Long have we been preparing for this
 day. Dragon spears and lances such as you saw, nets and snares, and many other things have
 been crafted in Gondor. More await the dragons if they return. At my direction, the craftsmen of
 the City forge as many more as we can. And there are other things we have prepared with which
 to battle dragons. I have thought long and hard these last two days, and though every road is dark
 and every course a burden, we must act now with what little time remains. Or we will abdicate
 all initiative to our enemies, who were moving long before we began the first of our councils.”
          “I have just been informed of some disturbing news, my King,” Imrahil said. He lifted a
 parchment sheath as a messenger ran out.
          “What news?” Elessar asked.
          “The heart of the dead dragon in Minas Tirith,” Imrahil told him, lowering his hands,
 “has been stolen.”
          Cries of fear and outrage filled the rooms.
          “It seems there really is a traitor here in Minas Tirith,” Arwen said.
          The others regarded her warily. None responded, as if she hadn’t spoken.
          “What say you, oh High King of the United Kingdoms?” Éowyn asked, avoiding Arwen.
 She focused on Elessar. “The Kingdoms of Ithilien, Rohan and Dol Amroth stand beside you, to
 strive and succeed, or fall and die, as one.”
          “The final War of the Rings has begun,” Elessar answered. “Dark was the day the first
 casualty in Minas Tirith was an honored ally and king. My foresight never saw a day this dark.”
          A heavy silence settled over them and they recalled the death of the Windlord.

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         “With the consent of you here assembled,” Elessar told them, “so many, honored friends,
 you have sacrificed much over the years. You deserve better than to find yourselves again caught
 up in a terrible war, fighting monstrous evils. Yet I must ask you to take arms against our
 enemies and to aid our allies. Many of them are already fighting at the forefronts of the war.”
         “High King?” King Éomer asked. Elessar gave him leave to speak. “We have held private
 councils while you attended to the defense of the City, and the laying to rest of Gwaihir. All are
 agreed: we have pledged our lives for you to command. Say, and it will be so.”
         Elessar rose, steady and sure, yet emotion almost broke his voice. “Thank you, my
 brother… my friend. However heavy the burdens or great my grief, I am heartened to have
 companions such as you, and so many others, here in this room. Or listening through the
 palantíri.” He looked around at their faces. Far too many, he knew, he would never see again. “I
 must send you all away. To fight. And a few, to find the Rings of Power. They are our only hope
 of defeating the gathering tide of evil threatening to overwhelm us.”
         He took Arwen’s hand and looked through the Anor-stone at Eldarion, Celendrian, the
 twins, Elanor, and their allies in Rivendell and Osgiliath. “Even those I hold most dear, my own
 children and Elven brothers. They must leave their ancestral halls they have just re-won, where if
 they stayed, they might survive securely for a time, but it would be brief. The day would come
 when even Rivendell fell. And perhaps, that day is not so far off as we would like to believe.”
         “What are your orders, my King?” Faramir asked.
         “The Crown Prince Eldarion has assembled a host,” he answered. “I can call them
 nothing less than what they are: a host of heroes. They are an assemblage of warriors and
 princes. Many are the children of so many of you here. They have found the greatest weapons
 recorded in our histories and others never recorded. They have agreed to bear the greater burden,
 uniting to find the Master-ring of Middle-earth. If any could hope to succeed, it is them. With or
 without it, we will unite to defeat the Mad Vala Ulbandi and her Pact of Middle-earth Powers.”
         In the Palace of Elendil, Eldarion bowed. “It is an honor to serve the High King Elessar
 and the people of Middle-earth.”
         “Thank you, Prince Eldarion,” Elessar said. “I am as proud of you as a father as I am a
 King. And I am just as proud of the Princesses Celendrian and Elerith, the assembled princes of
 the Princes Brigades, and the people of our kingdoms and allies in Rohan, Hildória, Harad,
 Erebor, Lindon, the Shire, and so many others.”
         “You’re welcome, father,” Celendrian said, curtsying. “We ever strive to be worthy of
 our people. We will protect them and their lands, by standing together, united.”
         “We shall,” Elessar affirmed. He turned to those in the same room. “We here in Minas
 Tirith must find the traitor Glorfindel and his concubine Thüringel! They will pay for what they
 have done – with their lives. We will avenge our fallen friends, obtain their Rings and unmake
 them. We believe they are returning to Mordor, to their fortress on the plains of Gorgoroth.
 Prince Faramir and Princess Éowyn will lead the assault.”
         “The Riders of Rohan will fortify them,” Éomer told him.
         “What of the Daughters of Rohan?” Elessar asked.
         “They…” Éomer began.
         “They have stayed in Rivendell,” Queen Lothíriel answered. “Most of them will guard
 the City. Idris and Minwyn will accompany Princess Celendrian on her Quest for the Master-
 ring. Éodyn and Liathwyn will join the search for the palantíri and Silmarilli. My heart
 forebodes, this mission is the most dangerous. If you cannot be safe, be careful, my children.”



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          “Thank you, Queen Mother,” Ælfwine responded, for all of them and he bowed. “We
 shall ever strive to honor you, from whom we descend. To distinguish ourselves as you have
 done, by finding the palantíri and Silmarilli, and ending these wars – forever.”
          “How will we find them?” Celeborn asked.
          “The Princess Elerith will accompany Prince Elboron with the Palantír of Orthanc,”
 Elessar answered. “They will use the same method Glorfindel used to find the Osgiliath-stone.
 We must find the Palantíri of Annúminas and Aman Sûl before Ulbandi. For only those two
 Stones can find the missing Silmarilli.”
          “Is it wise to send a palantír into contested regions?” Imrahil asked.
          “It is necessary,” Elessar answered. “This is why Fëanor created the Palantíri, to find his
 Silmarilli, stolen by Morgoth.” He rose. “Please rise.”
          “All rise,” Imrahil ordered, thumping his staff.
          Everyone in the assemblage in all three kingdoms stood.
          “Stand with me, one people united, and pledge to accomplish these tasks together,”
 Elessar told them. “I ask you now to read aloud and take with me, the Oath of the King.”
          Days before, Elessar had shown Celeborn, Thranduil, Imrahil, Faramir and Éomer in the
 throne room; Eldarion, Elboron, Celendrian, and Elerith in Rivendell; and Éowyn, Facerëia,
 Galdor and Gildor in the Dome of Stars in Osgiliath, the Oath he’d written.
          They wrote down copies. Everyone they could get to write, made many more. In
 Rivendell, Osgiliath and in the Tower of Echthilion, they made as many copies as they needed,
 so now everyone could read aloud and take the Pledge together.
          They stood united and their King led them, reading aloud and taking the Pledge, the Oath
 of the High King Elessar: “We will not cease to strive against the forces arrayed against us, until
 we have defeated every threat to the people of the Earth. Let none who may one day live, if any
 survive these dark days before us and yet live; let them not say we who assembled here today,
 who to them lived in ancient days, when our feet still tred paths through unspoiled forests; let
 them not say we refused to accept the challenge of our day: to take up the gauntlet thrown down
 on our lands and to shatter the lies, deceits and Discords of Morgoth and Ulbandi, meant to
 divide us, whether raised in dark fortresses high upon the hills, or hidden deep within the earth,
 or beneath gently flowing rills. We pledge upon our Honor with our Word, that from this day
 forward, our greatest desire is to come together as a single people, united. Regardless of race,
 wealth, birth, or any outside consideration. United, we will take within our hands our bows, take
 up our clubs and spears and arrowheads and know, this was the day we mounted our horses and
 refused to rest, or cease our strife against the forces of evil’s might. Nor shall our swords sleep in
 our hands, until we have driven out and defeated these evils. Not just from our own and our
 ally’s lands; from all the lands: from the storm-tossed shores of Umbar, to the frigid snows of
 Fornost, to the burning deserts of Harad, to the vast rolling plains of all the lands of Hildória, and
 all the lands beyond, known or still unknown. Until we stand united in freedom and peace. Free
 from all forms of deceit, tyranny and oppression. United in truth by the dream of peace, a single
 people who share the gift of peace with all who live or may one day live. To this, this dream, this
 day, I Pledge. In the name of the High King and all the Free People in the whole of the world.
 Upon my life and honor, this I swear. This, the Oath of the King.”



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            The War of the Rings to End All Wars of the Rings


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           The War Of The Rings


   The Two Trees


                                    By


     Demetrious Polychron
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                THE LAY OF THE TWO TREES

               Those were the days of Gloaming, of Lomendanar
                   For light there was, silver and gold, shining from afar
               It was not gathered together in one place, but flowed
                   Quivering in uneven streams, about the airs it glowed



               At times it fell gently to the earth in glittering rain
                   And ran tumbling like water over rocks across the plain
               And at that time Varda, in her playing thereby
                   As yet had set but few of the bright stars within the sky



               Within this frigid dimness the Valar stalked North and South
                  Yet could see little beyond the ice and Winter drouth
               For the rule of Melkor was already fortified in strength
                  To maintain his iron grip, he would dare go any length



               His evil servants delved foreboding strongholds through the North
                  Raining terror on the land when they dared to issue forth
               They fashioned grim halls called Utumno deep inside the earth
                  And bred ghastly horrors there in tortured mockeries of birth



               For he had no thought to dwell amongst the others
                  He only lusted for his sisters, hated his brothers
               He might feign peace and friendship for a time
                  As yet no stain lay on his name nor any crime



               Aulë persuaded Melkor to build two great towers
                  In the North and South to serve the Powers
               For he purposed to set upon them mighty Lamps
                  To dispel the withering cold and lightless damps




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               These did Aulë himself fashion of gold and silver
                  Celestial Orbs for which fair Varda was the gilder
               The pillars were raised by Melkor unimaginably tall
                  The great cardinals of their sides rose like an iron wall



               They shone like pale blue crystal and glowed as bright as fire
                  Their touch was like the sting of thorny briar
               Aulë smote them with his hand, they rang like metal
                  The surface sheen gleamed white, as galanthus petal



               They sprang up through the air to reach the heighth of stars
                  The Lamps themselves were upraised on high crossbars
               Melkor said the columns were imperishable, of his devise
                  And he lied, for secretly, they were of enchanted ice



               Varda filled the Lamps which Manwë then hallowed
                  More lofty than any mountains which later followed
               From the Isle of Almaren in the midst of the Great Lake
                  The Valar issued forth to bid living things awake



               The Lamp Illuin of the North was atop the monolith Ringil
                  Their forging had exacted unrepeatable power and skill
               The Lamp Ormal in the South stood upon the pillar Helkar
                  It shone more beautiful and brighter than a living star



               With gathered light, golden in the North and silver to the South
                   No shadows lived within the shining of their bright azimuth
               In that flaming light, the Valar fared East and West
                   To explore the many places in the world and choose the fairest




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               The seeds Yavanna had sown began to swiftly sprout
                  And amidst this growing splendor the Valar walked about
               From the bosom of Yavanna and of her imagining
                  In the fields blossomed flowers and the birds began to sing



               Beasts came forth and dwelt on plains or in shadowed wood
                  Fruit ripened on the vine and the world was filled with food
               Growing things arose in multitudes both great and small
                  Trees whose tops were crowned with clouds as mountains tall



               Where the light of the two Lamps met and thereby blended
                 The forests grew the greenest and the fields were fair garlanded
               Nowhere was the life richer than here in this Middle-earth
                 Things that grew and thrived there were of the greatest worth



               East was tumbled lands and West great seas of darkness
                  There, a terrible foreboding flooded their awareness
               The Valar gathered on Twilit Isles gazing westward
                  Knowing this must be the path leading them homeward



               When lo! The lamps to North and South flickered suddenly, and fell
                  The impacts shattered continents, the seas began to swell
               The oceans filled with broken pieces of melting ice for many miles
                  As they fell, the roaring waters rose about the windswept isles




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